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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


   BOSTON SCIENTIFIC CORP. AND
   BOSTON SCIENTIFIC
   NEUROMODULATION CORP.,

                                 Plaintiffs,
                                                                Civil Action No. 18-644-CFC
                                 v.

   NEVRO CORP.,                                                 JURY TRIAL DEMANDED

                                 Defendant.


                              SECOND AMENDED COMPLAINT

         Plaintiffs Boston Scientific Corp. (“BSC”) and Boston Scientific Neuromodulation Corp.

  (“BSN”) (collectively, “Boston Scientific”), by their attorneys, hereby complain against

  Defendant Nevro Corp. (“Nevro”), and allege as follows.

                                 OVERVIEW OF THE ACTION

         1.      This is an action for patent infringement and theft of trade secrets. In this

  Complaint, Boston Scientific alleges that: one or more of the dozens of former Boston Scientific

  employees that Nevro has recruited and hired disclosed trade secrets relating to Boston

  Scientific’s spinal cord stimulation (“SCS”) systems to Nevro, in violation of those employees’

  contractual obligations; those trade secrets were the product of substantial investments and

  treated confidentially by Boston Scientific and were of considerable value to Nevro in its effort

  to develop an SCS product that competed directly with Boston Scientific’s SCS products; and

  Nevro was aware of and benefited from those disclosures. Boston Scientific further alleges that

  Nevro’s SCS products infringe Boston Scientific’s patents directed to critical features of SCS

  systems, including features for programming the implanted device and communicating with and


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  recharging and monitoring the status of the battery within the implantable component of SCS

  systems.

         2.      The patent infringement claims arise from Nevro’s infringement of U.S. Patent

  No. 7,496,404 (the “’404 patent”);; U.S. Patent 8,682,447 (the “’447 patent”); U.S. Patent No.

  6,993,384 (the “’384 patent”); U.S. Patent No. 7,853,330 (the “’330 patent”); U.S. Patent No.

  7,822,480 (the “’480 patent”); U.S. Patent No. 6,381,496 (the “’496 patent”); U.S. Patent No.

  7,177,690 (the “’690 patent”); and U.S. Patent No. 9,162,071 (the “’071 patent”) (collectively,

  the “Asserted Patents”) via the manufacture, use, sale, offer to sell, exportation, and/or

  importation, in whole or in part, of Nevro’s Senza® Spinal Cord Stimulation System (the “Senza

  I System” or “Senza”),the Senza IITM Spinal Cord Stimulation System (the “Senza II System” or

  “Senza II”) and the Senza® OmniaTM Spinal Cord Stimulation System (the “Senza Omnia” or

  “Omnia”) (collectively, the “Nevro Senza Systems” or “Senza Systems”).

         3.      The trade secret claims arise from Nevro’s acquisition and use of confidential

  Boston Scientific documents acquired from one or more former employees of Boston Scientific.

                                           THE PARTIES

         4.      Plaintiff BSC is a corporation organized and existing under the laws of the State

  of Delaware and having a principal place of business at 300 Boston Scientific Way,

  Marlborough, Massachusetts, 01752.

         5.      Plaintiff BSN is a corporation organized and existing under the laws of the State

  of Delaware and having a principal place of business at 25155 Rye Canyon Loop, Valencia,

  California 91355. BSN is a wholly-owned subsidiary of BSC.

         6.      Upon information and belief, Defendant Nevro is a corporation organized and

  existing under the laws of the State of Delaware and having a principal place of business at 1800

  Bridge Pkwy, Redwood City, California, 94065.


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                                   JURISDICTION AND VENUE

          7.       The patent claims of this action arise under the Patent Laws of the United States,

  Title 35 of the United States Code.

          8.       This Court has subject matter jurisdiction over the patent claims asserted herein

  pursuant to 28 U.S.C. §§ 1331, 1338(a), and 2201 et seq.

          9.       This Court has supplemental jurisdiction of the state claims asserted in this action

  pursuant to 28 U.S.C. § 1367. The federal and state claims alleged by Boston Scientific are

  based on a common nucleus of operative facts. Judicial economy, convenience, and fairness to

  the parties will result if this Court assumes and exercises jurisdiction over the state claims.

          10.      This Court has personal jurisdiction over Nevro. Upon information and belief,

  Nevro is a resident of this judicial district, has systematic and continuous contacts in this judicial

  district, regularly transacts business within this district, and regularly avails itself of the benefits

  of this district. Upon information and belief, Nevro also sells and distributes the Senza Systems

  in this district. Upon information and belief, Nevro derives substantial revenues from sales in

  this district.

          11.      Venue is proper in this District under 28 U.S.C. §§ 1391(a), 1391(c), and 1400(b).

                            BOSTON SCIENTIFIC’S BACKGROUND

          12.      Boston Scientific is a leading medical device manufacturer across a range of

  medical specialties, including interventional cardiology, radiology, peripheral interventions,

  neuromodulation, neurovascular intervention, electrophysiology, cardiac surgery, vascular

  surgery, endoscopy, oncology, urology, and gynecology. Boston Scientific is a pioneer and

  innovator in the SCS industry, and has been developing and selling SCS systems for the

  treatment of chronic pain for over a decade.




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         13.     Boston Scientific entered the SCS system market in 2004 when it launched its

  Precision™ SCS System, the first rechargeable SCS platform with unique current steering

  technology, wireless remote, and a wireless charger. In 2007, Boston Scientific launched its

  improved Precision™ Plus SCS System, the first system with EGL™ Scan technology, which

  displayed the relative position of the implanted leads to increase programming accuracy. In

  2013, Boston Scientific launched the Precision™ Spectra™ SCS System, the world’s first and

  only SCS platform with 32 contacts, to offer unprecedented coverage and a new level of

  flexibility intended to provide therapy to a broader spectrum of patients. The Precision™

  Spectra™ SCS System included Illumina™ 3D Programming Technology, which provides

  advanced controls including the ability to account for the environment of the lead placed in the

  epidural space of the spine, with the design objective to optimize stimulation and pain relief.

  Boston Scientific next introduced the Precision™ Montage™ and Precision™ Montage™ MRI

  SCS Systems—which allow patients to undergo a full-body MRI—in 2016. Each of these

  systems and their technological advances provided dramatic improvements in the care and

  treatment of patients with chronic pain.

         14.     Boston Scientific’s position as a leader and innovator in the SCS industry has

  resulted in the development and patenting of core technologies that are essential to SCS systems,

  including battery charging, battery monitoring, device programming, determining and

  transmitting indications of errors, telemetry systems, and percutaneous leads. These

  technologies form the foundation of every SCS system on the market, including Nevro’s Senza

  Systems.

                             THE INFRINGING NEVRO SYSTEMS

         15.     Nevro’s Senza I System is a neuromodulation system designed to deliver

  electrical stimulation to spinal cord nerves for the treatment of chronic intractable pain. The

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  Senza I System delivers stimulation using percutaneous leads and a rechargeable, implantable

  pulse generator (“IPG”). The percutaneous leads are implanted within the spinal column, and

  deliver stimulation to nerves through electrodes located on the distal portion of the percutaneous

  leads. The IPG is implanted in a subcutaneous pocket and is designed to produce current-

  regulated, charge-balanced, biphasic, capacitively-coupled, rectangular output pulses. The IPG

  is transcutaneously recharged using an external charger and is controlled by a patient remote

  control and/or clinician programmer. Other components of the Senza I System include an

  external trial stimulator, lead extensions, adaptors, operating room (“OR”) cables, and surgical

  accessories.

          16.    The Senza I System received CE Mark approval in Europe in 2010 and TGA

  approval in Australia in 2011. That same year, Nevro launched the Senza I System in Europe

  and Australia. In 2015, the Senza I System received FDA approval, and Nevro launched the

  product in the United States shortly thereafter. Currently, the Senza I System is sold in Europe,

  Australia, and the United States.1

          17.    The Senza II System, like the Senza I system, is a neuromodulation system

  designed to deliver electrical stimulation to spinal cord nerves for the treatment of chronic

  intractable pain and delivers stimulation using percutaneous leads and a rechargeable IPG. On

  information and belief, other than the IPG, the Senza II System is identical to the Senza I

  System. On information and belief, the Senza II System’s IPG provides the same functionality

  as the Senza I System’s IPG.2 The Senza II System received CE Mark approval in Europe in


  1
      Source: http://www.nevro.com/English/About-Us/Who-We-Are/default.aspx.
  2
    Source: https://www.prnewswire.com/news-releases/nevro-receives-fda-approval-for-senza-ii-
  spinal-cord-stimulation-system-delivering-hf10-therapy-300578766.html;
  https://www.fiercebiotech.com/medtech/under-payer-pressure-nevro-notches-ce-mark-high-
  point-for-scs-therapy.

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  2017 and FDA approval in the United States in 2018. The Senza II System uses the same

  programmer wand as the Senza I IPG. On information and belief, the Senza II System also uses

  the same charger and patient remote control as the Senza I System, as Nevro has not received

  equipment authorization from the Federal Communications Commission for remote controls or

  chargers other than those already used by the Senza I System.

         18.     On November 5, 2019, Nevro announced it received FDA approval for the Senza

  Omnia. International approvals for Omnia are expected in Europe during the first half of 2020

  with Australia sometime during the latter part of 2020.3 Senza Omnia, like the Senza I and II

  systems, is a neuromodulation system designed to deliver electrical stimulation to spinal cord

  nerves for the treatment of chronic intractable pain and delivers stimulation using percutaneous

  leads and a rechargeable IPG. On information and belief, the Senza Omnia incorporates all of

  the functionalities of the Senza I and II Systems, in addition to other features that are new to

  Nevro’s products.

         19.     Upon information and belief, C.C.C. Del Uruguay S.A. (“CCC”), a subsidiary of

  Greatbatch Ltd., is one of Nevro’s manufacturers of its IPGs. Upon information and belief, CCC

  also manufactures Nevro’s external chargers, external trial stimulators, and programmer wands.4

  Upon information and belief, CCC’s manufacturing facility is located in Montevideo, Uruguay.




  3
   https://www.nevro.com/English/Newsroom/Press-Releases/press-release-details/2019/Nevro-
  Announces-US-Launch-of-Senza-Omnia-Spinal-Cord-Stimulation-System-to-Treat-Chronic-
  Pain/default.aspx
  4
    Source: https://www.sec.gov/Archives/edgar/data/1444380/000119312516485541/
  d102615d10k.htm.


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           20.    Upon information and belief, Vention Medical Design and Development, Inc.

  (“Vention”), is one of Nevro’s manufacturers of its IPGs. Upon information and belief,

  Vention’s manufacturing facility is located in the United States.

           21.    Upon information and belief, Stellar Technologies, Inc. (“Stellar,” currently

  organized under the name Cirtec Medical LLC) is Nevro’s single-source supplier of its

  percutaneous leads.5 Stellar previously manufactured Boston Scientific’s percutaneous leads.

  Upon information and belief, Stellar manufactures Nevro’s leads with the same tool that it

  previously used to manufacture Boston Scientific’s leads. Upon information and belief, Stellar’s

  manufacturing facility is located in Brooklyn Park, Minnesota.

           22.    Upon information and belief, EaglePicher Medical Power LLC (“EaglePicher”) is

  Nevro’s single-source supplier of its IPG’s battery and related products.6 Upon information and

  belief, EaglePicher is headquartered in Joplin, Missouri.

           23.    Upon information and belief, Pro-Tech Design and Manufacturing, Inc.

  (“Pro-Tech”) is Nevro’s single-source supplier for conducting the inspection, labeling, packaging

  and sterilization of its Senza Systems.7 Upon information and belief, Pro-Tech has two

  manufacturing facilities: one in Arlington, Texas and one in Santa Fe Springs, California.8 Upon




  5
    Source: https://www.sec.gov/Archives/edgar/data/1444380/000119312516485541/
  d102615d10k.htm.
  6
    Source: https://www.sec.gov/Archives/edgar/data/1444380/000119312516485541/
  d102615d10k.htm.
  7
    Source: https://www.sec.gov/Archives/edgar/data/1444380/000119312516485541/
  d102615d10k.htm.
  8
      Source: http://www.protechdesign.com/SitePages/Protech.aspx.


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  information and belief, Pro-Tech delivers the Senza Systems to Nevro FCA (Incoterms 2000)

  Pro-Tech’s Santa Fe Springs, California manufacturing facility.9

                   NEVRO’S KNOWLEDGE OF THE ASSERTED PATENTS

         24.     Upon information and belief, Nevro had actual and constructive knowledge of the

  Asserted Patents prior to the filing of the original Complaint or willfully blinded itself to the

  existence of those patents. In any event, Nevro had actual knowledge of the Asserted Patents no

  later than the filing of the First Amended Complaint.

         25.     Upon information and belief, Nevro obtained actual and constructive knowledge

  of the Asserted Patents or willfully blinded itself to the existence of those patents through

  competitive intelligence of its direct competitor, Boston Scientific. The SCS market primarily

  consists of only four competitors: Boston Scientific, Nevro, Medtronic, and St. Jude (acquired by

  Abbott in 2017). Nevro itself routinely identifies Boston Scientific as a direct competitor, and

  the companies compete for the same business from physicians, hospitals, and other health care

  providers. For instance, Nevro stated the following in its February 29, 2016 Form 10-K filing:

                 Our competitors in both the United States and abroad, many of
                 which have substantially greater resources and have made
                 substantial investments in patent portfolios and competing
                 technologies, may have applied for or obtained or may in the future
                 apply for and obtain, patents that will prevent, limit, or otherwise
                 interfere with our ability to make, use, sell, and/or export our
                 products. For example, our major competitors, Medtronic plc,
                 Boston Scientific Corporation and St. Jude Medical, Inc., each have
                 significant patent portfolios covering systems, sub-systems,
                 methods, and manufacturing processes. These competitors may
                 have one or more patents for which they can threaten and/or initiate
                 patent infringement actions against us and/or any of our third-party
                 suppliers.10

  9
    Source: https://www.sec.gov/Archives/edgar/data/1444380/000104746914008300/
  a2221785zex-10_3.htm.
  10
    Source: https://www.sec.gov/Archives/edgar/data/1444380/000119312516485541/
  d102615d10k.htm.

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         26.     Moreover, Nevro participated in an FDA-monitored randomized controlled trial in

  a head-to-head comparison against Boston Scientific’s Precision™ SCS System. As evidenced

  by Nevro’s statement above, it is standard practice in the SCS industry to monitor competitors’

  patent portfolios. Upon information and belief, Nevro monitored the patent portfolio of Boston

  Scientific, whereby Nevro obtained actual and constructive knowledge of the Asserted Patents.

         27.     Upon information and belief, Nevro obtained actual and constructive knowledge

  of the Asserted Patents or willfully blinded itself to the existence of those patents through a pre-

  suit investigation of Boston Scientific. In May 2015, Boston Scientific filed two Petitions for

  Inter Partes Review of Nevro’s U.S. Patent No. 8,359,102. In November 2016, Nevro filed a

  Complaint for Patent Infringement and Declaratory Judgment against certain of Boston

  Scientific’s SCS Systems in the United States District Court for the Northern District of

  California (Nevro Corp. v. Boston Scientific Corp. and Boston Scientific Neuromodulation Corp.,

  Case No. 3:16-cv-06830-VC (N.D. Cal.)). It is standard practice to conduct competitive

  intelligence when sued and to conduct a pre-suit investigation prior to initiating a lawsuit. Upon

  information and belief, Nevro investigated Boston Scientific’s patent portfolio no later than after

  Boston Scientific filed its Petitions for Inter Partes Review and before filing its Complaint in the

  Northern District of California, whereby Nevro obtained actual and constructive knowledge of

  the Asserted Patents.

         28.     Upon information and belief, Nevro obtained actual and constructive knowledge

  of the Asserted Patents or willfully blinded itself to the existence of those patents through the

  knowledge of current Nevro employees that previously worked for Boston Scientific, including

  employees that staffed critical Boston Scientific SCS product development and management

  positions and who were responsible for its neuromodulation patent portfolio. For example, upon



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   information and belief, Kerry Bradley is currently the Senior Director of Clinical Science &

   Research at Nevro. Mr. Bradley worked for Boston Scientific (and its predecessors) from 2000

   to 2012 as a Principal Biomedical Systems Engineer, Senior Principal Biomedical Systems

   Engineer, Fellow in Research & Development, and Manager II. During his time at Boston

   Scientific, Mr. Bradley was an inventor or co-inventor on numerous neuromodulation patents

   and was a subject matter expert reviewer of neuromodulation patents. Mr. Bradley was an

   inventor or co-inventor on numerous neuromodulation patents. Mr. Bradley is a co-inventor of

   the ’447, ’384, and ’330 patents.

          29.      Upon information and belief, Jim Thacker was Nevro’s Director of Field Clinical

   Engineering from 2009 until April 2019. Mr. Thacker worked for Boston Scientific (and its

   predecessors) from 2000 to 2006 as Manager of Field Clinical Engineering. During his time at

   Boston Scientific, Mr. Thacker led Boston Scientific’s field clinical engineering group, which

   helped to develop, administer, and analyze clinical studies, de-bugged SCS systems, and worked

   in conjunction with Boston Scientific’s research & development group to develop, test, and

   commercialize its core SCS technologies. Mr. Thacker was an inventor or co-inventor on

   numerous neuromodulation patents. Mr. Thacker is a co-inventor of the ’690, ’447, ’384, and

   ’330 patents.

          30.      Upon information and belief, Dongchul Lee is currently the Director of

   Theoretical Research at Nevro. Mr. Lee worked for Boston Scientific from 2006 to 2013 as a

   Senior Biomedical System Engineer and Principal Research Scientist. During his time at Boston

   Scientific, Mr. Lee developed numerous core SCS technologies, including stimulation algorithms

   and sub-perception stimulation. Mr. Lee was an inventor or co-inventor on numerous

   neuromodulation patents.




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          31.     Upon information and belief, Messrs. Bradley, Thacker, and Lee had extensive

   knowledge of Boston Scientific’s neuromodulation patent portfolio, including many of the

   Asserted Patents, their applications, and/or their patent families. Upon information and belief,

   Nevro institutionalized this knowledge, whereby Nevro obtained actual and constructive

   knowledge of the Asserted Patents.

          32.     Upon information and belief, at least 48 past employees of Boston Scientific are

   or were employed by Nevro, including: Lisa Earnhardt, Member Board of Directors; Doug

   Alleavitch, Vice President, Quality; Reynaldo Nossa, Director of Technical Services; Andreas

   Koenig, Sr. Clinical Affairs Manager; David Marco, Sr. Field Clinical Engineer; Tamara

   Baynham, Sr. Field Clinical Engineer; Dan Hestera, Regional Sales Director; Jeff Orr, Regional

   Sales Director; Jim Sackleh, Regional Sales Director; Richard James, Regional Sales Director;

   Angela Holley, District Sales Manager; Laurie Cigan, District Sales Manager; Heather Moss-

   Gad, District Sales Manager; Anthony Puglisi, District Sales Manager; Cable Hawkins, District

   Sales Manager; Matt Goldstone, District Sales Manager; Phil Almeida, District Sales Manager;

   Ryan Livingston, District Sales Manager; Chris White, District Sales Manager; Lindsay Molden,

   District Sales Manager; Christine Biello, District Sales Manager; Chad Sellers, District Sales

   Manager; Brian Warriner, District Sales Manager; Scott Shoultz, District Sales Manager; Croix

   Paquin, District Sales Manager; Ashley Bailey, Therapy Consultant; Danielle Pronesti, Therapy

   Consultant; Mandy Cash, Therapy Consultant; Gretchen Thomas, Therapy Consultant; Will

   Windauer, Therapy Consultant; Kate Ginter, Therapy Optimization Specialist; and Kelly Engle,

   Therapy Support Specialist. (Source: linkedin.com.) Many of these Nevro employees are

   intimately familiar with Boston Scientific’s SCS systems and core SCS technologies, which

   Boston Scientific has been developing for decades. Upon information and belief, Nevro strived

   to acquire information regarding Boston Scientific’s SCS systems and core SCS technologies,

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   and its institutional knowledge of the SCS market and SCS business practices from these former

   Boston Scientific employees.

          33.     Upon information and belief, Nevro obtained actual and constructive knowledge

   of the Asserted Patents or willfully blinded itself to the existence of those patents through the

   prosecution of its own patent portfolio.

          34.     To the extent that Nevro lacked actual and constructive knowledge of the

   Asserted Patents prior to the filing of the original Complaint, then Nevro willfully blinded itself

   to the existence of those patents. Upon information and belief, Nevro monitored and

   investigated Boston Scientific’s patent portfolio, and institutionalized the extensive knowledge

   of Boston Scientific’s patent portfolio from past employees of Boston Scientific.

          35.     Despite Nevro’s actual and constructive knowledge of the Asserted Patents, it

   continues its infringing conduct to this day.

                 COUNT I: INFRINGEMENT OF U.S. PATENT NO. 7,496,404

          36.     Boston Scientific realleges paragraphs 1-34 above as if fully set forth herein.

          37.     The ’404 patent, entitled “Rechargeable Spinal Cord Stimulator System,” is a

   valid, enforceable patent that was duly issued by the USPTO on February 24, 2009 in full

   compliance with Title 35 of the United States Code. A true and correct copy of the ’404 patent is

   attached as Exhibit 2.

          38.     BSN is the assignee of the ’404 patent with ownership of all substantial rights in

   the ’404 patent, including the right to exclude others and to enforce, sue, and recover damages

   for past and future infringements. BSC is an exclusive licensee of the ’404 patent.

          39.     The claims of the ’404 patent cover SCS systems and methods for initiating and

   controlling power consumption and charging in an IPG with a rechargeable battery. Claim 7 is

   illustrative of the claims of the ’404 patent and is directed to a spinal cord stimulation system


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   that utilizes circuitry to monitor the voltage of the rechargeable battery and control the electrical

   connection and disconnection between the rechargeable battery and an integrated circuit within

   the IPG housing.

          40.      Nevro has directly infringed, and continues to directly infringe, at least claim 7 of

   the ’404 patent in violation of 35 U.S.C. § 271(a) by, for example and without limitation,

   making, using, offering to sell, selling, and/or importing in and into the United States infringing

   Senza Systems that include an (IPG) with an integrated circuit that is coupled to the rechargeable

   power source, a processor that is electrically coupled to the integrated circuit and controls

   stimulation based on the voltage of the rechargeable battery. The IPG further includes a power

   source protection circuitry that controls the electrical connection and disconnection between the

   rechargeable power source and the integrated circuit. The protection circuitry disconnects the

   rechargeable battery from the integrated circuit if the voltage of the rechargeable power source

   falls below a power disconnect level, and reconnects the rechargeable battery if the voltage of the

   rechargeable battery rises above a power reconnect level.

          41.     Boston Scientific, through its investigation of the Senza I System via publicly

   available information and an examination of the Senza IPG,11 has determined that the Senza I

   System meets every element of at least claim 7 of the ’404 patent, either literally or under the

   doctrine of equivalents. On information and belief, the Senza II System and Senza Omnia are




   11
      Exemplary materials:
   https://www.accessdata.fda.gov/cdrh_docs/pdf13/P130022a.pdf
   http://www.accessdata.fda.gov/cdrh_docs/pdf13/P130022b.pdf
   http://www.accessdata.fda.gov/cdrh_docs/pdf13/P130022c.pdf
   http://www.accessdata.fda.gov/cdrh_docs/pdf13/P130022d.pdf
   Testing of a publicly available Senza I system, including IPG, leads, clinical programmer, and
   patient remote.

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   insubstantially different from the Senza I System and, like the Senza I System, meet all

   limitations of claim 7 of the ’404 patent.

          42.     Claim 7 of the ’404 patent recites “A spinal cord stimulation system.” As

   explained in the Claim Chart attached hereto as Exhibit 1, the Nevro Senza Systems are spinal

   cord stimulation systems. (Ex. 1 at 1.)

          43.     Claim 7 of the ’404 patent also recites “an implantable pulse generator (IPG), the

   IPG having a housing.” As explained in the Claim Chart, the Nevro Senza Systems include an

   implantable pulse generator (IPG) with a hermetically sealed housing. (Ex. 1 at 1.)

          44.     Claim 7 of the ’404 patent also recites “an implantable electrode array detachably

   connected to the IPG, the electrode array having at least two electrodes thereon.” As explained

   in the Claim Chart, the Nevro Senza Systems include at least one lead detachably connected to

   the IPG and the lead has at least two electrodes. (Ex. 1 at 2-4.)

          45.     Claim 7 of the ’404 patent also recites “a rechargeable power source contained

   within the IPG housing.” As explained in the Claim Chart, the Nevro Senza Systems include a

   rechargeable battery contained within the IPG housing. (Ex. 1 at 4-5.)

          46.     Claim 7 of the ’404 patent also recites “monitoring circuitry contained in the IPG

   housing that monitors the voltage of the rechargeable power source and any charging current

   flowing to the rechargeable power source.” As explained in the Claim Chart, the Nevro Senza

   Systems monitor the battery level of the IPG’s rechargeable battery. (Ex. 1 at 5-13.)

          47.     Claim 7 of the ’404 patent also recites “at least one integrated circuit (IC) within

   the IPG housing and electrically couplable to the rechargeable power source, said at least one IC,

   when coupled to the rechargeable power source, providing essential control functions that allow

   the IPG to operate.” As explained in the Claim Chart, the IPGs in Nevro Senza Systems include




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   at least one integrated circuit (IC) within the IPG housing connected to the rechargeable battery,

   which provides essential control functions that allow the IPG to operate. (Ex. 1 at 13-15.)

             48.   Claim 7 of the ’404 patent also recites “a processor electrically coupled to the at

   least one IC and contained within the IPG housing which issues commands to stop all

   stimulation if the voltage of the rechargeable power source falls below a minimum level for

   stimulation.” As explained in the Claim Chart, the Nevro Senza Systems stop stimulation when

   the battery voltage drops below a predetermined minimum level. (Ex. 1 at 15-20.)

             49.   Claim 7 of the ’404 patent also recites “power source protection circuitry within

   the IPG housing that controls electrical connection and disconnection between the rechargeable

   power source and the at least one IC, wherein the power source protection circuitry disconnects

   the rechargeable power source from the at least one IC if the voltage of the rechargeable power

   source falls below a power disconnect level, and reconnects the rechargeable power source and

   the at least one IC if the voltage of the rechargeable power source rises above a power reconnect

   level.” As explained in the Claim Chart, the Nevro Senza Systems’ IPG contains power source

   protection circuitry within the IPG housing that disables the IPG when the battery level is too

   low and restarts the IPG when the battery level is recharged to a predetermined value. (Ex. 1 at

   21-23.)

             50.   Claim 7 of the ’404 patent also recites “wherein the processor initiates a power-

   on-reset if the voltage of the rechargeable power source rises above a reset threshold.” As

   explained in the Claim Chart, the Nevro Senza Systems’ processor initiates a power-on-reset and

   restarts the IPG if the voltage of the rechargeable battery rises above a predetermined value.”

   (Ex. 1 at 23-24.)

             51.   Claim 7 of the ’404 patent also recites “wherein the processor reinitiates

   stimulation if the voltage of the rechargeable power source rises above the minimum level for

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   stimulation.” As explained in the Claim Chart, the Nevro Senza Systems reinitiate stimulation if

   the voltage of the rechargeable battery rises above predetermined value.” (Ex. 1 at 24-26.)

          52.     As described in the preceding paragraphs and in the attached Claim Chart, the

   Nevro Senza Systems embody each limitation of Claim 7 of the ’404 patent .

          53.     Upon information and belief, Nevro has been aware of the ’404 patent, or

   willfully blind to its existence, and Nevro knew, should have known, or was willfully blind to the

   fact that it was infringing the ’404 patent, and that there was a high risk of infringement of the

   ‘404 patent about which Nevro knew or should have known, particularly in view of, for example,

   the stark similarities between Nevro’s accused products and the claims of the ‘404 patent, of

   which Nevro knew or should have known as soon as it became aware of the ‘404 patent as

   alleged herein, as well as in view the claim charts provided to Nevro on December 18, 2019.

   Nevro’s knowledge of infringement by the Senza Systems throughout the period of infringement

   is based on, but not limited to: (1) Nevro’s monitoring and competitive intelligence of Boston

   Scientific, who is a direct competitor of Nevro; (2) any pre-suit investigation related to Boston

   Scientific’s filing of two Petitions for Inter Partes Review of Nevro’s U.S. Patent No. 8,359,102

   in May 2015; (3) Nevro’s participation in an FDA-monitored randomized controlled trial in a

   head-to-head comparison against Boston Scientific’s PrecisionTM SCS System; and (4) the

   approximately 50 Nevro employees who were formerly employed by Boston Scientific,

   including employees who worked on Boston Scientific SCS product development and who were

   responsible for its neuromodulation patent portfolio, such as Kerry Bradley and James Thacker.

          54.     At a minimum, Nevro has been aware of the ’404 patent, or willfully blind to its

   existence, since the service of the First Amended Complaint, and thus knew, should have known,

   or was willfully blind to the infringement of the ’404 patent by the Nevro Senza Systems.

   Nevro’s infringement has been ongoing. Indeed, after service of the First Amended Complaint,

                                                   -16-
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   rather than take any steps to alter its products or cease its infringement, Nevro introduced the

   Senza Omnia, which, upon information and belief, is insubstantially different from the Senza I

   and Senza II infringing systems with respect to the subject matter of the ’404 patent.

          55.     Nevro has, for example and without limitation, marketed, sold, and offered to sell

   the Senza Systems, providing instructions on how to use the Senza Systems, and promoting the

   use of the Senza Systems. For example, Nevro encourages physicians, hospitals, other health

   care providers, and patients to use the Senza Systems by means of marketing materials12 and

   videos.13 Nevro also instructs physicians, hospitals, other health care providers, and patients on

   how to use the Senza Systems by means of physician and patient manuals.14 Upon information

   and belief, Nevro also has a clinical engineer, sales representative, therapy consultant, therapy

   optimization specialist, and/or therapy support specialist present in the operating room, as is


   12
      Exemplary marketing materials:
   http://www.nevro.com/English/Physicians/Clinical-Evidence/default.aspx;
   http://www.nevro.com/English/Physicians/SENZA-RCT-Design/default.aspx;
   http://www.nevro.com/English/Physicians/HF10-Therapy-Superiority/default.aspx;
   http://www.nevro.com/English/Physicians/HF10-Therapy-Benefits/default.aspx;
   http://www.nevro.com/English/Physicians/Senza-System/default.aspx.
   13
      Exemplary marketing videos:
   https://www.youtube.com/watch?v=s2LtOcCiMVg;
   https://www.youtube.com/watch?v=Ua7rJ97S2Bk;
   https://www.youtube.com/watch?v=I0RJaWyFeCQ;
   https://www.youtube.com/watch?v=6773eKbZQis;
   https://www.youtube.com/watch?v=-t82yCBSjE0;
   https://www.youtube.com/watch?v=LeLq1lvlJvs;
   https://www.youtube.com/watch?v=-SLx9qwWXqs;
   https://www.youtube.com/watch?v=YuuwSTRq2ls;
   https://www.youtube.com/watch?v=-FXhOFNKHgU;
   https://www.youtube.com/watch?v=W1Q3p7YYgPs;
   https://www.youtube.com/watch?v=kQHTF1fS0ik;
   https://www.youtube.com/watch?v=V4RX_2W4OMk;
   https://www.youtube.com/watch?v=fr08-nZy-cY;
   https://www.youtube.com/watch?v=Ry8UJTzCfVw.
   14
     Physician Manual: http://www.accessdata.fda.gov/cdrh_docs/pdf13/P130022d.pdf; Patient
   Manual: http://www.accessdata.fda.gov/cdrh_docs/pdf13/P130022c.pdf.

                                                   -17-
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   customary in the SCS industry. These Nevro employees will provide guidance and instruction to

   the physicians during and after surgery, including by advising on lead placement, setting the

   stimulation parameters of the external trial stimulator or IPG, and otherwise programming the

   external trial stimulator or IPG and familiarizing the patient with the Senza Systems. Upon

   information and belief, Nevro knows of or is willfully blind to the existence of the ’404 patent,

   knows of or is willfully blind to the fact that Nevro infringes the ’404 patent, at least because

   there was a high risk of infringement of the ‘404 patent about which Nevro knew or should have

   known, particularly in view of, for example, the stark similarities between Nevro’s accused

   products (and/or the use of those products as instructed by Nevro as alleged above) and the

   claims of the ’404 patent, of which Nevro knew or should have known as soon as it became

   aware of the ’404 patent as alleged herein, as well as in view the claim charts provided to Nevro

   on December 18, 2019.

          56.     The foregoing actions by Nevro also constitute infringement of at least claim 7 of

   the ’404 patent in violation of 35 U.S.C. § 271(f)(1), wherein Nevro has supplied and/or caused

   to be supplied in or from the United States, and it continues to supply and/or cause to be supplied

   in or from the United States, infringing SCS systems. Upon information and belief, Nevro has

   exported the infringing SCS systems from the United States to at least Europe and Australia.

          57.     Nevro has offered to sell, sold, and/or imported its IPGs (which, as detailed

   above, practices the patented invention) to others, including physicians, hospitals, and other

   health care providers. The physicians, hospitals, and other health care providers then make, use,

   sell, or offer to sell systems that incorporate Nevro’s IPGs to directly infringe at least claim 7 of

   the ’404 patent. Upon information and belief, Nevro, as detailed above, knows of or is willfully

   blind to the existence of the ’404 patent, knows of or is willfully blind to the fact that it infringes

   the ’404 patent, at least because there was a high risk of infringement of the ’404 patent about

                                                    -18-
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   which Nevro knew or should have known, particularly in view of, for example, the stark

   similarities between Nevro’s accused products (and/or the use of those products as instructed by

   Nevro as alleged above) and the claims of the ’404 patent, of which Nevro knew or should have

   known as soon as it became aware of the ’404 patent as alleged herein, as well as in view the

   claim charts provided to Nevro on December 18, 2019. Moreover, as detailed above, Nevro’s

   IPGs comprise a material part of the invention claimed in claim 7 of the ’404 patent and, upon

   information and belief, Nevro knows that these components are especially made and/or

   especially adapted for use in infringing claim 7 of the ’404 patent. Upon information and belief,

   these components are not staple articles or commodities of commerce suitable for substantial

   non-infringing use at least because Nevro’s IPGs have no use apart from, and is a component of

   a medical device that is not approved for any purpose other than, making the infringing SCS

   system.

          58.     The foregoing actions by Nevro also constitute infringement of at least claim 7 of

   the ’404 patent in violation of 35 U.S.C. § 271(f)(2), wherein Nevro has supplied and/or caused

   to be supplied in or from the United States, and it continues to supply and/or cause to be supplied

   in or from the United States, the infringing SCS systems. Upon information and belief, Nevro

   has exported the infringing SCS systems from the United States to at least Europe and Australia.

          59.     Boston Scientific has been damaged as a result of Nevro’s infringing conduct and

   is entitled to recover damages that adequately compensate it for Nevro’s infringement, which, by

   law, cannot be less than a reasonable royalty, together with interest and costs as fixed by this

   Court under 35 U.S.C. § 284.

                COUNT II: INFRINGEMENT OF U.S. PATENT NO. 8,682,447

          60.     Boston Scientific realleges paragraphs 1-59 above as if fully set forth herein.




                                                   -19-
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          61.     The ’447 patent, entitled “Apparatus and Method for Determining the Relative

   Position and Orientation of Neurostimulation Leads,” is a valid, enforceable patent that was duly

   issued by the USPTO on March 25, 2014 in full compliance with Title 35 of the United States

   Code. A true and correct copy of the ’447 patent is attached as Exhibit 3.

          62.     BSN is the assignee of the ’447 patent with ownership of all substantial rights in

   the ’447 patent, including the right to exclude others and to enforce, sue, and recover damages

   for past and future infringements. BSC is an exclusive licensee of the ’447 patent.

          63.     The claims of the ’447 patent cover apparatuses and methods for determining and

   displaying the relative orientation of implanted leads in a user. Claim 1 is illustrative of the

   claims of the ’447 patent and is directed to an apparatus for determining the relative position of

   implanted leads by conveying electrical stimulation energy from an IPG into the tissue of a

   patient and displaying the relative two-dimensional orientation of the leads.

          64.     Nevro has directly infringed, and continues to directly infringe, at least claim 1 of

   the ’447 patent in violation of 35 U.S.C. § 271(a) by, for example and without limitation,

   making, using, offering to sell, selling, and/or importing in and into the United States infringing

   SCS systems that determine the relative position of implanted leads by conveying electrical

   stimulation energy from the IPG into a patient’s tissue and displaying the relative two-

   dimensional orientation of the leads.

          65.     Boston Scientific, through its investigation of the Senza I System via publicly

   available information and an examination of Nevro’s IPG,15 has determined that the Senza I


   15
      Exemplary materials:
   https://www.accessdata.fda.gov/cdrh_docs/pdf13/P130022a.pdf
   http://www.accessdata.fda.gov/cdrh_docs/pdf13/P130022b.pdf
   http://www.accessdata.fda.gov/cdrh_docs/pdf13/P130022c.pdf
   http://www.accessdata.fda.gov/cdrh_docs/pdf13/P130022d.pdf


                                                   -20-
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   System meets every element of at least claim 1 of the ’447 patent, either literally or under the

   doctrine of equivalents. On information and belief, the Senza II System and Senza Omnia are

   insubstantially different from the Senza I System and, like the Senza I System, meet all

   limitations of claim 1 of the ’447 patent.

          66.     Claim 1 of the ’447 patent recites “A method, comprising: determining, using

   circuitry, a relative two-dimensional orientation of first and second multiple-electrode leads

   implanted within a user.” As explained in the attached Claim Chart, the Nevro Senza Systems

   determine the relative lead position of multipolar leads in a multi-lead configuration and display

   the relative two-dimensional orientation of the first and second multiple electrode leads. (Ex. 1

   at 27-30.)

          67.     Claim 1 of the ’447 patent also recites “conveying electrical stimulation energy

   from a pulse generator implanted within the user into tissue of the user via the first and second

   multiple-electrode leads.” As explained in the attached Claim Chart, the Nevro Senza Systems

   determine the relative lead position by performing an “impedance check,” in which electrical

   stimulation energy is conveyed into the tissue of a patient. (Ex. 1 at 30-31.)

          68.     Claim 1 of the ’447 patent also recites “displaying the relative two-dimensional

   orientation of the first and second multiple-electrode leads.” As explained in the attached Claim

   Chart, the Nevro Senza Systems display the relative two-dimensional orientation of the first and

   second multiple electrode leads, as shown in the screenshot of the Senza System clinician

   programmer. (Ex. 1 at 31-33.)

          69.     As described in the preceding paragraphs and in the attached Claim Chart, each

   limitation of Claim 1 of the ’447 patent is performed by the Nevro Senza Systems.


   Testing of a publicly available Senza I system, including IPG, leads, clinical programmer, and
   patient remote.

                                                   -21-
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          70.     Upon information and belief, Nevro has been aware of the ’447 patent, or

   willfully blind to its existence, and Nevro knew, should have known, or was willfully blind to the

   fact that it was infringing the ’447 patent, and that there was a high risk of infringement of the

   ’447 patent about which Nevro knew or should have known, particularly in view of, for example,

   the stark similarities between Nevro’s accused products and the claims of the ’447 patent, of

   which Nevro knew or should have known as soon as it became aware of the ’447 patent as

   alleged herein, as well as in view the claim charts provided to Nevro on December 18, 2019.

   Nevro’s knowledge of infringement by the Senza Systems throughout the period of infringement

   is based on, but not limited to: (1) Nevro’s monitoring and competitive intelligence of Boston

   Scientific, who is a direct competitor of Nevro; (2) any pre-suit investigation related to Boston

   Scientific’s filing of two Petitions for Inter Partes Review of Nevro’s U.S. Patent No. 8,359,102

   in May 2015; (3) Nevro’s participation in an FDA-monitored randomized controlled trial in a

   head-to-head comparison against Boston Scientific’s PrecisionTM SCS System; and (4) the

   approximately 50 Nevro employees who were formerly employed by Boston Scientific,

   including employees who worked on Boston Scientific SCS product development and who were

   responsible for its neuromodulation patent portfolio, such as Kerry Bradley and James Thacker,

   who are both named inventors of the ’447 patent.

          71.     At a minimum, Nevro has been aware of the ’447 patent, or willfully blind to its

   existence, since the service of the First Amended Complaint, and thus knew, should have known,

   or was willfully blind to the infringement of the ’447 patent by the Nevro Senza Systems.

   Nevro’s infringement has been ongoing. Indeed, after service of the First Amended Complaint,

   rather than take any steps to alter its products or cease its infringement, Nevro introduced the

   Senza Omnia, which, upon information and belief, is insubstantially different from the Senza I

   and Senza II infringing systems with respect to the subject matter of the ’447 patent.

                                                   -22-
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          72.     Nevro has, for example and without limitation, marketed, sold, and offered to sell

   the Senza Systems, providing instructions on how to use the Senza Systems, and promoting the

   use of the Senza Systems. For example, Nevro encourages physicians, hospitals, other health

   care providers, and patients to use the Senza Systems by means of marketing materials16 and

   videos.17 Nevro also instructs physicians, hospitals, other health care providers, and patients on

   how to use the Senza Systems by means of physician and patient manuals.18 Upon information

   and belief, Nevro also has a clinical engineer, sales representative, therapy consultant, therapy

   optimization specialist, and/or therapy support specialist present in the operating room, as is

   customary in the SCS industry. These Nevro employees will provide guidance and instruction to

   the physicians during and after surgery, including by advising on lead placement, setting the

   stimulation parameters of the external trial stimulator or IPG, and otherwise programming the


   16
      Exemplary marketing materials:
   http://www.nevro.com/English/Physicians/Clinical-Evidence/default.aspx;
   http://www.nevro.com/English/Physicians/SENZA-RCT-Design/default.aspx;
   http://www.nevro.com/English/Physicians/HF10-Therapy-Superiority/default.aspx;
   http://www.nevro.com/English/Physicians/HF10-Therapy-Benefits/default.aspx;
   http://www.nevro.com/English/Physicians/Senza-System/default.aspx.
   17
      Exemplary marketing videos:
   https://www.youtube.com/watch?v=s2LtOcCiMVg;
   https://www.youtube.com/watch?v=Ua7rJ97S2Bk;
   https://www.youtube.com/watch?v=I0RJaWyFeCQ;
   https://www.youtube.com/watch?v=6773eKbZQis;
   https://www.youtube.com/watch?v=-t82yCBSjE0;
   https://www.youtube.com/watch?v=LeLq1lvlJvs;
   https://www.youtube.com/watch?v=-SLx9qwWXqs;
   https://www.youtube.com/watch?v=YuuwSTRq2ls;
   https://www.youtube.com/watch?v=-FXhOFNKHgU;
   https://www.youtube.com/watch?v=W1Q3p7YYgPs;
   https://www.youtube.com/watch?v=kQHTF1fS0ik;
   https://www.youtube.com/watch?v=V4RX_2W4OMk;
   https://www.youtube.com/watch?v=fr08-nZy-cY;
   https://www.youtube.com/watch?v=Ry8UJTzCfVw.
   18
     Physician Manual: http://www.accessdata.fda.gov/cdrh_docs/pdf13/P130022d.pdf; Patient
   Manual: http://www.accessdata.fda.gov/cdrh_docs/pdf13/P130022c.pdf.

                                                   -23-
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   external trial stimulator or IPG and familiarizing the patient with the Senza Systems. Upon

   information and belief, Nevro knows of or is willfully blind to the existence of the ’447 patent,

   knows of or is willfully blind to the fact that it infringes the ’447 patent, at least because there

   was a high risk of infringement of the ‘447 patent about which Nevro knew or should have

   known, particularly in view of, for example, the stark similarities between Nevro’s accused

   products (and/or the use of those products as instructed by Nevro as alleged above) and the

   claims of the ‘447 patent, of which Nevro knew or should have known as soon as it became

   aware of the ‘447 patent as alleged herein, as well as in view the claim charts provided to Nevro

   on December 18, 2019.

          73.     The foregoing actions by Nevro also constitute infringement of at least claim 1 of

   the ’447 patent in violation of 35 U.S.C. § 271(f)(1), wherein Nevro has supplied and/or caused

   to be supplied in or from the United States, and it continues to supply and/or cause to be supplied

   in or from the United States, infringing SCS systems. Upon information and belief, Nevro has

   exported the infringing SCS systems from the United States to at least Europe and Australia.

          74.     For example, Nevro has offered to sell, sold, and/or imported its IPGs (which, as

   detailed above, practices the patented invention) to others, including physicians, hospitals, and

   other health care providers. The physicians, hospitals, and other health care providers then

   make, use, sell, or offer to sell systems that incorporate Nevro’s IPGs to directly infringe at least

   claim 1 of the ’447 patent. Upon information and belief, Nevro, as detailed above, knows of or

   is willfully blind to the existence of the ’447 patent, knows of or is willfully blind to the fact that

   it infringes the ’447 patent, at least because there was a high risk of infringement of the ’447

   patent about which Nevro knew or should have known, particularly in view of, for example, the

   stark similarities between Nevro’s accused products (and/or the use of those products as

   instructed by Nevro as alleged above) and the claims of the ’447 patent, of which Nevro knew or

                                                    -24-
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   should have known as soon as it became aware of the ’447 patent as alleged herein, as well as in

   view the claim charts provided to Nevro on December 18, 2019. Moreover, as detailed above,

   Nevro’s IPGs comprise a material part of the invention claimed in claim 10 of the ’447 patent

   and, upon information and belief, Nevro knows that these components are especially made

   and/or especially adapted for use in infringing claim 1 of the ’447 patent. Upon information and

   belief, these components are not staple articles or commodities of commerce suitable for

   substantial non-infringing use at least because Nevro’s IPGs have no use apart from, and is a

   component of a medical device that is not approved for any purpose other than, making the

   infringing SCS system.

          75.     The foregoing actions by Nevro also constitute infringement of at least claim 1 of

   the ’447 patent in violation of 35 U.S.C. § 271(f)(2), wherein Nevro has supplied and/or caused

   to be supplied in or from the United States, and it continues to supply and/or cause to be supplied

   in or from the United States, the infringing SCS systems. Upon information and belief, Nevro

   has exported the infringing SCS systems from the United States to at least Europe and Australia.

          76.     Boston Scientific has been damaged as a result of Nevro’s infringing conduct and

   is entitled to recover damages that adequately compensate it for Nevro’s infringement, which, by

   law, cannot be less than a reasonable royalty, together with interest and costs as fixed by this

   Court under 35 U.S.C. § 284.

                COUNT III: INFRINGEMENT OF U.S. PATENT NO. 6,993,384

          77.     Boston Scientific realleges paragraphs 1-77 above as if fully set forth herein.

          78.     The ’384 patent, entitled “Apparatus and Method for Determining the Relative

   Position and Orientation of Neurostimulation Leads,” is a valid, enforceable patent that was duly

   issued by the USPTO on January 31, 2006 in full compliance with Title 35 of the United States

   Code. A true and correct copy of the ’384 patent is attached as Exhibit 4.


                                                   -25-
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          79.     BSN is the assignee of the ’384 patent with ownership of all substantial rights in

   the ’384 patent, including the right to exclude others and to enforce, sue, and recover damages

   for past and future infringements. BSC is an exclusive licensee of the ’384 patent.

          80.     The claims of the ’384 patent cover an apparatus and methods for determining the

   relative orientation of implanted leads by measuring impedance vectors between lead electrodes.

   Nevro infringes at least claim 1. Claim 1 is illustrative of the claims of the ’384 patent and is

   directed to a method of determining relative position of implanted leads by conveying electrical

   stimulation energy from an IPG into the tissue of a patient and displaying the relative two-

   dimensional orientation of the leads.

          81.     Nevro has directly infringed, and continues to directly infringe, at least claim 1 of

   the ’384 patent in violation of 35 U.S.C. § 271(a) by, for example and without limitation,

   making, using, offering to sell, selling, and/or importing in and into the United States infringing

   SCS systems that determines the relative position of implanted leads by measuring impedance

   vectors between electrodes and inferring the relative position of the lead by the relative minima

   and maxima of the impedance values.

          82.     Boston Scientific, through its investigation of the Senza I System via publicly

   available information and an examination of Nevro’s IPG,19 has determined that the Senza I

   System meets every element of at least claim 1 of the ’384 patent, either literally or under the

   doctrine of equivalents. On information and belief, the Senza II System and Senza Omnia are



   19
      Exemplary materials:
   https://www.accessdata.fda.gov/cdrh_docs/pdf13/P130022a.pdf
   http://www.accessdata.fda.gov/cdrh_docs/pdf13/P130022b.pdf
   http://www.accessdata.fda.gov/cdrh_docs/pdf13/P130022c.pdf
   http://www.accessdata.fda.gov/cdrh_docs/pdf13/P130022d.pdf
   Testing of a publicly available Senza I system, including IPG, leads, clinical programmer, and
   patient remote.

                                                   -26-
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   insubstantially different from the Senza I System and, like the Senza I System, meet all

   limitations of claim 1 of the ’384 patent.

          83.     Claim 1 of the ’384 patent recites “A method for determining the relative lead

   position of multipolar leads in a multi-lead configuration comprising measuring impedance

   vectors between electrodes, and inferring the relative position of the lead by the relative minima

   and maxima of the impedance values.” As explained in the Claim Chart, the Nevro Senza

   Systems determine the relative lead position of multipolar leads in a multi-lead configuration by

   measuring impedance vectors between electrodes and inferring the relative position of the lead

   by the relative minima and maxima of the impedance. (Ex. 1 at 34-40.)

          84.     As described in the preceding paragraphs and in the attached Claim Chart, each

   limitation of Claim 1 of the ’384 patent is performed by the Nevro Senza Systems.

          85.     Upon information and belief, Nevro has been aware of the ’384 patent, or

   willfully blind to its existence, and Nevro knew, should have known, or was willfully blind to the

   fact that it was infringing the ’384 patent, and that there was a high risk of infringement of the

   ‘384 patent about which Nevro knew or should have known, particularly in view of, for example,

   the stark similarities between Nevro’s accused products and the claims of the ‘384 patent, of

   which Nevro knew or should have known as soon as it became aware of the ‘384 patent as

   alleged herein, as well as in view the claim charts provided to Nevro on December 18, 2019.

   Nevro’s knowledge of infringement by the Senza Systems throughout the period of infringement

   is based on, but not limited to: (1) Nevro’s monitoring and competitive intelligence of Boston

   Scientific, who is a direct competitor of Nevro; (2) any pre-suit investigation related to Boston

   Scientific’s filing of two Petitions for Inter Partes Review of Nevro’s U.S. Patent No. 8,359,102

   in May 2015; (3) Nevro’s participation in an FDA-monitored randomized controlled trial in a

   head-to-head comparison against Boston Scientific’s PrecisionTM SCS System; and (4) the

                                                   -27-
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   approximately 50 Nevro employees who were formerly employed by Boston Scientific,

   including employees who worked on Boston Scientific SCS product development and who were

   responsible for its neuromodulation patent portfolio, such as James Thacker, who is a listed

   inventor of the ’384 patent, and Kerry Bradley.

          86.     At a minimum, Nevro has been aware of the ’384 patent, or willfully blind to its

   existence, since the service of the First Amended Complaint, and thus knew, should have known,

   or was willfully blind to the infringement of the ’384 patent by the Nevro Senza Systems.

   Nevro’s infringement has been ongoing. Indeed, after service of the First Amended Complaint,

   rather than take any steps to alter its products or cease its infringement, Nevro introduced the

   Senza Omnia, which, upon information and belief, is insubstantially different from the Senza I

   and Senza II infringing systems with respect to the subject matter of the ’384 patent.

          87.     Nevro has, for example and without limitation, marketed, sold, and offered to sell

   the Senza Systems, providing instructions on how to use the Senza Systems, and promoting the

   use of the Senza Systems. For example, Nevro encourages physicians, hospitals, other health

   care providers, and patients to use the Senza Systems by means of marketing materials20 and

   videos.21 Nevro also instructs physicians, hospitals, other health care providers, and patients on


   20
      Exemplary marketing materials:
   http://www.nevro.com/English/Physicians/Clinical-Evidence/default.aspx;
   http://www.nevro.com/English/Physicians/SENZA-RCT-Design/default.aspx;
   http://www.nevro.com/English/Physicians/HF10-Therapy-Superiority/default.aspx;
   http://www.nevro.com/English/Physicians/HF10-Therapy-Benefits/default.aspx;
   http://www.nevro.com/English/Physicians/Senza-System/default.aspx.
   21
      Exemplary marketing videos:
   https://www.youtube.com/watch?v=s2LtOcCiMVg;
   https://www.youtube.com/watch?v=Ua7rJ97S2Bk;
   https://www.youtube.com/watch?v=I0RJaWyFeCQ;
   https://www.youtube.com/watch?v=6773eKbZQis;
   https://www.youtube.com/watch?v=-t82yCBSjE0;
   https://www.youtube.com/watch?v=LeLq1lvlJvs;


                                                   -28-
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   how to use the Senza Systems by means of physician and patient manuals.22 Upon information

   and belief, Nevro also has a clinical engineer, sales representative, therapy consultant, therapy

   optimization specialist, and/or therapy support specialist present in the operating room, as is

   customary in the SCS industry. These Nevro employees will provide guidance and instruction to

   the physicians during and after surgery, including by advising on lead placement, setting the

   stimulation parameters of the external trial stimulator or IPG, and otherwise programming the

   external trial stimulator or IPG and familiarizing the patient with the Senza Systems. Upon

   information and belief, Nevro knows of or is willfully blind to the existence of the ’384 patent,

   knows of or is willfully blind to the fact that it infringes the ’384 patent, at least because there

   was a high risk of infringement of the ’384 patent about which Nevro knew or should have

   known, particularly in view of, for example, the stark similarities between Nevro’s accused

   products (and/or the use of those products as instructed by Nevro as alleged above) and the

   claims of the ’384 patent, of which Nevro knew or should have known as soon as it became

   aware of the ’384 patent as alleged herein, as well as in view the claim charts provided to Nevro

   on December 18, 2019.

          88.     The foregoing actions by Nevro also constitute infringement of at least claim 1 of

   the ’384 patent in violation of 35 U.S.C. § 271(f)(1), wherein Nevro has supplied and/or caused




   https://www.youtube.com/watch?v=-SLx9qwWXqs;
   https://www.youtube.com/watch?v=YuuwSTRq2ls;
   https://www.youtube.com/watch?v=-FXhOFNKHgU;
   https://www.youtube.com/watch?v=W1Q3p7YYgPs;
   https://www.youtube.com/watch?v=kQHTF1fS0ik;
   https://www.youtube.com/watch?v=V4RX_2W4OMk;
   https://www.youtube.com/watch?v=fr08-nZy-cY;
   https://www.youtube.com/watch?v=Ry8UJTzCfVw.
   22
     Physician Manual: http://www.accessdata.fda.gov/cdrh_docs/pdf13/P130022d.pdf; Patient
   Manual: http://www.accessdata.fda.gov/cdrh_docs/pdf13/P130022c.pdf.

                                                    -29-
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   to be supplied in or from the United States, and it continues to supply and/or cause to be supplied

   in or from the United States, infringing SCS systems. Upon information and belief, Nevro has

   exported the infringing SCS systems from the United States to at least Europe and Australia.

          89.     Nevro has offered to sell, sold, and/or imported its IPGs (which, as detailed

   above, practices the patented invention) to others, including physicians, hospitals, and other

   health care providers. The physicians, hospitals, and other health care providers then make, use,

   sell, or offer to sell systems that incorporate Nevro’s IPGs to directly infringe at least claim 1 of

   the ’384 patent. Upon information and belief, Nevro, as detailed above, knows of or is willfully

   blind to the existence of the ’384 patent, knows of or is willfully blind to the fact that it infringes

   the ’384 patent, at least because there was a high risk of infringement of the ’384 patent about

   which Nevro knew or should have known, particularly in view of, for example, the stark

   similarities between Nevro’s accused products (and/or the use of those products as instructed by

   Nevro as alleged above) and the claims of the ’384 patent, of which Nevro knew or should have

   known as soon as it became aware of the ’384 patent as alleged herein, as well as in view the

   claim charts provided to Nevro on December 18, 2019. Moreover, as detailed above, Nevro’s

   IPGs comprise a material part of the invention claimed in claim 1 of the ’384 patent and, upon

   information and belief, Nevro knows that these components are especially made and/or

   especially adapted for use in infringing claim 1 of the ’384 patent. Upon information and belief,

   these components are not staple articles or commodities of commerce suitable for substantial

   non-infringing use at least because Nevro’s IPGs have no use apart from, and is a component of

   a medical device that is not approved for any purpose other than, making the infringing SCS

   system.

          90.     The foregoing actions by Nevro also constitute infringement of at least claim 1 of

   the ’384 patent in violation of 35 U.S.C. § 271(f)(2), wherein Nevro has supplied and/or caused

                                                    -30-
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   to be supplied in or from the United States, and it continues to supply and/or cause to be supplied

   in or from the United States, the infringing SCS systems. Upon information and belief, Nevro

   has exported the infringing SCS systems from the United States to at least Europe and Australia.

          91.     Boston Scientific has been damaged as a result of Nevro’s infringing conduct and

   is entitled to recover damages that adequately compensate it for Nevro’s infringement, which, by

   law, cannot be less than a reasonable royalty, together with interest and costs as fixed by this

   Court under 35 U.S.C. § 284.

                COUNT IV: INFRINGEMENT OF U.S. PATENT NO. 7,853,330

          92.     Boston Scientific realleges paragraphs 1-93 above as if fully set forth herein.

          93.     The ’330 patent, entitled “Apparatus and Method for Determining the Relative

   Position and Orientation of Neurostimulation Leads,” is a valid, enforceable patent that was duly

   issued by the USPTO on December 14, 2010 in full compliance with Title 35 of the United

   States Code. A true and correct copy of the ’330 patent is attached as Exhibit 5.

          94.     BSN is the assignee of the ’330 patent with ownership of all substantial rights in

   the ’330 patent, including the right to exclude others and to enforce, sue, and recover damages

   for past and future infringements. BSC is an exclusive licensee of the ’330 patent.

          95.     The claims of the ’330 patent cover methods for determining the relative

   orientation of implanted leads by measuring impedances and field potentials of lead electrodes.

   Claim 1 is illustrative of the claims of the ’330 patent and is directed to a method of determining

   relative position of implanted leads by measuring a monopolar and bipolar electrical impedance

   to determine amplitude of a field potential and using the measured field potential to determine

   the relative positions of implanted leads.

          96.     Nevro has directly infringed, and continues to directly infringe, at least claim 1 of

   the ’330 patent in violation of 35 U.S.C. § 271(a) by, for example and without limitation,


                                                   -31-
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   making, using, offering to sell, selling, and/or importing in and into the United States infringing

   SCS systems that determines the relative position of implanted leads by measuring impedance

   vectors between electrodes and inferring the relative position of the lead by the relative minima

   and maxima of the impedance values.

          97.     Boston Scientific, through its investigation of the Senza I System via publicly

   available information and an examination of Nevro’s IPG,23 has determined that the Senza I

   System meets every element of at least claim 1 of the ’330 patent, either literally or under the

   doctrine of equivalents. On information and belief, the Senza II System and Senza Omnia are

   insubstantially different from the Senza I system and, like the Senza I System, meet all

   limitations of claim 1 of the ’330 patent.

          98.     Claim 1 of the ’330 patent recites “A method of performing a medical procedure

   using a plurality of electrodes implanted within a patient, comprising.” As explained in the

   Claim Chart, the Nevro Senza Systems practice a method of performing a medical procedure

   using a plurality of electrodes implanted within a patient. The Nevro Senza Systems include an

   implantable pulse generator (IPG) that delivers stimulation to a patient using implantable leads.

   (Ex. 1 at 41-42.)

          99.     Claim 1 of the ’330 patent also recites “measuring a first monopolar electrical

   impedance between a first one of the electrodes and a return or reference electrode; measuring a

   second monopolar electrical impedance between each of at least one of the electrodes and the



   23
      Exemplary materials:
   https://www.accessdata.fda.gov/cdrh_docs/pdf13/P130022a.pdf
   http://www.accessdata.fda.gov/cdrh_docs/pdf13/P130022b.pdf
   http://www.accessdata.fda.gov/cdrh_docs/pdf13/P130022c.pdf
   http://www.accessdata.fda.gov/cdrh_docs/pdf13/P130022d.pdf
   Testing of a publicly available Senza I system, including IPG, leads, clinical programmer, and
   patient remote.

                                                   -32-
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   return or reference electrode measuring a bipolar electrical impedance between the first one of

   the electrodes and each of the at least one electrode.” As explained in the Claim Chart, the

   Nevro Senza Systems measure impedance to determine relative positions of implanted leads.

   (Ex. 1 at 42-46.)

          100.    Claim 1 of the ’330 patent also recites “determining the amplitude of a field

   potential at each of at least one of the electrodes based on the measured first monopolar electrical

   impedance, each of the second monopolar electrical impedances, and each of the measured

   bipolar electrical impedances; and determining the relative positions of the electrodes based on

   each of the determined field potential amplitudes.” As explained in the Claim Chart, the Nevro

   Senza Systems determine the amplitude of a field potential at each of at least one of the

   electrodes based on the measured first monopolar electrical impedance, each of the second

   monopolar electrical impedances, and each of the measured bipolar electrical impedances. The

   Nevro Senza Systems also determine the relative positions of the electrodes based on each of the

   determined field potential amplitudes. (Ex. 1 at 46-50.)

          101.    As described in the preceding paragraphs and in the attached Claim Chart, each

   limitation of Claim 1 of the ’330 patent is performed by the Nevro Senza Systems.

          102.    Upon information and belief, Nevro has been aware of the ’330 patent, or

   willfully blind to its existence, and Nevro knew, should have known, or was willfully blind to the

   fact that it was infringing the ’330 patent, and that there was a high risk of infringement of the

   ’330 patent about which Nevro knew or should have known, particularly in view of, for example,

   the stark similarities between Nevro’s accused products and the claims of the ’330 patent, of

   which Nevro knew or should have known as soon as it became aware of the ’330 patent as

   alleged herein, as well as in view the claim charts provided to Nevro on December 18, 2019.

   Nevro’s knowledge of infringement by the Senza Systems throughout the period of infringement

                                                   -33-
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   is based on, but not limited to: (1) Nevro’s monitoring and competitive intelligence of Boston

   Scientific, who is a direct competitor of Nevro; (2) any pre-suit investigation related to Boston

   Scientific’s filing of two Petitions for Inter Partes Review of Nevro’s U.S. Patent No. 8,359,102

   in May 2015; (3) Nevro’s participation in an FDA-monitored randomized controlled trial in a

   head-to-head comparison against Boston Scientific’s PrecisionTM SCS System; and (4) the

   approximately 50 Nevro employees who were formerly employed by Boston Scientific,

   including employees who worked on Boston Scientific SCS product development and who were

   responsible for its neuromodulation patent portfolio, such as Kerry Bradley and James Thacker.

          103.    At a minimum, Nevro has been aware of the ’330 patent, or willfully blind to its

   existence, since the service of the First Amended Complaint, and thus knew, should have known,

   or was willfully blind to the infringement of the ’330 patent by the Nevro Senza Systems.

   Nevro’s infringement has been ongoing. Indeed, after service of the First Amended Complaint,

   rather than take any steps to alter its products or cease its infringement, Nevro introduced the

   Senza Omnia, which, upon information and belief, is insubstantially different from the Senza I

   and Senza II infringing systems with respect to the subject matter of the ’330 patent.

          104.    Nevro has, for example and without limitation, marketed, sold, and offered to sell

   the Senza Systems, providing instructions on how to use the Senza Systems, and promoting the

   use of the Senza Systems. For example, Nevro encourages physicians, hospitals, other health

   care providers, and patients to use the Senza Systems by means of marketing materials24 and



   24
      Exemplary marketing materials:
   http://www.nevro.com/English/Physicians/Clinical-Evidence/default.aspx;
   http://www.nevro.com/English/Physicians/SENZA-RCT-Design/default.aspx;
   http://www.nevro.com/English/Physicians/HF10-Therapy-Superiority/default.aspx;
   http://www.nevro.com/English/Physicians/HF10-Therapy-Benefits/default.aspx;
   http://www.nevro.com/English/Physicians/Senza-System/default.aspx.


                                                   -34-
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   videos.25 Nevro also instructs physicians, hospitals, other health care providers, and patients on

   how to use the Senza Systems by means of physician and patient manuals.26 Upon information

   and belief, Nevro also has a clinical engineer, sales representative, therapy consultant, therapy

   optimization specialist, and/or therapy support specialist present in the operating room, as is

   customary in the SCS industry. These Nevro employees will provide guidance and instruction to

   the physicians during and after surgery, including by advising on lead placement, setting the

   stimulation parameters of the external trial stimulator or IPG, and otherwise programming the

   external trial stimulator or IPG and familiarizing the patient with the Senza Systems. Upon

   information and belief, Nevro knows of or is willfully blind to the existence of the ’330 patent,

   knows of or is willfully blind to the fact that it infringes the ’330 patent, at least because there

   was a high risk of infringement of the ’330 patent about which Nevro knew or should have

   known, particularly in view of, for example, the stark similarities between Nevro’s accused

   products (and/or the use of those products as instructed by Nevro as alleged above) and the

   claims of the ’330 patent, of which Nevro knew or should have known as soon as it became


   25
      Exemplary marketing videos:
   https://www.youtube.com/watch?v=s2LtOcCiMVg;
   https://www.youtube.com/watch?v=Ua7rJ97S2Bk;
   https://www.youtube.com/watch?v=I0RJaWyFeCQ;
   https://www.youtube.com/watch?v=6773eKbZQis;
   https://www.youtube.com/watch?v=-t82yCBSjE0;
   https://www.youtube.com/watch?v=LeLq1lvlJvs;
   https://www.youtube.com/watch?v=-SLx9qwWXqs;
   https://www.youtube.com/watch?v=YuuwSTRq2ls;
   https://www.youtube.com/watch?v=-FXhOFNKHgU;
   https://www.youtube.com/watch?v=W1Q3p7YYgPs;
   https://www.youtube.com/watch?v=kQHTF1fS0ik;
   https://www.youtube.com/watch?v=V4RX_2W4OMk;
   https://www.youtube.com/watch?v=fr08-nZy-cY;
   https://www.youtube.com/watch?v=Ry8UJTzCfVw.
   26
     Physician Manual: http://www.accessdata.fda.gov/cdrh_docs/pdf13/P130022d.pdf; Patient
   Manual: http://www.accessdata.fda.gov/cdrh_docs/pdf13/P130022c.pdf.

                                                    -35-
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   aware of the ’330 patent as alleged herein, as well as in view the claim charts provided to Nevro

   on December 18, 2019.

          105.    Nevro has offered to sell, sold, and/or imported its IPGs (which, as detailed

   above, practices the patented invention) to others, including physicians, hospitals, and other

   health care providers. The physicians, hospitals, and other health care providers then make, use,

   sell, or offer to sell systems that incorporate Nevro’s IPGs to directly infringe at least claim 1 of

   the ’330 patent. Upon information and belief, Nevro, as detailed above, knows of or is willfully

   blind to the existence of the ’330 patent, knows of or is willfully blind to the fact that it infringes

   the ’330 patent, at least because there was a high risk of infringement of the ’330 patent about

   which Nevro knew or should have known, particularly in view of, for example, the stark

   similarities between Nevro’s accused products (and/or the use of those products as instructed by

   Nevro as alleged above) and the claims of the ’330 patent, of which Nevro knew or should have

   known as soon as it became aware of the ’330 patent as alleged herein, as well as in view the

   claim charts provided to Nevro on December 18, 2019. Moreover, as detailed above, Nevro’s

   IPGs comprise a material part of the invention claimed in claim 1 of the ’330 patent and, upon

   information and belief, Nevro knows that these components are especially made and/or

   especially adapted for use in infringing claim 1 of the ’330 patent. Upon information and belief,

   these components are not staple articles or commodities of commerce suitable for substantial

   non-infringing use at least because Nevro’s IPGs have no use apart from, and is a component of

   a medical device that is not approved for any purpose other than, making the infringing SCS

   system.

          106.    Boston Scientific has been damaged as a result of Nevro’s infringing conduct and

   is entitled to recover damages that adequately compensate it for Nevro’s infringement, which, by




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   law, cannot be less than a reasonable royalty, together with interest and costs as fixed by this

   Court under 35 U.S.C. § 284.

                 COUNT V: INFRINGEMENT OF U.S. PATENT NO. 7,822,480

          107.    Boston Scientific realleges paragraphs 1-109 above as if fully set forth herein.

          108.    The ’480 patent, entitled “Apparatus and Method for Determining the Relative

   Position and Orientation of Neurostimulation Leads,” is a valid, enforceable patent that was duly

   issued by the USPTO on October 26, 2010 in full compliance with Title 35 of the United States

   Code. A true and correct copy of the ’480 patent is attached as Exhibit 6.

          109.    BSN is the assignee of the ’480 patent with ownership of all substantial rights in

   the ’480 patent, including the right to exclude others and to enforce, sue, and recover damages

   for past and future infringements. BSC is an exclusive licensee of the ’480 patent.

          110.    The claims of the ’480 patent cover a system that transmits a uniquely modulated

   signal with On-Off Keying (OOK) from an external device to an implantable medical device.

   Claim 2 is directed to a system including an external device with circuitry configured to send a

   signal modulated with a unique OOK modulation technique for transmission of control data to an

   implanted device using a coil. The system also includes an implantable device to receive the

   OOK signal. The modulated signal comprises logic ‘0’ bits of a first pulse width and logic ‘1’

   bits of a second pulse width different from the first pulse width, where each bit further comprises

   either an ON state with a signal that varies with a first frequency or an OFF state and the

   transition between adjacent bits in the first signal is marked by a change in the first modulated

   signal between the ON and OFF states. The external device of Claim 2 includes a second

   modulation circuitry for producing from second data a second signal modulated with frequency

   modulation. The system of Claim 2 also has second receiver in the implanted device to receive

   the frequency modulated signal.


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             111.   Nevro has directly infringed, and continues to directly infringe, at least claim 2 of

   the ’480 patent in violation of 35 U.S.C. § 271(a) by, for example and without limitation,

   making, using, offering to sell, selling, and/or importing in and into the United States infringing

   SCS systems that transmit control date using the unique modulate signal of claim 2 of the ’480

   patent.

             112.   Boston Scientific, through its investigation of the Senza I System via publicly

   available information and an examination of Nevro’s IPG,27 has determined that the Senza I

   System meets every element of at least claim 2 of the ’480 patent, either literally or under the

   doctrine of equivalents. On information and belief, the Senza II System and Senza Omnia are

   insubstantially different from the Senza I System and, like the Senza I System, meet all

   limitations of claim 1 of the ’480 patent.

             113.   Claim 1 of the ’480 patent recites “A system, comprising: an external device,

   comprising.” As explained in the Claim Chart, the Nevro Senza Systems include an external

   charger. (Ex. 1 at 51-53.)

             114.   Claim 1 of the ’480 patent also recites “first modulation circuitry for producing

   from first data a first signal modulated with on-off keying (OOK) modulation, wherein the first

   modulated signal comprises logic ‘0’ bits of a first pulse width and logic ‘1’ bits of a second

   pulse width different from the first pulse width.” As explained in the Claim Chart, the Nevro




   27
      Exemplary materials:
   https://www.accessdata.fda.gov/cdrh_docs/pdf13/P130022a.pdf
   http://www.accessdata.fda.gov/cdrh_docs/pdf13/P130022b.pdf
   http://www.accessdata.fda.gov/cdrh_docs/pdf13/P130022c.pdf
   http://www.accessdata.fda.gov/cdrh_docs/pdf13/P130022d.pdf
   Testing of a publicly available Senza I system, including IPG, leads, clinical programmer, and
   patient remote.

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   Senza Systems’ external charger uses OOK modulation with a logic “0” having a pulse width

   different than a logic “1.” (Ex. 1 at 53-55.)

          115.    Claim 1 of the ’480 patent also recites “wherein each bit further comprises either

   an ON state with a signal that varies with a first frequency or an OFF state, wherein a transition

   between adjacent bits in the first signal is marked by a change in the first modulated signal

   between the ON and OFF states.” As explained in the Claim Chart, the logic bits transmitted by

   OOK from Nevro Senza Systems’ external charger have ON and OFF states, where a transition

   between adjacent bits is marked by a change in the ON and OFF states. (Ex. 1 at 55-57.)

          116.    Claim 1 of the ’480 patent also recites “a coil configured to wirelessly transmit

   the first modulated signal to the implantable medical device.” As explained in the Claim Chart,

   Nevro Senza Systems’ external charger includes a coil. (Ex. 1 at 57-61.)

          117.    Claim 1 of the ’480 patent also recites “an implantable medical device,

   comprising a first telemetry receiver in the implantable medical device for demodulating the first

   modulated signal to recover the first data.” As explained in the Claim Chart, Nevro Senza

   Systems include an implantable pulse generator (IPG) that contains a telemetry receiver for

   demodulating the first modulated signal (OOK modulated signal). (Ex. 1 at 61-62.)

          118.    Claim 2 of the ’480 patent recites “The system of claim 1, further comprising:

   second modulation circuitry in the external device for producing from second data a second

   signal modulated with frequency modulation.” As explained in the Claim Chart, the Nevro

   Senza Systems include an external patient remote and/or an external clinician programmer with

   programmer wand (i.e., coil), each with a second modulation circuitry that modulates telemetry

   using FSK frequency modulation. (Ex. 1 at 62-64.)

          119.    Claim 2 of the ’480 patent also recites “wherein the coil is further configured to

   wirelessly transmit the second modulated signal to the implantable medical device.” As

                                                   -39-
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   explained in the Claim Chart, the Nevro Senza Systems include an external patient remote with

   an internal coil and/or an external clinician programmer with programmer wand (i.e., coil) that

   transmit the FSK frequency modulation signal to the IPG. (Ex. 1 at 64.)

          120.    Claim 2 of the ’480 patent also recites “a second telemetry receiver in the

   implantable medical device for demodulating the second modulated signal to recover the second

   data.” As explained in the Claim Chart, the Nevro Senza Systems include an IPG, which is an

   implantable medical device that contains a telemetry receiver for demodulating the second

   modulated signal (FSK frequency modulation) to recover the second data. (Ex. 1 at 64-65.)

          121.    As described in the preceding paragraphs and in the attached Claim Chart, each

   limitation of Claim 2 of the ’480 patent is performed by the Nevro Senza Systems.

          122.    Upon information and belief, Nevro has been aware of the ’480 patent, or

   willfully blind to its existence, and Nevro knew, should have known, or was willfully blind to the

   fact that it was infringing the ’480 patent, and that there was a high risk of infringement of the

   ’480 patent about which Nevro knew or should have known, particularly in view of, for example,

   the stark similarities between Nevro’s accused products and the claims of the ’480 patent, of

   which Nevro knew or should have known as soon as it became aware of the ’480 patent as

   alleged herein, as well as in view the claim charts provided to Nevro on December 18, 2019.

   Nevro’s knowledge of infringement by the Senza Systems throughout the period of infringement

   is based on, but not limited to: (1) Nevro’s monitoring and competitive intelligence of Boston

   Scientific, who is a direct competitor of Nevro; (2) any pre-suit investigation related to Boston

   Scientific’s filing of two Petitions for Inter Partes Review of Nevro’s U.S. Patent No. 8,359,102

   in May 2015; (3) Nevro’s participation in an FDA-monitored randomized controlled trial in a

   head-to-head comparison against Boston Scientific’s PrecisionTM SCS System; and (4) the

   approximately 50 Nevro employees who were formerly employed by Boston Scientific,

                                                   -40-
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   including employees who worked on Boston Scientific SCS product development and who were

   responsible for its neuromodulation patent portfolio, such as Kerry Bradley and James Thacker.

          123.    At a minimum, Nevro has been aware of the ’480 patent, or willfully blind to its

   existence, since the service of the First Amended Complaint, and thus knew, should have known,

   or was willfully blind to the infringement of the ’480 patent by the Nevro Senza Systems.

   Nevro’s infringement has been ongoing. Indeed, after service of the First Amended Complaint,

   rather than take any steps to alter its products or cease its infringement, Nevro introduced the

   Senza Omnia, which, upon information and belief, is insubstantially different from the Senza I

   and Senza II infringing systems with respect to the subject matter of the ’480 patent.

          124.    Nevro has, for example and without limitation, marketed, sold, and offered to sell

   the Senza Systems, providing instructions on how to use the Senza Systems, and promoting the

   use of the Senza Systems. For example, Nevro encourages physicians, hospitals, other health

   care providers, and patients to use the Senza Systems by means of marketing materials28 and

   videos.29 Nevro also instructs physicians, hospitals, other health care providers, and patients on


   28
      Exemplary marketing materials:
   http://www.nevro.com/English/Physicians/Clinical-Evidence/default.aspx;
   http://www.nevro.com/English/Physicians/SENZA-RCT-Design/default.aspx;
   http://www.nevro.com/English/Physicians/HF10-Therapy-Superiority/default.aspx;
   http://www.nevro.com/English/Physicians/HF10-Therapy-Benefits/default.aspx;
   http://www.nevro.com/English/Physicians/Senza-System/default.aspx.
   29
      Exemplary marketing videos:
   https://www.youtube.com/watch?v=s2LtOcCiMVg;
   https://www.youtube.com/watch?v=Ua7rJ97S2Bk;
   https://www.youtube.com/watch?v=I0RJaWyFeCQ;
   https://www.youtube.com/watch?v=6773eKbZQis;
   https://www.youtube.com/watch?v=-t82yCBSjE0;
   https://www.youtube.com/watch?v=LeLq1lvlJvs;
   https://www.youtube.com/watch?v=-SLx9qwWXqs;
   https://www.youtube.com/watch?v=YuuwSTRq2ls;
   https://www.youtube.com/watch?v=-FXhOFNKHgU;
   https://www.youtube.com/watch?v=W1Q3p7YYgPs;


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   how to use the Senza Systems by means of physician and patient manuals.30 Upon information

   and belief, Nevro also has a clinical engineer, sales representative, therapy consultant, therapy

   optimization specialist, and/or therapy support specialist present in the operating room, as is

   customary in the SCS industry. These Nevro employees will provide guidance and instruction to

   the physicians during and after surgery, including by advising on lead placement, setting the

   stimulation parameters of the external trial stimulator or IPG, and otherwise programming the

   external trial stimulator or IPG and familiarizing the patient with the Senza Systems. Upon

   information and belief, Nevro knows of or is willfully blind to the existence of the ’480 patent,

   knows of or is willfully blind to the fact that it infringes the ’480 patent, at least because there

   was a high risk of infringement of the ’480 patent about which Nevro knew or should have

   known, particularly in view of, for example, the stark similarities between Nevro’s accused

   products (and/or the use of those products as instructed by Nevro as alleged above) and the

   claims of the ’480 patent, of which Nevro knew or should have known as soon as it became

   aware of the ’480 patent as alleged herein, as well as in view the claim charts provided to Nevro

   on December 18, 2019.

          125.    The foregoing actions by Nevro also constitute infringement of at least claim 2 of

   the ’480 patent in violation of 35 U.S.C. § 271(f)(1), wherein Nevro has supplied and/or caused

   to be supplied in or from the United States, and it continues to supply and/or cause to be supplied




   https://www.youtube.com/watch?v=kQHTF1fS0ik;
   https://www.youtube.com/watch?v=V4RX_2W4OMk;
   https://www.youtube.com/watch?v=fr08-nZy-cY;
   https://www.youtube.com/watch?v=Ry8UJTzCfVw.
   30
     Physician Manual: http://www.accessdata.fda.gov/cdrh_docs/pdf13/P130022d.pdf; Patient
   Manual: http://www.accessdata.fda.gov/cdrh_docs/pdf13/P130022c.pdf.

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   in or from the United States, infringing SCS systems. Upon information and belief, Nevro has

   exported the infringing SCS systems from the United States to at least Europe and Australia.

          126.    Nevro has offered to sell, sold, and/or imported its IPGs (which, as detailed

   above, practices the patented invention) to others, including physicians, hospitals, and other

   health care providers. The physicians, hospitals, and other health care providers then make, use,

   sell, or offer to sell systems that incorporate Nevro’s IPGs to directly infringe at least claim 2 of

   the ’480 patent. Upon information and belief, Nevro, as detailed above, knows of or is willfully

   blind to the existence of the ’480 patent, knows of or is willfully blind to the fact that it infringes

   the ’480 patent, at least because there was a high risk of infringement of the ’480 patent about

   which Nevro knew or should have known, particularly in view of, for example, the stark

   similarities between Nevro’s accused products (and/or the use of those products as instructed by

   Nevro as alleged above) and the claims of the ’480 patent, of which Nevro knew or should have

   known as soon as it became aware of the ’480 patent as alleged herein, as well as in view the

   claim charts provided to Nevro on December 18, 2019. Moreover, as detailed above, Nevro’s

   IPGs comprise a material part of the invention claimed in claim 2 of the ’480 patent and, upon

   information and belief, Nevro knows that these components are especially made and/or

   especially adapted for use in infringing claim 2 of the ’480 patent. Upon information and belief,

   these components are not staple articles or commodities of commerce suitable for substantial

   non-infringing use at least because Nevro’s IPGs have no use apart from, and is a component of

   a medical device that is not approved for any purpose other than, making the infringing SCS

   system.

          127.    The foregoing actions by Nevro also constitute infringement of at least claim 2 of

   the ’480 patent in violation of 35 U.S.C. § 271(f)(2), wherein Nevro has supplied and/or caused

   to be supplied in or from the United States, and it continues to supply and/or cause to be supplied

                                                    -43-
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   in or from the United States, the infringing SCS systems. Upon information and belief, Nevro

   has exported the infringing SCS systems from the United States to at least Europe and Australia.

          128.    Boston Scientific has been damaged as a result of Nevro’s infringing conduct and

   is entitled to recover damages that adequately compensate it for Nevro’s infringement, which, by

   law, cannot be less than a reasonable royalty, together with interest and costs as fixed by this

   Court under 35 U.S.C. § 284.

                 COUNT VI: INFRINGEMENT OF U.S. PATENT NO. 6,381,496

          129.    Boston Scientific realleges paragraphs 1-132 above as if fully set forth herein.

          130.    The ’496 patent, entitled “Parameter Context Switching for an Implanted Device,”

   is a valid, enforceable patent that was duly issued by the USPTO on April 30, 2002 in full

   compliance with Title 35 of the United States Code. A true and correct copy of the ’496 patent is

   attached as Exhibit 7.

          131.    BSN is the assignee of the ’496 patent with ownership of all substantial rights in

   the ’496 patent, including the right to exclude others and to enforce, sue, and recover damages

   for past and future infringements. BSC is an exclusive licensee of the ’496 patent.

          132.    The claims of the ’496 patent cover systems, methods, and devices that provides

   context switching that allows a user to change operational parameters with another set of

   operational parameters. Claim 1 is illustrative of the claims of the ’496 patent and is directed to

   an implantable device with electronic circuitry that includes a control register for storing a

   control set of operational parameters that can be changed through the selection of a different set

   of operational parameters.

          133.    Nevro has directly infringed, and continues to directly infringe, at least claim 1 of

   the ’496 patent in violation of 35 U.S.C. § 271(a) by, for example and without limitation,




                                                   -44-
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   making, using, offering to sell, selling, and/or importing in and into the United States infringing

   SCS systems that provides context switching as disclosed in claim 1 of the ’496 patent.

          134.    Boston Scientific, through its investigation of the Senza I System via publicly

   available information and an examination of Nevro’s IPG,31 has determined that the Senza I

   System meets every element of at least claim 1 of the ’496 patent, either literally or under the

   doctrine of equivalents. On information and belief, the Senza II System and Senza Omnia are

   insubstantially different from the Senza I System and, like the Senza I System, meet all

   limitations of claim 1 of the ’496 patent.

          135.    Claim 1 of the ’496 patent recites “An implant device comprising: an implantable

   case.” As explained in the Claim Chart, the Nevro Senza Systems include implantable medical

   devices having a hermetically sealed housing, which is implanted case. (Ex. 1 at 66.)

          136.    Claim 1 of the ’496 patent also recites “electronic circuitry housed within said

   implantable case for performing a prescribed function, the electronic circuitry including: a

   control register wherein a control set of operational parameters is stored, a controller that

   controls the operation of the implant device as a function of the control set of operational

   parameters stored in the control register.” As explained in the Claim Chart, the Nevro Senza

   Systems include implantable medical devices, which contain electronic circuitry housed within

   their implantable cases for performing prescribed functions, including controlling the operation




   31
      Exemplary materials:
   https://www.accessdata.fda.gov/cdrh_docs/pdf13/P130022a.pdf
   http://www.accessdata.fda.gov/cdrh_docs/pdf13/P130022b.pdf
   http://www.accessdata.fda.gov/cdrh_docs/pdf13/P130022c.pdf
   http://www.accessdata.fda.gov/cdrh_docs/pdf13/P130022d.pdf
   Testing of a publicly available Senza I system, including IPG, leads, clinical programmer, and
   patient remote.

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   of the IPG as a function of a control register storing a set of operational parameters. (Ex. 1 at 66-

   67.)

          137.    Claim 1 of the ’496 patent also recites “a plurality of sets of operational

   parameters.” As explained in the Claim Chart, the Nevro Senza Systems include implantable

   medical devices that contain a plurality of sets of operational parameters called “stimulation

   programs.” (Ex. 1 at 67-69.)

          138.    Claim 1 of the ’496 patent also recites “selection means for selecting one of the

   plurality of sets of operational parameters as the control set of operational parameters that is

   stored in the control register; whereby the operation of the implant device may be changed

   through selection of a different set of operational parameters.” As explained in the Claim Chart,

   the Nevro Senza Systems contain a program button that is used to transmit commands to change

   programs, or operational parameters. Selection of different set of operational parameters

   changes the operation of the implanted device. (Ex. 1 at 69-73.)

          139.    As described in the preceding paragraphs and in the attached Claim Chart, each

   limitation of Claim 1 of the ’496 patent is performed by the Nevro Senza Systems.

          140.    Upon information and belief, Nevro has been aware of the ’496 patent, or

   willfully blind to its existence, and Nevro knew, should have known, or was willfully blind to the

   fact that it was infringing the ’496 patent, and that there was a high risk of infringement of the

   ’496 patent about which Nevro knew or should have known, particularly in view of, for example,

   the stark similarities between Nevro’s accused products and the claims of the ’496 patent, of

   which Nevro knew or should have known as soon as it became aware of the ’496 patent as

   alleged herein, as well as in view the claim charts provided to Nevro on December 18, 2019.

   Nevro’s knowledge of infringement by the Senza Systems throughout the period of infringement

   is based on, but not limited to: (1) Nevro’s monitoring and competitive intelligence of Boston

                                                   -46-
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   Scientific, who is a direct competitor of Nevro; (2) any pre-suit investigation related to Boston

   Scientific’s filing of two Petitions for Inter Partes Review of Nevro’s U.S. Patent No. 8,359,102

   in May 2015; (3) Nevro’s participation in an FDA-monitored randomized controlled trial in a

   head-to-head comparison against Boston Scientific’s PrecisionTM SCS System; and (4) the

   approximately 50 Nevro employees who were formerly employed by Boston Scientific,

   including employees who worked on Boston Scientific SCS product development and who were

   responsible for its neuromodulation patent portfolio, such as Kerry Bradley and James Thacker.

            141.   At a minimum, Nevro has been aware of the ’496 patent, or willfully blind to its

   existence, since the service of the First Amended Complaint, and thus knew, should have known,

   or was willfully blind to the infringement of the ’496 patent by the Nevro Senza Systems.

   Nevro’s infringement has been ongoing. Indeed, after service of the First Amended Complaint,

   rather than take any steps to alter its products or cease its infringement, Nevro introduced the

   Senza Omnia, which, upon information and belief, is insubstantially different from the Senza I

   and Senza II infringing systems with respect to the subject matter of the ’496 patent.

            142.   Nevro has, for example and without limitation, marketed, sold, and offered to sell

   the Senza Systems, providing instructions on how to use the Senza Systems, and promoting the

   use of the Senza Systems. For example, Nevro encourages physicians, hospitals, other health

   care providers, and patients to use the Senza Systems by means of marketing materials32 and

   videos.33 Nevro also instructs physicians, hospitals, other health care providers, and patients on


   32
      Exemplary marketing materials:
   http://www.nevro.com/English/Physicians/Clinical-Evidence/default.aspx;
   http://www.nevro.com/English/Physicians/SENZA-RCT-Design/default.aspx;
   http://www.nevro.com/English/Physicians/HF10-Therapy-Superiority/default.aspx;
   http://www.nevro.com/English/Physicians/HF10-Therapy-Benefits/default.aspx;
   http://www.nevro.com/English/Physicians/Senza-System/default.aspx.
   33
        Exemplary marketing videos:


                                                   -47-
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   how to use the Senza Systems by means of physician and patient manuals.34 Upon information

   and belief, Nevro also has a clinical engineer, sales representative, therapy consultant, therapy

   optimization specialist, and/or therapy support specialist present in the operating room, as is

   customary in the SCS industry. These Nevro employees will provide guidance and instruction to

   the physicians during and after surgery, including by advising on lead placement, setting the

   stimulation parameters of the external trial stimulator or IPG, and otherwise programming the

   external trial stimulator or IPG and familiarizing the patient with the Senza Systems. Upon

   information and belief, Nevro knows of or is willfully blind to the existence of the ’496 patent,

   knows of or is willfully blind to the fact that it infringes the ’496 patent, at least because there

   was a high risk of infringement of the ’496 patent about which Nevro knew or should have

   known, particularly in view of, for example, the stark similarities between Nevro’s accused

   products (and/or the use of those products as instructed by Nevro as alleged above) and the

   claims of the ’496 patent, of which Nevro knew or should have known as soon as it became




   https://www.youtube.com/watch?v=s2LtOcCiMVg;
   https://www.youtube.com/watch?v=Ua7rJ97S2Bk;
   https://www.youtube.com/watch?v=I0RJaWyFeCQ;
   https://www.youtube.com/watch?v=6773eKbZQis;
   https://www.youtube.com/watch?v=-t82yCBSjE0;
   https://www.youtube.com/watch?v=LeLq1lvlJvs;
   https://www.youtube.com/watch?v=-SLx9qwWXqs;
   https://www.youtube.com/watch?v=YuuwSTRq2ls;
   https://www.youtube.com/watch?v=-FXhOFNKHgU;
   https://www.youtube.com/watch?v=W1Q3p7YYgPs;
   https://www.youtube.com/watch?v=kQHTF1fS0ik;
   https://www.youtube.com/watch?v=V4RX_2W4OMk;
   https://www.youtube.com/watch?v=fr08-nZy-cY;
   https://www.youtube.com/watch?v=Ry8UJTzCfVw.
   34
     Physician Manual: http://www.accessdata.fda.gov/cdrh_docs/pdf13/P130022d.pdf; Patient
   Manual: http://www.accessdata.fda.gov/cdrh_docs/pdf13/P130022c.pdf.

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   aware of the ’496 patent as alleged herein, as well as in view the claim charts provided to Nevro

   on December 18, 2019.

          143.    The foregoing actions by Nevro also constitute infringement of at least claim 1 of

   the ’496 patent in violation of 35 U.S.C. § 271(f)(1), wherein Nevro has supplied and/or caused

   to be supplied in or from the United States, and it continues to supply and/or cause to be supplied

   in or from the United States, infringing SCS systems. Upon information and belief, Nevro has

   exported the infringing SCS systems from the United States to at least Europe and Australia.

          144.    Nevro has offered to sell, sold, and/or imported its IPGs (which, as detailed

   above, practices the patented invention) to others, including physicians, hospitals, and other

   health care providers. The physicians, hospitals, and other health care providers then make, use,

   sell, or offer to sell systems that incorporate Nevro’s IPGs to directly infringe at least claim 1 of

   the ’496 patent. Upon information and belief, Nevro, as detailed above, knows of or is willfully

   blind to the existence of the ’496 patent, knows of or is willfully blind to the fact that it infringes

   the ’496 patent, at least because there was a high risk of infringement of the ’496 patent about

   which Nevro knew or should have known, particularly in view of, for example, the stark

   similarities between Nevro’s accused products (and/or the use of those products as instructed by

   Nevro as alleged above) and the claims of the ’496 patent, of which Nevro knew or should have

   known as soon as it became aware of the ’496 patent as alleged herein, as well as in view the

   claim charts provided to Nevro on December 18, 2019. Moreover, as detailed above, Nevro’s

   IPGs comprise a material part of the invention claimed in claim 1 of the ’496 patent and, upon

   information and belief, Nevro knows that these components are especially made and/or

   especially adapted for use in infringing claim 1 of the ’496 patent. Upon information and belief,

   these components are not staple articles or commodities of commerce suitable for substantial

   non-infringing use at least because Nevro’s IPGs have no use apart from, and is a component of

                                                    -49-
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   a medical device that is not approved for any purpose other than, making the infringing SCS

   system.

          145.     The foregoing actions by Nevro also constitute infringement of at least claim 1 of

   the ’496 patent in violation of 35 U.S.C. § 271(f)(2), wherein Nevro has supplied and/or caused

   to be supplied in or from the United States, and it continues to supply and/or cause to be supplied

   in or from the United States, the infringing SCS systems. Upon information and belief, Nevro

   has exported the infringing SCS systems from the United States to at least Europe and Australia.

          146.     Boston Scientific has been damaged as a result of Nevro’s infringing conduct and

   is entitled to recover damages that adequately compensate it for Nevro’s infringement, which, by

   law, cannot be less than a reasonable royalty, together with interest and costs as fixed by this

   Court under 35 U.S.C. § 284.

                 COUNT VII: INFRINGEMENT OF U.S. PATENT NO. 7,177,690

          147.     Boston Scientific realleges paragraphs 1-151 above as if fully set forth herein.

          148.     The ’690 patent, entitled “Implantable System Having Rechargeable Battery

   Indicator,” is a valid, enforceable patent that was duly issued by the USPTO on February 13,

   2007 in full compliance with Title 35 of the United States Code. A true and correct copy of the

   ’690 patent is attached as Exhibit 8.

          149.     BSN is the assignee of the ’690 patent with ownership of all substantial rights in

   the ’690 patent, including the right to exclude others and to enforce, sue, and recover damages

   for past and future infringements. BSC is an exclusive licensee of the ’690 patent.

          150.     The claims of the ’690 patent cover systems and methods connected with medical

   devices having replenishable power sources. Claim 1 is illustrative of the claims of the ’690

   patent and is directed to an implantable medical device system having a replenishable power

   source with a housing which contains processing circuitry, an external programmer that may be


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   placed in telecommunicative contact with the implantable medical device, and means for

   recording battery charging information, which can be recalled later, wherein the external

   programmer includes a status indictor for indicating the status of the replenishable power source.

          151.    Nevro has directly infringed, and continues to directly infringe, at least claim 1 of

   the ’690 patent in violation of 35 U.S.C. § 271(a) by, for example and without limitation,

   making, using, offering to sell, selling, and/or importing in and into the United States SCS

   systems, that include a rechargeable IPG, and patient remotes, programmers, and chargers that

   can be placed in telecommunicative contact with the IPG, and that contain memory that stores

   battery charging information of the IPG for later recall, and a status indicator for indicating the

   status of the battery in the IPG.

          152.    For example, the Senza Systems are spinal cord stimulation systems comprising a

   rechargeable IPG, a patient remote, programmer, and a charger. Each of the patient remote,

   programmer, and charger can be placed in telecommunicative contact with the IPG, contain

   memory that stores battery charging information of the IPG for later recall, and a status indicator

   for indicating the status of the battery in the IPG. Boston Scientific, through its investigation of

   the Senza Systems via publicly available information and an examination of Nevro’s Senza I

   System,35 has determined that the Senza I System meets every element of at least claim 1 of the

   ’690 patent, either literally or under the doctrine of equivalents. On information and belief, the




   35
      Exemplary materials:
   https://www.accessdata.fda.gov/cdrh_docs/pdf13/P130022a.pdf
   http://www.accessdata.fda.gov/cdrh_docs/pdf13/P130022b.pdf
   http://www.accessdata.fda.gov/cdrh_docs/pdf13/P130022c.pdf
   http://www.accessdata.fda.gov/cdrh_docs/pdf13/P130022d.pdf
   Testing of a publicly available Senza I system, including IPG, leads, clinical programmer, and
   patient remote.

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   Senza II System and Senza Omnia are insubstantially different from the Senza I System and, like

   the Senza I System, meet all limitations of claim 1 of the ’690 patent.

          153.    Claim 1 of the ‘690 patent recites “An implantable medical device system having

   a replenishable power source comprising.” As explained in the Claim Chart, the Nevro Senza

   Systems include implantable medical devices with rechargeable batteries. (Ex. 1 at 74.)

          154.    Claim 1 of the ‘690 patent also recites “an implantable medical device, the device

   having a housing which contains processing circuitry.” As explained in the Claim Chart, the

   Nevro Senza Systems’ IPGs have a hermetically sealed housing which contains processing

   circuitry. (Ex. 1 at 74-75.)

          155.    Claim 1 of the ‘690 patent also recites “an external programmer that may be

   placed in telecommunicative contact with the implantable medical device.” As explained in the

   Claim Chart, the Nevro Senza Systems include external programmers in the form of a Clinician

   Programmer and Patient Remote, both of which may be placed in telecommunicative contact,

   i.e., communicate by telemetry, with the IPG. (Ex. 1 at 75-76.)

          156.    Claim 1 of the ‘690 patent also recites “means for recording battery charging

   information, which may be recalled later.” As explained in the Claim Chart, the Nevro Senza

   Systems’ IPGs contain processing circuitry which contains a means for recording battery

   charging information which may be recalled later. Nevro Senza Systems’ external programmers

   receive the recorded battery charging information and display it, at least in a device history

   report. (Ex. 1 at 76-80.)

          157.    Claim 1 of the ‘690 patent also recites “wherein the external programmer includes

   a status indicator for indicating the status of the replenishable power source within the

   implantable medical device.” As explained in the Claim Chart, the Nevro Senza Systems




                                                   -52-
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   includes an external programmer with a status indicator for indicating the status of the

   replenishable power source within the implantable medical device. (Ex. 1 at 81-84.)

          158.    As described in the preceding paragraphs and in the attached Claim Chart, each

   limitation of Claim 1 of the ’690 patent is performed by the Nevro Senza Systems.

          159.    Upon information and belief, Nevro has been aware of the ’690 patent, or

   willfully blind to its existence, and Nevro knew, should have known, or was willfully blind to the

   fact that it was infringing the ’690 patent, and that there was a high risk of infringement of the

   ’690 patent about which Nevro knew or should have known, particularly in view of, for example,

   the stark similarities between Nevro’s accused products and the claims of the ’690 patent, of

   which Nevro knew or should have known as soon as it became aware of the ’690 patent as

   alleged herein, as well as in view the claim charts provided to Nevro on December 18, 2019.

   Nevro’s knowledge of infringement by the Senza Systems throughout the period of infringement

   is based on, but not limited to: (1) Nevro’s monitoring and competitive intelligence of Boston

   Scientific, who is a direct competitor of Nevro; (2) any pre-suit investigation related to Boston

   Scientific’s filing of two Petitions for Inter Partes Review of Nevro’s U.S. Patent No. 8,359,102

   in May 2015; (3) Nevro’s participation in an FDA-monitored randomized controlled trial in a

   head-to-head comparison against Boston Scientific’s PrecisionTM SCS System; and (4) the

   approximately 50 Nevro employees who were formerly employed by Boston Scientific,

   including employees who worked on Boston Scientific SCS product development and who were

   responsible for its neuromodulation patent portfolio, such as James Thacker, who is a listed

   inventor on the ’690 patent, and Kerry Bradley.

          160.    At a minimum, Nevro has been aware of the ’690 patent, or willfully blind to its

   existence, since the service of the First Amended Complaint, and thus knew, should have known,

   or was willfully blind to the infringement of the ’690 patent by the Nevro Senza Systems.

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   Nevro’s infringement has been ongoing. Indeed, after service of the First Amended Complaint,

   rather than take any steps to alter its products or cease its infringement, Nevro introduced the

   Senza Omnia, which, upon information and belief, is insubstantially different from the Senza I

   and Senza II infringing systems with respect to the subject matter of the ’690 patent.

          161.    Nevro has, for example and without limitation, marketed, sold, and offered to sell

   the Senza Systems, providing instructions on how to use the Senza Systems, and promoting the

   use of the Senza Systems. For example, Nevro encourages physicians, hospitals, other health

   care providers, and patients to use the Senza Systems by means of marketing materials36 and

   videos.37 Nevro also instructs physicians, hospitals, other health care providers, and patients on

   how to use the Senza Systems by means of physician and patient manuals.38 Upon information

   and belief, Nevro also has a clinical engineer, sales representative, therapy consultant, therapy


   36
      Exemplary marketing materials:
   http://www.nevro.com/English/Physicians/Clinical-Evidence/default.aspx;
   http://www.nevro.com/English/Physicians/SENZA-RCT-Design/default.aspx;
   http://www.nevro.com/English/Physicians/HF10-Therapy-Superiority/default.aspx;
   http://www.nevro.com/English/Physicians/HF10-Therapy-Benefits/default.aspx;
   http://www.nevro.com/English/Physicians/Senza-System/default.aspx.
   37
      Exemplary marketing videos:
   https://www.youtube.com/watch?v=s2LtOcCiMVg;
   https://www.youtube.com/watch?v=Ua7rJ97S2Bk;
   https://www.youtube.com/watch?v=I0RJaWyFeCQ;
   https://www.youtube.com/watch?v=6773eKbZQis;
   https://www.youtube.com/watch?v=-t82yCBSjE0;
   https://www.youtube.com/watch?v=LeLq1lvlJvs;
   https://www.youtube.com/watch?v=-SLx9qwWXqs;
   https://www.youtube.com/watch?v=YuuwSTRq2ls;
   https://www.youtube.com/watch?v=-FXhOFNKHgU;
   https://www.youtube.com/watch?v=W1Q3p7YYgPs;
   https://www.youtube.com/watch?v=kQHTF1fS0ik;
   https://www.youtube.com/watch?v=V4RX_2W4OMk;
   https://www.youtube.com/watch?v=fr08-nZy-cY;
   https://www.youtube.com/watch?v=Ry8UJTzCfVw.
   38
     Physician Manual: http://www.accessdata.fda.gov/cdrh_docs/pdf13/P130022d.pdf; Patient
   Manual: http://www.accessdata.fda.gov/cdrh_docs/pdf13/P130022c.pdf.

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   optimization specialist, and/or therapy support specialist present in the operating room, as is

   customary in the SCS industry. These Nevro employees will provide guidance and instruction to

   the physicians during and after surgery, including by advising on lead placement, setting the

   stimulation parameters of the external trial stimulator or IPG, and otherwise programming the

   external trial stimulator or IPG and familiarizing the patient with the Senza Systems. Upon

   information and belief, Nevro knows of or is willfully blind to the existence of the ’690 patent,

   knows of or is willfully blind to the fact that it infringes the ’690 patent, at least because there

   was a high risk of infringement of the ’690 patent about which Nevro knew or should have

   known, particularly in view of, for example, the stark similarities between Nevro’s accused

   products (and/or the use of those products as instructed by Nevro as alleged above) and the

   claims of the ’690 patent, of which Nevro knew or should have known as soon as it became

   aware of the ’690 patent as alleged herein, as well as in view the claim charts provided to Nevro

   on December 18, 2019.

          162.    The foregoing actions by Nevro also constitute infringement of at least claim 1 of

   the ’690 patent in violation of 35 U.S.C. § 271(f)(1), wherein Nevro has supplied and/or caused

   to be supplied in or from the United States, and it continues to supply and/or cause to be supplied

   in or from the United States, the infringing SCS systems. Upon information and belief, Nevro

   has exported infringing SCS Systems from the United States to at least Europe and Australia.

          163.    Nevro has offered to sell, sold, and/or imported its IPGs and external controllers

   (each of which, as detailed above, are components of a patented combination) to others,

   including physicians, hospitals, and other health care providers. The physicians, hospitals, and

   other health care providers then make, use, sell, or offer to sell systems that incorporate one or

   more of Nevro’s components to directly infringe at least claim 1 of the ’690 patent. Upon

   information and belief, Nevro, as detailed above, knows of or is willfully blind to the existence

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   of the ’690 patent, knows of or is willfully blind to the fact that it infringes the ’690 patent, at

   least because there was a high risk of infringement of the ’690 patent about which Nevro knew

   or should have known, particularly in view of, for example, the stark similarities between

   Nevro’s accused products (and/or the use of those products as instructed by Nevro as alleged

   above) and the claims of the ’690 patent, of which Nevro knew or should have known as soon as

   it became aware of the ’690 patent as alleged herein, as well as in view the claim charts provided

   to Nevro on December 18, 2019. Moreover, as detailed above, Nevro’s IPG and external

   controller are a material part of the invention claimed in claim 1 of the ’690 patent and, upon

   information and belief, Nevro knows that these components are especially made and/or

   especially adapted for use in infringing claim 1 of the ’690 patent. Upon information and belief,

   these components are not staple articles or commodities of commerce suitable for substantial

   non-infringing use at least because Nevro’s IPGs and external controllers have no use apart from,

   and are components of a medical device that is not approved for any purpose other than, making

   the infringing SCS system.

           164.    The foregoing actions by Nevro also constitute infringement of at least claim 1 of

   the ’690 patent in violation of 35 U.S.C. § 271(f)(2), wherein Nevro has supplied and/or caused

   to be supplied in or from the United States, and it continues to supply and/or cause to be supplied

   in or from the United States, the infringing SCS systems. Upon information and belief, Nevro

   has exported the infringing SCS systems from the United States to at least Europe and Australia.

           165.    Boston Scientific has been damaged as a result of Nevro’s infringing conduct and

   is entitled to recover damages that adequately compensate it for Nevro’s infringement, which, by

   law, cannot be less than a reasonable royalty, together with interest and costs as fixed by this

   Court under 35 U.S.C. § 284.




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                COUNT VIII: INFRINGEMENT OF U.S. PATENT NO. 9,162,071

             166.   Boston Scientific realleges paragraphs 1-171 above as if fully set forth herein.

             167.   The ’071 patent, entitled “Method for controlling telemetry in an implantable

   medical device based on power source capacity,” is a valid, enforceable patent that was duly

   issued by the USPTO on October 20, 2015 in full compliance with Title 35 of the United States

   Code. A true and correct copy of the ’071 patent is attached as Exhibit 9.

             168.   BSN is the assignee of the ’071 patent with ownership of all substantial rights in

   the ’071 patent, including the right to exclude others and to enforce, sue, and recover damages

   for past and future infringements. BSC is an exclusive licensee of the ’071 patent.

             169.   The claims of the ’071 patent cover methods for controlling an implantable

   medical device. Claim 1 is illustrative of the claims of the ’071 patent and is directed to a

   method for controlling an implantable medical device having telemetry circuitry to receive both

   a first type of telemetry and to receive a second type of telemetry comprising listening for the

   first and second telemetry types and monitoring a voltage of a power source within the

   implantable medical device. If the voltage falls below the first threshold, the implantable

   medical device discontinues listening for the first type of telemetry but continues to listen for the

   second type of telemetry.

             170.   Nevro has directly infringed, and continues to directly infringe, at least claim 1 of

   the ’071 patent in violation of 35 U.S.C. § 271(a) by, for example and without limitation,

   making, using, offering to sell, selling, and/or importing in and into the United States infringing

   SCS systems that transmit control date using the unique modulate signal of claim 1 of the ’071

   patent.




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          171.    Boston Scientific, through its investigation of the Senza I System via publicly

   available information and an examination of Nevro’s IPG,39 has determined that the Senza I

   System meets every element of at least claim 1 of the ’071 patent, either literally or under the

   doctrine of equivalents. On information and belief, the Senza II System and Senza Omnia are

   insubstantially different from the Senza I System and, like the Senza I System, meet all

   limitations of claim 1 of the ’071 patent.

          172.    Claim 1 of the ‘071 patent recites “A method for controlling an implantable

   medical device, the device having telemetry circuitry to receive both a first type of telemetry and

   to receive a second type of telemetry, the method comprising.” As explained in the Claim Chart,

   the Nevro Senza Systems include implantable pulse generators (IPGs) that include telemetry

   circuitry to receive both a first type of telemetry (FSK frequency modulated) and to receive a

   second type of telemetry (OOK modulated). (Ex. 1 at 85-89.)

          173.    Claim 1 of the ‘071 patent also recites “listening for the first and second telemetry

   types.” As explained in the Claim Chart, the Nevro Senza Systems include IPGs that listen for

   the FSK frequency modulated telemetry (i.e., first telemetry type) when the battery is charged

   above a certain threshold. (Ex. 1 at 89.)

          174.    Claim 1 of the ‘071 patent also recites “monitoring a voltage of a power source

   within the implantable medical device.” As explained in the Claim Chart, the Nevro Senza




   39
      Exemplary materials:
   https://www.accessdata.fda.gov/cdrh_docs/pdf13/P130022a.pdf
   http://www.accessdata.fda.gov/cdrh_docs/pdf13/P130022b.pdf
   http://www.accessdata.fda.gov/cdrh_docs/pdf13/P130022c.pdf
   http://www.accessdata.fda.gov/cdrh_docs/pdf13/P130022d.pdf
   Testing of a publicly available Senza I system, including IPG, leads, clinical programmer, and
   patient remote.

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   Systems include IPGs that monitor the battery level of the IPG’s rechargeable battery (i.e.,

   “monitoring a voltage of a power source”). (Ex. 1 at 89-92.)

          175.    Claim 1 of the ‘071 patent also recites “if the voltage falls below a first threshold,

   discontinuing listening for the first telemetry type while continuing listening for the second

   telemetry type.” As explained in the Claim Chart, the Nevro Senza Systems include IPGs with

   telemetry functionality dependent upon charge level of its rechargeable battery. If the battery

   level falls below a voltage threshold (“first threshold”), the IPG discontinues listening for the

   FSK telemetry (i.e., first telemetry) from the remote control. (Ex. 1 at 92-96.)

          176.    As described in the preceding paragraphs and in the attached Claim Chart, each

   limitation of Claim 1 of the ’071 patent is performed by the Nevro Senza Systems.

          177.    Upon information and belief, Nevro has been aware of the ’071 patent, or

   willfully blind to its existence, and Nevro knew, should have known, or was willfully blind to the

   fact that it was infringing the ’071 patent, and that there was a high risk of infringement of the

   ‘071 patent about which Nevro knew or should have known, particularly in view of, for example,

   the stark similarities between Nevro’s accused products and the claims of the ‘071 patent, of

   which Nevro knew or should have known as soon as it became aware of the ‘071 patent as

   alleged herein, as well as in view the claim charts provided to Nevro on December 18, 2019.

   Nevro’s knowledge of infringement by the Senza Systems throughout the period of infringement

   is based on, but not limited to: (1) Nevro’s monitoring and competitive intelligence of Boston

   Scientific, who is a direct competitor of Nevro; (2) any pre-suit investigation related to Boston

   Scientific’s filing of two Petitions for Inter Partes Review of Nevro’s U.S. Patent No. 8,359,102

   in May 2015; (3) Nevro’s participation in an FDA-monitored randomized controlled trial in a

   head-to-head comparison against Boston Scientific’s PrecisionTM SCS System; and (4) the

   approximately 50 Nevro employees who were formerly employed by Boston Scientific,

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   including employees who worked on Boston Scientific SCS product development and who were

   responsible for its neuromodulation patent portfolio, such as Kerry Bradley and James Thacker.

          178.    At a minimum, Nevro has been aware of the ’071 patent, or willfully blind to its

   existence, since the service of the First Amended Complaint, and thus knew, should have known,

   or was willfully blind to the infringement of the ’071 patent by the Nevro Senza Systems.

   Nevro’s infringement has been ongoing. Indeed, after service of the First Amended Complaint,

   rather than take any steps to alter its products or cease its infringement, Nevro introduced the

   Senza Omnia, which, upon information and belief, is insubstantially different from the Senza I

   and Senza II infringing systems with respect to the subject matter of the ’071 patent.

          179.    Nevro has, for example and without limitation, marketed, sold, and offered to sell

   the Senza Systems, providing instructions on how to use the Senza Systems, and promoting the

   use of the Senza Systems. For example, Nevro encourages physicians, hospitals, other health

   care providers, and patients to use the Senza Systems by means of marketing materials40 and

   videos.41 Nevro also instructs physicians, hospitals, other health care providers, and patients on


   40
      Exemplary marketing materials:
   http://www.nevro.com/English/Physicians/Clinical-Evidence/default.aspx;
   http://www.nevro.com/English/Physicians/SENZA-RCT-Design/default.aspx;
   http://www.nevro.com/English/Physicians/HF10-Therapy-Superiority/default.aspx;
   http://www.nevro.com/English/Physicians/HF10-Therapy-Benefits/default.aspx;
   http://www.nevro.com/English/Physicians/Senza-System/default.aspx.
   41
      Exemplary marketing videos:
   https://www.youtube.com/watch?v=s2LtOcCiMVg;
   https://www.youtube.com/watch?v=Ua7rJ97S2Bk;
   https://www.youtube.com/watch?v=I0RJaWyFeCQ;
   https://www.youtube.com/watch?v=6773eKbZQis;
   https://www.youtube.com/watch?v=-t82yCBSjE0;
   https://www.youtube.com/watch?v=LeLq1lvlJvs;
   https://www.youtube.com/watch?v=-SLx9qwWXqs;
   https://www.youtube.com/watch?v=YuuwSTRq2ls;
   https://www.youtube.com/watch?v=-FXhOFNKHgU;
   https://www.youtube.com/watch?v=W1Q3p7YYgPs;


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   how to use the Senza Systems by means of physician and patient manuals.42 Upon information

   and belief, Nevro also has a clinical engineer, sales representative, therapy consultant, therapy

   optimization specialist, and/or therapy support specialist present in the operating room, as is

   customary in the SCS industry. These Nevro employees will provide guidance and instruction to

   the physicians during and after surgery, including by advising on lead placement, setting the

   stimulation parameters of the external trial stimulator or IPG, and otherwise programming the

   external trial stimulator or IPG and familiarizing the patient with the Senza Systems. Upon

   information and belief, Nevro knows of or is willfully blind to the existence of the ’071 patent,

   knows of or is willfully blind to the fact that it infringes the ’071 patent, at least because there

   was a high risk of infringement of the ’071 patent about which Nevro knew or should have

   known, particularly in view of, for example, the stark similarities between Nevro’s accused

   products (and/or the use of those products as instructed by Nevro as alleged above) and the

   claims of the ’071 patent, of which Nevro knew or should have known as soon as it became

   aware of the ’071 patent as alleged herein, as well as in view the claim charts provided to Nevro

   on December 18, 2019.

          180.    Nevro has offered to sell, sold, and/or imported its IPGs (which, as detailed

   above, practices the patented invention) to others, including physicians, hospitals, and other

   health care providers. The physicians, hospitals, and other health care providers then make, use,

   sell, or offer to sell systems that incorporate Nevro’s IPGs to directly infringe at least claim 1 of




   https://www.youtube.com/watch?v=kQHTF1fS0ik;
   https://www.youtube.com/watch?v=V4RX_2W4OMk;
   https://www.youtube.com/watch?v=fr08-nZy-cY;
   https://www.youtube.com/watch?v=Ry8UJTzCfVw.
   42
     Physician Manual: http://www.accessdata.fda.gov/cdrh_docs/pdf13/P130022d.pdf; Patient
   Manual: http://www.accessdata.fda.gov/cdrh_docs/pdf13/P130022c.pdf.

                                                    -61-
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   the ’071 patent. Upon information and belief, Nevro, as detailed above, knows of or is willfully

   blind to the existence of the ’071 patent, knows of or is willfully blind to the fact that it infringes

   the ’071 patent, at least because there was a high risk of infringement of the ’071 patent about

   which Nevro knew or should have known, particularly in view of, for example, the stark

   similarities between Nevro’s accused products (and/or the use of those products as instructed by

   Nevro as alleged above) and the claims of the ’071 patent, of which Nevro knew or should have

   known as soon as it became aware of the ’071 patent as alleged herein, as well as in view the

   claim charts provided to Nevro on December 18, 2019. Moreover, as detailed above, Nevro’s

   IPGs comprise a material part of the invention claimed in claim 1 of the ’071 patent and, upon

   information and belief, Nevro knows that these components are especially made and/or

   especially adapted for use in infringing claim 1 of the ’071 patent. Upon information and belief,

   these components are not staple articles or commodities of commerce suitable for substantial

   non-infringing use at least because Nevro’s IPGs have no use apart from, and is a component of

   a medical device that is not approved for any purpose other than, making the infringing SCS

   system.

          181.    Boston Scientific has been damaged as a result of Nevro’s infringing conduct and

   is entitled to recover damages that adequately compensate it for Nevro’s infringement, which, by

   law, cannot be less than a reasonable royalty, together with interest and costs as fixed by this

   Court under 35 U.S.C. § 284.

        COUNT IX: MISAPPROPRIATION OF TRADE SECRETS AND LIABILITY
            UNDER THE CALIFORNIA UNIFORM TRADE SECRETS ACT,
                        CAL. CIV. CODE §§ 3426-3426.11

          182.    Boston Scientific is the owner of trade secrets, including but not limited to,

   proprietary technical information, clinical investigation designs and protocols, internal

   programming manuals, manufacturing processes, manufacturing costs, product testing and


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   analysis, software programming, pricing and other financial information. Boston Scientific has

   acquired these trade secrets and proprietary technical information as a result of development of

   its SCS products. In the hands of a competitor, such confidential, trade secret, and proprietary

   information would be of great value and could be used to unlawfully compete against Boston

   Scientific. A competitor possessing such information could utilize it to its gain without incurring

   the years of effort and significant expenditures that Boston Scientific incurred in developing its

   SCS products.

          183.     Boston Scientific’s trade secrets constitute compilations of information that derive

   independent economic value, actual and potential, from not being generally known or available

   to the public or other persons who can obtain economic value from their disclosure or use.

          184.     Boston Scientific’s trade secrets have significant value to Boston Scientific,

   resulting from significant investment of time and resources by Boston Scientific.

          185.     The confidential, trade secret, and proprietary information acquired by Boston

   Scientific is not readily available to its competitors or the general public. Boston Scientific has

   made, and continues to make, efforts that are reasonable under the circumstances to maintain the

   secrecy of its trade secrets and protect the confidentiality of its proprietary information,

   including, but not limited to, requiring its employees to sign acknowledgments that such

   information should only be used for the benefit of Boston Scientific, and that no confidential or

   proprietary information should be taken or accessed by anyone outside of Boston Scientific

   without authorization.

          186.     As noted above, Jim Thacker, formerly Nevro’s Director of Field Engineering,

   worked at Boston Scientific and its predecessor Advanced Bionics from 2000 to 2006 as

   Manager of Field Clinical Engineering. As a condition of his employment at Boston Scientific,




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   Mr. Thacker agreed to and was bound by an Employee Invention and Confidential Information

   Agreement (“EICIA”), attached as Exhibit 10. The EICIA provides:

                  [D]uring the course of Employee’s employment, Employer expects
                  the Employee to develop and receive from co-workers inventions
                  and confidential information relating to Employer’s business and
                  to the Employer’s actual and anticipated research and
                  development.

          187.    The EICIA further provides:

                  Employee will, during the term of his/her employment and
                  thereafter, keep confidential and refrain from using or disclosing to
                  others all confidential information and trade secrets of [AB], which
                  Employee develops or learns about during the course of his/her
                  employment.

          188.    Mr. Thacker signed the EICIA on August 28, 2000.

          189.    As Boston Scientific’s clinical manager, Mr. Thacker had access on a daily basis

   to proprietary and confidential information belonging to Boston Scientific. This included

   information about Boston Scientific’s research and development, clinical investigation (including

   testing and analysis of any patient data), business plans, product roadmaps, internal policies and

   procedures, and financial/cost information. Mr. Thacker was granted access to these categories

   of proprietary information during the period of his employment to facilitate the performance of

   his work-related duties.

          190.    Mr. Thacker voluntarily left Boston Scientific in August 2006. As part of the exit

   process, Mr. Thacker was asked to acknowledge that he did not have in his possession any

   Boston Scientific-owned property, including, but not limited to, any “books, Engineering note

   books, periodicals, publications and company records on loan” and any “[t]ools & equipment

   owned by [Boston Scientific].” Mr. Thacker represented he had “none” of this Boston

   Scientific-owned property.




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          191.    Unbeknownst by Boston Scientific until informed by Nevro’s outside counsel on

   August 18, 2017, Mr. Thacker in fact took thousands of confidential Boston Scientific

   documents with him, including five of his own laboratory notebooks detailing the work he

   performed during the “Stimulus” clinical trials for Boston Scientific’s Precision™ SCS system.

   Mr. Thacker also took Boston Scientific-owned thumb drives, actual Precision™ demonstration

   devices, Physician lead manuals, Physician implant manuals, and Precision™ media kits.

   Mr. Thacker did not have authorization from Boston Scientific to take any of these documents

   and materials with him upon leaving Boston Scientific.

          192.    In addition to the laboratory notebooks, the over 34,000 files taken by

   Mr. Thacker included proprietary data concerning Boston Scientific’s research and development,

   product development plans, manufacturing plans and methods, clinical investigations, patient

   data, programming specifications, marketing and sales force plans, product component lists,

   product specifications and diagrams, and budgetary, financial, and cost data.

          193.    Boston Scientific is informed and believes and thereupon alleges that at least

   Mr. Thacker (and thereby Nevro) acquired Boston Scientific’s trade secrets by improper means,

   including, but not limited to, taking and/or retaining these trade secrets in breach of the duties

   Mr. Thacker owed to Boston Scientific under the EICIA.

          194.    On multiple occasions, while employed by Nevro, Mr. Thacker disclosed Boston

   Scientific’s confidential, proprietary information to Nevro. As one example, on April 16, 2009,

   Mr. Thacker emailed Nevro employee Wesley Park (also a former Boston Scientific employee)

   and attached a 50-page document with the file name “SCS_Protocol_Rev.B_3Feb03.” The

   attachment was a draft “Stimulus™ Confirmatory Study” authored by Boston Scientific’s

   predecessor Advanced Bionics. Upon information and belief, at the time Mr. Thacker disclosed

   the Confirmatory Study, Mr. Park was Nevro’s Director of Clinical Marketing and responsible

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   for, among other things, leading and managing the U.S. and European clinical trials, including

   designing studies, selecting study sites, analyzing and interpreting data, and managing field

   clinical engineers and clinical specialists.

          195.    On the front page—and every subsequent page—of the Confirmatory Study was

   the following warning typed in bold: “Proprietary Information of Advanced Bionics. Subject to

   terms of Non-Disclosure Agreement.”

          196.    The Stimulus Confirmatory Study was Boston Scientific’s protocol to run the

   clinical investigation for its Precision™ product, and was a compilation of information necessary

   for Boston Scientific’s clinical investigation, including such confidential information as subject

   enrollment criteria (e.g., detailed inclusion and exclusion criteria), study design,

   methodology/testing requirements, and monitoring requirements. The Confirmatory Study

   would not have been disclosed to anyone not involved with the clinical investigation, and each

   investigator was required to sign an Investigator’s Agreement in which he/she agreed, among

   other things, “to hold all data related to the conduct of this study as confidential and will not

   divulge such information to any third party (other than applicable regulatory agencies) without

   prior written approval from Advanced Bionics.”

          197.    Upon information and belief, Nevro’s possession of Boston Scientific’s internal

   clinical investigation protocol for its Precision™ SCS product would have been of value to

   Nevro, who during the relevant time period was developing its own SCS system, and conducting

   its own clinical investigations. Since Nevro had never developed an SCS product before, the

   Stimulus Confirmatory Study disclosed by Mr. Thacker provided Nevro with a necessary tool to

   develop its own clinical investigation protocol. Upon information and belief, Nevro has used the

   information provided by Mr. Thacker in connection with its business activities, including in its

   research and development, design, clinical investigation, and testing of the Senza Systems.

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          198.     As another example, on May 4, 2009, Mr. Thacker emailed Nevro employee

   David Marco (also a former Boston Scientific employee) and attached a 26-page document

   entitled “Spinal Cord Stimulator Clinician’s Programming System, Module Specification.”

   Upon information and belief, at the time Mr. Thacker disclosed the Module Specification to

   Mr. Marco, Mr. Marco was a Senior Field Clinical Engineer at Nevro and responsible for, among

   other things, training and programming manuals. Mr. Marco worked at Boston Scientific from

   2004 to 2007. During that time, Mr. Marco helped Boston Scientific complete the clinical trial

   for the Precision™ SCS product, helped with all phases of equipment troubleshooting, and

   contributed many ideas for new equipment. Mr. Marco also taught salesmen and physicians.

          199.    On the front page of the attachment Mr. Thacker sent to Mr. Marco, the word

   “CONFIDENTIAL” appears in bold. Also on the front page, directly below “CONFIDENTIAL”

   is the following:

                  This document contains confidential information and is proprietary
                  to Advanced Bionics corporation and may not be distributed or
                  reproduced without the prior express written consent of Advanced
                  Bionics.

          200.    In the body of the email, Mr. Thacker wrote:

                  Hi David,

                  Since you and I worked at AB we can have this but we cannot
                  share with anyone else. Please use it as an example of a
                  requirements spec for a CP [Clinical Programmer].

                  Jimt

          201.    The attached “Module Specification” was a Boston Scientific internal document

   detailing the specifications necessary for the Clinician’s Programmer Station, which controls the

   Hand-Held Programmer, which in turn controls the Implanted Pulse Generator or External Trial

   Stimulator. The document is a compilation of information necessary for the design and



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   development of Boston Scientific’s SCS products, and includes such confidential information as

   software functional requirements, including specific programming requirements.

          202.    Having possession of Boston Scientific’s internal information would have been

   useful and of value to Nevro, who during the relevant time period was developing its own SCS

   system. Since Nevro had never developed an SCS product before, the Module Specification

   disclosed by Mr. Thacker provided Nevro with a necessary tool to develop its own system

   specification. Upon information and belief, Nevro has used the information provided by Mr.

   Thacker in connection with its business activities, including in its research and development,

   design, clinical investigation, and testing of the Senza Systems.

          203.    At the time Nevro acquired Boston Scientific’s trade secrets, it knew or had

   reason to know that it had acquired them through improper means, including through derogation

   of Mr. Thacker’s contractual obligations to Boston Scientific.

          204.    As a natural and proximate cause of its misappropriation, Nevro has been and will

   continue to be unjustly enriched, and Boston Scientific has been and will continue to suffer

   damages.

          205.    Boston Scientific has also suffered irreparable harm as a result of Nevro’s

   misappropriation and will continue to suffer irreparable injury unless Nevro, and its officers,

   agents, employees and all persons acting in concert with them, are permanently enjoined from

   engaging in such further acts of misappropriation.

                                       PRAYER FOR RELIEF

          WHEREFORE, Boston Scientific respectfully requests the following relief:

          A.      The entry of a judgment in favor of Boston Scientific, and against Nevro, that

   Nevro has directly infringed one or more claims of the Asserted Patents and declaring that

   Nevro’s importing, making, using, offering to sell, and/or selling the Senza Systems and/or


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   components thereof in the United States are and would be acts of infringement of one or more

   claims of the Asserted Patents;

          B.      The entry of a judgment in favor of Boston Scientific, and against Nevro, that

   Nevro and its officers, employees, agents, attorneys, affiliates, successors, assigns and others

   acting in privity or concert with it be preliminarily and permanently enjoined from making,

   using, offering to sell, and selling any product that infringes the Asserted Patents, including the

   Senza Systems, and from importing the same into the United States;

          C.      The entry of a judgment awarding Boston Scientific damages resulting from

   Nevro’s infringement in an amount no less than a reasonable royalty;

          D.      The entry of a judgment declaring that this is an exceptional case and awarding

   Boston Scientific its attorneys’ fees in this matter pursuant to 35 U.S.C. § 285;

          E.      The entry of judgment that Nevro has misappropriated Boston Scientific’s trade

   secrets within the meaning of the California Uniform Trade Secret Act;

          F.      The award of damages sufficient to compensate Boston Scientific for the

   misappropriation;

          G.      The issuance of a permanent injunction to enjoin Nevro, its officers, agents,

   successors and assigns of each, from misappropriation of Boston Scientific’s trade secrets;

          H.      The entry of a judgment in favor of Boston Scientific; and

          I.      That this Court order such other relief as the Court may deem just and proper.

                                           JURY DEMAND

          Boston Scientific hereby demands trial by jury in this action on all issues so triable.




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    DATED: February 7, 2020             YOUNG CONAWAY STARGATT & TAYLOR LLP

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                              EXHIBIT 1
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   I.      U.S. Patent No. 7,496,404................................................................................................... 1
   II.     U.S. Patent No. 8,682,447................................................................................................. 27
   III.    U.S. Patent No. 6,993,384................................................................................................. 34
   IV.     U.S. Patent No. 7,853,330................................................................................................. 41
   V.      U.S. Patent No. 7,822,480................................................................................................. 51
   VI.     U.S. Patent No. 6,381,496................................................................................................. 66
   VII.    U.S. Patent No. 7,177,690................................................................................................. 74
   VIII.   U.S. Patent No. 9,162,071................................................................................................. 85
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I.    U.S. Patent No. 7,496,404

U.S. Patent No. 7,496,404 – Claim 7
A spinal cord stimulation       The Nevro Senza, Senza II, and Senza Omnia systems are spinal cord stimulation systems.
system comprising:




                                Physician Implant Manual (11051) Rev H at page 6.
an implantable pulse            The Nevro Senza, Senza II, and Senza Omnia systems include an implantable pulse generator
generator (IPG), the IPG        (IPG), and the IPG has a housing.
having a housing;




                                Physician Implant Manual (11051) Rev H at page 6.

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U.S. Patent No. 7,496,404 – Claim 7
an implantable electrode        The Nevro Senza, Senza II, and Senza Omnia systems include at least one implantable lead (i.e.,
array detachably                electrode array) with at least two electrodes, which is detachably connected to the IPG.
connected to the IPG, the
electrode array having at
least two electrodes
thereon;




                                Physician Implant Manual (11051) Rev H at page 6.




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U.S. Patent No. 7,496,404 – Claim 7




                                Physician Implant Manual (11051) Rev H at page 6-7.

                                The figure below depicts the implantable pulse generator (“IPG”) from the Nevro Senza Systems
                                with two leads and 8 electrode contacts on each lead.



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U.S. Patent No. 7,496,404 – Claim 7




                                Patient Manual (11052) Rev F at page 2.
a rechargeable power            The Nevro Senza, Senza II, and Senza Omnia systems include IPGs having a rechargeable
source contained within         battery (i.e., replenishable power source).
the IPG housing;




                                Physician Implant Manual (11051) Rev H at page 6.

                                The photograph below shows a cut-open Senza IPG that includes a rechargeable Eagle Pitcher
                                battery. The Senza II and Senza Omnia have similar or the same battery.



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U.S. Patent No. 7,496,404 – Claim 7




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U.S. Patent No. 7,496,404 – Claim 7
monitoring circuitry            The Nevro Senza, Senza II, and Senza Omnia systems monitor the battery level of the IPG’s
contained in the IPG            rechargeable battery (“monitoring a voltage of a power source”).
housing that monitors the
voltage of the                  The figure below is from the Patient Manual and depicts the Nevro Senza and Senza II systems’
rechargeable power              external charger. The IPG includes internal battery monitoring circuitry to monitor the voltage
source and any charging         of the rechargeable battery. The monitored battery voltage is transmitted to the external charger
current flowing to the          and displayed as indicated by number 5 (Implanted Stimulator’s Battery Level Indicator). The
rechargeable power              IPG monitoring circuitry also monitors charging current when the battery is being recharged.
source;                         When fully charged the IPG notifies the charger to stop charging.




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U.S. Patent No. 7,496,404 – Claim 7




                                Patient Manual (11052) Rev F at page 61.


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U.S. Patent No. 7,496,404 – Claim 7
                                The figures below are from the Patient Manual and depicts the Nevro Senza Omnia system’s
                                external charger. The IPG includes internal battery monitoring circuitry to monitor the voltage
                                of the rechargeable battery. The monitored battery voltage is transmitted to the external charger
                                and displayed as indicated by number 3 (Implanted Stimulator’s Battery Level Indicator).




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U.S. Patent No. 7,496,404 – Claim 7
                                Patient Manual (11052) Rev F at page 62.




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U.S. Patent No. 7,496,404 – Claim 7

                                Patient Manual (11052) Rev F at page 38-39; see also, id. at 42-43 (for Senza Omnia external
                                charger).




                                Patient Manual (11052) Rev F at page 36.




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U.S. Patent No. 7,496,404 – Claim 7




                                Patient Manual (11052) Rev F at page 37.

                                This figures below show a cut-open Senza IPG with battery monitoring circuitry contained in the
                                IPG housing that monitors the voltage of the rechargeable power source and any charging
                                current flowing to the rechargeable power source. The Senza II and Senza Omnia IPGs contain
                                similar or the same monitoring circuitry because there is no premarket approval filed with the
                                FDA indicating that there are significant changes to the monitoring circuitry.




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U.S. Patent No. 7,496,404 – Claim 7




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U.S. Patent No. 7,496,404 – Claim 7




at least one integrated         The Nevro Senza, Senza II, and Senza Onmia systems include IPGs with at least one integrated
circuit (IC) within the         circuit (IC) within the IPG housing and electrically couplable to the rechargeable power source,
IPG housing and                 said at least one IC, when coupled to the rechargeable power source, providing essential control
electrically couplable to       functions that allow the IPG to operate
the rechargeable power
source, said at least one       The figures below show a cut-open Senza IPG with processors, which are integrated circuits, in
IC, when coupled to the         the Nevro Senza system IPG. One or both processors provide essential control functions that
rechargeable power              allow the IPG to operate. The Senza II and Senza Omnia IPGs contain similar or the same
source, providing               monitoring circuitry because there is no premarket approval filed with the FDA indicating that
essential control               there are significant changes to the internal circuitry.


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U.S. Patent No. 7,496,404 – Claim 7
functions that allow the
IPG to operate;




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U.S. Patent No. 7,496,404 – Claim 7




a processor electrically        The Nevro Senza, Senza II, and Senza Onmia systems include IPGs with processors that stop
coupled to the at least         stimulation when the battery voltage drops below a predetermined minimum level.
one IC and contained
within the IPG housing          The figures below show a cut-open Senza IPG with processors, which are integrated circuits, in
which issues commands           the Nevro Senza system IPG. One or both processors provide essential control functions that
to stop all stimulation if      allow the IPG to operate. The Senza II and Senza Omnia IPGs contain similar or the same
the voltage of the              monitoring circuitry because there is no premarket approval filed with the FDA indicating that
rechargeable power              there are significant changes to the internal circuitry.
source falls below a
minimum level for
stimulation;


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U.S. Patent No. 7,496,404 – Claim 7




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U.S. Patent No. 7,496,404 – Claim 7




                                One or both processors stop all stimulation if the voltage of the rechargeable power source falls
                                below a minimum level for stimulation. As shown in the figures below, which are excerpts from
                                the “Device History Report” from the Nevro Senza system Clinician Programmer, stimulation is
                                turned off when battery voltage drops below a predetermined level, as indicated by “RTC-Only
                                Mode Entry.” Stimulation is resumed after the battery is charged sufficiently.




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U.S. Patent No. 7,496,404 – Claim 7




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U.S. Patent No. 7,496,404 – Claim 7




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U.S. Patent No. 7,496,404 – Claim 7
power source protection         The Nevro Senza, Senza II, and Senza Onmia systems include IPGs that contain power source
circuitry within the IPG        protection circuitry within the IPG housing that controls electrical connection and disconnection
housing that controls           between the rechargeable power source and the at least one IC, wherein the power source
electrical connection and       protection circuitry disconnects the rechargeable power source from the at least one IC if the
disconnection between           voltage of the rechargeable power source falls below a power disconnect level, and reconnects
the rechargeable power          the rechargeable power source and the at least one IC if the voltage of the rechargeable power
source and the at least         source rises above a power reconnect level.
one IC, wherein the
power source protection         The figures below show device history events in the Senza IPG from the “Device History
circuitry disconnects the       Report” from the Nevro Senza system Clinician Programmer. The event logs shows that the
rechargeable power              battery level depleted to a point where the IPG was turned off. The Senza II and Senza Omnia
source from the at least        IPGs operate in a similar or the same fashion because there is no premarket approval filed with
one IC if the voltage of        the FDA indicating that there are significant changes to the internal circuitry and operation of the
the rechargeable power          IPG.
source falls below a
power disconnect level,
and reconnects the
rechargeable power
source and the at least
one IC if the voltage of
the rechargeable power
source rises above a
power reconnect level,




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U.S. Patent No. 7,496,404 – Claim 7




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U.S. Patent No. 7,496,404 – Claim 7




wherein the processor           The Nevro Senza, Senza II, and Senza Onmia systems include IPGs that turn back on after the
initiates a power-on-reset      battery voltage was low enough to turn the IPG off.
if the voltage of the
rechargeable power              The figure below shows device history events in the Senza IPG from the “Device History
source rises above a reset      Report” from the Nevro Senza system Clinician Programmer. The event log shows that the
threshold; and                  battery level depleted to a point where the IPG was turned off (“Turn Off Due To Low Battery”)
                                and then turned back on (“RTC-Only Mode”). When turning on the IPG initiates a power-on-
                                reset to initialize the device.




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U.S. Patent No. 7,496,404 – Claim 7




wherein the processor           The Nevro Senza, Senza II, and Senza Omnia systems include IPGs that reinitiates stimulation if
reinitiates stimulation if      the voltage of the rechargeable power source rises above the minimum level for stimulation.
the voltage of the
rechargeable power              As shown in the figures below from the “Device History Report” from the Nevro Senza system
source rises above the          Clinician Programmer, stimulation is turned off when battery voltage drops below a
minimum level for               predetermined level, as indicated by “RTC-Only Mode Entry.” Stimulation is resumed after the
stimulation.                    battery is charged sufficiently.




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U.S. Patent No. 7,496,404 – Claim 7




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U.S. Patent No. 7,496,404 – Claim 7




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II.   U.S. Patent No. 8,682,447

U.S. Patent No. 8,682,447 – Claim 1
A method, comprising:             The Nevro Senza, Senza II, and Senza Omnia systems practice a method to determine the
                                  relative lead position of multipolar leads in a multi-lead configuration implanted within a user.
determining, using circuitry, a
relative two-dimensional          Each of the Nevro Senza, Senza II, and Senza Omnia systems include multipolar leads that are
orientation of first and second   implanted in a patient.
multiple-electrode leads
implanted within a user;




                                  Physician Implant Manual (11051) Rev H at page 7.

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U.S. Patent No. 8,682,447 – Claim 1

                                The figure below depicts the implantable pulse generator (“IPG”) from the Nevro Senza
                                Systems with two leads and 8 electrode contacts on each lead.




                                Patient Manual (11052) Rev F at page 2.

                                Each of the Nevro Senza, Senza II, and Senza Omnia systems determine lead position of
                                implanted leads, as shown below screen captures from the Nevro Senza system Clinician
                                Programmer. Below is the Nevro Senza and Senza II clinician programmer screenshot.




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U.S. Patent No. 8,682,447 – Claim 1




                                Below is the Nevro Senza Omnia clinician programmer screenshot.




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U.S. Patent No. 8,682,447 – Claim 1




conveying electrical stimulation       The Nevro Senza, Senza II, and Senza Omnia systems determine the relative lead position by
energy from a pulse generator          performing an “impedance check,” in which electrical stimulation energy is conveyed into the
implanted within the user into         tissue of a patient.
tissue of the user via the first and
second multiple-electrode leads;




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U.S. Patent No. 8,682,447 – Claim 1




                                   Physician Implant Manual (11051) Rev H at page 31.
and displaying the relative two-   The Nevro Senza and Senza II systems display the relative two-dimensional orientation of the
dimensional orientation of the     first and second multiple electrode leads, as shown below in a screen capture from the Nevro
first and second multiple-         Senza system Clinician Programmer.
electrode leads.




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U.S. Patent No. 8,682,447 – Claim 1




                                The Nevro Senza Omnia system displays the relative two-dimensional orientation of the first
                                and second multiple electrode leads, as shown below in a screenshot of the Senza Omnia
                                system clinician programmer.




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U.S. Patent No. 8,682,447 – Claim 1




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III.   U.S. Patent No. 6,993,384

 U.S. Patent No. 6,993,384 – Claim 1
 A method for determining the        The Nevro Senza, Senza II, and Senza Omnia systems practice a method to determine the
 relative lead position of           relative lead position of multipolar leads in a multi-lead configuration by measuring impedance
 multipolar leads in a multi-lead    vectors between electrodes and inferring the relative position of the lead by the relative minima
 configuration comprising            and maxima of the impedance.
 measuring impedance vectors
 between electrodes, and inferring   Each of the Nevro Senza, Senza II, and Senza Omnia systems include multipolar leads in a
 the relative position of the lead   multi-lead configuration.
 by the relative minima and
 maxima of the impedance
 values.




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U.S. Patent No. 6,993,384 – Claim 1

                                Physician Implant Manual (11051) Rev H at page 6-7.

                                The figure below depicts the implantable pulse generator (“IPG”) from the Nevro Senza
                                Systems with two leads and 8 electrode contacts on each lead.




                                Patient Manual (11052) Rev F at page 2.

                                The Senza system measures lead impedance and displays the relative position of the leads
                                based on the measured impedance as shown by at least the followingscreen captures from the
                                Nevro Senza system Clinician Programmer. The Nevro Senza II System includes the same or
                                similar functionality because there is no premarket approval filed with the FDA indicating that
                                there are significant changes to the lead impedance measurement method or lead position
                                determination method for Senza II.




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U.S. Patent No. 6,993,384 – Claim 1




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U.S. Patent No. 6,993,384 – Claim 1




                                The figure below shows impedance measurement results for the Senza system IPG in the
                                “Device History Report” from the Nevro Senza system Clinician Programmer.




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U.S. Patent No. 6,993,384 – Claim 1




                                The following screenshot from the Senza programmer shows the determined relative positions
                                of the implanted leads in the Senza system.




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U.S. Patent No. 6,993,384 – Claim 1




                                The Senza Omnia system also determines the relative lead position using measured lead
                                impedance, as shown below in a photograph from the Nevro Senza Omnia system Clinician
                                Programmer.




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U.S. Patent No. 6,993,384 – Claim 1




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IV.    U.S. Patent No. 7,853,330

 U.S. Patent No. 7,853,330 – Claim 1
 A method of performing a            The Nevro Senza, Senza II, and Senza Omnia systems practice a method of performing a medical
 medical procedure using a           procedure using a plurality of electrodes implanted within a patient. The systems include an implantable
 plurality of electrodes implanted   pulse generator (IPG) that delivers stimulation to a patient using implantable leads.
 within a patient, comprising:
                                      Each of the Nevro Senza, Senza II, and Senza Omnia systems include multipolar leads that are
                                     implanted in a patient.




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U.S. Patent No. 7,853,330 – Claim 1
                                    Physician Implant Manual (11051) Rev H at page 7.

                                    The figure below depicts the implantable pulse generator (“IPG”) from the Nevro Senza Systems
                                    with two leads and 8 electrode contacts on each lead.




                                    Patient Manual (11052) Rev F at page 2.
measuring a first monopolar         The Nevro Senza, Senza II, and Senza Omnia systems measure impedance to determine relative
electrical impedance between a      positions of implanted leads.
first one of the electrodes and a
return or reference electrode;      The Senza system measures lead impedance and displays the relative position of the leads based
                                    on the measured impedance as shown by at least the following screenshots of the Nevro Senza
measuring a second monopolar        System’s Clinician Programmer screen. The Nevro Senza II system includes the same or similar
electrical impedance between        functionality because there is no premarket approval filed with the FDA indicating that there are
each of at least one of the         significant changes to the lead impedance measurement method or lead position determination
electrodes and the return or        method for Senza II.
reference electrode

measuring a bipolar electrical
impedance between the first one


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U.S. Patent No. 7,853,330 – Claim 1
of the electrodes and each of the
at least one electrode;




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U.S. Patent No. 7,853,330 – Claim 1




                                The following is a screen capture from the Nevro Senza system Clinician Programmer and
                                shows the determined relative positions of the implanted leads in the Senza system.




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U.S. Patent No. 7,853,330 – Claim 1




                                The Senza Omnia also determines the relative lead position using measured lead impedance, as
                                shown below in a photograph from the Nevro Senza Omnia system Clinician Programmer.




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U.S. Patent No. 7,853,330 – Claim 1




determining the amplitude of a        On information and belief, the Senza, Senza II, and Senza Omnia systems determine the
field potential at each of at least   amplitude of a field potential based on the measured impedance depicted above. On information
one of the electrodes based on        and belief Nevro measures the amplitude at the electrodes because the CP allows programming
the measured first monopolar          of specific amplitudes and impedance measuring circuits incorporate amplitude measuring
electrical impedance, each of the     circuitry. As shown in the screenshots below from the Nevro Senza System’s Clinician
second monopolar electrical           Programmer, the Senza and Senza II systems further display the relative lead positions. The
impedances, and each of the           Nevro Senza II system includes the same or similar functionality because there is no premarket
measured bipolar electrical           approval filed with the FDA indicating that there are significant changes to the lead impedance
impedances; and                       measurement method or lead position determination method for Senza II.
determining the relative
positions of the electrodes based



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U.S. Patent No. 7,853,330 – Claim 1
on each of the determined field
potential amplitudes.




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U.S. Patent No. 7,853,330 – Claim 1




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U.S. Patent No. 7,853,330 – Claim 1




                                The Senza Omnia also determines the relative lead position using measured lead impedance, as
                                shown below in a photograph from the Nevro Senza system Clinician Programmer.




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U.S. Patent No. 7,853,330 – Claim 1




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V.    U.S. Patent No. 7,822,480

U.S. Patent No. 7,822,480 – Claim 1
A system, comprising:             The Nevro Senza, Senza II, and Senza Omnia systems include an external charger.
an external device, comprising:
                                  The figure below is from Nevro’s Patient Manual and depicts the Nevro Senza and Senza II
                                  systems’ external charger.




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U.S. Patent No. 7,822,480 – Claim 1




                                Patient Manual (11052) Rev F at page 61.


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U.S. Patent No. 7,822,480 – Claim 1
                                The figure below is from Nevro’s Patient Manual and depicts the Nevro Senza Omnia system’s
                                external charger.




                                Patient Manual (11052) Rev F at page 62.


                                                               53
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U.S. Patent No. 7,822,480 – Claim 1
first modulation circuitry for       The Nevro Senza, Senza II, and Senza Omnia systems’ external charger produces a first signal
producing from first data a first    modulated with on-off keying (“OOK”) wherein the first modulated signal comprises logic “0”
signal modulated with on-off         bits of a first pulse width and logic “1” bits of a second pulse width different from the first
keying (OOK) modulation,             pulse width.
wherein the first modulated
signal comprises logic “0” bits      The figure below is a photograph of an oscilloscope capturing the OOK telemetry transmitted
of a first pulse width and logic 1   by a Senza IPG and depicts a signal transmitted from a Nevro Senza system external charger to
bits of a second pulse width         a Senza IPG that was detected with an oscilloscope. The figure depicts a signal modulated with
different from the first pulse       OOK comprising bits of a first pulse width and second pulse width. The Nevro Senza II and
width,                               Senza Omnia systems’ external charger uses the same or similar OOK telemetry because there
                                     is no premarket approval filed with the FDA indicating that there are significant changes to the
                                     circuitry.




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U.S. Patent No. 7,822,480 – Claim 1
                                                                                    First Pulse Width


                                                              Start/Stop Pulse Width                    Second Pulse Width




wherein each bit further               Each bit further comprises either an ON state with a signal that varies with a first frequency or
comprises either an ON state           an OFF state, and the transition between adjacent bits in the first signal is marked by a change
with a signal that varies with a       in the first modulated signal between the ON and OFF states.
first frequency or an OFF state,
wherein a transition between           The figures below are a photographs of an oscilloscope capturing the OOK telemetry
adjacent bits in the first signal is   transmitted by a Senza IPG depicts a signal transmitted from a Nevro Senza system external
marked by a change in the first        charger to a Senza IPG that was detected with an oscilloscope. The figure depicts a signal
modulated signal between the           modulated with OOK comprising bits of a first pulse width and second pulse width wherein
ON and OFF states;                     each bit has an ON or OFF state and the transition between adjacent bits is marked a change

                                                                        55
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U.S. Patent No. 7,822,480 – Claim 1
                                between the ON and OFF states. The Nevro Senza II and Senza Omnia systems’ charger uses
                                the same or similar OOK telemetry because there is no premarket approval filed with the FDA
                                indicating that there are significant changes to the circuitry.
                                                                        Short bit on


                                                Start/Stop off                       Long bit off




                                                                 56
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U.S. Patent No. 7,822,480 – Claim 1
                                                      Long bit on


                                   Start/Stop off                        Short bit off




a coil configured to wirelessly   The Nevro Senza, Senza II, and Senza Omnia systems’ external charger wirelessly transmits the
transmit the first modulated      first modulated signal to the IPG via a coil.
signal to the implantable medical
device; and                       The figures below are from Nevro’s Patient Manual and depict the Nevro Senza and Senza II
                                  systems’ external charger. The coil is shown as number 6 and transmits charging energy and
                                  the modulated OOK signal to the IPG.




                                                                    57
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U.S. Patent No. 7,822,480 – Claim 1




                                Patient Manual (11052) Rev F at page 61.


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U.S. Patent No. 7,822,480 – Claim 1




                                Patient Manual (11052) Rev F at page 37.

                                The figures below are from Nevro’s Patient Manual and depict the Nevro Senza Omnia
                                system’s external charger. The coil is shown as number 6 and transmits charging energy and
                                the modulated OOK signal to the IPG.




                                                               59
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U.S. Patent No. 7,822,480 – Claim 1




                                Patient Manual (11052) Rev F at page 62; see also, id. at 41-42 (explaining to put the coil over
                                the top of the IPG).

                                The Patient Manual explains that the IPG and charging coil must be aligned for communication
                                to occur, thus the coil is configured to transmit the OOK modulated signal.

                                                                 60
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U.S. Patent No. 7,822,480 – Claim 1




                                  Patient Manual (11052) Rev F at page 40, 44.
an implantable medical device,    The Nevro Senza, Senza II, and Senza Omnia systems include an IPG, which is an implantable
comprising a first telemetry      medical device, which contains a telemetry receiver for demodulating the first modulated signal
receiver in the implantable       to recover the first data.
medical device for demodulating
the first modulated signal to     The figure below is a cut-open Senza IPG and depicts the internal circuitry from the Nevro
recover the first data.           Senza system IPG, including the telemetry circuitry for demodulating the first modulated signal
                                  to recover the first data. The Nevro Senza II and Senza Omnia systems’ implantable devices
                                  include the same or similar first telemetry receiver because there is no premarket approval filed
                                  with the FDA indicating that there are significant changes to the telemetry receiver.




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U.S. Patent No. 7,822,480 – Claim 1




U.S. Patent No. 7,822,480 – Claim 2
The system of claim 1, further    The Nevro Senza, Senza II, and Senza Omnia systems include an external patient remote and/or
comprising:                       an external clinician programmer with programmer wand (i.e., coil), each with a second
second modulation circuitry in    modulation circuitry that modulates telemetry using frequency modulation.
the external device for producing
from second data a second signal
modulated with frequency
modulation,



                                                                 62
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U.S. Patent No. 7,822,480 – Claim 2




                                Physician Implant Manual (11051) Rev H at page 6.




                                Physician Implant Manual (11051) Rev H at page 18.




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U.S. Patent No. 7,822,480 – Claim 2




                                    Physician Implant Manual (11051) Rev H at page 19.
wherein the coil is further         The Nevro Senza, Senza II, and Senza Omnia systems’ external patient remote wirelessly
configured to wirelessly transmit   transmits the second modulated signal (FSK frequency modulation) to the IPG via a
the second modulated signal to      coil/antenna in the external patient remote. The external patient remote could not communicate
the implantable medical device;     with the IPG without a coil/antenna.




                                    Physician Implant Manual (11051) Rev H at page 19.

                                    The clinician programmer includes a programmer wand (i.e., coil) that wirelessly transmits the
                                    second modulated signal (FSK frequency modulation) to the IPG.




                                    Physician Implant Manual (11051) Rev H at page 19.



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U.S. Patent No. 7,822,480 – Claim 2
a second telemetry receiver in    The Nevro Senza, Senza II, and Senza Omnia systems include an IPG, which is an implantable
the implantable medical device    medical devices, which contains a telemetry receiver for demodulating the second modulated
for demodulating the second       signal (FSK frequency modulation) to recover the second data.
modulated signal to recover the
second data.                      The figure below is a cut-open Senza IPG and depicts the internal circuitry from the Nevro
                                  Senza system IPG, including the telemetry circuitry for demodulating the first modulated signal
                                  to recover the first data. The Nevro Senza II and Senza Omnia systems’ implantable devices
                                  include the same or similar second telemetry receiver because there is no premarket approval
                                  filed with the FDA indicating that there are significant changes to the telemetry receiver.




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VI.    U.S. Patent No. 6,381,496

 U.S. Patent No. 6,381,496 – Claim 1
 An implant device comprising:        The Nevro Senza, Senza II, and Senza Omnia systems include implantable medical devices
 an implantable case;                 having a hermetically sealed housing, which is implanted case.




                                      Physician Implant Manual (11051) Rev. H at page 6.
 electronic circuitry housed          The Nevro Senza, Senza II, and Senza Omnia systems include implantable medical devices,
 within said implantable case for     which contain electronic circuitry housed within their implantable cases for performing
 performing a prescribed              prescribed functions, including controlling the operation of the IPG as a function of a control
 function, the electronic circuitry   register storing a set of operational parameters.
 including:
         a control register wherein   The figure below is from a cut-open Senza IPG and depicts the processing circuitry from the
 a control set of operational         Nevro Senza system IPG, including a Texas Instruments MSP430F2617T processor, which has
 parameters is stored,                registers and controls the operation the IPG. The Nevro Senza II and Senza Omnia systems
         a controller that controls   include the same or similar processing circuitry because there is no premarket approval filed
 the operation of the implant         with the FDA indicating that there are significant changes to the processing circuitry.
 device as a function of the
 control set of operational
 parameters stored in the control
 register, and




                                                                       66
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U.S. Patent No. 6,381,496 – Claim 1




a plurality of sets of operational   The Nevro Senza and Senza II systems include implantable medical devices that contain a
parameters; and                      plurality of sets of operational parameters called “stimulation programs.”




                                                                    67
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U.S. Patent No. 6,381,496 – Claim 1




                                Patient Manual (11052) Rev F at page 26.

                                The Nevro Senza Omnia system also includes an implantable medical device that contain a
                                plurality of sets of operational parameters called “stimulation programs.”




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U.S. Patent No. 6,381,496 – Claim 1




                                  Patient Manual (11052) Rev F at page 34.
selection means for selecting one The Nevro Senza and Senza II systems contain a selection means for selecting one of the of the
of the plurality of sets of       plurality of operational parameters that are stored in the control register. Selection of different
operational parameters as the     set of operational parameters changes the operation of the implanted device.
control set of operational
parameters that is stored in the
control register;
        whereby the operation of
the implant device may be
changed through selection of a
different set of operational
parameters.
                                                                     69
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U.S. Patent No. 6,381,496 – Claim 1




                                Patient Manual (11052) Rev F at page 26.

                                The figure below is from the Patient MAnual and depicts the Nevro Senza and Senza II
                                systems’ Patient Remote, showing the green “P” button indicated by number 6, which is used to
                                change the stimulation program of the IPG.




                                                               70
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U.S. Patent No. 6,381,496 – Claim 1




                                Patient Manual (11052) Rev F at page 59.

                                The Nevro Senza Omnia system includes an implantable medical device that contains a
                                plurality of sets of operational parameters called “stimulation programs.”




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U.S. Patent No. 6,381,496 – Claim 1




                                Patient Manual (11052) Rev F at page 34.

                                The figure below is from the Patient Manual and depicts the Nevro Senza Omnia system’s
                                Patient Remote, showing the blue “P” button indicated by the number 16, which is used to
                                change the stimulation program of the IPG.




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U.S. Patent No. 6,381,496 – Claim 1




                                Patient Manual (11052) Rev F at page 60.




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VII.   U.S. Patent No. 7,177,690

  U.S. Patent No. 7,177,690 – Claim 1
  An implantable medical device    The Nevro Senza, Senza II, and Senza Omnia systems include implantable medical devices
  system having a replenishable    having replenishable power sources.
  power source comprising:




                                   Physician Implant Manual (11051) Rev H at page 6.
  an implantable medical device,   The Nevro Senza, Senza II, and Senza Omnia systems include implantable medical devices
  the device having a housing      having a hermetically sealed housing which contains processing circuitry.
  which contains processing
  circuitry; and




                                   Physician Implant Manual (11051) Rev H at page 6.

                                   The figure below is from a cut-open Senza IPG and depicts the processing circuitry from the
                                   Nevro Senza system IPG, including a Texas Instruments MSP430F2617T processor. The
                                   Nevro Senza II and Senza Omnia systems’ implantable devices include the same or similar
                                   processing circuitry because there is no premarket approval filed with the FDA indicating that
                                   there are significant changes to the processing circuitry.


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U.S. Patent No. 7,177,690 – Claim 1




an external programmer that may The Nevro Senza, Senza II, and Senza Omnia systems include external programmers in the
be placed in telecommunicative  form of a Clinician Programmer and Patient Remote, both of which may be placed in
contact with the implantable    telecommunicative contact with the IPG.
medical device; and




                                 Physician Implant Manual (11051) Rev H at page 6.



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U.S. Patent No. 7,177,690 – Claim 1




                                Physician Implant Manual (11051) Rev H at page 6.
means for recording battery     The Nevro Senza, Senza II, and Senza Omnia systems’ IPGs contain processing circuitry which
charging information, which     contains a means for recording battery charging information which may be recalled later.
may be recalled later,
                                The figure below is from a cut-open Senza IPG and depicts the processing circuitry from the
                                Nevro Senza system IPG, including a Texas Instruments MSP430F2617T processor which
                                contains 8KB of internal RAM memory. The Nevro Senza II and Senza Omnia systems’
                                implantable devices include the same or similar processing circuitry because there is no
                                premarket approval filed with the FDA indicating that there are significant changes to the
                                processing circuitry.




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U.S. Patent No. 7,177,690 – Claim 1




                                As shown in the figure below, battery charging information is recorded in the IPG and sent to
                                the external programmer, where it can be displayed in a “Device History Report” on the Nevro
                                Senza system Clinician Programmer.




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U.S. Patent No. 7,177,690 – Claim 1




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U.S. Patent No. 7,177,690 – Claim 1




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U.S. Patent No. 7,177,690 – Claim 1




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U.S. Patent No. 7,177,690 – Claim 1
wherein the external                  The Clinician Programmer and Patient Remote are external programmers (as shown above),
programmer includes a status          both including a status indicator for the battery status of the IPG.
indicator for indicating the status
of the replenishable power            The figure below is a screen capture from the Nevro Senza system Clinician Programmer,
source within the implantable         highlighting the indicator for the battery status of the IPG. The Nevro Senza II system uses the
medical device.                       same Clinician Programmer as the Nevro Senza system and also includes the indicator for the
                                      battery status of the IPG.




                                      The figure below is picture of the Nevro Senza Omnia system Clinician Programmer,
                                      highlighting the indicator for the battery status of the IPG.




                                                                       81
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U.S. Patent No. 7,177,690 – Claim 1




                                The Nevro Senza and Senza II systems’ Remote control also has an indicator for the battery
                                status of the IPG. The figure below is from the Nevro Senza system Patient Manual and depicts
                                the Nevro Senza and Senza II system Patient Remote, with an arrow pointing to the indicator
                                for the battery status of the IPG.




                                                               82
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U.S. Patent No. 7,177,690 – Claim 1




                                Patient Manual (11052) Rev F at page 36.

                                The Nevro Senza Omnia system’s Remote control also has an indicator for the battery status of
                                the IPG. The figure below is from the Nevro Senza system Patient Manual and depicts the
                                Nevro Senza and Senza II system Patient Remote, with an arrow pointing to the indicator for
                                the battery status of the IPG.




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U.S. Patent No. 7,177,690 – Claim 1




                                Patient Manual (11052) Rev F at page 37.




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VIII.    U.S. Patent No. 9,162,071

   U.S. Patent No. 9,162,071 – Claim 1
   A method for controlling an         The Nevro Senza, Senza II, and Senza Omnia systems include implantable devices that practice a
   implantable medical device, the     method for controlling the IPG, the IPG includes telemetry circuitry to receive both a first type of
   device having telemetry circuitry   telemetry and to receive a second type of telemetry.
   to receive both a first type of
   telemetry and to receive a
   second type of telemetry, the
   method comprising:




                                       Physician Implant Manual (11051) Rev H at page 6.

                                       The implantable devices contain telemetry circuitry to receive a first type of telemetry from a
                                       clinician programmer or patient remote (FSK frequency modulation) and telemetry circuitry to
                                       receive a second type of telemetry from an external charger (OOK telemetry).




                                                                        85
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U.S. Patent No. 9,162,071 – Claim 1




                                Physician Implant Manual (11051) Rev H at page 6.




                                Physician Implant Manual (11051) Rev H at page 18.




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U.S. Patent No. 9,162,071 – Claim 1




                                Physician Implant Manual (11051) Rev H at page 19.

                                The figure below is a picture of an oscilloscope capturing OOK telemetry transmitted from a
                                Nevro Senza system external charger to a Senza IPG. The figure depicts a signal modulated with
                                OOK The Nevro Senza II and Senza Omnia systems’ external charger uses the same or similar
                                OOK telemetry because there is no premarket approval filed with the FDA indicating that there
                                are significant changes to the circuitry.




                                                               87
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U.S. Patent No. 9,162,071 – Claim 1
                                                                    First Pulse Width


                                                Start/Stop Pulse Width                  Second Pulse Width




                                The Patient Manual explains that the IPG and charging coil must be aligned for communication
                                to occur, thus the coil is configured to transmit the OOK modulated signal.




                                                               88
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U.S. Patent No. 9,162,071 – Claim 1




                                Patient Manual (11052) Rev F at page 40, 44.
listening for the first and     The Nevro Senza, Senza II, and Senza Omnia systems include IPGs that listen for the FSK
second telemetry types;         frequency modulated telemetry (i.e., first telemetry type) when the battery is charged above a
                                certain threshold.

                                The Senza, Senza II, and Senza Omnia systems include FSK frequency modulation telemetry
                                (i.e., first telemetry type) between the IPG and patient remote. This telemetry scheme is enabled
                                when the IPG’s battery is above a certain threshold.




                                Patient Manual (11052) Rev F at page 22, 29.
monitoring a voltage of a       The Senza, Senza II, and Senza Omnia systems include IPGs that monitor the battery level of the
power source within the         IPG’s rechargeable battery (i.e., “monitoring a voltage of a power source”).
implantable medical
device; and                     The IPGs include internal battery monitoring circuitry to monitor the voltage of the rechargeable
                                battery. The monitored battery voltage is transmitted to at least the patient remote and displayed
                                as indicated int eh figures below.



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U.S. Patent No. 9,162,071 – Claim 1




                                Patient Manual (11052) Rev F at page 36.




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U.S. Patent No. 9,162,071 – Claim 1




                                Patient Manual (11052) Rev F at page 37.

                                This figure below shows a cut-open Senza IPG with battery monitoring circuitry contained in the
                                IPG housing that monitors the voltage of the rechargeable power source and any charging current
                                flowing to the rechargeable power source. The Senza II and Senza Omnia IPGs contain similar
                                or the same monitoring circuitry because there is no premarket approval filed with the FDA
                                indicating that there are significant changes to the monitoring circuitry.




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U.S. Patent No. 9,162,071 – Claim 1




if the voltage falls below      Senza, Senza II, and Senza Omnia systems include IPGs with telemetry functionality dependent
a first threshold,              upon charge level of its rechargeable battery. If the battery level falls below a voltage threshold
discontinuing listening         (“first threshold”), the IPG discontinues listening for the FSK telemetry (i.e., first telemetry) from
for the first telemetry         the remote control.
type while continuing
listening for the second
telemetry type.



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U.S. Patent No. 9,162,071 – Claim 1




                                Patient Manual (11052) Rev F at page 47-48; see also, id. at 48-49 (for Senza Omnia remote).

                                Furthermore, even if the battery level falls below the first threshold, the IPG continues to listen
                                for the OOK telemetry (i.e., second telemetry type) from the external charger. As shown below,
                                the charger communicates with the IPG to receive information about charging, including status
                                and IPG battery level.




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U.S. Patent No. 9,162,071 – Claim 1




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U.S. Patent No. 9,162,071 – Claim 1
                                Patient Manual (11052) Rev F at page 38-39; see also, id. at 42-43 (for Senza Omnia external
                                charger).

                                Moreover, the charger is able to communicate with the IPG even if stimulation and FSK
                                telemetry has been discontinued. The picture below shows the OOK telemetry from the external
                                charger (yellow) is active and stimulation (blue) is inactive. The first picture shows OOK
                                telemetry sent from the external charger to the IPG and the second picture show communication
                                from the IPG to the external charger.

                                                    Long bit on


                                  Start/Stop off                       Short bit off




                                                                  95
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U.S. Patent No. 9,162,071 – Claim 1




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                              EXHIBIT 2
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                                                                                         01111111111111111111111
    (12)   United States Patent                                                  (10) Patent No.:     US 7,496,404 B2
           Meadows et al.                                                        (45) Date of Patent:    *Feb. 24, 2009

    (54)   RECHARGEABLE SPINAL CORD                                         (56)                           References Cited
           STIMULATOR SYSTEM                                                                       U.S. PATENT DOCUMENTS
    (75)   Inventors: Paul M Meadows, Glendale, CA (US);                            3,646,940 A               3/1972 Timm et al.
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                      Carla M Woods, Beverly Hills, CA
                                                                                    3,822,708 A               7/1974 Zilber
                      (US); David K Peterson, Saugus, CA
                                                                                    4,019,519 A               4/1977 Geerling
                      (US); Joey Chen, Valencia, CA (US);
                                                                                    4,082,097 A *             4/1978 Mann et al.         607/33
                      David H Payne, Llano, CA (US)                                 4,096,866 A               6/1978 Fischell

    (73)   Assignee: Boston Scientific Neuromodulation
                     Corporation, Valenica, CA (US)                                                             (Continued)

           Notice:      Subject to any disclaimer, the term of this                          FOREIGN PATENT DOCUMENTS
    (*)
                        patent is extended or adjusted under 35             EP                      0 047 822 Al                3/1982
                        U.S.C. 154(b) by 590 days.

                        This patent is subject to a terminal dis-                                               (Continued)
                        claimer.                                            Primary Examiner George Manuel
                                                                            (74) Attorney, Agent, or Firm Vista IP Law Group LLP
    (21)   Appl. No.: 11/009,508
                                                                            (57)                                ABSTRACT
    (22)   Filed:       Dec. 10, 2004

    (65)                   Prior Publication Data                           A spinal cord stimulation (SCS) system includes multiple
                                                                            electrodes, multiple, independently programmable, stimula-
           US 2005/0107841 Al                    May 19, 2005               tion channels within an implantable pulse generator (IPG)
                                                                            which channels can provide concurrent, but unique stimula-
                     Related U.S. Application Data                          tion fields, permitting virtual electrodes to be realized. The
                                                                            SCS system includes a replenishable power source (e.g.,
    (63)   Continuation of application No. 10/307,098, filed on
                                                                            rechargeable battery), that may be recharged using transcu-
           Nov. 27, 2002, now Pat. No. 6,895,280, which is a                taneous power transmissions between antenna coil pairs. An
           continuation of application No. 09/626,010, filed on             external charger unit, having its own rechargeable battery can
           Jul. 26, 2000, now Pat. No. 6,516,227.                           be used to charge the IPG replenishable power source. A
    (60)   Provisional application No. 60/145,829, filed on Jul.            real-time clock can provide an auto-run schedule for daily
                                                                            stimulation. An included bi-directional telemetry link in the
           27, 1999.
                                                                            system informs the patient or clinician the status of the sys-
                                                                            tem, including the state of charge of the IPG battery. Other
    (51) Int. Cl.
                                                                            processing circuitry in the IPG allows electrode impedance
         A61N 1/00              (2006.01)                                   measurements to be made. Further circuitry in the external
    (52) U.S. Cl.                               607/46; 607/43              battery charger can provide alignment detection for the coil
    (58) Field of Classification Search                  607/2,             pairs.
                                    607/12, 33, 43, 46, 48, 117
         See application file for complete search history.                                         18 Claims, 32 Drawing Sheets


                                                       110
                                                                                             132           / }1 4
                         156N                                                                                             40
                                 GUIDE WIRE                             PERCUTANEOUS
                                                         ELECTRODE        EXTENSION
                                                                                                   EXTERNAL                   TRAL
                                                           ARRAY                                     CABLE                 STIMULATOR

                         154-1   INSERNON
                                    TOOL



                         1521        TUNNELING
                                       TOOLS
                                                      120
                                                            EXTENSION
                                                                              202

                                                                         HAND HELD
                                                                                       203
                                                                                               204

                                                                                                     COWAN
                                                                                                                          205
                                                                                                                           DIREC7TONAL
                                                                        PROGRAMMER                 PROGRAMMER                 DEVICE
                                                              IPG
                                30
                                                                         PORTABLE                  CHARGING k                   206
                                                                          CHARGER                    PORT
                                                                                                                    210
                                                             100                         2



                                                         10                                    20
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                                                             Page 2


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       5,814,092   A    9/1998   King                             * cited by examiner
                Case 1:18-cv-00644-CFC-CJB Document 48 Filed 02/11/20 Page 172 of 438 PageID #: 2872




                                                                                                                    lualud °Sil
                         r                     1
                              110
                                                                        132           /1
                                                                                       ) 34
                                                                                                    140
156-1   GUIDE {SIRE
                                   ELECTRODE
                                                    PERCUTANEOUS
                                                      EXTENSION
                                                                              EXTERNAL                    TRIAL




                                                                                                                    600Z `rz 'aa3
                                     ARRAY                                      CABLE                 SIIMULA TOR
154
   N. INSERTION
         TOOL

152_
            TUNNELING                                       202              204
                                   EXTENSION                                                        205
              TOOLS                                       1     203




                                                                                                                    Z£ Jo 1 WIN
                               /
                             120                      HAND HELD                 CLINICIAN             DIRECTIONAL
                                                     PROGRAMMER               PROGRAMMER                 DEICE
                                        IPG
       30                                                                                                  1
                                                      PORTABLE 1..\.          CHARGING k                  206
                                        /              CHARGER                  PORT
                                                                                              210
                                    100                                208
                         L                     J




                                                                                                                    Zll 17017`96eL Sfl
                                   10                                        20

                                                   FIG. 1
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                          V......                   Var.




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                                                                                        NC
Case 1:18-cv-00644-CFC-CJB Document 48 Filed 02/11/20 Page 174 of 438 PageID #: 2874


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                               FIG. 2B
            Case 1:18-cv-00644-CFC-CJB Document 48 Filed 02/11/20 Page 175 of 438 PageID #: 2875




                                                                                                   lualud °Sil
                             STIMULARON
ELECTRODE CHANNEL           PARAMETERS
 El        CHI       —4mA 60pps 300As
 E2




                                                                                                   600Z `rz 'aa3
 E3        CH1       +4mA 60pps 300ps
 E4
 E5
 E6        CH2       —4mA 50pps 300As
 E7        CH        —2mA 50pps 300 us
 E8CH2 & CH3 (+6mA 50pps 300,as, —5mA 60pps 400,as
 E9




                                                                                                    ZE .10 r 0° 11S
El0        CH3        +5mA 60pps 400 As
Ell
E12
E13        CH4        —4mA 60pps 300As
E14        CH4        +4mA 60pps 300 /Is
E15
E16
CASE ELECTRODE




                                                                                                   Zll 17017`96eL Sfl
                                                     0      1      2      3        4   5     6
                                                                       TIME (ms)

                                                         FIG. 3A
       Case 1:18-cv-00644-CFC-CJB Document 48 Filed 02/11/20 Page 176 of 438 PageID #: 2876




                                                                                                                                 lualud °Sil
              Ti
                     T2
                          T3
                                                                        FIG. 3B
         El
        E2




                                                                                                                                 600Z `rz 'aa3
        E4
        E5 I
        E6

        E7                     n   .

        E8




                                                                                                                                 Z£ Jo S WIN
                                       Td3
        E;6 1 T                                                                     U
3811
       CASE
                                                                                                       3821
                    CHANNEL (GROUP) 1                                      3818                /CH  / NEL (GROUP) 1
                                                                                                 / AN
                                                         3813                3817—n-
 3810                                                                                 CHANNEL (GROUP 2
                                        3815                                              /
 3812                                                                   1/13
                                   CHANNEL (GROUP) 3                           3816—)          3819     3820 gCHANNEL (GROUP)3
 3814                                    /   /   /   /   /      /   /
                                                                                 / 222




                                                                                                                                 Zll 17017`96eL Sfl
        lms                                                                                      CHANNEL (GROUP) 4
                   KEY         - FIRST PHASE PERIOD (PULSE WIDTH)                   - SECOND PHASE PERIOD (RECHARGE)
                               - INTER PHASE PERIOD               1/            / 4   HOLD-OFF PERIOD (JITTER ON)
     Case 1:18-cv-00644-CFC-CJB Document 48 Filed 02/11/20 Page 177 of 438 PageID #: 2877




                                                                                            lualud °Sil
       2ma
El
                              —2mo




                                                                                            600Z `rz 'aa3
                                          4ma

E2

                                                                4ma




                                                                                            Z£ .19 9 WIN
                                                               4ma
                              2mo
E3
      —2ma
                                         —4ma
             - t1-4---t2--]                           _._
                                           - --1 t3
                                                          t4
          0            1             2                3               4   5        6




                                                                                            Zll 17017`96eL Sfl
                                     TIME (ms)

                                     FIG. 3C
                Case 1:18-cv-00644-CFC-CJB Document 48 Filed 02/11/20 Page 178 of 438 PageID #: 2878




                                                                                                                                         1ualud *Sil
             170                                                                                                             ,--100

                                           190-,      r"
                                                 \,         ASIC                               r -- -186
               CHARCHING AND                                                      167         +11                        Cl
                 FORWARD                                                                                                 I( 0 El
      /
172              TELEMETRY
                                                                                              —11                        C2
                                                           166
                                                                                                                         I( 0 E2




                                                                                                                                       600Z `rz 'aaa
                                                                     CONTROL                        187
                                                                      LOGIC                                              C3
                    OSC.                                                                      +12                        I( 0 E3
                     AND
                                II C                                                                                     C4
                   CLOCK
                   CIRCUIT                                                TIMER                                           ( 0 E4
                                                                                               1            LOW
                                                                         LOGIC
                 1                                                                                         IMPED.
                       160                                                                                               .
               164                                         173     nj                                      SWITCH




                                                                                                                                       Z£ JO L WIN
                                                                   168      174                            MATRIX
                       162                                                                                               .
  182                          MEMORY      180
                                         c)                                                                              .
                               REPLENISHABLE
           POWER                                            MONITORING
                                  POWER
          CIRCUITS                                           CIRCUITRY                                                   Cn
                                  SOURCE
                                                                                              +Im                        I( 0 En
                                           176




                                                                                                                                      Zll 17017`96eL Sfl
                               BACK                                                                                          I   I
                             TELEMETRY                                                                                        CASE
                                                                                        186         187    L-1 8
                 184                                  L                                                             _1
                              69.9k
                                         177
                                                                             FIG. 4A
Case 1:18-cv-00644-CFC-CJB Document 48 Filed 02/11/20 Page 179 of 438 PageID #: 2879


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                  VDD                                           FIG. 4B                 lool
                                                      190'
                                           BATTERY                         194'         186'
                     MAIN                  VOLTAGE VBAT
              LX " OSCILLATOR             (SCALED)   ANALOG IC
        164
                                                           IMPEDANCE         OUTPUT
                           BOOT                            & BATTERY         CURRENT
                           ROM           IMPEDANCE          MEASURE           DACs
              /                            SAMPLE
        735
                                                           VDD (27V)         OUTPUT
                           SRAM                            REGULATOR          (VH)
                                         WATCHDOG          AND RESET       REGULATOR

                         12b A/D
                                             VDD             162'         DIGITAL IC TO
       734                                                          RESET ANALOG IC
                                              SEEROM
                                                          VDD             LOG
                   PROCESSOR DIE
                                                           DIGITAL IC        OUTPUT
                        INTERFACE        MICRO TO
                                                                           GENERATORS
                           LOGIC          DIGITAL
                                          IC BUS
                                                           INTERFACE          STATE
                                                             LOGIC           CONTROL
                          TIMERS,
                            SS/,
                          SEEROM
                        INTERFACE
                                                VDD
                                                      SRAM
                                                   (OPTIONAL)
                                                                17   163                191'


                           RF                                              7 182 '
                         CONTROL                      BATTERY CHARGER
                                           160'
                                                       AND PROTECTION
                                                          CIRCUITS

                        Tx/CTRL                                                    BATTERY
                                                                                   VOLTAGE
                                                   CHARGER      BATTERYI
                    RF TELEMETRY                     COIL
                    TX/RX CIRCUITS
                       (ANTENNA,                                     180'
                                                   171'
      172'            IMPEDANCE
                   MATCHING, TUNING                                               16 OUTPUTS
                                                        CAPACITOR                  AND CASE
                      AMPLIFIER),                   ARRAY AND HEADER
                        ANTENNA                        CONNECTOR
                                         192'
          Case 1:18-cv-00644-CFC-CJB Document 48 Filed 02/11/20 Page 180 of 438 PageID #: 2880




                                                                                                                                lualud *Sil
1861
                                                              (    '    4C05
                                            4C04                                                          x   4C12
                                                                                  4C06       4C11
 \ 1
   4/..


                                  LATCH
                                           1    S1
                                             AMPLITUDE
                                                S2
                                                            PDAC

                                                            NDAC
                                                                       CURRENT
                                                                       SOURC
                                                                                         /
                                                                                             Cl1 1 /
                                                                                                              ELECTRODE
                                                                                                                  1
                                                                                                                        El
           4CO2-\
                                    1
                                                                                                   4C13
                                                   SJ     RECHARGE




                                                                                                                               600Z `rz 'aaa
                                                           SWITCH
                                                                         \"---- 4C07
                                          N.- 4CO3S1                                         4C11
 4C01\
                                             AMPLITUDE
                                                           PDAC
                                                                       CURREN            9                    ELECTRODE Ej
             ODD                  LATCH         S2                     SOURCE            C21 1                    3
                                                           NDAC
          AMPLITUDE                 3
  BUS                                              S3                                          4C13
             ODD                                          RECHARGE
 FROM




                                                                                                                               Z£ JO 6 WIN
            MODE         A/C                               SWITCH
DIGITAL
   IC                 SEQUENCER
             ODD                    •        4CO3                              4C08
                                    •
           CHANGE                   •
                                                                                             4C11
                                                   S1
                                                            PDAC
                                              AMPLITUDE                CURRENT                 1              ELECTRODE
                                                                       SOURCE                                     15    E15
                                  LATCH          S2         NDAC                         C15
                                    15
                                                   S3     RECHARGE                             4C13




                                                                                                                              Zll 171:117`96eL Sfl
                                                           SWITCH


                                                        FIG. 4C-1
         Case 1:18-cv-00644-CFC-CJB Document 48 Filed 02/11/20 Page 181 of 438 PageID #: 2881




                                                                                                                         lualud •ST1
           •               •            •
           •
           •
                           •
                           •
                                        •
                                        •                          FIG. 4C-2                           c 4C12
186'                                        EVEN ELECTRODES
                                                                                          4C11    r/
                                                        S1
                                                                  PDAC

                                            LATCH
                                              2
                                                     AMPLITUDE
                                                        S2
                                                                  NDAC
                                                                            CURRENT
                                                                            SOURCE    C211
                                                                                      1
                                                                                             (z)
                                                                                                        ELECTRODE E2
                                                                                                            2




                                                                                                                           600Z `rz *gag
                                                        S3       RECHARGE                  4C13
                                                                  SWITCH
                                                                                      4C11
                 EVEN                                  S1
                                                                  PDAC
   BUS         AMPLITUDE                            AMPLITUDE               CURRENT                     ELECTRODE
                                  AIC                                       SOURCE                          4,    E4
  FROM           EVEN                                  S2
                               SEQUENCER LATCH                    NDAC
 DIGITAL




                                                                                                                          Z£ Jo OT WIN
                 MODE                      4
    IC                                                  53       RECHARGE                  4C13
                 EVEN
                                                                  SWITCH
                CHANGE

                                                                                          4C11
4C01-7                                                  S1
               4CO2                                                PDAC
                                                     AMPLITUDE              CURRENT                      ELECTRODE
                                                        S2                  SOURCE                           16    E16
                                            LATCH                  NDAC




                                                                                                                          Zll 17017`96eL Sfl
                                              16
                                                        S3       RECHARGE
                                                                  SWITCH
           •             •              •
           •             •              •
           •             •              •
              Case 1:18-cv-00644-CFC-CJB Document 48 Filed 02/11/20 Page 182 of 438 PageID #: 2882




                                                                                                                  lualud °Sil
186'




                                                                                                                  600Z `rz 'aa3
                        •               •
                        •               •                            4C09
 \        :             •               •


                                                                 /                                            ,
                                             SC1         WI SWITCH
                                                          (SC1)
                                                                                   a          1 INDIFFERENT
                 SYNC                                                                           ELECTRODE
  BUS
 FROM                          A/C          SO          RECHARGE
                                                                                       4C13




                                                                                                                  Z£ Jo H WIN
                            SEQUENCER                  SWITCH (SCJ)
DIGITAL
   IC
                CLOCK                                                                            4C12
                                                   ACTIVE SOURCE
                                                                      4C10
4C01-/-
              4CO2-/




                                                                                                                  Zll 17017`96eL Sfl
                                              FIG. 4C-3
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        FIG. 4D-1                                                     •    •   •




            EXTERNAL CHARGER .7 4D01
             PLACED OVER IPG,                 ANALOG IC RESETS      4007
            STARTING CHARGING                  ALL REGISTERS
                 PROCESS       4002             AFFECTED BY
                                                 HEXTRESET

             BATTERY VOLTAGE
          RISES ABOVE 2.5 — 2.6V              VBA T RISES ABOVE     4008
               AND CHARGING                  30V AND BATTERY
            CURRENT IS DETECTED                MONITOR CIRCUIT
                                             RELEASES HEXTRESET

           BATTERY PROTECTION
             CIRCUIT ALLOWS   i - 4003           DIGITAL IC IS      4009
             BATTERY TO BE                   READY FOR COMMANDS
              CONNECTED TO                           FROM
                ANALOG IC       4004            PROCESSOR IC


             ANALOG IC ASSERTS
                                  /                   I
                                                 ANALOG IC IS       4010
               HEXTRESET LINE                READY FOR COMMANDS
         (HIGH), STARTS GENERATION             FROM PROCESSOR
             OF VDD AND STARTS                      IC 14A
               TIME DELAY FOR                     DIGITAL IC
            HEXTRESET HOLD TIME

                                              PROCESSOR STARTS      4011
           VDD TRACKS BATTERY                   RESET SEQUENCE
              VOLTAGE MINUS           4005    AND FETCHES RESET
           REGULATOR DROPOUT                   VECTOR AND JUMPS
            HEXTRESET REMAINS                   TO RESET ROUTINE
           ASSERTED UNTIL VBA T
             RISES ABOVE 3.0V
             AND VDD IS 2.7V                     BOOT LOADER         4012
                                                ROUT/NE READS
                                               EXTERNAL SEEROM
             DIGITAL IC RESETS        4D06     DATA AND STORES
               ALL INTERNAL                   PROGRAM AND DATA
            REGISTERS AFFECTED                    SECTIONS IN
               BY HEXTRESET                     PROCESSOR RAM
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        FIG. 4D-2
                  •   •   •




                                                PROCESSOR JUMPS j       -4D13
                                                    TO INTERNAL
                                               PROGRAM SPACE AND
                                                STARTS THE SYSTEM
                                                 APPLICATION CODE

                                               PROCESSOR INMALIZES
                                                 ALL REGISTERS IN
                                                  DIGITAL IC AND          4D14
                                                  INDIRECTLY THE
                                                    ANALOG IC
                                                  REGISTERS TO A
                                                    SAFE STATE

                                                PROCESSOR VERIFIES        4015
                                                SYSTEM RESOURCES:
                                                 BATTERY STATUS;
                                                 MEMORY INTEGRITY,
                                                  ALL DIAGNOSTICS

                                                 PROCESSOR SETS          4016
                                                  DIGITAL IC AND
                                                  ANALOG IC TO
                                                DEFAULT CONDITIONS


                                                  PROCESSOR SETS     „7 -4D17
                                                REMAINING HARDWARE
                                               RESOURCES TO NORMAL
                                                OPERATING CONDITIONS

                                                                     x-4018
                                                PROCESSOR EXECUTES
                                                   MAIN IDLE AND
                                                  DIAGNOSTIC LOOP
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        FIG. 4E-1
                   BATTERY VOLTAGE IS                                        •       •       •


                  MEASURED ONCE EVERY
                  4 HOURS, 16 SAMPLES,                   I                4E07
           P
         4E01
                    AVERAGED, VALUE
                     STORED, NORMAL
                                               BATTERY IS MEASURED
                                                    ONCE EVERY
                      OPERATION OF                   10 MINUTES,             •       •       •

                       SCS SYSTEM                   16 SAMPLES,
                                                AVERAGED, VOLTAGE
                   BATTERY VOLTAGE AND           REPORTED TO HHP

           r
         4E02
                    STATE REPORTED TO
                   HHP IF INTERROGATED.
                                                 IF SUBSEQUENTLY
                                                   INTERROGATED
                                                                             •       •       •


                    BATTERY VOLTAGE
                       FALLS BELOW                BATTERY VOLTAGE

           4E03
               P    MINIMUM LEVEL FOR
                    S77MULA770N (3.6V)
                                                  FALLS BELOW VBAT
                                                  RESET THRESHOLD
                                                (3.0V +/— 0.1V) AND
                                                     HEXTRESET IS
                PARAMETER PROGRAMMING               ASSERTED, ALL
                 DISABLED: TELEMETRY                SYSTEMS IN IPG
          P
        4E04
                   LIMITED TO STATUS
                   AND ID RESPONSES
                                                      ARE HALTED          4E08
                                                           I
                          ONLY                     BATTERY VOLTAGE
                                                                          4E09
                             I                       FALLS BELOW
                                                 BATTERY PROTECTION
                    PROCESSOR ISSUES
                                                     CUTOFF (2.5V)
                    COMMANDS TO HALT
          P
         4E05
                     ALL STIMULATION,
                     UPDATES STATUS             BATTERY PROTECTION                       •       •

                    REGISTER, REPORTED               CIRCUITRY
                  TO HHP IF INTERROGATED       DISCONNECTS BATTERY
                                                    FROM MAIN
                      PROCESSOR MAKES                 CIRCUIT              4E10
                      COPY OF WORKING
          P
        4E06
                     REGISTERS, CURRENT
                  STIMULATION PARAMETERS,
                                                 IF NON—ZERO VOLT
                                                      BATTERY
                          DIGITAL IC              BATTERY VOLTAGE                •       •       •



                       SETTINGS, CRC, IN            FALLS BELOW
                           SEEPROM              BATTERY PROTECTION
                                                       CIRCUIT             4E11
                                                   MINIMUM (1.2V)
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                     FIG. 4E-2
         •       •       •




                                                                       STIMULATION IS
                                                                      RE—ENABLED IF IT
                                                                    WAS ENABLED BEFORE
                                      BATTERY VOLTAGE
                                                                     SHUTDOWN, NORMAL
         •       •       •
                                   RISES ABOVE LEVEL TO
                                                                    OPERA 770N RESUMES,
                                 RESTORE STIMULA770N (3.8V)
                                                                        TELEMETRY IS
                                                                    RE—ESTABLISHED FOR
                                            /                       ALL COMMAND TYPES
                                          4E12

         •       •       •


                                                                          4E13

                                   HEXTRESET IS RELEASED,          4E16
                                  PROCESSOR GOES THROUGH
                                  POWER—ON—RESET PROCESS


                                                                    4E15
                                   BATTERY VOLTAGE RISES
                                      ABOVE VBAT RESET
                                  THRESHOLD (3.0V +/— 0.10



                                    BATTERY VOLTAGE RISES
                                                                    4E14
                                    ABOVE 2.6V. PROTECTION
             •       •       •            CIRCUITRY
                                    RE—CONNECTS BATTERY,
                                    HEXTRESET IS ASSERTED.



                                    BATTERY IS PERMANENTLY          4E17
                                         DISABLED FROM     X
                                      CIRCUIT, PROTECTION
                                        FETs CANNOT BE
                                         RE—ACRVATED
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               4F01

                                                                                4F07


                                                             READ EIGHT BITS OF
                      SEGMENT REGISTERS GET                 DATA AND PLACE THEM
                                                               IN SRAM. NOTE
          4F02-\. INITIALIZED. POWER SHUT OFF
                      TO UNNECESSARY AREAS.                  THAT THE FIRST FOUR
                     WATCHDOG ACKNOWLEDGED.                  BYTES OF DATA ARE
                                                               USED TO SPECIFY
                                                                THE LOCATION IN
                         TRANSACTION WITH                     SRAM AS WELL AS
                    SEEPROM TO SET THE INITIAL                   THE LENGTH OF
                     PAGE ADDRESS OF DUMMY                         PROGRAM
                           WRITE CYCLE
                                                            4F08
                      4F04                                           DID THE
                                                       NO            SEEPROM
                             DID THE
               NO            SEEPROM                               ACKNOWLEDGE
                                                                           9
                           ACKNOWLEDGE
                                   9

                    4F05                                            YES
                             YES                            4F09

                         TRANSAC770N WITH                            FINISHED     NO
                      SEEPROM TO BEGIN THE                           LOADING
                        READ TRANSACTION                               CODE
                                                                           9
                                                            4F10
                                                                     YES
                             DID THE
                                                               FORM VECTOR TO
                             SEEPROM
                                                                LOADED CODE
                           ACKNOWLEDGE
                                   9                           AND JUMP THERE
                                                                   TO BEGIN
                                                                  EXECUTION

                                       YES



                                                                   FIG. 4F
        Case 1:18-cv-00644-CFC-CJB Document 48 Filed 02/11/20 Page 188 of 438 PageID #: 2888




                                                                                                                  lualud °Sil
191        FIG.4G                                          760
                                                                                                  ODD
                                     DELAY AND    SLOW                                           MODE
                                                           PHASE                                   &
                                       BURST   START/STOP                                        AMP
                                                          COUNTER 1
                                     COUNTER 1 COUNTER 1
   TO                                                                                            (




                                                                                                                  600Z `rz 'aa3
  CPU                                DELAY AND    SLOW                                                      771
                                                             PHASE                               EVEN
                                       BURST   STAR T/STOP COUNTER 2
                                     COUNTER 2 COUNTER 2                               OUTPUT    MODE
                                                                                     FORMATTER    &
                                     DELAY AND    SLOW                                           AMP
                                                            PHASE
                                       BURST   START/STOP
                                                          COUNTER 3                              (          770
                                     COUNTER 3 COUNTER 3
         MICROPROCESSOR




                                                                                                                  Z£ JO LI WIN
            INTERFACE                DELAY AND    SLOW
                                                             PHASE                                   SYNC
               AND                     BURST   STAR T/STOP COUNTER 4
             REGISTER                COUNTER 4 COUNTER 4
                                                                                                     CLOCK
               MAP                                                           766      1
                                      764        765                                 767
                              762                                         rz - 768
                          r                                ARBI TRA TOR
                                                                                                       TO
                                             SERIAL                                                   A/C




                                                                                                                  Zll 17017`96eL Sfl
                                            CONTROL
                                              BUS
                                    772
                                                       IMPEDANCE
                                                       SYNC PULSE
                                                       GENERATOR
Case 1:18-cv-00644-CFC-CJB Document 48 Filed 02/11/20 Page 189 of 438 PageID #: 2889


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                                                                  140


                                 222                        i




                                                                        220




                                    FIG. 5
                                                           660


                                                     i


                 PREAMBLE    FRAME SYNC      TELEMETRY ID        DATA



                 662          664              666              668



                                        FIG. 7E
      Case 1:18-cv-00644-CFC-CJB Document 48 Filed 02/11/20 Page 190 of 438 PageID #: 2890




                                                                                                   lualud °Sil
603                                                               604
                                 601-\

     «SUBSYSTEM»                                  BASE              «SUBSYSTEM»
       ClinProUI-1                             INTERFACES            ClinProHW—HHP
 (FROM ClinProUl ADD—IN)                                        (FROM ClinProHW ADD—IN)




                                                                                                   600Z `rz 'aa3
                                                                                    605
  DATA MANAGER
 (FROM ClinProUl)                                                                 /
                                         «SUBSYSTEM»                «SUBSYSTEM»
  1                                         ClinProApp               ClinProHW—EM




                                                                                                   Z£ JO 61 JoolIS
608                                       (FROM Cher&           (FROM ClinProHW ADD IN)
                           602


                                                                     «SUBSYS1EM»             606
                                                                   ClinProPort — RS232
                                                                (FROM ClinProPort ADD—IN)

   FIG. 6A




                                                                                                   Zll 17017`96eL Sfl
                                                                                             607
                                                                     «SUBSYSTEM»
                                                                    ClinProPort — 1rDA
                                                                (FROM ClinProPort ADD—IN)
       Case 1:18-cv-00644-CFC-CJB Document 48 Filed 02/11/20 Page 191 of 438 PageID #: 2891




                                                                                                                                           lualud °Sil
                                         232A                                           230

             ::Programming Screen                                                                                         MU 4
                       Options                                  \/(---)                                       Save
            — 11111=11E4       0 mA ,,. , X
232F         ___,....                                                        IP
            ...0,,s                  v




                                                                                                                                           600Z `rz 'aa3
232P                                 -                              K:rr.N

             Al l                    N                              pT
                                                                           il
                                                                     ... ..-

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                                                                    aa........c




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             '..   1--rl".."
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236                                                                 ,
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                                                                    4:     . •:. •'.;
                                                P .... N. •              .. • .
                                                                                              1          11
                                                                      .,••• v4
                                                                    .., • • .
                                                7.71                     •
                                                ' •i.'7,;.t
                                                .).7:••.t.

                                                                                                                                   234




                                                                                                                                           Zll 17017`96eL Sfl
                                                                 ,
                               Off
                                                                 ...-
                                                               Advanced
                                                                                                  Flip     I    Resolution
                                                                                                         HHP Setup >>
                                                                                                                                 FIG. 68
Case 1:18-cv-00644-CFC-CJB Document 48 Filed 02/11/20 Page 192 of 438 PageID #: 2892


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                                                     250             248
          202


                                             (4          )
                               10:59          ED     ©
                                CH
          246

                241             1             7.2 100                                   240




                                                                                       245



                      242        243                                244
                                           FIG. 7A
                                       246                          250           248


                                      1      10:59              G         r


                FIG. 78                      PR              12: 00 AM
                                 e---- 2                     12.. DO PM                  254
                            252--)
                                       246
                                                             r g-     250         r)
                                                                                   248


                                       r     10 59                            -          254
                                256
                                            4.0 mA             0111 1111100
                FIG. 7C                    1280 PPS            DOODOD

                                            350 /is                   Ch1
                                                                                         258
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          VAA_BATTMAIN622 624 FIG. 7D-1
                BATTER      y

                1-11-c- _iVCC
                 LINEAR___EX1ERNAL
            623REGULATOR        ON POWER
                                  RESET                                202


          62,           626 GENERATOR                              i

           KEYPADKEY ESDDEBOUNCER/
                     K__>
                         SUPRESSOR-1 ) 620
                     KEY      627
                         RESET WATCHDOG   RESET                         /

                     GENERATOR  628  OUTPUT
                  H KEY INTERRUPT
                      GENERATOR     NIRO
                                      INPUT1
              LPFO   INPUTPORT 629
                              I/OBUS
                                        7

          LRESET       (0X00) 632
         LCD     LCD
            MODULE  MOSI LCD
                           MISO
                              LCDCL LCD
                                    PORT
                                            1



         (WITH
            DRIVER)
                  LCDCONTROLS 633 PROCESSORIC
         240 PIEZO
           1
                  634 HBUZZ TONE        1

                   ALARMLBUZZ DRIVERALARM
                  635\ OUTPUT
                            I
             UART
                CONTROLS
              HRDA_PWRDN PORTVOBU
                      - (0X02)
              LCD
                CONTROLS      632
                         OUTPUT  632
              HENQUIET
               HENLED-
                     -   PORT
                         (0X04)        OSCILLATOR
             HEN_-
                       - 634 636
                VIBRATOR                                -N.—,\A".,-
                                                                   j

                                                           ___-101—_
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          FIG. 7D-2


                                                     202

                               620
           VAA_BATT

           I   C          ON                                       630
               A          C              632
                   A/D                                         /
                                       /                 SRAM
                                       0 BUS         (1Mbyte TOTAL,
                    647                                TWO CHIPS)

                                                                                        646
                 SERIAL ROM            SEEROM PWR
                                       SEEROM CLK —           SERIAL EEPROM
                    PORT             —SEEROM DATA           (512 Kbits TOTAL)

                                i
                                                                                            642
                                                                                                     640
               PROCESSOR IC                    645             644                      1
                                                                                                     /
                      SSI A                /
                                     DATA AND CLOCK
                                                                                        O          IrDA
                       PORT                                   DART


               HIRQ INPUT3
                                       INTERRUPT
                                                              Al
                                                               A
                                                                      -.<               O
                                                                                                  MODULE



                   650                                654      R                            HRDA_PWRDN
                                                               T
                                                                                             ANTENNA
                                       TXI
                                       TXQ
                   RF MODULE
                                                                                                  N " 652
                     MIXER           VRFAMP
                                 —MIXER _HI             RF RECEIVER
                                 —MIXER LO                               -\,...
                                                                                  653
Case 1:18-cv-00644-CFC-CJB Document 48 Filed 02/11/20 Page 195 of 438 PageID #: 2895




                                                                                       lualud °Sil
                                                        , PACKAGE A
                                                  273
                        272                                            272 /

                                 274




                                                                                       600Z `rz 'aa3
                                       273
                                                 270


        276
               PACKAGE B




                                                                                       Z£ Jo 17Z WIN
                       208 --5-----                              276




                               210




                                                                                       Zll 17017`96eL Sfl
          FIG. 8                                                        211
              Case 1:18-cv-00644-CFC-CJB Document 48 Filed 02/11/20 Page 196 of 438 PageID #: 2896




                                                                                                                lualud °Sil
                               208                                               100




                                                                                                BATTERY




                                                                                                                600Z `rz 'aa3
                CHARGER                                                                686 -7- PROTECTION
  AC             BASE
                                                                                                   C
POWER           STATION          210                                    682
                                                        680                   684
                                       279
                                 275                                                             688
         293-7 j,
                                                                                CHARGE                 L FETs
                    BAT        PA       COIL       COIL                       CONTROLLER




                                                                                                                Z£ Jo SZ WIN
              _7-                                                                 IC                   7
        277
                                                                                                       FUSE
                                                                                                 _/-
                                                                                           689
                                               •     690
                                               .                  BACK
                                                                TELEMETRY
   693x                                                        TRANSMITTER                             BAT
                            BACK               .
                          TELEMETRY                                                        180
                          RECEIVER




                                                                                                                Zll 17017`96eL Sfl
                        /                      ..'N._
                      692                               279

                                                              FIG. 9A
      Case 1:18-cv-00644-CFC-CJB Document 48 Filed 02/11/20 Page 197 of 438 PageID #: 2897




                                                                                             lualud °Sil
                                                         716
          FIG. 9B                      OVERCURRENT
                                        (CHARGING)




                                                                                             600Z `rz 'aa3
720                                                                                 712
                 CELL                                                OVER
             DISCONNECT                                             VOLTAGE
                                710




                                                                                             Z£ JO 9Z Po MS
                                         NORMAL



71                                                                                  714




                                                                                             Zll 17017`96eL Sfl
             OVERCURRENT                                             UNDER
            (DISCHARGING)                                           VOLTAGE
       Case 1:18-cv-00644-CFC-CJB Document 48 Filed 02/11/20 Page 198 of 438 PageID #: 2898




                                                                                                              lualud °Sil
                                                                                            208
       694

                CHARGER                             'CHARGE
   AC-DC                             CHARGE
                 BASE
TRANSFORMER                        CONTROLLER
                STATION
                                                                          699




                                                                                                              600Z `rz 'aa3
                                                                                      275         279
                                         =    696                   PTC

        211    210
                                   698        BATTERY        ADC                  RF
                                                                                                   COIL
                                             PROTECTION                         AMPLIFIER
                                                          CND
                                              C      D
                                                                          277




                                                                                                              Z£ JO LZ WIN
                                                                    BAT         695

                                     701\1                    702                                       1/1
    FIG. 9C                                                                     ALIGNMENT
                                                                                DETECTION
                               I         CHARGE      DISCHARGE
                                          FET        FET
                                                                                 CHARGE




                                                                                                              Zll 17017`96eL Sfl
                                                                                COMPLETE
                                                       693                      DETECTION
                              CHARGER                                                       --\-• 697
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                    C  START BURST
                        SEQUENCE
                                             301
                                                                 FIG. 10
                       LOAD HARDWARE
                        REGISTER WITH
                         INITIAL DATA:
                   (1) STARING AMPL. VALUE
                  (2) AMPL. STEP VALUE             302                    320
                  (3) PW VALUE
                  (4) STEP NUMBER
                  (5) BURST NUMBER
                                                    NO          BURST             YES
                                                               COMPLETE
                    TRANSFER CONTENTS OF                                    318
            .../- STARTING  VALUE REGISTER
        304       TO ACCUMULATOR REGISTER
                                                           DECREMENT                    END
                                                          BURST NUMBER                 BURST
                           TRIGGER                          REGISTER                  SEQUENCE
                        S77MULATTON
            306            PULSE                         316
                                                                                           321

                     SEND CONTENTS OF                     ADD STEP VALUE
                    ACCUMULATOR TO 0/A                    TO ACCUMULATOR
                  FOR GENERATING CURRENT                      REGISTER
                     HAVING STIMULATION            308
                         AMPLITUDE

                GATE STIMULATION AMPLITUDE 7 310    STEP NO.
                  TO ELECTRODE NODE FOR             REGISTER
                     A TIME PERIOD T1                  =0                       YES
                 DETERMINED BY DURATION                 9
                OF PW REGISTER COUNTDOWN;     314
               THEREBY CREATING STTMULA770N
              PULSE AT THE ELECTRODE NODE
                                                   DECREMENT
                 HANG A PULSE WIDTH AS
                                                  STEP NUMBER
                DEFINED BY PW VALUE AND
                                                    REGISTER
                 AMPLITUDE AS DEFINED BY
                CONTENTS OF ACCUMULATOR              1
                         REGISTER                  312
Case 1:18-cv-00644-CFC-CJB Document 48 Filed 02/11/20 Page 200 of 438 PageID #: 2900




                                                                                       lualud °Sil
          VH                               CASE
                                r
                                            ,--i111-1
      H
                                            II          I

                                L                           _J




                                                                                       600Z `rz 'aa3
                                      ELECTRODE
                                r
                                                                 i_--L--J




734                             L




                                                                                       Z£ JO 6Z Po MS
                                                   VH+ Vo
                                                         VH— l i(R+ VC)+Vo
                                    v(t)




                                                                                       Zll 17017`96eL Sfl
                                FIG. 11A
Case 1:18-cv-00644-CFC-CJB Document 48 Filed 02/11/20 Page 201 of 438 PageID #: 2901


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       74O-\          HHP REQUESTS
                                                              FIG. 11B-1
                        AND SAVES
                     IPG STIMULATION
                                                        IMPEDANCE VOLTAGE
                       PARAMETERS      741                ARRAY IS SET TO
                                                          ZERO, ELECTRODE
                                                           COUNTER IS SET    744
                    HHP ISSUES
                   COMMAND FOR                                  TO 1
               SAMPLING PARAMETERS,
                 INCLUDING SAMPLE
                   DELAY WORDS,
                 SAMPLING TRIGGER                 745
                                                                 IS
                                                             ELECTRODE
                   HHP REQUESTS                            INDICATED BY
                                                 NO          ELECTRODE
                     IMPEDANCE
                                                          COUNTER VALUE
                   VOLTAGE SWEEP.
                PARAMETERS PASSED:                         PRESENT IN
                  ELECTRODE MASK,                              MASK
                                                                 9
                     FREQUENCY,
                  CURRENT SETTING,                                   YES
                    PULSE MOTH,
                NUMBER OF SAMPLES,                         SET ELECTRODE
                ADC GAIN AND OFFSET                         AMPLITUDE TO
                                                        MEASUREMENT VALUE
                                                           SET MUX IN A/C
               742                                          TO ELECTRODE;
                                                         SET SAMPLE DELAY;
                  IPG SAVES COPY                           ENABLE SAMPLE
                  OF ALL OPERATING                       INTERRUPT; CLEAR
                  PARAMETERS AND                       RESULT ACCUMULATOR;
                 STOPS STIMULATION;                    SET SAMPLE COUNTER
                    SLOW START IS                         TO SAMPLE COUNT;
                   TURNED OFF, ALL                       START STIMULATION
               ELECTRODE AMPLITUDES
                  ARE SET TO ZERO
                                                        746                        •   •   •




           743
Case 1:18-cv-00644-CFC-CJB Document 48 Filed 02/11/20 Page 202 of 438 PageID #: 2902


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                                       747         FIG. 11B-2
                                                             STOP STIMULATION;
                                                  752          DIVDE RESULT
                                                              ACCUMULATOR BY
                                                               SAMPLE COUNT;
                                        748                  STORE AVERAGED
                           YES                               RESULT IN VOLTAGE
                         SET ADC GAIN                        ARRAY INDEXED BY
                          AND OFFSET;                        ELECTRODE NUMBER
                       SET ADC CHANNEL;
                           START ADC                    753   INCREMENT
                          CONVERSION                       N. ELECTRODE
                                                               COUNTER

                                                             754


                                                        NO



                        READ ADC VALUE;                      755
                         ADD TO RESULT                                    YES
                          ACCUMULATOR;
                       DECREMENT SAMPLE                               RESTORE
                            COUNTER                                  OPERA T1NG
                                                                   PARAMETERS;
                                                                     RE—START
                                       751                          STIMULATION
                                                                   IF IT WAS ON


                  NO                                           HHP REQUESTS
                                                               VOLTAGE ARRAY

         •   •                                                  1
                                 YES                           756

         •   •
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                                                                                 340
                       FIG. 11C
                                                              MEASURE VOLTAGE
                                                             AT ELECTRODE NODE


                                                               HOLD MEASURED           342
                                                               VALUE IN SAMPLE
                                                              AND HOLD CIRCUIT
          332-\
                       GENERATE A CURRENT
                         PULSE OF KNOWN
                                                                CONVERT VALUE j -344
                          AMPLITUDE AND
                                                              HELD BY SAMPLE
                         DURA170N (WIDTH)
                                                              AND HOLD CIRCUIT
                       AND LOAD WIDTH INTO
                                                               TO DIGITAL VALUE
                         A FIRST REGISTER
                                                                  USING A/D

         334
                       LOAD SECOND REGISTER                                            346
                          WITH 1/2 FIRST                       STORE RESULT IN
                             REGISTER                          RESULT REGISTER
                                                                     (V)
         336-\
                      COUNT DOWN BOTH
                      FIRST AND SECOND                         RETRIEVE VALUE      ,
                  REGISTERS SYNCHRONOUSLY                    OF CURRENT APPLIED L ' ADu
                                                                TO ELECTRODE
                                                                NODE DURING
                                                              MEASUREMENT (I)

                  NO          SECOND          YES
                             REGISTER                                 COMPUTE /-349
                                =0                                   IMPEDANCE
                                 9                                    Z = V/I
                                         338
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                                                          US 7,496,404 B2
                                   1                                                                     2
               RECHARGEABLE SPINAL CORD                                    so that the area between the activated electrodes on the spinal
                  STIMULATOR SYSTEM                                        cord can be adjusted, as required, to better block the pain.
                                                                              Other representative patents that show spinal cord stimu-
       The present application is a continuation of, and claims the        lation systems or electrodes include U.S. Pat. Nos. 4,338,945;
    benefit of priority to, U.S. application Ser. No. 10/307,098, 5        4,379,462; 5,121,754; 5,417,719 and 5,501,703.
    filed Nov. 27, 2002, issued as U.S. Pat. No. 6,895,280, which             The dominant SCS products that are presently commer-
    is a continuation of, and claims the benefit of priority to, U.S.      cially available attempt to respond to three basic requirements
    application Ser. No. 09/626,010, filed Jul. 26, 2000, issued as        for such systems: (1) providing multiple stimulation channels
    U.S. Pat. No. 6,516,227, which claims the benefit of U.S.              to address variable stimulation parameter requirements and
    Provisional Application Ser. No. 60/145,829, filed Jul. 27, 10         multiple sites of electrical stimulation signal delivery; (2)
    1999. These priority applications are incorporated herein by           allowing modest to high stimulation currents for those
    reference.                                                             patients who need it; and (3) incorporating an internal power
       The present invention relates to a spinal cord stimulation          source with sufficient energy storage capacity to provide
    system for stimulating nerves in the spinal cord.                      years of reliable service to the patient.
                                                                      15      Unfortunately, not all of the above-described features are
               BACKGROUND OF THE INVENTION                                 available in any one device. For example, one well-known
                                                                           device has a limited battery life at only modest current out-
       The present invention relates to a Spinal Cord Stimulation          puts, and has only a single voltage source, and hence only a
    System. A spinal cord stimulation system is a programmable             single stimulation channel, which must be multiplexed in a
    implantable pulse generating system used to treat chronic 20           fixed pattern to up to four electrode contacts. Another well-
    pain by providing electrical stimulation pulses from an elec-          known device offers higher currents that can be delivered to
    trode array placed epidurally near a patient's spine. The              the patient, but does not have a battery, and thus requires the
    present invention emphasizes the following specific features           patient to wear an external power source and controller. Even
    included within a spinal cord stimulation system: (1) a                then, such device still has only one voltage source, and hence
    recharging system, (2) a system for mapping current fields, 25         only a single stimulation channel, for delivery of the current
    (3) optional pulse ramping control, and (4) electrode imped-           stimulus to multiple electrodes through a multiplexer. Yet a
    ance measurements.                                                     third known device provides multiple channels of modest
                                                                           current capability, but does not have an internal power source,
       Spinal cord stimulation (SCS) is a well accepted clinical
                                                                           and thus also forces the patient to wear an external power
    method for reducing pain in certain populations of patients.
                                                                       30  source and controller.
    SCS systems typically include an implanted pulse generator,
                                                                              It is thus seen that each of the systems, or components,
    lead wires, and electrodes connected to the lead wires. The
                                                                           disclosed or described above suffers from one or more short-
    pulse generator generates electrical pulses that are delivered
                                                                           comings, e.g., no internal power storage capability, a short
    to the dorsal column fibers within the spinal cord through the
                                                                           operating life, none or limited programming features, large
    electrodes which are implanted along the dura of the spinal
                                                                       35  physical size, the need to always wear an external power
    cord. In a typical situation, the attached lead wires exit the
                                                                           source and controller, the need to use difficult or unwieldy
    spinal cord and are tunneled around the torso of the patient to
                                                                           surgical techniques and/or tools, unreliable connections, and
    a sub-cutaneous pocket where the pulse generator is
                                                                           the like. What is clearly needed, therefore, is a spinal cord
    implanted.
                                                                           stimulation (SCS) system that is superior to existing systems
       Spinal cord and other stimulation systems are known in the 40       by providing longer life, easier programming and more
    art. For example, in U.S. Pat. No. 3,646,940, there is disclosed       stimulating features in a smaller package without compro-
    an implantable electronic stimulator that provides timed               mising reliability. Moreover, the surgical tools and intercon-
    sequenced electrical impulses to a plurality of electrodes so          nections used with such SCS system need to be easier and
    that only one electrode has a voltage applied to it at any given       faster to manipulate. Further, the stimulating features avail-
    time. Thus, the electrical stimuli provided by the apparatus 45        able with the system need to be programmable using pro-
    taught in the '940 patent comprise sequential, or non-over-            gramming systems which are easy to understand and use, and
    lapping, stimuli.                                                      which introduce novel programming methods that better
       In U.S. Pat. No. 3,724,467, an electrode implant is dis-            address the patient's needs.
    closed for the neuro-stimulation of the spinal cord. A rela-
    tively thin and flexible strip of physiologically inert plastic is 50              SUMMARY OF THE INVENTION
    provided with a plurality of electrodes formed thereon. The
    electrodes are connected by leads to an RF receiver, which is            The present invention addresses the above and other needs
    also implanted, and which is controlled by an external con-           by providing an SCS system that is designed to be superior to
    troller. The implanted RF receiver has no power storage               existing systems. More particularly, the SCS system of the
    means, and must be coupled to the external controller in order 55 present invention provides a stimulus to a selected pair or
    for neuro-stimulation to occur.                                       group of a multiplicity of electrodes, e.g., 16 electrodes,
       In U.S. Pat. No. 3,822,708, another type of electrical spinal      grouped into multiple channels, e.g., four channels. Advan-
    cord stimulating device is shown. The device has five aligned         tageously, each electrode is able to produce a programmable
    electrodes which are positioned longitudinally on the spinal          constant output current of at least 10 mA over a range of
    cord and transversely to the nerves entering the spinal cord. 60 output voltages that may go as high as 16 volts. Further, in a
    Current pulses applied to the electrodes are said to block            preferred embodiment, the implant portion of the SCS system
    sensed intractable pain, while allowing passage of other sen-         includes a rechargeable power source, e.g., a rechargeable
    sations. The stimulation pulses applied to the electrodes are         battery, that allows the patient to go about his or her daily
    approximately 250 microseconds in width with a repetition             business unfettered by an external power source and control-
    rate of from 5 to 200 pulses per second. A patient-operable 65 ler. The SCS system herein described requires only an occa-
    switch allows the patient to change which electrodes are              sional recharge; the implanted portion is smaller than existing
    activated, i.e., which electrodes receive the current stimulus,       implant systems, e.g., having a rounded case with a 45 mm
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    diameter and 10 mm thickness; the SCS system has a life of at           ods that greatly enhance the ability of the patient, or medical
    least 10 years at typical settings; the SCS system offers a             personnel, to identify a pattern and location of applied stimu-
    simple connection scheme for detachably connecting a lead               lation that is effective for treating (minimizing or removing)
    system thereto; and the SCS system is extremely reliable.               pain.
       As a feature of the invention, each of the electrodes           5       The SCS system of the present invention further offers a
    included within the stimulus channels may not only deliver up           device that is in a smaller package, without compromising
    to 12.7 mA of current over the entire range of output voltages,         reliability, than has heretofore been available. Moreover, the
    but also may be combined with other electrodes to deliver               surgical tools and interconnections used with the SCS system
    even more current. Additionally, the SCS system provides the            are designed to be significantly easier and faster to manipulate
    ability to stimulate simultaneously on all available electrodes.   10   than the tools and interconnections used with prior art sys-
    That is, in operation, each electrode is grouped with at least          tems.
    one additional electrode. In one embodiment, such grouping                 All of the above and other features advantageously com-
    is achieved by a low impedance switching matrix that allows             bine to provide an SCS system that is markedly improved
    any electrode contact or the system case (which may be used             over what has heretofore been available. One embodiment of
    as a common, or indifferent, electrode) to be connected to any     15   the invention may be characterized as an SCS system that
    other electrode. In another embodiment, programmable out-               includes implantable components and external components.
    put current DAC's (digital-to-analog converters) are con-               The implantable components comprise a multichannel
    nected to each electrode node, so that, when enabled, any               implantable pulse generator (IPG) having a power source and
    electrode node can be grouped with any other electrode node             an electrode array detachably connected to the IPG. The
    that is enabled at the same time, thereby eliminating the need     20   electrode array has n electrodes thereon, where n is an integer
    for the low impedance switching matrix. This advantageous               of at least eight (in a preferred embodiment, n is sixteen). The
    feature thus allows the clinician to provide unique electrical          external components comprise a handheld programmer
    stimulation fields for each current channel, heretofore                 (HHP) that may be selectively placed in telecommunicative
    unavailable with other "multichannel" stimulation systems               contact with the IPG, and a clinician programmer that may be
    (which "multichannel" stimulation systems are really multi-        25   selectively coupled with the HHP.
    plexed single channel stimulation systems). Moreover, this                 Another embodiment of the invention may be character-
    feature, combined with multi-contact electrodes arranged in             ized as an implantable pulse generator (IPG) system for use
    two or three dimensional arrays, allows "virtual electrodes"            with a spinal cord stimulation system. Such IPG system
    to be realized, where a "virtual" electrode comprises an elec-          includes an implantable pulse generator and an external por-
    trode that appears to be at a certain physical location, but       30   table charger. The IPG comprises: (a) an hermetically sealed
    really is not physically located at the apparent location.              case; (b) electronic circuitry, including memory circuits,
    Rather, the virtual electrode results from the vector combina-          housed within the hermetically sealed case, wherein the elec-
    tion of electrical fields from two or more electrodes that are          tronic circuitry includes a multiplicity of independent bidi-
    activated simultaneously.                                               rectional output current sources, and wherein each output
       As an additional feature of the invention, the SCS system       35   current source is connected to an electrode node; (c) a multi-
    includes an implantable pulse generator (IPG) that is powered           plicity of coupling capacitors, wherein each coupling capaci-
    by a rechargeable internal battery, e.g., a rechargeable                tor is connected to a respective one of the electrode nodes; (d)
    Lithium Ion battery providing an output voltage that varies             a header connecter attached to the sealed case, the header
    from about 4.1 volts, when fully charged, to about 3.5 volts,           connecter having a multiplicity of feedthrough pins that pass
    when ready to be recharged. When charged, the patient can          40   therethrough, wherein each of the multiplicity of coupling
    thus operate the IPG independent of external controllers or             capacitors is connected on the sealed side of the case to one of
    power sources. Further, the power source is rechargeable                the feedthrough pins; (e) an electrode array having a multi-
    using non-invasive means, meaning that the IPG battery (or              plicity of electrodes thereon external to said sealed case,
    other power source) can be recharged by the patient as needed           wherein each electrode is detachably electrically connected
    when depleted with minimal inconvenience. A full recharge          45   to one of the feedthrough pins on a nonsealed side of said
    of the rechargeable battery may occur in less than two hours.           sealed case, wherein each output current source generates an
    In operation, the SCS system monitors the state of charge of            output stimulus current having a selected amplitude and
    the internal battery of the IPG and controls the charging               polarity that, when the output current source is enabled, is
    process. It does this by monitoring the amount of energy used           directed to the electrode connected thereto through its respec-
    by the SCS system, and hence the state of charge of the IPG        50   tive feedthrough pin and coupling capacitor; (f) a recharge-
    battery. Then, through a suitable bidirectional telemetry link,         able battery that provides operating power for the electronic
    the SCS system is able to inform the patient or clinician               circuitry; (g) a secondary coil; (h) a rectifier circuit; and (i)
    regarding the status of the system, including the state of              battery charger and protection circuitry that receives exter-
    charge, and makes requests to initiate an external charge               nally generated energy through the secondary coil and recti-
    process. In this manner, the acceptance of energy from the         55   fier circuit, and uses the externally generated energy to charge
    external charger may be entirely under the control of the SCS           the rechargeable battery. Advantageously, the rectifier circuit
    implanted system, and several layers of physical and software           may be modulated between a full-wave rectifier circuit and a
    control may be used to ensure reliable and safe operation of            half-way rectifier circuit, which modulation allows the exter-
    the charging process. The use of such a rechargeable power              nal portable charger to detect, by monitoring reflected imped-
    source thus greatly extends the useful life of the IPG portion     60   ance looking into the secondary coil, when the IPG battery
    of the SCS system, and means once implanted, the IPG can                has been fully charged.
    operate for many, many years without having to be explanted.               The external portable charger of the IPG system includes:
       Additionally, the SCS system of the present invention is             (a) a second rechargeable battery; (b) a recharging base sta-
    more easily programmed and provides more stimulating fea-               tion that recharges the second rechargeable battery from
    tures than have been available with prior art devices. The         65   energy obtained from line ac power; (c) a primary coil; (d) a
    programming systems used with the invention are designed to             power amplifier for applying ac power derived from the sec-
    be very user friendly, and provide novel programming meth-              ond rechargeable battery to the primary coil; (e) a back telem-
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    etry receiver for monitoring the magnitude of the ac power at         the patient, (b) the ability to take stimulus threshold measure-
    the primary coil as applied by the power amplifier, thereby           ments, (c) the ability to program all features available within
    monitoring reflected impedance associated with energy mag-            the IPG, and (d) directional programming of multiple elec-
    netically coupled through the primary coil; and (f) an alarm          trode contacts with the electrode array(s).
    generator that generates an audible alarm signal in response     5       The external trial stimulator (ETS) is an externally-worn
    to changes sensed in the reflected impedance monitored by             pulse generator that is used for seven to ten days for evalua-
    the back telemetry receiver. In a preferred embodiment, the           tion purposes before implantation of the IPG. The ETS is
    back telemetry receiver included within the external portable         typically applied with an adhesive patch to the skin of the
    charger includes alignment detection circuitry that detects           patient, but may also be carried by the patient through the use
    when the primary coil is properly aligned with the secondary     1o   of a belt clip or other form of convenient carrying pouch.
    coil included within the IPG for maximum power transfer;              Features of the ETS include: (a) usability in the operating
    and charge complete detection circuitry that detects when the         room (OR) to test the electrode array during placement, (b) a
    battery within the IPG is fully charged.                              full bidirectional communication capability with the clini-
       Yet another embodiment of the invention may be viewed as           cian's programming (CP) system, and (c) the ability to allow
    an SCS system that includes: (a) implantable components; (b)      5   the patient or clinician to evaluate the stimulus levels.
    external components; and (c) surgical components. The                    The charging station (CHR) is comprised of two parts: (1)
    implantable components include a multichannel implantable             an IPG recharger and (2) a base unit. The IPG recharger uses
    pulse generator (IPG) having a replenishable power source             magnetic coupling to restore the capacity of the implanted
    and an electrode array detachably connected to the IPG. The           battery housed within the IPG. The IPG recharger is powered
    surgical components include tools that assist a surgeon in       2o   by a lithium ion cell. The base unit holds and IPG recharger
    positioning the IPG and electrode array. Additionally, the            when not being used to recharge the IPG battery and allows
    external components include a handheld programmer (HHP)               the lithium ion cell of the IPG recharger to regain its capacity
    that may be selectively placed in telecommunicative contact           after operation. The base unit is powered via a standard wall
    with the IPG. Also included is a clinician programmer that            outlet. Features of the charging station (CHR) include: (a)
    may be selectively placed in telecommunicative contact with      25   allows full recharging of the IPG battery in a time of less than
    the handheld programmer. A portable charger is also provided          two hours, (b) provides a user interface to indicate that charg-
    that may be inductively coupled with the IPG in order to              ing is successfully operating, and (c) may be recharged from
    recharge the IPG power source.                                        any outlet using the base unit.
       The SCS system of the present invention may further be                The surgical tools (ST) include an insertion needle, a tun-
    characterized as including the following system components,      3o   neling device, a lead blank, an operating room (OR) cable, a
    all of which cooperatively function together to effectively           set screw driver, and a sterile bag (to hold the ETS or HHP
    treat intractable chronic pain: (1) an implantable pulse gen-         within the sterile field of the OR). Advantageously, the ST
    erator (IPG); (2) a hand held programmer (HHP); (3) a clini-          allows streamlined implantation of the electrode, tunneling of
    cian's programming system (CP); (4) an external trial stimu-          an intermediate leadwire from the electrode to the IPG, and
    lator (ETS); (5) a charging station (CHR); (6) surgical tools    35   the securing of the electrode position, once such position has
    (ST); (7) a lead extension (LEX) and an electrode array (EA);         been determined in surgery.
    and (8) a lead anchor (LA) and suture sleeve (SS).                       The lead extension (LEX) and electrode array (EA) com-
       The implantable pulse generator (IPG) is realized using a          prises an electrode array having up to sixteen electrode con-
    low power pulse generator design housed in an hermetically-           tacts that may be independently activated by the IPG. The
    sealed Titanium 6-4 case. The IPG communicates with the          4o   lead extension provides the connection between the IPG and
    hand held programmer (HHP) via a telemetry link. The IPG              the electrode array. In a preferred embodiment, up to two
    contains the necessary electronics to decode commands and             electrode arrays may be connected to the IPG. Features of the
    provide a current stimulus to sixteen electrodes in groups of         LEX and EA include: (a) the electrode array and lead exten-
    up to four channels. Features of the IPG include: (a) a               sion provide the clinician with many options, e.g., one or two
    rechargeable Lithium Ion battery that is used as the main        45   electrode arrays with only a single lead extension, (b) the lead
    power source, thereby greatly extending the life of the system        bodies are soft and flexible to provide patient comfort, and (c)
    compared to devices on the market, (b) user control over              the electrode array is designed to be inserted through an
    stimulus parameters, and (c) safety circuits and back telem-          insertion needle.
    etry communication to reduce risk.                                       The lead anchor (LA) and/or suture sleeve (SS) are used
       The hand held programmer (HHP) comprises an external          5o   after insertion of the electrode array into the spinal canal to
    programmer that may be used by the patient or clinician to            secure and maintain the position of the electrode and prevent
    change the stimulus parameters of the IPG or external trial           dislodgement due to axial loads placed upon the lead. Advan-
    stimulator (ETS) via a telemetry link. The HHP thus com-              tageously, the lead anchors or suture sleeves are very small
    prises an integral part of the clinician's programming envi-          and easy to implement by the surgeon, providing a reliable
    ronment. The HHP includes a belt clip or other form of           55   electrode/spinal cord relationship.
    convenient carrying to enable the patient to easily carry the            Each of the above system components of the SCS system
    HHP with him or her. Features of the HHP include: (a) a small         are described in more detail below as part of the detailed
    size that will fit in the user's palm with an easy to read LCD        description of the invention. In such description, additional
    screen, (b) a software architecture that provides ease of pro-        emphasis is given relative to the following important features
    gramming and user interface, and (C) a field replaceable         6o   of the invention: (1) the recharging system, (2) the system
    primary battery with sufficient energy for approximately one          used to map current fields, (3) pulse ramping control, and (4)
    year of operation.                                                    automatic electrode impedance measurements.
       The clinician's programming (CP) system is used to opti-
    mize the programming of the IPG or ETS for the patient. The                 BRIEF DESCRIPTION OF THE DRAWINGS
    CP system comprises a computer, an infra-red (IR) interface,     65
    and a mouse and a joystick (or equivalent directional-pointing          The above and other aspects, features and advantages of the
    devices). Features of the CP system include: (a) a database of        present invention will be more apparent from the following
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    more particular description thereof, presented in conjunction            FIG. 9C shows a block diagram of the battery charger/
    with the following drawings wherein:                                  protection circuitry utilized within the external charging sta-
       FIG. 1 is a block diagram that identifies the various              tion of the invention;
    implantable, external, and surgical components of the inven-             FIG. 10 is a flow diagram illustrating a preferred pulse
    tion;                                                               5 ramping control technique that may be used with the inven-
       FIG. 2A illustrates examples of various types of electrode         tion;
    arrays that may be used with the present invention;                      FIG. 111A depicts electronic circuitry used to make an
       FIG. 2B shows the various components of the invention              electrode impedance measurement in accordance with the
    that interface with the implantable electrode arrays of FIG.          invention;
    2A, or other arrays;                                               10    FIG. 11B is a flow diagram that depicts a preferred tech-
       FIG. 3A is a timing waveform diagram that depicts repre-           nique used by the invention to make electrode impedance
    sentative current waveforms that may be applied to various            measurements; and
    ones of the electrode contacts of the electrode arrays through           FIG. 11C is a flow diagram that depicts an alternate tech-
    one or more stimulus channels;                                        nique that may be used by the invention to make electrode
       FIG. 3B is a timing waveform diagram that illustrates 15 impedance measurements.
    operation of multiple channels so as to prevent overlap                  Corresponding reference characters indicate correspond-
    between channels and/or to temporarily shut down a channel            ing components throughout the several views of the drawings.
    during passive recharge phases;
       FIG. 3C is a timing diagram that illustrates the use of an             DETAILED DESCRIPTION OF THE INVENTION
    active recharge phase to allow waveforms, e.g., symmetrical 20
    biphasic waveforms, which allow higher rates of stimulation;             The following description is of the best mode presently
       FIG. 4A is a functional block diagram that illustrates the         contemplated for carrying out the invention. This description
    main components of an implantable pulse generator (IPG) in            is not to be taken in a limiting sense, but is made merely for the
    accordance with a first IPG embodiment of the invention;              purpose of describing the general principles of the invention.
       FIG. 4B shows an IPG hybrid block diagram that illustrates 25 The scope of the invention should be determined with refer-
    the architecture of an IPG made in accordance with a second           ence to the claims.
    IPG embodiment of the invention;                                         Turning first to FIG. 1, there is shown a block diagram that
       FIG. 4C is a block diagram of the analog integrated circuit        illustrates the various components of a spinal cord stimulation
    (AIC) used, inter alia, to provide the output of the stimulus         (SCS) system. These components may be subdivided into
    generators within the IPG hybrid architecture shown in FIG. 30 three broad categories: (1) implantable components 10, (2)
    4B;                                                                   external components 20, and (3) surgical components 30. As
                                                                          seen in FIG. 1, the implantable components 10 include an
       FIG. 4D is a flow chart illustrating a representative IPG
                                                                          implantable pulse generator (IPG) 100, an electrode array
    power-up reset sequence;
                                                                          110, and (as needed) an extension 120. The extension 120 is
       FIG. 4E is a flow chart illustrating a representative low
                                                                       35 used to electrically connect the electrode array 110 to the IPG
    battery shutdown and recovery sequence;
                                                                          100. In a preferred embodiment, the IPG 100, described more
       FIG. 4F is a flow chart that illustrates the boot sequence
                                                                          fully below in connection with FIGS. 4A, 4B and 4C, com-
    used within the processor chip of the IPG shown in FIG. 4B;
                                                                          prises a rechargeable, multichannel, sixteen-contact, telem-
       FIG. 4G is a block diagram of the digital application spe-         etry-controlled, pulse generator housed in a rounded titanium
    cific integrated circuit (Digital ASIC) used within the IPG
                                                                       40 case. A novel tool-less connector that forms an integral part of
    hybrid architecture shown in FIG. 4B;                                 the IPG 100 allows the electrode array 110 or extension 120
       FIG. 5 illustrates a type of external trial stimulator (ETS)       to be detachably secured, i.e., electrically connected, to the
    that may be used as a component of the invention;                     IPG 100. This connector may be of the type described in U.S.
       FIG. 6A is a block diagram of the software architecture            patent application Ser. No. 09/239,926, filed Jan. 28, 1999,
    utilized in the clinician's programmer;                            45 now U.S. Pat. No. 6,198,969 or any other suitable design.
       FIG. 6B depicts a representative programming screen that              The IPG 100 contains stimulating electrical circuitry
    may be used as part of the programming system features of             ("stimulating electronics"), a power source, e.g., a recharge-
    the invention;                                                        able battery, and a telemetry system. Typically, the IPG 100 is
       FIG. 7A shows a representative screen on a handheld pro-           placed in a surgically-made pocket either in the abdomen, or
    grammer (HHP) that may be used as a user interface between 50 just at the top of the buttocks. It may, of course, also be
    the HHP and the IPG implanted in a patient/user;                      implanted in other locations of the patient's body. It is noted
       FIGS. 7B and 7C illustrate other types of representative           that while the preferred embodiment of the IPG 100 includes
    selection screens that may be used as part of the user interface      a rechargeable battery as its power source, and while such a
    with the handheld programmer of FIG. 7A;                              rechargeable power source is described herein, any power
       FIG. 7D is a block diagram of a preferred embodiment of 55 source may be used with the IPG, including non-rechargeable
    the handheld programmer;                                              power sources, e.g., an implantable battery of the type com-
       FIG. 7E depicts a preferred data format for data commu-            monly used in implantable pacemakers.
    nications sent from the hand held programmer (HHP) to the                Once implanted, the IPG 100 is connected to a lead system.
    IPG;                                                                  The lead system comprises the lead extension 120, if needed,
       FIG. 8 illustrates two variations of external components of 6o and the electrode array 110. The lead extension 120, for
    a representative portable charging station (CHR) that may be          example, may be tunneled up to the spinal column. Once
    used with the invention;                                              implanted, the electrode array 110 and lead extension 120 are
       FIG. 9A shows a block diagram of the battery charging              intended to be permanent. In contrast, the IPG 100 may be
    system used with the invention;                                       replaced when its power source fails or is no longer recharge-
       FIG. 9B is a state diagram illustrating the various states that 65 able.
    may be assumed by the implant battery charging circuitry                 Advantageously, the IPG 100 provides electrical stimula-
    during operation of the charging system;                              tion through a multiplicity of electrodes, e.g., sixteen elec-
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    trodes, included within the electrode array 110. Different                has its carrier or cable 116 branch into two separate branches
    types of electrode arrays 110 that may be used with the                   117a and 117b, with a wide platform 119a and 119b being
    invention are depicted in FIG. 2A. A common type of elec-                 located at a distal end of each branch. Within each wide
    trode array 110, for example, is the "in-line" lead, as shown at          platform 119a and 119b an array of at least two circular-
    (A), (B), and (C) in FIG. 2A. An in-line lead includes indi-         5    shaped electrode contacts 115' is situated. As seen in (G) in
    vidual electrode contacts 114 spread longitudinally along a               FIG. 2A, another type of paddle lead has a wide platform 119
    small diameter flexible cable or carrier 116. The flexible cable          at its distal end on which a single column of circular-shaped
    or carrier 116 has respective small wires embedded (or oth-               electrode contacts 115' is situated.
    erwise carried therein) for electrically contacting each of the              Still other types of leads may be used with the IPG 100
    individual electrode contacts. The advantage of an in-line           to   (FIG. 1) in addition to the representative leads shown in FIG.
    lead relates to its ease of implantation, i.e., it can be inserted        2A. For example, the deployable electrode array disclosed in
    into the spinal canal through a small locally-anesthetized                U.S. patent application Ser. No. 09/239,927, filed Jan. 28,
    incision while the patient is kept awake. When the patient is             1999, now U.S. Pat. No. 6,205,361, represents a type of lead
    awake, he or she can provide valuable feedback as to the                  and electrode array that may be used with the invention.
    effectiveness of stimulation applied to a given electrode con-       15      Whichever type of lead and electrode array is used, an
    tact or contacts 114 for a given positioning of the array 110.            important feature of the SCS system of the present invention
    One of the disadvantages of the in-line lead is that it is prone          is the ability to support more than one lead with two or more
    to migrating in the epidural space, either over time or as a              channels. Here, a "channel" is defined as a specified elec-
    result of a sudden flexion movement. Such migration can                   trode, or group of electrodes, that receive a specified pattern
    disadvantageously change the location and nature of the par-         20   or sequence of stimulus pulses. Thus, where more than one
    esthesia and the required stimulation level. Either or both of            "channel" is available, each channel may be programmed to
    the these conditions may require reprogramming of the IPG                 provide its own specified pattern or sequence of stimulus
    100 and/or surgical correction (repositioning) of the electrode           pulses to its defined electrode or group of electrodes. In
    array 110. Note, as used herein, the term "paresthesia" refers            operation, all of the stimulus patterns applied through all of
    to that area or volume of the patient's tissue that is affected by   25   the channels of such multi-channel system thus combine to
    the electrical stimuli applied through the electrode array. The           provide an overall stimulation pattern that is applied to the
    patient may typically describe or characterize the paresthesia            tissue exposed to the individual electrodes of the electrode
    as an area where a tingling sensation is felt.                            array(s).
       To overcome the migration problems associated with an                     There are many instances when it is advantageous to have
    in-line electrode, the present invention provides a lead anchor      30   multiple channels. For example, left and right sides, or upper
    (LA) and/or suture sleeve (SS) that may be used after inser-              and lower extremities, may require different stimulus param-
    tion of the electrode array into the spinal canal in order to             eter settings. Low back pain typically requires a different
    secure and maintain the position of the electrode and prevent             stimulation site and stimulation parameters than any of the
    is dislodgement due to axial loads that are placed upon the               extremities. Moreover, many patients exhibit conditions bet-
    lead. Any suitable lead anchor and/or suture sleeve may be           35   ter suited to horizontal stimulation paths, while other patients
    used for this purpose. A preferred type of lead anchor that may           may have conditions better suited to vertical stimulation
    be used for this purpose is described in U.S. patent application          paths. Therefore, having multiple channels that may be con-
    Ser. No. 60/187,674, filed Mar. 8, 2000, incorporated herein              nected to multiple electrodes, positioned within one or more
    by reference.                                                             electrode arrays, so as to cover more tissue/nerve area, greatly
       To further overcome the migration problems associated             40   facilitates providing the type of stimulation pattern and stimu-
    with an in-line electrode, a different type of electrode array            lation parameters needed to treat a particular patient.
    110 may be used, known as a paddle lead. Various types of                    One type of preferred electrode configuration uses a mul-
    paddle leads are illustrated at (D), (E), (F) and (G) of FIG. 2A.         tiple lead system, e.g., two or four leads, with the leads placed
    In general, each type of paddle lead is shaped with a wide                side by side, or at different vertical locations. The individual
    platform 119 on which a variety of electrode contact configu-        45   electrodes on each vertical lead of such multiple lead system
    rations or arrays are situated. For example, the paddle lead              effectively create a desired electrode array that covers a large,
    shown at (D) in FIG. 2A has two columns of four rectangular-              or relatively large, tissue area. The respective electrodes of
    shaped electrode contacts 115 carried on a wide platform 119,             each vertical lead may be aligned horizontally, offset hori-
    with the electrode contacts in one column being offset from               zontally, or randomly or systematically arranged in some
    the electrode contacts in the other column. (Here, the term          50   other pattern.
    "offset" refers to the vertical position of the electrode con-               As seen best in FIG. 2B, and as also illustrated in FIG. 1, the
    tacts, as the leads are oriented in FIG. 2A.) The flexible cable          electrode array 110 and its associated lead system typically
    or carrier 116 carries wires from each electrode contact to a             interface with the implantable pulse generator (IPG) 100 via
    proximal end of the paddle lead (not shown), where such                   a lead extension system 120. As needed, e.g., for testing
    wires may be connected to the IPG 100 (or to a lead extension        55   and/or fitting purposes, the electrode array 110 may also
    119, which in turn connects to the IPG 100). The paddle lead              interface with an external trial stimulator (ETS) 140 through
    shown at (E) in FIG. 2A similarly has two columns of eight                one or more percutaneous lead extensions 132, connected to
    electrode contacts 115 in each row, with the electrode con-               the trial stimulator 140 through an external cable 134. In this
    tacts in one column being offset from the electrode contacts in           manner, the individual electrodes included within the elec-
    the other column, and with each electrode contact being con-         60   trode array 110 may receive an electrical stimulus from either
    nected to one or more wires carried in the flexible cable or              the trial stimulator 140 or the IPG 100.
    carrier 116. It should be noted that two eight-contact in-line               As suggested in the block diagram of FIG. 1, the lead
    electrodes, placed side by side, may achieve the same overall             extension(s) 120, as well as the percutaneous extension(s)
    array configuration as does the paddle electrode shown at (E)             132 are inserted through the patient's tissue through the use of
    in FIG. 2A.                                                          65   appropriate surgical tools (ST) 30, and in particular through
       Still referring to FIG. 2A, other types of paddle leads are            the use of tunneling tools 152, as are known in the art, or as are
    illustrated. As seen at (F) in FIG. 2A, one type of paddle lead           especially developed for purposes of spinal cord stimulation
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                                                          US 7,496,404 B2
                                   11                                                                      12
    systems. In a similar manner, the electrode array 110 is                extension 120. One type of lead connector that may be used
    implanted in its desired position, e.g., adjacent the spinal            for this purpose is shown in U.S. Patent Application Ser. No.
    column of the patient, through the use of an insertion needle           60/202,259, filed May 5, 2000, entitled "Multiple In-Line
    154 and a guide wire 156. The insertion needle, for example,            Contact Connector", incorporated herein by reference.
    may be a 15 gauge Touhy needle. Additionally, as required, a       5       The operation of multiple channels used to provide a stimu-
    lead blank may be used to aid in the insertion process. A lead          lus pattern through multiple electrodes is illustrated in FIG.
    blank is a somewhat flexible wire that approximates the lead            3A. FIG. 3A assumes the use of an electrode array 110 having
    diameter of the lead that is to eventually be implanted. The            sixteen electrodes connected to the implantable pulse genera-
    clinician uses the lead blank to clear the path through the             tor (IPG) 100. In addition to these sixteen electrodes, which
    insertion needle and into the epidural space before inserting      10   are numbered El through E16, a case electrode (or return
    the epidural electrode array. Use of the lead blank prevents            electrode) is also available. In FIG. 3A, the horizontal axis is
    damage to the electrode array when tissue is obstructing its            time, divided into increments of 1 millisecond (ms), while the
    insertion path.                                                         vertical axis represents the amplitude of a current pulse, if
       One manner of using surgical tools 30 during an implant              any, applied to one of the sixteen electrodes. Thus, for
    operation is described in the referenced deployable electrode      15   example, at time t=0 ms, FIG. 3A illustrates that a current
    patent application, Ser. No. 09/239,927, filed Jan. 28, 1999,           pulse of 4 mA (milliamps) appears on channel 1 at electrode
    now U.S. Pat. No. 6,205,361, previously referenced.                     El and E3. FIG. 3A further shows that this current pulse is
       Another manner of using surgical tools 30 (FIG. 1) during            negative (-4 mA) on electrode El and positive (+4 mA) on
    an implant operation of an in-line electrode array may be               electrode E3. Additionally, FIG. 3 shows that the stimulation
    summarized as follows: A fifteen gauge hollow needle is used       20   parameters associated with this current pulse are set at a rate
    to create an opening in the spinal canal to insert the in-line          of 60 pulses per second (pps), and that the width of the pulse
    array, e.g., an in-line array of the type shown in FIG. 2A (A),         is about 300 microseconds (p).
    (B), or (C). The hollow needle includes a removable stylet                 Still with reference to FIG. 3A, it is seen that at time t=2 ms,
    (solid core) for use during the needle insertion, as explained          channel 2 of the IPG 100 is set to generate and apply a 6 mA
    above. After the needle has been situated, the stylet is           25   pulse, having a repetition rate of 50 pps and a width of 300 ps,
    removed to create a hollow opening. A 3-5 ml syringe is                 between electrode E8 (+6 mA) and electrodes E6 and E7 (-4
    inserted in the needle to inject saline (3-5 cc) to ensure the          mA and —2 mA, respectively). That is, channel 2 of the IPG
    needle tip has entered the epidural space. The in-line elec-            supplies a current pulse through electrode E8 (+6 mA) that is
    trode array is then passed through the needle into the epidural         shared on its return path through electrode E6 (-4 mA) and
    space. The size of the needle must be capable of entering the      30   electrode E7 (-2 mA).
    epidural space through small vertebral openings at less than a             As further seen in FIG. 3A, at time t=4 ms, channel 3 of the
    forty-five degree angle to the spine. After the electrode array         IPG 100 is set to generate and supply a 5 mA pulse to elec-
    is inserted, the needle must be pulled out. Hence, if the con-          trode E10 (+5 mA) which is returned through electrode E8
    nector at the end of the lead is larger than the fifteen gauge          (-5 mA). This pulse has a rate of 60 pps, and a width of 400
    needle tube, a split needle, or some other mechanism, must be      35   [is. Similarly, it is seen that at time t=6 ms, channel 4 of the
    used to allow removal of the needle over the over-sized con-            IPG is set to generate and supply a 4 mA pulse to electrode
    nector.                                                                 E14 (+4 mA) which is returned through electrode E13 (-4
       One type of surgical tool that may be used to help implant           mA). This channel 4 pulse has a rate of 60 pps and a width of
    an electrode array, and lead extension, if needed, for use with         300 [is.
    the present invention is described in U.S. Patent Application      40      The particular electrodes that are used with each of the four
    Ser. No. 60/166,560, filed Nov. 19, 1999, entitled "Integrated          channels of the IPG 100 illustrated in FIG. 3A are only
    Subcutaneous Tunneling and Carrying Tool", incorporated                 exemplary of many different combinations of electrode pair-
    herein by reference. Another type of surgical tool that may be          ing and electrode sharing that could be used. That is, any
    used with the invention is described in U.S. Patent Applica-            channel of the IPG may be programmably connected to any
    tion Ser. No. 60/182,392, filed Feb. 14, 2000, entitled "Ver-      45   grouping of the electrodes, including the reference (or case)
    satile Implantable Lead System with Pull-Through Connec-                electrode. While it is typical that only two electrodes be
    tor and Retainer", also incorporated herein by reference.               paired together for use by a given channel of the IPG, as is the
       Once the electrode array 110 has been located in the spinal          case with channels 1, 3 and 4 in the example of FIG. 3, it is to
    canal and the insertion needle is removed, an anchor is placed          be noted that any number of electrodes may be grouped and
    around the lead at the exit site. The anchor is then sutured in    so   used by a given channel. When more than two electrodes are
    place to prevent movement of the electrode array and its lead.          used with a given channel, the sum of the current sourced
    Advantageously, such suturing is performed so as not to dam-            from the positive electrodes should be equal to the sum of the
    age the delicate wires that are carried within the lead body 116        current sunk (returned) through the negative electrodes, as is
    (FIG. 2A). The anchor is slid over the lead body, much like a           the case with channel 2 in the example of FIG. 3A (+6 mA
    collar, or is placed over the lead body through other simple       55   sourced from electrode E8, and a total of —6 mA sunk to
    means. It is positioned along the length of the lead body at a          electrodes E6 [-4 mA] and E7 [-2 mA]).
    desired position and then tightened around the lead body                   As described above, it is thus seen that the IPG has, in a
    using a tightening method other than suturing. In a preferred           preferred embodiment, sixteen electrode contacts, each of
    embodiment, the lead anchor is relatively soft and pliable, is          which is independently programmable relative to stimulus
    about 5 to 10 mm in length, and has easy-to-use suturing           60   polarity and amplitude for each of up to four different pro-
    holes, or other means, to allow it to be sutured in its desired         grammable channel assignments (groups or phase genera-
    location. Such a lead anchor is described in U.S. Patent Appli-         tors). In operation, each channel identifies which electrodes
    cation Ser. No. 60/187,674, filed Mar. 8, 2000, previously              among the sixteen electrodes, El, E2, E3, . E16 and the IPG
    referenced.                                                             case electrode (reference electrode), are to output stimulation
       When one or more lead extensions 120 are employed, a            65   pulses in order to create an electric current field. All elec-
    suitable multiple in-line contact connector may be used to              trodes assigned to a given channel deliver their stimulation
    electrically connect the electrode array 110 with the lead              pulses simultaneously with the same pulse width and at the
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                                 13                                                                     14
    same pulse rate. For each channel, the IPG case electrode is              To prevent more than one channel from producing a stimu-
    programmable either as a Positive (passive anode) or OFF.              lus current at the same time, i.e., to prevent current pulses
    Thus, monopolar stimulation is provided when the only elec-            from different channels that overlap, an overlap arbitration
    trode contact programmed to Positive is the IPG case elec-             circuit may be employed (that is, the arbitration feature may
    trode, and at least one other electrode is programmed to          5    be programmed ON or OFF for each channel) that determines
    Negative. For each of the other electrodes, El, E2, E3, . . .          which channel has priority. The sum of the next current for all
    E16, on each channel, the polarity is programmable to Nega-            channels with overlap arbitration Oitter) programmed OFF
    tive (cathode) with associated negative current amplitude,             plus the maximum channel current of channels with overlap
    Positive (anode) with an associated positive current limit             arbitration programmed ON should be programmed to be less
    amplitude, or Off. The amplitude is programmable from             10   than the maximum IPG current capability.
    —12.7 mA to +12.7 mA in 0.1 mA steps. The total simulta-                  The arbitration circuit (shown in FIG. 4G as element 768),
    neous current capability from all of the anodes to all of the          in a preferred embodiment, functions in accordance with the
    cathodes is at least 20 mA when operating at 120 Hz and with           following principles. Once a non-overlapping channel begins
    a 0.5 millisecond pulse width into an equivalent 500 ohms              a pulse, the start of pulses from any other non-overlapping
    load. (Equivalent load means all cathodes ganged through a        is   channel is delayed until the ongoing pulse phase one is com-
    single 500 ohm load into all anodes ganged.) The program-              pleted and a Hold-Off has been completed. The Hold-Off
    ming of the total current capability into all cathodes while a         period is timed from the end of the first phase of the pulse. If
    given channel pulse is active is limited to the maximum IPG            the start of two or more non-overlapping channels are delayed
    channel current capability.                                            by an ongoing pulse and Hold-Off, the pending channels are
       Because of power limitations, it is not possible to program    20   started in the order they would have occurred without arbi-
    the average stimulus current delivered by the IPG during all           tration. If two non-overlapping channels are scheduled to
    active phase periods to exceed 2 mA. An "active" phase                 start simultaneously, the lower number channel takes priority
    period is a phase period of the stimulus current during which          and starts first (i.e., channel 1 before channel 2, channel 2
    the stimulus current is being provided by one or more of the           before channel 3, and channel 3 before channel 4). The Hold-
    turned ON current sources. In contrast, a "passive" phase         25   Off period is programmable from 1 to 64 milliseconds in 1
    period (also sometimes referred to as a "recharge" phase               millisecond increments. Current from any stimulus pulse
    period) is a phase period of the stimulus current during which         (First phase) or active recharge (active second phase) is pre-
    the current sources are turned OFF, and the stimulus current           vented from passing through any electrode undergoing pas-
    results from a recharge or redistribution of the charge flowing        sive recharge the delivery of an active first phase or active
    from the coupling capacitance present in the stimulus circuit.    30   second phase on any electrode takes precedence over all
    (Note: the average stimulus current is determined as the sum           ongoing passive recharge phases. Electrodes undergoing pas-
    of the average stimulus currents for all channels (groups). For        sive recharge have their passive recharge phases temporarily
    a channel, the average stimulus current is determined as the           interrupted during the active phase(s). If the electrode is not
    stimulus rate times the sum of all phase one cathodic current          part of the active phase, it remains in a high impedance state
    amplitudes times the channel first phase period [pulse width]     35   (i.e., turned OFF) until the active phase is completed. The
    plus the sum of all active second phase anodic current ampli-          interpulse interval (1/Rate) is programmed such that it is
    tudes times the channel second phase (recharge) period.)               greater than the sum of the first phase period plus the inter-
                                                                           phase period plus the second phase period for each channel.
       Net dc charge transfer is prevented during stimulation              When passive recharge is programmed, the total second phase
    through the use of coupling capacitors Cl, C2, C3, . . . C16      40   period available to complete recharge (not including interrup-
    (see FIGS. 4A or 4C) between the electrodes El, E2, E3, . . .          tions for active phases) is at least 7 milliseconds for every
    E16 and the IPG output. Voltage build-up on the output cou-            pulse delivered.
    pling capacitors is prevented by applying a biphasic stimulus             The above arbitration circuit operating principles are illus-
    waveform with a 500 Kohm trickle recharge through the case             trated, at least in part, in the timing waveform diagram of FIG.
    electrode between application of the stimulus pulses.             45   3B. FIG. 3B shows the current stimulus waveforms associ-
       As described in more detail below, to prevent patient dis-          ated with electrodes El-E8, E16 and the case. As seen in FIG.
    comfort due to rapidly increasing or decreasing amplitudes of          3B, and recognizing that a channel comprises those elec-
    stimulus current, a slow start/end feature is employed                 trodes that provide a stimulus current of the same pulse width
    wherein changes in amplitude are limitable to occur slowly             at the same time, Channel 1 comprises the group of electrodes
    and smoothly over a transition period. The transition period is   so   El, E2, E3, and E4; Channel 2 comprises the group of elec-
    programmable from 1 to 10 seconds in 1 second increments.              trodes E16 and the case electrode; Channel 3 comprises the
    To ensure smoothness, individual amplitude step changes                group of electrodes E3, ES and E7; and Channel 4 comprises
    during the transition period are maintained at less than 5% of         the group of electrodes E6 and E8. For purposes of FIG. 3B,
    the programmed amplitude, or 0.1 mA, whichever is greater.             Channels 1, 2 and 3 have arbitration (a hold-off period) pro-
       For each channel, the first phase period (pulse width) is      55   grammed ON, while Channel 4 does not.
    programmable from 10 to 1000 microseconds (1,1s) in 10 [is                Still with reference to FIG. 3B, the normal sequence of
    steps. The inter-phase period between the First (Pulse Width)          Channel firings without arbitration, would be as follows:
    and Second (Recharge) phases is 100 [is. The Second (Re-               Channel 1 firing at time Tl, Channel 3 firing at time T2, and
    charge) phase period is programmable from 10 to 1500 [is in            Channels 2 and 4 both firing at time T3. However, with
    10 [is increments. The Second (Recharge) phase type is pro-       60   arbitration ON, the respective channel firings are ordered as
    grammable as either Passive or Active. The pulse rate is               follows: The First phase period for Channel 1, 3B10, com-
    programmable in either a Normal or a High rate range. In the           prises the time when electrode El and E2 function as anodes,
    Normal Rate range, which covers 2 to 150 pulses per second             and electrodes E3 and E4 function as cathodes, with most of
    (pps) in 1 pps steps, all channels are available. In the High          the current being provided through electrodes El (anode) and
    Rate range, which covers 150 pps to 350 pps in 10 pps steps,      65   E3 (cathode). Immediately after the First phase period 3B10,
    400 pps to 500 pps in 50 pps steps, and 600 pps to 1200 pps in         two events begin: (1) an inter-phase period 3B11, and (2) a
    100 pps steps, only one channel may be available.                      hold-off period 3B12. The inter-phase period 3B11 (at least
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                                   15                                                                       16
    for the time scale represented in FIG. 3B) appears as a very               recharge amplitude shall be programmed to the opposite
    narrow sliver of time. As soon as the inter-phase period 3B11              polarity and amplitude as the first phase. Using active
    concludes, the Channel 1 Second Phase Period 3B13 begins,                  recharge in this manner allows faster recharge while avoiding
    which Channel 1 Second Phase period is a fixed recharge                    the charge imbalance that could otherwise occur.
    period, e.g., a fixed period of 7 milliseconds (ms). The Hold-        5       Thus, as seen in FIG. 3C, beginning at 0 ms, electrode El
    Off period 3B12 is a programmable delay, ranging from 1 to                 is programmed to produce a first phase current of +2 ma
    64 ms. The Channel 1 Hold-Off period 3B12 shown in FIG.                    (anode) at the same time that electrode E3 is programmed to
    3B is about 3 ms. During the Hold-Off Period 3B12, no other                produce first phase current of —2 ma (cathode). The first phase
    channel is permitted to generate a stimulus pulse. Thus, at                (pulse width) is programmed to last about 0.6 ms. At the
    time T2, when Channel 3 would normally fire, it is prevented          10   conclusion of the first phase, an active second phase begins.
    from doing so. Rather, it must wait a time period Td3 until the            During this active second phase, which is also programmed to
    Channel 1 Hold-Off Period 3B12 concludes. Similarly, at                    last about 0.6 ms, the amplitude of electrode El is pro-
    time T3, when Channels 2 and 4 would normally fire, they are               grammed to —2 mA, while the amplitude of electrode E3 is
    prevented from doing so because the Channel Hold-Off                       programmed to +2 mA, thereby creating a symmetrical
    period 3B12 has not yet concluded, and even if it had, they           15   biphasic current pulse and a balanced charge condition. (It
    would have to wait for Channel 3 to fire first.                            should also be noted that a balanced charge condition could
       Still with reference to FIG. 3B, at the conclusion of the               also be obtained without having a symmetrical biphasic
    Channel 1 Hold-Off period 3B12, Channel 3 fires, which                     pulse, if desired, by simply assuring that the total charge
    means a First Phase period 3B14 for Channel 3 begins. At this              during the first phase of the biphasic pulse, i.e., amplitude x
    time, which is still during the Channel 1 Second Phase Period         20   duration, is equal to the total charge during the second phase.)
    3B13, the passive recharge which is taking place in electrodes                As further seen in FIG. 3C, beginning at about 2.6 ms from
    El, E2 and E3 is interrupted temporarily (e.g., for the duration           the 0 reference point, electrode E2 is programmed to produce
    of the active first phase period 3B14).                                    a first phase current of +4 ma (anode) at the same time that
       At the conclusion of the Channel 3 First Phase period                   electrode E3 is programmed to produce first phase current of
    3B14, a Channel 3 Inter-Phase period 3B15 begins, as does a           25   —4 ma (cathode). The first phase (pulse width) is programmed
    Channel 3 Hold-Off period 3B16. At the conclusion of the                   to last about 0.4 ms. At the conclusion of the first phase, an
    Inter-Phase period 3B15, the Channel 3 Second Phase begins,                active second phase begins. During this active second phase,
    which is fixed at about 7 ms. The Channel 3 Hold-Off period                which is also programmed to last about 0.4 ms, the amplitude
    3B16 is programmed to be about 15 ms. Neither Channel 2                    of electrode E2 is programmed to —4 mA, while the amplitude
    nor Channel 4 is allowed to fire during the Channel 3 hold-off        30   of electrode E3 is programmed to +4 mA, thereby creating a
    period. As soon as the Channel 3 hold-off period 3B16 con-                 symmetrical biphasic current pulse and a balanced charge
    cludes, both Channel 2 and Channel 4 are past due for firing.              condition.
    Channel 2 fires first because it has a lower channel number                   Turning next to FIG. 4A, a block diagram is shown that
    than does Channel 4. Thus, at the conclusion of the Channel                illustrates the main components of one embodiment of an
    3 hold-off period 3B16, a Channel 2 First Phase period 3B17           35   implantable pulse generator, or IPG 100, that may be used
    begins, followed by the commencement of both a Channel 2                   with the invention. As seen in FIG. 4A, the IPG includes a
    inter-phase period 3B18 and a Channel 2 Hold-Off period                    microcontroller (µC) 160 connected to memory circuitry 162,
    3B19. A Channel 2 Second Phase period 3B20 begins at the                   The [IC 160 typically comprises a microprocessor and asso-
    conclusion of the Channel 2 inter-phase period 3B18.                       ciated logic circuitry, which in combination with control logic
       At the conclusion of the Channel 2 hold-off period 3B19, as        40   circuits 166, timer logic 168, and an oscillator and clock
    seen in FIG. 3B, two events occur: (1) Channel 1 fires, which              circuit 164, generate the necessary control and status signals
    means a channel 1 First Phase period 3B21 begins; and (2)                  which allow the [IC to control the operation of the IPG in
    Channel 4 fires, which means a Channel 4 First Phase period                accordance with a selected operating program and stimula-
    3B22 begins. Recall that Channel 4 does not have its arbitra-              tion parameters. The operating program and stimulation
    tion feature programmed ON, hence, it fires just as soon as it        45   parameters are typically programmably stored within the
    can after the preceding Hold-Off period 3B19 terminates,                   memory 162 by transmitting an appropriate modulated car-
    which just happens to be at the same time that Channel 1 fires.            rier signal through a receiving coil 170 and charging and
    Note that no electrodes are shared between Channels 1 and 4,               forward telemetry circuitry 172 from an external programing
    and thus simultaneous firing is permitted if the timing is such            unit, e.g., a handheld programmer (HHP) 202 and/or a clini-
    that simultaneous firing is called for. During the firing of          50   ciao programmer (CP) 204, assisted as required through the
    channels 1 and 4, Channel 2 is still experiencing a Second                 use of a directional device 206 (see FIG. 1). (The handheld
    Phase passive recharge 3B20. Hence, this passive recharge is               programmer is thus considered to be in "telecommunicative"
    temporarily interrupted for electrodes E16 and the common                  contact with the IPG; and the clinician programmer is like-
    (case) electrode during the active phase of Channels 1 and 4.              wise considered to be in telecommunicative contact with the
       Continuing with FIG. 3B, the next channel to fire is Chan-         55   handheld programmer, and through the handheld program-
    nel 3, which channel fires at its programmed rate, f3, as                  mer, with the IPG.) The charging and forward telemetry cir-
    determined from its last firing (i.e., at a time interval 1/f3 from        cuitry 172 demodulates the carrier signal it receives through
    its prior firing).                                                         the coil 170 to recover the programming data, e.g., the oper-
       It should be noted that the second phase period for each                ating program and/or the stimulation parameters, which pro-
    channel or group need not be a passive recharge period.               60   gramming data is then stored within the memory 162, or
    Rather, as shown in FIG. 3C, the second phase can also be an               within other memory elements (not shown) distributed
    active phase, i.e., a phase when one or more current sources               throughout the IPG 100.
    are turned ON. In a preferred embodiment, the second phase                    Still with reference to FIG. 4A, the microcontroller 160 is
    period and amplitude shall be programmed to create a sym-                  further coupled to monitoring circuits 174 via bus 173. The
    metrical biphasic waveform when a channel is programmed               65   monitoring circuits 174 monitor the status of various nodes or
    to active recharge. For each electrode on channels pro-                    other points 175 throughout the IPG 100, e.g., power supply
    grammed to an active Second Phase (Recharge) type, the                     voltages, current values, temperature, the impedance of elec-
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    trodes attached to the various electrodes El . . . En, and the      electrode nodes El, E2, E3, . . . En, through respective cou-
    like. Informational data sensed through the monitoring circuit      pling capacitors Cl, C2, C3, . Cn. (Note: a second embodi-
    174 may be sent to a remote location external the IPG (e.g., a      ment of the IPG, see FIGS. 4B and 4C, discussed below, does
    non-implanted location) through back telemetry circuitry            not use a low impedance switching matrix 188. Rather, there
    176, including a transmission coil 177.                           5 is an independent bidirectional current source for each of the
       The operating power for the IPG 100 is derived from a            sixteen electrodes.) Through appropriate control of the
    replenishable power source 180, e.g., a rechargeable battery        switching matrix 188, when used (FIG. 4A), or through
    and/or a supercapacitor. Such power source 180 provides an          operation of the independent bi-directional current sources,
    unregulated voltage to power circuits 182. The power circuits       when used (FIGS. 4B and 4C), any of the m current source
    182, in turn, generate the various voltages 184, some of which 10
                                                                        nodes 187 may be connected to any of the electrode nodes El,
    are regulated and some of which are not, as needed by the
                                                                        E2, E3, . En. Thus, for example, it is possible to program the
    various circuits located within the IPG. The power circuits
                                                                        current source 186+11 to produce a pulse of +4 mA (at a
    182 further selectively direct energy contained within the
    carrier signal, obtained through the charging and forward           specified rate and for a specified duration), and to synchro-
    telemetry circuit 172, to the replenishable power source 180 15 nously program the current source 186-12 to similarly pro-
    during a charging mode of operation. In this way, the power         duce a pulse of —4 mA (at the same rate and pulse width), and
    source 180 may be recharged when needed. A particular               then connect the 186+11 node 187 to electrode node E3 and
    feature of the present invention is the manner in which such        the 186-12 node to electrode node El at relative time t=0 ms
    recharging occurs, on an as-needed basis.                           (and at a recurring rate thereafter) in order to realize the
       In a preferred embodiment, the power source 180 of the 20 operation of channel 1 depicted, e.g., in the timing diagram of
    IPG 100 comprises a rechargeable battery, and more particu-         FIG. 3A. In a similar manner, the operation of channels 2, 3
    larly a rechargeable Lithium Ion battery. Recharging occurs         and 4 shown in FIG. 3A may likewise be realized.
    inductively from an external charging station (shown in FIG.           As described, it is thus seen that any of the n electrodes may
    8) to an implant depth of approximately 2-3 cm. Because the         be assigned to up to k possible groups (where k is an integer
    SCS IPG 100 could accept or receive a charge from an unau- 25 corresponding to the number of channels, and in a preferred
    thorized source, internal battery protection circuitry is           embodiment is equal to 4). Moreover, any of then electrodes
    employed, for safety reasons, to protect the battery (e.g., to      can operate, or be included in, any of the k channels. The
    prevent the battery from being overcharged and/or to accept a       channel identifies which electrodes are selected to synchro-
    charge only from an authorized charging device). The battery        nously source or sink current in order to create an electric
    is chargeable to 80% of its capacity within about an hour, and 30 field. Amplitudes and polarities of electrodes on a channel
    is chargeable to its full capacity within about two hours.          may vary, e.g., as controlled by the patient hand held pro-
    Moreover, at an 80% charge, a single battery discharge is able      grammer 202. External programming software in the clini-
    to support stimulation at typical parameter settings on one         cian programmer 204 is typically used to assign a pulse rate
    channel (electrode group) for approximately three weeks; and        and pulse width for the electrodes of a given channel.
    on 4 channels for approximately one week, after 10 years of 3 5
    cycling. Thus, it is seen that the IPG 100 truly offers a long         Hence, it is seen that each of the n programmable electrode
    life.                                                               contacts   can be programmed to have a positive (sourcing
       Additionally, the IPG 100 is able to monitor and telemeter       current), negative (sinking current), or off (no current) polar-
    the status of its replenishable power source 180 (e.g.,             ity in any of the k channels.
    rechargeable battery) each time a communication link is 40             Moreover, it is seen that each of then electrode contacts can
    established with the external patient programmer 202. Such          operate in a bipolar mode or multipolar mode, e.g., where two
    monitoring not only identifies how much charge is left, but         or more electrode contacts are grouped to source/sink current
    also charge capacity. Typically, a telecommunicative link is        at the same time. Alternatively, each of the n electrode con-
    established, and hence battery monitoring may occur, each           tacts can operate in a monopolar mode where, e.g., the elec-
    time a programming event occurs, i.e., each time the patient 45 trode contacts associated with a channel are configured as
    or medical personnel change a stimulus parameter, or initiate       cathodes (negative), and the case electrode, on the IPG case,
    a charging operation.                                               is configured as an anode (positive).
       Still referring to FIG. 4A, the power circuits 182 advanta-         Further, the amplitude of the current pulse being sourced or
    geously include protection circuitry that protects the replen-      sunk from a given electrode contact may be programmed to
    ishable power source 180 from overcharging. Also, safe- 50 one of several discrete levels. In one embodiment, the cur-
    guarding features are incorporated that assure that the power       rents can be individually set from ±0 to ±10 mA, in steps of
    source is always operated in a safe mode upon approaching a         0.1 mA, within the output voltage/current requirements of the
    charge depletion. Potentially endangering failure modes are         device. Additionally, in one embodiment, at least one channel
    avoided and prevented through appropriate logic control that        of electrodes is capable of an output of at least ±20 mA
    is hard-wired into the device, or otherwise set in the device in 55 (distributed among the electrodes included in the channel
    such a way that the patient cannot override them.                   group). The current output capacity of individual electrodes
       Still with reference to FIG. 4A, it is seen that a plurality m   are limited when operating with more than one other elec-
    of independent current source pairs, 186+11, 186-11, 186+12,        trode of the same polarity in a given channel in order to assure
    186-12, 186+13, 186-13, . 186+Im, 186—Im are coupled to             that the maximum current values are maintained. Addition-
    the control logic 166 via control bus 167. One current source 60 ally, in order to prevent "jolts", current amplitude changes are
    of each pair of current sources functions as a positive (+)         always gradually changed, e.g., in a ramping fashion, from
    current source, while the other current source of each pair         one value to another within the range of values available
    functions as a negative (—) current source. The output of the       between the settings. Such ramping feature is also used when
    positive current source and the negative current source of          initially powering on the IPG, thereby preventing full mag-
    each pair of current sources 186 is connected to a common 65 nitude stimulus pulses from being delivered to the patient
    node 187. This common node 187, in turn, is connected               during a ramping-up time period. The ramping-up time
    through a low impedance switching matrix 188 to any of n            period may vary, depending upon the channel and pro-
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    grammed amplitude, between about 1 and 10 seconds. This                  1000 ohms. The impedance measuring feature is described in
    pulse ramping feature is explained more fully below in con-              more detail below in conjunction with the description of
    junction with FIG. 10.                                                   FIGS. 11A and 11B.
       Also, in one embodiment, the pulse width of the current                  The type of current sources depicted in FIG. 4A may be
    pulses is adjustable in convenient increments. For example,         5    realized by those of skill in the art using the teachings of
    the pulse width range is preferably at least 0 to 1 ms in                International Patent Application Serial Number 1,1CT/US99/
    increments of 10 [is. Generally, it is preferred that the pulse          14190, filed Jun. 23, 1999, entitled "Programmable Current
    width be equal for all electrodes in the same channel.                   Output Stimulus Stage for Implantable Device", published as
       Similarly, in one embodiment, the pulse rate is adjustable            International Publication No. WO-00/00251, on Jan. 6, 2000,
    within acceptable limits. For example, the pulse rate prefer-       10   and claiming priority to U.S. Patent Application Ser. No.
    ably spans at least two ranges: (1) a normal rate; and (2) a high        60/090,833,filed Jun. 26, 1998, which international publica-
    rate. The normal rate range covers 0-150 pps per channel in              tion is incorporated herein by reference.
    approximately 1 pps increments. The high rate range covers                  Advantageously, by using current sources of the type dis-
    100-1200 pps with appropriate restrictions on pulse width,               closed in the referenced international patent application, or
    and need only be available on one or two channels. When             is   equivalent, the IPG 100 is able to individually control the n
    used, the high rate range limits operation of the additional             electrode contacts associated with the n electrode nodes El,
    channels at the normal rates when stimulation and/or power               E2, E3, . En. Controlling the current sources and switching
    conflicts are determined to be present.                                  matrix 188 using the microcontroller 160, in combination
                                                                             with the control logic 166 and timer logic 168, thereby allows
       Because the IPG 100 is typically only capable of delivering
                                                                        20   each electrode contact to be paired or grouped with other
    current pulses up to ±20 mA in amplitude at any instant in
                                                                             electrode contacts, including the monopolar case electrode, in
    time, the SCS system also regulates the channel rates to
                                                                             order to control the polarity, amplitude, rate, pulse width and
    prevent overlap (i.e., to prevent two or more pulses from
                                                                             channel through which the current stimulus pulses are pro-
    different channels from occurring at the same time). Such
                                                                             vided.
    channel rate regulation is transparent to the patient.
                                                                        25      As shown in FIG. 4A, much of circuitry included within the
       The stimulation pulses generated by the IPG 100 must also             embodiment of the IPG 100 illustrated in FIG. 4A may be
    be charged balanced. This means that the amount of positive              realized on a single application specific integrated circuit
    charge associated with a given stimulus pulse must be offset             (ASIC) 190. This allows the overall size of the IPG 100 to be
    with an equal and opposite negative charge. Charge balance               quite small, and readily housed within a suitable hermeti-
    may be achieved through a coupling capacitor, which pro-            30   cally-sealed case. The IPG 100 includes n feedthroughs to
    vides a passive capacitor discharge that achieves the desired            allow electrical contact to be individually made from inside of
    charge balanced condition. Such passive capacitor discharge              the hermetically-sealed case with the n electrodes that form
    is evident in the waveforms depicted in FIG. 3A as the slowly            part of the lead system outside of the case. The IPG case is
    decaying waveform following the short trailing edge of each              preferably made from titanium and is shaped in a rounded
    pulse. Alternatively, active biphasic or multiphasic pulses         35   case, as illustrated, e.g., in FIG. 2B. The rounded IPG case has
    with positive and negative phases that are balanced may be               a maximum circular diameter D of about 50 mm, and prefer-
    used to achieve the needed charge balanced condition.                    ably only about 45 mm. The implant case has smooth curved
       In some embodiments of the invention, a real-time clock is            transitions that minimize or eliminate edges or sharp corners.
    also incorporated within the timing circuits of the IPG 100.             The maximum thickness W of the case is about 10 mm, and
    Such real-time clock advantageously allows a run schedule to        40   preferably only about 8 mm.
    be programmed. That is, the patient can schedule auto-run                   Turning next to FIG. 4B, a hybrid block diagram of an
    times for IPG operation at certain times of the day. When an             alternative embodiment of an IPG 100' that may be used with
    auto-run time begins, all channels are enabled and provide a             the invention is illustrated. The IPG 100' includes both analog
    previously-programmed pattern of stimulus currents, i.e.,                and digital dies, or integrated circuits (IC's), housed in a
    current pulses having a programmed width, rate, and ampli-          45   single hermetically-sealed rounded case having a diameter of
    tude are generated and delivered through each channel. The               about 45 mm and a maximum thickness of about 10 mm.
    auto-run time continues for a set time period, e.g., several             Many of the circuits contained within the IPG 100' are iden-
    hours, or for only a few minutes. When a programming                     tical or similar to the circuits contained within the IPG 100,
    change is made by the patient or other medical personnel, the            shown in FIG. 4A. The IPG 100' includes a processor die, or
    auto-run time, when enabled at the programmed time of day,          so   chip, 160', an RF telemetry circuit 172' (typically realized
    invokes the most recent programming changes made to each                 with discrete components), a charger coil 171', a lithium ion
    channel.                                                                 battery 180', a battery charger and protection circuits 182',
       An important feature included within the IPG 100 is its               memory circuits 162' (SEEPROM) and 163' (SRAM), a digi-
    ability to measure electrode impedance, and to transfer the              tal IC 191', an analog IC 190', and a capacitor array and header
    impedance thus measured back to a remote programmer, or             55   connector 192'.
    other processor, through the back telemetry circuits 176.                   The capacitor array and header connector 192' includes 16
    Also, the microcontroller 160, in combination with the other             output decoupling capacitors, as well as respective feed-
    logic circuits, may also be programmed to use the electrode              through connectors for connecting one side of each decou-
    impedance measurements to adjust compliance voltages and                 pling capacitor through the hermetically-sealed case to a con-
    to thereby better maintain low battery consumption. In one          60   vector to which the electrode array 110, or lead extension 120,
    embodiment of the IPG 100, electrode impedance is mea-                   may be detachably connected.
    sured for each electrode contact by sourcing or sinking a 1                 The processor 160' is realized with an application specific
    mA current pulse from the electrode contact to the case elec-            integrated circuit (ASIC) that comprises the main device for
    trode, measuring the voltage at the electrode contact, and               full bidirectional communication and programming. The pro-
    computing the resulting impedance. (Impedance is equal to           65   cessor 160' utilizes a 8086 core (the 8086 is a commercially-
    voltage/current.) For a spinal cord implantation, the electrode          available microprocessor available from, e.g., Intel), or a low
    impedance will typically range between about 400 ohms and                power equivalent thereof, 16 kilobytes of SRAM memory,
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    two synchronous serial interface circuits, a serial EEPROM              from 1 to 16. Similarly, an NDAC circuit 4C07 is enabled by
    interface, and a ROM boot loader 735. The ROM boot loader               a signal on the S2 line when a current having the amplitude
    735 is described in more detail below in conjunction with               specified on the amplitude bus 4C04 is to be sunk into the
    FIG. 7F. The processor die 160' further includes an efficient           current source 4C06 through the coupling capacitor Cn. A
    clock oscillator circuit 164' and a mixer and modulator/de-        5    recharge switch 4C08 is enabled by the signal on the S3 line
    modulator circuit implementing the QFAST RF telemetry                   when it is desired to remove the charge from the coupling
    method supporting bi-directional telemetry at 8 Kbits/sec-              capacitor Cn. Another switch 4C09 allows an indifferent elec-
    ond. QFAST stands for "Quadrature Fast Acquisition Spread               trode 4C11, e.g., the case of the IPG, to be turned on upon
    Spectrum Technique", and represents a known and viable                  receipt of an SC1 signal. Similarly, a recharge switch 4C10
    approach for modulating and demodulating data. The QFAST           10   allows the indifferent electrode 4C11 to be selectively con-
    RF telemetry method is further disclosed in U.S. Pat. No.               nected to ground, or another voltage source, upon receipt of
    5,559,828, incorporated herein by reference. An analog-to-              an SC2 signal.
    digital converter (A/D) circuit 734 is also resident on the                From FIG. 4C, it is seen that the analog IC 186' includes a
    processor 160' to allow monitoring of various system level              multiplicity of output current sources 4C06, e.g., sixteen bi-
    analog signals, impedances, regulator status and battery volt-     15   directional output current sources, each configured to operate
    age. In the preferred embodiment, the A/D converter circuit             as a DAC current source. Each DAC output current source
    734 comprises a twelve-bit A/D converter. The processor 160'            4C06 may source or sink current, i.e., each DAC output
    further includes the necessary communication links to other             current source is bi-directional. Each DAC output current
    individual ASIC' s utilized within the IPG 100'.                        source is connected to an electrode node 4C11. Each elec-
       The processor 160', like all similar processors, operates in    20   trode node 4C11, in turn, is connected to a coupling capacitor
    accordance with a program that is stored within its memory              Cn. The coupling capacitors Cn and electrode nodes, as well
    circuits. In this instance, such program control is properly            as the remaining circuitry on the analog IC 186', are all
    referred to as "firmware" (as opposed to software) because              housed within the hermetically sealed case of the IPG 100.
    the program is digitally stored in a read only memory, or a             The dashed-dotted line 4C12 represents the boundary
    programmable read only memory, and is not easily altered or        25   between the sealed portion of the IPG case and the unsealed
    changed (even though control parameters used with such                  portion. A feedthrough pin 4C13, which is included as part of
    program are readily changed).                                           the header connector 192' (FIG. 4B), allows electrical con-
       The analog IC (AIC) 190' comprises an ASIC that func-                nection to be made between each of the coupling capacitors
    tions as the main integrated circuit that performs several tasks        Cn and the respective electrodes El, E2, E3, . . . , or E16, to
    necessary for the functionality of the IPG 100', including         30   which the DAC output current source is associated.
    providing power regulation, stimulus output, and impedance                 Returning again to FIG. 4B, the digital IC (DigIC) 191'
    measurement and monitoring. Electronic circuitry 194' per-              functions as the primary interface between the processor 160'
    forms the impedance measurement and monitoring function.                and the AIC output circuits 186'. The main function of the
    The main area of the analog 190' is devoted to the current              DigIC 191' is to provide stimulus information to the output
    stimulus generators 186'. These generators 186' may be real-       35   current generator register banks. The DigIC 191' thus controls
    ized using the circuitry described in the previously-refer-             and changes the stimulus levels and sequences when
    enced µCT application, Serial No .1,1CT/US99/14190, or simi-            prompted by the processor 160'. In a preferred embodiment,
    lar circuitry. These generators 186' are designed to deliver up         the DigIC 191' comprises a digital application specific inte-
    to 20 mA aggregate and up to 12.7 mA on a single channel in             grated circuit (digital ASIC). A block diagram of the DigIC
    0.1 mA steps, which resolution requires that a seven (7) bit       40   191' is shown in FIG. 4G.
    digital-to-analog (DAC) circuit be employed at the output                  As seen in FIG. 4G, the digital ASIC 191' receives signals
    current DAC 186'. Regulators for the IPG 100' supply the                from the processor IC (CPU) 160' through an interface and
    processor and the digital sequencer with a voltage of 2.7               register map circuit 762. The interface and register map cir-
    V±10%. Digital interface circuits residing on the AIC 190' are          cuit 762 implements a standard 8086 memory map interface
    similarly supplied with a voltage of 2.7V±10%. A regulator         45   between the processor IC 160' and the digital ASIC 191'. All
    programmable from 5V to 18V supplies the operating voltage              read and write transactions are done in 16 bit words. Included
    for the output current DACs 186'.                                       as part of the digital ASIC 191' is a matrix of counters 760 that
       A block diagram of the output stimulus generators 186'               function as a digital pulse generator. This matrix of counters
    included within the AIC 190' is shown in FIG. 4C. As seen in            760 include four delay and burst counters 764, four slow
    FIG. 4C, a data bus 4C01 from the digital IC 191' couples data     so   start/stop counters 765, and four phase counters 766. There is
    received from the digital IC to AIC sequencer circuits 4CO2.            thus one counter of each type for each channel. In combina-
    Such data includes odd and even amplitude data, odd and even            tion, the counters 760 define the parameters (timing and
    mode data, and odd and even change data, where "odd" and                amplitude) associated with the stimulation pulses that are
    "even" refer to the electrode number (with electrodes El, E3,           generated by the output current DACs 186' included within
    E5, etc. being "odd" electrodes; and electrodes E2, E4, E6,        55   the analog ASIC chip 190' (see FIGS. 4B and 4C). Any
    etc., comprising "even" electrodes). A multiplicity of latch            combination of timing generators can drive any electrode
    circuits 4CO3 are connected to the AIC sequencer 4CO2, one              through the analog ASIC chip 190'. An arbitrator circuit 768
    latch circuit for each electrode. Hence, where there are six-           monitors the various pulses being defined by the counters 760
    teen electrodes, El, E2, . . . E16, there are sixteen identical         in order to control overlap between pulses.
    latch circuits 4CO3. Each latch circuit includes an amplitude      60      An output formatter circuit 767, which may also be
    bus 4C04 on which the amplitude data is placed, an Sl line for          referred to as a double buffer circuit, receives the pulse-
    designating a positive amplitude, an S2 line for designating a          defining data from the counters 760 and converts the output
    negative amplitude, and an S3 line for designating a recharge           signals into two high-speed data buses 770 and 771. A first
    state. A PDAC circuit 4C05 is enabled by a signal on the Sl             bus 771 contains the amplitude, mode and change data for the
    line when a current having the amplitude specified on the          65   odd-numbered electrodes, e.g., electrodes El, E3, E5, . . .
    amplitude bus 4C04 is to be sourced from a current source               E15. A second bus 770 contains the amplitude, mode and
    4C06 through a coupling capacitor Cn, where n is an integer             change data for the even-numbered electrodes, e.g., elec-
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    trodes E2, E4, E6,     E16. (Note, these two buses 770 and 771             The IPG 100' has three main modes that can initiate either
    are shown in FIG. 4B as a single bus 4C01.) The data carried            a reset sequence or a hibernation state. The first mode is a hard
    on the buses 770 and 771 is applied to appropriate electrode            power up reset that occurs at initial turn on. The second mode
    latch circuits that define the control signals Sl, S2 and S3            is a state where a fully functional IPG experiences battery
    referenced in the block diagram of the analog ASIC 190'            5    depletion that may result in erroneous communication
    shown in FIG. 4B. Sync and clock signals, as well as a reset            between the modules, thereby necessitating that the system
    signal, are also sent from the digital ASIC 191' to the analog          power down in order to protect the patient. The third mode is
    ASIC 190'.                                                              a re-awake mode triggered from the depletion or hibernation
       A serial control circuit 772 also included as part of the            state, which re-awake mode requires that the system perform
    digital ASIC 191' provides serial communications with the          10   self check and validation states.
    analog ASIC 190', and in the process provides additional                   A representative power-up reset sequence for the IPG 100'
    timing and control information. Like all serial data transmis-          is illustrated in the flow diagram of FIG. 4D. As seen in FIG.
    sions, data bits are transmitted serially, one bit at a time, as        4D, and also with reference to the IPG elements shown in
    enabled on a bit by bit basis. The data transmission rate is 1          FIG. 4B, the process starts when an external charger is placed
    million bits per second. Sample pulses, for use by the sample      15   over the IPG (block 4D01). As the battery voltage rises above
    and hold circuitry 194' within the analog ASIC 190' are also            2.5 or 2.6 volts, a charging current is detected (block 4D02).
    sent to the analog ASIC via the serial control circuit 772. For         At this point, i.e., upon detection of the charging current, the
    example, a sample pulse may begin coincident with the start             battery protection circuit allows the battery to be connected to
    of a first phase on any of the four timing generators (counters)        the analog IC 190' (block 4D03). Upon receipt of the battery
    766. The selection of the trigger source and time delay for the    20   voltage at the analog IC, the analog IC asserts the HEXTRE-
    sample pulse may be based on the setting off of internal                SET line (high), starts generation of the supply voltage VDD,
    control registers. At the completion of the sampling pulse, an          and starts a time delay for the HEXTRESET hold time (block
    interrupt signal is generated for use by the processor IC 160'.         4D04). The voltage VDD tracks the battery voltage minus the
       Returning again to FIG. 4B, the RF circuitry 172' includes           regulator dropout. The HEXTRESET remains asserted until
    antennas and preamplifiers that receive signals from the HHP       25   VBAT rises above 3.0 V and VDD is 2.7 V (block 4D05).
    202 and provide an interface at adequate levels for the                 Next, the digital IC 191' resets all internal registers affected
    demodulation/modulation of the communication frames used                by the HEXTRESET signal (block 4D06). Then, the analog
    in the processor 160'. Any suitable carrier frequency may be            IC 190' similarly resets all registers affected by the HEXTRE-
    used for such communications. In a preferred embodiment,                SET signal (block 4D07). When the battery voltage rises
    the frequency of the RF carrier signal used for such commu-        30   above 3.0 volts, the battery monitor circuit releases the HEX-
    nications is 262.144 KHz, or approximately 262 KHz. A                   TRESET signal, allowing it to go low (block 4D08). At this
    transmitter section receives digital transmit signals from the          point, the digital IC 191' is ready for commands from the
    quadrature components, TxI and TxQ, of the data as gener-               processor IC 160' (block 4D09). Also, the analog IC 190' is
    ated on the 262 KHz carrier. The TxI and TxQ signals are                ready for commands from the processor IC 160' via the digital
    coupled directly into the antenna during transmit. Addition-       35   IC 191' (block 4D10). The processor 160' next starts the reset
    ally, the transmit section couples the antenna to the receiver          sequence by fetching a RESET vector and jumping to the
    during a receive mode. The transmitter section is responsible           RESET routine (block 4D11). The boot loader routine then
    for antenna tunning and coupling while minimizing the pro-              reads the data from the external SEEPROM memory 162' and
    cessor noise to the RF signal.                                          stores the program and data section in the processor RAM
                                                                       40   (block 4D12). The processor, in response to such RAM-
       A receiver portion of the RF circuitry 172' receives an              stored data, jumps to the internal program space and starts the
    incoming RF signal through a coupling circuit, amplifies the            system application code (block 4D13). The processor next
    signal, and delivers it to a mixer located inside of the proces-        initializes all the registers in the digital IC 191' and indirectly
    sor 160'.                                                               in the analog IC 190' to a safe state (block 4D14). The pro-
       The RF circuitry 172' also includes an antenna. The             45   cessor then verifies the system resources, including the bat-
    antenna, in a preferred embodiment, comprises a ferrite rod             tery status, the memory integrity, and all diagnostics (block
    located in an epoxy header of the IPG case. The antenna                 4D15). After such verification, the processor then sets the
    makes electrical connection to the IPG circuitry via two                digital IC 191' and the analog IC 190' to default conditions
    feedthrough pins included within the header connector 192'              (block 4D16). Next, the processor sets the remaining hard-
    (the other pins providing electrical connection to the indi-       50   ware resources to normal operating conditions (block 4D17).
    vidual electrodes located in the electrode array 110).                  Finally, the processor executes the commands in the main idle
       Still with reference to FIG. 4B, the Battery Charger and             and diagnostic loops (block 4D18).
    Protection Circuits 182' provide battery charging and protec-              The battery voltage of the IPG is monitored and, when it
    tion functions for the Lithium Ion battery 180'. A charger coil         drops below a prescribed level, the IPG is taken through a
    171' inductively (i.e., electromagnetically) receives rf energy    55   slow shut down to a shutdown state via a series of intermedi-
    from the external charging station. The battery 180' prefer-            ate steps as shown in FIG. 4E. Advantageously, in one
    ably has a 720 mWHr capacity. The preferred battery 180' has            embodiment, the IPG is capable of properly recharging a
    a life of 500 cycles over 10 years with no more than 80% loss           lithium-ion battery cell that has been completely discharged
    in capacity. The battery charger circuits perform three main            to zero volts. As indicated in FIG. 4E, the battery voltage is
    functions: (1) during normal operation, they continually           60   measured at a prescribed time interval, e.g., once every 4
    monitor the battery voltage and provide charge status infor-            hours, sixteen samples are taken, averaged, the value stored,
    mation to the patient at the onset of a communication link, (2)         so as to provide an indication of the normal operation of the
    they ensure that the battery is not over-discharged, and (3)            system (block 4E01). The battery voltage and state are
    they monitor the battery voltage during a charging cycle to             reported to the HHP 202 if the IPG is interrogated (block
    ensure that the battery does not experience overcharging.          65   4E02). Should the battery voltage fall below a minimum
    These functions are explained in more detail below in con-              level, e.g., 3.6 V (block 4E03), then all parameter program-
    junction with FIGS. 9A, 9B and 9C.                                      ming is disabled, and telemetry is limited to status and ID
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    responses only (block 4E04). The IPG processor issues com-              well as the length of the program; a determination is made as
    mands to halt all stimulation, updates the status register, and         to whether the SEEPROM acknowledged (block 4F08); a
    reports to the HHP when the IPG is interrogated (block                  determination is made as to whether the code being read from
    4E05). The IPG processor then makes a copy of the working               the SEEPROM is finished (block 4F09) and if not, the code
    registers, current stimulation parameters, digital IC settings,    5    continues to be read 8 bits at a time (block 4F07); and then
    and CRC (error correction codes) in an appropriate memory               when all of the code has been loaded, a vector is formed that
    location, e.g., in a SEEPROM memory (block 4E06). The                   indicates where the code is loaded, and the processor jumps
    battery voltage is then measured once every 10 minutes by               there to begin execution of the code (block 4F10).
    taking sixteen samples, which are averaged, and the voltage is
    reported to the HHP if the IPG is interrogated (block 4E07).       10
                                                                               As described above, it is thus seen that the implant portion
    If the battery voltage falls below a first prescribed level,            10 of the SCS system of the present invention (see FIG. 1)
    designated as VBAT (3.0±0.1 V), and if HEXTRESET is                     includes an implantable pulse generator (IPG) 100 as
    asserted, then all systems in the IPG are halted (block 4E08).          described in FIGS. 4A-4F. Such IPG includes stimulating
    Should the battery voltage fall below a second prescribed               electronics (comprising programmable current sources and
    level, designated as the battery protection cutoff (2.5 V)         15
                                                                            associated control logic), a power source, and a telemetry
    (block 4E09), then the battery protection circuitry discon-             system. Advantageously, the power source may be recharged
    nects the battery from the main circuit (block 4E10). Note that         over and over again, as needed, and may thus provide a long
    the battery is not disconnected from the battery protection             life, as well as a high current output capacity.
    circuit, just from the main circuit. Although there may be a               It is further seen that an important feature of the present
    temporary battery voltage increase when the battery is first       20   invention is its ability to map current fields through selective
    disconnected from the main IPG circuitry, the battery voltage           control of the current sources which are attached to each
    will eventually continue to decrease at a slower rate. (Note:           electrode node. In one preferred embodiment, the invention
    battery voltage decrease continues due to the small current             achieves its desired function of being able to independently
    needed to power the battery protection circuitry and battery            map a desired current to each electrode node through the use
    self discharge.) When the battery voltage rises above 2.6 V,       25   of a processor 160', one or more ASIC' s 190' or 191', sixteen
    the protection circuitry reconnects the battery, and HEXTRE-            independent bi-directional output current DACs (FIG. 4C,
    SET is asserted (block 4E14). When the battery voltage rises            elements 4C05-4C07), and timers and control registers, con-
    above the VBAT threshold (3.0±0.1 V) (block 4E15), then                 figured to operate in a state machine architecture. The ASIC
    HEXTRESET is released, and the process goes through the                 has a standard bus interface to the microcontroller allowing
    power-on-reset process (block 4E16). After the Power-On-           30   simple, direct and efficient access to all of its control and
    Reset process, the battery voltage continues to be monitored            stimulation parameter registers. Triggering and timing con-
    every 10 minutes (block 4E07). When the battery voltage                 trol circuitry allow the simultaneous activation of any of the
    rises above the level to restore stimulation (3.8 V)(block              channels. In one embodiment (FIG. 4A), a low impedance
    4E12), the stimulation is re-enabled, normal operation                  switching matrix advantageously allows the mapping of each
    resumes, and telemetry is re-established for all command           35   current generator's two outputs to be assigned to any of the
    types (block 4E13). If the battery 180' comprises a non zero            pulse generator electrode nodes (or leadwires, which are
    volt battery, and if the battery voltage falls below a third            attached to the electrode nodes) or to the case. In a preferred
    prescribed level, designated as the battery protection circuit          embodiment (FIGS. 4B and 4C), there is no need for a low
    minimum value (1.2 V) (block 4E11), then the battery is                 impedance switching matrix. Rather, independent bidirec-
    permanently disabled from the circuit, and the protection FET      40   tional current sources for each of the sixteen electrodes (inde-
    switches cannot be re-activated (block 4E17).                           pendently operable output current DACs) allow the output
       As indicated above, the processor IC 160' includes a ROM             currents to be mapped to any of the output electrode nodes or
    boot loader 735 (see FIG. 4B). A 1 Kbyte section of the Boot            to the case. In this manner, one or more current generators
    ROM 735 is organized as 512 words, located at FFC00                     may be attached to any one or more electrode nodes (lead-
    (HEX), consistent with the Intel specification for reset vectors   45   wires) and thus electrodes, and conversely, any electrode
    used with an 8086 microprocessor. When a reset occurs, the              node (leadwire) may be attached to one or more current
    processor begins execution at memory location FFFFO                     generator outputs, grounded, or left open. The significance of
    (HEX). The instruction at this location causes a jump to the            the biphasic, or (in some instances) multiphasic, nature of the
    starting address within the boot space for the boot code. The           stimulation pulses is that currents may be actively driven in
    boot code contains a program that loads further code from the      50   either the anodic or cathodic direction to the output electrode
    serial boot SEEPROM 162' located off-chip. The processor                nodes of the current generators. This feature, along with the
    Boot ROM flow chart is shown in FIG. 4F.                                matrix switching of output leads, or independently operable
       FIG. 4F shows that the following steps are performed dur-            output current DACs, depending upon the embodiment used,
    ing a ROM boot load: the CPU starts or is rebooted (block               allows the creation of "virtual" electrodes and stimulation
    4F01); the segment registers are reinitialized and power is        55   current field control, not possible with other known designs.
    shut off to unnecessary areas, and the watchdog circuit opera-          This feature thus provides an important advance in the ability
    tion is acknowledged (block 4F02); a transaction begins with            to direct the stimulation pulses to pools of target neurons in
    the offchip SEEPROM 162' to set the initial page address of             the spinal cord.
    a dummy write cycle (block 4F03); a determination is made                  In use, the IPG 100 is typically placed in a surgically-made
    as to whether the SEEPROM acknowledged (block 4F04); if            60   pocket either in the abdomen, or just at the top of the buttocks,
    acknowledgment occurred, then a transaction begins with the             and detachably connected to the lead system (comprising lead
    SEEPROM to begin a read transaction (block 4F05); a deter-              extension 120 and electrode array 110). While the lead system
    mination is made as to whether the SEEPROM acknowledged                 is intended to be permanent, the IPG may be replaced should
    (block 4F 06); if acknowledgment occurred, then a transaction           its power source fail, or for other reasons. Thus, a suitable
    begins with the SEEPROM wherein eight bits of data are read        65   connector, e.g., the snap-on tool-less connector disclosed in
    and placed in the offchip SRAM 163' (block 4F07). The first             U.S. patent application Ser. No. 09/239,926, filed Jan. 28,
    four bytes of data are used to specify the location in SRAM as          1999, now U.S. Pat. No. 6,198,969, or other suitable connec-
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    tors, may advantageously be used to make the connection              of the percutaneous extension may then be connected to either
    between the lead system and the IPG 100.                             the trial stimulator port 226 or the external cable 134.
       Once the IPG 100 has been implanted, and the implant                 The percutaneous extension 132 is typically 30 cm in
    system 10 is in place, the system is programmed to provide a         length and no greater than 3 mm in diameter (when it connects
    desired stimulation pattern at desired times of the day. The 5 with a single-8 electrode array, e.g., an in-line electrode hav-
    stimulation parameters that can be programmed include the            ing 8 electrode contacts, or an electrode of the type shown in
    number of channels (defined by the selection of electrodes           FIG. 2A(G)), or no greater than 4 mm in diameter (when it
    with synchronized stimulation), the stimulation rate and the         connects with a dual-8 electrode array, e.g., an electrode of
    stimulation pulse width. The current output from each elec-          the type shown in FIG. 2A(E)).
    trode is defined by polarity and amplitude. Additionally, as 10         The external connectors used on the external cable 134 and
    indicated above, a run schedule may be downloaded and                the percutaneous extension 132 are easy to connect and dis-
    stored in the memory of the IPG 100, which when used                 connect into their mating connectors or plugs. More than one
    enables the IPG only at programmed times of the day.                 external cable 132 may be provided, as needed, e.g., of dif-
       The back telemetry features of the IPG 100 allow the status       fering lengths, in order to allow the trial stimulator to be
    of the IPG to be checked. For example, when the external 15 moved around the operating table. Such cables, of course,
    hand-held programmer 202 (and/or the clinician programmer            must be sterilized for use within the OR.
    204) initiates a programming session with the implant system            The external trial stimulator (ETS) 140 has circuitry that
    10 (FIG. 1), the capacity of the battery is telemetered so that      allows it to perform the same stimulation functions as does
    the external programmer can calculate the estimated time to          the IPG 100. Further, the circuitry within the external trial
    recharge. Additionally, electrode impedance measurements 20 stimulator 140 allows it to receive and store programs that
    are telemetered at the beginning of each programming ses-            control its operation through a suitable telecommunicative
    sion, or as requested. Any changes made to the current stimu-        link 205 (FIG. 1) established with the clinician programmer
    lus parameters are confirmed through back telemetry, thereby         204. Thus, with such link 205 established, the clinician pro-
    assuring that such changes have been correctly received and          grammer 204 may be used to program the external trial stimu-
    implemented within the implant system. Moreover, upon 2 5 lator 140 in much the same way that the clinician programmer
    interrogation by the external programmer, all programmable           is used to program the IPG 100, once the IPG 100 is
    settings stored within the implant system 10 may be uploaded         implanted. Advantageously, the link 205 is bidirectional,
    to one or more external programmers.                                 thereby allowing programming data sent to the stimulator 140
       Turning next to FIG. 5, one type of external trial stimulator 3 0 from the clinician programmer 204 to be verified by sending
    (ETS) 140 that may be used as a component of the invention           the data, as stored in the stimulator 140, back to the program-
    is illustrated. As explained previously in connection with           mer 204 from the ETS 140. In one embodiment, the link 205
    FIG. 1 and FIG. 2B, the ETS 140 connects to the electrode            comprises an infra-red (IR) link; in another embodiment, the
    array 110 through a percutaneous extension 132 and an exter-         link 205 comprises a cable link. The link 205 is preferably
    nal cable 134. Because of this percutaneous, or "through-the- 3 5 functional over a distance of at least 7 feet, thereby allowing
    skin" connection, the trial stimulator 140 is also referred to as    the trial stimulator to be easily used in an operating room
    a "percutaneous stimulator" 140. The main purpose of the             (OR) environment.
    ETS 140 is to provide a 2-7 day stimulation trial with the              The external trial stimulator 140 further includes limited
    surgically placed electrode array 110 before implanting the          programming functions that allow some modification of
    IPG 100.                                                          40
                                                                         some of the programmable values using the control buttons
       As seen in FIG. 5, the ETS 140 is housed within a hand-           224 and 225. A flat display screen 222 on which programming
    held case 220. Displayed on the case 220 are a set of intuitive      or other information may be displayed is also provided. Typi-
    control buttons 224, 225 that control the operation of the           cally, the screen 222 is used to show programmable values as
    device. Advantageously, these control buttons are the same           they are selected and/or modified. A hidden physician access
    as, or very similar to, the types of buttons found on the patient 45 screen may also be displayed on the stimulator screen 222
    hand held programmer, or HHP (explained below). A cable              when enabled. This allows the physician to verify program-
    contact port 226 having a multiplicity of contacts, e.g., 16         ming and patient data, as well as to check the status of the
    contacts, is provided on one side of the device into which the       operating condition of the stimulator.
    external cable 134 and/or percutaneous extension 132 may be             Advantageously, the external trial stimulator 140 is com-
    detachably connected. Typically, during implant of the elec- 50 pact in size, and can be easily held in one hand. To make it
    trode array, when the ETS 140 is under control of a surgeon,         even easier to carry, especially by the patient, a belt clip is
    the ETS 140 is connected to the electrode array 110 through          placed on its back side, thereby allowing it to be worn on a
    the external cable 134 (see FIG. 1) and the percutaneous             patient belt, much like a pager or cell-phone. The device case
    extension 132. Then, after implant, during a trial period when       includes an accessible battery compartment wherein replace-
    the stimulator 140 is under control of the patient, the trial 55 able (and/or rechargeable) batteries may be carried having
    stimulator 140 is connected to the electrode array 110 directly      sufficient capacity to provide operating power to both its
    through the percutaneous extension 132. In other words, once         internal pulse generator circuitry and programming electron-
    the patient leaves the operating room (OR), there is generally       ics for at least one week.
    no need for the external cable 134.                                     The external trial stimulator 140, or ETS, is first used in the
       As seen in FIGS. 1 and 2B, the percutaneous extension 132 60 operating room (OR) to test the electrodes of the electrode
    is a temporary lead extension that is used to connect the            array 110 during placement of the electrode array. During
    electrode array 110 to the external trial stimulator 140 and/or      such OR use, it is critical for the surgeon to quickly access and
    external cable 134 during the trial period. This lead is posi-       adjust amplitude, pulse width, rate, channel and electrode
    tioned by the surgeon using suitable tunneling tools 152 to          selection without having to switch back and forth between
    create a tunnel between the array 110 and the percutaneous 65 screens or scroll through each parameter. Immediate access to
    exit site. Once the tunnel is made, the percutaneous extension       the pulse amplitude and the electrode to which the pulse is
    is pulled through for connecting to the array. The exiting end       applied are most important. The communication link 205
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    established between the stimulator 140 and programmer 204                  The user interface subsystems 603 provide access to the
    greatly facilitate such quick access.                                   user interface (UI), e.g., data-entry forms through which the
       Once the electrodes have been tested with the external trial         user provides information to the program, and also encapsu-
    stimulator 140 in the OR environment immediately after                  late the data access functionality. The UI subsystem provides
    implant, and the surgeon is satisfied that the trial stimulator    5    an interface that provides access to the patient information
    has been programmed in an acceptable manner and is func-                maintained in a data manager 608. Other subsystems, includ-
    tioning properly, the ETS 140 is then used by the patient               ing the ClinProApp 602, must use the user interface 603 to
    during a trial period, e.g., of from 2-7 days. During this time,        access the patient information contained in the data manager
    the patient may perform limited programming of the stimu-               608.
    lator 240, e.g., to set the channel, amplitude, rate and on/off    10      The hardware subsystems 604 and/or 605 provide com-
    programming functions.                                                  mand generation and interpretation for the specific hardware
       Next, the clinician programming system will be described.            they encapsulate. The hardware subsystems use the port sub-
    This system includes, as seen in FIG. 1, a clinician program-           systems 606 and/or 607 to communicate with the physical
    mer 204 coupled to a directional device 206. The clinician              hardware. The hardware subsystems expose functionality
    programmer 204 typically interfaces with the patient hand-         15   specific to the hardware (e.g., Set Amplitude, Set Pulse
    held programmer 202 in communicating with the implanted                 Width, etc.) through the base interface 601 to the rest of the
    pulse generator (IPG) 100. As described above, the clinician            system. This interface is used by the corresponding UI sub-
    programmer 204 may also be selectively coupled to the exter-            systems 603 to change the hardware settings.
    nal trial stimulator 140.                                                  The port subsystems 606 and/or 607 provide access to the
       The clinician's programming system is used to optimize          20   physical ports on the system, e.g., an RS-232 port or an
    the programming of the implant for the patient. In a preferred          infrared port. They expose functionality to enumerate avail-
    implementation, such system comprises software, referred to             able ports, open, read, write and close a specific port. The port
    as Clinician's Programmer Software (referred to as "ClinPro"            subsystems are typically used by the hardware subsystems.
    software) with operates on a 32 bit Windows operating sys-              Other special subsystems (e.g., a terminal emulator sub-
    tem. The function of the ClinPro software is to program the        25   system) may use the port subsystem for diagnostic purposes.
    IPG. Programming the IPG involves setting the pulse width,                 The advantage of using the type of architecture shown in
    amplitude, and rate through which electrical stimuli are to be          FIG. 1 is that it provides the system the ability to develop new
    applied to the patient through the selected combinations or             functionality as a new subsystem and then integrating it into
    groups of electrodes on the electrode array 110 (FIG. 1). As            the existing system without modifying the existing sub-
    such, any software or other programming means could be             30   systems. For example, after the initial software is shipped and
    used to achieve this programming purpose. The description of            installed at a site, a second user interface add-in can be devel-
    the ClinPro software that follows is provided solely to provide         oped independently and shipped to the site and installed with-
    an overview of the preferred software used for this IPG pro-            out any modification to the existing subsystems. The same
    gramming purpose. Further details associated with program-              holds true for hardware subsystems as well. The existing user
    ming the IPG may be found in U.S. Pat. No. 6,052,624; U.S.         35   interface subsystem will communicate with the new hardware
    patent application Ser. No. 09/550,217, filed Apr. 17, 2000,            subsystem or as long as the new hardware subsystem imple-
    (now U.S. Pat. No. 6,393,325); and U.S. Patent Application              ments the previous hardware subsystem's interface.
    No. 60/172,167, filed Dec. 17, 1999; which patent and appli-               The ClinPro application 602, FIG. 6A, manages the cre-
    cations are incorporated herein by reference. The details asso-         ation and usage of the different add-in objects. Each add-in
    ciated with the ClinPro software are not presented herein          40   implements an interface that provides the add-in name, type,
    because such details are not viewed as a critical part of the           etc. The application uses this interface to get information
    invention.                                                              from an add-in. The application also provides its own inter-
       The ClinPro software is used on a conventional personal              face to the add-ins for getting the active hardware, active port,
    computer, µC, e.g., a laptop or notebook computer, pro-                 etc. For example, when the UI interface 603 add-in wants to
    grammed with a 32-bit Windows operating system, such as            45   send information to the hardware, it first gets the active hard-
    Windows98 or Windows2000. The ClinPro software in com-                  ware from the application and then calls the corresponding
    bination with the hardware on which it is used is referred to as        method exposed by the interface of the hardware add-in.
    the "ClinPro system."                                                      The user interface add-ins 603 implement the user interface
       A block diagram of the ClinPro system is shown in FIG.               for taking patient threshold measurements, generating reports
    6A. As seen in FIG. 6A, The ClinPro system consists of             so   and implementing other functionality. The UI also imple-
    several subsystems (add-ins) that interact with each other.             ments a user interface to provide access to the patient infor-
    The add-ins are separate and independent of each other. The             mation, program information, measurement information, etc.
    only way the different add-ins communicate with each other              from the database 608 and the Add-in interface. The UI add-
    is through well defined base interfaces 601. An interface is a          ins reference the application interface to get active hardware,
    protocol that defines properties and methods that can be per-      55   and the hardware interface to set the different parameters.
    formed on a component. For one add-in to interact with                     The hardware add-ins implement the functionality pro-
    another add-in, the first add-in must use the interface pro-            vided by the hardware. This includes setting amplitude, pulse
    vided by the second add-in, and vice-versa. Advantageously,             width, rate, etc. The hardware add-ins implement the add-in
    this provides the ability to develop new add-ins without                interface and a hardware interface to expose methods to set
    affecting the existing add-ins. The add-ins register them-         60   the amplitude, pulse width, rate, etc. The hardware add-ins
    selves in the operating system registry when installed.                 reference the application interface to get available ports to
       As shown in FIG. 6A, the ClinPro system contains only one            poll for hardware, set the active port, etc. They also reference
    subsystem of the ClinProApp type 602, and one or more of                the port add-in interface to transmit and receive data from the
    other types of subsystems like the User Interface subsystem             physical hardware.
    603, the Hardware subsystems 604 and 605, and the Port             65      The port add-ins implement the functionality to access the
    subsystems 606 and 607. Each subsystem type has a certain               I/O ports in the system. This includes opening and closing a
    basic functionality that it provides to the ClinPro system.             port, reading and writing to a port, etc. The port add-ins
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    implement the add-in interface and a port interface which               As soon as the clinician programmer is initially connected
    exposes methods to change port settings, open a port, close a        to the implant system, hardware recognition occurs. That is,
    port, write to a port, read from a port, etc.                        the system identifies the stimulator, the patient programmer,
       The clinician programmer 204, including the ClinPro sys-          and electrode availability (through electrode impedance mea-
    tem, is configured to talk to the IPG 100 via the hand-held 5 surements).
    programmer 202. In a preferred implementation, the ClinPro
                                                                            For safety, the patient programmer 202 is coded to work
    application is installed on a notebook or laptop computer
                                                                         only with a specific implant system. Should the patient lose
    running the Windows98 operating system. The computer is
                                                                         his or her programmer 202, then the physician, using the
    connected to the HHP 202 through an IrDA compatible infra-
    red serial port using an infra-red cable extension. The HHP 10 clinician programmer, is able to code a new programmer for
    202 is then connected to the IPG using radio frequency (RF)          use with the patient's implant system. The clinician's pro-
    communications. While any suitable communications proto-             grammer, in contrast, is able to communicate to any implant
    col could be used for such RF communications, a preferred            through any programmer 202 by using an overriding univer-
    communications format is shown in FIG. 7E, described                 sal code. This allows the patient code to be extracted from the
    below.                                                            15 IPG 100 and used to re-code a new programmer 202.
       Thus, the ClinPro system, with its various add-in sub-               When an IPG 100 is in contact with a clinician programmer
    systems or modules, maintains a patient data base, and is able       204, the device settings and hardware information (model,
    to program all features of the implant in a simple and intuitive     serial number, number of electrode by impedance, and the
    manner. Additionally, the system allows threshold measure-           like) are first uploaded to the SCS add-on programming soft-
    ments to be made, operational electrodes to be identified, and 20 ware in the clinician programmer 204. All devices in the link
    is able to interface directly with the patient.                      with the IPG, e.g., the hand held device 202, and/or the trial
       A key feature of the ClinPro system is to include a joystick      stimulator 140, and clinician programmer 204, and the clini-
    accessory, or equivalent directional device 206 (FIG. 1). Such       cian programmer 204, are synchronized so that each device
    device, coupled with appropriate add-in subsystem software,          receives accurate and current data. Programming changes
    allows the patient to interface with the clinician programmer 25 made to the stimulator(s) are confirmed through back telem-
    204, external trial stimulator 140, or other processor (e.g., a      etry or other means before the SCS add-on software reflects
    hand-held computer, such as a PalmPilot® computer, or                the change. Advantageously, the physician is able to program
    equivalent) so as to allow the patient, or other medical per-        the stimulator through either the patient programmer 202 or
    sonnel assisting the patient, to configure electrodes and adjust     the clinician programmer 204 while linked together through
    various stimulation parameters. This directional program- 30 the link 203, with all programming changes being mirrored in
    ming is described in more detail in U.S. Pat. No. 6,052,624,         both devices.
    entitled "Directional Programming for Implantable Electrode             Various programming features of the ClinPro software
    Arrays", incorporated herein by reference. As described in           make the programming system extremely user friendly. In the
    the '624 patent, such directional programming may advanta-           preferred embodiment, these programming features include
    geously be performed both in the OR environment and in the 35 at least the features described below.
    doctor's office. The clinician or nurse simply operates the             A patient information window is accessible through the
    joystick feature, or equivalent directional programming fea-         programming system that allows either a new patient or an
    ture, during surgery in conjunction with the trial stimulator so     existing patient file to be created or opened. Such patient file
    as to configure and select the electrodes that provide stimu-        is presented as a blank or existing window, including a series
    lation. The patient may then use the joystick feature to finalize 40 of tiered sub-windows, including: "patient information,"
    the device programming during a post implant adjustment              "appointment," and "case history". Selecting a new patient
    session. Thus, whether communicating with the external trial         places the "patient information" window at the top tier for
    stimulator 140 or with the IPG 100 through the HHP 202, the          data entry. Selecting from patient files places "appointment"
    directional programming device 206 is able to be effectively         window at the top tier. The patient name is automatically
    used to configure which electrodes provide stimuli to the 45 written on all patient file windows. When the system detects
    patient.                                                             an implant serial number that matches a patient file, that
       In the preferred embodiment, the Clinician's programming          patient file is automatically opened and displayed as a starting
    system is thus designed to operate as windows compatible             point.
    software. It is user friendly and may provide (in some ver-
    sions) automated patient fitting and virtual electrode direc- 50        The "patient information" window includes entry fields for
    tional programming. It is capable of maintaining a patient           last name, first name, birth date, and a patient identification
    data base and graphic reports. It also provides, through cal-        number. A drop down menu provides a list of patient diagno-
    culations based on measurements made, an automatic esti-             sis that can be entered, i.e., nerve injury, Sciatica, Arachnoidi-
    mate of the implant battery capacity.                                tis, and the like. Also included is a listing of the patient's
       In operation, as seen in FIG. 1, the clinician programming 55 hardware, which is entered automatically based on the hard-
    system communicates to the patient programmer 202 over a             ware that is detected when the devices are linked.
    telecommunicative or other communication link 203, which                The "appointment" window displays the patient's name
    then telemeters the data to the IPG 100. Likewise, the clini-        and hardware, and further includes entry fields with drop-
    cian' s programmer is able to communicate to the external trial      down selections for diagnosis, reason for visit (e.g., trial,
    stimulator 140 over the telecommunicative link 205. The 60 implant, replacement, programming, and the like), and a
    communication links 203 and 205 are reliable links capable           notes field.
    of operating in the busy OR environment. Data speeds to and             The "case history" window presents a figure of the human
    from the IPG 100, through the patient programmer 202 inter-          body, or portions of the human body, on which are illustrated
    mediary link, are fast enough to not noticeably delay pro-           the pain sites that have been treated in the past, and a chro-
    gramming. A communication link status between devices is 65 nology of the patient appointment dates. Selecting a patient
    always depicted on a screen, or other display device, associ-        appointment date causes the stimulation programs, illustra-
    ated with the programmer 204.                                        tions and notes that were applied on that date to be displayed.
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    These case history files may not be altered through normal                  ture may be used with expert algorithms to automate the
    means, but are rather intended to be saved as permanent                     programming process. Alternatively, the patient and clini-
    archived files.                                                             cian/physician may simply work together and use a trial-and-
       Various patient-specific reports may be generated by the                 error procedure in order to best fit the paresthesia segments
    system. These reports when generated may be printed, faxed,           5     with the pain segments.
    saved to a file, or sent via email to a designed location. The                 Programming window screen(s) is/are accessible from at
    reports include, as a header, the logo or other identification of           least a patient information window and a main menu. The
    the clinic were created, the patient's name, birth date and                 programming screen is used to program electrode configura-
    implant type. The body of the reports may include: (1) patient              tions and the desired output parameters for each of the avail-
    information, i.e., the information captured in the patient            10    able channels. Representative current stimulus waveforms for
    information windows; (2) the patient visit history, i.e., a list of         selected electrodes are displayed in area 236 of the screen
    dates the patient visited the clinic with reasons for the visit,            shown in FIG. 6B. Once selected, continual clicking of the
    the type of hardware used by the patient, and the implant                   selected electrode group toggles stimulation between active
    serial number; (3) the program report, i.e., the details of those           ON and PAUSED, with a settable slow start/end. The slow
    programs used by the patient to provide stimulation, the elec-        15    start/end feature is explained in more detail below. Selection
    trode configuration, and the like; (4) the measurement history,             of another electrode channel does not change any of the
    i.e., a graphical and/or tabular representation of the measure-             settings of a previous channel.
    ments (bipolar and/or monopolar threshold and maximum                          Before electrodes are displayed on the screen for program-
    levels) for each electrode. Typically this is done in one or a              ming, the array type and orientation must be selected. The
    series of graphs or tables with the electrode being displayed         20    number of implanted and available electrodes is typically
    on the x-axis, and the measurement unit on the y=axis; and (5)              automatically determined by impedance measurements dur-
    a stimulation evaluation, i.e., a paresthesia/pain illustrative             ing hardware interrogation. Pointing to the electrode box 230
    representation.                                                             provides an electrode array selection, based on the number of
       The ClinPro programming software further provides a pro-                 detected electrodes, with preset visual forms. Once the array
    gramming window that facilitates programming the stimula-             25    configuration is selected, it is displayed on the screen with
    tor. The programming window, in one embodiment, includes                    point and click selectable electrodes. For example, one click
    at least three tiered sub-windows, which may be titled, e.g.,               specifies a cathode; two clicks specifies an anode; and a third
    "measurements", "programming", and "advanced". The pro-                     click specifies a neutral (floating or non-connected) elec-
    gramming window is advantageously accessible from both a                    trode. Cathode, anode and neutral selections are indicated by
    main menu and a patient information window.                           30    a color change. By clicking an electrode to a cathode or anode
       The measurement window, which may also be referred to                    state, the electrode is assigned to the active channel. If
    as a "threshold" window, is used to set maximum and mini-                   desired, a representation of current fields created by elec-
    mum thresholds, and to map pain and paresthesia with                        trodes of a channel may also be displayed within this repre-
    implanted electrodes to anatomical sites. A representative                  sentation.
    measurement window is illustrated in FIG. 6B. (In practice,           35       The amplitude, pulse width and rate are adjustable by
    there may be more than one window, each featuring a differ-                 mouse or arrow keys for the selected channel, using e.g., the
    ent measurement or setting.) As seen in FIG. 6B, included in                "channel settings" area 232A, 232F and 232P of the program-
    the display of the measurement window is a representation                   ming screen. Amplitude, on this main programming screen, is
    230 of the type and orientation of the electrode array(s) that              programmable by channel, and applied as a distribution
    has been selected. Such selection is made from a group of             40    between maximum and sense thresholds for a group of
    possible electrode choices. Monopolar and bipolar sensitivity               assigned electrodes. The amplitude for the group may be
    (max and min) thresholds may then be determined for each                    selected as a level from 1-10, where a "1" represents the sense
    electrode for the displayed electrode array configuration,                  threshold for each electrode in the group, and a "10" repre-
    with the aid of amplitude, rate (frequency), and pulse width                sents the maximum threshold. The pulse width and rate are
    settings 232A, 232F and 232P, respectively. In one embodi-            45    also selectable for the group, and applied to the group-as-
    ment, maximum and minimum thresholds map to amplitude                       signed electrodes. Although the programming software per-
    levels designated by numbers from 1 to 10 for each electrode                mits a physician to program electrodes by group, each elec-
    (with respect to monopolar or bipolar or multipolar configu-                trode is individually controlled by the implant, and
    rations), as described in U.S. Patent Application Ser. No.                  telemetered data is electrode specific. When a group is pro-
    60/172,167, filed Dec. 17, 1999, incorporated herein by ref-          s()   grammed to stimulation rates over 150 pps, the number of
    erence. Pain and/or paresthesia mapping is available to iden-               additional groups may be limited (due to battery capacity). A
    tify electrode effects through the threshold testing process. To            toggle lock/unlock button for each parameter allows the pro-
    aid in this process, a human figure 234 is displayed and                    gramming physician to set which parameters are available
    divided into sections for selection.                                        within the hand-held patient programmer (discussed below in
       In use, a pain or paresthesia is activated by toggling a color     55    conjunction with FIGS. 7A-7E).
    box, i.e., red or blue, that is superimposed over the affected                 In one embodiment, the settings for up to four electrode
    body area. One color, e.g., red, represents pain; while the                 groups are referred to as a "program." Selectable default
    other color, e.g., blue, represents paresthesia. As the mouse               parameter settings may thus comprise a program. A store/
    pointer passes over different body segments, such segments                  apply button records all the settings with a program number.
    change color to the active color and can be locked to the active      60    Up to twenty programs can be named, stored and selected
    color by clicking the mouse. The paresthesia color is always                form a drop-down program list. Thus, programs may be
    transparent (top layered) so that pain segments can be seen.                sequentially or selectively tried by the patient so that the
    Multiple body segments can be selected individually, or as a                patient may compare how one "program" feels compared to
    group at intersections. By clicking on a segment, the active                another.
    color is toggled off and on without affecting the alternate           65       Changes in programming are duly considered relative to
    color. The object is to match or map the paresthesia segments               the estimated effect they will have on a projected battery
    with the pain segments. Such pain/paresthesia mapping fea-                  discharge cycle. Should a programming change fall below a
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    two day recharge and/or less than a three year expected life, or         parameters at any given time, and provide for the selection
    other set times, a pop-up window appears with suitable warn-             between channels or screens. Some functions or screens may
    ings and possible recommendations. As needed, an emer-                   be accessible by pressing particular buttons in combination or
    gency off button turns all stimulation OFF, with direct key-             for extended periods of time. In a preferred embodiment, the
    board and mouse click access.                                       5    screen 240 is realized using a dot matrix type graphics display
       It is thus seen that the programming window(s) allows the             with 55 rows and 128 columns.
    output parameters for each channel to be programmed with                    The button pad 241, in a preferred embodiment, comprises
    additional capability and specificity. For example, biphasic             a membrane switch with metal domes positioned over a flex
    verses passive balance pulses, active multipolar driving of              circuit, which bonds to the top housing of the HHP. A keypad
    cathodes and anodes (field focusing), and amplitude selection       10   connector connects directly a printed circuit board (µCB) of
    for individual electrodes.                                               the HHP, and the bonding to the housing seals the connector
       Unique programming algorithms may also be employed                    opening.
    which provide, e.g., automated and directional programming                  In a preferred embodiment, the patient handheld program-
    features. Automated programming may be used, e.g., to use                mer 202 is turned ON by pressing any button, and is auto-
    known thresholds and pain/paresthesia mapping to recom-             15   matically turned OFF after a designated duration of disuse,
    mend configurations and parameters based on preset rules                 e.g., 1 minute. One of the buttons, e.g., the IPG button 242,
    and database information. Automated programming maps                     functions as an ON-OFF button for immediate access to turn
    paresthesia sites over pain sites. Directional programming               the IPG on and off When the IPG is turned ON, all channels
    features may be as disclosed in U.S. Pat. No. 6,052,624,                 are turned on to their last settings. If slow start/end is enabled,
    previously referenced. Such directional programming uses a          20   the stimulation intensity is ramped up gradually when the IPG
    joystick, or other means, to configure electrodes within cer-            (or ETS) is first turned ON with the HHP. When the IPG is
    tain limitations for selection, polarity, and amplitude distri-          turned OFF, all channels are turned off. If slow start/end is
    bution in response to a directional input and in an intuitive and        enabled, the stimulation intensity may be ramped down
    physiologic manner.                                                      gradually rather than abruptly turned off Another of the but-
       Advantageously, as previously indicated, the program-            25   tons, e.g., the SEL button 243, functions as a "select" button
    ming software used within the clinician programmer 204                   that allows the handheld programmer to switch between
    (FIG. 1), whether the referenced ClinPro software or other               screen displays and/or parameters. Up/down buttons 244 and
    suitable software, may run under conventional operating sys-             245 provide immediate access to any of three parameters,
    tems commonly used within personal computers (µCs). The                  e.g., amplitude, pulse width, and rate.
    preferred clinician programmer is a Pentium-based [IC, oper-        30
                                                                                Also included on the screens shown on the display 240 of
    ating at 100 MHz or more, with at least 32 Mbytes of RAM.
                                                                             the handheld programmer 202 are status icons or other infor-
    Examples of an operating system for use in such a system
                                                                             mational displays. A battery recharge countdown number 246
    include Windows98, Windows2000 or Windows NT 4.0/5.0.
                                                                             shows the estimated time left before the battery of the IPG
    Such programming software also supports multiple lan-
                                                                             needs to be recharged. A battery status icon 248 further shows
    guages, e.g., English, French. German, Spanish, Japanese,           35
                                                                             or displays the estimated implant battery capacity. This icon
    etc.
                                                                             flashes (or otherwise changes in some fashion) in order to
       Turning next to FIGS. 7A, 7B and 7C, a brief description of
                                                                             alert the users when a low battery condition is sensed. Every
    the patient handheld programmer (HHP) 202 will be pre-
                                                                             time the patient programmer is activated to program or turn on
    sented. As described previously, the patient HHP 202 com-
                                                                             the IPG, the actual battery status of the implanted pulse gen-
    prises an RF handheld battery-operated device that commu-           40
                                                                             erator (IPG) is interrogated and retrieved by telemetry to
    nicates with the IPG 100, the external trial stimulator 140, or
                                                                             reconcile actual verses estimated battery capacity. Other sta-
    the clinician programmer 204. Advantageously, the electrical
                                                                             tus icons 250 are provided that display the status of the
    circuitry and user interface of the patient handheld program-
                                                                             patient-programmer-to-implant link and the patient-pro-
    mer 202 provide limited parameter control that is simple,
                                                                             grammer-to-clinician-programmer link.
    intuitive and safe. The programmer 202 is compact in size,          45
    includes a lighted flat panel display screen 240, and allows a              As a safety feature, the physician may lock out or set
    plurality of separate programs to be stored therein. The screen          selectable parameter ranges via the fitting station to prevent
    240 may display programming information for the patient; or              the patient from accessing undesirable settings (i.e., a lockout
    may display a "physician access screen" which is normally                range). Typically, locked parameters are dropped from the
    hidden to the patient. It operates using replaceable and/or         50
                                                                             screen display.
    rechargeable batteries, and preferably has an operating range               The main screen displayed by default upon activation of
    of about one-to-two feet or more with the IPG 100, and of at             the handheld programmer 202 shows amplitude and rate by
    least 7 feet from the clinician's programmer 204. All pro-               channel, as illustrated in FIG. 7A. As shown in FIG. 7A, the
    gramming systems (those used within the handheld program-                display is for channel 1, the amplitude is 7.2 ma, and the rate
    mer 202 and within the clinician's programmer 204) are              55   is 100 pps. Thus, it is seen that the channel number (or
    always appropriately synchronized (or otherwise coordinated              abbreviated channel name as set by the clinician programmer)
    with each other) so that any changes from one are reflected in           is displayed on the screen with the parameters. Amplitude is
    the other.                                                               the preferred default selection (i.e., it is the parameter that is
       A representation of one embodiment of the HHP 202 is                  displayed when the unit is first turned ON).
    shown in FIG. 7A. As seen in FIG. 7A, the HHP includes a            60      Whenever a displayed parameter is changed, the settings of
    lighted display screen 240 and a button pad 241 that includes            the IPG 100 are changed via telemetry to reflect the change.
    a series of buttons 242, 243, 244 and 245. (The number of                However, in order to assure that the IPG has received the
    buttons shown in FIG. 7A is exemplary only; any number of                telemetry signal and made the corresponding change without
    buttons may be employed, and in fact in a second preferred               a discrepancy between the IPG and the value displayed, a
    embodiment five buttons are employed.) The buttons pro-             65   back telemetry response must be received from the IPG
    vided within the button pad 241 allow the IPG to be tuned ON             before the screen value changes. Only the parameters that
    or OFF, provide for the adjustment or setting of up to three             have not been locked out from the clinician's programming
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    station are adjustable. Further, only those channels that have           While the physician's screen is activated, the up/down but-
    electrodes programmed for stimulation are selectable.                    tons 244 and 245 are used to select individual electrodes for
       In addition to the channel screens (FIG. 7A), another                 programming, identified on the screen by a highlighting (con-
    screen that may be displayed is a feature screen. A represen-            trast) change. The associated channel may also be selected.
    tation of a representative feature screen is shown in FIG. 7B.      5    For a highlighted (selected) electrode, the parameters may be
    The feature screen may be selected, e.g., by pressing and                adjusted. If the amplitude is set to zero, the electrode is turned
    holding the SEL button 243 for a predetermined time, e.g.,               OFF. By increasing the amplitude, the electrode is given a
    two seconds. The feature screen displays the selected pro-               cathode polarity, illustrated by a "—" over the highlighted
    gram, e.g., by displaying its number, as shown at location 252           electrode. From zero, if the amplitude is decreased, no
    in FIG. 7B. In addition to the program number (or other             10
                                                                             numeric value is displayed, but a "+" sign is shown both in the
    identification of the program), the screen also displays sched-
                                                                             amplitude value location 256 and over the highlighted elec-
    ule options, e.g., as shown at location 254. These schedule
                                                                             trode, indicating a passive anode. Electrode amplitudes
    options allow the patient to preset ON and OFF times of the
    IPG (e.g., turn ON at 6:00 AM and run until 10:00 PM, at                 should be set at the sense threshold for use in patient screens
    which time the IPG automatically turns OFF). Also displayed         15   as channel level 1.
    are the status icons and other informational displays 246, 248              It is thus seen that the patient handheld programmer 202 is
    and 250. For example, up to four programs may be stored in               small enough to hold comfortably in one hand. It has a flat
    the memory of the handheld programmer 202. Programs                      panel display that shows programmable values as they are
    comprise preset stimulation parameters for the four possible             selected and/or modified. As desired, it may be inserted into a
    channels, as explained previously. Programs may be named            20   cover-case which protects the buttons from being inadvert-
    and downloaded from the clinician programmer. Upon selec-                ently pressed. It further includes an accessible battery com-
    tion of a program (1-4), the stimulation parameters in the IPG           partment which allows its batteries to be replaced, as needed.
    are gradually adjusted (to prevent jumps or sudden leaps) to a           The buttons or other controls used on the handheld program-
    predetermined set of values. The patient may change the                  mer are easy to manipulate, and provide immediate access
    parameters from the main screen at any time, but selection of       25   (without scrolling and selecting) to ON/OFF, amplitude,
    a pre-defined "program" always causes the IPG to revert to               pulse width and rate settings. A visual display provided as an
    the settings defined for that program. If the patient adjusts
                                                                             integral part of the handheld programmer clearly labels each
    parameters so that they do not match a stored program, no
                                                                             parameter with the associated control button, and displays
    program name of number is displayed until the patient scrolls
                                                                             large characters for easy viewing. The handheld programmer
    to select one.                                                      30
       The patient may also record or overwrite a program from               reliably programs the IPG from a distance of at least 2 feet,
    the patient handheld programmer, i.e., without using the cli-            and actively displays the status of the communication link
    nician programmer 204. In one embodiment, this is done by                with the IPG. Further, when used as a relay device between
    setting the parameters to their desired value for the new pro-           the clinician's programmer 204 and the IPG 100, the hand-
    gram, and then pressing the up/down buttons 244 and 245             35   held programmer 202 provides a data rate and loop speed that
    simultaneously (which records the new settings as a new                  is sufficiently fast so that the patient can make programming
    program). The first time the up/down buttons 244 and 245 are             selection changes and quickly feel the result. As a safety
    pressed simultaneously to record a program (i.e., to record the          feature, any given handheld programmer 202 is able to com-
    current settings as a program), the program is assigned as               municate only with one IPG 100 when operated by the
    program number 1. The second time the up/down buttons are           40   patient, whereas a physician may (when the hidden physician
    pressed, the existing settings are stored as program number              screen is activated) use the handheld programmer 202 to
    two, and so on. Thus, the first four programs should be                  communicate universally with any IPG.
    recorded sequentially until all four are written. The parameter             From a circuit point of view, the HHP 202 includes the
    values associated with each of the new programs are stored in            elements shown in FIG. 7D. Such elements include a micro-
    non-volatile memory within the handheld programmer 202.             45   processor 620, or processor IC. A main battery 622, e.g., a
    Thus, in the event the IPG loses data, it may be easily reset to         single AA-sized battery cell providing 3.6 volts dc, provides
    a desired program by turning ON the handheld programmer                  operating power for the HHP. The voltage from the battery
    and selecting the desired program.                                       622 is regulated by a line regulator circuit 623, which line
       Additionally included within the handheld programmer                  regulator reduces the operating voltage to about 3.3 to 3.0
    202 is a hidden physician screen. One representation of such        so   volts dc. External Power-On Reset circuitry 624 controls the
    a hidden screen, shown in FIG. 7C, is made available so that             manner in which the HHP is turned ON. A keypad 625,
    medical personnel may use the handheld programmer 202 to                 coupled with key debouncer/ESD suppresser circuitry 626,
    set channels and electrodes. Access to the hidden physician              key reset circuitry 627, key interrupt generator circuitry 628,
    screen is made available through a specified coded button                and input port circuitry 629, combine to provide one of the
    combination, e.g., pressing the IPG button 242 and the              55   primary ways for manually sending control data to the HHP
    up/down buttons 244 and 245 simultaneously, followed by                  processor IC 620. The input port circuitry 629, as well as
    pressing a set sequence of the other buttons, e.g., pressing the         SRAM memory circuitry 630, connect with the processor IC
    SEL button 243 once, followed by the pressing the down                   620 via an I/O bus 632. The LCD screen 240, including
    button 245 twice. Once the hidden physician screen has been              appropriate driver circuitry, interfaces directly with the pro-
    activated, not only does the physician's screen appear, but         60   cessor IC 620 over a dedicated LCD bus 633. Control com-
    also a telemetered interrogation of the IPG is initiated in order        mands for the LCD display 240 are sent via the I/O bus 632
    to determine (e.g., through electrode impedance detection)               through an output port 634. Infrared communications with the
    which electrodes are available. The electrodes, which are                HHP 202 occur through an IrDA module 640 connected
    visibly displayed on the physician's screen at location 254,             through a wired serial communications port 642 and a UART
    may be tested. The parameter settings for a selected channel        65   circuit 644. The UART circuit 644 is connected to the pro-
    are displayed on the physician's screen at location 256, and             cessor IC 620 via a data and clock bus 645. Control for the
    the channel number is likewise displayed at location 258.                UART circuit 644 is obtained via the I/O bus 632 through
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    another output port 635. Another memory circuit 646, e.g., a            control circuitry within the IPG provides the proper charging
    serial EEPROM circuit, is connected to the processor IC 620             protocol to charge the Lithium Ion battery. The charger is
    via a serial ROM port 647.                                              designed to charge the IPG battery to 80% capacity in two
       As further seen in FIG. 7D, a crystal 636 is connected to the        hours, and to 100% in three hours, at implant depths of up to
    processor IC and is connected so as to provide the basic           5    2.5 cm. When charging is complete, an audible tone is gen-
    oscillator/clock signal used by the processor as it carries out         erated by the charger to alert the user to remove the charger.
    its various functions. In the preferred embodiment, the crystal         An alignment indicator also provides audible feedback to the
    636 oscillates at a frequency of about 1.049 MHz. Also, a               user for location the IPG.
    piezo alarm 634 is connected to the processor IC in order to                As seen in FIG. 8, the charging station includes a two part
    allow audible alarm tones to be generated.                         10   system comprising a portable charger 208 and a charging base
       Additionally, as seen in FIG. 7D, the processor IC 620               station 210. The charging port 210 is connected to an AC plug
    includes an RF module 650 that connects to an antenna 652               211, and may thus be easily plugged into any standard 110
    via an RF Receiver circuit 653 and an RF transmitter circuit            VAC or 220 VAC outlet. The portable charger 208 includes
    654. It is through this RF module 650 and related circuitry             recharging circuitry housed within a housing 270 that may be
    that the HHP 202 sends and receives RF command signals.            15   detachably inserted into the charging port 210 in order to be
        RF communication between the HHP 202 and the IPG 100                recharged. Thus, both the IPG and the portable charger 208
    (FIG. 1) is achieved data words 660 having a signal format as           are rechargeable. The housing 270 may be returned to the
    shown in FIG. 7E. A preamble 662 comprises a bit stream that            charging port 210 between uses.
    represents either a string of 10's (normal preamble) or a series            In one embodiment, shown as "Package B" in FIG. 8, a
    of 110's (attention preamble). In each case, the least signifi-    20   charging head 272 is connected to the recharging circuitry
    cant bit (LSB) is transmitted first. The attention preamble is a        270 by way of a suitable flexible cable 274. When the IPG
    variable length 110110. Timing synchronization is not main-             battery needs to be recharged, a disposable adhesive pouch
    tained by either the IPG or the HHP. Hence, the normal                  276 or Velcro® strip may be placed on the patient's skin, over
    method of opening a communication link between the HHP                  the location where the IPG is implanted. The charging head
    202 and the IPG 100 is for the HHP to send more than one           25   272 is then simply slid into the pouch, or fastened to the strip,
    second of attention preamble bits, followed by a frame sync             so that it is within 2-3 cm of the IPG. In order for efficient
    byte 664, a telemetry ID byte 666, and then the data packet             transfer of energy to the IPG, it is important that the head 272
    668. The preamble bits are used to obtain bit synchronization           (or more particularly, the coil within the head 272) be prop-
    between the transmitter and the receiver. At least eight bits of        erly aligned with the IPG. Thus, in a preferred embodiment,
    preamble must be received to ensure bit synchronization.           30   an indicator light 273 placed on the housing 270 provides a
       The frame sync byte 664 follows the preamble bits 662.               visual indication when proper alignment has been achieved.
    The frame sync byte, in the preferred embodiment, is                    Once aligned, the recharging function is activated. Backte-
    "10110000", and is used to obtain byte synchronization                  lemetry with the IPG allows the charging process to be moni-
    between the transmitter and the receiver.                               tored. Typically, charging continues until the implant battery
       The telemetry ID 666 follows the frame sync byte 664. The       35   has been charged to at least 80% of capacity.
    telemetry ID comprises a 3 byte value that is used to ensure                An alternative embodiment of the portable charger 208,
    that only the intended receiver receives the message being              shown as "Package A" in FIG. 8, includes the recharging
    sent. A telemetry ID that is all is, e.g., "11111111 . . . "            circuitry and battery and charging head housed within a single
    indicates a broadcast message that is received by all receivers.        round package 272'. Such package is less than three inches in
       The data packet 668 follows the telemetry ID 666. The data      40   diameter and is comfortable to hold against the skin. The
    packet 668 comprises an integer number of bytes, and may be             adhesive pouch 276 need not necessarily comprise a pouch,
    formatted in any suitable manner. Command data typically                but may utilize any suitable means for holding the head (coil)
    includes amplitude, polarity and pulse width data for each              of the charger 208 in proper alignment with the IPG, such as
    electrode available on the array. Such pulse-defining data may          Velcro® strips or patches.
    be stored in memory for a plurality of different stimulation       45       Alternatively, once proper alignment with the IPG has been
    programs, in which case the command data may simply com-                achieved, as indicated by the visual indicator 273' included on
    prise a selection of one of the stored programs. Command                the round package 272', or the indicator 273 included on the
    data may also comprise interrogation data to check the status           package 270, or as otherwise included in the charging station,
    of various IPG components, such as the battery; or instruc-             the charger 208 may simply be taped in place on the patient's
    tions to perform an impedance measurement, as described            so   skin using removable medical tape.
    more fully below.                                                           FIG. 9A illustrates a block diagram of the recharging ele-
       To ensure the integrity of transmitted data, a code such as a        ments of the invention. As shown in FIG. 9A (and as also
    checksum or Cyclical Redundancy Code (CRC) is appended                  evident in FIGS. 4A and 4B), the IPG 100 is implanted under
    to the data. This code is generated from the data itself. If the        the patient's skin 279. The IPG includes a replenishable
    generated code does not match the received code, a data error      55   power source 180, such as a rechargeable battery. It is this
    is detected. Some codes contain information that allows the             replenishable power source that must be replenished or
    received data to be corrected, thereby avoiding retransmis-             recharged on a regular basis, or as needed, so that the IPG 100
    sion of the data.                                                       can carry out its intended function. To that end, the recharging
       Turning next to FIG. 8, the external components of a rep-            system of the present invention uses the portable external
    resentative portable charging station (CHR) that may be used       60   charger 208 to couple energy, represented in FIG. 9A by the
    with the invention are illustrated. The portable charging sta-          wavy arrow 290, into the IPG' s power source 180. The por-
    tion provides a recharging system that is used to transcutane-          table external charger 208, in turn, obtains the energy 290 that
    oulsy recharge the battery of the IPG 100 as needed, via                it couples into the power source 180 from its own battery 277.
    inductive coupling. That is, energy from an external power                  The battery 277 in the charger 208, in the preferred
    source is coupled to the battery, or other replenishable power     65   embodiment, comprises a rechargeable battery, preferably a
    source, within the IPG 100 via electromagnetic coupling.                Lithium Ion battery. (Alternatively, the battery 277 may com-
    Once power is induced in the charging coil in the IPG, charge           prise a replaceable battery.) When a recharge is needed,
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    energy 293 is coupled to the battery 277 via the charging base           current so that charging can continue. Should the battery
    station 210 in conventional manner. The charging base station            voltage fall below 2.5 V, the battery is trickled charged at 10
    210, in turn, receives the energy it couples to the battery 277          mA. The charge controller 684 is capable of recharging a
    from an AC power line 211. A power amplifier 275, included               battery that has been completely discharged to zero volts.
    within the portable charger 208, enables the transfer of energy     5    When the charge current drops to 10% of the full-scale charge
    from the battery 277 to the implant power source 180. Such               current, or 8 mA, during the constant voltage phase, an output
    circuitry 275 essentially comprises DC-to-AC conversion cir-             flag is set to signal that charging has completed. This flag is
    cuitry that converts dc power from the battery 277 to an ac              used to gate the oscillator output for modulating the rectifier
    signal that may be inductively coupled through a coil 279                configuration (full-wave to half-wave), which change in rec-
    located in the external charging head 272 (or within the round      10
                                                                             tifier configuration is sensed by the external charging circuit
    case 272', see FIG. 8) with another coil 680 included within
                                                                             to indicate charge completion.
    the IPG 100, as is known in the art. Upon receipt of such ac
    signal within the IPG 100, it is rectified by rectifier circuitry            The battery protection IC 686, in the preferred embodi-
    682 and converted back to a dc signal which is used to replen-           ment, comprises an off-the-shelf IC available from Motorola
    ish the power source 180 of the implant through a charge            15   as part number MC33349N-3R1. This IC monitors the volt-
    controller IC 684. A battery protection IC 686 controls a FET            age and current of the implant battery 180 to ensure safe
    switch 688 to make sure the battery 180 is charged at the                operation. Should the battery voltage rise above a safe maxi-
    proper rate, and is not overcharged. A fuse 689 also protects            mum voltage, then the battery protection IC 686 opens the
    the battery 180 from being charged with too much current.                charge-enabling FET switch 688 to prevent further charging.
    The fuse 689 also protects from an excessive discharge in the       20   Should the battery voltage drop below a safe minimum volt-
    event of an external short circuit.                                      age, or should the charging current exceed a safe maximum
       Thus, from FIG. 9A, it is seen that the battery charging              charging current, the battery protection IC 686 prevents fur-
    system consists of external charger circuitry 208, used on an            ther discharge of the battery by turning off the charge-en-
    as-needed basis, and implantable circuitry contained within              abling FET switch 688. In addition, as an additional safe-
    the IPG 100. In the charger 208, the rechargeable Li-ion            25   guard, the fuse 689 disconnects the battery 180 if the battery
    battery 277 (recharged through the base station 210) provides            charging current exceeds 500 mA for at least one second.
    a voltage source for the power amplifier 275 to drive the
    primary coil 279 at a resonant frequency. The secondary coil                A state diagram that shows the various charging states that
    680, in the IPG 100, is tuned to the same resonant frequency,            may occur relative to the implant battery 180 is shown in FIG.
    and the induced AC voltage is converted to a DC voltage by          30   9B. As seen in FIG. 9B, and assuming a preferred Li-ion
    rectifier circuit 682. In a preferred embodiment, the rectifier          battery is used, a normal state 710 reflects that the battery
    circuit 682 comprises a bridge rectifier circuit. The charge             voltage and charging current are within appropriate limits. An
    controller IC 684 converts the induced power into the proper             over voltage state 712 exists when the battery voltage is
    charge current and voltage for the battery. The battery pro-             greater than 4.25 V and continues until the battery voltage is
    tection IC 686, with its FET switch 688, is in series with the      35   less than 4.05 V. An undervoltage state 714 exists when the
    charge controller 684, and keeps the battery within safe oper-           battery voltage is less than 2.5 volts. The undervoltage state
    ating limits. Should an overvoltage, undervoltage, or short-             714 continues until the battery voltage is greater than 2.5 volts
    circuit condition be detected, the battery 180 is disconnected           while charging at a prescribed trickle charge current, e.g., 10
    from the fault. The fuse 689 in series with the battery 180              mA. An overcurrent (charging) state 716 exists whenever the
    provides additional overcurrent protection. Charge comple-          40   charging current exceeds 80 mA. If, while in the overcurrent
    tion detection is achieved by a back-telemetry transmitter               (charging) state 716, the battery voltage is greater than 4.25
    690, which transmitter modulates the secondary load by                   volts, then the over voltage state 712 is entered. If, while in the
    changing the full-wave rectifier into a half-wave rectifier/             overcurrent (charging) state 716, the charging current
    voltage clamp. This modulation is, in turn, sensed in the                exceeds 500 mA for more than one minute, the fuse 689
    charger 208 as a change in the coil voltage due to the change       45   opens, and a cell disconnect state 720 is permanently entered.
    in the reflected impedance. When detected, an audible alarm              An overcurrent (discharging) state 718 is entered whenever
    is generated through a back telemetry receiver 692 and                   the battery charging current is greater than 100 mA, and
    speaker 693. Reflected impedance due to secondary loading                continues until the battery charging current is less than 100
    is also used to indicate charger/IPG alignment, as explained             mA. If, while in the overcurrent (discharging) state 718, the
    in more detail below in conjunction with the description of         50   battery voltage drops below 2.5 volts, then the under voltage
    FIG. 9B.                                                                 state 714 is entered. Also, should the battery current exceed
       In a preferred embodiment, and still with reference to FIG.           500 mA for more than one minute while in the overcurrent
    9A, the charge coil 680 comprises a 36 turn, single layer, 30            (discharging) state 718, the fuse 689 opens, and the cell
    AWG copper air-core coil, and has a typical inductance of 45             disconnect state 720 is permanently entered.
    [IR and a DC resistance of about 1.15 ohms. The coil 680 is         55       Turning next to FIG. 9C, a block diagram of the circuitry
    tuned for resonance at 80 KHz with a parallel capacitor. The             within the external charging station 208 is shown. The charg-
    rectifier 682 comprises a full-wave (bridge) rectifier consist-          ing station comprises a portable, non-invasive transcutaneous
    ing of four Schottky diodes. The charge controller IC 684                energy transmission system designed to fully charge the
    comprises an off-the-shelf, linear regulation battery charger            implant battery in under three hours (80% charge in two
    IC available from Linear Technology as part number                  60   hours). Energy for charging the IPG battery 180 initially
    LTC1731-4.1. Such charger is configured to regulate the bat-             comes from the main supply line 211, and is converted to 5
    tery voltage to 4.1 VDC. When the induced DC voltage is                  VDC by an AC-DC transformer 694, which 5 VDC proves the
    greater than 4.1 VDC (plus a 54 mV dropout voltage), the                 proper supply voltage for the charger base station 210. When
    charge controller 684 outputs a fixed constant current of up to          the charger 208 is placed on the charger base station 210, the
    80 mA, followed by a constant voltage of 4.1±0.05 V. If             65   Li-ion battery 277 in the charger is fully charged in approxi-
    insufficient power is received for charging at the maximum               mately four hours. Once the battery 277 is fully charged, it has
    rate of 80 mA, the charge controller 684 reduces the charge              enough energy to fully recharge the implant battery 180 (FIG.
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    9A). If the charger 208 is not used and left on the charger base             Turning next to FIG. 10, a simplified flow chart is shown
    station 210, the battery 277 will self-discharge at a rate of             that illustrates one pulse ramping control technique that may
    about 10% per month.                                                      be used with the invention to provide a slow turn-on of the
       Once the voltage of the battery 277 falls below a first                stimulation burst. Such technique is employed because some-
    prescribed limit, e.g., 4.1 VDC, during a standby mode,              5    times electrical stimulation may be perceived by the user as
    charging of the battery is automatically reinitiated. In addi-            having an unpleasant sensation, particularly when a train of
    tion, should the external charger battery 277 be discharged               stimulations pulses is first started. To overcome this unpleas-
    below a second prescribed limit, e.g., 2.5 VDC, the battery               ant sensation, stimulation parameters have traditionally been
    277 is trickled charged until the voltage is above the second             modulated at the beginning of the pulse train, e.g., by increas-
    prescribed limit, at which point normal charging resumes.            10   ing the width of the delivered pulses until the final desired
       A battery protection circuit 698 monitors if an over voltage,          pulse width is achieved. Unfortunately, pulse width (dura-
    under voltage, or overcurrent condition occurs, and discon-               tion) modulation has the undesirable characteristic of apply-
    nects the battery, e.g., through opening at least one of the FET          ing narrow pulses at the beginning of the stimulation burst;
    switches 701 and/or 702, or from the fault until normal oper-             yet such narrow pulses have been found in clinical research to
    ating conditions exist. Another switch 699, e.g., a thermal          15   be unpleasant in their own right. The present invention thus
    fuse, will disconnect the battery should the charging or dis-             avoids ramp modulation of pulse width at the beginning of a
    charging current exceed a prescribed maximum current for                  stimulation burst, and replaces such modulation with pulse
    more than a prescribed time, e.g., 1.5 A for more than 10                 amplitude modulation, maintaining the pulse width as wide as
    seconds.                                                                  possible, e.g., as wide as the final pulse duration.
       The battery 277 provides a power source for the RF ampli-         20      The automatic pulse ramping control system that may be
    fier 275. The RF amplifier, in a preferred embodiment, com-               used with the present invention modulates pulse amplitude
    prises a class E amplifier configured to drive a large alternat-          rather than pulse duration and does so with hardware dedi-
    ing current through the coil 279.                                         cated to that function. Advantageously, there is no need for a
       Still with reference to FIG. 9C, an alignment detection                controller to monitor and perform the modulation task. At the
    circuit 695 detects the presence of the IPG 100 through              25   start of a stimulation burst, a group of dedicated hardware
    changes in the reflected impedance on the coil 279. Reflected             registers hold the amplitude start value, the step size values,
    impedance is a minimum when proper alignment has been                     and the number of steps to add to the starting amplitude before
    obtained. This means that the steady-state voltage V1 sensed              the stimulation reaches its assigned plateau. The registers are
    at the coil 279 is also at a minimum because maximum cou-                 loaded by the controller, with the actual start of the stimula-
    pling occurs. When maximum coupling is detected, e.g.,               30   tion burst being triggered in conventional manner. The hard-
    when V1 is at a minimum, an audible or visual alarm may                   ware circuitry loads the starting value into an accumulator,
    sound. In a preferred embodiment, a first audible tone is                 and then adds the contents of the step value register to the
    generated whenever alignment is not achieved. Thus, as a                  contents held in the accumulator. The result of this addition is
    charging operation begins, the first audible tone sounds, and             then transferred to a digital-to-analog converter (DAC) circuit
    the user seeks to position the charger 208 (or at least to           35   which is responsible for actually generating the stimulation
    position the coil 279) at a location that causes the first audible        pulse (see FIG. 4A or 4C). Another counter keeps track of the
    tone to cease. Similarly, a charge complete detection circuit             programmed pulse duration. Yet another counter may be used
    697 alerts the user through generation of a second audible                to track the number of pulses that have been generated. The
    tone (preferably an ON-OFF beeping sound) when the IPG                    duration counter, i.e., the counter responsible for setting the
    battery 180 is fully charged. A fully charged condition is also      40   pulse width or pulse duration, gates the D/A converter value
    sensed by monitoring the reflected impedance through the                  to the electrode. The step counter, which is loaded prior to or
    coil 279. As indicated above, a fully charged condition is                at the trigger point of the stimulation burst with the number of
    signaled from the IPG by switching the rectifier circuit 682              pulses to be included in the ramp-up sequence, is decre-
    within the IPG from a full-wave rectifier circuit to a half-wave          mented each time a pulse is generated. For each pulse count
    rectifier circuit. When such rectifier switching occurs, the         45   thus decremented, the amplitude held in the accumulator
    voltage V1 suddenly increases (e.g., a transient or pulsed                register is increased by the step value. When the step counter
    component appears in the voltage V1) because the amount of                finally reaches zero, the step value is no longer added to the
    reflected energy suddenly increases. This sudden increase in              accumulator, and the accumulator value thereafter remains
    V1 is detected by the charge complete detection circuit 697,              static, and is used every time the cathodic active phase is
    and once detected causes the second audible tone, or tone            so   required, until the burst stops. When a new burst is triggered
    sequence, to be broadcast via the speaker 693 in order to                 again, the amplitude ramp-up process repeats to provide a
    signal the user that the implant battery 180 is fully charged.            slow turn-on of the stimulation pulses. The same process is
       Thus, it is seen that a feature of the SCS system described            reversed at the end of a burst to avoid unpleasant sensations
    herein is its use of a rechargeable internal battery and the              associated with sudden cessation of stimulation.
    control system used to monitor its state of charge and control       55      One process that may be used to modulate the stimulation
    the charging process. The system monitors the amount of                   pulse amplitude in accordance with the preceding paragraph
    energy used by the SCS system and hence the state of charge               is illustrated in the flow diagram of FIG. 10. As seen in FIG.
    of the battery. Through bidirectional telemetry (forward and              10, when a burst sequence is commenced (block 301), a set of
    back telemetry) with the hand held programmer 202 and/or                  hardware registers is loaded with appropriate initial data
    the clinician programmer 204, the SCS system is able to              60   (block 302). These hardware registers and the initial data
    inform the patient or clinician of the status of the system,              loaded therein include a starting amplitude register, an ampli-
    including the state of charge, and further make requests to               tude step value register, a pulse width value register, a step
    initiate an external charge process when needed. The accep-               number register, and a burst number register. The starting
    tance of energy from the external charger is entirely under the           amplitude register is loaded with data that defines the starting
    control of the SCS implanted system. Advantageously, both            65   amplitude of the first pulse in a burst sequence. The amplitude
    physical and software control exist to ensure reliable and safe           step value register defines how much the amplitude of the
    use of the recharging system.                                             stimulation pulse increases as the burst sequence of pulses is
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                                  45                                                                      46
    ramped up to its final value. The pulse width (PW) register             tion systems depend upon the stability of the devices to be
    defines a duration of time T1 which sets the programmed                 able to convey electrical pulses of known energy to the target
    pulse width of the current phase of the stimulation pulse. The          tissue to be excited. The target tissue represents a known
    step number register defines the number of pulses that are              electrical load into which the electrical energy associated
    included in the ramp-up portion of the stimulation burst. The      5    with the stimulation pulse is to be delivered. If the impedance
    burst number defines the number of pulses to be included in             is too high, that suggests the connector and or lead which
    the stimulation burst. (As one option, when set to a maximum            connects with the electrode may be open or broken. If the
    value, the stimulation burst continues indefinitely until the           impedance is too low, that suggest there may be a short circuit
    stimulation function is manually turned off.)                           somewhere in the connector/lead system. In either event (too
       Once the initial data is loaded into the hardware registers,     o   high or too low impedance), the device may be unable to
    the contents of the starting value register are transferred or          perform its intended function. Hence, the impedance of a
    sent to an accumulator register (block 304). Then, the micro-           connector/lead/electrode interface to the tissue is a general
    controller (or other control element), triggers a stimulation           measure of the fitness of the system to perform its required
    pulse (block 306). Such triggering causes the contents of the           function. The inability of a device to measure such imped-
    accumulator register to be sent to the D/A converter(s)            15   ance, which unfortunately is the case with many stimulator
    responsible for setting the amplitude of the stimulation pulse          devices on the market today, means that when changes in the
    (block 308). At the same time, the stimulation amplitude                electrode/lead/connector properties occur (as they likely will
    defined by the D/A converter(s) is gated to the designated              over time), such changes may go unnoticed until serious
    electrode node(s) for the time period T1 set by a countdown             deficiencies in the performance of the system are noted. In
    (at a known clock rate) of the PW register (block 310). The        20   contrast, the ability to regularly, easily and reliably measure
    result is a stimulation pulse having a pulse width as defined by        impedance in a consistent manner is critical to the optimal
    the pulse width register and an amplitude as defined by the             function of such an implanted system.
    contents of the accumulator register. Next, the step number                In order to measure electrode impedance, the present
    register is decremented (block 312). Then, a check is made to           invention has circuitry 194' resident on the analog IC 190' (see
    determine is the step number register has decremented to zero      25   FIG. 4B) that is used to measure the voltage at the stimulus
    (block 314). If NO, then the value of the step value register is        outputs. Such measurement circuitry is detailed in FIG. HA.
    added to the accumulator register (block 316) and the process           The architecture for the measurement strategy used by the
    continues (blocks 306, 308, 310, 312, 314) for the next stimu-          circuit shown in FIG. HA revolves around the selection of
    lation pulse in the burst sequence. Such next stimulation pulse         signals that are transmitted from the circuit side of the elec-
    will have an increased amplitude due to the adding of the step     30   trode coupling capacitor C through a 16-to-1 multiplexor 730
    value to the value held in the accumulator register. If the step        into a buffer amplifier 732. (In FIG. HA, the current source
    number register is zero (YES branch of off block 314), then             734 represents the output current source 4C06 programmed
    no change is made to the value stored in the accumulator                by the NDAC 4C07, assuming monopolar stimulation is
    register (block 316 is bypassed) and the amplitude of the               applied between one of the sixteen electrodes En and the
    stimulation pulses generated thereafter have a constant            35   indifferent electrode 4C11, as shown in FIG. 4C.) The voltage
    amplitude as determined by the now static value held in the             signal to be measured is the difference between the voltage on
    accumulator register.                                                   the circuit side of the coupling capacitor C connected to
       After each stimulation pulse is generated, a check is also           electrode En when VH is applied with no current flowing
    made to determine the contents of the burst number register             (I=0), and when a current of P=1 mA is flowing through the
    (block 318). If the burst is complete (YES branch of block         40   electrode En having a pulse width of 20 microseconds (p).
    320), then the burst sequence stops (block 321). Otherwise,             Advantageously, the narrow pulse width (20 1,ts) and low
    the process continues for each pulse in the burst sequence.             current amplitude (1 mA) reduce the chances of undesirable
    Note that the burst number register may, in some embodi-                activation of excitable tissue and unpleasant sensations. The
    ments, be set to a certain time of day (e.g., 10:00 PM), and the        current amplitude during an impedance measurement may be
    checking of the burst number register (at block 320) may           45   increased or decreased as needed to accommodate impedance
    comprise comparing the current time of day (obtained from a             measurements over larger or smaller ranges. The 1-to-16
    suitable real-time clock included as part of the stimulator)            multiplexor 730 allows separate voltage measurements to be
    with the contents of the burst number register. Alternatively,          made for each electrode En.
    the burst number register may be loaded with a set number of               The measurement circuitry within the IPG 100, as depicted
    pulses, e.g., 1000, that are to be included in a burst sequence.   so   in FIG. HA, thus measures voltages on the internal connec-
    After the set number of pulses has been generated, the burst            tion of the electrode coupling capacitors. Using sampling
    sequence automatically ceases, and no further stimulation               circuitry contained within the analog IC 190', the voltage on
    pulses or burst sequences are provided until the microcontrol-          these points for each electrode may be selectively captured in
    ler, or other control element indicates that a new burst                a sample and hold circuit and then converted by the analog to
    sequence is to start.                                              55   digital converter (ADC) circuit 734 within the processor 160'
       In the manner described above, it is thus seen that the SCS          to a digital value. This digital value may then be sent to the
    system of the present invention advantageously provides a               HHP 202 when a communication link is established, and the
    gradual ramp up, or slow turn-on, of the stimulation pulse              processor within the HHP may then compute the impedance
    amplitude, when first initiated at the commencement of each             from these measurements.
    burst sequence, so as to avoid any unpleasant sensations that      60      Advantageously, because the voltage measurement per-
    might otherwise be perceived by the user, as well as a slow             formed using the circuitry shown in FIG. HA is of general
    turn-off, or gradual ramp down, at the conclusion of a burst            utility to the HHP, as well as the Clinician's Programming
    sequence so as to avoid unpleasant sensations associated with           System, several commands may be used to perform various
    sudden cessation of stimulation.                                        functions of voltage measurement and impedance calcula-
       Another important feature of the present invention is the       65   tion. Such functions include: (1) read the voltage on a single
    ability of the SCS system to measure the electrode imped-               designated electrode; (2) read the voltage on up to 16 elec-
    ance. This is important because implanted electrical stimula-           trodes (defined by an electrode mask value); (3) program
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    sampling parameters; (4) perform an impedance voltage                     results in the voltage array are sent to the HHP (block 756).
    sweep on all electrodes in the mask; and (5) report voltage               The HHP then uses these values to compute impedance, or for
    array values.                                                             other purposes.
        The most common of the above functions that is performed                 An alternate method that may be used to measure electrode
    is the impedance voltage sweep on all the electrodes indicated       5
                                                                              impedance in accordance with the present invention is to
    by a mask value. (A "mask value" is just a way of defining                automatically sample the voltage applied across a stimulating
    which electrodes are available for use with a given patient,              electrode node and corresponding reference electrode (i.e.,
    inasmuch as not all patients will have all sixteen electrodes             across an electrode pair) using a pair of counters, a control
    available for their use.) The method of making such an imped-             register, a sample and hold circuit, an analog-to-digital (A/D)
    ance voltage sweep measurement is illustrated in the flow            10
                                                                              converter, and a result register. In operation, the two counters
    diagram of FIG. 11B.
                                                                              are loaded with values corresponding to the cathodic pulse
        As seen in FIG. 11B, a first step in the impedance voltage            duration and 12/ that duration. The control register synchro-
    sweep measurements is for the HHP to request and save the                 nizes the operation of the two counters, and when the 1/ 2-
    IPG stimulation parameters (block 740). Next, the HHP
                                                                         15   duration counter counts down to zero, the control register
    issues a command for sampling parameters, including the
                                                                              causes the sample and hold circuit to measure or sample the
    sample delay words, and sampling trigger (block 741). Then,
                                                                              electrode voltage, after which the A/D converter is instructed
    the HHP requests that an Impedance Voltage Sweep be per-
    formed (block 742), which typically includes sending at least             to convert the sampled voltage to a digital value which is
    the following parameters to the IPG: electrode mask, fre-                 stored in a result register. A controlling processor, e.g., the
    quency, current setting, pulse width, number of samples, and         20   microcontroller 160 or 160' in the IPG (FIGS. 4A or 4B), may
    ADC gain and offset. When received by the IPG, the IPG                    then determine the apparent impedance of the electrode by
    saves a copy of all operating parameters and stops stimulation            knowing the voltage measured and the amount of current
    (block 743). Additionally, slow (or soft) start is turned off, and        generated for the pulse. Alternatively, the impedance compu-
    all electrode amplitudes are set to zero. Then, the impedance             tation may take place in the HHP using the processor within
    voltage array (the location where the measurements are to be         25   the HHP 202. In this manner, changes in the electrode tissue
    stored within the IPG) is set to zero, and an electrode counter           properties, as well as failures in leads, connectors, and elec-
    is set to one (block 744).                                                trodes, may readily be recognized by the controlling system.
        Next, a decision is made as to whether the electrode indi-               One technique that may be used to achieve the impedance
    cated by the electrode counter value is present in the mask          30   measuring method described in the previous paragraph is
    (block 745). If YES, then the amplitude of the stimulus cur-              depicted in the flow diagram of FIG. 11C. As seen in FIG.
    rent for the electrode indicated by the electrode counter is set          11C, once the impedance measuring method has been started,
    to the measurement amplitude (block 746), e.g., 1 mA, and                 a current pulse of a known amplitude and width is generated
    other parameters are appropriately set. That is, the MUX 730              (block 332). This pulse is applied to the electrode pair whose
    in the analog IC 190' is set for the electrode being measured,       35   impedance is to be measured. The value of the pulse width is
    the sample delay is set, the sample interrupt is enabled, the             loaded into a first register (also block 332). One half (12/ ) of
    result accumulator is cleared, and a sample counter is set to             the value of the first register is then loaded into a second
    the sample count. Then, the stimulus current is generated. If             register (block 334). Both the first and second registers are
    NO, then the electrode counter is incremented (block 753);                then counted down under synchronous control (block 336).
    and, unless the electrode count equals 17 (block 754), the           40   This count down continues until the contents of the second
    process repeats. That is, a decision is made as to whether the            register are zero (block 338). This represents roughly the
    electrode indicated by the electrode counter value, which has             mid-point of the stimulation pulse that has been generated,
    now been incremented, is present in the mask (block 745).                 and represents a sample time when transients and spikes that
        After generation of the stimulus current (block 746), the             might otherwise be present in the measured voltage have
    system waits for the occurrence of a sample interrupt (block         45   settled down. At this mid-point value, or sample time, the
    747). When the sample interrupt occurs, the ADC gain and                  voltage across the electrode node(s) of the electrode pair is
    offset are set, the ADC channel is set, and the ADC conversion            sampled and measured (block 340). The sampled voltage
    process is initiated (block 748). When the ADC conversion                 value is held in a sample and hold circuit (block 342). From
    process is complete (block 749), the ADC value is read and                the sample and hold circuit, the sampled and measured volt-
    added to the result accumulator, and the sample counter is           50   age value is passed on to an A/D converter, where the voltage
    decremented (block 750). If the sample counter is not equal to            measurement is digitized (block 344), and held in a result
    zero (block 751), then the sampling process (blocks 747-750)              register (block 346). The value of the current applied to the
    repeats until all of the samples specified for the measurement            electrode while making the voltage measurement is retrieved
    have been taken. Once all of the samples have been taken, the             (block 348). A suitable processor, e.g., the microcontroller
    stimulation is stopped, and the value in the result accumulator      55   160, is then used to compute the impedance as the ratio of the
    is divided by the sample count in order to provide an average             sampled voltage over the known current (block 349). This
    value of the measurements. The averaged result is then stored             impedance may then be stored and/or otherwise processed so
    in the voltage array and indexed by the electrode number                  that any significant changes in impedance can be immediately
    (block 752).                                                              noted and communicated (e.g., through back telemetry) to the
        After the averaged result has been stored, the electrode         60   external programming devices (hand held programmer 202
    counter is incremented (block 753). If the value in the elec-             and/or clinician programmer 204) used by the user or clini-
    trode counter is less than seventeen (block 754), then the                cian.
    process repeats for other electrodes (blocks 745-753) until all              While the invention herein disclosed has been described by
    of the electrodes in the mask have been measured. When all                means of specific embodiments and applications thereof,
    electrodes have been measured, the operating parameters are          65   numerous modifications and variations could be made thereto
    restored and stimulation is restarted, if it was on (block 755).          by those skilled in the art without departing from the scope of
    Then, when a link is established with the HHP, the averaged               the invention set forth in the claims.
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       What is claimed is:                                                5. The spinal cord stimulation system of claim 1, wherein
      1. A spinal cord stimulation system comprising:                   the IPG housing is made from titanium 6-4.
       an implantable pulse generator (IPG) including at least one         6. A spinal cord stimulation system, comprising:
          integrated circuit (IC) that when powered allows the IPG        an implantable pulse generator (IPG) including at least one
          to generate electrical stimuli, the IPG having a housing; 5         integrated circuit (IC) that when powered allows the IPG
       a replenishable power source contained within the IPG                  to generate electrical stimuli, the IPG having a housing;
          housing;                                                        a replenishable power source contained within the IPG
       an implantable electrode array detachably connected to the             housing;
          IPG, the electrode array having at least two electrodes         an implantable electrode array detachably connected to the
          thereon;                                                   10       IPG, the electrode array having at least two electrodes
       wherein the electrical stimuli generated by the IPG are                thereon;
          selectively delivered to at least one of the electrodes on      wherein the electrical stimuli generated by the IPG are
          the electrode array as controlled, at least in part, by             selectively delivered to at least one of the electrodes on
          electrical circuitry contained within the IC;                       the electrode array as controlled, at least in part, by
       an implantable secondary coil coupled electrically to the 15           electrical circuitry contained within the IC;
          replenishable power source;                                     an implantable secondary coil coupled electrically to the
       an external power source charger including:                            replenishable power source;
       a primary coil;                                                    an   external power source charger including:
                                                                          a primary coil;
          an external power source contained in the charger, elec-
                                                                     20       an external power source contained in the charger, elec-
             trically coupled to the primary coil; and
                                                                                 trically coupled to the primary coil; and
          a power amplifier that applies alternating current derived
                                                                              a power amplifier that applies alternating current derived
             from the external power source to the primary coil,
                                                                                 from the external power source to the primary coil,
             whereby the alternating current in the primary coil
                                                                                 whereby the alternating current in the primary coil
             induces a magnetic field that is transcutaneously
                                                                     25          induces a magnetic field that is transcutaneously
             coupled to the implantable secondary coil, thereby
                                                                                 coupled to the implantable secondary coil, thereby
             inducing a corresponding alternating current in the
                                                                                 inducing a corresponding alternating current in the
             secondary coil, which alternating current in the sec-
                                                                                 secondary coil, which alternating current in the sec-
             ondary coil initiates a power-up sequence for a pow-
                                                                                 ondary coil initiates a power-up sequence for a pow-
             ered-down IPG and recharges the replenishable
                                                                     30          ered-down IPG and recharges the replenishable
             power source contained in the IPG;
                                                                                 power source contained in the IPG;
       a power source replenishing system housed within the IPG,
                                                                          a power source replenishing system housed within the IPG,
          including:
                                                                              including:
          a rectifier circuit that converts the alternating current           a rectifier circuit that converts the alternating current
             induced in the secondary coil to a dc current that is 35            induced in the secondary coil to a dc current that is
             applied to the replenishable power source;                          applied to the replenishable power source; and
          power source protection circuitry for controlling electri-          power source protection circuitry for controlling electri-
             cal connection and disconnection between the replen-                cal connection and disconnection between the replen-
             ishable power source and the at least one IC included               ishable power source and the at least one IC included
             within the IPG; whereby the power source protection 40              within the IPG; whereby the power source protection
             circuitry allows connection between the replenishable               circuitry allows connection between the replenishable
             power source and the at least one IC upon transcuta-                power source and the at least one IC upon transcuta-
             neous transfer of power from the external power                     neous transfer of power from the external power
             source to the replenishable power source;                           source to the replenishable power source;
       alignment circuitry for detecting alignment between the 45             wherein the power source replenishment system within
          primary and secondary coils, the alignment circuitry                   the IPG further comprises:
          including a back telemetry receiver for monitoring the              monitoring and replenishment complete circuitry that
          magnitude of an ac voltage at the primary coil as applied              detects when the replenishable power source is fully
          by the power amplifier, wherein reflected impedance                    replenished, said monitoring and replenishment com-
          associated with energy magnetically coupled through 50                 plete circuitry comprising:
          the primary coil is monitored; and                                  monitoring circuitry that monitors the voltage of the
       an alarm generator that generates an audible alarm signal in              replenishable power source and any charging current
          response to a sensed change in the reflected impedance                  flowing to the replenishable power source; and
          monitored by the back telemetry receiver.                           replenishment charge complete detection circuitry;
       2. The spinal cord stimulation system of claim 1, wherein 55       wherein the monitoring circuitry generates a signal flag
    the external power source charger is portable.                            when the replenishable power source voltage and charg-
       3. The spinal cord stimulation system of claim 1, wherein              ing current reach prescribed levels, which prescribed
    the external power source contained in the external power                 levels indicate the replenishable power source is fully
    source charger comprises a rechargeable power source, and                 replenished;
    wherein the spinal cord stimulation system further comprises 60       wherein the rectifier circuit is switchable between a full-
    a means for using household AC power to recharge the                      wave rectifier circuit and a half-wave rectifier circuit;
    rechargeable power source in the power source charger.                wherein the rectifier circuit is switched to operate as the
       4. The spinal cord stimulation system of claim 1, wherein              full-wave rectifier circuit during replenishment of the
    the alarm generator broadcasts a first audible tone when the              replenishable power source, and wherein the signal flag
    primary coil is misaligned with the secondary coil, and the 65            causes the rectifier circuit to switch to a half-wave rec-
    generator stops the broadcast of the first audible tone when              tifier circuit when the replenishable power source is fully
    the primary coil is properly aligned with the secondary coil.             replenished, whereby modulation of the rectifier circuit
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                                                          US 7,496,404 B2
                                  51                                                                    52
          between a full-wave rectifier circuit and a half-wave                ondary coil, which alternating current in the secondary
          rectifier circuit is used to indicate whether the replenish-         coil recharges the rechargeable power source.
          able power source is fully replenished; and                       10. The spinal cord stimulation system of claim 9, further
       wherein the replenishment complete detection circuitry             comprising:
          detects the switching of the rectifier circuit from a full- 5     a battery charging system housed within the IPG, includ-
          wave rectifier circuit to a half-wave rectifier circuit by           ing:
          detecting the change in reflected impedance sensed at                monitoring and charge complete circuitry contained in
          the primary coil.                                                       the IPG housing that detects when the rechargeable
       7. A spinal cord stimulation system comprising:                            power source is fully charged, said monitoring and
       an implantable pulse generator (IPG), the IPG having a 10                   charge complete circuitry comprising:
          housing;                                                             the monitoring circuitry that monitors the voltage of the
       an implantable electrode array detachably connected to the                 rechargeable power source and any charging current
          IPG, the electrode array having at least two electrodes                  flowing to the rechargeable power source; and
          thereon; a rechargeable power source contained within                a rectifier circuit for converting alternating current
          the IPG housing;                                             15          derived from the secondary coil to dc current, wherein
       monitoring circuitry contained in the IPG housing that                      said dc current charges the rechargeable power
          monitors the voltage of the rechargeable power source                    source; and
          and any charging current flowing to the rechargeable              charge complete detection circuitry;
          power source;                                                     wherein the monitoring circuitry generates a signal flag
       at least one integrated circuit (IC) within the IPG housing 20          when both the voltage of the rechargeable power source
          and electrically couplable to the rechargeable power                 and the charging current reach prescribed levels, which
          source, said at least one IC, when coupled to the                    prescribed levels indicate the rechargeable power source
          rechargeable power source, providing essential control               is fully charged;
          functions that allow the IPG to operate;                          wherein the rectifier circuit is switchable between a full-
       a processor electrically coupled to the at least one IC and 25          wave rectifier circuit and a half-wave rectifier circuit;
          contained within the IPG housing which issues com-                   wherein the rectifier circuit is switched to operate as the
          mands to stop all stimulation if the voltage of the                  full-wave rectifier circuit during charging of the
          rechargeable power source falls below a minimum level                rechargeable power source, and wherein the signal flag
          for stimulation;                                                     causes the rectifier circuit to switch to a half-wave rec-
       power source protection circuitry within the IPG housing 30             tifier circuit when the rechargeable power source is fully
          that controls electrical connection and disconnection                charged, whereby modulation of the rectifier circuit
          between the rechargeable power source and the at least               between a full-wave rectifier circuit and a half-wave
          one IC, wherein the power source protection circuitry                rectifier circuit is used to indicate whether the recharge-
          disconnects the rechargeable power source from the at                able power source is fully charged; and wherein the
          least one IC if the voltage of the rechargeable power 35             charge complete detection circuitry detects the switch-
          source falls below a power disconnect level, and recon-              ing of the rectifier circuit from a full-wave rectifier cir-
          nects the rechargeable power source and the at least one             cuit to a half-wave rectifier circuit by detecting a change
          IC if the voltage of the rechargeable power source rises             in reflected impedance sensed at the primary coil.
          above a power reconnect level,                                    11. The spinal cord stimulation system of claim 7, further
       wherein the processor initiates a power-on-reset if the volt- 40 comprising:
          age of the rechargeable power source rises above a reset          external components including a handheld programmer
          threshold; and                                                       that may be selectively placed in telecommunicative
       wherein the processor reinitiates stimulation if the voltage            contact with the IPG;
          of the rechargeable power source rises above the mini-            a clinician programmer that is selectively coupled with the
          mum level for stimulation.                                   45      handheld programmer (HHP); and
       8. The spinal cord stimulation system of claim 7, wherein            a portable charger that may be inductively coupled with the
    the rechargeable power source comprises a non-zero-volt                    IPG in order to recharge the IPG rechargeable power
    rechargeable battery, and wherein the power source protec-                 source.
    tion circuitry permanently disconnects the power source from            12. The spinal cord stimulation system of claim 7, further
    the at least one IC if the voltage of the rechargeable power so comprising:
    source falls below a power source protection circuit mini-              an external trial stimulator (ETS); and
    mum.                                                                    a percutaneous extension which temporarily couples the
       9. The spinal cord stimulation system of claim 7, further               ETS with the implantable electrode array.
    comprising:                                                             13. The spinal cord stimulation system of claim 7, wherein
       an implantable secondary coil coupled electrically to the 55 the rechargeable power source in the IPG comprises a
          rechargeable power source;                                      rechargeable battery.
       an external power source charger including:                          14. The spinal cord stimulation system of claim 13,
       a primary coil;                                                    wherein the rechargeable battery is a lithium-ion battery hav-
       an external power source contained in the external power           ing at least 720 mWhr capacity.
          source charger, electrically coupled to the primary coil; 60      15. The spinal cord stimulation system of claim 13, further
          and                                                             comprising:
       a power amplifier for applying alternating current derived           means for non-invasively recharging the rechargeable bat-
          from the external power source to the primary coil,                  tery through the skin.
          whereby the alternating current in the primary coil               16. The spinal cord stimulation system of claim 7, wherein
          induces a magnetic field that is transcutaneously 65 the IPG housing is made of titanium 6-4.
          coupled to the implantable secondary coil, thereby                17. A method for controlling shutdown and restart of an
          inducing a corresponding alternating current in the sec-        implantable pulse generator (IPG) containing a rechargeable
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                                                         US 7,496,404 B2
                                 53                                                                  54
    power source and at least one integrated circuit (IC) that when       initiating a power-on-reset if the voltage of the recharge-
    powered renders the IPG operable, the method comprising:                 able power source rises above a reset threshold; and
      monitoring the voltage of the rechargeable power source             reinitiating stimulation if the voltage of the rechargeable
         and any charging current flowing to the rechargeable                power source rises above the minimum level for stimu-
         power source;                                                5
                                                                             lation.
      issuing commands to stop all stimulation pulses if the
         voltage of the rechargeable power source falls below a           18. The method of claim 17 further comprising:
         minimum level for stimulation;                                   permanently disabling the electrical connection between
      electrically disconnecting the rechargeable power source               the rechargeable power source and the at least one IC if
         from the at least one IC if the voltage of the rechargeable 10      the voltage of the rechargeable power source falls below
         power source falls below a power disconnect level                   a battery protection circuit minimum and the power
      electrically reconnecting the rechargeable power source to             source is a non-zero-volt rechargeable battery.
         the at least one IC if the voltage of the rechargeable
         power source rises above a power reconnect level;                                   *   *   *    *   *
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                              EXHIBIT 3
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                              EXHIBIT 4
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                                                                                                                 USOO6993384B2


    (12)   United States Patent                                                                 (10) Patent No.:     US 6,993,384 B2
           Bradley et al.                                                                       (45) Date of Patent:      Jan. 31, 2006
    (54)    APPARATUS AND METHOD FOR                                                                     FOREIGN PATENT DOCUMENTS
            DETERMINING THE RELATIVE POSITION
            AND ORIENTATION OF                                                               WO         WO 02/098O8 A1        2/2002
            NEUROSTIMULATION LEADS                                                           * cited by examiner
    (75) Inventors: Kerry Bradley, Glendale, CA (US);                                        Primary Examiner-Scott M. Getzow
                    James R. Thacker, Eureka, MO (US)                                        (74) Attorney, Agent, or Firm-Bryant R. Gold; Victoria A.
                                                                                             Poissant
    (73) Assignee: Advanced Bionics Corporation,                                             (57)                    ABSTRACT
                    Valencia, CA (US)
                                                                                             Interelectrode impedance or electric field potential measure
            Notice:        Subject to any disclaimer, the term of this                       ments are used to determine the relative orientation of one
                           patent is extended or adjusted under 35                           lead to other leads in the Spinal column or other body/tissue
                           U.S.C. 154(b) by 434 days.                                        location. Interelectrode impedance is determined by mea
                                                                                             Suring impedance vectors. The value of the impedance
    (21) Appl. No.: 10/310,202                                                               vector is due primarily to the electrode-electrolyte interface,
    (22) Filed:     Dec. 3, 2002                                                             and the bulk impedance between the electrodes. The bulk
                                                                                             impedance between the electrodes is, in turn, made up of (1)
    (65)              Prior Publication                    Data                              the impedance of the tissue adjacent to the electrodes, and
                                                                                             (2) the impedance of the tissue between the electrodes. In
            US 2003/O139781 A1                  Jul. 24, 2003                                one embodiment, the present invention makes both monopo
                                                                                             lar and bipolar impedance measurements, and then corrects
                Related U.S. Application Data                                                the bipolar impedance measurements using the monopolar
    (60) Provisional application No. 60/338,331, filed on Dec.                               measurements to eliminate the effect of the impedance of the
            4, 2001.                                                                         tissue adjacent the electrodes. The orientation and position
                                                                                             of the leads may be inferred from the relative minima of the
    (51)    Int. Cl.                                                                         corrected bipolar impedance values. These corrected imped
            A6IN I/00                    (2006.01)                                           ance values may also be mapped and stored to facilitate a
    (52)    U.S. Cl. .......................................................... 607/2        comparison with Subsequent corrected impedance measure
    (58)    Field of Classification Search ............ 607/1-158;                           ment values. Such comparison allows a determination to be
                                                                   600/508,547               made as to whether the lead position and/or orientation has
                                                                                             changed appreciably over time. In another embodiment, one
            See application file for complete Search history.                                or more electrodes are Stimulated and the resulting electric
                                                                                             field potential on the non-Stimulated electrodes is measured.
                                                                                             Such field potential measurements provide an indication of
    (56)                       References Cited                                              the relative orientation of the electrodes. Once known, the
                                                                                             relative orientation may be used to track lead migration, to
                        U.S. PATENT DOCUMENTS                                                Setup Stimulation configurations and parameters for nominal
                                 3/1990     Pederson et al. ........... 600/508
                                                                                             Stimulation and/or navigation. Also, Such measurements
           4,911,174.   A *                                                                  allow automatic adjustment of Stimulation energy to a pre
           5,184,624    A *      2/1993     Brown et al. ............... 600/547             viously-defined optimal potential field in the case of lead
           6,052,624    A        4/2000     Mann
                                                                                             migration or postural changes.
           6,393,325    B1       5/2002     Mann et al.
           6,516.227    B1       2/2003     Meadows et al.
           6,587,724    B2       7/2003     Mann                                                            28 Claims, 9 Drawing Sheets




                                                                         Eliai
                                                                        PROGRAME
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                                                                          PiSE           !
                                                                        GENERA /
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                    EXTERNAL
                   PROGRAMMER
                                    60
                            50




        40



                   IMPLANTABLE
                      PULSE
                    GENERATOR 4
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                    APPLY SIMULUS
                      TO SELECTED
          82      GROUP OF ELECTRODES

                    MEASURE ELECTRIC
                 FIELD AT NOW-ACIWAIED
                  ELECTRODES RESULING
                   FROM APPLICATION OF
      84               SIMULUS TO
                  ACTIVATED ELECTRODES                                      35
                                                                   YES
                   SAVE THE MEASURED                        MORE GROUPS
                  ELECTRIC FELD DAIA OF                     OF ELECTRODES
     86         NOW-ACTIVATED ELECTRODES
                                                                   NO

                 COMPARE, ELECTRIC FIELD
                   DATA JUST OBIA/NED
                  WTH PREVIOUSLY SAVED
                   ELECTRIC FIELD DAIA
     88          FOR SAME WOW-ACI7WATED
                       ELECTRODES


                  AWALYSE DIFFERENCES IN
                  ELECTRIC FIELD DAIA IO
                DETERMINE WHETHER RELAI7VE
    90             ELECTRODE ORIEWIATION
                       HAS CHANGED

                    INITATE CORRECTIVE
                    ACTION, AS NEEDED
           92
                           END                   F7G. 1 O
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           APPARATUS AND METHOD FOR                                        2000, which patents, publication, and applications are incor
        DETERMINING THE RELATIVE POSITION                                  porated herein by reference. AS indicated in those docu
               AND ORIENTATION OF                                          ments, prior to fitting a patient with the certain types of
            NEUROSTIMULATION LEADS                                         neurostimulation leads, the relative orientation of the elec
                                                                           trodes on the implanted leads should be known in order to
       The present application claims the benefit of U.S. Provi            allow appropriate navigation of the Stimulation energy. At
    sional Patent Application Ser. No. 60/338,331, filed Dec. 4,           present, a determination of the relative orientation typically
    2001, which application is incorporated herein by reference.           requires that a fluoroscope or X-ray image of the implanted
                                                                           leads be present at the time of patient Setup with the System
             BACKGROUND OF THE INVENTION                              1O   programmer. Disadvantageously, however, Such images may
                                                                           not always be available. Moreover, between the time of
      The present invention relates to neurostimulation Systems,           implant and follow-up visits, the leads may have shifted and
    Such as a spinal cord Stimulation (SCS) System, and more               the fluoroscope image may no longer be valid. This can
    particularly to a method for determining the relative position         result in poor patient outcomes due to inappropriate or
    and orientation of electrodes on a neurostimulation lead or       15   unexpected Stimulation effects during fitting.
    leads used with Such a System.                                           Hence, it is seen that there is a need for the croSS-check
       In SCS Systems, positioning of the leads is critical to the         techniques provided by the present invention, which tech
    Success of the therapy. During Surgery, the physician places           niques can be used to verify the position of the leads at
    the leads in a very careful manner in order to locate the              numerous times during the lifetime of the implanted leads,
    electrodes proximal to neural elements that are the target of          e.g., during initial implantation and programming, during
    the Stimulation. During and after placement, Stimulation               followup visits, throughout the trial period, and during
    energy is delivered to Verify that the leads are indeed                Subsequent reprogramming Sessions.
    Stimulating the appropriate neural elements.
       However, if the leads happen to shift position, the targeted                BRIEF DESCRIPTION OF THE DRAWINGS
    neural elements may no longer be appropriately Stimulated.        25
    At best, this can require electrical reprogramming to restore             The aspects, features and advantages of the present inven
    therapy or, at Worst, Surgical revision, where a Second                tion will be more apparent from the following more par
    Surgery is required and the leads must be manually read                ticular description thereof, presented in conjunction with the
    justed. In the first case, the physician may have only a               following drawings wherein:
    Suspicion that a lead has shifted position, based on patient              FIG. 1 illustrates a neurostimulation system wherein two
    reporting of paresthesia, which is not foolproof. Also,                leads, each having eight in-line electrodes thereon, are
    attempting to reprogram the leads based on paresthesia                 positioned side-by-side, and wherein each lead is connected
    locations can be challenging.                                          to an implantable pulse generator (IPG), which IPG is, in
       What is needed is a more objective technique for verify             turn, coupled to an external programmer;
    ing the position of the leads.                                    35      FIG. 2 shows a functional block diagram of an IPG that
       Prior art approaches for determining the lead position are          uses multiple programmable current Sources to activate
    disclosed in U.S. Pat. Nos. 4,486,835; 4,539,640; and 5,184,           Selected electrodes of the neurostimulation leads,
    624, which patents are incorporated herein by reference.                 FIG. 3 shows a functional block diagram of an IPG that
                SUMMARY OF THE INVENTION
                                                                           uses multiple programmable Voltage Sources to activate
                                                                      40
                                                                           Selected electrodes of the neurostimulation leads,
        The present invention addresses the above and other                   FIG. 4 is a table that contains impedance vector and
    needs by providing a cross-check technique for verifying the           distance impedance data in accordance with one embodi
    position of the electrodes of the implanted leads. A first             ment of the invention;
    technique involves the use of interelectrode impedance. A         45
                                                                             FIG. 5 illustrates representative relative electrode orien
    Second technique involves measured field potentials. Either            tation in a patient having dual quadrapolar leads (two
    technique advantageously allows the relative orientation of            Side-by-side leads, each having four in-line electrodes
    one electrode on an implanted lead to other electrodes on the          thereon);
    implanted lead or adjacent implanted leads in the Spinal                 FIG. 6 is an impedance map that illustrates application of
                                                                           one embodiment of the invention to the electrode orientation
    column or other body/tissue location to be readily deter          50
    mined. Such techniques are useful not only for reprogram               shown in FIG. 5;
    ming, but also to estimate if the shifted orientation of the             FIG. 7 depicts a representative fluoroscopic image of dual
    electrodes is Sufficiently large So as to make electrical              quadrapolar leads in a patient;
    reprogramming a waste of time, thereby Suggesting that                   FIG. 8 illustrates, in accordance with another embodiment
    Surgery may need to be performed for repositioning.               55   of the invention, the measured electrode potential of non
        At present, the correct lead position may only be deter            activated electrodes on the dual quadrapolar lead of FIG. 7
    mined by X-ray or fluoroscopy. Disadvantageously, X-ray                when the activated electrode is activated through monopolar
    and fluoroscopy require expensive equipment, Significant               Stimulation;
    time, and appropriate medical facilities, most of which are               FIG. 9 illustrates the measured electrode potential of
    not readily available.                                            60   non-activated electrodes on the dual quadrapolar lead of
        The general process for fitting a neurostimulation patient,        FIG. 7 when the activated electrodes are activated through
    i.e., a Spinal cord Stimulation patient, is described, e.g., in        tripolar Stimulation; and
    U.S. Pat. Nos. 6,052,624; 6,393,325; in published interna                 FIG. 10 is a flowchart that highlights the main steps used
    tional patent application WO 02/09808 A1 (published 7 Feb.             with one embodiment of the present invention.
    2002); and in U.S. patent applications (assigned to the same      65      Corresponding reference characters indicate correspond
    assignee as the present application) Ser. No. 09/626,010,              ing components throughout the Several views of the draw
    filed Jul 26, 2000; and Ser. No. 09/740,339, filed Dec. 18,            IngS.
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                                                         US 6,993,384 B2
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               DETAILED DESCRIPTION OF THE                                 frequency (RF) link, an inductive link, an optical link, or a
                       INVENTION                                           magnetic link. The programmer 60, or other Similar external
                                                                           device, may also be used to couple power into the IPG for
       The following description is of the best mode presently             the purpose of operating the IPG or charging a replenishable
    contemplated for carrying out the invention. This descrip              power Source, e.g., a rechargeable battery, within the IPG.
    tion is not to be taken in a limiting Sense, but is made merely        Once the IPG 40 has been programmed, and its power
    for the purpose of describing the general principles of the            Source has been fully charged or replenished, it may operate
    invention. The scope of the invention should be determined             as programmed without the need for the external program
    with reference to the claim(s).                                        mer 60 to be present.
       The present invention uses: (1) interelectrode impedance               Turning next to FIG. 2, there is shown a representative
    (one technique or embodiment) or (2) measured field poten              functional block diagram of one type of IPG 40 that may be
    tials (another technique or embodiment) to determine the               used with a neurostimulation System. AS Seen in FIG. 2, the
    relative orientation of one electrode on an implanted lead to          IPG 40 therein depicted is made up of a multiplicity of dual
    other electrodes on the implanted lead or adjacent implanted           current Sources 42. Each dual current Source 42 includes a
    leads in the Spinal column or other body/tissue location.         15   positive current Source, i.e., a current Source that can func
       Before describing the two techniques, either of which               tion as an anode to “Source’ current to a load, and a current
    may be used, it will be helpful to first briefly provide an            Source that can function as a cathode to "sink' current from
    Overview of a representative neuroStimulation System of the            a load through the same node. The “load” is the tissue that
    type with which the present invention may be used. A                   resides between the two or more activated electrodes, and
    representative neuroStimulation System is illustrated in FIG.          includes the wire (or other conductive element) and a
    1. Such system may include a first implantable lead 20 and             coupling capacitor C that connects the electrode to the
    a second implantable lead 30. Each lead includes a series of           common node of the dual current Source.
    in-line electrodes thereon. For the example shown in FIG. 1,             Thus, for example, and as depicted in FIG. 2, a first dual
    the first lead 20 contains eight in-line electrodes E1, E2,            current Source connected to electrode E1 of a first lead
    E3, . . . E8. The second lead 30 also contains eight in-line      25   through a coupling capacitor C, may be programmed to
    electrodes E9, E10, E11, ... E16.                                      produce a current of +I1 or -I1 through electrode E1,
      Each of the electrodes of each lead 20 or 30 are electri             depending upon whether Such dual current Source is con
    cally connected through respective wires, embedded or                  figured to operate as a cathode or an anode, when Such first
    carried within a body of the lead, to an implantable pulse             dual current Source is turned on or enabled. Similarly, a
    generator (IPG) 40. The wires connected to the electrodes              Second current Source, connected to electrode E2, when
    E1, E2, E3, . . . E8 of lead 20, for example, may be                   turned on or enabled, may be programmed to produce a
    characterized as a bundle of wires 22 that are electrically            current of +I2 or -I2 through electrode E2. In a similar
    connected with the IPG 40. Similarly, the wires connected to           manner, a third current Source, when enabled, may be
    the electrodes E9, E10, E11, . . . E16 of lead 30 may be               programmed to produce a current of +I3 or -I3 through
    characterized as a bundle of wires 32 that are electrically       35   electrode E3. An nth current Source, where n represents the
    connected with the IPG 40. Through these wires, carried                number of electrodes on the first lead, is similarly connected
    within the respective leads 20 or 30, the IPG is able to direct        to electrode En, and may be programmed to produce a
    electrical Stimulation to Selected electrodes of each lead.            current of +In or -In through electrode En when turned on
      When a given electrode is Selected to receive an electrical          or enabled.
    Stimulus, it is (for purposes of the present invention) said to   40     If a Second lead, also having n electrodes, is positioned
    be “activated”. When an electrode is not selected to receive           adjacent the first lead, each electrode is similarly connected
    an electrical Stimulus, it is Said to be "non-activated”.              to a dual current Source. For example, electrode E(n+1) is
    Electrical Stimulation must always occur between two or                connected to a dual current Source that produces a current of
    more electrodes (So that the electrical current associated             +I(n+1) or -I(n+1) through electrode E(n+1) when Such
    with the stimulus has a path from the IPG to the tissue to be     45   (n+1)th current Source is enabled. In like manner, all of the
    stimulated, and a return path from the tissue to the IPG). The         electrodes of the Second lead are connected to respective
    case of the IPG may function, in Some modes of operation,              dual current Sources. There are thus 2n dual current Sources
    as a return electrode E. Monopolar Stimulation occurs when             that are respectively connected to each of the 2n electrodes
    a selected one of the electrodes of one of the leads 20 or 30          of the first and Second leads (n electrodes on each lead).
    is activated along with the return electrode E. Bipolar           50   Alternative embodiments (not shown) may employ less than
    stimulation occurs when two of the electrodes of the leads 20          2n dual current Sources connected to 2n electrodes through
    or 30 are activated, e.g., when electrode E3 of lead 20 is             a Suitable multiplexer circuit.
    activated as an anode at the same time that electrode E11 of             A programmable current control circuit 44 is also pro
    lead 30 is activated as a cathode. Tripolar Stimulation occurs         vided within the IPG 40 that controls, i.e., turns on or
    when three of the electrodes of the leads 20 or 30 are            55   enables, at Specified times, a Selected current Source to
    activated, e.g., when electrodes E4 and E5 of lead 20 are              operate as either a cathode or an anode to Source or Sink a
    activated as an anode at the same time that electrode E13 of           current having a desired amplitude. The control circuit 44
    lead 30 is activated as a cathode. In general, multipolar              also disables, or turns off, Selected current Sources, as
    stimulation occurs when multiple electrodes of the leads 20            controlled by programmed control data received from the
    or 30 are activated.                                              60   external programmer, or otherwise resident within the IPG.
      The IPG 40 is typically programmed, or controlled,                   The control circuit 44 further includes the ability to measure
    through the use of an external (non-implanted) programmer              the electrode Voltage, Eva, EV v2, Eva, . . . Eve . . . Ev2).
    60. The external programmer 60 is coupled to the IPG 40                appearing at the output of each dual current Source 42,
    through a Suitable communications link, represented in FIG.            whether the electrode is activated or non-activated. This
    1 by the wavy arrow 50. Such link 50 passes through the skin      65   effectively allows the electrode voltage, or electric field at
    18 of the patient. Representative links that may be used to            the electrode, to be measured, which in turn facilitates
    couple the programmer 60 with the IPG 40 include a radio               impedance or field potential measurements to be made,
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                                                         US 6,993,384 B2
                              S                                                                           6
    which measurements are used in carrying out various Steps                  A programmable Voltage control circuit 44' controls each
    of the invention as described below.                                    of the dual Voltage Sources 42, Specifying the amplitude,
       Thus, in operation, and as illustrated in FIG. 2, current            polarity, and duration of the Voltage that is applied to its
    control circuit 44 may turn on current Sources +I1 and +I2              respective terminal. Typically, Stimulation is achieved by
    at the same time, i.e., during a time period T1, that current           applying a biphasic Stimulation pulse 46" to the Selected
    Source -I(n+2) is turned on. All other current Sources are              electrodes, wherein a Voltage of a first polarity and ampli
    turned off, or disabled, during the time T1. Such action                tude is applied during time period T3, followed by a Voltage
    causes electrodes E1 and E2 to be activated as anodes at the            of the appositive polarity and amplitude during time period
    same time that electrode E(n+2) is activated as a cathode.              T4. The biphasic stimulation pulse 46" may be applied
    That is, a current +I1 is “sourced' from electrode E1 and a             between any two or more electrodes.
    current +I2 is “sourced' from electrode E2 at the same time                It should be noted that the functional block diagrams of
    that a current -I(n+2) is “sunk” into electrode E(n+2). The             FIGS. 2 and 3 are functional diagrams only, and are not
    amplitudes of the currents +I1 and +I2 may be any pro                   intended to be limiting. Those of skill in the art, given the
    grammed values, and the amplitude of the current -I(n+2)                descriptions presented herein, should be able to readily
    should be equal to -(I1+I2). That is, the current that is          15   fashion numerous types of IPG circuits, or equivalent cir
    Sourced is equal to the current that is Sunk.                           cuits, that carry out the functions indicated and described,
       After the time period T1, it is common to switch the                 which functions include not only producing a Stimulus
    polarities of the electrodes during a Second time period T2.            current or Voltage on Selected groups of electrodes, but also
    During T2, the electrodes E1 and E2 are activated as                    the ability to measure the Voltage, or the current, flowing
    cathodes, So that they both Sink current, and electrode                 through an activated or non-activated electrode. Such mea
    E(n+2) is activated as an anode, So that it sourches a current          Surements allow impedance to be determined (used with a
    equal in amplitude to the current that is Sunk by electrodes            first embodiment of the invention) or allow electric field
    E1 and E2. In this manner, a biphasic stimulation pulse 46              potentials to be measured (used with a second embodiment
    is produced that is characterized by a first pulse (during time         of the invention), as described in more detail below. A
    period T1) of one polarity, followed by a second pulse
                                                                       25   preferred IPG is described in international patent application
    immediately or shortly thereafter (during time period T2) of            WO 02/09808 A1 (published 7 Feb. 2002); and in U.S.
    the opposite polarity. The electrical charge associated with            patent application Ser. No. 09/626,010, filed Jul. 26, 2000,
    the first pulse is made So that it is equal to the charge               which publication and application have been previously
    asSociated with the Second pulse, thereby maintaining                   referenced and are incorporated herein by reference.
    charge balance during the Stimulation. (Maintaining charge                With the descriptions of FIGS. 1-3 thus providing back
    balance when Stimulating living tissue is generally consid              ground information relative to a neuroStimulation System,
    ered an important component of a stimulation regime.)                   the present invention will next be described. As has been
    Charge balance is commonly achieved in a biphasic pulse 46              indicated, the present invention addresses the problem of
    by making the amplitude of the first pulse during time T1               determining the relative position between electrodes once
                                                                       35   the leads on which the electrodes are carried have been
    equal to the amplitude of the Second pulse during time
    period T2, where T1 equals T2. However, charge balance                  implanted. The present invention uses: (1) interelectrode
    may also be achieved using other combinations of pulse                  impedance (one technique or embodiment) or (2) measured
    duration and amplitude, e.g., by making the amplitude of the            field potentials (another technique or embodiment) to deter
                                                                            mine the relative orientation of one electrode on an
    Second pulse equal to /2 the amplitude of the first pulse,         40
    while making the time period T2 equal to twice the time                 implanted lead to other electrodes on the implanted lead or
    period T1.                                                              adjacent implanted leads in the Spinal column or other
                                                                            body/tissue location.
       Next, with respect to FIG. 3, a functional block diagram                First, the interelectrode impedance technique of the
    of another type of IPG 40' that may be used in a neuro                  invention will be explained in connection with FIGS. 4-6.
    stimulation system is shown. The IPG 40' shown in FIG. 3,          45
                                                                            The interelectrode impedance technique is performed by
    includes a multiplicity of dual Voltage Sources 42", each               measuring impedance vectors. A vector is defined as an
    being connected to one of the electrodes E1, E2, E3, ... En,            impedance value measured between two electrodes in the
    of a first lead, or to one of the electrodes E(n+1), E(n+2), ...        body. The value of the impedance vector is due primarily to
    E(2n), of a second lead. Each dual voltage Source 42 applies            two physical entities:
    a programmed Voltage, of one polarity or another, to its           50
    respective electrode, when enabled or turned on. For the                  (1) the electrode-electrolyte interface; and
    configuration shown in FIG. 3, a Separate dual Voltage                    (2) the bulk impedance between the electrodes.
    Source 42" is connected to each electrode node through a                   The impedance tomography technique of the present
    coupling capacitor C. (Other embodiments, not shown, may                invention relies upon the latter of the above two physical
    use one or two or more Voltage Sources that are Selectively        55   entities, i.e., upon the bulk impedance between the elec
    connected to each electrode node through a multiplexer                  trodes.
    circuit.)                                                                 The bulk impedance portion of the impedance vector may
       The control circuit 44", or other circuitry within the IPG           be further broken up into two contributing factors: (a) the
    40', further includes the ability to measure the electrode              impedance of the tissue adjacent to the electrodes; and (b)
    current, E1, E2, Ers. . . . E . . . Eno, flowing to or from        60   the impedance of the tissue between the electrodes.
    its respective electrode, whether the electrode is activated or           The first factor (part a) makes up the majority of the
    non-activated, and the electrode Voltage, E-1, E2, Eva, . . .           measurement, due to the higher and non-uniform current
    Ev. ... Eve, appearing at the output of each non-activated              densities near the electrode Surface. However, the Second
    dual Voltage Source 42' These measurements facilitate                   factor (part b), where the current density is more uniform,
    impedance and electric field measurements or calculations to       65   has a roughly linear relationship to distance between the two
    be made, which measurements are used in carrying out                    electrodes, due to the definition of resistance. Resistance, R,
    various Steps of the invention as described below.                      is defined as
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                                                                  US 6,993,384 B2
                                         7                                                                          8
          R=(resistivity)x(distance)/cross-sectional area.                             Next, an alternative technique or embodiment for deter
       The second factor (part b) is used by the interelectrode                      mining relative electrode positions for multipolar leads of a
    impedance technique embodiment of the invention to deter                         neurostimulation system will be described. Such alternative
    mine the relative spacing between electrodes and to deter                        technique utilizes electric field measurements of the
    mine the relative orientation of the leads.                                      implanted electrodes, and more particularly, electric field
       By way of example, one first-order, Simple embodiment                         measurements on non-active electrodes caused by activation
    of the invention is as follows:                                                  of other electrodes. In a preferred embodiment of this
       If two multipolar leads are placed in the Spinal column,                      alternative embodiment, a constant current is Sourced (an
    see FIG. 5, each having four electrodes (the electrodes of                       odes) and Sunk (cathodes) from a predefined combination of
    one lead being designated as e1, e2, e3, and e4, and the                         electrodes. Such electrodes thus comprise the activated
    electrodes of the other lead being designated as E5, E6, E7                      electrodes. Then, the resulting potentials are measured at all
    and E8), their relative orientation may be inferred by making                    other electrodes (those not involved in Sourcing or sinking
    the following measurements:                                                      current), i.e., the non-activated electrodes. From these mea
       1. Monopolar impedances for all electrodes, and                               Sured potentials, the relative orientation of the electrodes,
       2. Bipolar impedances between each electrode on oppos
                                                                                15   and the leads on which the electrodes are carried, may be
          ing leads.                                                                 determined. Advantageously, the use of field potentials
                                                                                     represents an improvement over the use of impedance
       The monopolar impedances are used to “correct the                             measurements, Since the measured potential values are leSS
    bipolar impedances for the first factor of bulk impedance,                       Subject to the confounding effects of the tissue impedance
    the Strongly-weighted impedance near the electrode. The                          very close to the Source/sink electrodes.
    corrected bipolar impedances are then used to develop an                            By way of example of this electric field potential mea
    impedance “map' between the electrodes. This map reveals                         surement technique, consider FIGS. 7, 8 and 9. FIG. 7
    the relative orientation of the leads.                                           represents the relative position of dual quadrapolar leads 21
       To illustrate, a Sample correction formula is as follows:                     and 31 after being implanted in a patient, as obtained using
                                                                                25   a fluoroscopic imaging device. In many instances, the nec
                                                                                     essary imaging equipment needed to obtain a fluoroscopic
     (distance between two electrodes e i & e2) co                                   image, Such as is shown in FIG. 7, is not readily available.
       (measured bipolar impedance between two electrodes e 1 & e2) +                Advantageously, the present electrical field potential mea
                                                                                     Surement technique represents an alternative approach to
                 (2: offset) - (monopolar Z for electrode e 1)-                      obtaining relative electrode position information rather than
                                              (monopolar Z for electrode e2),        using an expensive and cumberSome imaging device.
                                                                                       Two combinations of anodes/cathodes are used to deliver
                                                                                     current to the leads of the dual quadrapolar leads 21 and 31.
    where offset=an estimate of the impedance in the monopolar                       The first technique is monopolar (current delivered or
                                                                                35   Sourced from one electrode-the cathode-and Sunk to the
    impedance measurement that is NOT due to the tissue near                         return electrode E-the anode). Thus, for each active
    the electrode.
                                                                                     monopolar combination, there are Seven non-active elec
       After the bipolar impedances are corrected by the above                       trodes on which the electric field may be measured. The
    formula, the relative orientation of the leads may be inferred                   Second technique is flanked tripolar stimulation (current
    by the relative minima of the impedance values. Where the                   40   delivered between two anodes and one cathode, with the
    corrected bipolar impedance between two electrodes is a                          cathode being flanked on each side by an anode).
    minimum relative to other electrodes on an opposing array,                         In both the monopolar Stimulation and the tripolar Stimu
    those electrodes are relatively adjacent. This information                       lation, a constant current is delivered to each electrode
    may then be loaded into a programmer, which can then                             implanted in the patient's body while the electric field
    provide a graphic display of the assumed relative lead                      45   potential is measured on all other electrodes NOT involved
    positions. Such data and/or display might then be compared                       in Sinking/Sourcing current. The constant current may be Set
    with previously measured or entered and Stored graphics,                         to a Subperception level, or to another Suitable level that is
    indicating earlier orientations. Such comparison can thus                        comfortable for the patient.
    help the physician/clinician to track the lead orientation to                       The electric field potentials for the monopolar stimulation
    determine appropriate programming, reprogramming, or                        50   are plotted on the same chart in FIG.8. The vertical axis is
    need for Surgical revision.                                                      millivolts. As seen in FIG. 8, the electrodes closest to the
       Also, for Some programming Systems, the present inven                         Source electrode have a high potential (note: all plots in FIG.
    tion may be used to automatically Setup the appropriate                          8 and FIG. 9 are “negative”, i.e., more negative potentials
    navigation tables for Steering multiple lead Systems.                            results in more positive measured values, as shown in the
       FIG. 4 illustrates data showing this simple embodiment                   55   plots). Thus, for example, consider electrode E8 (curve 71),
    applied to data from a patient with dual quadrapolar leads,                      which has its highest potential relative to electrode E4, and
    which leads are oriented as depicted in FIG. 5. FIG. 6 shows                     its lowest potential relative to electrodes E1 and E2, and an
    the impedance map resulting from the measurements of FIG.                        intermediate potential relative to electrode E3. This corre
    4. It can be seen that the impedance maps (FIG.6) correlate                      sponds to the actual electrode positions shown in FIG. 7,
    well to the orientation of the leads (FIG. 5).                              60   where electrode E8 is closest to electrode E4, Somewhat
       The Simple interelectrode impedance technique described                       further from electrode E3, and farthest from electrodes E2
    above may be enhanced by making more accurate correc                             and E1. A similar analysis for the monopolar Stimulation
    tions using the appropriate field equations to calculate the                     fields of the other electrodes reveals a similar relationship:
    monopolar and bipolar impedance of the electrodes. Also,                         the electrodes closest to the Source electrode have the higher
    other geometric methods may be employed using the                           65   potential.
    improved “distance impedance' values to improve the map                             The electric field potentials for the tripolar stimulation are
    ping of the electrode orientations.                                              plotted on the same chart in FIG. 9. Again, the vertical axis
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                                                         US 6,993,384 B2
                                   9                                                                     10
    is millivolts. As seen in FIG. 9, a better relative orientation           The magnitude of the difference in the compared electric
    can be obtained than can be obtained with the monopolar                field data may advantageously provide a relative measure of
    Stimulation. Those electrodes closest to the cathode have a            how far the lead has shifted or moved since the last electric
    high potential while those electrodes closest to the anode             field data was obtained. Advantageously, once a determina
    have a lower potential relative to the electrodes further away.        tion has been made that the leads (electrodes) have shifted
    For example, consider curve 72, which shows the electric               relative to each other, appropriate correction action may be
    field potential of the non-active electrodes relative to the           taken, as needed (block 92).
    tripolar stimulation of electrodes E2 E3 E4, with E2 and E4              The corrective action taken at block 92 of FIG. 10 may
    being anodes, and E3 being a cathode. As seen in FIG. 9,               include, for example, simply tracking the lead migration
    curve 72 has a peak corresponding to electrode E7, which               over time, So that other corrective action, e.g., Surgery to
    means electrode E7 is closest to the cathode E3. Curve 72              reposition the leads, can be taken when necessary. Even if
    further has lows or Valleys corresponding to electrodes E6             new Surgery to reposition the leads is not needed, simply
    and E8, which means E6 and E8 are closest to anode                     mapping the lead migration over time will enable repro
    electrodes E2 and E4. The actual orientation of the elec               gramming of the Stimuli parameters as needed So that a
    trodes shown in FIG. 7 reveals that E6 is closest to E2, and      15   desired effect can be obtained regardless of the lead move
                                                                           ment.
    E8 is closest to E4. Thus, it is seen that those electrodes
    closest to the flanked cathodic electrode have a high poten              The corrective action may further include Setting up
    tial while those electrodes closest to the anodic electrodes,          Stimulation configurations and parameters for providing
                                                                           nominal stimulation Suitable for the electrodes in their new
    on either Side of the cathodic electrode, have a lower                 relative positions. For example, the amplitude of the Stimu
    potential relative to the electrodes further away.                     lus applied to one electrode may be decreased if it is
       Hence, it is seen that by measuring the potential field of          determined that the electrode has migrated closer to another
    the non-active electrodes, when active electrodes are Stimu            Stimulating electrode of the Same polarity during Stimula
    lated at constant current levels, e.g., Subperception levels,          tion, thereby preserving approximately the same Stimulation
    the relative orientation of the neurostimulation leads may be     25   effect for the patient. Alternatively, the amplitude of the
    determined. Once known, the relative orientation may be                Stimulus applied to the electrode may be increased if the
    used to track lead migration, to Setup Stimulation configu             electrode has migrated closer to a Stimulating electrode of
    rations and parameters for nominal Stimulation and/or navi             the opposite polarity. Such amplitude adjustments may be
    gation, and to automatically adjust Stimulation energy to a            made manually or automatically, depending on the mode of
    previously-defined optimal potential field in the case of lead         operation of the neurostimulation System.
    migration or postural changes.                                            Yet another corrective action that may be taken at block
       Next, with reference to FIG. 10, a flowchart is shown that          92 of FIG. 10 is to adjust the distribution of the stimuli to a
    illustrates the main Steps that may be used to carry out and           new location through navigation. Navigation, as described in
    apply the invention described above in connection with                 the previously referenced patent documents, involves elec
    FIGS. 7-9. As seen in FIG. 10, a first step involves applying     35   tronically shifting the Stimulus current from one group of
    Suitable Stimuli, e.g., Subperception Stimuli, to a Selected           electrodes to another So as to shift or move the location
    group of electrodes (block 82). Such application of stimuli            where the patient feels the most beneficial paresthesia,
    defines the activated electrodes. While the stimuli are being          and/or receives the most benefit. Such navigation allows the
    applied to the activated electrodes, the electric field at the         neurostimulation System to be quickly “fitted” to a given
    non-activated electrodes is measured (block 84) and saved         40   patient. Fitting the neurostimulation System to the patient is
    (block 86) as electric field data (Block 86). Then, a deter            necessary after the System is first implanted, and may also be
    mination is made as to whether there are other groups of               necessary whenever the leads (electrodes) have moved. The
    electrodes that should be the “activated’ electrodes, so that          present invention thus provides a relatively easy way to
    additional electric field measurements can be made of the              determine whether Such lead movement has occurred, and
    “non-activated” electrodes (block 85). If YES (there are          45   thereby whether a refitting is or may be necessary.
    more electrode groups), then the steps shown at blockS 82,                Yet additional corrective action that may be taken at block
    84, and 86 are repeated using the new group of activated               92 of FIG. 10 in response to a determination that lead
    electrodes. If NO (all the electrode groups have been used),           migration or postural changes have occurred includes manu
    then the electric field data just obtained is compared to              ally or automatically adjusting the Stimulation energy to a
    previously-Saved electric field data for the same non-acti        50   previously-defined optimal potential field.
    vated electrodes (block 88).                                              It is thus Seen that the present invention uses a measure of
      The previously-saved electric field data may have been               impedance or electric field to determine relative lead posi
    obtained during initial implantation of the leads, or during           tions for multipolar leads in a multi-lead configuration of a
    the last visit (Several weeks or months ago) to the doctor. Or,        neurostimulation System, e.g., a spinal cord Stimulation
    the previously-Saved electric field data may have been            55   System.
    obtained just a new hours or minutes ago at a time when the               It is also seen that the invention uses impedance or electric
    patient's body had assumed a different posture position.               field measurements to determine relative lead positions,
    Regardless of when the previously-Saved electric field data            which impedance or electric field measurements may be
    was obtained, the purpose of the comparison performed at               used as an automated or assistive method for Setting up a
    block 88 of FIG. 10 is to determine if the relative position      60   programmer for navigation, other programming, or diagnos
    of the leads has changed, which change in position would               tic evaluations in spinal cord (or other neural) stimulation.
    also have caused a relative change in the position of the                 It is additionally seen that the invention may be directed
    electrodes carried on the leads. Such determination may be             to the Storing of impedance or electric field maps to chroni
    made by analyzing the electric field data (block 90) as                cally track relative lead positions in a programmer linked to
    described above in connection with FIG. 8 and/or FIG. 9 to        65   a database, along with other patient data.
    determine whether the relative electrode orientation has                 While the invention herein disclosed has been described
    changed.                                                               by means of Specific embodiments and applications thereof,
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                                 11                                                                    12
    numerous modifications and variations could be made                     15. The method of claim 13 wherein the corrective action
    thereto by those skilled in the art without departing from the        includes adjusting the amplitude of the Stimulus applied to
    Scope of the invention Set forth in the claims.                       Selected electrodes during operation of the neurostimulation
      What is claimed is:                                                 System.
       1. A method for determining the relative lead position of            16. The method of claim 13 wherein the corrective action
    multipolar leads in a multi-lead configuration comprising             includes changing the electrodes through which a Stimulus is
      measuring impedance vectors between electrodes, and                 applied during operation of the neuroStimulation System.
      inferring the relative position of the lead by the relative           17. The method of claim 13 wherein the corrective action
          minima and maxima of the impedance values.                      includes adjusting the Stimulation energy produced by the
      2. The method of claim 1 wherein measuring the imped                neurostimulation System to a previously-defined optimal
    ance vectors comprises:                                               potential field.
      measuring the monopolar impedances for all electrodes;
      measuring bipolar impedances between each electrode on                18. The method of claim 13 wherein the corrective action
          opposing leads, and                                             comprises Setting up Stimulation configurations and param
      correcting the bipolar impedances for adjacent tissue          15
                                                                          eters that provide nominal Stimulation Suitable for the elec
          impedance.                                                      trodes in their new relative positions.
      3. The method of claim 2 further including mapping the                 19. A method for determining the relative position of
    corrected bipolar impedances to create an impedance map,              electrodes used by a neurostimulation System, the method
    which impedance map reveals the relative orientation of the           comprising Steps for:
    leads.
      4. The method of claim 3 further including storing the                (a) applying a stimulus to a selected group of the elec
    map for future reference.                                                  trodes;
      5. The method of claim 4 further including referring to the           (b) measuring the electric field potential at the electrodes
    map at a future time to see if the lead position has changed,    25
                                                                               not included in the group of electrodes to which the
    and if So, how much.                                                       Stimulus is applied;
      6. A method for determining whether the relative position             (c) analyzing the measured electric field potential at each
    of electrodes used by a neurostimulation System has                        electrode relative to the measured electric field poten
    changed, the method comprising Steps for:                                  tial at other electrodes to determine the position of the
      (a) applying a stimulus to a Selected group of the elec                  electrodes relative to each other.
         trodes;                                                            20. The method of claim 19 wherein step (a) comprises
      (b) measuring the electric field at the electrodes not              applying a stimulus monopolarly between one selected
         included in the group of electrodes to which the Stimu           electrode and a return or reference electrode.
         lus is applied;                                                    21. The method of claim 19 wherein step (a) comprises
      (c) repeating Steps (a) and (b) over time and determining      35   applying a stimulus tripolarly between three Selected elec
         if changes in the measured electric field have occurred;         trodes, wherein at least one of the three electrodes comprises
      (d) analyzing the changes in the electric field to determine        an anode, and at least one of the three electrodes comprises
         whether changes in the relative position of the elec             a cathode.
         trodes has occurred.
      7. The method of claim 6 wherein step (a) comprises                   22. The method of claim 21 further including flanking the
                                                                     40   electrode configured as a cathode with electrodes configured
    applying a Stimulus monopolarly between one Selected                  as an anode, thereby creating a guarded cathode tripolar
    electrode and a return or reference electrode.
      8. The method of claim 6 wherein step (a) comprises                 electrode configuration through which the Stimulus is
                                                                          applied.
    applying a stimulus tripolarly between three Selected elec
    trodes, wherein at least one of the three electrodes comprises   45
                                                                            23. The method of claim 19 wherein step (c) includes
    an anode, and at least one of the three electrodes comprises          plotting the measured electric field as a function of the
    a cathode.                                                            Selected electrode groups through which the Stimulus is
       9. The method of claim 8 wherein at least two of the three         applied.
    electrodes are configured as an anode, and one of the three             24. An apparatus for determining the relative position or
    electrodes is configured as a cathode.                           50   orientation of electrodes carried on neurostimulation leads,
       10. The method of claim 9 further including flanking the           comprising:
    electrode configured as a cathode with the electrodes con               a multiplicity of implantable electrodes,
    figured as an anode, thereby creating a guarded cathode                 means for applying a Stimulus to a Selected group of the
    bipolar electrode configuration through which the Stimulus                 multiplicity of electrodes;
    is applied.                                                      55     means for measuring the electric field at the electrodes not
       11. The method of claim 6 further including storing the                 included in the group of electrodes to which the Stimu
    electric field measured at the electrodes not included in the              lus is applied;
    group of electrodes through which the Stimulus is applied.              means for analyzing the measured electric field to deter
      12. The method of claim 6 wherein step (c) includes                      mine the relative position or orientation of the elec
    plotting the measured electric field as a function of the        60
                                                                               trodes, and
    Selected electrode groups through which the Stimulus is
    applied.                                                                means for automatically initiating corrective action in the
       13. The method of claim 6 further including initiating                 event that a changes in the relative position or orien
    corrective action when a determination is made that the                    tation of the leads has occurred.
    relative position of the electrodes has changed.                 65     25. The apparatus of claim 24 further including:
       14. The method of claim 13 further including initiating the          means for determining if changes in the measured electric
    corrective action automatically.                                           field have occurred over time, and
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                            13                                                                  14
      means for analyzing whether the changes that have                27. The apparatus of claim 26 wherein appropriate repro
        occurred in the electric field over time are indicative of   gramming involves a Setup of navigation tables for Steering
         a change in the relative position or orientation of the the multiple electrodes.
         electrodes.                                                28. The apparatus of claim 24 wherein means for auto
                                                                5 matically initiating corrective action includes tracking the
      26. The apparatus of claim 24 wherein means for auto electrode orientation
    matically initiating corrective action includes tracking the Sion.                  to determine a need for Surgical revi
    electrode orientation to determine appropriate reprogram
    ming.                                                                                 k    .   .   .   .
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                              EXHIBIT 5
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                                                                                                 US00785.333 OB2


    (12) United States Patent                                                  (10) Patent No.:                US 7,853,330 B2
           Bradley et al.                                                      (45) Date of Patent:                    Dec. 14, 2010
    (54) APPARATUS AND METHOD FOR                                                  4,735,204 A     4, 1988 Sussman et al.
            DETERMINING THE RELATIVE POSITION                                      4,911,174 A     3, 1990 Pederson et al.
            AND ORIENTATION OF                                                     5,184,624 A     2f1993 Brown et al.
            NEUROSTIMULATION LEADS                                                 5,201,865 A     4/1993 Kuehn

    (75) Inventors: Kerry Bradley, Glendale, CA (US);
                              James Thacker, Eureka, MO (US);
                              Michael Moffitt, Valencia, CA (US)                                     (Continued)
    (73) Assignee: Boston Scientific Neuromodulation                                     FOREIGN PATENT DOCUMENTS
                              Corporation, Valencia, CA (US)                WO          WO O2/O98O8 A1        2/2002
    (*) Notice:               Subject to any disclaimer, the term of this
                              patent is extended or adjusted under 35
                              U.S.C. 154(b) by 372 days.                                     OTHER PUBLICATIONS
    (21) Appl. No.: 11/938,490                                              Office Action dated Apr. 12, 2005 for U.S. Appl. No. 10/310,202,
                                                                            filed Dec. 3, 2002, inventor: Kerry Bradley, (6 pages).
    (22) Filed:               Nov. 12, 2007
                                                                                                     (Continued)
    (65)                           Prior Publication Data                   Primary Examiner Scott M Getzow
            US 2008/O125833 A1                    May 29, 2008              (74) Attorney, Agent, or Firm Vista IP Law Group LLP
                        Related U.S. Application Data                       (57)                    ABSTRACT
    (63) Continuation-in-part of application No. 1 1/343,007,
         filed on Jan. 30, 2006, and a continuation of applica-             A method for determining whether the relative position of
            tion No. 10/310,202, filed on Dec. 3, 2002, now Pat.
            No.• 6,993,384
                 a s- - - s- Y - I -
                                                                            electrodes used by a neurostimulation system has changed
                                                                            within a patient comprises determining the amplitude of a
    (60) Provisional application No. 60/338,331, filed on Dec.              field potential at each of at least one of the electrodes, deter
         4, 2001.                                                           mining if a change in each of the determined electric field
                                                                            amplitudes has occurred, and analyzing the change in each of
    (51) Int. Cl.                                                           the determined electric field amplitudes to determine whether
         A61N L/00                   (2006.01)                              a change in the relative position of the electrodes has
    (52) U.S. Cl. .............................. 607/62; 607/2; 607/117     occurred. Another method comprises measuring a first
    (58) Field of Classification Search ..................... 607/1,        monopolar impedance between a first electrode and a refer
                                                      607/28–63, 117, 2     ence electrode, measuring a second monopolar impedance
         See application file for complete search history.                  between second electrode and the reference electrode, mea
                                                                            Suring a bipolar impedance between the first and second
    (56)                           References Cited                         electrodes, and estimating an amplitude of a field potential at
                     U.S. PATENT DOCUMENTS                                  the second electrode based on the first and second monopolar
                                                                            impedances and the bipolar impedance.
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                    EXTERWAL
                   PROGRAMMER
                                    60
                            50




                  IMPLAWTABLE
                     PULSE
                   GENERATOR 4
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                                                         [3]

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                Mu TWINIOd (1.1/SW4W
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                 09º      n             S          S         #1
                                                             0

                       Mu TWINHIOd (17/SWIW
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    U.S. Patent                                               US 7,853,330 B2




                                                                     CN
                                                                     Li

                                                           OOALOST
                                                        OROS WOONOW
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                      Field Potentials: Estimated VS Measured




               m1 m2 m3 na m5 m6 m7 m.8 m.9 m 10 m11 m 12 m13 m 14 m.15 m, 16
                                  Measurement Contact

                                         FIG. 13A

                      Field Potentials: Estimated VS Measured




              m1 m2 m3 m4 m.5 m6 m7 m.8 mg m10 m 11 m 12 m 13 m 14 m15 m16
                                  Measurement Contact

                                         F.G. 13B
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                           Field Potentials: Estimated VS Measured
          140
          130
          120
          110
          1OO
           90
           8O
           7O
           60
           50
           40
                 n1, m2 m3 m4 m.5 m6 m7 n.8 m.9 m 10 n11 in 12 n.13 m14 in 15 m16
                                        Measurement Contact

                                                FIG. 13C

                           Field Potentials: Estimated VS Measured
          140
          130                                                                -O-S4 est
          120                                                                - HS4 meas
          110
          1 OO
            90
            80
            70
            60
            50
            40
                 fn1   2    3   4   5       6   7     8 m9 in 10 in 11 in 12 in 13 n14 in 15 in 16
                                        Measurement Contact

                                                FIG. 13D
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                          Field Potentials: Estimated VS Measured
         140
         130
         120
         110
         100




               in 1   2    3 mA.   5     G   7 r8 m9 in 10 n 11   12   13 n14   15 in 16
                                       Measurement Contact

                                             FIG. 13E


                          Field Potentials: Estimated VS Measured
         140
         130
         120
         110
         1OO
          90
          8O
          70
          60
          50
          40
               m1 m2 m3 m4 m.5 m6 m/ m8 m.9 m 10 in 11 m12 m 13 m4 m15 m16
                                       Measurement Contact

                                             FIG. 13F
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                      Field Potentials: Estimated VS Measured




               n   n2 n.8 mA.   5 m3 m/     8 m.9 m 0 m.11 m12 n.13 m14 in 15 m 16
                                 Measurement Contact

                                        FIG. 13G


                      Field Potentials: Estimated VS Measured




               n   n2 n3 nA, n.5 Iné n7     8 n9    10 p.11 m 2 n.13 n14 15 in 16
                                 Measurement Contact

                                        F.G. 13H
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                           Field Potentials: Estimated VS Measured
         14O
         130
         120
         110
         1 OO
           90
           80
           70
           60
           50
           AO
                m1     2    3   4   5     ,6   7     8    9 m. On 11 in 12 in 13 n14     15 in 16
                                        Measurement Contact

                                               F.G. 13

                           Field Potentials: Estimated VS Measured
         140
         130
         120
         110
         100
          90
          8O
          70
          60
           50
          40
                in 1   2    3   4   5 m3 in/          8   9 in 10 in 11 in 12 n.13 in 14 r15 in 16
                                        Measurement Contact

                                               F.G. 13J
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                      Field Potentials: Estimated VS Measured




              m1 r2    3      4   5 m       7     8   9 in 10 n 11 m 12 m13 n14 in 15 m, 16
                                    Measurement Contact

                                           FIG. 13K


                      Field Potentials: Estimated VS Measured




              n1, m2 m3 m4 m5           6 m7 m.8 m.9 m 10 m11 in 12 n.13 m14 in 15 m 16
                                    Measurement Contact

                                           F.G. 13L
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                        Field Potentials: Estimated VS Measured
          140
          130                                                            -On S13 est
          120                                                                 1 meas
                                                                             S13

          110
          1OO
                                                                       |-le
           90
           80
           70
           60
           50
           40
                 1 m2    3      4    5 ns m7        8 m9    10 in 11 m 12 n.13 m14 in 15 m 16
                                      Measurement Contact

                                             FIG. 13M


                        Field Potentials: Estimated VS Measured
          140                                                                             n
          130                                                            -O-S14 est
          120                                                            H HS 14 meas
          110
          100
           90
           8O
           70
           60
           50
           40
                m1 r2    3      4    5 ns     7     8 nS in On 11 n12 n.13 in 14 in 15 m 16
                                      Measurement Contact

                                             F.G. 13N
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                         Field Potentials: Estimated VS Measured
         1so
         130                                                          -O-S 15 est
         12O
         110
                                                                      - His 15 t
         1 OO
           90
           8O
           7O
           60
           50
           40
                m1 r2 n3 nA       5 ris inf r8 nS         10 n 11 in 12 n.13 in 14 r15 r16
                                   Measurement Contact

                                           FIG. 13O


                         Field Potentials: Estimated VS Measured
         140
         130                                                           -O-S16 est
         120                                                           - His 16 meas
         11 O
         100




                n1, m2    3 na n5      6    7     8 ng     O n1 in 12 in 13 n14 15 16
                                    Measurement Contact

                                           F.G. 13P
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                         ACOURE ELECTRICAL                           84
                      PARAMETERSA ELECTRODES




                            SAVE ACOURED                             86
                        ELECTRICAL PARAMETERS




                    COMPAREACOURED ELECTRICAL
                    PARAMETER OAATO PREVIOUSY                        88
                 SAVED ELECTRICAL PARAMETER DATA



                                                90
                                   HAVE
                 NO           LEADS SHIFTED
                             RELATIVE TO EACH
                                  OTHERT


                                         YES


                            TAKE APPROPRIATE                         92
                            CORRECTIVE ACTION



                                   F.G. 14
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                                                          US 7,853,330 B2
                                   1.                                                                     2
             APPARATUS AND METHOD FOR                                       described, e.g., in U.S. Pat. Nos. 6,052,624; 6,393,325; in
         DETERMINING THE RELATIVE POSITION                                  published international patent application WO 02/09808A1
                AND ORIENTATION OF                                          (published 7 Feb. 2002); and in U.S. patent application (as
              NEUROSTIMULATION LEADS                                        signed to the same assignee as the present application) Ser.
                                                                            No. 09/626,010, filed Jul 26, 2000; and Ser. No. 09/740,339,
                    RELATED APPLICATIONS                                    filed Dec. 18, 2000, which patents, publication, and applica
                                                                            tions are incorporated herein by reference.
       The present application is a continuation-in-part of U.S.               As indicated in those documents, prior to fitting a patient
    patent application Ser. No. 1 1/343,007, filed Jan. 30, 2006,           with the certain types of neurostimulation leads, the relative
    which is a continuation of U.S. patent application Ser. No.        10
                                                                            orientation of the electrodes on the implanted leads should be
    10/310,202, filed Dec. 3, 2002 (now U.S. Pat. No. 6,993,384),           known in order to allow appropriate navigation of the stimu
    which application claims the benefit of U.S. Provisional                lation energy. At present, a determination of the relative ori
    Patent Application Ser. No. 60/338,331, filed Dec. 4, 2001,             entation typically requires that a fluoroscope or X-ray image
    each of which is incorporated herein by reference.                      of the implanted leads be present at the time of patient setup
                                                                       15   with the system programmer. Disadvantageously, however,
              BACKGROUND OF THE INVENTION
                                                                            Such images may not always be available. Moreover, between
                                                                            the time of implant and follow-up visits, the leads may have
       The present invention relates to neurostimulation systems,           shifted and the fluoroscope image may no longer be valid.
    Such as a spinal cord stimulation (SCS) system, and more                This can result in poor patient outcomes due to inappropriate
    particularly to a method for determining the relative position          or unexpected stimulation effects during fitting.
    and orientation of electrodes on a neurostimulation lead or
    leads used with Such a system.                                            Hence, it is seen that there is a need for the cross-check
       In SCS systems, positioning of the leads is critical to the          techniques provided by the present invention, which tech
    Success of the therapy. During Surgery, the physician places            niques can be used to Verify the position of the leads at
    the leads in a very careful manner in order to locate the          25
                                                                            numerous times during the lifetime of the implanted leads,
    electrodes proximal to neural elements that are the target of           e.g., during initial implantation and programming, during
    the stimulation. During and after placement, stimulation                follow-up visits, throughout the trial period, and during Sub
    energy is delivered to verify that the leads are indeed stimu           sequent reprogramming sessions.
    lating the appropriate neural elements.                                    Other and further aspects and features of the invention will
       However, if the leads happen to shift position, the targeted    30   be evident from reading the following detailed description of
    neural elements may no longer be appropriately stimulated.              the preferred embodiments, which are intended to illustrate,
    At best, this can require electrical reprogramming to restore           not limit, the invention.
    therapy or, at worst, Surgical revision, where a second Surgery
    is required and the leads must be manually readjusted. In the                 BRIEF DESCRIPTION OF THE DRAWINGS
    first case, the physician may have only a suspicion that a lead    35
    has shifted position, based on patient reporting of paresthesia,           The drawings illustrate the design and utility of preferred
    which is not foolproof. Also, attempting to reprogram the               embodiments of the present invention, in which similar ele
    leads based on paresthesia locations can be challenging.                ments are referred to by common reference numerals. In order
       What is needed is a more objective technique for verifying           to better appreciate how the above-recited and other advan
    the position of the leads.                                         40   tages and objects of the present inventions are obtained, a
       Prior art approaches for determining the lead position are           more particular description of the present inventions briefly
    disclosed in U.S. Pat. Nos. 4486,835; 4,539,640; and 5,184,             described above will be rendered by reference to specific
    624, which patents are incorporated herein by reference.                embodiments thereof, which are illustrated in the accompa
                                                                            nying drawings. Understanding that these drawings depict
                SUMMARY OF THE INVENTION                               45   only typical embodiments of the invention and are not there
                                                                            fore to be considered limiting of its scope, the invention will
       The present invention addresses the above and other needs            be described and explained with additional specificity and
    by providing a cross-check technique for Verifying the posi             detail through the use of the accompanying drawings in
    tion of the electrodes of the implanted leads. A first technique        which:
    involves the use of interelectrode impedance. A second tech        50      FIG. 1 illustrates a neurostimulation system wherein two
    nique involves measured field potentials. A third technique             leads, each having eight in-line electrodes thereon, are posi
    involves estimated field potentials. Any of these techniques            tioned side-by-side, and wherein each lead is connected to an
    advantageously allows the relative orientation of one elec              implantable pulse generator (IPG), which IPG is, in turn,
    trode on an implanted lead to other electrodes on the                   coupled to an external programmer,
    implanted lead or adjacent implanted leads in the spinal col       55
                                                                               FIG. 2 shows a functional block diagram of an IPG that
    umn or other body/tissue location to be readily determined.             uses multiple programmable current sources to activate
    Such techniques are useful not only for reprogramming, but              selected electrodes of the neurostimulation leads:
    also to estimate if the shifted orientation of the electrodes is
    Sufficiently large so as to make electrical reprogramming a               FIG. 3 shows a functional block diagram of an IPG that
    waste of time, thereby Suggesting that Surgery may need to be      60   uses multiple programmable Voltage sources to activate
    performed for repositioning.                                            selected electrodes of the neurostimulation leads:
       At present, the correct lead position may only be deter                FIG. 4 is a table that contains impedance vector and dis
    mined by X-ray or fluoroscopy. Disadvantageously, X-ray                 tance impedance data in accordance with one embodiment of
    and fluoroscopy require expensive equipment, significant                the invention;
    time, and appropriate medical facilities, most of which are not    65      FIG. 5 illustrates representative relative electrode orienta
    readily available. The general process for fitting a neuro              tion in a patient having dual quadrapolar leads (two side-by
    stimulation patient, i.e., a spinal cord stimulation patient, is        side leads, each having four in-line electrodes thereon);
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                                                          US 7,853,330 B2
                               3                                                                           4
      FIG. 6 is an impedance map that illustrates application of             contains eight in-line electrodes E1, E2, E3, . . . E8. The
    one embodiment of the invention to the electrode orientation             second lead 30 also contains eight in-line electrodes E9, E10.
    shown in FIG. 5:                                                         E11, ... E16.
      FIG. 7 depicts a representative fluoroscopic image of dual               Each of the electrodes of each lead 20 or 30 are electrically
    quadrapolar leads in a patient;                                          connected through respective wires, embedded or carried
      FIG. 8 illustrates, in accordance with another embodiment              within a body of the lead, to an implantable pulse generator
    of the invention, the measured electrode potential of non                (IPG) 40. The wires connected to the electrodes E1, E2,
    activated electrodes on the dual quadrapolar lead of FIG. 7              E3, ... E8 of lead 20, for example, may be characterized as a
    when the activated electrode is activated through monopolar              bundle of wires 22 that are electrically connected with the
    stimulation;                                                        10   IPG 40. Similarly, the wires connected to the electrodes E9.
       FIG. 9 illustrates the measured electrode potential of non            E10, E11, ... E16 of lead 30 may be characterized as abundle
    activated electrodes on the dual quadrapolar lead of FIG. 7              of wires 32 that are electrically connected with the IPG 40.
    when the activated electrodes are activated through tripolar             Through these wires, carried within the respective leads 20 or
    stimulation;                                                             30, the IPG is able to direct electrical stimulation to selected
                                                                        15   electrodes of each lead.
       FIG. 10 illustrates an arrangement of two electrodes and a              When a given electrode is selected to receive an electrical
    return electrode, wherein monopolar impedance measure                    stimulus, it is (for purposes of the present invention) said to be
    ments are taken between the two electrodes and the return                “activated. When an electrode is not selected to receive an
    electrodes, and a bipolar impedance measurement is taken                 electrical stimulus, it is said to be “non-activated’. Electrical
    between the two electrodes;                                              stimulation must always occur between two or more elec
       FIG. 11 is a field potential matrix created when the two              trodes (so that the electrical current associated with the stimu
    electrodes of FIG. 10 are sourcing current while field poten             lus has a path from the IPG to the tissue to be stimulated, and
    tials are measured on the two electrodes;                                a return path from the tissue to the IPG). The case of the IPG
       FIG. 12 is a field potential matrix created when the three            may function, in some modes of operation, as a return elec
    electrodes are sourcing current while field potentials are mea      25   trode E. Monopolar stimulation occurs when a selected one
    sured on the three electrodes;                                           or more of the electrodes of one of the leads 20 or 30 is
       FIG. 13 illustrates a comparison between the actual mea               activated with a common polarity (anode or cathode), and the
    sured field potential on leads of FIG. 1 and the estimated field         return electrode E is activated at the opposite polarity. Bipo
    potential on the leads of FIG. 1; and                                    lar stimulation occurs when two of the electrodes of the leads
       FIG. 14 is a flowchart that highlights the main steps used       30   20 or 30 are activated, e.g., when electrode E3 of lead 20 is
    with one embodiment of the present invention.                            activated as an anode at the same time that electrode E11 of
                                                                             lead 30 is activated as a cathode. Tripolar stimulation occurs
               DETAILED DESCRIPTION OF THE                                   when three of the electrodes of the leads 20 or 30 are acti
                      EMBODIMENTS                                            vated, e.g., when electrodes E4 and E5 of lead 20 are activated
                                                                        35   as an anode at the same time that electrode E13 of lead 30 is
                                                                             activated as a cathode. In general, multipolar stimulation
       At the outset, it is noted that the present invention may be          occurs when multiple electrodes of the leads 20 or 30 are
    used with an implantable pulse generator (IPG), radio fre                activated, but the IPG case is not used as a return electrode.
    quency (RF) transmitter, or similar electrical stimulator, that             The IPG 40 is typically programmed, or controlled,
    may be used as a component of numerous different types of           40   through the use of an external (non-implanted) programmer
    stimulation systems. The description that follows relates to a           60. The external programmer 60 is coupled to the IPG 40
    spinal cord stimulation (SCS) system. However, it is to be               through a Suitable communications link, represented in FIG.
    understood that while the invention lends itself well to appli           1 by the wavy arrow 50. Such link 50 passes through the skin
    cations in SCS, the invention, in its broadest aspects, may not          18 of the patient. Representative links that may be used to
    be so limited. Rather, the invention may be used with any type      45   couple the programmer 60 with the IPG 40 include a radio
    of implantable electrical circuitry used to stimulate tissue. For        frequency (RF) link, an inductive link, an optical link, or a
    example, the present invention may be used as part of a                  magnetic link. The programmer 60, or other similar external
    pacemaker, a defibrillator, a cochlear stimulator, a retinal             device, may also be used to couple power into the IPG for the
    stimulator, a stimulator configured to produce coordinated               purpose of operating the IPG or charging a replenishable
    limb movement, a cortical stimulator, a deep brain stimulator,      50   power source, e.g., a rechargeable battery, within the IPG.
    a peripheral nervestimulator, or in any other neural stimulator          Once the IPG 40 has been programmed, and its power source
    configured to treaturinary incontinence, sleep apnea, shoul              has been fully charged or replenished, it may operate as
    der Sublaxation, etc.                                                    programmed without the need for the external programmer
       The embodiments described herein use: (1) interelectrode              60 to be present.
    impedance; (2) actual field potentials; or (3) estimated field      55      Turning next to FIG. 2, there is shown a representative
    potentials to determine the relative orientation of one elec             functional block diagram of one type of IPG 40 that may be
    trode on an implanted lead to other electrodes on the                    used with a neurostimulation system. As seen in FIG. 2, the
    implanted lead or adjacent implanted leads in the spinal col             IPG 40 therein depicted is made up of a multiplicity of dual
    umn or other body/tissue location.                                       current sources 42. Each dual current Source 42 includes a
       Before describing the three techniques, any of which may         60   positive current source, i.e., a current Source that can function
    be used, it will be helpful to first briefly provide an overview         as an anode to “source’ current to a load, and a current Source
    of a representative neurostimulation system of the type in               that can function as a cathode to "sink current from a load
    which these techniques may be used. A representative neuro               through the same node. The “load' is the tissue that resides
    stimulation system is illustrated in FIG.1. Such system may              between the two or more activated electrodes, and includes
    include a first implantable lead 20 and a second implantable        65   the wire (or other conductive element) and a coupling capaci
    lead 30. Each lead includes a series of in-line electrodes               tor C that connects the electrode to the common node of the
    thereon. For the example shown in FIG. 1, the first lead 20              dual current source.
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      Thus, for example, and as depicted in FIG. 2, a first dual             followed by a second pulse immediately or shortly thereafter
    current source connected to electrode E1 of a first lead                 (during time period T2) of the opposite polarity. The electrical
    through a coupling capacitor C, may be programmed to pro                 charge associated with the first pulse is made so that it is equal
    duce a current of +I1 or -I1 through electrode E1, depending             to the charge associated with the second pulse, thereby main
    upon whether Such dual current source is configured to oper              taining charge balance during the stimulation. Maintaining
    ate as a cathode or an anode, when Such first dual current               charge balance when stimulating living tissue is generally
    Source is turned on or enabled. Similarly, a second current              considered an important component of a stimulation regime.
    source, connected to electrode E2, when turned on or enabled,            Charge balance is commonly achieved in a biphasic pulse 46
    may be programmed to produce a current of +I2 or -I2                     by making the amplitude of the first pulse during time T1
    through electrode E2. In a similar manner, a third current          10   equal to the amplitude of the second pulse during time period
    Source, when enabled, may be programmed to produce a                     T2, where T1 equals T2. However, charge balance may also
    current of +I3 or -I3 through electrode E3. An nth current               be achieved using other combinations of pulse duration and
    source, where n represents the number of electrodes on the               amplitude, e.g., by making the amplitude of the second pulse
    first lead, is similarly connected to electrode En, and may be           equal to /2 the amplitude of the first pulse, while making the
    programmed to produce a current of +In or -In through elec          15   time period T2 equal to twice the time period T1.
    trode En when turned on or enabled.                                         Next, with respect to FIG.3, a functional block diagram of
       If a second lead, also having n electrodes, is positioned             another type of IPG 40' that may be used in a neurostimulation
    adjacent the first lead, each electrode is similarly connected to        system is shown. The IPG 40' shown in FIG. 3, includes a
    a dual current source. For example, electrode E(n+1) is con              multiplicity of dual Voltage sources 42", each being connected
    nected to a dual current source that produces a current                  to one of the electrodes E1, E2, E3, ... En, of a first lead, or
    of +I(n+1) or -I(n+1) through electrode E(n+1) when such                 to one of the electrodes E(n+1), E(n+2), ... E(2n), of a second
    (n+1)th current source is enabled. In like manner, all of the            lead. Each dual Voltage source 42 applies a programmed
    electrodes of the second lead are connected to respective dual           Voltage, of one polarity or another, to its respective electrode,
    current sources. There are thus 2n dual current sources that             when enabled or turned on. For the configuration shown in
    are respectively connected to each of the 2n electrodes of the      25   FIG.3, a separate dual Voltage source 42' is connected to each
    first and second leads (n electrodes on each lead). Alternative          electrode node through a coupling capacitor C. Other
    embodiments (not shown) may employ less than 2n dual                     embodiments, not shown, may use one or two or more Voltage
    current sources connected to 2n electrodes through a suitable            Sources that are selectively connected to each electrode node
    multiplexercircuit.                                                      through a multiplexercircuit.
       A programmable current control circuit 44 is also provided       30      The control circuit 44", or other circuitry within the IPG 40'.
    within the IPG 40 that controls, i.e., turns on or enables, at           further includes the ability to measure the electrode current,
    specified times, a selected current source to operate as either          E. E. Es.... E. ... E2 flowing to or from its respective
    a cathode or an anode to source or sink a current having a               electrode, whether the electrode is activated or non-activated,
    desired amplitude. The control circuit 44 also disables, or              and the electrode Voltage, Ep1, E2, Eva. . . . Eve ... Etc2.
    turns off selected current sources, as controlled by pro            35   appearing at the output of each non-activated dual Voltage
    grammed control data received from the external program                  Source 42. These measurements facilitate impedance and
    mer, or otherwise resident within the IPG. The control circuit           electric field measurements or calculations to be made, which
    44 further includes the ability to measure the electrode volt            measurements are used in carrying out various steps of the
    age. E-1, E2, Evs. ... Ev, ... Evo appearing at the output               invention as described below.
    of each dual current source 42, whether the electrode is acti       40      A programmable Voltage control circuit 44' controls each
    vated or non-activated. This effectively allows the electrode            of the dual Voltage sources 42", specifying the amplitude,
    voltage, or electric field at the electrode, to be measured,             polarity, and duration of the Voltage that is applied to its
    which in turn facilitates impedance or field potential mea               respective terminal. Typically, stimulation is achieved by
    Surements to be made, which measurements are used in car                 applying a biphasic stimulation pulse 46' to the selected elec
    rying out various steps of the invention as described below.        45   trodes, wherein a Voltage of a first polarity and amplitude is
       Thus, in operation, and as illustrated in FIG. 2, current             applied during time period T3, followed by a voltage of the
    control circuit 44 may turn on current sources +I1 and +I2 at            opposite polarity and amplitude during time period T4. The
    the same time, i.e., during a time period T1, that current               biphasic stimulation pulse 46" may be applied between any
    Source -I(n+2) is turned on. All other current Sources are               two or more electrodes.
    turned off, or disabled, during the time T1. Such action causes     50      It should be noted that the functional block diagrams of
    electrodes E1 and E2 to be activated as anodes at the same               FIGS. 2 and 3 are functional diagrams only, and are not
    time that electrode E(n+2) is activated as a cathode. That is, a         intended to be limiting. Those of skill in the art, given the
    current +I1 is “sourced' from electrode E1 and a current +I2             descriptions presented herein, should be able to readily fash
    is “sourced' from electrode E2 at the same time that a current           ion numerous types of IPG circuits, or equivalent circuits, that
    -I(n+2) is “sunk' into electrode E(n+2). The amplitudes of          55   carry out the functions indicated and described, which func
    the currents +I1 and +I2 may be any programmed values, and               tions include not only producing a stimulus current or Voltage
    the amplitude of the current-I(n+2) should be equal to -(I1+             on selected groups of electrodes, but also the ability to mea
    I2). That is, the current that is sourced is equal to the current        Sure the Voltage, or the current, flowing through an activated
    that is Sunk.                                                            or non-activated electrode. Such measurements allow imped
       After the time period T1, it is common to switch the polari      60   ance to be determined (used with a first embodiment of the
    ties of the electrodes during a second time period T2. During            invention), allow field potentials to be measured (used with a
    T2, the electrodes E1 and E2 are activated as cathodes, so that          second embodiment of the invention), or allow field poten
    they both sink current, and electrode E(n+2) is activated as an          tials to be estimated (used with a third embodiment of the
    anode, so that it sources a current equal in amplitude to the            invention), as described in more detail below. A preferred IPG
    current that is sunk by electrodes E1 and E2. In this manner,       65   is described in international patent application WO 02/09808
    a biphasic stimulation pulse 46 is produced that is character            A1 (published 7 Feb. 2002); and in U.S. patent application
    ized by a first pulse (during time period T1) of one polarity,           Ser. No. 09/626,010, filed Jul. 26, 2000, which publication
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    and application have been previously referenced and are                  those electrodes are relatively adjacent. This information may
    incorporated herein by reference.                                        then be loaded into a programmer, which can then provide a
      With the descriptions of FIGS. 1-3 thus providing back                 graphic display of the assumed relative lead positions. Such
    ground information relative to a neurostimulation system, the            data and/or display might then be compared with previously
    embodiments will next be described. As has been indicated,               measured or entered and stored graphics, indicating earlier
    the embodiments address the problem of determining the                   orientations. Such comparison can thus help the physician/
    relative position between electrodes once the leads on which             clinician to track the lead orientation to determine appropriate
    the electrodes are carried have been implanted. The embodi               programming, reprogramming, or need for Surgical revision.
    ments use: (1) interelectrode impedances; (2) actual field               Also, for Some programming systems, the present invention
    potentials; or (3) estimated field potentials to determine the      10   may be used to automatically setup the appropriate navigation
    relative orientation of one electrode on an implanted lead to            tables for steering multiple lead systems.
    other electrodes on the implanted lead or adjacent implanted                FIG. 4 illustrates data showing this simple embodiment
    leads in the spinal column or other body/tissue location.                applied to data from a patient with dual quadrapolar leads,
       First, the interelectrode impedance technique for determin            which leads are oriented as depicted in FIG. 5. FIG. 6 shows
    ing relative electrode positions for multipolar leads of a neu      15   the impedance map resulting from the measurements of FIG.
    rostimulation system will be explained in connection with                4. It can be seen that the impedance maps (FIG. 6) correlate
    FIGS. 4-6. The interelectrode impedance technique is per                 well to the orientation of the leads (FIG. 5).
    formed by measuring impedance vectors. A vector is defined                  The simple interelectrode impedance technique described
    as an impedance value measured between two electrodes in                 above may be enhanced by making more accurate corrections
    the body. The value of the impedance vector is due primarily             using the appropriate field equations to calculate the monopo
    to two physical entities: (1) the electrode-electrolyte inter            lar and bipolar impedance of the electrodes. Also, other geo
    face; and (2) the bulk impedance between the electrodes. The             metric methods may be employed using the improved "dis
    impedance tomography technique of the present invention                  tance impedance values to improve the mapping of the
    relies upon the latter of the above two physical entities, i.e.,         electrode orientations.
    upon the bulk impedance between the electrodes. The bulk            25      Next, the actual field measurement technique for determin
    impedance portion of the impedance vector may be further                 ing relative electrode positions for multipolar leads of a neu
    broken up into two contributing factors: (a) the impedance of            rostimulation system will be explained in connection with
    the tissue adjacent to the electrodes; and (b) the impedance of          FIGS. 7-9. Such a technique utilizes field potential measure
    the tissue between the electrodes.                                       ments of the implanted electrodes, and more particularly,
       The first factor (parta) makes up the majority of the mea        30   field potential measurements on non-active electrodes caused
    Surement, due to the higher and non-uniform current densities            by activation of other electrodes. In a preferred embodiment
    near the electrode surface. However, the second factor (part             of this alternative embodiment, a constant current is sourced
    b), where the current density is more uniform, has a roughly             (anodes) and sunk (cathodes) from a predefined combination
    linear relationship to distance between the two electrodes,              of electrodes. Such electrodes thus comprise the activated
    due to the definition of resistance. Resistance, R, is defined as   35   electrodes. Then, the resulting field potentials are measured at
    R=(resistivity)x(distance)/cross-sectional area. The second              all other electrodes (those not involved in sourcing or sinking
    factor (part b) is used by the interelectrode impedance tech             current), i.e., the non-activated electrodes. From these mea
    nique embodiment of the invention to determine the relative              sured field potentials, the relative orientation of the elec
    spacing between electrodes and to determine the relative ori             trodes, and the leads on which the electrodes are carried, may
    entation of the leads.                                              40   be determined. Advantageously, the use of field potentials
       By way of example, one first-order, simple embodiment of              represents an improvement over the use of impedance mea
    the invention is as follows: if two multipolar leads are placed          Surements, since the measured potential values are less Sub
    in the spinal column, see FIG. 5, each having four electrodes            ject to the confounding effects of the tissue impedance very
    (the electrodes of one lead being designated as e1, e2, e3, and          close to the Source? sink electrodes.
    e4; and the electrodes of the other lead being designated as        45      By way of example of this field potential measurement
    E5, E6, E7 and E8), their relative orientation may be inferred           technique, consider FIGS. 7, 8 and 9. FIG. 7 represents the
    by making the following measurements: (1) monopolar                      relative position of dual quadrapolar leads 21 and 31 after
    impedances for all electrodes; and (2) bipolar impedances                being implanted in a patient, as obtained using a fluoroscopic
    between a given electrode and each electrode (one at a time)             imaging device. In many instances, the necessary imaging
    on opposing leads.                                                  50   equipment needed to obtain a fluoroscopic image. Such as is
       The monopolar impedances are used to “correct the bipo                shown in FIG. 7, is not readily available. Advantageously, the
    lar impedances for the first factor of bulk impedance, the               present field potential measurement technique represents an
    strongly-weighted impedance near the electrode. The cor                  alternative approach to obtaining relative electrode position
    rected bipolar impedances are then used to develop an imped              information rather than using an expensive and cumbersome
    ance “map' between the electrodes. This map reveals the             55   imaging device.
    relative orientation of the leads. To illustrate, a sample cor             Two combinations of anodes/cathodes are used to deliver
    rection formula is as follows: (distance between two elec                current to the leads of the dual quadrapolar leads 21 and 31.
    trodes e1 & e2)-(measured bipolar impedance between two                  The first technique is monopolar; that is, current delivered or
    electrodes e1 & e2)+(2* offset)-(monopolar Z for electrode               sourced from one electrode (the cathode) and sunk to the
    e1)-(monopolar Z for electrode e2), where offset—an esti            60   return electrode E (the anode). Thus, for each active
    mate of the impedance in the monopolar impedance measure                 monopolar combination, there are seven non-active elec
    ment that is NOT due to the tissue near the electrode.                   trodes on which the field potential may be measured. The
      After the bipolar impedances are corrected by the above                second technique is flanked tripolar stimulation; that is, cur
    formula, the relative orientation of the leads may be inferred           rent delivered between two anodes and one cathode, with the
    by the relative minima of the impedance values. Where the           65   cathode being flanked on each side by an anode.
    corrected bipolar impedance between two electrodes is a                    In both the monopolar stimulation and the tripolar stimu
    minimum relative to other electrodes on an opposing array,               lation, a constant current is delivered to each electrode
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                                   9                                                                      10
    implanted in the patient’s body while the field potential is            in FIG. 1) in addition to the impedance measurements mea
    measured on all other electrodes NOT involved in sinking/               sured to effect a function unrelated to the relative electrode
    Sourcing current. The constant current may be set to a Sub              orientation determination.
    perception level, or to another suitable level that is comfort            As illustrated in FIG. 10, a first monopolar impedance
    able for the patient.                                                   measurement is taken between a first one of the electrodes
      The field potentials for the monopolar stimulation are plot           E1-E16 (in this case electrode E1) and the return electrode E.
    ted on the same chart in FIG.8. The vertical axis is millivolts.        a second monopolar impedance measurement is taken
    As seen in FIG. 8, the electrodes closest to the source elec            between a second one of the electrodes E1-E16 (in this case,
    trode have a high field potential (note: all plots in FIG. 8 and        electrode E2) and the return electrode E, and a bipolar
    FIG. 9 are “negative', i.e., more negative potentials results in   10   impedance measurement is taken between the first and sec
    more positive measured values, as shown in the plots). Thus,            ond ones of the electrodes E1-E16 (in this case, between
    for example, consider electrode E8 (curve 71), which has its            electrodes E1 and E2). As will be described in further detail
    highest field potential relative to electrode E4, and its lowest        below, the field potential that would have been created at
    field potential relative to electrodes E1 and E2, and an inter          electrode E2 had electrode E1 been activated in a monopolar
    mediate potential relative to electrode E3. This corresponds to    15   manner can then be estimated based on these impedance
    the actual electrode positions shown in FIG. 7, where elec              measurements. The impedance measurements can be taken in
    trode E8 is closest to electrode E4, somewhat further from              the same manner described above with respect to the first
    electrode E3, and farthest from electrodes E2 and E1. A                 technique. Notably, the estimate of the field potential at elec
    similar analysis for the monopolar stimulation fields of the            trode E2 will be approximately equal to the actual field poten
    other electrodes reveals a similar relationship: the electrodes         tial measured at electrode E2, as an inactive electrode, assum
    closest to the source electrode have the higher potential.              ing that electrode E1 would have been activated. The
       The field potentials for the tripolar stimulation are plotted        monopolar and bipolar impedance measurements can be per
    on the same chart in FIG. 9. Again, the vertical axis is milli          formed on each pair of electrodes E1-E16 to obtain field
    volts. As seen in FIG. 9, a better relative orientation can be          potential estimations for each electrode (i.e., 15 field potential
    obtained than can be obtained with the monopolar stimula           25   estimations for each electrode corresponding to 15 assumed
    tion. Those electrodes closest to the cathode have a high field         activations of the remaining electrodes).
    potential while those electrodes closest to the anode have a               Referring now to FIG. 11, the theory behind estimating
    lower field potential relative to the electrodes further away.          field potentials based on monopolar and bipolar impedance
    For example, consider curve 72, which shows the field poten             measurements will now be explained. If electrode E1 sources
    tial of the non-active electrodes relative to the tripolar stimu   30   current in a monopolar fashion to electrode E, a field poten
    lation of electrodes E2, E3, E4, with E2 and E4 being anodes,           tial db is created at electrode E1. Similarly, if electrode E2
    and E3 being a cathode. As seen in FIG.9, curve 72 has a peak           sources current in a monopolar fashion to electrode E, a field
    corresponding to electrode E7, which means electrode E7 is              potential d, is created at electrode E2. By reciprocity, a field
    closest to the cathode E3. Curve 72 further has lows or valleys         potential db is seen on electrode E1 when electrode E2
    corresponding to electrodes E6 and E8, which means E6 and          35   sources current, and on electrode E2 when electrode E1
    E8 are closest to anode electrodes E2 and E4. The actual                Sources current. Assuming that the field potentials d-do, are
    orientation of the electrodes shown in FIG. 7 reveals that E6           unknown, linear Superposition can be applied to estimate field
    is closest to E2, and E8 is closest to E4. Thus, it is seen that        potentials on electrodes E1, E2 when both are used to source/
    those electrodes closest to the flanked cathodic electrode have         sink current simultaneously. Note that the field potential db is
    a high field potential while those electrodes closest to the       40   equal to the monopolar impedance of electrode E1 if the
    anodic electrodes, on either side of the cathodic electrode,            Source current is unit value, and the field potential db is equal
    have a lower field potential relative to the electrodes further         to the monopolar impedance of electrode E2 if the source
    away.                                                                   current is unit value. Solving for bipolar impedance/field
      Hence, it is seen that by measuring the field potential of the        potentials, and letting electrode E1 source unit current and
    non-active electrodes, when active electrodes are stimulated       45   electrode E2 sink unit current, the bipolar field potential at
    at constant current levels, e.g., Subperception levels, the rela        electrode E1 will equal the monopolarfield potential do the
    tive orientation of the neurostimulation leads may be deter             monopolarfield potential d, and the bipolar field potential at
    mined. Once known, the relative orientation may be used to              electrode E2 will equal the monopolar field potential do the
    performany one or more of a variety of corrective actions, as           monopolar field potential db. Assuming that the bipolar
    will be described in further detail below.                         50   impedance R, between electrodes E1 and E2 equals the
       Next, the estimated field potential technique for determin           voltage potential (AV) between electrodes E1 and E2 divided
    ing relative electrode positions for multipolar leads of a neu          by the unit current (I) between electrodes E1 and E2, then
    rostimulation system will be explained in connection with               R-((d-d)-((d-da))/1=d--d-2d. Because the
    FIGS. 10 and 11. Like the previous technique, this technique            monopolar field potentials dandd, at electrodes E1 and E2
    analyzes the field potentials at the implanted electrodes.         55   respectively equal the monopolar impedances R, and R2
    Unlike the previous technique, however, this technique esti             at electrodes E1 and E2, assuming unit current, it follows that
    mates the field potentials at the implanted electrodes based on         d. -(R-R-R2)/2. Thus, the field potentialatany elec
    measured electrical parameters, and in particular, measured             trode due to active passage of current at other electrode(s) can
    monopolar and bipolar impedances. Notably, this technique               be estimated based on measured monopolar/bipolar imped
    has the advantage of minimizing the number of actual mea           60   ances by solving for the electrical Voltage potential db.
    Surements performed by the neurostimulation system in the                  Notably, while this equation has been presented herein to
    case where impedance measurements must already be taken                 estimate a field potential db for the purpose of determining
    to effect another function, Such as Verifying contact continu           the migration of electrical leads or electrodes, any one of the
    ity, remaining battery charge estimation, detecting electrode           monopolar impedances between two electrodes and a return
    shorts, etc. That is, in the previous technique, actual field      65   electrode, the bipolar impedance between the two electrodes,
    potential measurements would have to be measured to deter               and the field potential at one of the two electrodes can be
    mine the relative orientation of the electrodes E1-E16 (shown           estimated by actually measuring the remaining two of the
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                                  11                                                                    12
    monopolar impedances, bipolar impedance, and field poten               differences for arbitrary electrode configurations. That is,
    tial to solve the equation for the estimated parameter. Thus,          assuming a unit current, the monopolar impedances on elec
    instead of measuring all three of these parameters, only two of        trodes E1-E3 will be the field potentials d-d, and the
    them need to be actually measured, while the remaining                 bipolar impedances on electrodes E1, E2 will be d-dd
    parameter can be estimated.                                            2db bipolar impedances on electrodes E2, E3 will be
       While estimation of field potentials from monopolar and             d-d-2D, and bipolar impedances on electrodes E1 E3
    multipolar impedance measurements (or estimation of a mul              will be d-d-2d,
    tipolar impedance using field potentials and monopolar                    Referring to FIGS. 13 A-13P, it can be seen that the esti
    impedance; or estimation of a monopolar impedance using                mated field potential of any electrode calculated in accor
    field potentials and multipolar impedance) has been illus         10   dance with this equation is approximately the same as the
    trated with a simple two-contact (plus distant return for              field potential actually measured at the electrode in response
    monopolar measurements) system, it is noted that many                  to the monopolar delivery of electrical current from another
    monopolar and multipolar combinations with two or more                 electrode to the return electrode. In particular, two percuta
    electrodes could be used to estimate field potentials (or              neous leads carrying eight electrodes (similar to the leads 20,
    impedances) given the linearity and reciprocity associated        15   30 shown in FIG. 1) each were introduced into a sausage loaf,
    with the solution method.                                              which has been found to closely simulate the introduction
       For example, referring now to FIG. 12, if electrode E1              leads into the spinal column of a patient. In each of the cases,
    Sources current in a monopolar fashion to electrode E, a field         current was sourced from a different electrode in a monopolar
    potential discreated at electrode E1; if electrode E2 sources          manner and actual field potentials were measured on each of
    current in a monopolar fashion to electrode E, a field poten           the other electrodes. In each of the cases, a monopolar imped
    tial d, is created at electrode E2; and if electrode E3 sources        ance was also measured at a different electrode, bipolar
    current in a monopolar fashion to electrode E, a field poten           impedances were measured between the different electrode
    tial dis created at electrode E3. By reciprocity, a field poten        and the other electrodes, and field potentials were estimated
    tial d is seen on electrode E1 when electrode E2 sources               for the other electrodes.
    current, and on electrode E2 when electrode E1 sources cur        25      For each case, the actual and estimated field potentials
    rent; a field potential d is seen on electrode E2 when elec            were then plotted together, as shown in FIGS. 13 A-13P. The
    trode E3 sources current, and on electrode E3 when electrode           Vertical axis represents millivolts (in response to a 1 mA
    E2 sources current; and a field potential d, is seen on elec           current sink), and the horizontal axis represents the electrode
    trode E1 when electrode E3 sources current, and on electrode           designation (m1-m16). The electrode having the highest field
    E3 when electrode E1 sources current.                             30   potential will be the closest electrode to the electrode that is
       Assuming that field potentials d-d, are initially                   currently sourcing the current (in the case where actual field
    unknown, there may be a variety of ways to estimate the field          potentials are measured) or the closest electrode to the elec
    potentials d-d, using linear supposition. For example, the             trode at which the monopolar and bipolar impedances are
    field potentials d-d, can be estimated by configuring the              measured (in the case where the field potentials are estimated.
    electrodes E1-E3 in three configuration (1 tripolar configu       35   More significant to the determination of the relative positions
    ration, 1 bipolar configuration, and 1 monopolar configura             of the leads carrying the electrodes, the electrode having the
    tion).                                                                 highest field potential on one lead will typically be the closest
       Assume for the tripolar configuration that unit values of           electrode to the electrode that is sinking the monopolar cur
    +0.5, -1.0, and +0.5 are respectively applied to electrodes            rent from the other lead or the closest electrode to the elec
    E1-E3, then the respective monopolar field potentials m1-m3       40   trode at which the monopolar and bipolar impedances are
    on electrodes E1-E3 will be will m1 =0.5d,+0.5d-da                     measured. For example, referring to FIG. 13A, electrode E9
    m2=-d,+0.5d,+0.5d and m3=0.5d...+0.5d,-d. Assume                       has the highest potential of the electrodes on the second lead
    for the bipolar configuration that unit values of +1.0 and -1.0        relative to the electrode E1 on the first lead, and thus, is closest
    are respectively applied to electrodes E1 and E2, then the             in proximity to the electrode E1.
    respective monopolar field potentials ma and m5 on elec           45     Next, with reference to FIG. 14, a flowchart is shown that
    trodes E1 and E2 will be will ma=d-d; and m5=d-d.                      illustrates the main steps that may be used to carry out and
    Assume for the monopolar configuration that a unit value of            apply the techniques described above. First, the amplitudes of
    -1.0 is applied to electrode E3, then a monopolar field poten          the pertinent electrical parameters are acquired at the elec
    tial mó on electrode E3 will be -d-.                                   trodes (block 82). For example, if the interelectrode imped
       Based on the field potential measurements m1-m6, the six       50   ance measurement technique is used, the pertinent electrical
    unknown field potentials d-d, can be solved using common               parameters will be impedance vectors, as described above
    algebraic techniques or linear algebraic techniques, as fol            with respect to FIGS. 4-7. If the field potential measurement
    lows:                                                                  technique is used, the pertinent electrical parameters will be
                                                                           actual field potentials, as described above with respect to
                                                                      55   FIGS. 8-9. In this case, suitable stimuli, e.g., subperception
                                                                           stimuli, are applied to different electrodes as activated elec
                                                                           trodes. While the stimulus is being applied to each of the
                                                                           activated electrodes, field potentials at the non-activated elec
                                                                           trodes are measured. If the field potential estimation tech
                                                                      60   nique is used, the electrical parameter will be an estimated
                                                                           field potential, as described above with respect to FIG. 10-12.
                                                                           In this case, the monopolar impedances between the elec
                                                                           trodes and the return electrode are measured, the bipolar
                                                                           impedances between the electrodes are measured, and the
                                                                      65   field potentials at the electrodes are estimated therefrom.
    The calculated field potentials d-d, can be used to estimate              The amplitudes of the acquired electrical parameters are
    bipolarimpedances and monopolar impedances and potential               then saved (block 86), and the stored electrical parameter data
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                                                           US 7,853,330 B2
                                  13                                                                          14
    is compared to previously-saved electrical parameter data for                Yet additional corrective action that may be taken at block
    the same electrodes (block 88). The previously-saved electri              92 in response to a determination that lead migration or pos
    cal parameter data may have been obtained during initial                  tural changes have occurred includes manually or automati
    implantation of the leads, or during the last visit (several              cally adjusting the stimulation energy to a previously-defined
    weeks or months ago) to the doctor. Or, the previously-saved              optimal field potential.
    electrical parameter data may have been obtained just a new                  It is thus seen that the present invention uses a measure or
    hours or minutes ago at a time when the patient’s body had                estimation of impedance or electric field to determine relative
    assumed a different posture position. Regardless of when the              lead positions for multipolar leads in a multi-lead configura
    previously-saved electrical parameter data was obtained, the              tion of a neurostimulation system, e.g., a spinal cord stimu
    purpose of the comparison performed at block 88 is to deter          10   lation system. It is also seen that the neurostimulation system
    mine if the relative position of the leads has changed, which             uses impedance or electric field measurements or estimations
    change in position would also have caused a relative change               to determine relative lead positions, which impedance or
    in the position of the electrodes carried on the leads. Such              electric field measurement estimations may be used as an
    determination may be made by analyzing the electrical                     automated or assistive method for setting up a programmer
    parameter data (block 90) as described above in connection           15   for navigation, other programming, or diagnostic evaluations
    with FIGS. 4-7 (where the electrical parameter data are                   in spinal cord (or other neural) stimulation. It is additionally
    impedance vectors), in connection with FIGS. 8-9 (where the               seen that the neurostimulation system may be directed to the
    electrical parameter data are actual field potentials), or in             storing of impedance or electric field maps to chronically
    connection with FIGS. 10-12 (where the electrical parameter               track relative lead positions in a programmer linked to a
    data are estimated field potentials), to determine whether the            database, along with other patient data.
    relative electrode orientation has changed.                                  Although particular embodiments of the present inventions
       The magnitude of the difference in the compared electrical             have been shown and described, it will be understood that it is
    parameter data may advantageously provide a relative mea                  not intended to limit the present inventions to the preferred
    sure of how far the lead has shifted or moved since the last              embodiments, and it will be obvious to those skilled in the art
    electrical parameter data was obtained. If a determination has       25   that various changes and modifications may be made without
    been made that the leads (electrodes) have not shifted relative           departing from the spirit and scope of the present inventions.
    to each other (block 90), the process returns to block 84.                Thus, the present inventions are intended to cover alterna
    Advantageously, if a determination has been made that the                 tives, modifications, and equivalents, which may be included
    leads (electrodes) have shifted relative to each other (block             within the spirit and scope of the present inventions as defined
    90), appropriate correction action may be taken, as needed           30   by the claims.
    (block 92). The corrective action taken at block 92 may                     What is claimed is:
    include, for example, simply tracking the lead migration over                1. A method of performing a medical procedure using a
    time, so that other corrective action, e.g., Surgery to reposition        plurality of electrodes implanted within a patient, compris
    the leads, can be taken when necessary. Even if new Surgery               ing:
    to reposition the leads is not needed, simply mapping the lead       35
                                                                                 measuring a first monopolar electrical impedance between
    migration overtime will enable reprogramming of the stimuli                    a first one of the electrodes and a return or reference
    parameters as needed so that a desired effect can be obtained                  electrode:
    regardless of the lead movement.                                            measuring a second monopolar electrical impedance
       The corrective action may further include setting up stimu                  between each of at least one of the electrodes and the
    lation configurations and parameters for providing nominal           40
    stimulation suitable for the electrodes in their new relative                  return or reference electrode:
    positions. For example, the amplitude of the stimulus applied               measuring a bipolar electrical impedance between the first
                                                                                   one of the electrodes and each of the at least one elec
    to one electrode may be decreased if it is determined that the                 trode:
    electrode has migrated closer to another stimulating electrode              determining the amplitude of a field potential at each of at
    of the same polarity during stimulation, thereby preserving          45
                                                                                   least one of the electrodes based on the measured first
    approximately the same stimulation effect for the patient.
    Alternatively, the amplitude of the stimulus applied to the                   monopolar electrical impedance, each of the second
    electrode may be increased if the electrode has migrated                      monopolar electrical impedances, and each of the mea
    closer to a stimulating electrode of the opposite polarity. Such              Sured bipolar electrical impedances; and
    amplitude adjustments may be made manually or automati               50     determining the relative positions of the electrodes based
    cally, depending on the mode of operation of the neurostimu                   on each of the determined field potential amplitudes.
    lation system.                                                              2. The method of claim 1, wherein the electrodes are car
       Yet another corrective action that may be taken at block 92            ried by a plurality of leads, the method further comprising
    is to adjust the distribution of the stimuli to a new location            determining the relative positions of the leads based on the
    through navigation. Navigation, as described in the previ            55   determined field potential amplitude of the each of the at least
    ously referenced patent documents, involves electronically                one electrode.
    shifting the stimulus current from one group of electrodes to               3. The method of claim 2, wherein the entireties of the leads
    another so as to shift or move the location where the patient             are implanted within the tissue of the patient.
    feels the most beneficial paresthesia, and/or receives the most             4. The method of claim 1, further comprising:
    benefit. Such navigation allows the neurostimulation system          60     determining if a change in each of the determined field
    to be quickly “fitted to a given patient. Fitting the neuro                    potential amplitudes has occurred; and
    stimulation system to the patient is necessary after the system             analyzing the change in each of the determined field poten
    is first implanted, and may also be necessary whenever the                     tial amplitudes to determine whether a change in the
    leads (electrodes) have moved. The neurostimulation system                     relative position of the electrodes has occurred.
    provides a relatively easy way to determine whether such lead        65     5. The method of claim 4, further including initiating cor
    movement has occurred, and thereby whether a refitting is or              rective action when a determination is made that the relative
    may be necessary.                                                         position of the electrodes has changed.
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                                                           US 7,853,330 B2
                                   15                                                                      16
      6. The method of claim 5, wherein the corrective action is              potential at the second electrode when an electrical stimulus
    initiated automatically.                                                  is conveyed between the first electrode and the return or
      7. The method of claim 5, wherein the corrective action                 reference electrode.
    includes adjusting the amplitude of tissue stimulating electri               20. The method of claim 18, further comprising determin
    cal energy applied to selected ones of the electrodes.                    ing whethera change in the relative positions of the electrodes
      8. The method of claim 5, wherein the corrective action                 has occurred based on the estimated field potential amplitude.
    includes changing selected ones of the electrodes through                    21. The method of claim 20, further comprising perform
    which tissue stimulating electrical energy is applied.                    ing a function unrelated to the determining whether a change
      9. The method of claim 5, wherein the corrective action                 in the relative positions of the electrodes has occurred based
    includes performing a Surgical revision on the patient to            10   on at least one of the first monopolar impedance, second
    physically readjust the electrodes.                                       monopolar impedance, and bipolar impedance.
      10. The method of claim 1, wherein the electrodes are                      22. The method of claim 21, wherein the function is one or
    carried by a plurality of leads, and wherein the change in each           more of determining a remaining battery life of neurostimu
    of the determined field amplitudes are analyzed to determine              lator and detecting an electrical short within the neurostimu
    migration of the leads relative to each other.                       15   lator.
      11. The method of claim 10,                                                23. The method of claim 20, further including initiating
      wherein the entireties of the leads are implanted within the            corrective action when a determination is made that the rela
         tissue of the patient.                                               tive position of the electrodes has changed.
       12. The method of claim 1, further comprising displaying                  24. The method of claim 20, wherein the corrective action
    the determined relative positions of the electrodes.                      is initiated automatically.
      13. The method of claim 1, wherein the at least one elec                   25. The method of claim 20, further comprising displaying
    trode comprises a plurality of the electrodes.                            the determined relative positions of the electrodes.
       14. The method of claim 1, where the field potential ampli                26. The method of claim 21, wherein the amplitude of the
    tude determination comprises directly measuring the field                 field potential is estimated in accordance with the equation
    potential amplitude directly at each of the at least one elec        25   d=(I-I-I2)/2, where d equals the magnitude of the
    trode.                                                                    field potential, I equals the bipolar electrical impedance,
       15. The method of claim 1, wherein the amplitude of the                I, equals the first monopolar electrical impedance, and I2
    field potential at each of the at least one electrode is estimated        equals the second monopolar electrical impedance.
    in accordance with the equation d-(I-I-I2)/2, where                          27. A method for performing a medical procedure using a
    d equals the amplitude of the field potential, I equals the          30   plurality of electrodes implanted within a patient, compris
    respective bipolar electrical impedance, I, equals the first              1ng:
    monopolar electrical impedance, and I, equals the respec                     performing two of the following: (1) measuring a first
    tive second monopolar electrical impedance.                                    monopolar impedance between a first one of the elec
       16. The method of claim 1, further comprising storing each                  trodes and a return or reference electrode, and measuring
    of the determined field potential amplitudes.                        35        a second monopolar impedance between a second one of
       17. The method of claim 1, further applying conveying                       the electrodes and the return or reference electrode; (2)
    tissue stimulating electrical energy to selected ones of the                   measuring a bipolar impedance between the first elec
    electrodes, thereby providing therapy to the patient.                          trode and the second electrode; and (3) measuring a field
       18. A method for performing a medical procedure using a                     potential at the second electrode; and
    plurality of electrodes implanted within a patient, compris          40      estimating a remaining one of the (1) first and second
    1ng:                                                                           monopolar impedances; (2) the bipolar impedance; and
      measuring a first monopolar impedance between a first one                    (3) the field potential based on the performance of the
           of the electrodes and a return or reference electrode:                    tWO measurementS.
      measuring a second monopolar impedance between a sec                       28. The method of claim 27, wherein the remaining one of
           ond one of the electrodes and the return or reference         45   the (1) first and second monopolar impedances; (2) the bipo
           electrode:                                                         lar impedance; and (3) the field potential is estimated in
      measuring a bipolar impedance between the first electrode               accordance with the equation d-(I-I-I2)/2, where d
           and the second electrode; and                                      equals the field potential, I equals the bipolar electrical
      estimating an amplitude of a field potential at the second              impedance, I, equals the first monopolar electrical imped
        electrode based on the first and second monopolar                50   ance, and I, equals the second monopolar electrical imped
        impedances and the bipolar impedance.                                 aCC.
      19. The method of claim 18, wherein the estimated field
    potential amplitude is approximately equal to the actual field
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                              EXHIBIT 6
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                                                                                                         USOO7822480B2


    (12) United States Patent                                                          (10) Patent No.:                        US 7822,480 B2
           Park et al.                                                                 (45) Date of Patent:                             Oct. 26, 2010

    (54) SYSTEMS AND METHODS FOR                                                        5, 193,539 A           3, 1993 Schulman et al.
            COMMUNICATING WITH AN                                                       5, 193,540 A          3, 1993 Schulman et al.
             MPLANTABLESTIMULATOR                                                       5,312.439 A           5, 1994 Loeb
                                                                                        5,405,367 A           4/1995 Schulman et al.
    (75) Inventors: Rudolph V. Park, Olney, MD (US);                                    5,571,148. A          1 1/1996 Loeb et al.
                   Jordi Parramon, Valencia, CA (US);                                   5,807,397    A         9, 1998    Barreras
                   Daniel Klosterman, Valencia, CA (US);                                6,051,017    A         4/2000     Loeb et al.
                   Goran N. Marnfeldt, Hollviken (SE)                                   6,061,596    A         5, 2000    Richmond et al.
    (73) Assignee: Boston Scientific Neuromodulation                                    6,073,050    A         6, 2000    Griffith
                   Corporation, Valencia, CA (US)                                       6,164,284.   A        12/2000     Schulman et al.
                                         s           s                                  6,175,764 B1           1/2001 Loeb et al.
    (*) Notice:           Subject to any disclaimer, the term of this                   6,181,965 B1           1/2001 Loeb et al.
                          patent is extended or adjusted under 35                       6,185,452 B 1          2/2001 Schulman et al.
                          U.S.C. 154(b) by 1542 days.                                   6,185,455 B1           2/2001 Loeb et al.
    (21) Appl. No.: 11/043,404
                                                                                                                  Continued
    (22) Filed:     Jan. 25, 2005                                                                                (Continued)
                          (Under 37 CFR 1.47)                                                  FOREIGN PATENT DOCUMENTS
    (65)                     Prior Publication Data                              WO           WO/97, 18857                    5, 1997
            US 2005/O131494 A1               Jun. 16, 2005
                 Related U.S. Application Data                                                          (Continued)
    (63) Continuation-in-part of application No. 10/607.962,                     Primary Examiner Mark W Bockelman
         filed on Jun. 27, 2003, now Pat. No. 7,177,698.                         (74) Attorney, Agent, or Firm Wong, Cabello, Lutsch,
                                                                                 Rutherford & Brucculeri, LLP
    (60) Provisional application No. 60/392.475, filed on Jun.
            28, 2002.                                                            (57)                           ABSTRACT
    (51) Int. Cl.
         A61N L/39                   (2006.01)                                   An exemplary system for communicating with an implant
         HO3Cl3/00                   (2006.01)                                   able stimulator includes a coil configured to transmit a signal
    (52) U.S. Cl. ......................................... 607/60; 332/100      modulated with on-off keying (OOK) modulation to transmit
    (58) Field of Classification Search ................... 607/32,              control data. The system further includes a first telemetry
                                                            607/60; 128/903      receiver in the implantable stimulator configured to receive
            See application file for complete search history.                    the control data in accordance with the OOK modulation. An
    (56)                     Ref
                              eerees
                                     Cited
                                        e
                                                                                 exemplary method of communicating with an implantable
                                                                                 stimulator includes modulating a signal with control data
                     U.S. PATENT DOCUMENTS                                       using OOK modulation and transmitting the signal to the
           3,727,616 A * 4, 1973 Lenzkes ...................... 6O7/59
                                                                                 implantable stimulator.
           4,561443 A 12/1985 Hogrefeet al.
           4,612,934. A       9, 1986 Borkan ........................ 607.62                         8 Claims, 7 Drawing Sheets

                             130                                     FREQUENCY SHIFT KEYING
                                   RN         F1     F2       Ff      F2          F1          F2         Ft              F2




                               s                                             ON-OFF KEYING
                                               Frt                     fit                    Fr'
                                             VVVV            VVVVVVVVVVVVVV-VVV
                                              O          O             f                O      O                   f
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       6,214,032 B1    4/2001 Loeb et al.                                          FOREIGN PATENT DOCUMENTS
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       6,315,721 B2    11/2001 Schulman et al.                        WO           WO/OO.O1320         1, 2000
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       7, 177,698 B2   2/2007 Klosterman et al.                       * cited by examiner
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                                                                                         U.S. Patent
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                                         START


                                SEND START BIT TO
                                  OOK RECEIVER
                                                                  180

                               MEASURE PULSE WIDIH
                                   OF START BIT
                                                                  f 81

                                 SEND COWTROL BIT
                                  TO OOK RECEIVER
                                                                 182

                               MEASURE PULSE WIDIH
                                  OF CONTROL BIT
                                                                  183
                                                     184
         186                                                                   185
                                     WDTH OF
                                   COWTROL BIT
        OUTPUT A "O"      WO      GREATER THAN             YES         OUTPUT A "1"
                                   PULSE WDTH
                                     OF START




                                         END



                                        FIG. 7
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                                                          US 7,822,480 B2
                                   1.                                                                      2
                SYSTEMS AND METHODS FOR                                        An exemplary method of communicating with an implant
                 COMMUNICATING WITH AN                                       able stimulator includes modulating a signal with control data
                IMPLANTABLESTIMULATOR                                        using on-off keying (OOK) modulation and transmitting the
                                                                             signal to the implantable stimulator.
                    RELATED APPLICATIONS
                                                                                   BRIEF DESCRIPTION OF THE DRAWINGS
       The present application is a continuation-in-part and
    claims the priority under 35 U.S.C. S 120 of previous U.S.                  The accompanying drawings illustrate various embodi
    patent application Ser. No. 10/607,962, filed Jun. 27, 2003              ments of the present invention and are a part of the specifica
    now U.S. Pat. No. 7,177,698, and which is incorporated              10   tion. The illustrated embodiments are merely examples of the
    herein by reference in its entirety. U.S. patent application Ser.        present invention and do not limit the scope of the invention.
    No. 10/607,962 claims the benefit under 35 U.S.C. S 119(e) of               FIG. 1 shows an exemplary implantable stimulator and an
    Provisional Application Ser. No. 60/392.475, filed Jun. 28,              exemplary external device according to principles described
    2002, which is also incorporated herein by reference in its              herein.
    entirety.                                                           15     FIG. 2 shows a functional block diagram of an exemplary
                                                                             implantable stimulator according to principles described
                           BACKGROUND                                        herein.
                                                                               FIG. 3 shows a first signal including control data that has
       Radio-frequency (RF) powered implantable stimulators                  been modulated using frequency shift keying (FSK) and a
    and battery powered implantable stimulators are described in             second signal including control data that has been modulated
    the art. See, for instance, U.S. Pat. No. 5,193,539 (“Implant            using on-off keying (OOK) according to principles described
    able Microstimulator); U.S. Pat. No. 5,193,540 (“Structure               herein.
    and Method of Manufacture of an Implantable Microstimu                     FIG. 4 illustrates an exemplary OOK receiver that may be
    lator); U.S. Pat. No.5,312.439 (“Implantable Device Having          25
                                                                             used to receive and demodulate a stream of control bits that
    an Electrolytic Storage Electrode'); U.S. Pat. No. 6,185,452             have been modulated using OOK modulation according to
    (“Battery-Powered Patient Implantable Device'); U.S. Pat.                principles described herein.
    Nos. 6,164.284 and 6,208,894 (both titled “System of                        FIG. 5 illustrates an exemplary application specific inte
    Implantable Device for Monitoring and/or Affecting Body                  grated circuit (ASIC) implementation of an OOK receiver
    Parameters'). Each of these patents is incorporated herein by       30
                                                                             according to principles described herein.
    reference in its respective entirety.                                       FIG. 6 is a timing diagram of various signals corresponding
       Implantable stimulators configured to prevent or treat vari           to the exemplary OOK receiver shown in FIG.5 according to
    ous disorders associated with prolonged inactivity, confine              principles described herein.
    ment or immobilization of one or more muscles are taught,                   FIG. 7 is a flow chart illustrating an exemplary method of
    e.g., in U.S. Pat. No. 6,061,596 (“Method for Conditioning          35   communicating with an implantable stimulator using OOK
    Pelvis Musculature Using an Implanted Microstimulator');                 modulation according to principles described herein.
    U.S. Pat. No. 6,051,017 (“Implantable Microstimulator and                   Throughout the drawings, identical reference numbers
    Systems Employing the Same"); U.S. Pat. No. 6,175,764                    designate similar, but not necessarily identical, elements.
    (“Implantable Microstimulator System for Producing
    Repeatable Patterns of Electrical Stimulation''): U.S. Pat. No.     40                      DETAILED DESCRIPTION
    6,181,965 (“Implantable Microstimulator System for Preven
    tion of Disorders”); U.S. Pat. No. 6,185,455 (“Methods of                  Several types of implantable stimulators and external
    Reducing the Incidence of Medical Complications. Using                   devices utilize a magnetic field to achieve transcutaneous
    Implantable Microstimulators’); and U.S. Pat. No. 6,214,032              communication via a bidirectional telemetry link. An
    (“System for Implanting a Microstimulator'). Each of these          45   implantable stimulator and an external device typically both
    patents is incorporated herein by reference in its respective            have an RF coil that is used as the transmitter and receiver of
    entirety.                                                                the magnetic field. Accurate communication between an
       A typical implantable stimulator is intended to perma                 implantable stimulator and an external device typically
    nently remain in the body of a patient once it is implanted.             requires a precise reference clock within the implantable
    Hence, transcutaneous communication between an implant              50   stimulator. The reference clock allows timing synchroniza
    able stimulator and an external device is important for the              tion in the transmission of data to and from the implantable
    stimulator to function properly. For example, communication              stimulator so that the implantable stimulator may demodulate
    with the implantable stimulator may be effected to perform a             data that has been modulated by the external device.
    number of functions including, but not limited to, transferring             Many implantable stimulators include a precision circuit
    power to the stimulator, transferring data to and from the          55   configured to provide the precise reference clock. The preci
    stimulator, programming the stimulator, and monitoring the               sion circuit may require calibration data for the reference
    stimulator's various functions.                                          clock to be synchronized with the frequency of the transmit
                                                                             ting coil of the external device. This calibration data may be
                             SUMMARY                                         transmitted by the external device via the bidirectional telem
                                                                        60   etry link. However, in some instances, the bidirectional
       An exemplary system for communicating with an implant                 telemetry link may fail due to a number of factors including,
    able stimulator includes a coil configured to transmit a signal          but not limited to, a loss of battery power in the stimulator,
    modulated with on-off keying (OOK) modulation to transmit                interference, and/or coil malfunction. Without a functioning
    control data. The exemplary system further includes a first              telemetry link between the external device and the implant
    telemetry receiver in the implantable stimulator configured to      65   able stimulator, important control data Such as, but not limited
    receive the control data in accordance with the OOK modu                 to, the calibration data may not be transmitted to the implant
    lation.                                                                  able stimulator.
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                                                          US 7,822,480 B2
                                   3                                                                       4
       Hence, systems and methods for communicating with an                 different electronic sub-assembly (14) configured to perform
    implantable stimulator are described herein. A coil may be              a variety of functions as best serves a particular application.
    configured to transmit a signal including control data in                  The functions performed by the external device (20) will
    accordance with a first telemetry scheme or a second telem              vary as best serves the particular application of the stimulator
    etry scheme to an implantable stimulator. The implantable               (10). The shape and design of the external device (20) will
    stimulator may include a first telemetry receiver for receiving         likewise vary. The external device (20) may be embodied by
    the control data in accordance with the first telemetry scheme          the external components (20) shown in FIG. 1 of the present
    and a second telemetry receiver for receiving the control data          application’s parent application (U.S. patent application Ser.
    in accordance with the second telemetry Scheme. In some                 No. 10/607,962). For example, the external device (20) may
    embodiments, the first telemetry Scheme includes frequency         10   include a chair pad and a base station. In use, the chair pad
    shift keying (FSK) modulation and the second telemetry                  may be placed on a chair, and a patient who has an implanted
    scheme includes on-off keying (OOK) modulation.                         stimulator (10) may sit on the chairpad to recharge the battery
       In the following description, for purposes of explanation,           (16) in the stimulator (10) and/or to transfer data between the
    numerous specific details are set forth in order to provide a           base station and the stimulator (10). The external device (20)
    thorough understanding of the present system and method. It        15   may alternatively be a remote control or any other external
    will be apparent, however, to one skilled in the art that the           component. In general, the external device (20) may be any
    present system and method may be practiced without these                device configured to communicate with and/or transfer power
    specific details. Reference in the specification to “one                to an implantable stimulator (10).
    embodiment' or “an embodiment’ means that a particular                     The exemplary external device (20) of FIG.1 may include
    feature, structure, or characteristic described in connection           control circuitry (39) and an antenna/charging coil (34) con
    with the embodiment is included in at least one embodiment.             figured to emit and/or receive a magnetic field that is used to
    The appearance of the phrase “in one embodiment in various              communicate with the implantable stimulator (10). The con
    places in the specification are not necessarily all referring to        trol circuitry (39) may be any circuitry configured to control
    the same embodiment.                                                    the operation of the antenna/charging coil (34). In some
       FIG. 1 shows an exemplary implantable stimulator (10)
                                                                       25   examples, the antenna/charging coil (34) and the coil (18) of
    and an exemplary external device (20). The implantable                  the stimulator (10) communicate by sending RF signals
    stimulator (10) may be any type of implantable medical                  across abidirectional telemetry link (48). The RF signals sent
    device, for example, an implantable microStimulator. Micro              across the bidirectional telemetry link (48) may be modulated
                                                                            using a frequency dependent telemetry scheme, such as fre
    stimulators are Smaller than conventionally sized stimulators      30   quency shift keying (FSK), or by some other modulation
    and are more easily implanted in a patient. Microstimulators            scheme. The antenna/charging coil (34) and the coil (18) of
    may be injected through a large bore needle or placed via a             the stimulator (10) may also communicate via a forward
    Small incision in the skin. An exemplary, but not exclusive,            telemetry link (38). The forward telemetry link (38) may use
    implantable microstimulator is the BIONR) microstimulator               an on/off keying (OOK) modulation scheme. The forward
    (Advanced Bionics(R Corporation, Valencia, Calif.) which           35   telemetry link (38) is also known as an OOK telemetry link.
    may be configured to stimulate tissue to alleviate urinary              On/off keying (OOK) modulation is frequency independent
    incontinence, reduce pain, or otherwise provide therapy for             and is also known as pulse width modulation (PWM). The
    various disorders. Other examples of implantable stimulators            forward telemetry link (38) will be described in more detail
    include, but are not limited to, spinal cord stimulators (SCS),         below.
    cochlear implants, and deep brain stimulators. As used herein      40      The external device (20) may be configured to performany
    and in the appended claims, unless otherwise specifically               number of functions via the bidirectional telemetry link (48)
    denoted, the terms “stimulator” and “microstimulator' will              and/or the forward telemetry link (38). For example, the
    be used interchangeably to refer to any implantable medical             external device (20) may be configured to transcutaneously
    device that may be implanted within a patient for therapeutic           charge the rechargeable battery (16) in the implanted stimu
    purposes. A typical stimulator or microstimulator is config        45   lator (10). The external device (20) may also be configured to
    ured to transcutaneously communicate with an external                   transcutaneously transmit data to the stimulator (10), receive
    device.
                                                                            data from the stimulator (10), and/or provide recovery power
       The implantable stimulator (10) may be implanted in the              to the rechargeable battery (16) when the battery (16) has
    target tissue area of a patient and the external device (20) may        been depleted to Zero volts. The transmitted data may include
    be used to communicate with and/or transfer power to the           50   configuration bits, programming bits, calibration bits, and/or
    stimulator (10). Such communication and/or power transfer               other types of data.
    may include, but is not limited to, transcutaneously transmit              FIG. 2 shows a functional block diagram of an exemplary
    ting data to the stimulator (10), receiving data from the stimu         implantable stimulator (10). As shown in FIG. 2, the coil (18)
    lator (10), transferring power to a battery (16) in the stimula         may be coupled to a receiver (42) and configured to receive an
    tor (10), and/or providing recovery power to the battery (16)      55   RF signal via the bidirectional telemetry link (48). The
    when the battery has been depleted to Zero volts.                       receiver (42) may be any circuit configured to receive and
       As illustrated in FIG. 1, the implantable stimulator (10)            process an RF signal. For example, the receiver (42) may be
    may include a number of components. A battery (16), which               a microprocessor, digital signal processor (DSP), application
    may be rechargeable, is configured to Supply the stimulator             specific integrated circuit (ASIC), processor with firmware,
    (10) with power. A coil (18) is configured to receive and/or       60   field programmable gate array (FPGA), or any other combi
    emit a magnetic field that is used to communicate with the              nation of hardware and/or software.
    external device (20). The coil (18) may also be used to receive            The RF signal may be sent by the external device (20), for
    energy used to recharge the battery (16). A stimulating                 example, and may include a carrier signal having modulated
    capacitor (15) and two or more electrodes (22, 24) are con              control data. The receiver (42) may then rectify the carrier
    figured to stimulate tissue with electric current. One or more     65   signal to provide charging power for the rechargeable battery
    of these components may be housed within a case (not                    (16) and demodulate the carrier signal to extract the control
    shown). The stimulator (10) may include additional and/or               data. As used herein and in the appended claims, the terms
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                                    5                                                                       6
    “control data' or “control bits’ will be used to refer to any            the frequency used by the external device (20). As will be
    data or bits that are transmitted from the external device (20)          described in more detail below, the frequency independent
    to the implantable stimulator (10) or from the implantable               OOK telemetry link (38) may then be used to transmit the
    stimulator (10) to the external device (20). For example, the            calibration data to the reference clock generation circuit (56).
    control data may include, but is not limited to, calibration data        The calibration data may then be used to resynchronize the
    used by a reference clock generation circuit (56) and pro                reference clock (ref clk) with the frequency used by the exter
    gramming data used by a control circuit (58).                            nal device (20) such that the bidirectional telemetry link (48)
       As shown in FIG. 2, the control data may be input into the            may again be used to transmit control data and/or transfer
    control circuit (58). The control circuit (58) is configured to          power from the external device (20) to the stimulator (10).
    control the operation of the stimulator (10). For example, the      10      The implantable stimulator (10) of FIG.2 may operate in a
    control circuit (58) may cause a pulse generator circuit (52) to         number of different states. For example, the stimulator (10)
    generate and deliver electrical stimulation pulses to a patient          may operate in a normal operational state wherein the stimu
    through the electrodes (22, 24). The control circuit (58) may            lator (10) receives RF signals from the external device (20)
    be a microprocessor, DSP, ASIC, processor with firmware,                 via the bidirectional telemetry link (48) and generates stimu
    FPGA, or any other combination of hardware and/or soft              15   lation pulses. The stimulator (10) may enter into a hibernation
    Wa.
                                                                             state when the voltage output by the battery (16) falls below a
                                                                             voltage defined by a battery voltage hibernation level internal
       In some embodiments, the coil (18) may also be connected              register (VHIB) (not shown). The VHIB is a programmable
    to a back telemetry circuit (54) to allow telemetry data to be           voltage value a of hibernation threshold for the battery (16).
    sent from the stimulator (10) to the external device (20). The           In the hibernation state, stimulation and FSK telemetry via
    back telemetry circuit (54) may be any circuit configured to             the bidirectional telemetry link (48) are discontinued. How
    transmit data. The coil (18) may also be connected to an OOK             ever, in some embodiments, the stimulator (10) continues
    receiver (43) to receive OOK modulated data. The OOK                     listening for an incoming OOK telemetry signal via the for
    receiver (43) may be any circuit configured to receive and               ward telemetry link (38). The stimulator (10) may also be
    process an RF signal that has been OOK modulated. For                    configured to detect an applied external charging field used to
    example, the OOK receiver (43) may be a microprocessor,             25   charge the battery (16) while in the hibernation state.
    DSP, ASIC, processor with firmware, FPGA, or any other                      The stimulator (10) may also operate in storage mode to
    combination of hardware and/or software. Furthermore, the                conserve power. In storage mode, the stimulator (10) disables
    OOK receiver (43) may be integrated into the receiver (42).              all circuitry except for circuitry that is used to recharge the
    The function of the OOK receiver (43) will be described in               battery (16) and circuitry used to listen for and receive an
    more detail below.                                                  30   OOK telemetry signal via the forward telemetry link (38).
       Referring to FIG. 2, the receiver (42) may require a precise             Hence, the OOK telemetry link (38) allows the external
    reference clock (ref clk) to rectify and/or demodulate the RF            device (20) to communicate with the stimulator (10) even
    signal. The precise reference clock, as known in the art, may            when the stimulator (10) is not actively listening for an RF
    provide a clock signal having a frequency that is synchro                signal to be transmitted via the bidirectional telemetry link
    nized with the frequency used by the external device (20) to        35
                                                                             (48), e.g., when the stimulator (10) is operating in the hiber
                                                                             nation state or in the storage state. The OOK telemetry link
    generate the RF signal. In some embodiments, the precise                 (38) also provides a communication interface between the
    reference clock signal is generated by a reference clock gen             external device (20) and the stimulator (10) that may be used
    eration circuit (56). As shown in FIG. 2, the reference clock            in emergency situations, e.g., when the bidirectional telem
    generation circuit (56) generates the precise reference clock            etry link (48) fails or when there is an emergency power
    signal based on a clock signal generated by a clock generation      40   shutdown.
    circuit (55). The clock signal is also known as the system                  FIG.3 shows a first signal (130) including control data that
    clock. The clock generation circuit (55) may be any clock                has been modulated using FSK and a second signal (131)
    generation circuit known in the art and may output a clock               including control data that has been modulated using OOK, or
    signal having an arbitrary frequency that remains constant               PWM. The first signal (130) may be transmitted via the bidi
    over time. In the illustrated example, the reference clock          45   rectional telemetry link (48: FIG. 1) and the second signal
    generation circuit (56) includes precise resistor-capacitor              (131) may be transmitted via the OOK telemetry link (38:
    (RC) networks and/or IC networks configured to process the               FIG. 1). As shown in FIG. 3, the frequency of the first signal
    clock signal output by the clock generation circuit (55) and             (130) varies between two frequencies, F1 and F2. FIG. 3
    generate the precise reference clock signal.                             shows that a binary “1” is represented by the first frequency
       The reference clock generation circuit (56) and the clock        50   F1, and a binary “O'” is represented by the second frequency
    generation circuit (55) are illustrated as separate components           F2. Alternatively, the first frequency F1 may represent “O'”
    within the stimulator (10). However, it will be understood that          and the second frequency F2 may represent “1”. The first
    the reference clock generation circuit (56) and/or the clock             signal (130), as shown in FIG. 3, transmits the bits
    generation circuit (55) may be integrated into a single com              “1010110100 for illustrative purposes.
    ponent, integrated into the control circuit (58), or integrated     55      The second signal (131) of FIG. 3 has been modulated
    into any other circuitry included in the stimulator (10).                using OOK modulation. As shown in FIG.3, the signal (131)
       In some embodiments, the reference clock generation cir               includes either a first frequency F1' or no transmitted signal
    cuit (56) requires calibration data to synchronize the fre               (frequency equals Zero) for one of two pulse widths, PW1 or
    quency of the reference clock signal with the frequency used             PW2. A transmitted signal having a first pulse width, PW1.
    by the external device (20) to generate the RF signal. This         60   regardless of whether the frequency is F1' or Zero (off), is
    calibration data may be periodically sent, for example, from             interpreted as, e.g., a binary “0”; whereas a transmitted signal
    the external device (20) via the bidirectional telemetry link            having a second pulse width, PW2, regardless of whether the
    (48). However, if the bidirectional telemetry link (48) is dis           frequency is F1' or Zero (off), is interpreted as, e.g., a binary
    abled for any of a number of reasons, some of which will be              “1”. Alternatively, a “1” may correspond to PW1 and a “0”
    described in detail below, the calibration data may not be          65   may correspond to PW2. A change from the F1' frequency to
    conveyed to the reference clock generation circuit (56) result           the Zero (off) frequency is used to indicate a data transition
    ing in a reference clock (refclk) that is not synchronized with          from one bit to the next bit in the data stream.
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                                                           US 7,822,480 B2
                                    7                                                                            8
       Thus, as illustrated in FIG. 3, the signal (131) first has a           the modulated control data. A comparator (142) may then
    frequency F1' for a pulse width of PW1, indicating a binary               compare the pulse width of each of the control bits with the
    “0”. The signal (131) then transitions to being “off (fre                 pulse width of the start bit. For illustrative purposes only, the
    quency equal zero) for a pulse width of PW1, indicating                   start bit is a “0”. Thus, if the pulse width of a particular control
    another binary “0”. The signal then transitions to having a               bit is greater than the pulse width of the start bit, the com
    frequency equal to F1' for a pulse width of PW2, indicating a             parator (142) outputs a “1”. Likewise, if the pulse width of a
    binary “1”. The rest of the states of the signal (131) are shown          particular control bit is less than or equal to the pulse width of
    in FIG. 3. Thus, the second signal (131), as shown in FIG. 3,             the control bit, the comparator (142) outputs a “0”.
    transmits the bits “001001.                                                  FIG. 5 illustrates one exemplary implementation of the
       As mentioned, the OOK receiver (43) of FIG. 2 may be              10   OOK receiver (43) of FIG. 4. The exemplary OOK receiver
    configured to receive and demodulate an OOK signal sent via               (43-1) illustrated in FIG. 5 is implemented using an ASIC.
    the OOK telemetry link (38). In order for the OOK receiver                However, the OOK receiver (43), as described above, may be
    (43) to distinguish between the first and second pulse widths             implemented using any of a variety of different combinations
    (PW1 and PW2), a start bit having a fixed pulse width may be              of hardware and/or software. FIG. 5 shows that the counters
    sent to the implantable stimulator (10) before any other con         15   (140, 141) may be implemented using digital flip-flops. The
    trol bits are sent. The start bit may be a “0” or a “1”: however,         flip-flops may be D flip-flops (140,141), as shown in FIG. 5,
    for illustrative purposes, the start bit is a “0” in the examples         or they may be any other type of flip-flop.
    described herein. The OOK receiver (43) may be configured                    As shown in FIG. 5, digital circuitry may be used in con
    to use the clock generated by the clock generation circuit (55:           nection with the bit threshold counter (140), the pulse width
    FIG. 2) to increment a counter for the duration of the fixed              counter (141), and the comparator (142). For example, logic
    pulse width to determine a “bit width threshold.” As will be              (144) and AND gate (145) are used to cause the bit threshold
    explained in more detail below, the OOK receiver (43) may                 counter (140) to only measure the pulse width of the start bit.
    then compare the pulse widths of each of the subsequent                   Likewise, logic (144), inverters (146, 150), flip-flops (147.
    control bits in the OOK signal to the bit width threshold and             149), and AND gate (148) are used to cause the pulse width
    determine the values of the control bits.                            25   counter (142) to measure the pulse widths of each of the
       Because the OOK receiver (43) compares pulse widths, the               subsequent control bits in the control data. The logic (144)
    frequency of the clock signal generated by the clock genera               may be any combination of digital logic as is known in the art.
    tion circuit (55) does not have to be synchronized with the               FIG. 5 also shows that the OOK receiver (43-1) may include
    frequency of the external device (20) in order for the OOK                an edge detector circuit (143) that may be used to generate a
    receiver (43) to function. Hence, the OOK telemetry link (38)        30   clock signal (clk ook) for the demodulated control data
    is considered to be “frequency independent' and may be used               (DATA OOK). Exemplary VHDL (Very High Speed Inte
    to communicate with a number of implantable stimulators                   grated Circuit Hardware Description Language) code that
    (10) each having different system clock frequencies.                      may be used to program the OOK receiver (43-1) is shown in
       FIG. 4 illustrates an exemplary OOK receiver (43) that may             the Appendix. FIG. 6 is a timing diagram of various signals
    be used to receive and demodulatea stream of control bits that       35   corresponding to the OOK receiver (43-1) shown in FIG. 5
    have been modulated using OOK modulation. As shown in                     and the VHDL code listed in the Appendix.
    FIG. 4, the OOK receiver (43) may include a bit threshold                    FIG. 7 is a flow chart illustrating an exemplary method of
    counter (140) configured to measure the pulse width corre                 communicating with an implantable stimulator (10; FIG. 1)
    sponding to the start bit. The OOK receiver (43) may further              using OOK modulation. As shown in FIG. 7, a start bit is first
    include a pulse width counter (141) configured to measure the        40   sent to the OOK receiver (43; FIG. 4) (step 180). The pulse
    pulse widths of each of the control bits that are included in the         width of the start bit is then measured (step 181). A control bit
    OOK modulated control data subsequent to the start bit. The
    clock signal (clk) generated by the clock generation circuit              may then be sent to the OOK receiver (43; FIG. 4) (step 182).
    (55; FIG. 2) is input into each of the counters (140, 141) to             The pulse width of the control bit is then measured (step 183).
    facilitate the counter functions. The counters (140, 141) may             The pulse width of the control bit and the pulse width of the
    be any type of counter circuitry known in the art. For example,      45   start bit are then compared (step 184). If the pulse width of the
    the counters (140, 141) may include flip-flop circuitry.                  control bit is greater than the pulse width of the start bit (Yes;
       As shown in FIG. 4, the bit threshold counter (140) gener              step 184), a control bit having a value of “1” may be output by
    ates and outputs a value (A) representing the bit width thresh            the comparator (step 185). However, if the pulse width of the
    old. The bit width threshold may be equal to the pulse width              control bit is not greater than the pulse width of the start bit
    of the start bit or, alternatively, the bit width threshold may be   50   (No: step 184), a control bit having a value of “0” may be
    a multiple of the actual number of samples taken by the bit               output by the comparator (step 186).
    threshold counter (140). For example, the bit threshold                      The preceding description has been presented only to illus
    counter (140) may output a value that is two times the number             trate and describe embodiments of invention. It is not
    of samples taken by the counter (140) such that the bit width
    threshold is equal to a higher value than the actual pulse width          intended to be exhaustive or to limit the invention to any
    of the start bit.                                                    55   precise form disclosed. Many modifications and variations
      The pulse width counter (141) also outputs a value (B)                  are possible in light of the above teaching. It is intended that
    representing the pulse width for each control bit included in             the scope of the invention be defined by the following claims.

                                                                                                 APPENTDIX
                                                              LIBRARY ieee:
                                                              USE ieee.std logic 1164.ALL;
                                                              ENTITY ook demod and decode IS
                                                                  PORT (
                                                                     clk:                      IN stol logic; divided down system clk
                                                                     ook output:               IN stol logic; output of ook receiver
                                                                     wait for packet:          IN stol logic; charging and no packet revol
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                                                                                                                                                                 US 7,822,480 B2
                                                                                              9                                                                                                                                10
                                                                             APPENTDIX-continued
                            data demod ook:                                             OUT std logic; demodulated data
                            cik Ook:                                                    OUT std logic clk for demodulated data
    END           entity ook demod and decode:
    ::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::
    :

    ARCHITECTURErtl OFook demod and decode IS
               CONSTANT threshhold length: integer:=4; length of threshhold counter
    SIGNAL threshhold:                                                stol logic vector(thresh hold length-1
    DOWNTO O);
       SIGNAL meas thresh start:                                                                                      stol logic; start measuring leading O
       SIGNAL measure threshhold:                                                                                     stol logic; high only when measuring first
    O
                SIGNAL clk threshhold:                                                                                stol logic; clk thrsh counter, active 1st pls
                SIGNAL en ook receiver L:                                                                             stol logic; high after threshhold is fixed
                SIGNAL clk width counter:                                                                             stol logic; clock for bit width counter
                SIGNAL reset width counter L:                                                                         std logic; reset for bit width counter
       SIGNAL samples inpulse:                                                                                        std logic vector(threshhold length
    DOWNTO O);
       SIGNAL ook delay reg:                                                                                          std logic vector(1 DOWNTO 0); delay
    ook
                SIGNAL clk ook int:                                                                                   stol logic; clk for demodulated data
    BEGIN
               measure the width of the first negative pulse after entering charging md
               measure number of clock cycles, up to max setting of counter
               threshhold counter is cleared when not charging
               meas thresh start<= wait for packet AND (NOTook output);
               enable ook reg:PROCESS (wait for packet, meas thresh start)
                BEGIN
              IF wait for packet = 0 THEN
                   en ook receiver L. <= 1;
                   ELSIF falling edge(meas thresh start) THEN
                            en ook receiver L. <= 0;
                   END if:
    END process enable ook reg:
    measure thresh hold s— meas thresh start AND en look receiver L.;
    clk threshhold <= clk ANT) measure threshhold;
    threshhold counter:ENTITY work.up counter(structural)
                   GENERIC MAP (width => threshhold length)
                   PORTMAP (
                       reset L =>wait for packet,
                                                    clk                    => clk threshhold,
                                                    C                      => threshhold
                       );
    measure width of pulses after the first negative pulse
    width determines if data is 0 or 1
    clk width counter <= clk AND (NOT enook receiver L);
    bit width counter:ENTITY work.up counter(structural)
                 GENERIC MAP (width => threshhold length--1)
                 PORT MAP (reset L       => reset width counter L,
                                                                clk                                       => clk width counter,
                                                                C                                         => samples inpulse);
    data demod ook <= 1 WHEN samples in pulse > threshhold & O
    pipeline ook transition point to generate clk and reset for width cntr
    clk output is generated on first falling edge after ook data transition.
    reset is generated on the first rising edge after clk goes high
    ook data pipeline:PROCESS (en ook receiver L, clk)
    BEGIN
                                        IF en ook receiver L = 1 THEN
                          ook delay reg<= (OTHERS => 0):
                 ELSIF falling edge(clk) THEN
                 ook delay regs= ook delay reg(O) & (ook output);
                 END if:
    END process ook data pipeline;
    clk ook ints= (ook delay reg(1) XOR ook delay reg(O)) AND
                 NOT en ook receiver L:
            clk ook <= clk ook int;
            reset f:PROCESS (wait for packet, clk)
                            BEGIN
                 IF wait for packet = 0 THEN
                       reset width counter L. <= 0:
            ELSIF rising edge(clk) THEN
                       reset width counter L. <= NOT clk ook int:
                       END if:
            END process reset f:
    END architecture rtl;
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                                                          US 7,822,480 B2
                                  11                                                                       12
      What is claimed is:                                                       3. The system of claim 2, wherein the frequency modula
      1. A system, comprising:                                               tion comprises frequency shift keying (FSK) modulation.
      an external device, comprising:                                           4. The system of claim 2, wherein the implantable medical
         first modulation circuitry for producing from first data a          device further comprises a reference clock generation circuit
            first signal modulated with on-off keying (OOK)                  for generating a reference clock signal used by the second
            modulation, wherein the first modulated signal com               telemetry receiver.
            prises logic “0” bits of a first pulse width and logic 1            5. The system of claim 4, wherein the first data comprises
            bits of a second pulse width different from the first            calibration data used to calibrate the reference clock genera
            pulse width, wherein each bit further comprises either           tion circuit Such that the reference clock signal is synchro
            an ON state with a signal that varies with a first fre      10   nized with a frequency used to transmit the second modulated
            quency or an OFF state, wherein a transition between             signal.
            adjacent bits in the first signal is marked by a change             6. The system of claim 2, wherein the first data comprises
            in the first modulated signal between the ON and OFF             a start bit and a number of control bits, the start bit being
           States:                                                           transmitted before the control bits.
         a coil configured to wirelessly transmit the first modu        15
                                                                               7. The system of claim 6, wherein the first telemetry
            lated signal to the implantable medical device; and              receiver comprises:
      an implantable medical device, comprising a first telemetry              a bit threshold counter configured to measure a pulse width
         receiver in the implantable medical device for demodu                    of the start bit to generate a bit width threshold;
         lating the first modulated signal to recover the first data.          a pulse width counter configured to measure a pulse width
      2. The system of claim 1, further comprising:
      second modulation circuitry in the external device for pro                  of the bits; and
         ducing from second data a second signal modulated with                a comparator configured to compare the measured pulse
         frequency modulation, wherein the coil is further con                    widths with the bit width threshold to determine whether
         figured to wirelessly transmit the second modulated sig                  a bit comprises a logic “0” or a logic 1.
         nal to the implantable medical device;                         25     8. The system of claim 2, wherein the implantable medical
      a second telemetry receiver in the implantable medical                 device comprises an implantable stimulator.
         device for demodulating the second modulated signal to
        recover the second data.                                                                     k   k   k   k   k
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                              EXHIBIT 7
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                                                                                                                USOO6381.496B1

      (12)   United States Patent                                                            (10) Patent No.:                      US 6,381,496 B1
             Meadows et al.                                                                  (45) Date of Patent:                         Apr. 30, 2002

      (54)    PARAMETER CONTEXT SWITCHING FOR                                                  6.249.703 B1 * 6/2001 Stanton et al.
              AN MPLANTED DEVICE
                                                                                        * cited by examiner
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                             CA (US)                                                    (57)                          ABSTRACT
      (73) Assignee: Advanced Bionics Corporation,                                      An implant device provides context Switching, meaning the
                     Sylmar, CA (US)                                                    ability to change one set of operational parameters for
              Notice:        Subject to any disclaimer, the term of this                another. The implant device is controlled by a set of opera
                             patent is extended or adjusted under 35                    tional parameters. The patient may Swap the current Set of
                             U.S.C. 154(b) by 0 days.                                   operational parameters with another Set of operational
                                                                                        parameters. Further, the implant device may include a time
      (21) Appl. No.: 09/668,925                                                        of-day clock, and/or a Sensor, and is configured to automati
                                                                                        cally change its operational parameters from one set of
      (22) Filed:     Sep. 25, 2000                                                     operational parameters to another at certain times of the day,
                                                                                        week, or month, or upon the occurrence of certain prescribed
                       Related U.S. Application Data                                    events. In one embodiment, the patient may define Selected
      (60) Provisional application No. 60/156,979, filed on Oct. 1,                     operational parameters within a new set of operational
           1999.                                                                        parameters for use with the implant device, providing Such
      (51) Int. Cl................................................... A61N 1/08         patient-defined parameters remain within Set limits. The
      (52) U.S. Cl. ......................................................... 607/59    ability to change the current operational parameter set (OPS)
      (58) Field of Search ............................... 607/59, 60, 30               is achieved, in a first embodiment, by including memory
                                                                                        circuitry within the implant device wherein a plurality of
      (56)                    References Cited                                          OPSS are Stored. Upon receipt of an appropriate command,
                                                                                        manually provided by the patient user through a hand-help
                         U.S. PATENT DOCUMENTS                                          programmer, or automatically generated by time-of-day or
             3,646,940 A          3/1972 Timm et al. ................ 128/421           sensor circuits within the implant device, the current OPS is
             3,724,467 A          4/1973 Avery et al. ...                ... 128/418    exchanged by another OPS. In a Second embodiment, a
             3,822,708 A          7/1974 Zilber                            128/419      plurality of OPS's are externally stored, e.g., in a hand-held
             4,338.945. A         7/1982 Kosugi et al. .............. 128/421           programming device, and only the currently-used OPS is
             4,379.462   A        4/1983    Borkan et al. ....          ... 128/786     stored in the implant device. Changes to the OPS are made
             4,735,204   A        4/1988    Sussman et al. ..           ... 128/419     by transmitting the replacement OPS to the implant device
             5,121,754   A        6/1992    Mullett .........          ... 128/786      through a telemetry link established with the implant device
             5,417,719   A        5/1995    Hull et al. .................... 607/46     from the hand-held programming device. When the patient
             5,433,736   A        7/1995    Nilsson ....................... 607/59      wishes to change the OPS, he manually activates the appro
             5,501,703   A        3/1996    Holsheimer et al. .......... 407/46         priate controls on the hand-held programming device, and
             5,626,629 A   5/1997 Faltys et al. .................. 607/57               Such activation causes the new OPS to be telemetered to the
             5,713,937 A * 2/1998 Nappholz et al.                                       implant device, where it replaces the current OPS.
             5,973.968 A         10/1999 Shu et al. ................... 365/195
             6,052,624 A          4/2000 Mann .......................... 607/46
             6,120,467 A          9/2000 Schallhorn .................. 600/595                               18 Claims, 8 Drawing Sheets




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                                                              - OPS1                                           He
                                                              --- OPS2                                         --

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                                                               - OPS
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          PARAMETER CONTEXT SWITCHING FOR                                    The electrodes are connected by leads to an RF receiver,
                AN MPLANTED DEVICE                                           which is also implanted, and which is controlled by an
                                                                             external controller. The implanted RF receiver has no power
         The present application claims the benefit of U.S. Pro              Storage means, and must be coupled to the external control
      visional Patent Application Ser. No. 60/156,979, filed Oct. 1,         ler in order for neuro-Stimulation to occur.
      1999, which application is incorporated herein by reference.              In U.S. Pat. No. 3,822,708, another type of electrical
                                                                             Spinal cord Stimulating device is shown. The device has five
               BACKGROUND OF THE INVENTION                                   aligned electrodes which are positioned longitudinally on
                                                                             the Spinal cord and transversely to the nerves entering the
        The present invention relates to an implant device, e.g., a     1O   Spinal cord. Current pulses applied to the electrodes are Said
      spinal cord Stimulation (SCS) System or other programmable             to block Sensed intractable pain, while allowing passage of
      implant device. A Spinal cord Stimulation System treats                other Sensations. The Stimulation pulses applied to the
      chronic pain by providing electrical Stimulation pulses from           electrodes are approximately 250 microseconds (us) in
      an electrode array placed epidurally near a patient's Spinal           width with a repetition rate of from 5 to 200 pulses per
      cord. Such a spinal cord System includes Several                  15   Second (pps). A patient-operable Switch allows the patient to
      components, ranging from implantable and external                      change which electrodes are activated, i.e., which electrodes
      components, Surgical tools, and Software. The present inven            receive the current Stimulus, So that the area between the
      tion emphasizes the manner in which Such SCS System, or                activated electrodes on the Spinal cord can be adjusted, as
      any other programmable implant System, manages and                     required, to better block the pain.
      changes its operational parameters.                                       Other representative patents that show Spinal cord Stimu
         The operation of an implanted device depends upon the               lation systems or electrodes include U.S. Pat. Nos. 4,338,
      Storage and use of certain operational parameters. For a               945; 4,379,462; 5,121,754; 5,417,719 and 5,501,703.
      pulse generator System, e.g., an SCS System, these param                  The dominant SCS products that are presently commer
      eters might include: Stimulation pulse amplitudes, pulse               cially available attempt to respond to three basic require
      durations, channel frequencies, electrode configurations,         25   ments for Such systems: (1) providing multiple stimulation
      ramp rates and treatment times, and the like. For a drug               channels to address variable Stimulation parameter require
      delivery System, Such operational parameters might further             ments and multiple sites of electrical Stimulation Signal
      include additional parameters related to the type of drug              delivery; (2) allowing modest to high Stimulation currents
      delivery, the drug medication rate of delivery, all of which           for those patients who need it; and (3) incorporating an
      may vary over the course of a day. When it is necessary to             internal power Source with Sufficient energy Storage capacity
      change the operation of Such an implanted device, it is                to provide years of reliable Service to the patient.
      necessary to modify the parameters used by the device as it            Unfortunately, not all of these features are available in any
      carries out its intended function, e.g., delivering Stimulation        one device. For example, one well-known device has a
      pulses, delivering drug medication, Sensing physiological              limited battery life at only modest current outputs, and has
      activity, or the like. The present invention relates to the       35   only a single Voltage Source, and hence only a single
      manner in which these operational parameters, used by the              Stimulation channel, which must be multiplexed in a fixed
      implant System as it carries out its intended function, are            pattern to up to four electrode contacts. Another well-known
      changed and managed. While the invention will be described             device offers higher currents that can be delivered to the
      in the context and background of a Spinal cord Stimulation             patient, but does not have a battery, and thus requires the
      System, it is to be understood that the invention has             40   patient to wear an external power Source and controller.
      applicability, and can be used with, numerous different types          Even then, Such device Still has only one voltage Source, and
      of implant devices and Systems, including all types of neural          hence only a single Stimulation channel, for delivery of the
      Stimulators and Sensors, deep brain Stimulators, cochlear              current Stimulus to multiple electrodes through a multi
      Stimulators, drug delivery Systems, muscle tissue                      plexer. Yet a third known device provides multiple channels
      Stimulators, and the like.                                        45   of modest current capability, but does not have an internal
        Spinal cord stimulation (SCS) is a well accepted clinical            power Source, and thus also forces the patient to wear an
      method for reducing pain in certain populations of patients.           external power Source and controller.
      SCS Systems typically include an implanted pulse generator,               All Such known devices further use different approaches
      lead wires, and electrodes connected to the lead wires. The            for modifying or changing the operational parameters that
      pulse generator generates electrical pulses that are delivered    50   control operation of the device. Some allow only the phy
      to the dorsal column fibers within the spinal cord through the         Sician or Surgeon or other medical professional to make any
      electrodes which are implanted along the dura of the Spinal            changes in the operating parameters, thereby making it
      cord. The attached lead wires exit the Spinal cord and are             necessary for the user (the “patient” who receives the benefit
      tunneled around the torso of the patient to a Sub-cutaneous            from the implant device) to Schedule an appointment with
      pocket where the pulse generator is implanted.                    55   Such professional if any changes are needed. Often, the
         Spinal cord and other Stimulation Systems are known in              changes needed by the patient are relatively benign (insofar
      the art. For example, in U.S. Pat. No. 3,646,940, there is             as the Safety of the altered treatment is concerned), and
      disclosed an implantable electronic Stimulator that provides           could easily be made by the patient himself or herself if only
      timed Sequenced electrical impulses to a plurality of elec             the implant device provided such capability. On the other
      trodes So that only one electrode has a Voltage applied to it     60   hand, the patient must not be given carte blanche to make
      at any given time. Thus, the electrical Stimuli provided by            wide spread changes in the operating parameters, else he or
      the apparatus taught in the 940 patent comprise Sequential,            She could inadvertently set up a treatment regimen delivered
      or non-overlapping, Stimuli.                                           by the implant device that could be injurious to the patient's
         In U.S. Pat. No. 3,724,467, an electrode implant is dis             health or damaging to the device. Thus, what is needed is a
      closed for the neuro-Stimulation of the Spinal cord. A rela       65   way for the patient to readily make appropriate changes to
      tively thin and flexible Strip of physiologically inert plastic        the operating parameters of an implant device So long as
      is provided with a plurality of electrodes formed thereon.             Such operating parameter changes maintain the device
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      operation within Safe operating limits. The operating limits            the implant device. Changes to the OPS are made by
      should only be changeable by the physician or other                     transmitting the replacement OPS to the implant device
      medical-professional clinician.                                         through a telemetry link established with the implant device
                                                                              from the hand-held programming device. Thus, when the
                    SUMMARY OF THE INVENTION                                  patient wishes to make a change in the OPS, he or she
        The present invention addresses the above and other                   manually activates the appropriate controls on the hand-held
      needs by providing an implant device having the ability to              programmer (HHP), and Such activation causes the new
      perform context Switching. AS used herein, "context Switch              OPS to be telemetered to the implant device, where it
      ing” means changing one set of operational parameters to                replaces the current OPS. For this embodiment, when an
      another.                                                                “automatic' change to the OPS is called for, e.g., when a
         In accordance with one aspect of the invention, an implant           Sensor detects the occurrence of a prescribed event that
      device is controlled by a Set of operational parameters, and            Signals the need to change the OPS, Such change may occur
      the patient may advantageously Swap the current Set of                  at the next available time a telemetry link is established
      operational parameters with another Set of operational                  between the HHP and implant device.
      parameterS.                                                        15      It is a feature of the present invention that the implant
                                                                              System also allow the user, or patient, to define a new
         In accordance with another aspect of the invention, the              operational parameter set (OPS) which, once defined, may
      implant device further includes a time-of-day clock, and/or             be Selected to replace the current operational parameter Set.
      Sensor, and automatically changes its operational parameters            In accordance with Such feature, the patient may only be
      from one set to another Set at certain times of the day, week,          allowed to change certain ones of the individual parameters
      or month, or upon the occurrence of certain prescribed                  included within the OPS, and changes to those parameters
      events. For example, a nighttime operational parameter Set              are automatically limited to fall within pre-defined safe
      that provides a slower Stimulation rate or Stimulation fre              operating limits. Therefore, should the patient attempt to Set
      quency might be automatically invoked to replace a daytime              an individual parameter outside of the pre-defined Safe
      operational parameter Set that defines a faster Stimulation        25   operating limits, then the parameter value is set to its limit
      rate or Stimulation frequency at a prescribed hour of the day,          value closest to the out-of-limit value attempted by the
      e.g., 10:00 PM. Similarly, the daytime operational parameter            patient. For example, if the Safe operating range for the pulse
      Set would replace the nighttime operational parameter Set at            width of a Stimulating pulse is between 10 uS and 1 milli
      another prescribed hour of the day, e.g., 6:00 AM.                      Second (ms), and should the patient attempt to set the pulse
      Alternatively, or conjunctively, if certain threshold limits are        width to 10 ms, then the pulse width parameter in the newly
      Sensed by a physiological or other Sensor that is included              defined OPS would be set to 1 ms, the maximum limit.
      within or coupled to the implant device, then Such Sensing              Similarly, should the patient attempt to set the pulse width
      event may automatically trigger a new set of operational                to 5us, then the pulse width parameter in the OPS would be
      parameters for the implant device aimed at treating the                 Set to 10 us, the minimum limit. In this manner, the patient
      condition sensed (the “event”), by the sensor.                     35   is allowed to define a new OPS for use within the implant
         In accordance with yet another aspect of the invention,              device, but the individual parameters within Such newly
      each Set of operational parameters that may be Selected by              defined OPS are limited to pre-defined safe values.
      the patient, or that is automatically invoked by the device at             An advantage of the invention is that enhanced utility is
      certain times of the day or upon the occurrence of certain              provided in an implant device. More particularly, changes to
      events, does not exceed Safe operating limits of the device        40   the operating parameter Set of the implant device may be
      as prescribed by the manufacturer of the device and/or the              easily made and accommodated and executed and require
      attending physician or other competent medical perSonnel.               little, if any, intervention by the patient.
      (In this context, “safe operating limits” refers both to safe              An additional advantage of the invention, in accordance
      treatment protocols for the particular patient, as well as Safe         with one embodiment thereof, is that the implant device
      operating conditions for the design of the particular implant      45   allows a patient to define a new operating parameter Set for
      device.)                                                                use by the implant device. Advantageously, the newly
         In accordance with Still an additional aspect of the                 defined parameters included within the new operating
      invention, the patient may define a new set of operational              parameter Set are automatically restricted or limited So as to
      parameters for use with the implant device So long as all               all fall within Safe operating limits. In this manner, it thus
      parameters included within the newly defined Set of opera          50   becomes impossible for the patient to inadvertently,
      tional parameters remain within prescribed limits as Set by             ignorantly, or mistakenly define a new operating parameter
      the manufacturer of the device and/or as programmed by the              Set for the implant device that might prove to be detrimental
      attending physician or other competent medical perSonnel.               or harmful to the patient or to the device.
         In one embodiment of the invention, the ability to change                  BRIEF DESCRIPTION OF THE DRAWINGS
      the current operational parameter set (OPS) of the implant         55
      device is provided by including memory circuitry within the                The above and other aspects, features and advantages of
      implant device wherein a plurality of OPS's are program                 the present invention will be more apparent from the fol
      ably Stored. Upon receipt of an appropriate command, which              lowing more particular description thereof, presented in
      may be manually provided by the patient through, e.g., a                conjunction with the following drawings wherein:
      hand-help programmer, or automatically generated by time           60      FIG. 1 is a block diagram that illustrates the various
      of-day or sensor circuits within (or coupled to) the implant            implantable, external, and Surgical components of a repre
      device, the current OPS is exchanged by another OPS. Each               Sentative spinal cord Stimulating (SCS) System, including an
      OPS stored in the implant device is limited by an external              implantable pulse generator (IPG), which IPG is exemplary
      programming unit to be within Safe operating limits.                    of one type of implant device with which the present
         In another embodiment of the invention, a plurality of          65   invention may be used;
      OPSS are externally Stored, e.g., in a hand-held program                  FIG. 2 illustrates examples of various types of electrode
      ming device, and only the currently-used OPS is stored in               arrays that may be used with the SCS system of FIG. 1;
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         FIG. 3 is a timing waveform diagram that depicts repre              system, including the IPG and HHP used with Such system.
      Sentative current waveforms that may be applied to various             These components may be subdivided into three broad
      ones of the electrode contacts of the electrode arrays through         categories: (1) implantable components 10, (2) external
      one or more Stimulous channels,                                        components 20, and (3) Surgical components 30. AS Seen in
        FIG. 4 is a block diagram that functionally illustrates the          FIG. 1, the implantable components 10 include an implant
      main components of one embodiment of an implantable                    able pulse generator (IPG) 100, an electrode array 110, and
      pulse generator (IPG) that may be used with an SCS system              (as needed) an extension 120. The extension 120 is used to
      in accordance with the invention;                                      electrically connect the electrode array 110 to the IPG 100.
                                                                             The IPG 100, described more fully below in connection with
        FIG. 5 is a block diagram that functionally illustrates the          FIG. 4, comprises a rechargeable, multichannel, 16 contact,
      main components of another embodiment of an implantable                telemetry-controlled, pulse generator housed in a rounded
      pulse generator (IPG) that may be used with an SCS system              titanium case. A novel tool-leSS connector that forms an
      in accordance with the invention;                                      integral part of the IPG 100 allows the electrode array 110
         FIG. 6 depicts a functional block diagram of a portion of           or extension 120 to be detachably Secured, i.e., electrically
      an implant device, e.g., the IPG of FIG. 4 or FIG. 5, and         15   connected, to the IPG 100. This connector may be of the type
      functionally illustrates one manner in which different opera           described in U.S. patent application Ser. No. 09/239,926,
      tional parameter Sets may be Selected for use by the implant           filed Jan. 28, 1999, incorporated herein by reference.
      device;                                                                   The IPG 100 contains stimulating electrical circuitry
         FIG. 7 shows a functional block diagram of a portion of             (“stimulating electronics’), a power Source, e.g.,a recharge
      an external programming device, e.g., a hand-held                      able battery, and a telemetry system. Typically, the IPG 100
      programmer, and functionally illustrates another manner in             is placed in a Surgically-made pocket either in the abdomen,
      which different operational parameter Sets may be Selected             or just at the top of the buttocks. It may, of course, also be
      for use by the implant device; and                                     implanted in other locations of the patient's body. Once
         FIG. 8 illustrates a functional block diagram of a portion          implanted, the IPG 100 is connected to the lead system,
      of an external programming device, e.g., a hand-held              25   comprising the lead extension 120, if needed, and the
      programmer, and functionally illustrates how the invention             electrode array 110. The lead extension 120, for example,
      allows the patient to define a new operational parameter Set,          may be tunneled up to the Spinal column. Once implanted,
      yet restricts individual parameter values within the newly             the lead system 110 and lead extension 120 are intended to
      defined operational parameter Set to be within prescribed              be permanent. In contrast, the IPG 100 may be replaced
      limits.                                                                when its power Source fails or is no longer rechargeable.
        Corresponding reference characters indicate correspond                  Advantageously, the IPG 100 can provide electrical
      ing components throughout the Several views of the draw                Stimulation through a multiplicity of electrodes, e.g., Sixteen
      IngS.                                                                  electrodes, included within the electrode array 110. Different
                                                                             types of electrode arrays 110 that may be used with the
                 DETAILED DESCRIPTION OF THE                            35   invention are depicted in FIG. 2. A common type of elec
                         INVENTION                                           trode array 110, for example, is the “in-line” lead, as shown
         The following description is of the best mode presently
                                                                             at (A), (B), and (C) in FIG. 2. An in-line lead includes
                                                                             individual electrode contacts 114 Spread longitudinally
      contemplated for carrying out the invention. This descrip              along a small diameter flexible cable or carrier 116. The
      tion is not to be taken in a limiting Sense, but is made merely   40   flexible cable or carrier 116 has respective small wires
      for the purpose of describing the general principles of the            embedded (or otherwise carried therein) for electrically
      invention. The scope of the invention should be determined             contacting each of the individual electrode contacts. The
      with reference to the claims.                                          advantage of an in-line lead relates to its ease of
         At the outset, and as previously indicated, it is empha             implantation, i.e., it can be inserted into the Spinal canal
      sized that the present invention relates to parameter context     45   through a Small locally-anesthetized incision while the
      Switching, i.e., defining and/or Selecting different opera             patient is kept awake. When the patient is awake, he or she
      tional parameter Sets for use by an implant device. The                can provide valuable feedback as to the effectiveness of
      invention will be described with reference to the implanted            Stimulation applied to a given electrode contact or contacts
      pulse generator (IPG) and hand-held programmer (HHP) of                114 for a given positioning of the array 110. One of the
      a spinal cord stimulation (SCS) system. An exemplary SCS          50   disadvantages of the in-line lead is that it is prone to
      System is described more fully in U.S. patent application Ser.         migrating in the epidural Space, either over time or as a result
      No. 09/626,010, filed Jul. 26, 2000, incorporated herein by            of a Sudden flexion movement. Such migration can disad
      reference. It is to be understood, however, that the present           Vantageously change the location and nature of the pares
      invention is not limited for use just within an SCS system of          thesia and the required stimulation level. Either or both of
      the type described in the referenced patent application.          55   the these conditions may require reprogramming of the IPG
      Rather, the invention has broad applicability, and may be              100 and/or Surgical correction (repositioning) of the elec
      used with numerous different types of implant devices                  trode array 110. Note, as used herein, the term “paresthesia”
      and/or Systems, including all types of neural Stimulators and          refers to that area or Volume of the patient's tissue that is
      Sensors, deep brain Stimulators, cochlear Stimulators, drug            affected by the electrical Stimuli applied through the elec
      delivery Systems, muscle tissue Stimulators, and the like,        60   trode array. The patient may typically describe or charac
      regardless of whether Such Systems incorporate implantable             terize the paresthesia as an area where a tingling Sensation
      or external components. That is, the invention may be used             is felt.
      with implantable Systems, non-implantable Systems, or SyS                 To overcome the migration problems associated with an
      tems made up of a combination of implantable and external              in-line electrode, a different type of electrode array 110 may
      components.                                                       65   be used, known as a paddle lead. Various types of paddle
         Turning first to FIG. 1, there is shown a block diagram             leads are illustrated at (D), (E), (F) and (G) of FIG. 2. In
      that illustrates the various components of an exemplary SCS            general, each type of paddle lead is shaped with a wide
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      platform 119 on which a variety of electrode contact con                 AS Suggested in the block diagram of FIG. 1, the lead
      figurations or arrays are Situated. For example, the paddle            extension(s) 120, as well as the percutaneous extension(s)
      lead shown at (D) in FIG. 2 has two columns of four                    132 are inserted through the patient's tissue through the use
      rectangular-shaped electrode contacts 115 carried on a wide            of appropriate Surgical components 30, and in particular
      platform 119, with the electrode contacts in one column                through the use of tunneling tools 152, as are known in the
      being offset from the electrode contacts in the other column.          art, or as are especially developed for purposes of Spinal
      (Here, the term “offset” refers to the vertical position of the        cord stimulation Systems (Such as is disclosed in U.S. patent
      electrode contacts, as the leads are oriented in FIG. 2.) The          application Ser. No. 60/166.560, filed Nov. 19, 1999). In a
      flexible cable or carrier 116 carries wires from each elec             Similar manner, the electrode array 110 is implanted in its
      trode contact to a proximal end of the paddle lead (not                desired position, e.g., adjacent the Spinal column of the
      shown), where such wires may be connected to the IPG 100               patient, through the use of an insertion needle 154 and a
      (or to a lead extension 120, which in turn connects to the IPG         guide wire 156.
      100). The paddle lead shown at (E) in FIG. 2 similarly has                One possible depiction of the operation of multiple chan
      two columns of eight electrode contacts 115 in each row,               nels used to provide a Stimulus pattern through multiple
      with the electrode contacts in one column being offset from       15
                                                                             electrodes is illustrated in FIG. 3. FIG.3 assumes the use of
      the electrode contacts in the other column, and with each              an electrode array 110 having Sixteen electrodes connected
      electrode contact being connected to one or more wires                 to the implantable pulse generator (IPG) 100. In addition to
      carried in the flexible cable or carrier 116.                          these sixteen electrodes, which are numbered E1 through
        Still referring to FIG. 2, other types of paddle leads are           E16, a case electrode (or return electrode) is also available.
      illustrated. As seen at (F) in FIG. 2, one type of paddle lead         In FIG.3, the horizontal axis is time, divided into increments
      has its carrier or cable 116 branch into two separate branches         of 1 mS, while the Vertical axis represents the amplitude of
      117a and 117b, with a wide platform 119a and 119b being                a current pulse, if any, applied to one of the Sixteen elec
      located at a distal end of each branch. Within each wide               trodes. Thus, for example, at time t=0 ms, FIG. 3 illustrates
      platform 119a and 119b an array of at least two circular               that a current pulse of 4 milliamps (mA) appears on channel
      shaped electrode contacts 115" is situated. AS Seen in (G) in     25
                                                                             1 at electrode E1 and E3. FIG. 3 further shows that this
      FIG. 2, another type of paddle lead has a wide platform 119            current pulse is negative (-4 mA) on electrode E1 and
      at its distal end on which a single column of circular-shaped          positive (+4 mA) on electrode E3. Additionally, FIG. 3
      electrode contacts 115" is situated.                                   shows that the Stimulation parameters associated with this
        A preferred type of SCS system, such as the one shown in             current pulse are Set at a rate of 60 pps, and that the width
      FIG. 1, preferably has the ability to support more than one            of the pulse is about 300 us.
      lead with two or more channels. Here, a “channel’ is defined             Still with reference to FIG.3, it is seen that at time t=2 ms,
      as a specified electrode, or group of electrodes, that receive         channel 2 of the IPG 100 is set to generate and apply a 6 mA
      a specified pattern or Sequence of Stimulus pulses. Thus,              pulse, having a repetition rate of 50 pps and a width of 300
      where more than one “channel’ is available, each channel               us, between electrode E8 (+6 mA) and electrodes E6 and E7
      may be programmed to provide its own specified pattern or         35   (-4 mA and -2 mA, respectively). That is, channel 2 of the
      Sequence of Stimulus pulses to its defined electrode or group          IPG supplies a current pulse through electrode E8 (+6 mA)
      of electrodes. In operation, all of the Stimulus patterns              that is shared on its return path through electrode E6 (-4
      applied through all of the channels of Such multi-channel              mA) and electrode E7 (-2 mA).
      System thus combine to provide an overall Stimulation                    AS further seen in FIG. 3, at time t=4ms, channel 3 of the
      pattern that is applied to the tissue exposed to the individual   40   IPG 100 is set to generate and supply a 5 mA pulse to
      electrodes of the electrode array(s).                                  electrode E10 (+5 mA) which is returned through electrode
         There are many instances when it is advantageous to have            E8 (-5 mA). This pulse has a rate of 60 pps, and a width of
      multiple channels. For example, left and right Sides, or upper         400 us. Similarly, it is seen that at time t=6 ms, channel 4 of
      and lower extremities, may require different Stimulus param            the IPG is set to generate and Supply a 4 mA pulse to
      eter Settings. Low back pain typically requires a different       45   electrode E14 (+4 mA) which is returned through electrode
      Stimulation site and Stimulation parameters than any of the            E13 (-4 mA). This channel 4 pulse has a rate of 60 pps and
      extremities. Moreover, many patients exhibit conditions                a width of 300 us.
      better Suited to horizontal stimulation paths, while other                The particular electrodes used with each of the four
      patients may have conditions better Suited to Vertical Stimu           channels of the IPG 100 illustrated in FIG. 3 are only
      lation paths. Therefore, having multiple channels that may        50   exemplary of many different combinations of electrode
      be connected to multiple electrodes, positioned within one             pairing and electrode sharing that could be used. That is, any
      or more electrode arrays, So as to cover more tissue/nerve             channel of the IPG may be programmably connected to any
      area, greatly facilitates providing the type of Stimulation            grouping of the electrodes, including the reference (or case)
      pattern and Stimulation parameters needed to treat a particu           electrode. While it is common that only two electrodes be
      lar patient. However, it should be noted, that the present        55   paired together for use by a given channel of the IPG, as is
      invention may also be used in Single-channel Systems, even             the case with channels 1, 3 and 4 in the example of FIG. 3,
      though the preferred System employs multiple channels.                 it is to be noted that any number of electrodes may be
         The electrode array 110 and its associated lead system              grouped and used by a given channel. When more than two
      typically interface with the implantable pulse generator               electrodes are used with a given channel, the Sum of the
      (IPG) 100 via a lead extension system 120. As needed, e.g.,       60   current Sourced from the positive electrodes should be equal
      for testing and/or fitting purposes, the electrode array 110           to the Sum of the current Sunk (returned) through the
      may also interface with an external trial stimulator 140               negative electrodes, as is the case with channel 2 in the
      through one or more percutaneous lead extensions 132,                  example of FIG. 3 (+6 mA sourced from electrode E8, and
      connected to the trial stimulator 140 through an external              a total of -6 mA sunk to electrodes E6-4 mA and E7-2
      cable 134. In this manner, the individual electrodes included     65   mA).
      within the electrode array 110 may receive an electrical                 It is also noted that, in addition to the types of pulses
      Stimulus from either the trial Stimulator 140 or the IPG 100.          shown in FIG. 3, other types of pulses, and pulse Stimulation
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      patterns, may be applied through the electrodes, as needed or           The IPG 100 is typically able to monitor and telemeter the
      desired for a particular application. A representation of             Status of its replenishable power Source 180 (e.g., recharge
      exemplary types of pulses, and pulse patterns, that may be            able battery) each time a communication link is established
      applied through an array of implanted electrodes is shown,            with the external patient programmer (hand-held
      for example, in U.S. Pat. No. 5,601,617, incorporated herein          programmer) 202. Such monitoring not only identifies how
      by reference.                                                         much charge is left, but also charge capacity. Typically, a
         Turning next to FIG. 4, a block diagram is shown that              telecommunicative link is established, and hence battery
      illustrates the main components of an implantable pulse               monitoring may occur, each time a programming event
      generator, or IPG, 100 used with an exemplary SCS system.             occurs, e.g., each time the patient or medical perSonnel
      As seen in FIG. 4, the IPG includes a microcontroller (uC)            enable/disable the IPG 100, or change a stimulus parameter.
      160 connected to memory circuitry 162, The uC 160 typi                   The power circuits 182 advantageously include protection
      cally comprises a microprocessor and associated logic                 circuitry that protects the replenishable power source 180
      circuitry, which in combination with control logic circuits           from overcharging. Also, Safeguarding features are incorpo
      166, timer logic 168, and an oscillator and clock circuit 164,        rated that assure that the power Source is always operated in
      generate the necessary control and Status Signals which          15   a safe mode upon approaching a charge depletion. Poten
      allow the uC 160 to control the operation of the IPG in               tially endangering failure modes are avoided and prevented
      accordance with a Selected operating program and opera                through appropriate logic control that is hard-wired into the
      tional parameter set (OPS). The operational parameter set             device, or otherwise Set in the device in Such a way that the
      for an IPG 100 of the type shown in FIG. 4 includes                   patient cannot override them.
      parameter values that define, e.g., pulse amplitude, pulse
      width (duration), channel frequency, electrode                           Still with reference to FIG. 4, it is seen that a plurality m
      configuration, ramp rate, treatment (Stimulation) time, and           of independent current source pairs, 186+I1, 186-I1, 186+
      the like. The operating program and OPS are programably               I2, 186-I2, 186+I3, 186-I3, . . . 186+Im, 186-Im are
      stored within different locations of the memory 162 by                coupled to the control logic 166 via control bus 167. One
      transmitting an appropriate modulated carrier Signal through          current Source of each pair of current Sources functions as a
      a receiving coil 170 and forward/back telemetry circuitry        25   positive (+) current Source, while the other current Source of
      172 from an external programing unit, e.g., a handheld                each pair functions as a negative (-) current Source. The
      programmer 202 and/or a clinician programmer 204,                     output of the positive current Source and the negative current
      assisted as required through the use of a directional device          Source of each pair of current Sources 186 is connected to a
      206 (see FIG. 1). (The handheld programmer is thus con                common node 187. This common node 187, in turn, is
      sidered to be in “telecommunicative” contact with the IPG,            connected through a low impedance Switching matrix 188 to
      and the clinician programmer is likewise considered to be in          any of n electrode nodes El, E2, E3, . . . En, through
      telecommunicative contact with the handheld programmer,               respective coupling capacitorS C1, C2, C3, ... Cn. Through
      and through the handheld programmer, with the IPG.) The               appropriate control of the Switching matrix 188, any of the
      forward/backward telemetry circuitry 172 demodulates the              m current source nodes 187 may be connected to any of the
      carrier signal it receives through the coil 170 to recover the   35   electrode nodes E1, E2, E3, ... En. Thus, for example, it is
      programming data, e.g., the operating program and/or the
      OPS, which are then stored within known addresses of the              possible to program the current Source 186+I1 to produce a
      memory 162, or within other memory elements (not shown)               pulse of +4 mA (at a specified rate and for a specified
      distributed throughout the IPG 100.                                   duration), and to Synchronously program the current Source
         The microcontroller 160 is further coupled to monitoring           186-I2 to similarly produce a pulse of -4 mA (at the same
      circuits 174 via bus 173. The monitoring circuits 174            40   rate and pulse width), and then (through the Switching
      monitor the status of various nodes or other points 175               matrix 188) connect the 186+I1 node to electrode node E3
      throughout the IPG 100, e.g., power Supply Voltages, current          and the 186-I2 node to electrode node E1 at relative time
      values, temperature, the impedance of electrodes attached to          t=0 ms (and at a recurring rate thereafter) in order to realize
      the various electrodes E1... En, and the like. Informational          the operation of channel 1 depicted in the timing diagram of
      data Sensed through the monitoring circuit 174 may be sent       45   FIG. 3. In a similar manner, the operation of channels 2, 3
      to a remote location external the IPG (e.g., a non-implanted          and 4 shown in FIG.3 may likewise be realized.
      location) through the microcontroller 160, the forward/back              An alternate functional block diagram of an IPG 100' is
      telemetry circuitry 172, and the coil 170.                            shown in FIG. 5. The front end elements included in FIG. 5,
         The operating power for the IPG 100 is derived from a              e.g., the coil 170, forward/back telemetry circuit 172, micro
      replenishable power Source 180, e.g., a rechargeable battery     50   controller 160, memory 162, oscillator and clock circuit 164,
      and/or a Supercapacitor. Such power Source 180 provides an            monitoring circuitry 174, timer logic 168, control logic 166,
      unregulated Voltage to power circuits 182. The power cir              charging coil 177, charging telemetry circuit 176, power
      cuits 182, in turn, generate the various Voltages 184, Some           circuits 182, and power source 180, are the same as previ
      of which are regulated and Some of which are not, as needed           ously described in connection with FIG. 4. The IPG 100'
      by the various circuits located within the IPG. The power        55   shown in FIG. 5 differs from the IPG 100 shown in FIG. 4
      circuits 182 further selectively direct energy contained              in the manner in which an output current having a Specified
      within a charging Signal, received through charging coil 177          amplitude, pulse width, and timing relationship, is directed
      and charging telemetry circuit 176, to the replenishable              to a selected electrode. As seen in FIG. 5, each electrode E1,
      power Source 180 during a charging mode of operation. In              E2, E3 . . . En, is connected, through a respective coupling
      this way, the power source 180 may be recharged when             60   capacitor C1, C2, C3 . . . Cn, to a positive current DAC
      needed.                                                               (digital to analog converter) 191 and a negative current DAC
         In one embodiment, the power source 180 of the IPG 100             193. That is, electrode E1 is connected through coupling
      comprises a rechargeable battery. Recharging occurs induc             capacitor C1 to positive current +DAC1 and negative cur
      tively through charging coil 177 from an external charger             rent -DAC1. Similarly, electrode E2 is connected through
      208 (FIG. 1) to an implant depth of approximately 2-3 cm.        65   coupling capacitor C2 to positive current +DAC2 and nega
      The external charger 208 may be coupled to a charging port            tive current -DAC2; electrode E3 is connected through
      211 (FIG. 1).                                                         coupling capacitor C3 to positive current +DAC3 and nega
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                                     11                                                                     12
      tive current -DAC3; and so on, with electrode En being                     Also, the pulse width of the current pulses is adjustable in
      connected through coupling capacitor Cn to positive current             convenient increments. AS with the other operational param
      +DACn and negative current -DACn. The control logic 166                 eters associated with the IPG, the pulse width may be
      controls each of the positive DACs 191 and negative DACs                defined by a specific parameter included within the current
      193 So that an electrical current having a specified amplitude          OPS. The pulse width range is preferably at least 0 to 1 ms
      and polarity is directed to a Selected electrode for a Specified        in increments of 10 uS. Generally, it is preferred that the
      time period and repetition rate. The circuit configuration of           pulse width be equal for all electrodes in the same channel.
      the IPG 100' shown in FIG. 5 thus eliminates the need for the
      low impedance Switching matrix 188, shown in embodiment                    Similarly, the pulse rate is adjustable within acceptable
      of the IPG 100 depicted in FIG. 4. The positive and negative            limits. The pulse rate may likewise be defined by an appro
      current DACs 191 and 193 may be realized using circuitry                priate parameter included within the current OPS. The pulse
      as described in pending U.S. patent application Ser. No.                rate preferably spans at least two ranges: (1) a normal rate;
      09/338,700, filed Jun. 23, 1999, now issued as U.S. Pat. No.            and (2) a high rate. The normal rate range covers 0-150 pps
      6,181,969.                                                              per channel in approximately 1 pps increments. The high
        As described above, whether the IPG configuration of                  rate range covers 100-500 pps in increments of approxi
      FIG. 4 or FIG. 5 is employed, it is seen that any of the n
                                                                         15   mately 10 pps, and generally need only be available on one
      electrodes may be assigned to up to k possible groups (where            or two channels. When used, the high rate range limits
      k is an integer corresponding to the number of channels, and            operation of the additional channels at the normal rates when
      in a preferred embodiment is equal to 4). Moreover, any of              Stimulation and/or power conflicts are determined to be
                                                                              present.
      the n electrodes can operate, or be included in, any of the k
      channels. The channel identifies which electrodes are                     Because the IPG 100, or the IPG 100', is typically only
      Selected to Synchronously Source or Sink current in order to            capable of delivering current pulses up to t20 mA in
      create an electric field. Amplitudes and polarities of elec             amplitude at any instant in time, the SCS System also
      trodes on a channel may be adjusted, e.g., as controlled by             regulates the channel rates to prevent overlap (i.e., to prevent
      the current operational parameter set (OPS) used by the IPG.       25
                                                                              two or more pulses from different channels from occurring
      The OPS also typically assigns a pulse rate and pulse width             at the same time). Such channel rate regulation is transparent
      for the electrodes of a given channel.                                  to the patient.
         Hence, it is seen that each of the n programmable elec                  The stimulation pulses generated by the IPG 100 or the
      trode contacts can be programmed, through a Selected OPS,               IPG 100' should also be charged balanced. This means that
      to have a positive (Sourcing current), negative (sinking                the amount of positive charge associated with a given
      current), or off (no current) polarity in any of the k channels.        Stimulus pulse should be offset with an equal and opposite
        Moreover, it is seen that each of the n electrode contacts            negative charge. Charge balance may be achieved through a
      can operate in a bipolar mode or multipolar mode, e.g.,                 coupling capacitor, which provides a passive capacitor dis
      where two or more electrode contacts are grouped to Source/             charge that achieves the desired charge balanced condition.
      Sink current at the same time. Alternatively, each of the n        35   Such passive capacitor discharge is evident in the wave
      electrode contacts can operate in a monopolar mode where,               forms depicted in FIG. 3 as the slowly decaying waveform
      e.g., the electrode contacts associated with a channel are              following the short trailing edge of each pulse. Alternatively,
      configured as cathodes (negative), and the case electrode, on           active biphasic or multiphasic pulses with positive and
      the IPG case, is configured as an anode (positive). The mode            negative phases that are balanced may be used to achieve the
      of the electrode contacts that is to be used, e.g., bipolar,       40   needed charge balanced condition.
      multipolar or monopolar, may also be defined by a specific                In Some embodiments of the invention, a real-time clock
      parameter included within the current OPS.                              is also incorporated within the timing circuits of the IPG 100
         Further, the amplitude of the current pulse being Sourced            or the IPG 100'. Such real-time clock advantageously allows
      or Sunk from a given electrode contact may be programmed                a run schedule to be included within the current OPS. That
      to one of several discrete levels. These discrete levels may       45   is, the patient can Schedule auto-run times for IPG operation
      be similarly defined by a specific parameter, or a specific             at certain times of the day. When an auto-run time begins, all
      group of parameters, included within the current OPS. In                channels are enabled and provide a previously-programmed
      one embodiment, the currents can be individually Set from               pattern of Stimulus currents, i.e., current pulses having a
      +0 to +12.7 mA, in steps of 0.1 mA. In another embodiment,              programmed width, rate, and amplitude are generated and
      at least one channel of electrodes is capable of an output of      50   delivered through each channel. The auto-run time continues
      at least t20 mA (distributed among the electrodes included              for a set time period, e.g., Several hours, or for only a few
      in the channel group). The current output capacity of indi              minutes. Advantageously, the auto-run time is defined by the
      vidual electrodes are limited when operating with more than             current OPS. Thus, when a new OPS is selected to replace
      one other electrode of the same polarity in a given channel             an existing OPS, the new OPS controls operation of the IPG
      in order to assure that the maximum current values are             55   thereafter, including any auto-run time that may be defined
      maintained. Additionally, in order to prevent unpleasant                in the new OPS.
      Sensations due to Sudden changes in current amplitude,                     A feature that may be included within the IPG 100 or IPG
      amplitude changes are preferably gradually changed, e.g., in            100' is the ability to measure electrode impedance, and to
      a ramping fashion, at a specified "ramp rate', between the              transfer the impedance thus measured back to a remote
      value range between the Settings. The ramp rate may also be        60   programmer, or other processor, through the forward/back
      defined by a specific parameter included within the current             telemetry circuits 172. Also, the microcontroller 160, in
      OPS. Such ramping feature may also be used when initially               combination with the other logic circuits, may also be
      powering on the IPG, thereby preventing full magnitude                  programmed to use the electrode impedance measurements
      Stimulus pulses from being delivered to the patient during a            to adjust compliance Voltages and to thereby better maintain
      ramping-up time period. The ramp rate may be different, as         65   low battery consumption. In one embodiment of the IPG 100
      defined by the current OPS, depending upon the channel and              or IPG 100', electrode impedance is measured for each
      programmed amplitude, between about 1 and 10 Seconds.                   electrode contact by Sourcing or sinking a 4 mA current
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      pulse from the electrode contact to the case electrode,                nodes (leadwires) and thus electrodes, and conversely, any
      measuring the Voltage at the electrode contact, and comput             electrode node (leadwire) may be attached to a positive or
      ing the resulting impedance. (Impedance is equal to Voltage/           negative current DAC, grounded, or left open. The Signifi
      current.) For a spinal cord implantation, the electrode                cance of the biphasic, or (in Some instances) multiphasic,
      impedance will typically range between about 400 ohms and              nature of the Stimulation pulses is that currents may be
      600 ohms, as measured between a Selected electrode contact             actively driven in either the anodic or cathodic direction to
      to the indifferent case electrode.                                     the output electrode nodes of the current DACs. This feature
        Advantageously, by using current Sources of the type                 along with independent enabling of the output current DACS
      disclosed in the referenced patent application, or similar             allows the creation of “virtual electrodes and stimulation
      current sources, the IPG 100 or 100' is able to individually           current field control, not possible with other known designs.
      control the n electrode contacts associated with the n elec            This feature thus provides an important advance in the
      trode nodes E1, E2, E3, . . . En. Controlling the current              ability to direct the Stimulation pulses to pools of target
      sources and Switching matrix 188 (for the IPG 100 shown in             neurons in the Spinal cord or other target tissue.
      FIG. 4), or controlling the current source DACs 191 and 193               In use, the IPG 100 or IPG 100' is placed in a surgically
      (for the IPG 100' shown in FIG. 5), using the microcontroller     15
                                                                             made pocket either in the abdomen, or just at the top of the
      160, as defined by individual operational parameters                   buttocks, and detachably connected to the lead System
      included within the current OPS, in combination with the               (comprising lead extension 120 and electrode array 110).
      control logic 166 and timer logic 168, thereby allows each             While the lead system is intended to be permanent, the IPG
      electrode contact to be paired or grouped with other elec              may be replaced should its power Source fail, or for other
      trode contacts, including the monopolar case electrode, in             reasons. Thus, a Suitable connector, e.g., the Snap-on tool
      order to control the polarity, amplitude, rate, pulse width and        leSS connector disclosed in U.S. patent application Ser. No.
                                                                             09/239,926, filed Jan. 28, 1999, or other Suitable connectors,
      channel through which the current Stimulus pulses are                  may advantageously be used to make the connection
      provided.                                                              between the lead system and the IPG 100 or 100'. The 926
         As shown in FIG. 4 and/or FIG. 5, much of circuitry                 patent application is incorporated herein by reference.
      included within the IPG 100 or 100' may be realized on a          25     Once the IPG 100 or 100' has been implanted, and the
      single application specific integrated circuit (ASIC) 190.             implant System 10 is in place, the System may be pro
      This allows the overall size of the IPG to be quite small, and         grammed to provide a desired Stimulation pattern at desired
      readily housed within a Suitable hermetically-Sealed case.             times of the day. The Stimulation parameters are defined in
      The IPG 100 or 100' includes n feedthroughs to allow                   an operational parameter Set (OPS), which may also be
      electrical contact to be individually made from inside of the          referred to as an “operational parameter data Set, or “con
      hermetically-Sealed case with the n electrodes that form part          trolling data.” The parameters defined by and included
      of the lead system outside of the case. The IPG case is                within the operational parameter data Set may include, e.g.,
      preferably made from titanium and is shaped in a rounded               the number of channels (defined by the selection of elec
      case. A exemplary rounded IPG case has a maximum                       trodes with Synchronized Stimulation), the Stimulation rate
      circular diameter of about 50 mm, and preferably only about       35   and the Stimulation pulse width. Also, the operational
      45 mm (or equivalent area). Thus, the implant case has                 parameter data Set defines the current output from each
      Smooth curved transitions that minimize or eliminate edges             electrode by polarity and amplitude. Additionally, as indi
      or Sharp corners. The maximum thickness of the case is                 cated above, a run Schedule may be defined in the opera
      about 10 mm, and is preferably only about 8 mm.                        tional parameter data set, which when used enables the IPG
        It is thus seen that the implant portion 10 of the SCS          40   only at programmed times of the day.
      System (see FIG. 1) includes an implantable pulse generator               The back telemetry features of the IPG 100 or IPG 100'
      (IPG) 100 as described in FIG.4, or an IPG 100' as described           allow the status of the IPG to be checked. For example,
      in FIG. 5. Such IPG further includes stimulating electronics           when the external hand-held programmer 202 (and/or the
      (comprising programmable current Sources and associated                clinician programmer 204) initiates a programming Session
      control logic), a power Source, and a telemetry System.           45   with the implant system 10 (FIG. 1), the capacity of the
      Advantageously, the power Source may be recharged over                 battery is telemetered So that the external programmer can
      and over again, as needed, and may thus provide a long life,           calculate the estimated time to recharge. Additionally, the
      as well as a high current output capacity.                             electrode impedance measurements are telemetered at the
         A feature of the SCS system is its ability to map current           beginning of each programming Session, or as requested.
      fields through Selective control of the current Sources which     50   Any changes made to the current Stimulus parameters are
      are attached to each electrode node. Independent current               confirmed through back telemetry, thereby assuring that
      mapping is achieved by directing a desired current to each             Such changes have been correctly received and implemented
      electrode node through the use of a microcontroller 160, one           within the implant System. Moreover, upon interrogation by
      or more ASICs, a multiplicity of positive and negative                 the external programmer, all programmable Settings Stored
      current DACs, timers and control registers, and a State           55   within the implant system 10 may be uploaded to one or
      machine architecture. The ASIC has a standard bus interface            more external programmerS.
      to the microcontroller allowing Simple, direct and efficient              A clinician programming System, as Seen in FIG. 1, is
      access to all of its control and Stimulation parameter regis           preferably used with the IPG 100 or 100'. Such clinician
      ters. Each current DAC is capable of driving a 1 Kohm load             programming System includes a clinician programmer 204
      with constant current biphasic pulses up to 12.7 mA with 7        60   coupled to a directional device 206. The clinician program
      bit resolution, 1 bit accuracy, at phase durations up to 1000          mer 204 typically interfaces with a patient hand-held pro
      tiS with 1 uS resolution. Each current DAC is independent of           grammer (HHP) 202 in communicating with the IPG 100 or
      the other current DACs, but any of the DACs may be linked              100'. It should be noted that the clinician's programming
      in the triggering (control) circuitry and/or their outputs may         system represents one way in which the IPG 100 or 100' may
      be linked. Triggering and timing control circuitry allow the      65   be programmed, but not the only way. Those of skill in the
      Simultaneous activation of any of the channels. One or more            art should be able to fashion various ways in which the IPG
      current DACS may be attached to any one or more electrode              100 or 100' could be programmed.
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         The clinician's programming System optimizes the pro                receives accurate and current data. Programming changes
      gramming of the IPG for the patient. The programming                   made to the stimulator(s) are confirmed through back telem
      System maintains a patient database, and is able to program            etry or other means before the SCS system software reflects
      all features of the implant device in a simple and intuitive           the change. Advantageously, the physician is able to pro
      manner. Additionally, the System allows threshold measure              gram the stimulator through either the patient HHP 202 or
      ments to be made, operational electrodes to be identified,             the clinician programmer 204 while linked together through
      and is able to interface directly with the patient.                    the link 203, with all programming changes being mirrored
                                                                             in both devices.
         One feature of the SCS programming System is the use of               Additional details associated with the Clinician's pro
      a joystick accessory, or equivalent directional device 206             gramming System, including the hand-held programmer
      (FIG. 1), which allows the clinician to interface with a laptop        (HHP) 202 used therewith, are more fully described in the
      computer (e.g., programmed to function as the clinician                previously referenced U.S. patent application Ser. No.
      programmer 204), or other processor (e.g., a hand-held                 09/626,010. The details associated with the use and opera
      computer, Such as a PalmPilot(R) computer, or equivalent) So           tion of the clinician programming system and HHP 202 are
      as to allow the clinician, or other medical perSonnel assisting        not relevant to the present invention, and thus are not
      the clinician, to configure electrodes and adjust various         15
      Stimulation parameters. A Suitable directional programming             described herein in any great detail.
      device is described in more detail in U.S. Pat. No. 6,052,624,            By way of overview, it is noted that the HHP202 is small
      “Directional Programming for Implantable Electrode                     enough to be held comfortably in one hand. It has a flat panel
      Arrays', which patent is incorporated herein by reference.             display that shows programmable values as they are Selected
      AS described in the 624 patent, Such directional program               and/or modified. AS desired, it may be inserted into a
      ming may advantageously be performed either in the oper                cover-case which protects the buttons from being inadvert
      ating room (OR) environment and in the doctor's office. The            ently pressed. It further includes an accessible battery com
      clinician or nurse Simply operates the joystick feature, or            partment which allows its batteries to be replaced, as
      equivalent directional programming feature, during Surgery             needed. The buttons or other controls used on the handheld
      in conjunction with the trial stimulator 140 so as to configure   25   programmer are easy to manipulate, and provide immediate
      and Select the electrodes that provide desired Stimulation.            access (without scrolling and selecting) to ON/OFF,
      The clinician then uses the joystick feature to finalize the           amplitude, pulse width and rate Settings. A visual display
      device programming during a post implant adjustment Ses                provided as an integral part of the handheld programmer
      Sion. Thus, whether communicating with the trial Stimulator            clearly labels each parameter with the associated control
      140 or with the IPG 100, the directional programming                   button, and displays large characters for easy viewing. The
      device 206 is able to be effectively used to configure which           handheld programmer reliably programs the IPG from a
      electrodes provide Stimuli to the patient.                             Specified distance, e.g., 12–24 inches, and actively displayS
         In operation, as seen in FIG. 1, the clinician programming          the status of the communication link with the IPG. Further,
      system communicates to the patient HHP 202 over a tele                 when used as a relay device between the clinician's pro
                                                                        35   grammer 204 and the IPG 100, the handheld programmer
      communicative or other communication link 203, which                   202 provides a data rate and loop speed that is Sufficiently
      then telemeters the data to the IPG 100 or 100'. Likewise, the         fast So that the patient can make programming Selecting
      clinician's programmer is able to communicate to the trial             changes and quickly feel the result. As a Safety feature, any
      stimulator 140 over the telecommunicative link 205. The
                                                                             given handheld programmer 202 is able to communicate
      communication links 203 and 205 are reliable links capable        40   only with one IPG when operated by the patient, whereas a
      of operating in the busy OR environment. Data Speeds to and            physician (when a hidden physician Screen is activated) may
      from the IPG, through the patient programmer 202 interme               use the handheld programmer 202 to communicate univer
      diary link, are fast enough to not noticeably delay program            Sally with any IPG.
      ming. A communication link Status between devices is                     Next, with reference to FIG. 6, there is shown a block
      always depicted on a Screen, or other display device, asso        45   diagram of a portion of the implant device, or IPG 100 or
      ciated with the programmer 204.                                        100', that functionally illustrates one manner that may be
         AS Soon as the clinician programmer is initially connected          used in accordance with the present invention to allow the
      to the implant System, hardware recognition occurs. That is,           patient user to Select one of a plurality of operational
      the System identifies the Stimulator, the patient programmer,          parameter sets (OPS's), for use by the implant device. As
      and electrode availability (through electrode impedance           50   Seen in FIG. 6, and as explained previously in connection
      measurements).                                                         with FIG. 4 or FIG. 5, the implant device 100 or 100'
         For safety, the HHP 202 is coded to work only with a                includes a coil 170 that receives modulated RF signals from
      Specific implant System. Should the patient lose his or her            an external hand-held programmer (HHP) 202. The data that
      programmer 202, then the physician, using the clinician                modulates the RF signal transmitted by the HHP 202 may
      programmer, is able to code a new programmer for use with         55   originate from within the HHP 202, or may originate from
      the patient's implant System. The clinician's programmer, in           a clinician programmer 204, or an equivalent Source.
      contrast, is able to communicate to any implant through any               The modulated RF signal is received through receiving
      HHP202 by using an overriding universal code. This allows              coil 170 and processed by the forward/back telemetry circuit
      the patient code to be extracted from the IPG 100 and used             172". Informational data contained within the modulation of
      to re-code a new HHP 202.                                         60   the RF signal is demodulated and forwarded to the micro
         When an IPG 100 or 100' is in contact with a clinician              controller (uC) 160. The uC 160, in turn, acts on the data in
      programmer 204, the device Settings and hardware informa               an appropriate manner. Some data, for example, is data that
      tion (model, Serial number, number of electrode by                     defines operational parameters that are used within the
      impedance, and the like) are first uploaded to the clinician           implant device 100 or 100' to control its operation in
      programmer 204. All devices in the link with the IPG, e.g.,       65   accordance with an operating program Stored in its memory
      the HHP 202, and/or the trial stimulator 140, and clinician            162. Such data is forwarded to appropriate locations within
      programmer 204, are Synchronized So that each device                   a memory 162, which Specified locations may be considered
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                                                           US 6,381,496 B1
                                   17                                                                     18
      as a memory table 165, through a memory acceSS control                 implant device is implanted); a certain audible tone, a certain
      circuit 163. The memory table 165 includes individual                  elapsed time or attainment of a certain time of day, and
      addressable locations wherein various operational param                Similar events. Some embodiments may include multiple
      eters may be Stored. A first operational parameter, for                Sensors, in which case the occurrence of the “event may
      example, may comprise data that defines the pulse width                actually be the occurrence of a prescribed combination of
      (PW) of a stimulation pulse. Yet other operational parameter           several events. The sensing of the prescribed “event' by the
      data may define the pulse rate (PR), pulse amplitude (PA),             Sensor 192, in turn, automatically triggers the use of a
      electrode configuration (EC), ramp rate (RR), treatment                prescribed OPS. That is, as soon as the “event' is detected
      times (TT), a first other parameter (P1), and a second other           by the sensor 192, the uC 160 responds by directing the
      parameter (P2), and the like, associated with a stimulation            memory access control circuit 163 to retrieve the appropriate
      pulse Sequence. All Such data, when combined, thus define              OPS from the memory table 165 and load it into the control
      an operational parameter set (OPS) that may be used by the             register 161.
      implant device 100 or 100" as it provides stimulation pulses             Next, with reference to FIG. 7, an alternative embodiment
      through Selected electrodes E1, E2, ... En of the electrode            of the invention is shown. In the embodiment shown in FIG.
      array 110. The particular OPS used to control the operation       15   7, a plurality of OPSs are stored within a section or area
      of the implant device 100 or 100' is retrieved from memory             (e.g., a table) 216 of a memory 214 of the hand-held
      162 through memory access control 163 and held in a                    programmer (HHP) 202. The patient user selects one of the
      control register 161, or equivalent holding location. If is            plurality of OPS's as the desired OPS through appropriate
      from the control register 161 that the individual operational          manual patient Selection means 208 included as part of the
      parameters contained within the selected OPS interact with             HHP 202. Such means typically comprise pressing appro
      the application specific integrated circuit(s) (ASIC) 190,             priate keys or buttons on a keypad, or display Screen, but any
      including the control logic 166 and timer logic 168 included           suitable input means may be used. Once the desired OPS has
      within the ASIC 190 (see FIG. 4 or FIG. 5), to generate                been selected, an HHP control circuit 210 directs a memory
      stimulation pulses defined by the OPS held in the control              access control circuit 215 to retrieve the selected OPS from
      register 161.                                                     25   the memory table 216 and store it in an OPS register 211 that
        AS seen in FIG. 6, in accordance with the embodiment of              forms part of the HHP210. The OPS held in the OPS register
      the invention shown in FIG. 6, a plurality of different                211 is then downloaded, through the telemetry circuit 212
      operational parameter sets, e.g., OPS0, OPS1, OPS2, . . .              and coil 207, to the implant device 100 or 100'. When
      OPSn, where n is an integer, typically equal to at least four,         received within the implant device 100 or 100', it is loaded
      are stored within the memory 162 of the implant device 100             into a control register within the microcontroller 160 of the
      or 100' (or within the memory of the HHP 202, as described             implant device, from which location it controls the operation
      below). When the patient user wants to select a different              of the implant device, as described previously.
      OPS for controlling the implant device, he or she, using
      manual selection controls on the HHP202 selects one of the                All of the individual parameters included within each
      plurality of OPS's, e.g., OPS3, that is stored within the         35
                                                                             OPS stored within the memory 214 are pre-screened, prior
      implant device. An appropriate Selection signal is then sent           to allowing Such to be Stored in the memory table 216, So as
      to the uC 160 within the implant device 100 via the coils 203          to assure that they are within acceptable, Safe limits.
      and 170 and forward telemetry circuitry 172". Such selection             The HHP 202 shown in FIG. 7 further includes a Suitable
      Signal Steers the memory access control circuit 163, causing           power Source 218, e.g., a replaceable or rechargeable
      it to retrieve the Selected operational parameter Set, e.g.,      40   battery, that is used to provide the operating power for the
      OPS3, from the memory table 165 and to load it into the                HHP, including the transmission of modulated RF signals to
      control register 161, from which location it thereafter con            the implant device.
      trols the operation of the implant device 100. In this manner,           For the embodiment shown in FIG. 7, a sensor 192 (see
      the patient user is able to easily Select a desired operational        FIG. 6) may still be employed within the implant device 100
      parameter Set for use by the implant device.                      45   or 100' to detect the occurrence of a prescribed “event'. In
         Advantageously, all of the individual parameters included           Such instance, the back telemetry features of the implant
      within each OPS stored within the memory 162 are pre                   device 100 (see FIG. 4), or the implant device 100' (see FIG.
      Screened, prior to allowing Such to be Stored in the memory            5, may be used to signal the HHP 202 of the occurrence of
      table 165, to be within acceptable, safe limits. In practice,          the event. The occurrence of the event, in turn, could trigger
      most of these operational parameters, if not all, are initially   50   the HHP controller 210 to retrieve the appropriate OPS from
      defined by the clinician using the clinician programmer 204            memory, and download it through the telemetry circuits 212
      that is coupled to the implant device 100 or 100' through the          and 172 (FIG. 4) to the implant device, from which location
      HHP 202. As part of the initial selection process, the                 it controls the operation of the implant device, as described
      clinician programmer 204 maintains the parameters within               above.
      Set limits, or the physician (the one using the clinician         55      Turning next to FIG. 8, a further feature of the invention
      programmer), attaches appropriate limits to each parameter.            is functionally depicted to illustrate one manner in which the
         As further seen in FIG. 6, the implant device 100 or 100'           patient user may define new programs, e.g., new OPSS, for
      may also have a sensor 192 coupled to the uC 160. Such                 use by the implant device 100 or 100'. FIG. 8 shows a
      sensor 192 may actually be housed within the same housing              functional diagram of another embodiment of a hand-held
      as the implant device, or it may be housed within a separate      60   programmer (HHP) 202". The HHP 202 shown in FIG. 8
      housing that is coupled with the implant device. The Sensor            may in practice be the same HHP202 shown in FIG. 7, with
      192 is configured to Sense an appropriate event, Such as: a            additional functions provided or activated. The additional
      certain body temperature; a certain glucose level in the body          functions added or activated in FIG. 8 include the use of a
      tissue or blood; a certain pH level of the body tissue or              limited memory access control circuit 215", a full memory
      blood; a certain pulse rate or respiration rate, a certain body   65   access control circuit 217, and a limit check circuit 219, all
      position, e.g., horizontal; a certain mechanical thumping (as          of which are used as part of, or in conjunction with, the
      when the patient taps a finger on the Skin above where the             memory 214.
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                                                           US 6,381,496 B1
                                    19                                                                     20
         With reference to FIG. 8, the configuration shown therein            wherein the Selection means comprises memory acceSS
      allows the HHP user to selectively set the values of certain            control means for retrieving a Selected Set of operational
      ones of the operational parameters that are included within             parameters from the memory circuitry and loading it into the
      any of the stored OPS's. This is done through activation of             control register.
      the limited memory access control circuit 215", which              5      3. The implant device of claim 1 wherein the selection
      enables the user to access only certain ones of the opera               means comprises:
      tional parameters stored in the memory table 216. By way of               memory means external to the implant device wherein the
      illustration, as shown in FIG. 8, the HHP user is only able                  plurality of Sets of operational parameters are Stored;
      to access the parameters PW, PA and TT. The other param                         and
      eters included within a given OPS can only be programmed                   telemetry means for transmitting a Selected one of the
      or altered through the clinician programmer 204 and the full                  plurality of Sets of operational parameters to the elec
      memory acceSS control circuit 217. Thus, in this way, a                       tronic circuitry for loading into the control register.
      physician, using the clinician programmer 204, is able to                  4. The implant device of claim 1 further including change
      initially define the operational parameter sets, OPS0, OPS1,            means for allowing a user of the implant device to change
      OPS2, . . . OPSn, that are stored within the memory table          15
                                                                              individual parameters included within a Selected one of the
      216. The user patient is thereafter able to selectively change          plurality of operational parameters.
      certain ones of the parameters within each OPS, e.g., PW, PA               5. The implant device of claim 4 wherein the change
      and TT, through use of the manual patient Selection means               means allows the user of the implant device to change only
      208 and limited memory access control circuit 215".                     certain ones of the individual parameters included within the
         As selected OPSs are retrieved from the memory table                 Selected one of the plurality of operational parameters.
      216, they pass through the limit check circuit 219. The limit              6. The implant device of claim 1 wherein the prescribed
      check circuit 219 compares the value of each parameter                  function performed by the electronic circuitry comprises a
      included within the selected OPS to make sure that it is kept           Stimulation pulse generator, and wherein the operational
      within prescribed limits. If it is not within limits, then the          parameters included within the control Set of operational
      parameter is clipped, i.e., it is set to the limit value closest   25   parameters include pulse width, pulse amplitude and pulse
      to the parameter value that exceeds the limit. The OPS, with            rate.
      all parameter values thus checked and clipped, as required,               7. The implant device of claim 6 wherein the operational
      so as to be within prescribed limits, is then passed to the OPS         parameters included within the control Set of operational
      register 211, or equivalent holding area within the HHP                 parameters further include electrode configuration, ramp
      controller 210, from which location it is downloaded to the             rate, and treatment time.
      implant device and used therein to control the operation of                8. A method of changing the operational parameters used
      the implant device.                                                     to control an implant device, comprising:
         Those of skill in the art will readily recognize that the               defining a plurality of Sets of operational parameters, each
      descriptions presented herein, particularly relative to FIGS.                 Set including individual parameters that define respec
                                                                         35
      6, 7 and 8, are functional in nature. The actual hardware,                    tive characteristics associated with the operation of the
      firmware, and/or Software devices, circuits, and/or proces                    implant device;
      Sors used to implement the functions shown in these func                   Storing the plurality of Sets of operational parameters,
      tional figures may take numerous forms and types. The                      Selecting one of the Stored Sets of operational parameters
      present invention is intended to cover all Such                    40         as a control Set of operational parameters, and
      implementations, regardless of form.
                                                                                 providing the control Set of operational parameters to the
        Thus, while the invention herein disclosed has been                         implant device, and using the provided control Set of
      described by means of Specific embodiments and applica                        operational parameters to control the operation of the
      tions thereof, numerous modifications and variations may be                   implant device.
      made thereto by those skilled in the art without departing         45      9. The method of claim 8 wherein the defining step
      from the scope of the invention set forth in the claims.                comprises defining each Set of the plurality of Sets of
        What is claimed is:
         1. An implant device comprising:                                     operational parameters So that each of the individual param
                                                                              eters within each Set are within prescribed Safe operating
         an implantable case;                                                 limits.
         electronic circuitry housed within Said implantable case        50     10. The method of claim 9 wherein the storing step
            for performing a prescribed function, the electronic              comprises Storing each of the Sets of operational parameters
            circuitry including                                               within memory circuitry included within the implant device.
            a control register wherein a control Set of operational             11. The method of claim 9 wherein the storing step
               parameters is Stored,                                          comprises Storing each of the Sets of operational parameters
            a controller that controls the operation of the implant      55   within memory circuitry that is external to the implant
               device as a function of the control Set of operational         device.
               parameters Stored in the control register, and                   12. The method of claim 9 further including allowing a
         a plurality of Sets of operational parameters, and                   user of the implant device to define a new set of operational
         Selection means for Selecting one of the plurality of Sets           parameters that replaces an existing Set of operational
            of operational parameters as the control Set of opera        60   parameterS.
            tional parameters that is Stored in the control register;            13. The method of claim 9 further including the step of
         whereby the operation of the implant device may be                   limiting changes made to a set of operational parameters to
            changed through Selection of a different Set of opera             changes in just prescribed ones of the individual parameters
            tional parameters.                                                included within the Set of operational parameters.
         2. The implant device of claim 1 wherein the electronic         65      14. An implant System that permits parameter context
      circuitry further includes memory circuitry wherein the                 Switching comprising:
      plurality of Sets of operational parameters are Stored, and                an implant device comprising:
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                                    21                                                                   22
           electronic circuitry that performs a prescribed function         memory means, from which location the Selected Set of
              as controlled by a set of operational parameters,             operational parameters controls the operation of the elec
           a first memory element wherein the Set of operational            tronic circuitry within the implant device.
              parameters is Stored,                                            17. The implant system of claim 16 further including:
           a replenishable power Source that provides operating        5       limited memory access control circuitry within the exter
              power for the implant device,                                      nal control device that allows access to a Selected
           a first telemetry circuit that receives control data from             plurality of individual operating parameters within
             an external Source, and                                             each of the Sets of operational parameters included
          a Second telemetry circuit that receives power to                      within the plurality of Sets of operational parameters
             replenish the replenishable power Source;                           Stored within the Second memory element;
        an external control device comprising a first transmission            full memory access control circuitry within the external
          circuit that transferS control data through the first                  control device that allows access to all of the individual
          telemetry circuit of the implant device that defines the                operating parameters of each of the Sets of operational
          Set of operational parameters Stored in the first memory                parameters included within the plurality of Sets of
          element of the implant device; and                           15         operational parameters Stored within the Second
        an external charging device comprising:                                   memory element;
          a power Source, and                                                  a manual patient Selection circuit that allows a patient user
          a Second transmission circuit that transferS power from                 of the external control device to selectively alter the
             the power Source through the Second telemetry cir                    Selected plurality of individual operating parameters
             cuit to the replenishable power Source of the implant                accessible through the limited memory acceSS control
             device.                                                              circuitry; and
         15. The implant system of claim 14 wherein the first                  a clinician programmer Selectively coupled to the full
      memory element within the implant device has a plurality of                 memory access control circuitry that allows a clinician
      Sets of operational parameters Stored therein, and wherein       25
                                                                                  user of the clinician programmer to Selectively alter all
      the external control device transferS control data to the                   of the individual operating parameters of each of the
      implant device that Selects one of the plurality of Sets of                 Sets of operational parameters included within the
      operational parameters as a control Set of operational param                plurality of Sets of operational parameters Stored within
      eters to be used to control the electronic circuitry.                       the Second memory element.
         16. The implant system of claim 14 wherein the external               18. The implant system of claim 17 wherein the external
      control device includes a Second memory element wherein               control device further includes limit checking circuitry that
      a plurality of Sets of operational parameters are Stored, and         prevents an alteration of individual operating parameters
      further wherein the external control device includes means            contained within the plurality of Sets of operational param
      for Selecting one of the plurality of Sets of operational             eters that exceeds a respective predefined limit.
      parameters and Sending the Selected Set of operational
      parameters to the implant device for Storage in the first                                    k   k   k   k   k
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                              EXHIBIT 8
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                                                                                                   US007 177690B2


    (12) United States Patent                                                     (10) Patent No.:               US 7,177,690 B2
           Woods et al.                                                           (45) Date of Patent:                        Feb. 13, 2007

    (54) IMPLANTABLE SYSTEM HAVING                                                  4,232,679 A       11/1980 Schulman
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    (73) Assignee: Advanced Bionics Corporation,                                    5,559,828 A        9/1996 Armstrong et al.
                   Sylmar, CA (US)
    (*) Notice:          Subject to any disclaimer, the term of this                                     Continued
                         patent is extended or adjusted under 35                                        (Continued)
                         U.S.C. 154(b) by 596 days.                                        FOREIGN PATENT DOCUMENTS
    (21) Appl. No.: 10/356,414                                               EP               O 739 645 A2      10, 1996

    (22) Filed:          Jan. 31, 2003
    (65)                   Prior Publication Data                                                       (Continued)
            US 2003/O114899 A1           Jun. 19, 2003                       Primary Examiner Carl Layno
                                                                             (74) Attorney, Agent, or Firm Vista IP Law Group LLP
                 Related U.S. Application Data
                                                                             (57)                      ABSTRACT
    (63) Continuation-in-part of application No. 09/626,010,
         filed on Jul. 26, 2000, now Pat. No. 6,516,227.
    (60) Provisional application No. 60/145,829, filed on Jul.               A system and method for detecting the status of a recharge
         27, 1999.                                                           able battery included within an implantable medical device.
                                                                             The medical device can incorporate a status indicator which
    (51) Int. Cl.                                                            signals the user concerning the battery status, e.g., low
         A61N L/378                   (2006.01)                              battery level. The signal may be audible or it may arise from
    (52) U.S. Cl. ............................. 607/29: 607/33; 607/61       an electrical stimulation that is perceptually distinguished
    (58) Field of Classification Search .................... 607/2,          from the operative, therapeutic stimulation. The external
                                                    607/5, 8, 29, 39-61      programmer may also incorporate a second battery status
            See application file for complete search history.                indicator that is visual, audible, or physically felt. Battery
                                                                             status data may be conveyed on visual displays on the
    (56)                  References Cited                                   external programmer by uploading this information from the
                    U.S. PATENT DOCUMENTS                                    medical device using a bi-directional telemetry link. Such
                                                                             battery status data are helpful to the user to indicate when the
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                                                                          PERCITANEOUS
                                                      EECRODE               EENSON            EERNA            IRA
                                                       ARRAY                                   CAE           SMAIOR
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                               FIG. 2B
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                               MAIN             BATTERY                            194   I
                                                                                                    i? 186   f


                            OSCILLATOR
                                                VOLTAGE WBAI
            164
                  I                            (SCALED)        ANALOGIC
                                                               IMPEDANCE             OUIPUT
                                                               & BATTERY            CURRENT
                                              IMPEDANCE         MEASURE               DACs
                                               SAMPLE
                                                               WDD (27V)             OUTPUT
                                                               REGULATOR                     (WH)
                                                                                   REGULATOR

                                                                                         DIGITAL (C TO
        734                                                              RESET AWALOIC
                       PROCESSOR DIE                          MOL)                       LOG
                                                               DIGITAL IC
                            INTERFACE         MICRO TO                             cites
                              LOGIC            DIGITAL
                                               /C BUS          INTERFACE             SIAIE
                             IIMERS                              LOGIC              CONTROL
                             siu                      MDD SRAM           163
                                                                               /                      ig1'
                            INTERACE           - (OPTIONAL)
                                                                                               /
                                                                                         182
                                                         BAIIERCHARGER
                                                          AND PROTECTION
                                                               CIRCUIS
                                                                                              BATTERY
                                                                                              WOLIAGE
                                                      CHARGER       BATTERY
                        RF TELEMETRY                    COIL
                        IX/RX CIRCUIIS                                         d
                            (ANIENNA,                 171                180
      172                IMPEDANCE                                                           16 OUTPUIS
                      MATCHING, TUNING                       CAPACTOR                         AWD CASE
                         AMPLIFIER),                   ARRAY AND HEADER
                          AWIENNA      192'               CONNECTOR
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                                 W} /1074
                   WSJ0E}{M137
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                                                      0/#1
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         F/G, 4D-1
             EXTERNAL CHARGER          4DO1
              PLACED OVER IPG                      AWALOG IC RESEIS
             STARING CHARGING                        ALL REGISTERS
                 PROCESS              4D02            AFFECTED BY
                                                       HEXIRESET
               BATTERY WOLIAGE
           RISES, ABOVE 25 - 26V                    WBAT RISES ABOVE         4D08
                 AND CHARGING                      3.0 W AND BATTERY
             CURRENT IS DETECIED                     MONITOR CIRCUIT
                                                  RELEASES HEXIRESET
             BAIIERY PROTECTION
               CIRCUIT ALLOWS          4D03          DIGITAL IC IS            4D09
               BATTERY TO BE                     READY FOR COMMANDS
               CONNECTED TO                              FROM
                  AWALOG IC        4D04             PROCESSOR IC

             AWALOG IC ASSERIS                       AWALOG IC IS             4D10
               HEXIRESET LINE                    READY FOR COMMANDS
          (HIGH), STARIS GENERATION                FROM PROCESSOR
             OF WOD AND STARTS                           IC MA
               TIME DELAY FOR                          DIGITAL IC
            HEXIRESET HOLD TIME

                                                  PROCESSOR STARIS           4D11
            WDD IRACKS BATTERY                      RESET SEQUENCE
               WOLIAGE MINUS           4D05       AND FETCHES RESET
            REGULAIOR DROPOUI.                     WECIOR AND JUMPS
             HEXIRESET REMAINS                      JO RESET ROUTINE
            ASSERIED UNIL WBAI
              RISES ABOVE 3.0V
              AND WDD IS 27/                          BOOT LOADER             4D12
                                                     ROUINE READS
                                                   EXTERNAL SEEROM
              DIGITAL. IC RESETS       4D06        DAIA AND STORES
                 ALL INTERNAL                     PROGRAM AND DATA
             REGISTERS AFFECTED                       SECTIONS IN
                BY HEXTRESET                        PROCESSOR RAM
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        F/G, 4D-2

                                            PROCESSOR JUMPS           4D13
                                               TO INTERWAL
                                           PROGRAM SPACE AND
                                           SIARTS THE SYSTEM
                                            APPLICATION CODE

                                          PROCESSOR INVITALIZES
                                            ALL REGISTERS IN
                                             DIGITAL. IC AND          4D14
                                             INDIRECTLY THE
                                                AWALOG IC
                                             REGISTERS TO A
                                               SAFE SIATE

                                           PROCESSOR MERIFIES         4D15
                                           SYSTEM RESOURCES
                                             BATTERY STATUS
                                            MEMORY INTEGRITY,
                                             ALL DIAGNOSICS

                                            PROCESSOR SEIS           4D16
                                             DIGITAL. IC AND
                                             AWALOG IC 10
                                           DEFAULT CONDITIONS

                                             PROCESSOR SEIS           4D17
                                           REMAINING HARDWARE
                                          RESOURCES TO WORMAL
                                          OPERATING CONDITIONS

                                          PROCESSOR EXECUTES         4D18
                                             MAN IDLE AND
                                            DIAGNOSTIC LOOP
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        FIG. 4E-1
                  BATTERY WOLIAGE IS
                 MEASURED ONCE EVERY
                 4 HOURS, 16 SAMPLES
                   AVERAGED, VALUE           BATERY IS MEASURED
                    STORED, NORMAL              ONCE EVERY
                     OPERATION OF                10 MINUIES,
                      SCS SYSTEM                 16 SAMPLES
                                              AVERAGED WOLIAGE
                 BATTERY VOLIAGE AND          REPORTED TO HHP
                  SIAIE REPORTED IO            IF SUBSEQUENTLY
                 HHP IF WIERROGAIED              INTERROGATED
         4E02
                   BATIERY VOLTAGE
                     FALLS BELOW               BATTERY WOLIAGE
                  MINIMUM LEVEL FOR           FALLS BELOW WBAT
           4E03 SIMULATION (3,6V)              RESET THRESHOLD
                                             (3.0V +/- 0.1V) AND
                                                HEXIRESET IS
                PARAMETER PROGRAMMING          ASSERIED ALL
                 DISABLED TELEMETRY            SYSTEMS IN IPG
                   LIMITED TO STATUS            ARE HALIED            4E08
                   AND ID RESPONSES
                          ONLY                BATTERY VOLTAGE
                                                FALLS BELOW
                  PROCESSOR ISSUES           BATTERY PROJECTION
                  COMMANDS TO HALT              CUTOFF (25V)
                   ALL SIMULATION,
                   UPDATES STATUS            BATTERY PROJECTION
                  REGISTER REPORTED              CIRCUITRY
                TO HHP IF WIERROGAIED       DISCONNECTS BATTERY
                                                 FROM MA/W
                  PROCESSOR MAKES                 CIRCUIT
                  COPY OF WORKING
                  RECISIERS, CURRENT          IF NOW-ZERO VOLT
        4E06 SIMULATION PARAMETERS                 BATTERY
                      DIGITAL IC               BATTERY WOLIAGE
                   SETINGS, CRC, IN              FALLS BELOW
                       SEEPROM               BATTERY PROTECTION
                                                    CIRCUIT
                                                MINIMUM (1.2W)
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           FIG. 4E-2
                                                              SIMULATION IS
                                                            RE-ENABLED IF /T
                           BATTERY VOLTAGE                 WAS ENABLED BEFORE
                         RISES ABOVE LEVEL IO              SHUTDOWN, NORMAL
                       RESTORE SIMULATION (3.8V)           OPERATION RESUMES
                                                              TELEMETRY IS
                                                           RE-ESTABLISHED FOR
                                                           ALL COMMAND TYPES




                         HEXIRESET IS RELEASED,           4E16
                        PROCESSOR GOES THROUGH
                        POWER-0W-RESET PROCESS


                         BATTERY WOLIAGE RISES             4E15
                           ABOVE WBAT RESET
                        IHRESHOLD (3.0V +/- 0.1V)

                         BATTERY WOLIAGE RISES
                         ABOVE 26W PROJECTION
                               CIRCUITRY
                          RE-CONNECTS BATTERY,
                         HEXIRESET IS ASSERIED.


                         BATTERY IS PERMAWEWILY
                             DISABLED FROM
                           CIRCUIT, PROTECTION
                             FEIS CANNOT BE
                              RE-ACI7WAIED
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              4F01

                       CPU START/REBOOT
                                                           READ EIGHT BITS OF
                     SEGMENT REGISTERS GET                DAIA AND PLACE THEM
      ''NWiii. POWERSuffoFF                                    IN SRAM. WOIE
                      TO UNNECESSARY AREAS                 THAT THE FIRST FOUR
                     WAICHDOG ACKNOWLEDGED.                BYTES OF DAIA ARE
                                                             USED TO SPECIFY
      4F03.                                                   THE LOCATIOW IN
                     TRANSACTION WIH                        SRAM AS WELL AS
                 SEEPROM TO SET THE INITIAL                   IHE LENGTH OF .
                  PAGE ADDRESS OF DUMMY                          PROGRAM
                        WRITE CYCLE


                            DD THE                                SEEPROM
                            SEEPROM
                         ACKNOWLEDGE
                                                                (CNOMED;
                               2




                        TRANSACTION WIH                           FINISHED
                     SEEPROM TO BEGIN THE                         LOADING
                       READ IRANSACTION                             CODE
                                                                     2



                            DD THE
                           SEEPROM                             FORM VECTOR TO
                         ACKNOWLEDGE                            LOADED CODE
                               2                               AND JUMP IHERE
                                                                   TO BEGIN
                                                                  EXECUTION




                                                               FIG. 4F
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                                                                     220




              PREAMBLE | FRAME SYNC          IELEMETRY ID | DATA


              662            664               666          668


                                        FIG. 7E.
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                                 CH                         -

                                 1             7.2 100




                                              10:59

                                              PR           12:00 Aw

                                        246                           248


                                              10:59                         254
                                              4.0 mA OOOOOO
               FIG. 7C                   1280 pps OOOOOO
                                              350 AS
                                                                            258
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               WAA BATT         MAIN
                               BATTERY 622                    624          FIG. 7D-1
                                             WCC
                  623           LINEAR                EXTERNAL POWER                       202
                              REGULATOR                   OW RESET
                                                         GENERATOR
                625                       626

                KEYPADKD KEY DEBOUNCER/
                                       ESD SUPRESSOR                              D         620
                                                      627
                                      KEY RESET                       WAT
                                      GENERATOR                          E.
                                      KEY INTERRUPT
                                        GENERATOR                   HIRO INPUT1


               LRESET   LAFO           INPUT PORT 2.
                                         (OX00) <00 BS)
                                                  632
                                                                     LCD
            LCD MODULE         LCD MOS, LCD MISO, LCD CL            PORT
            WIH DRYWER
           (              )     LCD CONIROLS          6.3.3                 PROCESSOR IC

           240                  634             HBUZZ

                          PIEZO ND
                                635
                                                LBUZZ

                        UART COWIRO's OUTPUT
                                       PORT
                 - HRDA PWRDW
                                          OUTPUT 632
                  LCD CONTROLS 2.
                -HEN QUIET
                    Ew':45 (0x04)
                - HEWMBRATOR
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          FIG. 7D-2

                                                 202


          WAA BATT
                          ge
                                                                6.30
                                     632
                                                       SRAM
                            (70 BUS) (tube  total,
                                      TWO CHIPS)

                                 SEEROM PWR
              stillOM           SEEROM CLK
                                SEEROM DAIA
                                                                                     640
            PROCESSOR IC                   645                644

                               DAIA AND CLOCK                  D-O-
                                                          UART K? -O- Eur         IrDA

                                 INTERRUPT
             HIRO INPUT3
                650                              654                          HRDA PWRDN
                                                                              ANIENNA
                                 TX/              RF TRANSMITTER
               RF MODULE         X
                                                                          -             652
                  MIXER         WRFAMP
                             MIXER HI              RF RECEIVER
                             MIXER LO                                  65.3
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               N                                               S
                                         S


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               CD        &K\
                                                         S
                                        Sw
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    U.S. Patent                                                             eN?




           -;-#69|}|}302V/H?O-|?7l_"%*F, -|Z 3|-}
                       e?z69|}|}1032        È7968|
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                          START BURST
                           SEQUENCE
                                               301

                        LOAD HARDWARE
                                                                   FIG. 10
                         REGISTER WIH
                          INITIAL DAIA:
                     (i) STARING AMPL. VALUE
                    (2) AMPL. SIEP VALUE             302
                    (3) PW VALUE                                         320
                    (4) STEP NUMBER
                    (5) BURST NUMBER                  WO       BURST              YES
                                                              COMPLETE
                     IRANSFER COWIENTS OF                                  3.18
                    SIARING WALUE REGISTER
       304          TO ACCUMULATOR REGISTER                 DECREMEWT                   END
                                                           BURST NUMBER                BURST
                            IRIGGER                          REGISTER                SEQUENCE
                          SIMULATION
             306            PULSE
                                                                                          321
                       SEND COWIENIS OF                    ADD STEP VALUE
                     ACCUMULATOR TO D/A                    TO ACCUMULATOR
                    FOR GENERAING CURRENT                      REGISTER
                      HAMWG SIMULATION
                          AMPL/IUDE

                   GATE SIMULATION AMPL/IUDE                  SIEP NO
                     IOELECTRODE NODE FOR                     REGISTER
                        A TIME PERIOD Tf                         =0            YES
                     DETERMINED BY DURATION
                   OF PWREGISTER COUNIDOWN;
               IHEREBY CREATING SIMULATION
              PULSE AT THE ELECTRODE NODE
                 HAWG A PULSE WIDIH AS                       DECREMENT
                DEFINED BY PW WALUE AND                     SIEP NUMBER
                 AMPL/IUDE AS DEFINED BY                      REGISTER
               COWIEWIS OF ACCUMULATOR
                         REGISTER                            312
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       740          HHP REQUESIS                           FIG 11 B-1
                       AND SAVES
                    IPG SIMULATIOW
                      PARAMETERS      741            /MPEDAWCE VOLIAGE
                                                      ARRAY IS SET TO
                                                      ZERO, ELECIRODE
                     HHP ISSUES                        COUNTER IS SET        744
                    COMMAND FOR                             IO f
              SAMPLING PARAMETERS
                   INCLUDING SAMPLE
                    DELAY WORDS,
                   SAMPLING TRIGGER            745
                                                             IS
                                                         ELECTRODE
                    HP REQUESIS               WO
                                                        INDICATED BY
                                                         ELECIRODE
                    IMPEDANCE
                  WOLIAGE SWEEP.                       COUNIER WALUE
                PARAMEIERS PASSED                       PRESENT IN
                  ELECIRODE MASK,                           MASK
                     FREQUENCY,                              ?
                  CURRENT SETTING,
                    PULSE WIDIH,
                NUMBER OF SAMPLES,                     SET ELECTRODE
              ADC GAW AND OFFSET                        AMPL/IUDE TO
                                                     MEASUREMENT VALUE
                                                       SET MUX IN A/C
             742                                       IOELECTRODE
                                                     SET SAMPLE DELAY
                  IPG SAVES COPY                       ENABLE SAMPLE
                 OF ALL OPERATING                    INTERRUPI, CLEAR
                 PARAMETERS AND                    RESULT ACCUMULATOR,
                STOPS SIMULATION                   SET SAMPLE COUNIER
                    SLOWSTARTIS                       TO SAMPLE COUNT
                   TURNED OFF, ALL                   SIART SIMULATION
             ELECTRODE AMPL/IUDES
               ARE SET TO ZERO
                                                     746
          743
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                                      747             FIG 11 B-2
                         SAMPLE
                        INTERRUPT                                STOP SIMULATION:
                                                      752         D/MDE RESULT
                        OCCURRED
                                                                 ACCUMULAIOR BY
                                                                  SAMPLE COUNT
                                         748                    STORE AWERAGED
                                                                RESULT IN WOLIAGE
                       SET ADC GAIN                             ARRAY INDEXED BY
                       AND OFFSET;                              ELECTRODE NUMBER
                     SET ADC CHANNEL
                        START ADC                        75.3         INCREMENT
                        COWWERSION                                    ELECTRODE
                                                                       COUNTER
                                      749
                           ADC                                  754
                        COWWERSION
                         COMPLETE
                            2                                          COUNIER
                                         750                          EQUAL IO
                                YES                                      17
                     READ ADC VALUE                             755
                      ADD TO RESULT
                       ACCUMULATOR,
                     DECREMENT SAMPLE                                  RESTORE
                         COUNIER                                      OPERATING
                                                                  PARAMETERS
                                                                    RE-SIART
                                      751                          SIMULATION
                           IS                                     IF IT WAS OW
                         SAMPLE
                         COUNIER
                NO      EQUAL IO                                  HHP REQUESIS
                          ZERO                                   WOLIAGE ARRAY
                            ?
                                YES                               756
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                                                                              340
                 FIG 11C
                                                          MEASURE WOLIACE
                                                         ATELECIRODE NODE

                                                           HOLD MEASURED             342
                                                           WALUE IN SAMPLE
                                                          AND HOLD CIRCUIT
        332
                 GENERATE A CURRENT
                   PULSE OF KNOW
                    AMPL/IUDE AND                          CONVERT VALUE             344
                                                           HELD BY SAMPLE
                  DURATION (WDTH)                         AND HOLD CIRCUIT
                AND LOAD WIDIH INTO
                  A FIRST REGISTER                         TO DIGITAL WALUE


       334      LOAD SECOND REGISTER
                   WTH 1/2 FIRST                          STORE RESULT IN           346
                      REGISTER                            RESULT REGISTER
                                                                  (W)
       336
                  COUNT DOW BOIH
                  FIRST AND SECOWD                         REIRIEVE VALUE
              REGISTERS SYNCHRONOUSLY                   OFCURRENTAPPLIED/-
                                                            IO ELECTRODE
                                                            NODE DURING
                                                          MEASUREMENT (I
                       SECOND           YES
                      REGISTER                                 COMPUTE         349
                         =0                                    IMPEDANCE
                                     338
                                                               2 = V/I
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                                                          US 7,177,690 B2
                                  1.                                                                     2
            IMPLANTABLE SYSTEMI HAVING                                     rechargeable battery, herein referred to as a “replenishable'
          RECHARGEABLE BATTERY INDICATOR                                   power source. This replenishable power source can be
                                                                           charged from time to time using RF transmission, as
       The present invention is a Continuation-In-Part of U.S.             described above, i.e., non-invasively through the skin using
    Utility application Ser. No. 09/626,010, filed Jul. 26, 2000           an implanted coil and an external coil.
    now U.S. Pat. No. 6,516.227, which application claims the                 Such an implantable system having a replenishable power
    benefit of U.S. Provisional Application Ser. No. 60/145,829,           Source (usually a rechargeable battery) offers some unique
    filed Jul. 27, 1999. Both applications are herein incorporated         advantages. One advantage is that a rechargeable battery can
    by reference.                                                          generally last much longer than a primary battery. Never
       The present invention relates to powered, implantable          10   theless, even a rechargeable battery has a finite life, as the
    medical device systems having a replenishable power                    battery can only be recharged so many times before reaching
    Source. Such as a rechargeable battery, and status indicators          its end of useful life. An important design advantage
    for indicating the status of the replenishable power source or         afforded by using a rechargeable power source is that the
    rechargeable battery.                                                  implantable device can be made much smaller than a device
                                                                      15   containing a primary battery. While battery design and
             BACKGROUND OF THE INVENTION                                   capacity have improved greatly, despite those advances, the
                                                                           physical bulk of a primary battery can take up more than half
       There are many kinds of powered, implantable medical                the total internal volume of an implantable device. Conse
    systems, e.g., stimulating systems for spinal cord stimula             quently, for energy intensive applications, the primary bat
    tion for pain management, stimulators for controlling uri              tery employed is generally large and therefore any device
    nary incontinence, deep brain stimulators for treating brain           containing such a battery is necessarily also large.
    disorders such as Parkinson's Disease, and cochlear stimu                 Decreasing the implantable device size is extremely
    lators for restoring hearing to the profoundly deaf. Other             advantageous in medical applications because a smaller
    implantable systems include drug infusion pumps, cardiac               device is much easier to implant, causes less trauma during
    defibrillators and pacemakers. The foregoing merely illus         25   Surgical implantation and, once implanted, is physically less
    trates some examples of powered, implantable systems and               intrusive. Advanced Bionics(R Corporation has succeeded in
    is not intended to provide an exhaustive list.                         miniaturizing their BIONR neuro-stimulator to a size small
       By way of example, spinal cord stimulation (SCS) is a               enough to be implanted through a large diameter, hypoder
    well accepted clinical method for reducing pain in certain             mic needle. The small stimulator size and unobtrusive
    populations of patients. SCS systems typically include an         30
                                                                           implantation method greatly reduces Surgical trauma, the
    implanted pulse generator, lead wires, and electrodes con              susceptibility to infection, and the time needed for post
    nected to the lead wires. The pulse generator generates                operative healing. To keep the overal device size Small, the
    electrical pulses that are delivered to the dorsal column              BIONR neuro-stimulator can be powered by a rechargeable
    fibers within the spinal cord through the electrodes which             battery which can be charged non-invasively using a pair of
    are implanted along the dura of the spinal cord. In a typical     35
                                                                           coils: an implanted primary coil that is inside or attached
    situation, the attached lead wires exit the spinal cord and are        onto the device and an external, secondary transmitting/
    tunneled around the torso of the patient to a sub-cutaneous            receiving coil.
    pocket where the pulse generator is implanted.
       The dominant type of SCS system that is commercially                   A disadvantage, however, of an implantable system hav
    available incorporates an implantable device having a pri         40
                                                                           ing a replenishable power source Such as a rechargeable
    mary (one-time-use-only) battery that cannot be recharged              battery is that the user must recharge the battery regularly as
    once the battery is depleted. Such an implantable device               it becomes depleted of charge. Such a requirement to
    tends to be very large in order to accommodate the primary             recharge the battery can be problematic because it requires
    battery. Implanting Such a large device usually involves               patient compliance to timely recharge the battery and, in
    invasive Surgical implantation. In addition, a device con         45
                                                                           addition, the patient must be alerted when the battery
    taining a primary battery must be explanted from the body              requires recharging.
    once the battery reaches its useful end of life. Energy                   What is needed therefore is a system and method that can
    intensive applications, e.g., ones employing a stimulator              non-invasively obtain various status data concerning the
    having many stimulation channels can quickly deplete the               replenishable power source within the implantable medical
    battery and require that the stimulator be explanted after        50   device and convey Such information to a patient or clinician.
    only a short implant period.
       The second type of system employs an implantable device                         SUMMARY OF THE INVENTION
    that does not require an internal power source and, instead,
    derives power from an externally transmitted RF source that               The present invention addresses the above and other
    is transferred transcutaneously (non-invasively) through a        55   needs by providing an implantable device system and
    pair of coils, one which is implanted and another which is             method that can alert or inform a patient or clinician to the
    external to the body. In U.S. Pat. No. 3,724,467, an electrode         status of the rechargeable battery in an implanted medical
    implant is disclosed for the neuro-stimulation of the spinal           device. This is accomplished by employing a battery status
    cord. A relatively thin and flexible strip of physiologically          indicator that is located on an external programmer which
    inert plastic is provided with a plurality of electrodes formed   60   can be used to upload battery status information from the
    thereon. The electrodes are connected by leads to an RF                medical device and convey that information via the status
    receiver, which is also implanted, and which is controlled by          indicator to the patient or clinician. The system may also
    an external controller. The implanted RF receiver has no               include a second status indicator incorporated into the
    power storage means, and must be coupled to the external               medical device which second indicator can also provide the
    controller in order for neuro-stimulation to occur.               65   patient information concerning the battery status. The first
       The third type of system includes an implantable device             and second status indicators can be employed alone or in
    that has a power Source Such as a storage capacitor or a               combination.
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       More particularly, in one aspect of the invention, the               status indicator in combination with other forms of status
    system comprises: a medical device having a replenishable               indicators which are located at the external programmer or
    power source, the medical device having a housing which                 emitted from the medical device.
    contains processing circuitry and memory; and an external                  In operation, the system monitors the state of charge of the
    programmer, e.g., a handheld programmer that may be                     internal rechargeable battery of the medical device. It does
    placed in telecommunicative contact with the medical                    this by monitoring the amount of energy used by the system,
    device. The external programmer includes a first status                 and hence the state of charge of the device battery. Through
    indicator for indicating the status of the replenishable power          a suitable bidirectional telemetry link, the system is able to
    source within the medical device. Alternatively, or in con              inform the patient or clinician the status of the system,
    junction, the medical device may incorporate a second status       10
                                                                            including the state of battery charge, to urge recharging of
    indicator for indicating the status of the replenishable power
    source in the medical device. The replenishable power                   the rechargeable battery contained in the implanted device.
    Source is preferably a rechargeable battery, such as a lithium          The external programmer or HHP can be used by the patient
    ion battery. When the battery is charged, the patient can thus          or clinician to interrogate the implanted device at will and to
    operate the implanted medical device independent of exter          15   upload the status of the battery, e.g., charge level. When
    nal controllers or power Sources. The power Source can be               interrogated, the implanted medical device can transfer data
    recharged using non-invasive means, wherefore the                       or signals to the external programmer through the bidirec
    rechargeable battery or other replenishable power source                tional telemetry link and display on the programmer a
    within the medical device can be recharged many times,                  warning such as “Battery Low”, “Recharge Soon”, “10 days
    without explanting the device.                                          to recharge' or other messages indicating the status of the
       An external programmer, such as a hand held programmer               battery. Other status indications that can be incorporated are
    (HHP), can be used by the patient or clinician to change the            the specific number of times the battery has been recharged,
    stimulus parameters of the medical device or an external                when the last recharged occurred, and the duration of
    trial stimulator (ETS) via a telemetry link. The external               recharging in the last recharge session.
    programmer can be used by the user or clinician to interro         25
                                                                               Thus, in another aspect of the invention, a method is
    gate the medical device and to upload the current battery               provided for detecting and indicating the status of the
    status as well as other recorded data concerning battery                rechargeable battery contained within an implanted medical
    charging performed on previous occasions.
       A first status indicator that can be incorporated in the             device having a memory storage for storing battery status
    external programmer includes a visual indicator that dis           30   data, the method comprising: (a) implanting the medical
    plays battery status information Such as battery charge level.          device; (b) interrogating the medical device with an external
    the number of times the rechargeable battery in the                     programmer to upload battery status data stored in memory
    implanted medical device has been recharged, the time when              storage; and (c) indicating the battery status data with a
    the last charge occurred, and the duration of the last                  status indicator included on the external programmer. Fur
    recharge. Certain battery status information may be locked         35   ther, the method may include another step; (d) indicating the
    out or restricted so that only a clinician who has access to the        battery status data with a status indicator included in the
    clinician program built into the external programmer can                implanted medical device.
    view the restricted battery status information. The clinician              As an alternative embodiment, the method may comprise:
    program can be accessed by inputting a correct key code or              (a) implanting the medical device having a rechargeable
    password.                                                          40
                                                                            battery; and (b) indicating the battery status with a status
       Other status indicators that may be incorporated into the            indicator included in the medical device. Some examples of
    external programmer include an audible signal and vibration             status indicators that can be included in the medical device
    emanating from the programmer. An audible signal may be
    tones or patterns of Sounds that may be emitted to indicate             are vibration from the device, sounds emitted from the
    various battery conditions. Alternatively, if a small HHP can      45   device and, in the case of medical devices that are stimula
    be carried in a patient's pocket, the HHP can employ                    tors, delivery of an electrical stimulation to the patient,
    vibration to signal a battery condition, such as a low battery          which is distinguishable from the normal, operative, thera
    charge.                                                                 peutic stimulation.
      A second status indicator can be emitted from the                        It can be appreciated that the present invention is appli
    implanted medical device. The second status indicator may          50   cable to many implantable medical devices having a
    be an audible sound emitted from the medical device. The                rechargeable battery, including spinal cord stimulators and
    audible Sound may be produced from a tiny speaker or                    cochlear stimulators. While the focus of the following
    noisemaking component incorporated into the medical                     discussion describes the application of the present invention
    device.
                                                                            to spinal cord stimulation, those skilled in the art will
       Another form of status indicator, which may be employed         55
                                                                            recognize that the present invention can be generalized to
    specifically when the medical device is a neurostimulator, is           use in many applications in which an implantable medical
    delivery of electrical stimulation signals to the patient,              device (such as an IPG) is powered by a replenishable power
    wherein the pattern of stimulation delivered is distinguish             Source. Thus, the present invention may be generalized to
    able from the operative, therapeutic stimulation. For                   diverse applications including cochlear stimulation, deep
    example, the application of an electrical stimulation directly     60
    to the cochlear nerves can be perceived as a distinguishable            brain stimulation, drug infusion pumps, as well as spinal
                                                                            cord stimulation.
    Sound, Such as a tone, music or speech. The speech may be
    a recorded speech or it may be a synthesized speech. In
    spinal cord stimulation, the pattern of stimulation applied to                BRIEF DESCRIPTION OF THE DRAWINGS
    the spinal nerves should be perceived by the patient as            65
    distinguishable from an operative, therapeutic paresthesia.               The above and other aspects, features and advantages of
    The distinguishable electrical stimulation may be used as an            the present invention will be more apparent from the fol
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    lowing more particular description thereof, presented in                  FIG.9B is a state diagram illustrating the various states
    conjunction with the following drawings wherein:                       that may be assumed by the implant battery charging cir
       FIG. 1 is a block diagram that identifies the various               cuitry during operation of the charging system;
    implantable, external, and Surgical components of the inven               FIG. 9C shows a block diagram of the battery charger/
    tion;                                                                  protection circuitry utilized within the external charging
       FIG. 2A illustrates examples of various types of electrode          station of the invention;
    arrays that may be used with the present invention;                      FIG. 10 is a flow diagram illustrating a preferred pulse
       FIG. 2A illustrates examples of various types of electrode          ramping control technique that may be used with the inven
    arrays that may be used with the present invention;                    tion;
       FIG. 2B shows the various components of the invention          10     FIG. 11A depicts electronic circuitry used to make an
    that interface with the implantable electrode arrays of FIG.           electrode impedance measurement in accordance with the
    2A, or other arrays;                                                   invention;
       FIG. 3A is a timing waveform diagram that depicts                     FIG. 11B is a flow diagram that depicts a preferred
    representative current waveforms that may be applied to                technique used by the invention to make electrode imped
    various ones of the electrode contacts of the electrode arrays    15   ance measurements; and
    through one or more stimulus channels;                                   FIG. 11C is a flow diagram that depicts an alternate
       FIG. 3B is a timing waveform diagram that illustrates               technique that may be used by the invention to make
    operation of multiple channels so as to prevent overlap                electrode impedance measurements.
    between channels and/or to temporarily shut down a channel               Corresponding reference characters indicate correspond
    during passive recharge phases;                                        ing components throughout the several views of the draw
       FIG. 3C is a timing diagram that illustrates the use of an          1ngS.
    active recharge phase to allow waveforms, e.g., symmetrical                         DETAILED DESCRIPTION OF THE
    biphasic waveforms, which allow higher rates of stimula                                      INVENTION
    tion;
                                                                      25
      FIG. 4A is a functional block diagram that illustrates the              The following description is of the best mode presently
    main components of an implantable pulse generator (IPG) in
    accordance with a first IPG embodiment of the invention;               contemplated for carrying out the invention. This descrip
      FIG. 4B shows an IPG hybrid block diagram that illus                 tion is not to be taken in a limiting sense, but is made merely
    trates the architecture of an IPG made in accordance with a            for the purpose of describing the general principles of the
    second IPG embodiment of the invention;                           30   invention. The scope of the invention should be determined
                                                                           with reference to the claims.
       FIG. 4C is a block diagram of the analog integrated circuit            Turning first to FIG. 1, there is shown a block diagram
    (AIC) used, inter alia, to provide the output of the stimulus          that illustrates the various components of a spinal cord
    generators within the IPG hybrid architecture shown in FIG.            stimulation (SCS) system. These components may be sub
    4B;                                                               35   divided into three broad categories: (1) implantable compo
      FIG. 4D is a flow chart illustrating a representative IPG            nents 10, (2) external components 20, and (3) Surgical
    power-up reset sequence;                                               components 30. As seen in FIG. 1, the implantable compo
       FIG. 4E is a flow chart illustrating a representative low           nents 10 include an implantable pulse generator (IPG) 100,
    battery shutdown and recovery sequence;                                an electrode array 110, and (as needed) an extension 120.
       FIG. 4F is a flow chart that illustrates the boot sequence     40   The extension 120 is used to electrically connect the elec
    used within the processor chip of the IPG shown in FIG. 4B;            trode array 110 to the IPG 100. In a preferred embodiment,
       FIG. 4G is a block diagram of the digital application               the IPG 100, described more fully below in connection with
    specific integrated circuit (Digital ASIC) used within the             FIGS. 4A, 4B and 4C, comprises a rechargeable, multichan
    IPG hybrid architecture shown in FIG. 4B;                              nel, sixteen-contact, telemetry-controlled, pulse generator
       FIG. 5 illustrates a type of external trial stimulator (ETS)   45   housed in a rounded titanium case. A novel tool-less con
    that may be used as a component of the invention;                      nector that forms an integral part of the IPG 100 allows the
       FIG. 6A is a block diagram of the software architecture             electrode array 110 or extension 120 to be detachably
    utilized in the clinician's programmer;                                secured, i.e., electrically connected, to the IPG 100. This
       FIG. 6B depicts a representative programming screen that            connector may be of the type described in U.S. patent
    may be used as part of the programming system features of         50   application Ser. No. 09/239,926, filed Jan. 28, 1999, now
    the invention;                                                         U.S. Pat. No. 6,198.969 or any other suitable design.
       FIG. 7A shows a representative screen on a handheld                    The IPG 100 contains stimulating electrical circuitry
    programmer (HHP) that may be used as a user interface                  ("stimulating electronics’), a power Source, e.g., a recharge
    between the HHP and the IPG implanted in a patient/user;               able battery, and a telemetry system. Typically, the IPG 100
       FIGS. 7B and 7C illustrate other types of representative       55   is placed in a Surgically-made pocket either in the abdomen,
    selection screens that may be used as part of the user                 or just at the top of the buttocks. It may, of course, also be
    interface with the handheld programmer of FIG. 7A:                     implanted in other locations of the patient’s body. It is noted
       FIG. 7D is a block diagram of a preferred embodiment of             that while the preferred embodiment of the IPG 100 includes
    the handheld programmer;                                               a rechargeable battery as its power source, and while Such a
       FIG. 7E depicts a preferred data format for data commu         60   rechargeable power Source is described herein, any power
    nications sent from the hand held programmer (HHP) to the              Source may be used with the IPG, including non-recharge
    IPG:                                                                   able power sources, e.g., an implantable battery of the type
       FIG. 8 illustrates two variations of external components            commonly used in implantable pacemakers.
    of a representative portable charging station (CHR) that may              Once implanted, the IPG 100 is connected to a lead
    be used with the invention;                                       65   system. The lead system comprises the lead extension 120,
      FIG. 9A shows a block diagram of the battery charging                if needed, and the electrode array 110. The lead extension
    system used with the invention;                                        120, for example, may be tunneled up to the spinal column.
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    Once implanted, the electrode array 110 and lead extension             electrode contact being connected to one or more wires
    120 are intended to be permanent. In contrast, the IPG 100             carried in the flexible cable or carrier 116. It should be noted
    may be replaced when its power source fails or is no longer            that two eight-contact in-line electrodes, placed side by side,
    rechargeable.                                                          may achieve the same overall array configuration as does the
       Advantageously, the IPG 100 provides electrical stimu          5    paddle electrode shown at (E) in FIG. 2A.
    lation through a multiplicity of electrodes, e.g., sixteen                Still referring to FIG. 2A, other types of paddle leads are
    electrodes, included within the electrode array 110. Different         illustrated. As seen at (F) in FIG. 2A, one type of paddle lead
    types of electrode arrays 110 that may be used with the                has its carrier or cable 116 branch into two separate branches
    invention are depicted in FIG. 2A. A common type of                    117a and 117b, with a wide platform 119a and 119b being
    electrode array 110, for example, is the “in-line' lead, as       10   located at a distal end of each branch. Within each wide
    shown at (A), (B), and (C) in FIG. 2A. An in-line lead                 platform 119a and 119b an array of at least two circular
    includes individual electrode contacts 114 spread longitudi            shaped electrode contacts 115" is situated. As seen in (G) in
    nally along a small diameter flexible cable or carrier 116.            FIG. 2A, another type of paddle lead has a wide platform
    The flexible cable or carrier 116 has respective small wires           119 at its distal end on which a single column of circular
    embedded (or otherwise carried therein) for electrically          15   shaped electrode contacts 115" is situated.
    contacting each of the individual electrode contacts. The                 Still other types of leads may be used with the IPG 100
    advantage of an in-line lead relates to its ease of implanta           (FIG. 1) in addition to the representative leads shown in FIG.
    tion, i.e., it can be inserted into the spinal canal through a         2A. For example, the deployable electrode array disclosed in
    Small locally-anesthetized incision while the patient is kept          U.S. patent application Ser. No. 09/239,927, filed Jan 28,
    awake. When the patient is awake, he or she can provide                1999, now U.S. Pat. No. 6,205.361, represents a type of lead
    valuable feedback as to the effectiveness of stimulation               and electrode array that may be used with the invention.
    applied to a given electrode contact or contacts 114 for a                Whichever type of lead and electrode array is used, an
    given positioning of the array 110. One of the disadvantages           important feature of the SCS system of the present invention
    of the in-line lead is that it is prone to migrating in the            is the ability to support more than one lead with two or more
    epidural space, either over time or as a result of a sudden       25   channels. Here, a “channel is defined as a specified elec
    flexion movement. Such migration can disadvantageously                 trode, or group of electrodes, that receive a specified pattern
    change the location and nature of the paresthesia and the              or sequence of stimulus pulses. Thus, where more than one
    required stimulation level. Either or both of the these con            “channel’ is available, each channel may be programmed to
    ditions may require reprogramming of the IPG 100 and/or                provide its own specified pattern or sequence of stimulus
    Surgical correction (repositioning) of the electrode array        30   pulses to its defined electrode or group of electrodes. In
    110. Note, as used herein, the term “paresthesia' refers to            operation, all of the stimulus patterns applied through all of
    that area or volume of the patient’s tissue that is affected by        the channels of such multi-channel system thus combine to
    the electrical stimuli applied through the electrode array. The        provide an overall stimulation pattern that is applied to the
    patient may typically describe or characterize the paresthesia         tissue exposed to the individual electrodes of the electrode
    as an area where a tingling sensation is felt.                    35   array(s).
       To overcome the migration problems associated with an                  There are many instances when it is advantageous to have
    in-line electrode, the present invention provides a lead               multiple channels. For example, left and right sides, or upper
    anchor (LA) and/or suture sleeve (SS) that may be used after           and lower extremities, may require different stimulus param
    insertion of the electrode array into the spinal canal in order        eter settings. Low back pain typically requires a different
    to secure and maintain the position of the electrode and          40   stimulation site and stimulation parameters than any of the
    prevent is dislodgement due to axial loads that are placed             extremities. Moreover, many patients exhibit conditions
    upon the lead. Any suitable lead anchor and/or Suture sleeve           better suited to horizontal stimulation paths, while other
    may be used for this purpose. A preferred type of lead anchor          patients may have conditions better Suited to vertical stimu
    that may be used for this purpose is described in U.S. Patent          lation paths. Therefore, having multiple channels that may
    Application Ser. No. 60/187,674, filed Mar. 08, 2000, incor       45   be connected to multiple electrodes, positioned within one
    porated herein by reference.                                           or more electrode arrays, so as to cover more tissue?nerve
       To further overcome the migration problems associated               area, greatly facilitates providing the type of stimulation
    with an in-line electrode, a different type of electrode array         pattern and stimulation parameters needed to treat a particu
    110 may be used, known as a paddle lead. Various types of              lar patient.
    paddle leads are illustrated at (D), (E), (F) and (G) of FIG.     50      One type of preferred electrode configuration uses a
    2A. In general, each type of paddle lead is shaped with a              multiple lead system, e.g., two or four leads, with the leads
    wide platform 119 on which a variety of electrode contact              placed side by side, or at different vertical locations. The
    configurations or arrays are situated. For example, the                individual electrodes on each vertical lead of such multiple
    paddle lead shown at (D) in FIG. 2A has two columns of four            lead system effectively create a desired electrode array that
    rectangular-shaped electrode contacts 115 carried on a wide       55   covers a large, or relatively large, tissue area. The respective
    platform 119, with the electrode contacts in one column                electrodes of each vertical lead may be aligned horizontally,
    being offset from the electrode contacts in the other column.          offset horizontally, or randomly or systematically arranged
    (Here, the term “offset' refers to the vertical position of the        in Some other pattern.
    electrode contacts, as the leads are oriented in FIG. 2A.) The           As seen best in FIG. 2B, and as also illustrated in FIG. 1,
    flexible cable or carrier 116 carries wires from each elec        60   the electrode array 110 and its associated lead system
    trode contact to a proximal end of the paddle lead (not                typically interface with the implantable pulse generator
    shown), where such wires may be connected to the IPG 100               (IPG) 100 via a lead extension system 120. As needed, e.g.,
    (or to a lead extension 119, which in turn connects to the IPG         for testing and/or fitting purposes, the electrode array 110
    100). The paddle lead shown at (E) in FIG. 2A similarly has            may also interface with an external trial stimulator (ETS)
    two columns of eight electrode contacts 115 in each row,          65   140 through one or more percutaneous lead extensions 132,
    with the electrode contacts in one column being offset from            connected to the trial stimulator 140 through an external
    the electrode contacts in the other column, and with each              cable 134. In this manner, the individual electrodes included
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    within the electrode array 110 may receive an electrical               Suturing. In a preferred embodiment, the lead anchor is
    Stimulus from either the trial Stimulator 140 or the IPG 100.          relatively soft and pliable, is about 5 to 10 mm in length, and
       As suggested in the block diagram of FIG. 1, the lead               has easy-to-use Suturing holes, or other means, to allow it to
    extension(s) 120, as well as the percutaneous extension(s)             be sutured in its desired location. Such a lead anchor is
    132 are inserted through the patient’s tissue through the use          described in U.S. Patent Application Ser. No. 60/187,674,
    of appropriate surgical tools (ST) 30, and in particular               filed Mar. 8, 2000, previously referenced.
    through the use of tunneling tools 152, as are known in the               When one or more lead extensions 120 are employed, a
    art, or as are especially developed for purposes of spinal             Suitable multiple in-line contact connector may be used to
    cord stimulation systems. In a similar manner, the electrode           electrically connect the electrode array 110 with the lead
    array 110 is implanted in its desired position, e.g., adjacent    10   extension 120. One type of lead connector that may be used
    the spinal column of the patient, through the use of an                for this purpose is shown in U.S. Patent Application Ser. No.
    insertion needle 154 and a guide wire 156. The insertion               60/202,259, filed May 5, 2000, entitled “Multiple In-Line
    needle, for example, may be a 15 gauge Touhy needle.                   Contact Connector, incorporated herein by reference.
    Additionally, as required, a lead blank may be used to aid in             The operation of multiple channels used to provide a
    the insertion process. A lead blank is a somewhat flexible        15
                                                                           stimulus pattern through multiple electrodes is illustrated in
    wire that approximates the lead diameter of the lead that is           FIG. 3A. FIG. 3A assumes the use of an electrode array 110
    to eventually be implanted. The clinician uses the lead blank          having sixteen electrodes connected to the implantable pulse
    to clear the path through the insertion needle and into the            generator (IPG) 100. In addition to these sixteen electrodes,
    epidural space before inserting the epidural electrode array.          which are numbered E1 through E16, a case electrode (or
    Use of the lead blank prevents damage to the electrode array           return electrode) is also available. In FIG. 3A, the horizontal
    when tissue is obstructing its insertion path.                         axis is time, divided into increments of 1 millisecond (ms),
       One manner of using Surgical tools 30 during an implant             while the vertical axis represents the amplitude of a current
    operation is described in the referenced deployable electrode          pulse, if any, applied to one of the sixteen electrodes. Thus,
    patent application Ser. No. 09/239,927, filed Jan 28, 1999,            for example, at time t-Oms, FIG. 3A illustrates that a current
    now U.S. Pat. No. 6,205.361, previously referenced.               25
                                                                           pulse of 4 mA (milliamps) appears on channel 1 at electrode
       Another manner of using surgical tools 30 (FIG. 1) during           E1 and E3. FIG. 3A further shows that this current pulse is
    an implant operation of an in-line electrode array may be              negative (-4 mA) on electrode E1 and positive (+4 mA) on
    Summarized as follows: A fifteen gauge hollow needle is                electrode E3. Additionally, FIG. 3 shows that the stimulation
    used to create an opening in the spinal canal to insert the            parameters associated with this current pulse are set at a rate
    in-line array, e.g., an in-line array of the type shown in FIG.   30
                                                                           of 60 pulses per second (pps), and that the width of the pulse
    2A(A), (B), or (C). The hollow needle includes a removable             is about 300 microseconds (us).
    stylet (solid core) for use during the needle insertion, as              Still with reference to FIG. 3A, it is seen that at time t-2
    explained above. After the needle has been situated, the               ms, channel 2 of the IPG 100 is set to generate and apply a
    stylet is removed to create a hollow opening. A 3–5 ml                 6 mA pulse, having a repetition rate of 50 pps and a width
    Syringe is inserted in the needle to inject saline (3-5 cc) to    35
    ensure the needle tip has entered the epidural space. The              of 300 us, between electrode E8 (+6 mA) and electrodes E6
    in-line electrode array is then passed through the needle into         and E7 (-4 ma and -2 mA, respectively). That is, channel
    the epidural space. The size of the needle must be capable of          2 of the IPG supplies a current pulse through electrode E8
    entering the epidural space through Small vertebral openings           (+6 mA) that is shared on its return path through electrode
    at less than a forty-five degree angle to the spine. After the    40   E6 (-4 ma) and electrode E7 (-2 mA).
    electrode array is inserted, the needle must be pulled out.              As further seen in FIG. 3A, at time t-4 ms, channel 3 of
    Hence, if the connector at the end of the lead is larger than          the IPG 100 is set to generate and supply a 5 mA pulse to
    the fifteen gauge needle tube, a split needle, or some other           electrode E10 (+5 mA) which is returned through electrode
    mechanism, must be used to allow removal of the needle                 E8 (-5 mA). This pulse has a rate of 60 pps, and a width of
    over the over-sized connector.                                    45   400 us. Similarly, it is seen that at time t-6 ms, channel 4 of
      One type of Surgical tool that may be used to help implant           the IPG is set to generate and Supply a 4 mA pulse to
    an electrode array, and lead extension, if needed, for use with        electrode E14 (+4 mA) which is returned through electrode
    the present invention is described in U.S. Patent Application          E13 (-4 ma). This channel 4 pulse has a rate of 60 pps and
    Ser. No. 60/166,560, filed Nov. 19, 1999, entitled “Inte               a width of 300 us.
    grated Subcutaneous Tunneling and Carrying Tool”, incor           50      The particular electrodes that are used with each of the
    porated herein by reference. Another type of surgical tool             four channels of the IPG 100 illustrated in FIG. 3A are only
    that may be used with the invention is described in U.S.               exemplary of many different combinations of electrode
    Patent Application Ser. No. 60/182,392, filed Feb. 14, 2000,           pairing and electrode sharing that could be used. That is, any
    entitled “Versatile Implantable Lead System with Pull                  channel of the IPG may be programmably connected to any
    Through Connector and Retainer, also incorporated herein          55   grouping of the electrodes, including the reference (or case)
    by reference.                                                          electrode. While it is typical that only two electrodes be
       Once the electrode array 110 has been located in the spinal         paired together for use by a given channel of the IPG, as is
    canal and the insertion needle is removed, an anchor is                the case with channels 1, 3 and 4 in the example of FIG. 3,
    placed around the lead at the exit site. The anchor is then            it is to be noted that any number of electrodes may be
    Sutured in place to prevent movement of the electrode array       60   grouped and used by a given channel. When more than two
    and its lead. Advantageously, such suturing is performed so            electrodes are used with a given channel, the Sum of the
    as not to damage the delicate wires that are carried within the        current sourced from the positive electrodes should be equal
    lead body 116 (FIG. 2A). The anchor is slid over the lead              to the sum of the current sunk (returned) through the
    body, much like a collar, or is placed over the lead body              negative electrodes, as is the case with channel 2 in the
    through other simple means. It is positioned along the length     65   example of FIG. 3A (+6 mA sourced from electrode E8, and
    of the lead body at a desired position and then tightened              a total of -6 mA sunk to electrodes E6-4 mA and E7-2
    around the lead body using a tightening method other than              mA).
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      As described above, it is thus seen that the IPG has, in a            tude step changes during the transition period are maintained
    preferred embodiment, sixteen electrode contacts, each of               at less than 5% of the programmed amplitude, or 0.1 mA,
    which is independently programmable relative to stimulus                whichever is greater.
    polarity and amplitude for each of up to four different                    For each channel, the first phase period (pulse width) is
    programmable channel assignments (groups or phase gen                   programmable from 10 to 1000 microseconds (us) in 10 us
    erators). In operation, each channel identifies which elec              steps. The inter-phase period between the First (Pulse
    trodes among the sixteen electrodes, E1, E2, E3, ... E16 and            Width) and Second (Recharge) phases is 100 us. The Second
    the IPG case electrode (reference electrode), are to output             (Recharge) phase period is programmable from 10 to 1500
    stimulation pulses in order to create an electric current field.        us in 10 JLS increments. The Second (Recharge) phase type
    All electrodes assigned to a given channel deliver their           10   is programmable as either Passive or Active. The pulse rate
    stimulation pulses simultaneously with the same pulse width             is programmable in either a Normal or a High rate range. In
    and at the same pulse rate. For each channel, the IPG case              the Normal Rate range, which covers 2 to 150 pulses per
    electrode is programmable either as a Positive (passive                 second (pps) in 1 pps steps, all channels are available. In the
                                                                            High Rate range, which covers 150 pps to 350 pps in 10 pps
    anode) or OFF. Thus, monopolar stimulation is provided             15   steps, 400 pps to 500 pps in 50 pps steps, and 600 pps to
    when the only electrode contact programmed to Positive is               1200 pps in 100 pps steps, only one channel may be
    the IPG case electrode, and at least one other electrode is             available.
    programmed to Negative. For each of the other electrodes,                  To prevent more than one channel from producing a
    E1, E2, E3, . . . E16, on each channel, the polarity is                 stimulus current at the same time, i.e., to prevent current
    programmable to Negative (cathode) with associated nega                 pulses from different channels that overlap, an overlap
    tive current amplitude, Positive (anode) with an associated             arbitration circuit may be employed (that is, the arbitration
    positive current limit amplitude, or Off. The amplitude is              feature may be programmed ON or OFF for each channel)
    programmable from -12.7 mA to +12.7 mA in 0.1 mA steps.                 that determines which channel has priority. The sum of the
    The total simultaneous current capability from all of the               next current for all channels with overlap arbitration (jitter)
    anodes to all of the cathodes is at least 20 mA when               25   programmed OFF plus the maximum channel current of
    operating at 120 Hz, and with a 0.5 millisecond pulse width             channels with overlap arbitration programmed ON should be
    into an equivalent 500 ohms load. (Equivalent load means                programmed to be less than the maximum IPG current
    all cathodes ganged through a single 500 ohm load into all              capability.
    anodes ganged.) The programming of the total current                       The arbitration circuit (shown in FIG. 4G as element 768),
    capability into all cathodes while a given channel pulse is        30   in a preferred embodiment, functions in accordance with the
    active is limited to the maximum IPG channel current                    following principles. Once a non-overlapping channel
    capability.                                                             begins a pulse, the start of pulses from any other non
                                                                            overlapping channel is delayed until the ongoing pulse phase
       Because of power limitations, it is not possible to program          one is completed and a Hold-Off has been completed. The
    the average stimulus current delivered by the IPG during all       35   Hold-Off period is timed from the end of the first phase of
    active phase periods to exceed 2 mA. An “active' phase                  the pulse. If the start of two or more non-overlapping
    period is a phase period of the stimulus current during which           channels are delayed by an ongoing pulse and Hold-Off, the
    the stimulus current is being provided by one or more of the            pending channels are started in the order they would have
    turned ON current sources. In contrast, a “passive' phase               occurred without arbitration. If two non-overlapping chan
    period (also sometimes referred to as a "recharge phase            40   nels are scheduled to start simultaneously, the lower number
    period) is a phase period of the stimulus current during                channel takes priority and starts first (i.e., channel 1 before
    which the current sources are turned OFF, and the stimulus              channel 2, channel 2 before channel 3, and channel 3 before
    current results from a recharge or redistribution of the charge         channel 4). The Hold-Off period is programmable from 1 to
    flowing from the coupling capacitance present in the stimu              64 milliseconds in 1 millisecond increments. Current from
    lus circuit. (Note: the average stimulus current is determined     45   any stimulus pulse (First phase) or active recharge (active
    as the sum of the average stimulus currents for all channels            second phase) is prevented from passing through any elec
    (groups). For a channel, the average stimulus current is                trode undergoing passive recharge. the delivery of an active
    determined as the stimulus rate times the sum of all phase              first phase or active second phase on any electrode takes
    one cathodic current amplitudes times the channel first phase           precedence over all ongoing passive recharge phases. Elec
    period pulse width plus the Sum of all active second phase         50   trodes undergoing passive recharge have their passive
    anodic current amplitudes times the channel second phase                recharge phases temporarily interrupted during the active
    (recharge) period.)                                                     phase(s). If the electrode is not part of the active phase, it
       Net dc charge transfer is prevented during stimulation               remains in a high impedance state (i.e., turned OFF) until the
    through the use of coupling capacitors C1, C2, C3, ... C16              active phase is completed. The interpulse interval (1/Rate) is
    (see FIG. 4A or 4C) between the electrodes E1, E2, E3, . . .       55   programmed Such that it is greater than the Sum of the first
    E16 and the IPG output. Voltage build-up on the output                  phase period plus the inter-phase period plus the second
    coupling capacitors is prevented by applying a biphasic                 phase period for each channel. When passive recharge is
    stimulus waveform with a 500 Kohm trickle recharge                      programmed, the total second phase period available to
    through the case electrode between application of the stimu             complete recharge (not including interruptions for active
    lus pulses.                                                        60   phases) is at least 7 milliseconds for every pulse delivered.
       As described in more detail below, to prevent patient                   The above arbitration circuit operating principles are
    discomfort due to rapidly increasing or decreasing ampli                illustrated, at least in part, in the timing waveform diagram
    tudes of stimulus current, a slow start/end feature is                  of FIG. 3B. FIG. 3B shows the current Stimulus waveforms
    employed wherein changes in amplitude are limitable to                  associated with electrodes E1-E8, E16 and the case. As seen
    occur slowly and Smoothly over a transition period. The            65   in FIG. 3B, and recognizing that a channel comprises those
    transition period is programmable from 1 to 10 seconds in 1             electrodes that provide a stimulus current of the same pulse
    second increments. To ensure Smoothness, individual ampli               width at the same time, Channel 1 comprises the group of
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    electrodes E1, E2, E3, and E4; Channel 2 comprises the                   that Channel 1 fires. Note that no electrodes are shared
    group of electrodes E16 and the case electrode; Channel 3                between Channels 1 and 4, and thus simultaneous firing is
    comprises the group of electrodes E3, E5 and E7; and                     permitted if the timing is such that simultaneous firing is
    Channel 4 comprises the group of electrodes E6 and E8. For               called for. During the firing of channels 1 and 4, Channel 2
    purposes of FIG. 3B, Channels 1, 2 and 3 have arbitration (a        5    is still experiencing a Second Phase passive recharge 3B20.
    hold-off period) programmed ON, while Channel 4 does not.                Hence, this passive recharge is temporarily interrupted for
       Still with reference to FIG. 3B, the normal sequence of               electrodes E16 and the common (case) electrode during the
    Channel firings without arbitration, would be as follows:                active phase of Channels 1 and 4.
    Channel 1 firing at time T1, Channel 3 firing at time T2, and               Continuing with FIG. 3B, the next channel to fire is
    Channels 2 and 4 both firing at time T3. However, with              10   Channel 3, which channel fires at its programmed rate, f3, as
    arbitration ON, the respective channel firings are ordered as            determined from its last firing (i.e., at a time interval 1/f3
    follows: The First phase period for Channel 1, 3B10, com                 from its prior firing).
    prises the time when electrode E1 and E2 function as                        It should be noted that the second phase period for each
    anodes, and electrodes E3 and E4 function as cathodes, with              channel or group need not be a passive recharge period.
    most of the current being provided through electrodes E1            15   Rather, as shown in FIG. 3C, the second phase can also be
    (anode) and E3 (cathode). Immediately after the First phase              an active phase, i.e., a phase when one or more current
    period 3B10, two events begin: (1) an inter-phase period                 sources are turned ON. In a preferred embodiment, the
    3B11, and (2) a hold-off period 3B12. The inter-phase period             second phase period and amplitude shall be programmed to
    3B11 (at least for the time scale represented in FIG. 3B)                create a symmetrical biphasic waveform when a channel is
    appears as a very narrow sliver of time. As soon as the                  programmed to active recharge. For each electrode on
    inter-phase period 3B11 concludes, the Channel 1 Second                  channels programmed to an active Second Phase (Recharge)
    Phase Period 3B13 begins, which Channel 1 Second Phase                   type, the recharge amplitude shall be programmed to the
    period is a fixed recharge period, e.g., a fixed period of 7             opposite polarity and amplitude as the first phase. Using
    milliseconds (ms). The Hold-Off period 3B12 is a program                 active recharge in this manner allows faster recharge while
    mable delay, ranging from 1 to 64 ms. The Channel 1                 25   avoiding the charge imbalance that could otherwise occur.
    Hold-Off period 3B12 shown in FIG. 3B is about 3 ms.                        Thus, as seen in FIG. 3C, beginning at 0 ms, electrode E1
    During the Hold-Off Period 3B12, no other channel is                     is programmed to produce a first phase current of +2 ma
    permitted to generate a stimulus pulse. Thus, at time T2.                (anode) at the same time that electrode E3 is programmed to
    when Channel 3 would normally fire, it is prevented from                 produce first phase current of -2 ma (cathode). The first
    doing so. Rather, it must wait a time period Tod3 until the         30   phase (pulse width) is programmed to last about 0.6 ms. At
    Channel 1 Hold-Off Period 3B12 concludes. Similarly, at                  the conclusion of the first phase, an active second phase
    time T3, when Channels 2 and 4 would normally fire, they                 begins. During this active second phase, which is also
    are prevented from doing so because the Channel Hold-Off                 programmed to last about 0.6 ms, the amplitude of electrode
    period 3B12 has not yet concluded, and even if it had, they              E1 is programmed to -2 mA, while the amplitude of
    would have to wait for Channel 3 to fire first.                     35   electrode E3 is programmed to +2 mA, thereby creating a
      Still with reference to FIG. 3B, at the conclusion of the              symmetrical biphasic current pulse and a balanced charge
    Channel 1 Hold-Off period 3B12, Channel 3 fires, which                   condition. (It should also be noted that a balanced charge
    means a First Phase period 3B14 for Channel 3 begins. At                 condition could also be obtained without having a symmetri
    this time, which is still during the Channel 1 Second Phase              cal biphasic pulse, if desired, by simply assuring that the
    Period 3B13, the passive recharge which is taking place in          40   total charge during the first phase of the biphasic pulse, i.e.,
    electrodes E1, E2 and E3 is interrupted temporarily (e.g., for           amplitude X duration, is equal to the total charge during the
    the duration of the active first phase period 3B14).                     second phase.)
       At the conclusion of the Channel 3 First Phase period                    As further seen in FIG. 3C, beginning at about 2.6 ms
    3B14, a Channel 3 Inter-Phase period 3B15 begins, as does                from the 0 reference point, electrode E2 is programmed to
    a Channel 3 Hold-Off period 3B16. At the conclusion of the          45   produce a first phase current of +4 ma (anode) at the same
    Inter-Phase period 3B15, the Channel 3 Second Phase                      time that electrode E3 is programmed to produce first phase
    begins, which is fixed at about 7 ms. The Channel 3                      current of -4 ma (cathode). The first phase (pulse width) is
    Hold-Off period 3B16 is programmed to be about 15 ms.                    programmed to last about 0.4 ms. At the conclusion of the
    Neither Channel 2 nor Channel 4 is allowed to fire during the            first phase, an active second phase begins. During this active
    Channel 3 hold-off period. As soon as the Channel 3 hold-off        50   second phase, which is also programmed to last about 0.4
    period 3B16 concludes, both Channel 2 and Channel 4 are                  ms, the amplitude of electrode E2 is programmed to -4 mA,
    past due for firing. Channel 2 fires first because it has a lower        while the amplitude of electrode E3 is programmed to +4
    channel number than does Channel 4. Thus, at the conclu                  mA, thereby creating a symmetrical biphasic current pulse
    sion of the Channel 3 hold-off period 3B16, a Channel 2                  and a balanced charge condition.
    First Phase period 3B17 begins, followed by the commence            55      Turning next to FIG. 4A, a block diagram is shown that
    ment of both a Channel 2 inter-phase period 3B18 and a                   illustrates the main components of one embodiment of an
    Channel 2 Hold-Off period 3B19. A Channel 2 Second Phase                 implantable pulse generator, or IPG 100, that may be used
    period 3B20 begins at the conclusion of the Channel 2                    with the invention. As seen in FIG. 4A, the IPG includes a
    inter-phase period 3B18.                                                 microcontroller (LLC) 160 connected to memory circuitry
       At the conclusion of the Channel 2 hold-off period 3B19,         60   162. The LLC 160 typically comprises a microprocessor and
    as seen in FIG. 3B, two events occur: (1) Channel 1 fires,               associated logic circuitry, which in combination with control
    which means a channel 1 First Phase period 3B21 begins:                  logic circuits 166, timer logic 168, and an oscillator and
    and (2) Channel 4 fires, which means a Channel 4 First                   clock circuit 164, generate the necessary control and status
    Phase period 3B22 begins. Recall that Channel 4 does not                 signals which allow the LLC to control the operation of the
    have its arbitration feature programmed ON, hence, it fires         65   IPG in accordance with a selected operating program and
    just as soon as it can after the preceding Hold-Off period               stimulation parameters. The operating program and stimu
    3B19 terminates, which just happens to be at the same time               lation parameters are typically programmably stored within
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                                 15                                                                     16
    the memory 162 by transmitting an appropriate modulated               time a programming event occurs, i.e., each time the patient
    carrier signal through a receiving coil 170 and charging and          or medical personnel change a stimulus parameter, or initiate
    forward telemetry circuitry 172 from an external programing           a charging operation.
    unit, e.g., a handheld programmer (HHP) 202 and/or a                     Still referring to FIG. 4A, the power circuits 182 advan
    clinician programmer (CP) 204, assisted as required through           tageously include protection circuitry that protects the
    the use of a directional device 206 (see FIG. 1). (The                replenishable power source 180 from overcharging. Also,
    handheld programmer is thus considered to be in “telecom              safeguarding features are incorporated that assure that the
    municative' contact with the IPG; and the clinician pro               power source is always operated in a safe mode upon
    grammer is likewise considered to be in telecommunicative             approaching a charge depletion. Potentially endangering
    contact with the handheld programmer, and through the            10   failure modes are avoided and prevented through appropri
    handheld programmer, with the IPG.) The charging and                  ate logic control that is hardwired into the device, or
    forward telemetry circuitry 172 demodulates the carrier               otherwise set in the device in such a way that the patient
    signal it receives through the coil 170 to recover the pro            cannot override them.
    gramming data, e.g., the operating program and/or the                   Still with reference to FIG. 4A, it is seen that a plurality
    stimulation parameters, which programming data is then           15   m of independent current source pairs, 186+I1, 186-I1,
    stored within the memory 162, or within other memory                  186+I2, 186-I2, 186+I3, 186-I3, ... 186+Im, 186-Im are
    elements (not shown) distributed throughout the IPG 100.              coupled to the control logic 166 via control bus 167. One
      Still with reference to FIG. 4A, the microcontroller 160 is         current source of each pair of current Sources functions as a
    further coupled to monitoring circuits 174 via bus 173. The           positive (+) current source, while the other current source of
    monitoring circuits 174 monitor the status of various nodes           each pair functions as a negative (-) current Source. The
    or other points 175 throughout the IPG 100, e.g., power               output of the positive current source and the negative current
    Supply Voltages, current values, temperature, the impedance           source of each pair of current sources 186 is connected to a
    of electrodes attached to the various electrodes E1 . . . En,         common node 187. This common node 187, in turn, is
    and the like. Informational data sensed through the moni              connected through a low impedance Switching matrix 188 to
    toring circuit 174 may be sent to a remote location external     25   any of n electrode nodes E1, E2, E3, . . . En, through
    the IPG (e.g., a non-implanted location) through back telem           respective coupling capacitors C1, C2, C3, ... Cn. (Note: a
    etry circuitry 176, including a transmission coil 177.                second embodiment of the IPG, see FIGS. 4B and 4C,
       The operating power for the IPG 100 is derived from a              discussed below, does not use a low impedance Switching
    replenishable power source 180, e.g., a rechargeable battery          matrix 188. Rather, there is an independent bidirectional
    and/or a supercapacitor. Such power source 180 provides an
                                                                     30   current source for each of the sixteen electrodes.) Through
    unregulated voltage to power circuits 182. The power cir              appropriate control of the switching matrix 188, when used
                                                                          (FIG. 4A), or through operation of the independent bidirec
    cuits 182, in turn, generate the various Voltages 184. Some           tional current sources, when used (FIGS. 4B and 4C), any of
    of which are regulated and some of which are not, as needed           the m current source nodes 187 may be connected to any of
    by the various circuits located within the IPG. The power        35   the electrode nodes E1, E2, E3, ... En. Thus, for example,
    circuits 182 further selectively direct energy contained              it is possible to program the current source 186+I1 to
    within the carrier signal, obtained through the charging and          produce a pulse of +4 mA (at a specified rate and for a
    forward telemetry circuit 172, to the replenishable power             specified duration), and to synchronously program the cur
    Source 180 during a charging mode of operation. In this way,          rent source 186-12 to similarly produce a pulse of -4 mA (at
    the power source 180 may be recharged when needed. A             40   the same rate and pulse width), and then connect the 186+I1
    particular feature of the present invention is the manner in          node 187 to electrode node E3 and the 186-I2 node to
    which such recharging occurs, on an as-needed basis.                  electrode node E1 at relative time t-0 ms (and at a recurring
       In a preferred embodiment, the power source 180 of the             rate thereafter) in order to realize the operation of channel 1
    IPG 100 comprises a rechargeable battery, and more par                depicted, e.g., in the timing diagram of FIG. 3A. In a similar
    ticularly a rechargeable Lithium Ion battery. Recharging         45   manner, the operation of channels 2, 3 and 4 shown in FIG.
    occurs inductively from an external charging station (shown           3A may likewise be realized.
    below in FIG. 8) to an implant depth of approximately 2–3                As described, it is thus seen that any of the n electrodes
    cm. Because the SCS IPG 100 could accept or receive a                 may be assigned to up to k possible groups (where k is an
    charge from an unauthorized source, internal battery pro              integer corresponding to the number of channels, and in a
    tection circuitry is employed, for safety reasons, to protect    50   preferred embodiment is equal to 4). Moreover, any of the n
    the battery (e.g., to prevent the battery from being over             electrodes can operate, or be included in, any of the k
    charged and/or to accept a charge only from an authorized             channels. The channel identifies which electrodes are
    charging device). The battery is chargeable to 80% of its             selected to synchronously source or sink current in order to
    capacity within about an hour, and is chargeable to its full          create an electric field. Amplitudes and polarities of elec
    capacity within about two hours. Moreover, at an 80%             55   trodes on a channel may vary, e.g., as controlled by the
    charge, a single battery discharge is able to Support stimu           patient hand held programmer 202. External programming
    lation at typical parameter settings on one channel (electrode        Software in the clinician programmer 204 is typically used to
    group) for approximately three weeks; and on 4 channels for           assign a pulse rate and pulse width for the electrodes of a
    approximately one week, after 10 years of cycling. Thus, it           given channel.
    is seen that the IPG 100 truly offers a long life.               60      Hence, it is seen that each of the n programmable elec
       Additionally, the IPG 100 is able to monitor and telemeter         trode contacts can be programmed to have a positive (Sourc
    the status of its replenishable power source 180 (e.g.,               ing current), negative (sinking current), or off (no current)
    rechargeable battery) each time a communication link is               polarity in any of the k channels.
    established with the external patient programmer 202. Such              Moreover, it is seen that each of the n electrode contacts
    monitoring not only identifies how much charge is left, but      65   can operate in a bipolar mode or multipolar mode, e.g.,
    also charge capacity. Typically, a telecommunicative link is          where two or more electrode contacts are grouped to source?
    established, and hence battery monitoring may occur, each             sink current at the same time. Alternatively, each of the n
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    electrode contacts can operate in a monopolar mode where,             provide a previously-programmed pattern of stimulus cur
    e.g., the electrode contacts associated with a channel are            rents, i.e., current pulses having a programmed width, rate,
    configured as cathodes (negative), and the case electrode, on         and amplitude are generated and delivered through each
    the IPG case, is configured as an anode (positive).                   channel. The auto-run time continues for a set time period,
       Further, the amplitude of the current pulse being sourced          e.g., several hours, or for only a few minutes. When a
    or sunk from a given electrode contact may be programmed              programming change is made by the patient or other medical
    to one of several discrete levels. In one embodiment, the             personnel, the auto-run time, when enabled at the pro
    currents can be individually set from +0 to +10 mA, in steps          grammed time of day, invokes the most recent programming
    of 0.1 mA, within the output voltage/current requirements of          changes made to each channel.
    the device. Additionally, in one embodiment, at least one        10      An important feature included within the IPG 100 is its
    channel of electrodes is capable of an output of at least +20         ability to measure electrode impedance, and to transfer the
    mA (distributed among the electrodes included in the chan             impedance thus measured back to a remote programmer, or
    nel group). The current output capacity of individual elec            other processor, through the back telemetry circuits 176.
    trodes are limited when operating with more than one other            Also, the microcontroller 160, in combination with the other
    electrode of the same polarity in a given channel in order to    15   logic circuits, may also be programmed to use the electrode
    assure that the maximum current values are maintained.                impedance measurements to adjust compliance Voltages and
    Additionally, in order to prevent jolts', current amplitude           to thereby better maintain low battery consumption. In one
    changes are always gradually changed, e.g., in a ramping              embodiment of the IPG 100, electrode impedance is mea
    fashion, from one value to another within the range of values         Sured for each electrode contact by Sourcing or sinking a 1
    available between the settings. Such ramping feature is also          mA current pulse from the electrode contact to the case
    used when initially powering on the IPG, thereby preventing           electrode, measuring the Voltage at the electrode contact,
    full magnitude stimulus pulses from being delivered to the            and computing the resulting impedance. (Impedance is equal
    patient during a ramping-up time period. The ramping-up               to Voltage/current.) For a spinal cord implantation, the
    time period may vary, depending upon the channel and                  electrode impedance will typically range between about 400
    programmed amplitude, between about 1 and 10 seconds.            25   ohms and 1000 ohms. The impedance measuring feature is
    This pulse ramping feature is explained more fully below in           described in more detail below in conjunction with the
    conjunction with FIG. 10.                                             description of FIGS. 11A and 11B.
       Also, in one embodiment, the pulse width of the current               The type of current sources depicted in FIG. 4A may be
    pulses is adjustable in convenient increments. For example,           realized by those of skill in the art using the teachings of
    the pulse width range is preferably at least 0 to 1 ms in        30   International Patent Application Serial Number PCT/US99/
    increments of 10 us. Generally, it is preferred that the pulse        14190, filed Jun. 23, 1999, entitled “Programmable Current
    width be equal for all electrodes in the same channel.                Output Stimulus Stage for Implantable Device', published
       Similarly, in one embodiment, the pulse rate is adjustable         as International Publication No. WO-00/00251, on Jan. 6,
    within acceptable limits. For example, the pulse rate pref            2000, and claiming priority to U.S. Patent Application Ser.
    erably spans at least two ranges: (1) a normal rate; and (2)     35   No. 60/090,833, filed Jun. 26, 1998, which international
    a high rate. The normal rate range covers 0-150 pps per               publication is incorporated herein by reference.
    channel in approximately 1 pps increments. The high rate                 Advantageously, by using current sources of the type
    range covers 100–1200 pps with appropriate restrictions on            disclosed in the referenced international patent application,
    pulse width, and need only be available on one or two                 or equivalent, the IPG 100 is able to individually control the
    channels. When used, the high rate range limits operation of     40   in electrode contacts associated with the n electrode nodes
    the additional channels at the normal rates when stimulation          E1, E2, E3, . . . En. Controlling the current sources and
    and/or power conflicts are determined to be present.                  switching matrix 188 using the microcontroller 160, in
       Because the IPG 100 is typically only capable of deliv             combination with the control logic 166 and timer logic 168,
    ering current pulses up to +20 mA in amplitude at any instant         thereby allows each electrode contact to be paired or
    in time, the SCS system also regulates the channel rates to      45   grouped with other electrode contacts, including the
    prevent overlap (i.e., to prevent two or more pulses from             monopolar case electrode, in order to control the polarity,
    different channels from occurring at the same time). Such             amplitude, rate, pulse width and channel through which the
    channel rate regulation is transparent to the patient.                current stimulus pulses are provided.
       The stimulation pulses generated by the IPG 100 must                  As shown in FIG. 4A, much of circuitry included within
    also be charged balanced. This means that the amount of          50   the embodiment of the IPG 100 illustrated in FIG. 4A may
    positive charge associated with a given stimulus pulse must           be realized on a single application specific integrated circuit
    be offset with an equal and opposite negative charge. Charge          (ASIC) 190. This allows the overall size of the IPG 100 to
    balance may be achieved through a coupling capacitor,                 be quite small, and readily housed within a suitable her
    which provides a passive capacitor discharge that achieves            metically-sealed case. The IPG 100 includes n feedthroughs
    the desired charge balanced condition. Such passive capaci       55   to allow electrical contact to be individually made from
    tor discharge is evident in the waveforms depicted in FIG.            inside of the hermetically-sealed case with the n electrodes
    3A as the slowly decaying waveform following the short                that form part of the lead system outside of the case. The IPG
    trailing edge of each pulse. Alternatively, active biphasic or        case is preferably made from titanium and is shaped in a
    multiphasic pulses with positive and negative phases that are         rounded case, as illustrated, e.g., in FIG. 2B. The rounded
    balanced may be used to achieve the needed charge balanced       60   IPG case has a maximum circular diameter D of about 50
    condition.                                                            mm, and preferably only about 45 mm. The implant case has
      In some embodiments of the invention, a real-time clock             Smooth curved transitions that minimize or eliminate edges
    is also incorporated within the timing circuits of the IPG            or sharp corners. The maximum thickness W of the case is
    100. Such real-time clock advantageously allows a run                 about 10 mm, and preferably only about 8 mm.
    schedule to be programmed. That is, the patient can schedule     65      Turning next to FIG. 4B, a hybrid block diagram of an
    auto-run times for IPG operation at certain times of the day.         alternative embodiment of an IPG 100" that may be used
    When an auto-run time begins, all channels are enabled and            with the invention is illustrated. The IPG 100' includes both
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    analog and digital dies, or integrated circuits (ICs), housed          Supply the processor and the digital sequencer with a Voltage
    in a single hermetically-sealed rounded case having a diam             of 2.7V-10%. Digital interface circuits residing on the AIC
    eter of about 45 mm and a maximum thickness of about 10                190" are similarly supplied with a voltage of 2.7 V+10%. A
    mm. Many of the circuits contained within the IPG 100" are             regulator programmable from 5V to 18V supplies the oper
    identical or similar to the circuits contained within the IPG          ating voltage for the output current DACs 186'.
    100, shown in FIG. 4A. The IPG 100' includes a processor                 A block diagram of the output stimulus generators 186"
    die, or chip, 160', an RF telemetry circuit 172 (typically             included within the AIC 190" is shown in FIG. 4C. As seen
    realized with discrete components), a charger coil 171', a             in FIG. 4C, a data bus 4C01 from the digital IC 191' couples
    lithium ion battery 180', a battery charger and protection             data received from the digital IC to AIC sequencer circuits
    circuits 182", memory circuits 162 (SEEROM) and 163'              10   4C02. Such data includes odd and even amplitude data, odd
    (SRAM), a digital IC 191', an analog IC 190', and a capacitor          and even mode data, and odd and even change data, where
    array and header connector 192'.                                       “odd' and “even” refer to the electrode number (with
       The capacitor array and header connector 192' includes 16           electrodes E1, E3, E5, etc. being "odd' electrodes; and
    output decoupling capacitors, as well as respective feed               electrodes E2, E4, E6, etc., comprising “even electrodes).
    through connectors for connecting one side of each decou          15   A multiplicity of latch circuits 4C03 are connected to the
    pling capacitor through the hermetically-sealed case to a              AIC sequencer 4C02, one latch circuit for each electrode.
    connector to which the electrode array 110, or lead extension          Hence, where there are sixteen electrodes, E1, E2, ... E16,
    120, may be detachably connected.                                      there are sixteen identical latch circuits 4C03. Each latch
       The processor 160' is realized with an application specific         circuit includes an amplitude bus 4C04 on which the ampli
    integrated circuit (ASIC) that comprises the main device for           tude data is placed, an S1 line for designating a positive
    full bidirectional communication and programming. The                  amplitude, an S2 line for designating a negative amplitude,
    processor 160' utilizes a 8086 core (the 8086 is a commer              and an S3 line for designating a recharge state. A PDAC
    cially-available microprocessor available from, e.g., Intel, or        circuit 4C05 is enabled by a signal on the S1 line when a
    a low power equivalent thereof, 16 kilobytes of SRAM                   current having the amplitude specified on the amplitude bus
    memory, two synchronous serial interface circuits, a serial       25   4C04 is to be sourced from a current source 4C06 through
    EEPROM interface, and a ROM bootloader 735. The ROM                    a coupling capacitor Cn, where n is an integer from 1 to 16.
    boot loader 735 is described in more detail below in con               Similarly, an NDAC circuit 4C07 is enabled by a signal on
    junction with FIG. 7F. The processor die 160' further                  the S2 line when a current having the amplitude specified on
    includes an efficient clock oscillator circuit 164' and a mixer        the amplitude bus 4C04 is to be sunk into the current source
    and modulator/demodulator circuit implementing the                30   4C06 through the coupling capacitor Cn. A recharge Switch
    QFAST RF telemetry method supporting bi-directional                    4C08 is enabled by the signal on the S3 line when it is
    telemetry at 8 Kbits/second. QFAST stands for "Quadrature              desired to remove the charge from the coupling capacitor
    Fast Acquisition Spread Spectrum Technique', and repre                 Cn. Another switch 4C09 allows an indifferent electrode
    sents a known and viable approach for modulating and                   4C11, e.g., the case of the IPG, to be turned on upon receipt
    demodulating data. The QFAST RF telemetry method is               35   of an SC1 signal. Similarly, a recharge switch 4C10 allows
    further disclosed in U.S. Pat. No. 5,559,828, incorporated             the indifferent electrode 4C11 to be selectively connected to
    herein by reference. An analog-to-digital converter (A/D)              ground, or another Voltage source, upon receipt of an SC2
    circuit 734 is also resident on the processor 160' to allow            signal.
    monitoring of various system level analog signals, imped                  From FIG. 4C, it is seen that the analog IC 186' includes
    ances, regulator status and battery Voltage. In the preferred     40   a multiplicity of output current Sources 4C06, e.g., sixteen
    embodiment, the A/D converter circuit 734 comprises a                  bidirectional output current Sources, each configured to
    twelve-bit A/D converter. The processor 160' further                   operate as a DAC current source. Each DAC output current
    includes the necessary communication links to other indi               source 4C06 may source or sink current, i.e., each DAC
    vidual ASIC’s utilized within the IPG 100'.                            output current source is bidirectional. Each DAC output
       The processor 160', like all similar processors, operates in   45   current source is connected to an electrode node 4C11. Each
    accordance with a program that is stored within its memory             electrode node 4C11, in turn, is connected to a coupling
    circuits. In this instance, such program control is properly           capacitor Cn. The coupling capacitors Cn and electrode
    referred to as “firmware' (as opposed to software) because             nodes, as well as the remaining circuitry on the analog IC
    the program is digitally stored in a read only memory, or a            186', are all housed within the hermetically sealed case of
    programmable read only memory, and is not easily altered or       50   the IPG 100. The dashed-dotted line 4C12 represents the
    changed (even though control parameters used with Such                 boundary between the sealed portion of the IPG case and the
    program are readily changed).                                          unsealed portion. A feedthrough pin 4C13, which is included
       The analog IC (AIC) 190' comprises an ASIC that func                as part of the header connector 192 (FIG. 4B), allows
    tions as the main integrated circuit that performs several             electrical connection to be made between each of the cou
    tasks necessary for the functionality of the IPG 100', includ     55   pling capacitors Cn and the respective electrodes E1, E2,
    ing providing power regulation, stimulus output, and imped             E3, ..., or E16, to which the DAC output current source is
    ance measurement and monitoring. Electronic circuitry 194'             associated.
    performs the impedance measurement and monitoring func                    Returning again to FIG. 4B, the digital IC (DigiC) 191'
    tion. The main area of the analog 190" is devoted to the               functions as the primary interface between the processor
    current stimulus generators 186". These generators 186" may       60   160" and the AIC output circuits 186". The main function of
    be realized using the circuitry described in the previously            the DigiC 191" is to provide stimulus information to the
    referenced PCT application, Serial No. PCT/US99/14190, or              output current generator register banks. The DigiC 191" thus
    similar circuitry. These generators 186" are designed to               controls and changes the stimulus levels and sequences
    deliver up to 20 mA aggregate and up to 12.7 mA on a single            when prompted by the processor 160'. In a preferred
    channel in 0.1 mA steps, which resolution requires that a         65   embodiment, the DigiC 191' comprises a digital application
    seven (7) bit digital-to-analog (DAC) circuit be employed at           specific integrated circuit (digital ASIC). A block diagram of
    the output current DAC 186". Regulators for the IPG 100'               the DigiC 191' is shown in FIG. 4G.
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       As seen in FIG. 4G, the digital ASIC 191' receives signals           mitter section is responsible for antenna tunning and cou
    from the processor IC (CPU) 160' through an interface and               pling while minimizing the processor noise to the RF signal.
    register map circuit 762. The interface and register map                   A receiver portion of the RF circuitry 172 receives an
    circuit 762 implements a standard 8086 memory map inter                 incoming RF signal through a coupling circuit, amplifies the
    face between the processor IC 160 and the digital ASIC                  signal, and delivers it to a mixer located inside of the
    191'. All read and write transactions are done in 16 bit                processor 160'.
    words. Included as part of the digital ASIC 191" is a matrix               The RF circuitry 172 also includes an antenna. The
    of counters 760 that function as a digital pulse generator.             antenna, in a preferred embodiment, comprises a ferrite rod
    This matrix of counters 760 include four delay and burst                located in an epoxy header of the IPG case. The antenna
    counters 764, four slow start/stop counters 765, and four          10   makes electrical connection to the IPG circuitry via two
    phase counters 766. There is thus one counter of each type              feedthrough pins included within the header connector 192
    for each channel. In combination, the counters 760 define               (the other pins providing electrical connection to the indi
    the parameters (timing and amplitude) associated with the               vidual electrodes located in the electrode array 110).
    stimulation pulses that are generated by the output current                Still with reference to FIG. 4B, the Battery Charger and
    DACs 186' included within the analog ASIC chip 190" (see           15   Protection Circuits 182 provide battery charging and pro
    FIGS. 4B and 4C). Any combination of timing generators                  tection functions for the Lithium Ion battery 180'. A charger
    can drive any electrode through the analog ASIC chip 190'.              coil 171" inductively (i.e., electromagnetically) receives rf
    An arbitrator circuit 768 monitors the various pulses being             energy from the external charging station. The battery 180
    defined by the counters 760 in order to control overlap                 preferably has a 720 mWHr capacity. The preferred battery
    between pulses.                                                         180' has a life of 500 cycles over 10 years with no more than
                                                                            80% loss in capacity. The battery charger circuits perform
       An output formatter circuit 767, which may also be                   three main functions: (1) during normal operation, they
    referred to as a double buffer circuit, receives the pulse              continually monitor the battery Voltage and provide charge
    defining data from the counters 760 and converts the output             status information to the patient at the onset of a commu
    signals into two high-speed data buses 770 and 771. A first        25   nication link, (2) they ensure that the battery is not over
    bus 771 contains the amplitude, mode and change data for                discharged, and (3) they monitor the battery Voltage during
    the odd-numbered electrodes, e.g., electrodes E1, E3, E5, ...           a charging cycle to ensure that the battery does not experi
    E15. A second bus 770 contains the amplitude, mode and                  ence overcharging. These functions are explained in more
    change data for the even-numbered electrodes, e.g., elec                detail below in conjunction with FIGS. 9A, 9B and 9C.
    trodes E2, E4, E6, ... E16. (Note, these two buses 770 and         30     The IPG 100' has three main modes that can initiate either
    771 are shown in FIG. 4B as a single bus 4C01.) The data                a reset sequence or a hibernation state. The first mode is a
    carried on the buses 770 and 771 is applied to appropriate              hard power up reset that occurs at initial turn on. The second
    electrode latch circuits that define the control signals S1, S2         mode is a state where a fully functional IPG experiences
    and S3 referenced in the block diagram of the analog ASIC               battery depletion that may result in erroneous communica
    190" shown in FIG. 4B. Sync and clock signals, as well as          35   tion between the modules, thereby necessitating that the
    a reset signal, are also sent from the digital ASIC 191' to the         system power down in order to protect the patient. The third
    analog ASIC 190'.                                                       mode is a re-awake mode triggered from the depletion or
       A serial control circuit 772 also included as part of the            hibernation state, which re-awake mode requires that the
    digital ASIC 191' provides serial communications with the               system perform self check and validation states.
    analog ASIC 190', and in the process provides additional           40      A representative power-up reset sequence for the IPG 100'
    timing and control information. Like all serial data trans              is illustrated in the flow diagram of FIG. 4D. As seen in FIG.
    missions, data bits are transmitted serially, one bit at a time,        4D, and also with reference to the IPG elements shown in
    as enabled on a bit by bit basis. The data transmission rate            FIG. 4B, the process starts when an external charger is
    is 1 million bits per second. Sample pulses, for use by the             placed over the IPG (block 4D01). As the battery voltage
    sample and hold circuitry 194" within the analog ASIC 190'         45   rises above 2.5 or 2.6 volts, a charging current is detected
    are also sent to the analog ASIC via the serial control circuit         (block 4D02). At this point, i.e., upon detection of the
    772. For example, a sample pulse may begin coincident with              charging current, the battery protection circuit allows the
    the start of a first phase on any of the four timing generators         battery to be connected to the analog IC 190" (block 4D03).
    (counters) 766. The selection of the trigger source and time            Upon receipt of the battery voltage at the analog IC, the
    delay for the sample pulse may be based on the setting off         50   analog IC asserts the HEXTRESET line (high), starts gen
    of internal control registers. At the completion of the Sam             eration of the supply voltage VDD, and starts a time delay
    pling pulse, an interrupt signal is generated for use by the            for the HEXTRESET hold time (block 4D04). The voltage
    processor IC 160'.                                                      VDD tracks the battery voltage minus the regulator dropout.
       Returning again to FIG. 4B, the RF circuitry 172 includes            The HEXTRESET remains asserted until VBAT rises above
    antennas and preamplifiers that receive signals from the           55   3.0 V and VDD is 2.7 V (block 4D05). Next, the digital IC
    HHP 202 and provide an interface at adequate levels for the             191' resets all internal registers affected by the HEXTRE
    demodulation/modulation of the communication frames                     SET signal (block 4D06). Then, the analog IC 190' similarly
    used in the processor 160'. Any suitable carrier frequency              resets all registers affected by the HEXTRESET signal
    may be used for Such communications. In a preferred                     (block 4D07). When the battery voltage rises above 3.0
    embodiment, the frequency of the RF carrier signal used for        60   volts, the battery monitor circuit releases the HEXTRESET
    Such communications is 262.144 KHZ, or approximately                    signal, allowing it to go low (block 4D08). At this point, the
    262 KHZ. A transmitter section receives digital transmit                digital IC 191" is ready for commands from the processor IC
    signals from the quadrature components, TXI and TXQ, of                 160" (block 4D09). Also, the analog IC 190' is ready from
    the data as generated on the 262 KHZ carrier. The TXI and               commands from the processor IC 160" via the digital IC 191'
    TXQ signals are coupled directly into the antenna during           65   (block 4D10). The processor 160' next starts the reset
    transmit. Additionally, the transmit section couples the                sequence by fetching a RESET vector and jumping to the
    antenna to the receiver during a receive mode. The trans                RESET routine (block 4D11). The boot loader routine then
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    reads the data from the external SEEROM memory 162 and                battery voltage falls below a third prescribed level, desig
    stores the program and data section in the processor RAM              nated as the battery protection circuit minimum value (1.2
    (block 4D12). The processor, in response to such RAM                  V) (block 4E11), then the battery is permanently disabled
    stored data, jumps to the internal program space and starts           from the circuit, and the protection FET switches cannot be
    the system application code (block 4D13). The processor               reactivated (block 4E17).
    next initializes all the registers in the digital IC 191' and            As indicated above, the processor IC 160 includes a ROM
    indirectly in the analog IC 190 to a safe state (block 4D14).         bootloader 735 (see FIG. 4B). A 1 Kbyte section of the Boot
    The processor then Verifies the system resources, including           ROM 735 is organized as 512 words, located at FFC00
    the battery status, the memory integrity, and all diagnostics         (HEX), consistent with the Intel specification for reset
    (block 4D15). After such verification, the processor then sets   10   vectors used with an 8086 microprocessor. When a reset
    the digital IC 191' and the analog IC a90 to default condi            occurs, the processor begins execution at memory location
    tions (block 4D16). Next, the processor sets the remaining            FFFF0 (HEX). The instruction at this location causes a jump
    hardware resources to normal operating conditions (block              to the starting address within the boot space for the boot
    4D17). Finally, the processor executes the commands in the            code. The boot code contains a program that loads further
    main idle and diagnostic loops (block 4D18).                     15   code from the serial boot SEEROM 162 located off-chip.
       The battery voltage of the IPG is monitored and, when it           The processor Boot ROM flow chart is shown in FIG. 4F.
    drops below a prescribed level, the IPG is taken through a               FIG. 4F shows that the following steps are performed
    slow shut down to a shutdown state via a series of interme            during a ROM boot load: the CPU starts or is rebooted
    diate steps as shown in FIG. 4E. Advantageously, in one               (block 4F01); the segment registers are reinitialized and
    embodiment, the IPG is capable of properly recharging a               power is shut off to unnecessary areas, and the watchdog
    lithium-ion battery cell that has been completely discharged          circuit operation is acknowledged (block 4F02); a transac
    to zero volts. As indicated in FIG. 4E, the battery voltage is        tion begins with the offchip SEEPROM 162 to set the initial
    measured at a prescribed time interval, e.g., once every 4            page address of a dummy write cycle (block 4F03); a
    hours, sixteen samples are taken, averaged, the value stored, determination is made as to whether the SEEPROM
    So as to provide an indication of the normal operation of the 25 acknowledged (block 4F04); if acknowledgment occurred,
    system (block 4E01). The battery voltage and state are then a transaction begins with the SEEPROM to begin a read
    reported to the HHP 202 if the IPG is interrogated (block transaction (block 4F05); a determination is made as to
    4E02). Should the battery voltage fall below a minimum whether the SEEPROM acknowledged (block 4F06); if
    level, e.g., 3.6 V (block 4E03), then all parameter program acknowledgment occurred, then a transaction begins with
    ming is disabled, and telemetry is limited to status and ID 30 the SEEPROM wherein eight bits of data are read and placed
    responses only (block 4E04). The IPG processor issues in the offchip SRAM 163 (block 4F07). The first four bytes
    commands to halt all stimulation, updates the status register, of data are used to specify the location in SRAM as well as
    and reports to the HHP when the IPG is interrogated (block the length of the program; a determination is made as to
    4E05). The IPG processor then makes a copy of the working whether the SEEPROM acknowledged (block 4F08); a
    registers, current stimulation parameters, digital IC settings, 35 determination is made as to whether the code being read
    and CRC (error correction codes) in an appropriate memory from the SEEPROM is finished (block 4F09) and if not, the
    location, e.g., in a SEEPROM memory (block 4E06). The code continues to be read 8 bits at a time (block 4F07); and
    battery voltage is then measured once every 10 minutes by then when all of the code has been loaded, a vector is formed
    taking sixteen samples, which are averaged, and the Voltage that indicates where the code is loaded, and the processor
    is reported to the HHP if the IPG is interrogated (block 40 jumps there to begin execution of the code (block 4F10).
    4E07). If the battery voltage falls below a first prescribed         As described above, it is thus seen that the implant portion
    level, designated as VBAT (3.0+0.1 V), and if HEXTRE               10 of the SCS system of the present invention (see FIG. 1)
    SET is asserted, then all systems in the IPG are halted (block includes an implantable pulse generator (IPG) 100 as
    4E08). Should the battery voltage fall below a second described in FIGS. 4A 4F. Such IPG includes stimulating
    prescribed level, designated as the battery protection cutoff 45 electronics (comprising programmable current sources and
    (2.5 V) (block 4E09), then the battery protection circuitry associated control logic), a power source, and a telemetry
    disconnects the battery from the main circuit (block 4E10).        system. Advantageously, the power source may be recharged
    Note that the battery is not disconnected from the battery over and over again, as needed, and may thus provide a long
    protection circuit, just from the main circuit. Although there life, as well as a high current output capacity.
    may be a temporary battery Voltage increase when the 50 It is further seen that an important feature of the present
    battery is first disconnected from the main IPG circuitry, the invention is its ability to map current fields through selective
    battery voltage will eventually continue to decrease at a control of the current sources which are attached to each
    slower rate. (Note: battery voltage decrease continues due to electrode node. In one preferred embodiment, the invention
    the small current needed to power the battery protection achieves its desired function of being able to independently
    circuitry and battery self discharge.) When the battery 55 map a desired current to each electrode node through the use
    Voltage rises above 2.6 V, the protection circuitry reconnects of a processor 160', one or more ASIC's 190" or 191', sixteen
    the battery, and HEXTRESET is asserted (block 4E14). independent bidirectional output current DACs (FIG. 4C,
    When the battery voltage rises above the VBAT threshold elements 4C05-4C07), and timers and control registers,
    (3.0+0.1 V) (block 4E15), then HEXTRESET is released, configured to operate in a state machine architecture. The
    and the process goes through the power-on-reset process 60 ASIC has a standard bus interface to the microcontroller
    (block 4E16). After the Power-On-Reset process, the battery allowing simple, direct and efficient access to all of its
    voltage continues to be monitored every 10 minutes (block control and stimulation parameter registers. Triggering and
    4E07). When the battery voltage rises above the level to timing control circuitry allow the simultaneous activation of
    restore stimulation (3.8 V)(block 4E12), the stimulation is any of the channels. In one embodiment (FIG. 4A), a low
    re-enabled, normal operation resumes, and telemetry is 65 impedance Switching matrix advantageously allows the
    re-established for all command types (block 4E13). If the mapping of each current generator's two outputs to be
    battery 180' comprises a non Zero volt battery, and if the assigned to any of the pulse generator electrode nodes (or
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    leadwires, which are attached to the electrode nodes) or to            and an external cable 134. Because of this percutaneous, or
    the case. In a preferred embodiment (FIGS. 4B and 4C).                 “through-the-skin' connection, the trial stimulator 140 is
    there is no need for a low impedance Switching matrix.                 also referred to as a “percutaneous stimulator” 140. The
    Rather, independent bidirectional current sources for each of          main purpose of the ETS 140 is to provide a 2–7 day
    the sixteen electrodes (independently operable output cur         5    stimulation trial with the Surgically placed electrode array
    rent DACs) allow the output currents to be mapped to any               110 before implanting the IPG 100.
    of the output electrode nodes or to the case. In this manner,            As seen in FIG. 5, the ETS 140 is housed within a
    one or more current generators may be attached to any one              hand-held case 220. Displayed on the case 220 are a set of
    or more electrode nodes (leadwires) and thus electrodes, and           intuitive control buttons 224, 225 that control the operation
    conversely, any electrode node (leadwire) may be attached         10   of the device. Advantageously, these control buttons are the
    to one or more current generator outputs, grounded, or left            same as, or very similar to, the types of buttons found on the
    open. The significance of the biphasic, or (in some instances)         patient hand held programmer, or HHP (explained below).
    multiphasic, nature of the stimulation pulses is that currents         A cable contact port 226 having a multiplicity of contacts,
    may be actively driven in either the anodic or cathodic                e.g., 16 contacts, is provided on one side of the device into
    direction to the output electrode nodes of the current gen        15   which the external cable 134 and/or percutaneous extension
    erators. This feature, along with the matrix Switching of              132 may be detachably connected. Typically, during implant
    output leads, or independently operable output current                 of the electrode array, when the ETS 140 is under control of
    DACs, depending upon the embodiment used, allows the                   a surgeon, the ETS 140 is connected to the electrode array
    creation of “virtual electrodes and stimulation current field          110 through the external cable 134 (see FIG. 1) and the
    control, not possible with other known designs. This feature           percutaneous extension 132. Then, after implant, during a
    thus provides an important advance in the ability to direct            trial period when the stimulator 140 is under control of the
    the stimulation pulses to pools of target neurons in the spinal        patient, the trial stimulator 140 is connected to the electrode
    cord.                                                                  array 110 directly through the percutaneous extension 132.
       In use, the IPG 100 is typically placed in a surgically             In other words, once the patient leaves the operating room
    made pocket either in the abdomen, or just at the top of the      25   (OR), there is generally no need for the external cable 134.
    buttocks, and detachably connected to the lead system                     As seen in FIGS. 1 and 2B, the percutaneous extension
    (comprising lead extension 120 and electrode array 110).               132 is a temporary lead extension that is used to connect the
    While the lead system is intended to be permanent, the IPG             electrode array 110 to the external trial stimulator 140 and/or
    may be replaced should its power source fail, or for other             external cable 134 during the trial period. This lead is
    reasons. Thus, a Suitable connector, e.g., the Snap-on tool       30   positioned by the Surgeon using Suitable tunneling tools 152
    less connector disclosed in U.S. patent application Ser. No.           to create a tunnel between the array 110 and the percutane
    09/239,926, filed Jan. 28, 1999, now U.S. Pat. No. 6, 198,             ous exit site. Once the tunnel is made, the percutaneous
    969, or other suitable connectors, may advantageously be               extension is pulled through for connecting to the array. The
    used to make the connection between the lead system and                exiting end of the percutaneous extension may then be
    the IPG 100.                                                      35   connected to either the trial stimulator port 226 or the
       Once the IPG 100 has been implanted, and the implant                external cable 134.
    system 10 is in place, the system is programmed to provide                The percutaneous extension 132 is typically 30 cm in
    a desired stimulation pattern at desired times of the day. The         length and no greater than 3 mm in diameter (when it
    stimulation parameters that can be programmed include the              connects with a single-8 electrode array, e.g., an in-line
    number of channels (defined by the selection of electrodes        40   electrode having 8 electrode contacts, or an electrode of the
    with synchronized stimulation), the stimulation rate and the           type shown in FIG. 2A(G)), or no greater than 4 mm in
    stimulation pulse width. The current output from each                  diameter (when it connects with a dual-8 electrode array,
    electrode is defined by polarity and amplitude. Additionally,          e.g., an electrode of the type shown in FIG. 2A(E)).
    as indicated above, a run schedule may be downloaded and                 The external connectors used on the external cable 134
    stored in the memory of the IPG 100, which when used              45   and the percutaneous extension 132 are easy to connect and
    enables the IPG only at programmed times of the day.                   disconnect into their mating connectors or plugs. More than
       The back telemetry features of the IPG 100 allow the                one external cable 132 may be provided, as needed, e.g., of
    status of the IPG to be checked. For example, when the                 differing lengths, in order to allow the trial stimulator to be
    external hand-held programmer 202 (and/or the clinician                moved around the operating table. Such cables, of course,
    programmer 204) initiates a programming session with the          50   must be sterilized for use within the OR.
    implant system 10 (FIG. 1), the capacity of the battery is                The external trial stimulator (ETS) 140 has circuitry that
    telemetered so that the external programmer can calculate              allows it to perform the same stimulation functions as does
    the estimated time to recharge. Additionally, electrode                the IPG 100. Further, the circuitry within the external trial
    impedance measurements are telemetered at the beginning                stimulator 140 allows it to receive and store programs that
    of each programming session, or as requested. Any changes         55   control its operation through a Suitable telecommunicative
    made to the current stimulus parameters are confirmed                  link 205 (FIG. 1) established with the clinician programmer
    through back telemetry, thereby assuring that Such changes             204. Thus, with such link 205 established, the clinician
    have been correctly received and implemented within the                programmer 204 may be used to program the external trial
    implant system. Moreover, upon interrogation by the exter              stimulator 140 in much the same way that the clinician
    nal programmer, all programmable settings stored within the       60   programmer is used to program the IPG 100, once the IPG
    implant system 10 may be uploaded to one or more external              100 is implanted. Advantageously, the link 205 is bidirec
    programmerS.                                                           tional, thereby allowing programming data sent to the stimu
       Turning next to FIG. 5, one type of external trial stimu            lator 140 from the clinician programmer 204 to be verified
    lator (ETS) 140 that may be used as a component of the                 by sending the data, as stored in the stimulator 140, back to
    invention is illustrated. As explained previously in connec       65   the programmer 204 from the ETS 140. In one embodiment,
    tion with FIG. 1 and FIG. 2B, the ETS 140 connects to the              the link 205 comprises an infra-red (IR) link; in another
    electrode array 110 through a percutaneous extension 132               embodiment, the link 205 comprises a cable link. The link
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    205 is preferably functional over a distance of at least 7 feet,  details associated with programming the IPG may be found
    thereby allowing the trial stimulator to be easily used in an     in U.S. Pat. No. 6,052,624, U.S. patent application Ser. No.
    operating room (OR) environment.                                  09/550.217, filed Apr. 17, 2000; and U.S. Patent Application
       The external trial stimulator 140 further includes limited     No. 60/172,167, filed Dec. 17, 1999, which patent and
    programming functions that allow some modification of 5 applications are incorporated herein by reference. The
    Some of the programmable values using the control buttons details associated with the ClinPro software are not pre
    224 and 225. A flat display screen 222 on which program sented herein because Such details are not viewed as a
    ming or other information may be displayed is also pro critical part of the invention.
    vided. Typically, the screen 222 is used to show program             The ClinPro software is used on a conventional personal
    mable values as they are selected and/or modified. A hidden 10 computer, PC, e.g., a laptop or notebook computer, pro
    physician access screen may also be displayed on the grammed with a 32-bit Windows operating system, such as
    stimulator screen 222 when enabled. This allows the phy Windows 98 or Windows2000. The ClinPro Software in
    sician to Verify programming and patient data, as well as to combination with the hardware on which it is used is
    check the status of the operating condition of the stimulator. referred to as the “ClinPro system.”
       Advantageously, the external trial stimulator 140 is com- 15 A block diagram of the ClinPro system is shown in FIG.
    pact in size, and can be easily held in one hand. To make it 6A. As seen in FIG. 6A, The ClinPro system consists of
    even easier to carry, especially by the patient, a belt clip is several subsystems (add-ins) that interact with each other.
    placed on its back side, thereby allowing it to be worn on a The add-ins are separate and independent of each other. The
    patient belt, much like a pager or cell-phone. The device only way the different add-ins communicate with each other
    case includes an accessible battery compartment wherein 20 is through well defined base interfaces 601. An interface is
    replaceable (and/or rechargeable) batteries may be carried a protocol that defines properties and methods that can be
    having Sufficient capacity to provide operating power to both performed on a component. For one add-in to interact with
    its internal pulse generator circuitry and programming elec another add-in, the first add-in must use the interface pro
    tronics for at least one week.                                    vided by the second add-in, and Vice-versa. Advantageously,
       The external trial stimulator 140, or ETS, is first used in 25 this provides the ability to develop new add-ins without
    the operating room (OR) to test the electrodes of the affecting the existing add-ins. The add-ins register them
    electrode array 110 during placement of the electrode array.      selves in the operating system registry when installed.
    During such OR use, it is critical for the Surgeon to quickly        As shown in FIG. 6A, the ClinPro system contains only
    access and adjust amplitude, pulse width, rate, channel and one subsystem of the ClinPro App type 602, and one or more
    electrode selection without having to switch back and-forth 30 of other types of subsystems like the User Interface sub
    between screens or scroll through each parameter. Immedi system 603, the Hardware subsystems 604 and 605, and the
    ate access to the pulse amplitude and the electrode to which Port subsystems 606 and 607. Each subsystem type has a
    the pulse is applied are most important. The communication certain basic functionality that it provides to the ClinPro
    link 205 established between the stimulator 140 and pro system.
    grammer 204 greatly facilitate Such quick access.              35 The user interface subsystems 603 provide access to the
       Once the electrodes have been tested with the external         user interface (UI), e.g., data-entry forms through which the
    trial stimulator 140 in the OR environment immediately user provides information to the program, and also encap
    after implant, and the Surgeon is satisfied that the trial sulate the data access functionality. The UI subsystem
    stimulator has been programmed in an acceptable manner provides an interface that provides access to the patient
    and is functioning properly, the ETS 140 is then used by the 40 information maintained in a data manager 608. Other sub
    patient during a trial period, e.g., of from 2–7 days. During systems, including the ClinPro App 602, must use the user
    this time, the patient may perform limited programming of interface 603 to access the patient information contained in
    the stimulator 240, e.g., to set the channel, amplitude, rate the data manager 608.
    and on/off programming functions.                                    The hardware subsystems 604 and/or 605 provide com
       Next, the clinician programming system will be 45 mand generation and interpretation for the specific hardware
    described. This system includes, as seen in FIG. 1, a they encapsulate. The hardware subsystems use the port
    clinician programmer 204 coupled to a directional device subsystems 606 and/or 607 to communicate with the physi
    206. The clinician programmer 204 typically interfaces with cal hardware. The hardware subsystems expose functional
    the patient hand-held programmer 202 in communicating ity specific to the hardware (e.g., Set Amplitude, Set Pulse
    with the implanted pulse generator (IPG) 100. As described 50 Width, etc.) through the base interface 601 to the rest of the
    above, the clinician programmer 204 may also be selectively system. This interface is used by the corresponding UI
    coupled to the external trial stimulator 140.                     subsystems 603 to change the hardware settings.
       The clinician’s programming system is used to optimize            The port subsystems 606 and/or 607 provide access to the
    the programming of the implant for the patient. In a pre physical ports on the system, e.g., an RS-232 port or an
    ferred implementation, Such system comprises software, 55 infrared port. They expose functionality to enumerate avail
    referred to as Clinician’s Programmer Software (referred to able ports, open, read, write and close a specific port. The
    as “ClinPro’ software) with operates on a 32 bit Windows port subsystems are typically used by the hardware sub
    operating system. The function of the ClinProsoftware is to systems. Other special Subsystems (e.g., a terminal emulator
    program the IPG. Programming the IPG involves setting the Subsystem) may use the port Subsystem for diagnostic
    pulse width, amplitude, and rate through which electrical 60 purposes.
    stimuli are to be applied to the patient through the selected        The advantage of using the type of architecture shown in
    combinations or groups of electrodes on the electrode array FIG. 1 is that it provides the system the ability to develop
    110 (FIG. 1). As such, any software or other programming new functionality as a new Subsystem and then integrating
    means could be used to achieve this programming purpose. it into the existing system without modifying the existing
    The description of the ClinPro software that follows is 65 subsystems. For example, after the initial software is
    provided solely to provide an overview of the preferred shipped and installed at a site, a second user interface add-in
    software used for this IPG programming purpose. Further can be developed independently and shipped to the site and
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    installed without any modification to the existing Sub                 configure electrodes and adjust various stimulation param
    systems. The same holds true for hardware Subsystems as                eters. This directional programming is described in more
    well. The existing user interface Subsystem will communi               detail in U.S. Pat. No. 6,052,624, entitled “Directional
    cate with the new hardware Subsystem or as long as the new             Programming for Implantable Electrode Arrays', incorpo
    hardware Subsystem implements the previous hardware Sub                rated herein by reference. As described in the 624 patent,
    systems interface.                                                     Such directional programming may advantageously be per
       The ClinPro application 602, FIG. 6A, manages the                   formed both in the OR environment and in the doctor's
    creation and usage of the different add-in objects. Each               office. The clinician or nurse simply operates the joystick
    add-in implements an interface that provides the add-in                feature, or equivalent directional programming feature, dur
    name, type, etc. The application uses this interface to get       10   ing Surgery in conjunction with the trial stimulator So as to
    information from an add-in. The application also provides its          configure and select the electrodes that provide stimulation.
    own interface to the add-ins for getting the active hardware,          The patient may then use the joystick feature to finalize the
    active port, etc. For example, when the UI interface 603               device programming during a post implant adjustment ses
    add-in wants to send information to the hardware, it first gets        Sion. Thus, whether communicating with the external trial
    the active hardware from the application and then calls the       15   stimulator 140 or with the IPG 100 through the HHP 202, the
    corresponding method exposed by the interface of the hard              directional programming device 206 is able to be effectively
    ware add-in.                                                           used to configure which electrodes provide stimuli to the
       The user interface add-ins 603 implement the user inter             patient.
    face for taking patient threshold measurements, generating                In the preferred embodiment, the Clinicians program
    reports and implementing other functionality. The UI also              ming system is thus designed to operate as windows com
    implements a user interface to provide access to the patient           patible software. It is user friendly and may provide (in some
    information, program information, measurement informa                  versions) automated patient fitting and virtual electrode
    tion, etc. from the database 608 and the Add-in interface.             directional programming. It is capable of maintaining a
    The UI add-ins reference the application interface to get              patient data base and graphic reports. It also provides,
    active hardware, and the hardware interface to set the            25   through calculations based on measurements made, an auto
    different parameters.                                                  matic estimate of the implant battery capacity.
       The hardware add-ins implement the functionality pro                   In operation, as seen in FIG. 1, the clinician programming
    vided by the hardware. This includes setting amplitude,                system communicates to the patient programmer 202 over a
    pulse width, rate, etc. The hardware add-ins implement the             telecommunicative or other communication link 203, which
    add-in interface and a hardware interface to expose methods       30   then telemeters the data to the IPG 100. Likewise, the
    to set the amplitude, pulse width, rate, etc. The hardware             clinician’s programmer is able to communicate to the exter
    add-ins reference the application interface to get available           nal trial stimulator 140 over the telecommunicative link 205.
    ports to poll for hardware, set the active port, etc. They also        The communication links 203 and 205 are reliable links
    reference the port add-in interface to transmit and receive            capable of operating in the busy OR environment. Data
    data from the physical hardware.                                  35   speeds to and from the IPG 100, through the patient pro
       The port add-ins implement the functionality to access the          grammer 202 intermediary link, are fast enough to not
    I/O ports in the system. This includes opening and closing a           noticeably delay programming. A communication link status
    port, reading and writing to a port, etc. The port add-ins             between devices is always depicted on a screen, or other
    implement the add-in interface and a port interface which              display device, associated with the programmer 204.
    exposes methods to change port settings, open a port, close       40      As soon as the clinician programmer is initially connected
    a port, write to a port, read from a port, etc.                        to the implant system, hardware recognition occurs. That is,
       The clinician programmer 204, including the ClinPro                 the system identifies the stimulator, the patient programmer,
    system, is configured to talk to the IPG 100 via the hand-held         and electrode availability (through electrode impedance
    programmer 202. In a preferred implementation, the ClinPro             measurements).
    application is installed on a notebook or laptop computer         45      For safety, the patient programmer 202 is coded to work
    running the Windows 98 operating system. The computer is               only with a specific implant system. Should the patient lose
    connected to the HHP 202 through an IrDA compatible                    his or her programmer 202, then the physician, using the
    infrared serial port using an infra-red cable extension. The           clinician programmer, is able to code a new programmer for
    HHP 202 is then connected to the IPG using radio frequency             use with the patient’s implant system. The clinician's pro
    (RF) communications. While any suitable communications            50   grammer, in contrast, is able to communicate to any implant
    protocol could be used for Such RF communications, a                   through any programmer 202 by using an overriding uni
    preferred communications format is shown in FIG. 7E,                   versal code. This allows the patient code to be extracted
    described below.                                                       from the IPG 100 and used to re-code a new programmer
       Thus, the ClinPro system, with its various add-in sub               202.
    systems or modules, maintains a patient data base, and is         55      When an IPG 100 is in contact with a clinician program
    able to program all features of the implant in a simple and            mer 204, the device settings and hardware information
    intuitive manner. Additionally, the system allows threshold            (model, serial number, number of electrode by impedance,
    measurements to be made, operational electrodes to be                  and the like) are first uploaded to the SCS add-on program
    identified, and is able to interface directly with the patient.        ming Software in the clinician programmer 204. All devices
       A key feature of the ClinPro system is to include a            60   in the link with the IPG, e.g., the hand held device 202,
    joystick accessory, or equivalent directional device 206               and/or the trial stimulator 140, and clinician programmer
    (FIG. 1). Such device, coupled with appropriate add-in                 204, and the clinician programmer 204, are synchronized so
    subsystem software, allows the patient to interface with the           that each device receives accurate and current data. Pro
    clinician programmer 204, external trial stimulator 140, or            gramming changes made to the stimulator(s) are confirmed
    other processor (e.g., a hand-held computer, such as a            65   through back telemetry or other means before the SCS
    PalmPilot(R) computer, or equivalent) so as to allow the               add-on software reflects the change. Advantageously, the
    patient, or other medical personnel assisting the patient, to          physician is able to program the stimulator through either
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    the patient programmer 202 or the clinician programmer 204                 “advanced’. The programming window is advantageously
    while linked together through the link 203, with all pro                   accessible from both a main menu and a patient information
    gramming changes being mirrored in both devices.                           window.
      Various programming features of the ClinPro software                       The measurement window, which may also be referred to
    make the programming system extremely user friendly. In                    as a “threshold' window, is used to set maximum and
    the preferred embodiment, these programming features                       minimum thresholds, and to map pain and paresthesia with
    include at least the features described below.                             implanted electrodes to anatomical sites. A representative
       A patient information window is accessible through the                  measurement window is illustrated in FIG. 6B. (In practice,
    programming system that allows either a new patient or an                  there may be more than one window, each featuring a
    existing patient file to be created or opened. Such patient file      10   different measurement or setting.) As seen in FIG. 6B,
    is presented as a blank or existing window, including a series             included in the display of the measurement window is a
    of tiered sub-windows, including: “patient information.”                   representation 230 of the type and orientation of the elec
    “appointment,” and "case history'. Selecting a new patient                 trode array(s) that has been selected. Such selection is made
    places the “patient information' window at the top tier for                from a group of possible electrode choices. Monopolar and
    data entry. Selecting from patient files places “appointment'         15   bipolar sensitivity (max and min) thresholds may then be
    window at the top tier. The patient name is automatically                  determined for each electrode for the displayed electrode
    written on all patient file windows. When the system detects               array configuration, with the aid of amplitude, rate (fre
    an implant serial number that matches a patient file, that                 quency), and pulse width settings 232A, 232F and 232P.
    patient file is automatically opened and displayed as a                    respectively. In one embodiment, maximum and minimum
    starting point.                                                            thresholds map to amplitude levels designated by numbers
       The “patient information' window includes entry fields                  from 1 to 10 for each electrode (with respect to monopolar
    for last name, first name, birth date, and a patient identifi              or bipolar or multipolar configurations), as described in U.S.
    cation number. A drop down menu provides a list of patient                 Patent Application Ser. No. 60/172,167, filed Dec. 17, 1999,
    diagnosis that can be entered, i.e., nerve injury, Sciatica,               incorporated herein by reference. Pain and/or paresthesia
    Arachnoiditis, and the like. Also included is a listing of the        25   mapping is available to identify electrode effects through the
    patient’s hardware, which is entered automatically based on                threshold testing process. To aid in this process, a human
    the hardware that is detected when the devices are linked.                 FIG. 234 is displayed and divided into sections for selection.
      The “appointment' window displays the patient’s name                        In use, a pain or paresthesia is activated by toggling a
    and hardware, and further includes entry fields with drop                  color box, i.e., red or blue, that is superimposed over the
    down selections for diagnosis, reason for visit (e.g., trial,
                                                                          30   affected body area. One color, e.g., red, represents pain;
    implant, replacement, programming, and the like), and a                    while the other color, e.g., blue, represents paresthesia. As the
    notes field.                                                               mouse pointer passes over different body segments, such
                                                                               segments change color to the active color and can be locked
       The “case history’ window presents a figure of the human                to the active color by clicking the mouse. The paresthesia
    body, or portions of the human body, on which are illustrated         35   color is always transparent (top layered) so that pain seg
    the pain sites that have been treated in the past, and a                   ments can be seen. Multiple body segments can be selected
    chronology of the patient appointment dates. Selecting a                   individually, or as a group at intersections. By clicking on a
    patient appointment date causes the stimulation programs,                  segment, the active color is toggled off and on without
    illustrations and notes that were applied on that date to be               affecting the alternate color. The object is to match or map
    displayed. These case history files may not be altered                40   the paresthesia segments with the pain segments. Such
    through normal means, but are rather intended to be saved                  pain/paresthesia mapping feature may be used with expert
    as permanent archived files.                                               algorithms to automate the programming process. Alterna
       Various patient-specific reports may be generated by the                tively, the patient and clinician/physician may simply work
    system. These reports when generated may be printed,                       together and use a trial-and-error procedure in order to best
    faxed, saved to a file, or sent via email to a designed               45   fit the paresthesia segments with the pain segments.
    location. The reports include, as a header, the logo or other                 Programming window screen(s) is/are accessible from at
    identification of the clinic were created, the patient’s name,             least a patient information window and a main menu. The
    birth date and implant type. The body of the reports may                   programming screen is used to program electrode configu
    include: (1) patient information, i.e., the information cap                rations and the desired output parameters for each of the
    tured in the patient information windows; (2) the patient             50   available channels. Representative current stimulus wave
    visit history, i.e., a list of dates the patient visited the clinic        forms for selected electrodes are displayed in area 236 of the
    with reasons for the visit, the type of hardware used by the               screen shown in FIG. 6B. Once selected, continual clicking
    patient, and the implant serial number; (3) the program                    of the selected electrode group toggles stimulation between
    report, i.e., the details of those programs used by the patient            active ON and PAUSED, with a settable slow start/end. The
    to provide stimulation, the electrode configuration, and the          55   slow start/end feature is explained in more detail below.
    like; (4) the measurement history, i.e., a graphical and/or                Selection of another electrode channel does not change any
    tabular representation of the measurements (bipolar and/or                 of the settings of a previous channel.
    monopolar threshold and maximum levels) for each elec                         Before electrodes are displayed on the screen for pro
    trode. Typically this is done in one or a series of graphs or              gramming, the array type and orientation must be selected.
    tables with the electrode being displayed on the x-axis, and          60   The number of implanted and available electrodes is typi
    the measurement unit on the y-axis; and (5) a stimulation                  cally automatically determined by impedance measurements
    evaluation, i.e., a paresthesia/pain illustrative representation.          during hardware interrogation. Pointing to the electrode box
       The ClinPro programming software further provides a                     230 provides an electrode array selection, based on the
    programming window that facilitates programming the                        number of detected electrodes, with preset visual forms.
    stimulator. The programming window, in one embodiment,                65   Once the array configuration is selected, it is displayed on
    includes at least three tiered sub-windows, which may be                   the screen with point and click selectable electrodes. For
    titled, e.g., “measurements”, “programming, and                            example, one click specifies a cathode; two clicks specifies
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    an anode; and a third click specifies a neutral (floating or           Suitable Software, may run under conventional operating
    non-connected) electrode. Cathode, anode and neutral selec             systems commonly used within personal computers (PCs).
    tions are indicated by a color change. By clicking an                  The preferred clinician programmer is a Pentium-based PC,
    electrode to a cathode or anode state, the electrode is                operating at 100 MHz or more, with at least 32 Mbytes of
    assigned to the active channel. If desired, a representation of   5    RAM. Examples of an operating system for use in Such a
    current fields created by electrodes of a channel may also be          system include Windows98, Windows2000 or Windows NT
    displayed within this representation.                                  4.0/5.0. Such programming Software also Supports multiple
      The amplitude, pulse width and rate are adjustable by                languages, e.g., English, French. German, Spanish, Japa
    mouse or arrow keys for the selected channel, using e.g., the          nese, etc.
    “channel settings' area 232A, 232F and 232P of the pro            10     Turning next to FIGS. 7A, 7B and 7C, a brief description
    gramming screen. Amplitude, on this main programming                   of the patient handheld programmer (HHP) 202 will be
    screen, is programmable by channel, and applied as a                   presented. As described previously, the patient HHP 202
    distribution between maximum and sense thresholds for a                comprises an RF handheld battery-operated device that
    group of assigned electrodes. The amplitude for the group              communicates with the IPG 100, the external trial stimulator
    may be selected as a level from 1-10, where a “1” represents      15   140, or the clinician programmer 204. Advantageously, the
    the sense threshold for each electrode in the group, and a             electrical circuitry and user interface of the patient handheld
    “10' represents the maximum threshold. The pulse width                 programmer 202 provide limited parameter control that is
    and rate are also selectable for the group, and applied to the         simple, intuitive and safe. The programmer 202 is compact
    group-assigned electrodes. Although the programming soft               in size, includes a lighted flat panel display screen 240, and
    ware permits a physician to program electrodes by group,               allows a plurality of separate programs to be stored therein.
    each electrode is individually controlled by the implant, and          The screen 240 may display programming information for
    telemetered data is electrode specific. When a group is                the patient; or may display a “physician access screen'
    programmed to stimulation rates over 150 pps, the number               which is normally hidden to the patient. It operates using
    of additional groups may be limited (due to battery capac              replaceable and/or rechargeable batteries, and preferably has
    ity). A toggle lock/unlockbutton for each parameter allows        25   an operating range of about one-to-two feet or more with the
    the programming physician to set which parameters are                  IPG 100, and of at least 7 feet from the clinician’s program
    available within the hand-held patient programmer (dis                 mer 204. All programming systems (those used within the
    cussed below in conjunction with FIGS. 7A-7E).                         handheld programmer 202 and within the clinicians pro
       In one embodiment, the settings for up to four electrode            grammer 204) are always appropriately synchronized (or
    groups are referred to as a “program.” Selectable default         30   otherwise coordinated with each other) so that any changes
    parameter settings may thus comprise a program. A store/               from one are reflected in the other.
    apply button records all the settings with a program number.             A representation of one embodiment of the HHP 202 is
    Up to twenty programs can be named, stored and selected                shown in FIG. 7A. As seen in FIG. 7A, the HHP includes a
    form a drop-down program list. Thus, programs may be                   lighted display screen 240 and a button pad 241 that includes
    sequentially or selectively tried by the patient so that the      35   a series of buttons 242, 243, 244 and 245. (The number of
    patient may compare how one “program' feels compared to                buttons shown in FIG. 7A is exemplary only; any number of
    another.                                                               buttons may be employed, and in fact in a second preferred
       Changes in programming are duly considered relative to              embodiment five buttons are employed.) The buttons pro
    the estimated effect they will have on a projected battery             vided within the button pad 241 allow the IPG to be tuned
    discharge cycle. Should a programming change fall below a         40   ON or OFF, provide for the adjustment or setting of up to
    two day recharge and/or less than a three year expected life,          three parameters at any given time, and provide for the
    or other set times, a pop-up window appears with Suitable              selection between channels or screens. Some functions or
    warnings and possible recommendations. As needed, an                   screens may be accessible by pressing particular buttons in
    emergency off button turns all stimulation OFF, with direct            combination or for extended periods of time. In a preferred
    keyboard and mouse click access.                                  45   embodiment, the screen 240 is realized using a dot matrix
       It is thus seen that the programming window(s) allows the           type graphics display with 55 rows and 128 columns.
    output parameters for each channel to be programmed with                  The button pad 241, in a preferred embodiment, com
    additional capability and specificity. For example, biphasic           prises a membrane Switch with metal domes positioned over
    verses passive balance pulses, active multipolar driving of            a flex circuit, which bonds to the top housing of the HHP. A
    cathodes and anodes (field focusing), and amplitude selec         50   keypad connector connects directly a printed circuit board
    tion for individual electrodes.                                        (PCB) of the HHP, and the bonding to the housing seals the
       Unique programming algorithms may also be employed                  connector opening.
    which provide, e.g., automated and directional programming                In a preferred embodiment, the patient handheld program
    features. Automated programming may be used, e.g., to use              mer 202 is turned ON by pressing any button, and is
    known thresholds and pain/paresthesia mapping to recom            55   automatically turned OFF after a designated duration of
    mend configurations and parameters based on preset rules               disuse, e.g., 1 minute. One of the buttons, e.g., the IPG
    and database information. Automated programming maps                   button 242, functions as an ON-OFF button for immediate
    paresthesia sites over pain sites. Directional programming             access to turn the IPG on and off. When the IPG is turned
    features may be as disclosed in U.S. Pat. No. 6,052,624,               ON, all channels are turned on to their last settings. If slow
    previously referenced. Such directional programming uses a        60   start/end is enabled, the stimulation intensity is ramped up
    joystick, or other means, to configure electrodes within               gradually when the IPG (or ETS) is first turned ON with the
    certain limitations for selection, polarity, and amplitude             HHP. When the IPG is turned OFF, all channels are turned
    distribution in response to a directional input and in an              off. If slow start/end is enabled, the stimulation intensity
    intuitive and physiologic manner.                                      may be ramped down gradually rather than abruptly turned
       Advantageously, as previously indicated, the program           65   off. Another of the buttons, e.g., the SEL button 243,
    ming software used within the clinician programmer 204                 functions as a “select” button that allows the handheld
    (FIG. 1), whether the referenced ClinPro software or other             programmer to Switch between screen displays and/or
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    parameters. Up/down buttons 244 and 245 provide imme                   battery status indicators to alert the user of various battery
    diate access to any of three parameters, e.g., amplitude,              conditions such as a warning that the battery needs to be
    pulse width, and rate.                                                 recharged. Other tones, patterns of Sound or music can
       Also included on the screens shown on the display 240 of            indicate to the user other information about the the IPG
    the handheld programmer 202 are status icons or other                  status, such as the approach of battery end-of-life which
    informational displays. A battery recharge countdown num               indicates that the rechargeable battery may need to be
    ber 246 shows the estimated time left before the battery of            replaced and not simply recharged. It is emphasized that the
    the IPG needs to be recharged. A battery status icon 248               second status indicator located on or inside the medical
    further shows or displays the estimated implant battery                device and the status indicator in the external programmer or
    capacity. This icon flashes (or otherwise changes in some         10   HHP may be used alone or in combination. Thus, a system
    fashion) in order to alert the users when a low battery                may incorporate one, two or even more status indicators,
    condition is sensed. Other battery status information which            located in the external programmer or in the IPG.
    may be displayed include when the battery was last                       A second form of status indicator is applicable only for
    recharged, how long it was recharged and the number of                 medical devices that are stimulators such as IPGs, which
    times the battery has been recharged. These data can provide      15   deliver electrical stimulation. This form of status indicator is
    a further indication of how long the battery is expected to            not available to a non-stimulating medical device Such as
    last and also can provide the clinician with an indication of          drug infusion pumps. If the implantable medical device is a
    patient compliance in re-charging the battery. Every time the          stimulator, the device can deliver a perceptible sequence of
    patient programmer is activated to program or turn on the              stimulation to alert the user concerning battery status infor
    IPG, the actual battery status of the implanted pulse gen              mation. This form of status indicator may be used alone or
    erator (IPG) is interrogated and retrieved by telemetry to             in combination with other status indicators that are incor
    reconcile actual verses estimated battery capacity. Other              porated into the external programmer and/or the stimulator.
    status icons 250 are provided that display the status of the              In the SCS application, for example, an electrical stimu
    patient-programmer-to-implant link and the patient-pro                 lation having an alternate on or off pattern may be distin
    grammer-to-clinician-programmer link.                             25   guishable to a patient who can physically sense an output
       In addition, LCD, LED or other types of visual displays             that is not the usual, operative pattern of stimulation used
    can be used as status indicators to display the countdown              during therapy. In a cochlear application, the implantable
    number 246, the battery status icon 248 for indicating the             device may provide a particular pattern of stimulation so that
    level of battery charge, the number of times the battery has           a patient/user can hear distinguishable Sounds, tones, pat
    been recharged, when the last recharge occurred, and the          30   terns of Sounds, or music that can signal or relate messages
    duration of the last recharge. Other forms of status indicators        such as “time to recharge”, “low battery' or other IPG
    incorporated into the external programmer or HHP 202                   battery status indications. Furthermore, recorded or synthe
    include an audible sound produced from a speaker or noise              sized speech may be used in a more Sophisticated system to
    producing component. Distinctive tones, pattern of Sounds,             actually relay a spoken message to a user through direct
    music or voice messages may be emitted at the HHP (or             35   stimulation of the cochlear nerves. Phrases such as “time to
    external programmer) to indicate battery status information            recharge' may be initiated automatically when the system
    such as the battery countdown, the number of times the                 detects a low battery condition.
    battery has been recharged and the time of last recharge. Still           As a safety feature, the physician may lock out or set
    another means for alerting the user or clinician to battery            selectable parameter ranges in the HHP or external program
    status is vibrations emanating from the HHP. Because the          40   mer via the fitting station to prevent the patient from
    HHP is small and may be carried in a pocket, a vibration of            accessing undesirable settings (i.e., a lockout range). Typi
    the HHP may be used in conjunction with or separately from             cally, locked parameters are dropped from the screen dis
    other disclosed status indicators to alert the user to a low           play.
    battery condition indicating that the implanted IPG needs                 The main screen displayed by default upon activation of
    immediate recharge. The vibration of the HHP may be               45   the handheld programmer 202 shows amplitude and rate by
    achieved by known means, for example, means for obtaining              channel, as illustrated in FIG. 7A. As shown in FIG. 7A, the
    vibration of portable cells phones. The status indicators such         display is for channel 1, the amplitude is 7.2 ma, and the rate
    as emission of Sounds and vibrations may be programmed to              is 100 pps. Thus, it is seen that the channel number (or
    occur automatically when the device is within telemetry                abbreviated channel name as set by the clinician program
    distance from the implanted medical device. Or the status         50   mer) is displayed on the screen with the parameters. Ampli
    indicators may be programmed to occur after the external               tude is the preferred default selection (i.e., it is the parameter
    programmer interrogates the implanted medical device.                  that is displayed when the unit is first turned ON).
       Battery charging and battery status information may be                 Whenever a displayed parameter is changed, the settings
    stored in the IPG memory 162 or other memory (not shown)               of the IPG 100 are changed via telemetry to reflect the
    continuously until the IPG is interrogated by the HHP. Such       55   change. However, in order to assure that the IPG has
    battery charging information as the number of times the                received the telemetry signal and made the corresponding
    battery has been charged, the rate of charge and the duration          change without a discrepancy between the IPG and the value
    of the last charge may be information that may be less useful          displayed, a back telemetry response must be received from
    to the patient and therefore the access to Such information            the IPG before the screen value changes. Only the param
    can be locked out to the patient and recalled only through the    60   eters that have not been locked out from the clinicians
    clinician program.                                                     programming station are adjustable. Further, only those
       Alternatively, a second status indicator may be located on          channels that have electrodes programmed for stimulation
    or inside the medical device, i.e., the IPG, instead of the            are selectable.
    HHP. The IPG or other implantable medical device may                      In addition to the channel screens (FIG. 7A), another
    incorporate a sound producing component such as a tiny            65   screen that may be displayed is a feature Screen. A repre
    speaker or noisemaker. Various audible sounds, such as                 sentation of a representative feature screen is shown in FIG.
    tones, patterns of Sound, or even music may be used as                 7B. The feature screen may be selected, e.g., by pressing and
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    holding the SEL button 243 for a predetermined time, e.g.,             change. The associated channel may also be selected. For a
    two seconds. The feature screen displays the selected pro              highlighted (selected) electrode, the parameters may be
    gram, e.g., by displaying its number, as shown at location             adjusted. If the amplitude is set to Zero, the electrode is
    252 in FIG. 7B. In addition to the program number (or other            turned OFF. By increasing the amplitude, the electrode is
    identification of the program), the screen also displays               given a cathode polarity, illustrated by a "- over the
    schedule options, e.g., as shown at location 254. These                highlighted electrode. From Zero, if the amplitude is
    schedule options allow the patient to preset ON and OFF                decreased, no numeric value is displayed, but a "+" sign is
    times of the IPG (e.g., turn ON at 6:00 AM and run until               shown both in the amplitude value location 256 and over the
    10:00 PM, at which time the IPG automatically turns OFF).              highlighted electrode, indicating a passive anode. Electrode
    Also displayed are the status icons and other informational       10   amplitudes should be set at the sense threshold for use in
    displays 246,248 and 250. For example, up to four programs             patient screens as channel level 1.
    may be stored in the memory of the handheld programmer                    The clinician program may be used to access specific
    202. Programs comprise preset stimulation parameters for               device performance information that is restricted to the
    the four possible channels, as explained previously. Pro               clinician. An example of Such information is battery status
    grams may be named and downloaded from the clinician              15   information. Such information is important for the clinician
    programmer. Upon selection of a program (1–4), the stimu               to understand patient compliance with recharging the battery
    lation parameters in the IPG are gradually adjusted (to                in a timely fashion. While the patient may need information
    prevent jumps or Sudden leaps) to a predetermined set of               on whether the rechargeable battery needs to be recharged at
    values. The patient may change the parameters from the                 that moment, other types of battery status information Such
    main screen at any time, but selection of a pre-defined                as the number of times recharged, the last recharge, the
    “program' always causes the IPG to revert to the settings              duration of the last recharge, and the last time the recharge
    defined for that program. If the patient adjusts parameters so         occurred, can be restricted to the clinician program since
    that they do not match a stored program, no program name               Such information may be less relevant to the patient. As
    of number is displayed until the patient scrolls to select one.        described previously, the physician may lock out certain
       The patient may also record or overwrite a program from        25   information so that it is not normally displayed on the HHP,
    the patient handheld programmer, i.e., without using the               except through the clinician program which can only be
    clinician programmer 204. In one embodiment, this is done              accessed by a physician or clinician using a pass key or
    by setting the parameters to their desired value for the new           password.
    program, and then pressing the up/down buttons 244 and                    In operation, the medical device Such as an IPG having a
    245 simultaneously (which records the new settings as a new       30   rechargeable battery can be used with an external program
    program). The first time the up/down buttons 244 and 245               mer, e.g., a HHP, to provide the patient or the clinician with
    are pressed simultaneously to record a program (i.e., to               information about the battery status. In one aspect of the
    record the current settings as a program), the program is              present invention a method is provided for indicating the
    assigned as program number 1. The second time the                      status of the rechargeable battery contained within the
    up/down buttons are pressed, the existing settings are stored     35   implantable device. The method comprises: (a) implanting
    as program number two, and so on. Thus, the first four                 the medical device; (b) interrogating the medical device with
    programs should be recorded sequentially until all four are            the external programmer to upload battery status informa
    written. The parameter values associated with each of the              tion from a memory storage within the medical device Such
    new programs are stored in non-volatile memory within the              as an IPG, and (c) indicating the battery status with a status
    handheld programmer 202. Thus, in the event the IPG loses         40   indicator that is incorporated inside or on the external
    data, it may be easily reset to a desired program by turning           programmer. Such a status indicator includes visual dis
    ON the handheld programmer and selecting the desired                   plays, audible sounds, and vibration of an HHP. The external
    program.                                                               programmer may be a small portable unit such as the HHP.
      Additionally included within the handheld programmer                    Another method, in accordance with the invention, places
    202 is a hidden physician screen displaying a "clinician          45   the battery status indicator within the medical device, e.g.,
    program'. One representation of Such a hidden screen,                  the IPG. In that case the method comprises: (a) implanting
    shown in FIG. 7C, is made available so that medical                    the medical device into a patient and (b) indicating the
    personnel may use the handheld programmer 202 to set                   battery status information with a battery status indicator
    channels and electrodes. Access to the hidden physician                located on or inside the medical device. As described, such
    screen is made available through a specified coded button         50   a status indicator can include an audible Sound, vibration,
    combination (“password or keycode system'), e.g., pressing             and in the case of neurostimulators, delivery of an electrical
    the IPG button 242 and the up/down buttons 244 and 245                 stimulation that can be perceived by the patient as distin
    simultaneously, followed by pressing a set sequence of the             guished from normal, operative stimulation used for the
    other buttons, e.g. pressing the SEL button 243 once, fol              therapy. It can be seen that status indicators incorporated
    lowed by the pressing the down button 245 twice. Once the         55   into the external programmer or the IPG may be used alone
    hidden physician screen has been activated, not only does              or in combination. Indeed, when the medical device is a
    the physician's screen appear, but also a telemetered inter            neurostimulator, a specific electrical stimulus delivered
    rogation of the IPG is initiated in order to determine (e.g.,          directly to target nerves may be used as a status indicator and
    through electrode impedance detection) which electrodes                combined with the use of other status indicators such as an
    are available. The electrodes, which are visibly displayed on     60   audible sound or vibration that are located in the IPG or in
    the physician's screen at location 254, may be tested. The             the external programmer.
    parameter settings for a selected channel are displayed on                The patient handheld programmer 202 is Small enough to
    the physician's screen at location 256, and the channel                hold comfortably in one hand. It has a flat panel display that
    number is likewise displayed at location 258. While the                shows programmable values as they are selected and/or
    physician’s Screen is activated, the up/down buttons 244 and      65   modified. As desired, it may be inserted into a cover-case
    245 are used to select individual electrodes for program               which protects the buttons from being inadvertently pressed.
    ming, identified on the screen by a highlighting (contrast)            It further includes an accessible battery compartment which
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    allows its batteries to be replaced, as needed. The buttons or synchronization is not maintained by either the IPG or the
    other controls used on the handheld programmer are easy to HHP. Hence, the normal method of opening a communica
    manipulate, and provide immediate access (without Scroll tion link between the HHP 202 and the IPG 100 is for the
    ing and selecting) to ON/OFF, amplitude, pulse width and HHP to send more than one second of attention preamble
    rate settings. A visual display provided as an integral part of 5 bits, followed by a frame sync byte 664, a telemetry ID byte
    the handheld programmer clearly labels each parameter with 666, and then the data packet 668. The preamble bits are
    the associated control button, and displays large characters used to obtain bit synchronization between the transmitter
    for easy viewing. The handheld programmer reliably pro and the receiver. At least eight bits of preamble must be
    grams the IPG from a distance of at least 2 feet, and actively received to ensure bit synchronization.
    displays the status of the communication link with the IPG. 10 The frame sync byte 664 follows the preamble bits 662.
    Further, when used as a relay device between the clinicians The frame sync byte, in the preferred embodiment, is
    programmer 204 and the IPG 100, the handheld programmer “10110000, and is used to obtain byte synchronization
    202 provides a data rate and loop speed that is sufficiently between the transmitter and the receiver.
    fast so that the patient can make programming selection              The telemetry ID 666 follows the frame sync byte 664.
    changes and quickly feel the result. As a safety feature, any 15 The telemetry ID comprises a 3 byte value that is used to
    given handheld programmer 202 is able to communicate ensure that only the intended receiver receives the message
    only with one IPG 100 when operated by the patient, being sent. A telemetry ID that is all 1 s, e.g., “11111111...”
    whereas a physician may (when the hidden physician Screen indicates a broadcast message that is received by all receiv
    is activated) use the handheld programmer 202 to commu             CS.
    nicate universally with any IPG.                                     The data packet 668 follows the telemetry ID 666. The
       From a circuit point of view, the HHP 202 includes the data packet 668 comprises an integer number of bytes, and
    elements shown in FIG. 7D. Such elements include a                 may be formatted in any Suitable manner. Command data
    microprocessor 620, or processor IC. A main battery 622, typically includes amplitude, polarity and pulse width data
    e.g., a single AA-sized battery cell providing 3.6 Volts dc, for each electrode available on the array. Such pulse-defin
    provides operating power for the HHP. The voltage from the 25 ing data may be stored in memory for a plurality of different
    battery 622 is regulated by a line regulator circuit 623, which stimulation programs, in which case the command data may
    line regulator reduces the operating Voltage to about 3.3 to simply comprise a selection of one of the stored programs.
    3.0 volts dc. External Power-On Reset circuitry 624 controls Command data may also comprise interrogation data to
    the manner in which the HHP is turned ON. A keypad 625, check the status of various IPG components, such as the
    coupled with key debouncer/ESD suppresser circuitry 626, 30 battery; or instructions to perform an impedance measure
    key reset circuitry 627, key interrupt generator circuitry 628, ment, as described more fully below.
    and input port circuitry 629, combine to provide one of the          To ensure the integrity of transmitted data, a code such as
    primary ways for manually sending control data to the HHP a checksum or Cyclical Redundancy Code (CRC) is
    processor IC 620. The input port circuitry 629, as well as appended to the data. This code is generated from the data
    SRAM memory circuitry 630, connect with the processor IC 35 itself. If the generated code does not match the received
    620 via an I/O bus 632. The LCD screen 240, including code, a data error is detected. Some codes contain informa
    appropriate driver circuitry, interfaces directly with the tion that allows the received data to be corrected, thereby
    processor IC 620 over a dedicated LCD bus 633. Control avoiding retransmission of the data.
    commands for the LCD display 240 are sent via the I/O bus            Turning next to FIG. 8, the external components of a
    632 through an output port 634. Infrared communications 40 representative portable charging station (CHR) that may be
    with the HHP 202 occur through an IrDA module 640 used with the invention are illustrated. The portable charging
    connected through a wired serial communications port 642 station provides a recharging system that is used to trans
    and a UART circuit 644. The UART circuit 644 is connected          cutaneoulsy recharge the battery of the IPG 100 as needed,
    to the processor IC 620 via a data and clock bus 645. Control via inductive coupling. That is, energy from an external
    for the UART circuit 644 is obtained via the I/O bus 632 45 power source is coupled to the battery, or other replenishable
    through another output port 635. Another memory circuit power source, within the IPG 100 via electromagnetic
    646, e.g., a serial EEPROM circuit, is connected to the coupling. Once power is induced in the charging coil in the
    processor IC 620 via a serial ROM port 647.                        IPG, charge control circuitry within the IPG provides the
       As further seen in FIG. 7D, a crystal 636 is connected to proper charging protocol to charge the Lithium Ion battery.
    the processor IC and is connected so as to provide the basic 50 The charger is designed to charge the IPG battery to 80%
    oscillator/clock signal used by the processor as it carries out capacity in two hours, and to 100% in three hours, at implant
    its various functions. In the preferred embodiment, the depths of up to 2.5 cm. When charging is complete, an
    crystal 636 oscillates at a frequency of about 1.049 MHz. audible tone is generated by the charger to alert the user to
    Also, a piezo alarm 634 is connected to the processor IC in remove the charger. An alignment indicator also provides
    order to allow audible alarm tones to be generated.             55 audible feedback to the user for location the IPG.
       Additionally, as seen in FIG. 7D, the processor IC 620            As seen in FIG. 8, the charging station includes a two part
    includes an RF module 650 that connects to an antenna 652          system comprising a portable charger 208 and a charging
    via an RF Receiver circuit 653 and an RF transmitter circuit       base station 210. The charging port 210 is connected to an
    654. It is through this RF module 650 and related circuitry AC plug 211, and may thus be easily plugged into any
    that the HHP 202 sends and receives RF command signals. 60 standard 110 VAC or 220VAC outlet. The portable charger
       RF communication between the HHP 202 and the IPG                208 includes recharging circuitry housed within a housing
    100 (FIG. 1) is achieved data words 660 having a signal 270 that may be detachably inserted into the charging port
    format as shown in FIG. 7E. A preamble 662 comprises a bit 210 in order to be recharged. Thus, both the IPG and the
    stream that represents either a string of 10's (normal pre portable charger 208 are rechargeable. The housing 270 may
    amble) or a series of 110s (attention preamble). In each 65 be returned to the charging port 210 between uses.
    case, the least significant bit (LSB) is transmitted first. The      In one embodiment, shown as “Package B' in FIG. 8, a
    attention preamble is a variable length 110110. Timing charging head 272 is connected to the recharging circuitry
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    270 by way of a suitable flexible cable 274. When the IPG                overcharged. A fuse 689 also protects the battery 180 from
    battery needs to be recharged, a disposable adhesive pouch               being charged with too much current. The fuse 689 also
    276 or Velcro(R) strip may be placed on the patient’s skin,              protects from an excessive discharge in the event of an
    over the location where the IPG is implanted. The charging               external short circuit.
    head 272 is then simply slid into the pouch, or fastened to         5       Thus, from FIG. 9A, it is seen that the battery charging
    the strip, so that it is within 2-3 cm of the IPG. In order for          system consists of external charger circuitry 208, used on an
    efficient transfer of energy to the IPG, it is important that the        as-needed basis, and implantable circuitry contained within
    head 272 (or more particularly, the coil within the head 272)            the IPG 100. In the charger 208, the rechargeable Li-ion
    be properly aligned with the IPG. Thus, in a preferred                   battery 277 (recharged through the base station 210) pro
    embodiment, an indicator light 273 placed on the housing            10   vides a voltage source for the power amplifier 275 to drive
    270 provides a visual indication when proper alignment has               the primary coil 279 at a resonant frequency. The secondary
    been achieved. Once aligned, the recharging function is                  coil 680, in the IPG 100, is tuned to the same resonant
    activated. Backtelemetry with the IPG allows the charging                frequency, and the induced AC voltage is converted to a DC
    process to be monitored. Typically, charging continues until             voltage by rectifier circuit 682. In a preferred embodiment,
    the implant battery has been charged to at least 80% of             15   the rectifier circuit 682 comprises a bridge rectifier circuit.
    capacity.                                                                The charge controller IC 684 converts the induced power
       An alternative embodiment of the portable charger 208,                into the proper charge current and Voltage for the battery.
    shown as “Package A' in FIG. 8, includes the recharging                  The battery protection IC 686, with its FET switch 688, is in
    circuitry and battery and charging head housed within a                  series with the charge controller 684, and keeps the battery
    single round package 272'. Such package is less than three               within safe operating limits. Should an overvoltage, under
    inches in diameter and is comfortable to hold against the                voltage, or short-circuit condition be detected, the battery
    skin. The adhesive pouch 276 need not necessarily comprise               180 is disconnected from the fault. The fuse 689 in series
    a pouch, but may utilize any suitable means for holding the              with the battery 180 provides additional overcurrent protec
    head (coil) of the charger 208 in proper alignment with the              tion. Charge completion detection is achieved by a back
    IPG, such as Velcro(R) strips or patches.                           25   telemetry transmitter 690, which transmitter modulates the
       Alternatively, once proper alignment with the IPG has                 secondary load by changing the full-wave rectifier into a
    been achieved, as indicated by the visual indicator 273'                 half-wave rectifier/voltage clamp. This modulation is, in
    included on the round package 272", or the indicator 273                 turn, sensed in the charger 208 as a change in the coil voltage
    included on the package 270, or as otherwise included in the             due to the change in the reflected impedance. When
    charging station, the charger 208 may simply be taped in            30   detected, an audible alarm is generated through a back
    place on the patient’s skin using removable medical tape.                telemetry receiver 692 and speaker 693. Reflected imped
       FIG. 9A illustrates a block diagram of the recharging                 ance due to secondary loading is also used to indicate
    elements of the invention. As shown in FIG. 9A (and as also              charger/IPG alignment, as explained in more detail below in
    evident in FIGS. 4A and 4B), the IPG 100 is implanted under              conjunction with the description of FIG. 9B.
    the patient’s skin 279. The IPG includes a replenishable            35      In a preferred embodiment, and still with reference to
    power source 180, such as a rechargeable battery. It is this             FIG. 9A, the charge coil 680 comprises a 36 turn, single
    replenishable power source that must be replenished or                   layer, 30 AWG copper air-core coil, and has a typical
    recharged on a regular basis, or as needed, so that the IPG              inductance of 45 pH and a DC resistance of about 1.15
    100 can carry out its intended function. To that end, the                ohms. The coil 680 is tuned for resonance at 80 KHZ with
    recharging system of the present invention uses the portable        40   a parallel capacitor. The rectifier 682 comprises a full-wave
    external charger 208 to couple energy, represented in FIG.               (bridge) rectifier consisting of four Schottky diodes. The
    9A by the wavy arrow 290, into the IPG’s power source 180.               charge controller IC 684 comprises an off-the-shelf, linear
    The portable external charger 208, in turn, obtains the                  regulation battery charger IC available from Linear Tech
    energy 290 that it couples into the power source 180 from its            nology as part number LTC1731-4.1. Such charger is con
    own battery 277.                                                    45   figured to regulate the battery voltage to 4.1 VDC. When the
       The battery 277 in the charger 208, in the preferred                  induced DC voltage is greater than 4.1 VDC (plus a 54 mV
    embodiment, comprises a rechargeable battery, preferably a               dropout voltage), the charge controller 684 outputs a fixed
    Lithium Ion battery. (Alternatively, the battery 277 may                 constant current of up to 80 mA, followed by a constant
    comprise a replaceable battery.) When a recharge is needed,              voltage of 4.1 +0.05 V. If insufficient power is received for
    energy 293 is coupled to the battery 277 via the charging           50   charging at the maximum rate of 80 mA, the charge con
    base station 210 in conventional manner. The charging base               troller 684 reduces the charge current so that charging can
    station 210, in turn, receives the energy it couples to the              continue. Should the battery voltage fall below 2.5 V, the
    battery 277 from an AC power line 211. A power amplifier                 battery is trickled charged at 10 mA. The charge controller
    275, included within the portable charger 208, enables the               684 is capable of recharging a battery that has been com
    transfer of energy from the battery 277 to the implant power        55   pletely discharged to Zero volts. When the charge current
    source 180. Such circuitry 275 essentially comprises DC-to               drops to 10% of the full-scale charge current, or 8 mA.
    AC conversion circuitry that converts dc power from the                  during the constant Voltage phase, an output flag is set to
    battery 277 to an ac signal that may be inductively coupled              signal that charging has completed. This flag is used to gate
    through a coil 279 located in the external charging head 272             the oscillator output for modulating the rectifier configura
    (or within the round case 272, see FIG. 8) with another coil        60   tion (full-wave to half-wave), which change in rectifier
    680 included within the IPG 100, as is known in the art.                 configuration is sensed by the external charging circuit to
    Upon receipt of such ac signal within the IPG 100, it is                 indicate charge completion.
    rectified by rectifier circuitry 682 and converted back to a dc             The battery protection IC 686, in the preferred embodi
    signal which is used to replenish the power source 180 of the            ment, comprises an off-the-shelf IC available from Motorola
    implant through a charge controller IC 684. A battery               65   as part number MC33349N-3R1. This IC monitors the
    protection IC 686 controls a FET switch 688 to make sure                 voltage and current of the implant battery 180 to ensure safe
    the battery 180 is charged at the proper rate, and is not                operation. Should the battery voltage rise above a safe
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    maximum voltage, then the battery protection IC 686 opens               ing or discharging current exceed a prescribed maximum
    the charge-enabling FET switch 688 to prevent further                   current for more than a prescribed time, e.g., 1.5 A for more
    charging. Should the battery voltage drop below a safe                  than 10 seconds.
    minimum Voltage, or should the charging current exceed a                   The battery 277 provides a power source for the RF
    safe maximum charging current, the battery protection IC           5    amplifier 275. The RF amplifier, in a preferred embodiment,
    686 prevents further discharge of the battery by turning off            comprises a class E amplifier configured to drive a large
    the charge-enabling FET switch 688. In addition, as an                  alternating current through the coil 279.
    additional safeguard, the fuse 689 disconnects the battery                 Still with reference to FIG. 9C, an alignment detection
    180 if the battery charging current exceeds 500 mA for at               circuit 695 detects the presence of the IPG 100 through
    least one second.                                                  10   changes in the reflected impedance on the coil 279.
       A state diagram that shows the various charging states that          Reflected impedance is a minimum when proper alignment
    may occur relative to the implant battery 180 is shown in               has been obtained. This means that the steady-state Voltage
    FIG. 9B. As seen in FIG. 9B, and assuming a preferred                   V1 sensed at the coil 279 is also at a minimum because
    Li-ion battery is used, a normal state 710 reflects that the            maximum coupling occurs. When maximum coupling is
    battery Voltage and charging current are within appropriate        15   detected, e.g., when V1 is at a minimum, an audible or visual
    limits. An over voltage state 712 exists when the battery               alarm may sound. In a preferred embodiment, a first audible
    voltage is greater than 4.25 V and continues until the battery          tone is generated wheneveralignment is not achieved. Thus,
    voltage is less than 4.05 V. An undervoltage state 714 exists           as a charging operation begins, the first audible tone sounds,
    when the battery voltage is less than 2.5 volts. The under              and the user seeks to position the charger 208 (or at least to
    voltage state 714 continues until the battery voltage is                position the coil 279) at a location that causes the first
    greater than 2.5 volts while charging at a prescribed trickle           audible tone to cease. Similarly, a charge complete detection
    charge current, e.g., 10 mA. An overcurrent (charging) state            circuit 697 alerts the user through generation of a second
    716 exists whenever the charging current exceeds 80 mA. If,             audible tone (preferably an ON-OFF beeping sound) when
    while in the overcurrent (charging) state 716, the battery              the IPG battery 180 is fully charged. A fully charged
    Voltage is greater than 4.25 Volts, then the over Voltage State    25   condition is also sensed by monitoring the reflected imped
    712 is entered. If, while in the overcurrent (charging) state           ance through the coil 279. As indicated above, a fully
    716, the charging current exceeds 500 mA for more than one              charged condition is signaled from the IPG by switching the
    minute, the fuse 689 opens, and a cell disconnect state 720             rectifier circuit 682 within the IPG from a full-wave rectifier
    is permanently entered. An overcurrent (discharging) state              circuit to a half-wave rectifier circuit. When such rectifier
    718 is entered whenever the battery charging current is            30   Switching occurs, the Voltage V1 Suddenly increases (e.g., a
    greater than 100 mA, and continues until the battery charg              transient or pulsed component appears in the Voltage V1)
    ing current is less than 100 mA. If, while in the overcurrent           because the amount of reflected energy suddenly increases.
    (discharging) state 718, the battery voltage drops below 2.5            This sudden increase in V1 is detected by the charge
    volts, then the under voltage state 714 is entered. Also,               complete detection circuit 697, and once detected causes the
    should the battery current exceed 500 mA for more than one         35   second audible tone, or tone sequence, to be broadcast via
    minute while in the overcurrent (discharging) state 718, the            the speaker 693 in order to signal the user that the implant
    fuse 689 opens, and the cell disconnect state 720 is perma              battery 180 is fully charged.
    nently entered.                                                            Thus, it is seen that a feature of the SCS system described
       Turning next to FIG. 9C, a block diagram of the circuitry            herein is its use of a rechargeable internal battery and the
    within the external charging station 208 is shown. The             40   control system used to monitor its state of charge and control
    charging station comprises a portable, non-invasive trans               the charging process. The system monitors the amount of
    cutaneous energy transmission system designed to fully                  energy used by the SCS system and hence the state of charge
    charge the implant battery in under three hours (80% charge             of the battery. Through bidirectional telemetry (forward and
    in two hours). Energy for charging the IPG battery 180                  back telemetry) with the hand held programmer 202 and/or
    initially comes from the main Supply line 211, and is              45   the clinician programmer 204, the SCS system is able to
    converted to 5 VDC by an AC-DC transformer 694, which                   inform the patient or clinician of the status of the system,
    5 VDC proves the proper supply voltage for the charger base             including the state of charge, and further make requests to
    station 210. When the charger 208 is placed on the charger              initiate an external charge process when needed. The accep
    base station 210, the Li-ion battery 277 in the charger is fully        tance of energy from the external charger is entirely under
    charged in approximately four hours. Once the battery 277          50   the control of the SCS implanted system. Advantageously,
    is fully charged, it has enough energy to fully recharge the            both physical and software control exist to ensure reliable
    implant battery 180 (FIG.9A). If the charger 208 is not used            and safe use of the recharging system.
    and left on the charger base station 210, the battery 277 will             Turning next to FIG. 10, a simplified flow chart is shown
    self-discharge at a rate of about 10% per month.                        that illustrates one pulse ramping control technique that may
       Once the voltage of the battery 277 falls below a first         55   be used with the invention to provide a slow turn-on of the
    prescribed limit, e.g., 4.1 VDC, during a standby mode,                 stimulation burst. Such technique is employed because
    charging of the battery is automatically reinitiated. In addi           sometimes electrical stimulation may be perceived by the
    tion, should the external charger battery 277 be discharged             user as having an unpleasant sensation, particularly when a
    below a second prescribed limit, e.g., 2.5 VDC, the battery             train of stimulations pulses is first started. To overcome this
    277 is trickled charged until the voltage is above the second      60   unpleasant sensation, stimulation parameters have tradition
    prescribed limit, at which point normal charging resumes.               ally been modulated at the beginning of the pulse train, e.g.,
       A battery protection circuit 698 monitors if an over                 by increasing the width of the delivered pulses until the final
    Voltage, under Voltage, or overcurrent condition occurs, and            desired pulse width is achieved. Unfortunately, pulse width
    disconnects the battery, e.g., through opening at least one of          (duration) modulation has the undesirable characteristic of
    the FET switches 701 and/or 702, or from the fault until           65   applying narrow pulses at the beginning of the stimulation
    normal operating conditions exist. Another Switch 699, e.g.,            burst; yet such narrow pulses have been found in clinical
    a thermal fuse, will disconnect the battery should the charg            research to be unpleasant in their own right. The present
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                                 45                                                                      46
    invention thus avoids ramp modulation of pulse width at the            microcontroller (or other control element), triggers a stimu
    beginning of a stimulation burst, and replaces Such modu               lation pulse (block 306). Such triggering causes the contents
    lation with pulse amplitude modulation, maintaining the                of the accumulator register to be sent to the D/A converter(s)
    pulse width as wide as possible, e.g., as wide as the final            responsible for setting the amplitude of the stimulation pulse
    pulse duration.                                                        (block 308). At the same time, the stimulation amplitude
       The automatic pulse ramping control system that may be              defined by the D/A converter(s) is gated to the designated
    used with the present invention modulates pulse amplitude              electrode node(s) for the time period T1 set by a countdown
    rather than pulse duration and does so with hardware dedi              (at a known clock rate) of the PW register (block 310). The
    cated to that function. Advantageously, there is no need for           result is a stimulation pulse having a pulse width as defined
    a controller to monitor and perform the modulation task. At       10   by the pulse width register and an amplitude as defined by
    the start of a stimulation burst, a group of dedicated hard            the contents of the accumulator register. Next, the step
    ware registers hold the amplitude start value, the step size           number register is decremented (block 312). Then, a check
    values, and the number of steps to add to the starting                 is made to determine is the step number register has decre
    amplitude before the stimulation reaches its assigned pla              mented to zero (block 314). If NO, then the value of the step
    teau. The registers are loaded by the controller, with the        15   value register is added to the accumulator register (block
    actual start of the stimulation burst being triggered in               316) and the process continues (blocks 306, 308, 310, 312,
    conventional manner. The hardware circuitry loads the start            314) for the next stimulation pulse in the burst sequence.
    ing value into an accumulator, and then adds the contents of           Such next stimulation pulse will have an increased ampli
    the step value register to the contents held in the accumu             tude due to the adding of the step value to the value held in
    lator. The result of this addition is then transferred to a            the accumulator register. If the step number register is Zero
    digital-to-analog converter (DAC) circuit which is respon              (YES branch of off block 314), then no change is made to
    sible for actually generating the stimulation pulse (see FIG.          the value stored in the accumulator register (block 316 is
    4A or 4C). Another counter keeps track of the programmed               bypassed) and the amplitude of the stimulation pulses gen
    pulse duration. Yet another counter may be used to track the           erated thereafter have a constant amplitude as determined by
    number of pulses that have been generated. The duration           25   the now static value held in the accumulator register.
    counter, i.e., the counter responsible for setting the pulse              After each stimulation pulse is generated, a check is also
    width or pulse duration, gates the D/A converter value to the          made to determine the contents of the burst number register
    electrode. The step counter, which is loaded prior to or at the        (block 318). If the burst is complete (YES branch of block
    trigger point of the stimulation burst with the number of              320), then the burst sequence stops (block 321). Otherwise,
    pulses to be included in the ramp-up sequence, is decre           30   the process continues for each pulse in the burst sequence.
    mented each time a pulse is generated. For each pulse count            Note that the burst number register may, in some embodi
    thus decremented, the amplitude held in the accumulator                ments, be set to a certain time of day (e.g., 10:00 PM), and
    register is increased by the step value. When the step counter         the checking of the burst number register (at block 320) may
    finally reaches Zero, the step value is no longer added to the         comprise comparing the current time of day (obtained from
    accumulator, and the accumulator value thereafter remains         35   a suitable real-time clock included as part of the stimulator)
    static, and is used every time the cathodic active phase is            with the contents of the burst number register. Alternatively,
    required, until the burst stops. When a new burst is triggered         the burst number register may be loaded with a set number
    again, the amplitude ramp-up process repeats to provide a              of pulses, e.g., 1000, that are to be included in a burst
    slow turn-on of the stimulation pulses. The same process is            sequence. After the set number of pulses has been generated,
    reversed at the end of a burst to avoid unpleasant sensations     40   the burst sequence automatically ceases, and no further
    associated with Sudden cessation of stimulation.                       stimulation pulses or burst sequences are provided until the
       One process that may be used to modulate the stimulation            microcontroller, or other control element indicates that a
    pulse amplitude in accordance with the preceding paragraph             new burst sequence is to start.
    is illustrated in the flow diagram of FIG. 10. As seen in FIG.           In the manner described above, it is thus seen that the SCS
    10, when a burst sequence is commenced (block 301), a set         45   system of the present invention advantageously provides a
    of hardware registers is loaded with appropriate initial data          gradual ramp up, or slow turn-on, of the stimulation pulse
    (block 302). These hardware registers and the initial data             amplitude, when first initiated at the commencement of each
    loaded therein include a starting amplitude register, an               burst sequence, so as to avoid any unpleasant sensations that
    amplitude step value register, a pulse width value register, a         might otherwise be perceived by the user, as well as a slow
    step number register, and a burst number register. The            50   turn-off, or gradual ramp down, at the conclusion of a burst
    starting amplitude register is loaded with data that defines           sequence so as to avoid unpleasant sensations associated
    the starting amplitude of the first pulse in a burst sequence.         with Sudden cessation of stimulation.
    The amplitude step value register defines how much the                    Another important feature of the present invention is the
    amplitude of the stimulation pulse increases as the burst              ability of the SCS system to measure the electrode imped
    sequence of pulses is ramped up to its final value. The pulse     55   ance. This is important because implanted electrical stimu
    width (PW) register defines a duration of time T1 which sets           lation systems depend upon the stability of the devices to be
    the programmed pulse width of the current phase of the                 able to convey electrical pulses of known energy to the
    stimulation pulse. The step number register defines the                target tissue to be excited. The target tissue represents a
    number of pulses that are included in the ramp-up portion of           known electrical load into which the electrical energy asso
    the stimulation burst. The burst number defines the number        60   ciated with the stimulation pulse is to be delivered. If the
    of pulses to be included in the stimulation burst. (As one             impedance is too high, that Suggests the connector and or
    option, when set to a maximum value, the stimulation burst             lead which connects with the electrode may be open or
    continues indefinitely until the stimulation function is manu          broken. If the impedance is too low, that Suggest there may
    ally turned off.)                                                      be a short circuit somewhere in the connector/lead system.
       Once the initial data is loaded into the hardware registers,   65   In either event (too high or too low impedance), the device
    the contents of the starting value register are transferred or         may be unable to perform its intended function. Hence, the
    sent to an accumulator register (block 304). Then, the                 impedance of a connector/lead/electrode interface to the
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                                  47                                                                    48
    tissue is a general measure of the fitness of the system to            Such an impedance Voltage Sweep measurement is illustrated
    perform its required function. The inability of a device to            in the flow diagram of FIG. 11B.
    measure Such impedance, which unfortunately is the case                   As seen in FIG. 11B, a first step in the impedance voltage
    with many stimulator devices on the market today, means                sweep measurements is for the HHP to request and save the
    that when changes in the electrode/lead/connector properties           IPG stimulation parameters (block 740). Next, the HHP
    occur (as they likely will over time). Such changes may go             issues a command for sampling parameters, including the
    unnoticed until serious deficiencies in the performance of             sample delay words, and sampling trigger (block 741). Then,
    the system are noted. In contrast, the ability to regularly,           the HHP requests that an Impedance Voltage Sweep be
    easily and reliably measure impedance in a consistent man              performed (block 742), which typically includes sending at
    ner is critical to the optimal function of Such an implanted      10   least the following parameters to the IPG: electrode mask,
    system.                                                                frequency, current setting, pulse width, number of samples,
       In order to measure electrode impedance, the present                and ADC gain and offset. When received by the IPG, the IPG
    invention has circuitry 194" resident on the analog IC 190'            saves a copy of all operating parameters and stops stimula
    (see FIG. 4B) that is used to measure the voltage at the               tion (block 743). Additionally, slow (or soft) start is turned
    stimulus outputs. Such measurement circuitry is detailed in       15   off, and all electrode amplitudes are set to Zero. Then, the
    FIG. 11A. The architecture for the measurement strategy                impedance Voltage array (the location where the measure
    used by the circuit shown in FIG. 11A revolves around the              ments are to be stored within the IPG) is set to Zero, and an
    selection of signals that are transmitted from the circuit side        electrode counter is set to one (block 744).
    of the electrode coupling capacitor C through a 16-to-1                  Next, a decision is made as to whether the electrode
    multiplexor 730 into a buffer amplifier 732. (In FIG. 11A,             indicated by the electrode counter value is present in the
    the current source 734 represents the output current source            mask (block 745). If YES, then the amplitude of the stimulus
    4C06 programmed by the NDAC 4C07, assuming monopo                      current for the electrode indicated by the electrode counter
    lar stimulation is applied between one of the sixteen elec             is set to the measurement amplitude (block 746), e.g., 1 mA,
    trodes En and the indifferent electrode 4C11, as shown in              and other parameters are appropriately set. That is, the MUX
    FIG. 4C.) The voltage signal to be measured is the difference     25   730 in the analog IC 190' is set for the electrode being
    between the Voltage on the circuit side of the coupling                measured, the sample delay is set, the sample interrupt is
    capacitor C connected to electrode En when VH is applied               enabled, the result accumulator is cleared, and a sample
    with no current flowing (I–0), and when a current of I'=1 mA           counter is set to the sample count. Then, the stimulus current
    is flowing through the electrode En having a pulse width of            is generated. If NO, then the electrode counter is incre
    20 microseconds (us). Advantageously, the narrow pulse            30   mented (block 753); and, unless the electrode count equals
    width (20 us) and low current amplitude (1 mA) reduce the              17 (block 754), the process repeats. That is, a decision is
    chances of undesirable activation of excitable tissue and              made as to whether the electrode indicated by the electrode
    unpleasant sensations. The current amplitude during an                 counter value, which has now been incremented, is present
    impedance measurement may be increased or decreased as                 in the mask (block 745).
    needed to accommodate impedance measurements over                 35      After generation of the stimulus current (block 746), the
    larger or smaller ranges. The 1-to-16 multiplexor 730 allows           system waits for the occurrence of a sample interrupt (block
    separate Voltage measurements to be made for each elec                 747). When the sample interrupt occurs, the ADC gain and
    trode En.                                                              offset are set, the ADC channel is set, and the ADC con
       The measurement circuitry within the IPG 100, as                    version process is initiated (block 748). When the ADC
    depicted in FIG. 11A, thus measures voltages on the internal
                                                                      40   conversion process is complete (block 749), the ADC value
    connection of the electrode coupling capacitors. Using Sam             is read and added to the result accumulator, and the sample
    pling circuitry contained within the analog IC 190', the               counter is decremented (block 750). If the sample counter is
    Voltage on these points for each electrode may be selectively          not equal to zero (block 751), then the sampling process
    captured in a sample and hold circuit and then converted by            (blocks 747–750) repeats until all of the samples specified
                                                                      45   for the measurement have been taken. Once all of the
    the analog to digital converter (ADC) circuit 734 within the           samples have been taken, the stimulation is stopped, and the
    processor 160' to a digital value. This digital value may then         value in the result accumulator is divided by the sample
    be sent to the HHP 202 when a communication link is
    established, and the processor within the HHP may then                 count in order to provide an average value of the measure
    compute the impedance from these measurements.                         ments. The averaged result is then stored in the Voltage array
                                                                      50   and indexed by the electrode number (block 752).
       Advantageously, because the Voltage measurement per                   After the averaged result has been stored, the electrode
    formed using the circuitry shown in FIG. 11A is of general             counter is incremented (block 753). If the value in the
    utility to the HHP, as well as the Clinicians Programming              electrode counter is less than seventeen (block 754), then the
    System, several commands may be used to perform various                process repeats for other electrodes (blocks 745-753) until
    functions of Voltage measurement and impedance calcula            55   all of the electrodes in the mask have been measured. When
    tion. Such functions include: (1) read the Voltage on a single         all electrodes have been measured, the operating parameters
    designated electrode; (2) read the Voltage on up to 16                 are restored and stimulation is restarted, if it was on (block
    electrodes (defined by an electrode mask value); (3) program           755). Then, when a link is established with the HHP, the
    sampling parameters; (4) perform an impedance Voltage                  averaged results in the voltage array are sent to the HHP
    Sweep on all electrodes in the mask; and (5) report Voltage       60   (block 756). The HHP then uses these values to compute
    array values.                                                          impedance, or for other purposes.
       The most common of the above functions that is per                     An alternate method that may be used to measure elec
    formed is the impedance Voltage Sweep on all the electrodes            trode impedance in accordance with the present invention is
    indicated by a mask value. (A "mask value' is just a way of            to automatically sample the Voltage applied across a stimu
    defining which electrodes are available for use with a given      65   lating electrode node and corresponding reference electrode
    patient, inasmuch as not all patients will have all sixteen            (i.e., across an electrode pair) using a pair of counters, a
    electrodes available for their use.) The method of making              control register, a sample and hold circuit, an analog-to
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                                 49                                                                        50
    digital (A/D) converter, and a result register. In operation,               wherein the external programmer includes a status indi
    the two counters are loaded with values corresponding to the                   cator for indicating the status of the replenishable
    cathodic pulse duration and /2 that duration. The control                      power source within the implantable medical device.
    register synchronizes the operation of the two counters, and                2. The system of claim 1, wherein the replenishable power
    when the /2-duration counter counts down to zero, the               5
                                                                             Source is a rechargeable battery.
    control register causes the sample and hold circuit to mea
    sure or sample the electrode voltage, after which the A/D                   3. The system of claim 2, wherein the status indicator
    converter is instructed to convert the sampled Voltage to a              provides an indication of battery status, including the level
    digital value which is stored in a result register. A controlling        of battery charge.
    processor, e.g., the microcontroller 160 or 160" in the IPG         10      4. The system of claim 2, wherein the rechargeable battery
    (FIG. 4A or 4B), may then determine the apparent imped                   is a lithium-ion battery.
    ance of the electrode by knowing the Voltage measured and                   5. The system of claim 1, wherein the means for recording
    the amount of current generated for the pulse. Alternatively,            charging information is a memory storage contained within
    the impedance computation may take place in the HHP using                the implantable device, which can record battery status data,
    the processor within the HHP 202. In this manner, changes           15
                                                                             including time of charge, duration of charge, rate of charge,
    in the electrode tissue properties, as well as failures in leads,        and level of charge, and which battery status data can be
    connectors, and electrodes, may readily be recognized by the             recalled from the memory storage by the external program
    controlling system.
       One technique that may be used to achieve the impedance               mer using RF communication.
    measuring method described in the previous paragraph is                     6. The system of claim 1, wherein the battery charging
    depicted in the flow diagram of FIG. 11C. As seen in FIG.                information can only be recalled by a clinician program in
    11C, once the impedance measuring method has been                        the handheld device.
    started, a current pulse of a known amplitude and width is                  7. The system of claim 6, wherein the clinician program
    generated (block 332). This pulse is applied to the electrode            in the external programmer is enabled through a password or
    pair whose impedance is to be measured. The value of the            25   key code system.
    pulse width is loaded into a first register (also block 332).               8. The system of claim 1, wherein the status indicator is
    One half (/2) of the value of the first register is then loaded          selected from the group consisting of an audible signal
    into a second register (block 334). Both the first and second            emanating from the external programmer and a visual signal
    registers are then counted down under synchronous control
    (block 336). This count down continues until the contents of        30   on the external programmer.
    the second register are Zero (block 338). This represents                   9. The system of claim 1, further comprising:
    roughly the mid-point of the stimulation pulse that has been                means for non-invasively recharging the replenishable
    generated, and represents a sample time when transients and                    power source through the skin.
    spikes that might otherwise be present in the measured                      10. The system of claim 9, wherein the means for non
    Voltage have settled down. At this mid-point value, or              35
                                                                             invasively recharging the replenishable power source is
    sample time, the Voltage across the electrode node(s) of the             transcutaneous, RF power transmissions using a primary,
    electrode pair is sampled and measured (block 340). The                  implanted coil connected to the IPG and a secondary,
    sampled Voltage value is held in a sample and hold circuit
    (block 342). From the sample and hold circuit, the sampled               external coil connected to an external recharger, wherein the
    and measured Voltage value is passed on to an A/D con               40   primary and secondary coils are placed over each other to
    verter, where the Voltage measurement is digitized (block                effect RF power transmission.
    344), and held in a result register (block 346). The value of               11. An implantable medical device system, having a
    the current applied to the electrode while making the Voltage            rechargeable battery comprising:
    measurement is retrieved (block 348). A suitable processor,                 an implantable medical device having a housing which
    e.g., the microcontroller 160, is then used to compute the          45
                                                                                   contains processing circuitry and memory; and
    impedance as the ratio of the sampled Voltage over the
    known current (block 349). This impedance may then be                       an external programmer that may be placed in telecom
    stored and/or otherwise processed so that any significant                     municative contact with the medical device,
    changes in impedance can be immediately noted and com                      wherein the medical device includes a status indicator for
    municated (e.g., through back telemetry) to the external            50        indicating battery charging information selected from
    programming devices (hand held programmer 202 and/or                          the group consisting of a countdown, number of charge
    clinician programmer 204) used by the user or clinician.                      times, time of charge, duration of charge, rate of
      While the invention herein disclosed has been described                     charge, and level of charge of the rechargeable battery
    by means of specific embodiments and applications thereof,                    contained in the medical device,
    numerous modifications and variations could be made                 55     wherein the status indicator is a distinguishable, audible
    thereto by those skilled in the art without departing from the               Sound emanating from the medical device.
    scope of the invention set forth in the claims.                            12. The method of claim 11, wherein the sound is selected
      What is claimed is:
       1. An implantable medical device system having a replen               from the group consisting of tones, pattern of Sounds, music
                                                                             and speech.
    ishable power Source comprising:                                    60
       an implantable medical device, the device having a hous                 13. The method of claim 11, wherein the sound is selected
          ing which contains processing circuitry; and                       from the group consisting of music and speech.
       an external programmer that may be placed in telecom                     14. The method of claim 11, wherein the battery charging
          municative contact with the implantable medical                    information comprises a countdown.
         device; and                                                    65      15. The method of claim 11, wherein the battery charging
      means for recording battery charging information, which                information comprises the time of charge, duration of
        may be recalled later,                                               charge, rate of charge, and level of charge.
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                                   51                                                                       52
       16. A method for detecting and indicating the status of the              26. The system of claim 25, wherein the sound is selected
    rechargeable battery contained within an implantable medi                from the group consisting of tones, pattern of Sounds, music
    cal device that has a memory storage for storing battery                 and speech.
    status data, the method comprising:                                         27. The system of claim 24, wherein the second status
       (a) implanting the medical device; and                                indicator is the electrical signal applied to spinal cord nerves
       (b) indicating the battery status data with a status indicator        that is felt as a distinguishable perception.
         included in the medical device,                                        28. An implantable medical device system, having a
      wherein the implantable medical device is an implantable               rechargeable battery comprising:
        pulse generator (IPG) connected to an electrode array;
      wherein the status indicator is an electrical signal deliv        10      an implantable medical device having a housing which
        ered through the electrode array to produce a signal                      contains processing circuitry and memory; and
        perceived by a user in which the IPG is implanted; and                  an external programmer that may be placed in telecom
      wherein the perceived signal is distinguishable from the                    municative contact with the medical device,
        normal, operative perception produced by therapeutic                   wherein the medical device includes a status indicator for
         stimulation.                                                   15
                                                                                  indicating the status of the rechargeable battery con
       17. The method of claim 16, wherein the rechargeable                       tained in the medical device,
    battery is a lithium-ion battery.
      18. The method of claim 16, wherein the status indicator                 wherein the medical device is an implantable pulse gen
    is selected from the group consisting of an audible signal                   erator (IPG) connected to an electrode array, and
    emanating from the medical device and vibration of the                     wherein the IPG has a status indicator that is an electrical
    medical device.                                                                signal delivered through the electrode array which can
      19. The method of claim 16, wherein the status indicator                     be perceived and distinguished from normal, operative
    indicates low battery charge level, signaling the need to                      stimulation used for therapy.
    recharge the battery.                                               25
                                                                                29. The system of claim 28, wherein the electrical signals
       20. The method of claim 16, wherein the perceived signal              are delivered directly to cochlear nerves and perceived as
    is a distinguishable, Sound produced by delivering the elec              distinguishable sounds.
    trical signal directly to the user's cochlea.                               30. The system of claim 29, wherein the sounds perceived
      21. The method of claim 20, wherein the sound is selected              are selected from the group consisting of tones, pattern of
    from the group consisting of tones, pattern of Sounds, music        30   Sounds, and music and speech.
    and speech.                                                                 31. The system of claim 28, wherein the electrical signals
       22. The method of claim 16, wherein the perceived signal              are delivered to the spinal cord nerves and felt as a distin
    is a distinguishable, felt perception produced by delivering             guishable sensation.
    the electrical signal to the user's spinal cord nerves.                     32. A method for detecting and indicating the status of a
       23. An implantable medical device system having a                35   rechargeable battery contained within an implanted medical
    replenishable power source comprising:                                   device, the device having a memory storage for storing
       an implantable medical device, the device having a hous               battery status data, the method comprising:
          ing which contains processing circuitry; and                          (a) implanting the medical device;
       an external programmer that may be placed in telecom                     (b) interrogating the medical device with external hand
          municative contact with the implantable medical               40
                                                                                   held programmer (HHP) to upload battery status data
         device;                                                                   stored in memory storage; and
      wherein the external programmer includes a status indi                    (c) indicating the battery status with a status indicator is
        cator for indicating the status of the replenishable                       vibration emanating from the HHP.
        power source with the implantable medical device,
      wherein the external programmer is a portable, hand held          45      33. A method for detecting and indicating the status of a
        programmer (HHP), and                                                rechargeable battery contained within an implanted medical
      wherein the status indicator is a vibration of the HHP.                device, the device having a memory storage for storing
      24. An implantable medical device system having a                      battery status data, the method comprising:
    replenishable power source comprising:                                      (a) implanting the medical device;
                                                                        50      (b) interrogating the medical device with an external
      an implantable medical device, the device having a hous
         ing which contains processing circuitry; and                              programmer to upload battery status data stored in
      an external programmer that may be placed in telecom                         memory storage, wherein the battery status data
         municative contact with the implantable medical                           includes the last time the battery was charged, duration
         device;                                                                   of the last charge, and number of times charging has
      wherein the external programmer includes a status indi
                                                                        55         been performed; and
        cator for indicating the status of the replenishable                    (c) indicating the battery status with a status indicator
        power source within the implantable medical device,                        included on the external programmer.
      wherein the medical device is an implantable pulse gen                   34. The method of claim 33, wherein the status indicator
        erator (IPG) connected to an electrode array; and               60   is a visual signal from a display.
      wherein the IPG includes a second status indicator which                  35. The method of claim 33, wherein the battery status
         is an electrical signal delivered through the electrode             data can only be recalled by a clinician program in the
         array, which electrical signal can be perceived and                 external programmer.
         distinguished from normal, therapeutic stimulation.                    36. The method of claim 35, wherein the clinician pro
       25. The system of claim 24, wherein the second status            65   gram in the programmer is enabled through a password or
    indicator is the electrical signal applied to cochlear nerves            key code system that permits access to the clinician pro
    that is perceived as a distinguishable Sound.                            gram.
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                                 53                                                                 54
       37. A method for detecting and indicating the status of a          wherein the second status indicator is an electrical signal
    rechargeable battery contained within an implanted medical              delivered through the electrode array to produce a
    device, the device having a memory storage for storing                  signal perceived by a user in which the IPG is
    battery status data, the method comprising:                             implanted; and
       (a) implanting the medical device;
       (b) interrogating the medical device with an external              wherein the perceived electrical signal is distinguishable
          programmer to upload battery status data stored in                from the normal, operative perception produced by
          memory storage; and                                               therapeutic stimulation.
       (c) indicating the battery status with a status indicator
          included on the external programmer, and                 10     40. The method of claim 39, wherein the second status
       (d) indicating the battery status with a second status           indicator is an electrical signal delivered to the cochlea that
          indicator included in the implantable medical device.         is perceived as a distinguishable sound.
      38. The method of claim 37, wherein the second status               41. The method of claim 39, wherein the second status
    indicator is an audible Sound emanating from the medical            indicator is an electrical signal delivered to the spinal cord
    device.                                                        15
      39. The method of claim 37,                                       that is felt as a distinguishable perception.
      wherein the medical device is an implantable pulse gen
        erator (IPG) connected to an electrode array:
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                              EXHIBIT 9
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                                                                                       US009 162071B2


    (12) United States Patent                                       (10) Patent No.:                  US 9,162,071 B2
           Parram0n et al.                                          (45) Date of Patent:                       Oct. 20, 2015
    (54)   METHOD FOR CONTROLLING TELEMETRY                      (56)                    References Cited
            NAN MPLANTABLE MEDICAL DEVICE
           BASED ON POWER SOURCE CAPACITY                                        U.S. PATENT DOCUMENTS

    (71) Applicant: Boston Scientific Neuromodulation                   2,800,616 A       7, 1957 Becker
                    Corporation, Valencia, CA (US)                      3.288,641 A      1 1/1966 Rightmire
    (72) Inventors: Jordi Parramon, Valencia, CA (US);                                      (Continued)
                    Goran N. Marnfeldt, Valencia, CA (US)                     FOREIGN PATENT DOCUMENTS
    (73) Assignee: Boston Scientific Neuromodulation
                    Corporation, Valencia, CA (US)               WO               97.18857 A1        5, 1997
                                                                 WO               OO/O 1320 A3       1, 2000
    (*) Notice: Subject to any disclaimer, the term of this
                    patent is extended or adjusted under 35                                 (Continued)
                    U.S.C. 154(b) by 0 days.                                        OTHER PUBLICATIONS
    (21) Appl. No.: 14/537,669
    (22) Filed:     Nov. 10, 2014                                U.S. Appl. No. 60/748,240, filed Dec. 7, 2005. He et al.
                                                                                            (Continued)
    (65)               Prior Publication Data
           US 2015/OO661 12 A1        Mar. 5, 2015
                Related U.S. Application Data                    Primary Examiner — Deborah Malamud
                                                                 (74) Attorney, Agent, or Firm — Lewis & Reese, PLLC
    (60) Division of application No. 14/038,131, filed on Sep.
         26, 2013, now Pat. No. 8,914,129, which is a division   (57)                      ABSTRACT
                          (Continued)                            An implantable microstimulator configured for implantation
    (51)   Int. C.                                               beneath a patient’s skin for tissue stimulation to prevent and/
           A61N L/372              (2006.01)                     or treat various disorders, uses a self-contained power source.
           A61N L/375              (2006.01)                     Periodic or occasional replenishment of the power source is
                            (Continued)                          accomplished, for example, by inductive coupling with an
                                                                 external device. A bidirectional telemetry link allows the
    (52)   U.S. C.                                               microStimulator to provide information regarding the sys
           CPC .......... A61N I/37276 (2013.01); A61N I/3605    tem's status, including the power Source's charge level, and
                             (2013.01); A61N I/375 (2013.01);    stimulation parameter states. Processing circuitry automati
                            (Continued)                          cally controls the applied stimulation pulses to match a set of
                                                                 programmed stimulation parameters established for a par
    (58)   Field of Classification Search                        ticular patient. The microstimulator preferably has a cylindri
           CPC ............ A61N 1/3787; A61N 1/36125: A61N      cal hermetically sealed case having a length no greater than
                   1/37235; A61N1/08: A61N 1/378: A61N           about 27 mm and a diameter no greater than about 3.3 mm. A
                   1/025; A61N 1/05; A61N 1/37252: A61N          reference electrode is located on one end of the case and an
                       1/37276; A61N 1/36157: A61N 1/375;        active electrode is located on the other end. The case is exter
                 A61N 1/3782; A61N 1/3925; A61N 1/37217;         nally coated on selected areas with conductive and non-con
                    A61N 1/3931: A61 B 5/042: A61 B 5/686;       ductive materials.
                    G06F 19/3406; H02J 7/025; H02J 7/045;
                                                  GO1R 1970O84
           See application file for complete search history.                     10 Claims, 28 Drawing Sheets
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            CPC ........... A61N I/3727 (2013.01); A61N I/3787               6,553,263 B1      4/2003 Meadows et al.
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       METHOD FOR CONTROLLING TELEMETRY                                     reference. The described microstimulator shown in the 439
         NAN MPLANTABLE MEDICAL DEVICE                                      patent relates to an implantable device using one or more
         BASED ON POWER SOURCE CAPACITY                                     exposed, electrolytic electrodes to store electrical energy
                                                                            received by the implanted device, for the purpose of provid
               CROSS-REFERENCE TO RELATED                                   ing electrical energy to at least a portion of the internal elec
                      APPLICATIONS                                          trical circuitry of the implantable device. It uses an electro
                                                                            lytic capacitor electrode to store electrical energy in the
       This application is a divisional of U.S. patent application          electrode when exposed to body fluids.
    Ser. No. 14/038,131 now U.S. Pat. No. 8,914,129, filed Sep.               Another microstimulator known in the art is described in
    26, 2013, which is a divisional of U.S. patent application Ser.    10   U.S. Pat. No. 5,193,539, “Implantable Microstimulator.”
    No. 13/218,636 (now U.S. Pat. No. 8,571,679), filed Aug. 26,            which patent is also incorporated herein by reference. The
    2011, which is a continuation of U.S. patent application Ser.            539 patent describes a microstimulator in which power and
    No. 12/533,697, filed Jul. 31, 2009 (now U.S. Pat. No. 8,032,           information for operating the microStimulator is received
    227), which is a divisional of U.S. patent application Ser. No.         through a modulated, alternating magnetic field in which a
    1 1/534,548, filed Sep. 22, 2006 (now U.S. Pat. No. 7,587,         15   coil is adapted to function as the secondary winding of a
    241), which is a divisional of U.S. patent application Ser. No.         transformer. The induction coil receives energy from outside
    10/607,963, filed Jun. 27, 2003 (now U.S. Pat. No. 7,437,               the body and a capacitor is used to store electrical energy,
    193), which in turn claims the benefit of U.S. Provisional              which is released to the microstimulator's exposed electrodes
    Patent Application Ser. No. 60/392.475, filed Jun. 28, 2002.            under the control of electronic control circuitry.
    Priority is claimed to all of these applications, and all are              In U.S. Pat. Nos. 5,193,540 and 5,405.367, which patents
    incorporated herein by reference in their entireties.                   are incorporated herein by reference, a structure and method
                                                                            of manufacture of an implantable microstimulator is dis
                        TECHNICAL FIELD                                     closed. The microstimulator has a structure that is manufac
                                                                            tured to be substantially encapsulated within a hermetically
      The present invention relates generally to the field of          25   sealed housing inert to body fluids, and of a size and shape
    implantable medical devices and more particularly to micro              capable of implantation in a living body, with appropriate
    stimulator devices incorporating a self-contained power                 Surgical tools. Within the microstimulator, an induction coil
    Source. Such as a primary battery or a rechargeable battery, for        receives energy from outside the body requiring an external
    powering the internal electronic circuitry.                             power Supply.
                                                                       30      In yet another example, U.S. Pat. No. 6,185,452, which
                       BACKGROUND ART                                       patent is likewise incorporated herein by reference, there is
                                                                            disclosed a device configured for implantation beneath a
       Implantable microstimulators, also known as BIONR)                   patient’s skin for the purpose of nerve or muscle stimulation
    devices (where BIONR) is a registered trademark of                      and/or parameter monitoring and/or data communication.
    Advanced Bionics Corporation, of Sylmar, Calif.), are typi         35   Such a device contains a power source for powering the
    cally characterized by a small, cylindrical housing which               internal electronic circuitry. Such power Supply is a battery
    contains electronic circuitry that produces electric currents           that may be externally charged each day. Similar battery
    between spaced electrodes. These microstimulators are                   specifications are found in U.S. Pat. No. 6,315,721, which
    implanted proximate to target tissue, and the currents pro              patent is additionally incorporated herein by reference.
    duced by the electrodes stimulate the tissue to reduce symp        40      Other microstimulator systems prevent and/or treat various
    toms or otherwise provide therapy for various disorders. An             disorders associated with prolonged inactivity, confinement,
    implantable battery-powered medical device may be used to               or immobilization of one or more muscles. Such microstimu
    provide therapy for various purposes including nerve or                 lators are taught, e.g., in U.S. Pat. No. 6,061,596 (Method for
    muscle stimulation. For example, urinary urge incontinence              Conditioning Pelvis Musculature Using an Implanted Micro
    may be treated by stimulating the nerve fibers proximal to the     45   stimulator); U.S. Pat. No. 6,051,017 (Implantable Micro
    pudendal nerves of the pelvic floor; erectile or other sexual           stimulator and Systems Employing the Same); U.S. Pat. No.
    dysfunctions may be treated by providing stimulation of the             6,175,764 (Implantable Microstimulator System for Produc
    cavernous nerve(s); and other disorders, e.g., neurological             ing Repeatable Patterns of Electrical Stimulation; U.S. Pat.
    disorders caused by injury or stroke, may be treated by pro             No. 6,181,965 (Implantable Microstimulator System for Pre
    viding stimulation of other appropriate nerve?s).                  50   vention of Disorders); U.S. Pat. No. 6,185,455 (Methods of
       Implantable microstimulators have been disclosed that                Reducing the Incidence of Medical Complications. Using
    provide therapy for neurological disorders by stimulating the           Implantable Microstimulators); and U.S. Pat. No. 6,214,032
    Surrounding nerves or muscles. Such devices are character               (System for Implanting a Microstimulator). The applications
    ized by a sealed housing that contains electronic circuitry for         described in these additional patents, including the power
    producing electric currents between spaced electrodes. A           55   charging techniques, may also be used with the present inven
    microStimulator is precisely implanted proximate to the tar             tion. The 596,017, 764, 965, 455, and 032 patents are
    get tissue area and the electrical currents produced at the             incorporated herein by reference.
    electrodes stimulate the tissue to reduce the symptoms and                 It is also known in the art to use thermal energy to power an
    otherwise provide therapy for the neurological disorder.                at least partially implantable device, as taught in U.S. Pat. No.
       A battery-powered microstimulator of the present inven          60   6,131,581, also incorporated herein by reference, wherein an
    tion is preferably of the type referred to as a BIONR) device,          implantable thermoelectric energy converter is disclosed.
    which may operate independently, or in a coordinated manner                Despite the various types of microstimulators known in the
    with other implanted devices, or with external devices.                 art, as illustrated by the examples cited above, significant
       By way of example, in U.S. Pat. No. 5,312.439, entitled              improvements are still possible and desirable, particularly
    Implantable Device Having an Electrolytic Storage Elec             65   relative to a microStimulator with a self-contained primary or
    trode, an implantable device for tissue stimulation is                  rechargeable battery that: (a) can accommodate the various
    described. U.S. Pat. No. 5,312.439 is incorporated herein by            needs of a microStimulator; (b) can accommodate various
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                                   3                                                                    4
    locations in the implanted site; and/or (c) can allow the micro         provide needed power for operation of the device without
    stimulator to operate longer between charges or replacement.            being connected or coupled to the external Source of power.
                                                                              In accordance with various embodiments of the invention,
                   SUMMARY OF INVENTION                                     there is provided a microstimulator with at least two elec
                                                                            trodes for applying stimulating current to Surrounding tissue
       The present invention addresses the above and other needs            and associated electronic and/or mechanical components
    by providing a battery-powered microstimulator intended to              encapsulated in a hermetic package made from biocompat
    provide therapy for neurological disorders such as urinary              ible material. The internal components are powered by the
    urge incontinence by way of electrical stimulation of nerve        10
                                                                            internal power source. The internal power source is, in one
    fibers in the pudendal nerve; to treat various disorders asso           preferred embodiment, a primary battery, and in another pre
    ciated with prolonged inactivity, confinement, or immobili              ferred embodiment, a rechargeable battery. In other embodi
    Zation of one or more muscles; to be used as therapy for                ments, the energy source may take the form of any of the
    erectile dysfunction and other sexual dysfunction; as a                 various energy sources mentioned above, or combinations
    therapy to treat chronic pain; and/or to prevent or treat a        15
                                                                            thereof.
    variety of other disorders. The invention disclosed and                    Some embodiments of the invention provide a microstimu
    claimed herein provides such a battery-powered microstimu               lator with means for receiving and/or transmitting signals via
    lator and associated external components.                               telemetry, Such as means for receiving and/or storing electri
       Stimulation and control parameters of the implanted                  cal power within the microstimulator and for receiving and/or
    microstimulator are preferably adjusted to levels that are safe         transmitting signals indicating the charge level of the internal
    and efficacious with minimal discomfort. Different stimula              battery. Certain embodiments of the invention provide a
    tion parameters have different effects on neural tissue, and            microStimulator implantable via a minimal Surgical proce
    parameters may be chosen to target specific neural popula               dure and the associated Surgical tools. Methods of manufac
    tions and to exclude others. For example, relatively low fre            turing/assembling the components within the microStimula
    quency neurostimulation (i.e., less than about 50-100 Hz)          25   tor, including the internal battery or other power source,
    may have an excitatory effect on Surrounding neural tissue,             ferrite material, induction coil, storage capacitor, and other
    leading to increased neural activity, whereas relatively high           components using e.g., conductive and non-conductive adhe
    frequency neurostimulation (i.e., greater than about 50-100             sives, are described herein. Also described hereinare methods
    Hz) may have an inhibitory effect, leading to decreased neural          of externally coating the hermetically sealed cylindrical
    activity.                                                          30
                                                                            housing to protect the internal components.
      In accordance with certain embodiments of the invention,                Embodiments described herein may include some or all of
    there is provided a microstimulator sized to contain a self             the items mentioned above. Additional embodiments will be
    contained power source, e.g., a primary battery. In another             evident upon further review of the present disclosure.
    embodiment, the self-contained power Source comprises a
    battery that is rechargeable by an external power source, e.g.,    35
                                                                                       BRIEF DESCRIPTION OF DRAWINGS
    an RF link, an inductive link, or other energy-coupling link. In
    yet other embodiments, the power source may comprise other                 The above and other aspects of the present invention will be
    energy sources, such as a Super capacitor, a nuclear battery, a
    mechanical resonator, an infrared collector (receiving, e.g.,           more apparent from the following more particular description
    infrared energy through the skin), a thermally-powered             40   thereof, presented in conjunction with the following drawings
    energy source (where, e.g., memory-shaped alloys exposed to             wherein:
    a minimal temperature difference generate power), a flexural               FIG. 1 is a block diagram for an exemplary battery-pow
    powered energy source (where a flexible section subject to              ered BION (BPB) system made in accordance with the
    flexural forces is placed in the middle of the long, thin-rod           present invention;
    shape of the microstimulator), a bioenergy power source            45      FIG. 2 shows a representative biphasic electrical current
    (where a chemical reaction provides an energy source), a fuel           stimulation waveform that may be produced by the battery
    cell (much like a battery, but does not run down or require             powered BION system of the present invention;
    recharging, but requires only a fuel), a bioelectrical cell                FIGS. 3A and 3B shows a table summarizing exemplary
    (where two or more electrodes use tissue-generated potentials           battery-powered BION stimulation parameters;
    and currents to capture energy and convert it to useable           50      FIG. 4 is an enlarged side view showing the overall descrip
    power), an osmotic pressure pump (where mechanical energy               tive dimensions for the battery-powered BION case, the bat
    is generated due to fluid ingress), or the like.                        tery, and the electronic Subassembly;
       For purposes of the present invention, the term “self con               FIG. 5 is a perspective view of the battery and connecting
    tained means implanted within the patient and not totally               wires;
    dependent upon external (non-implanted) sources of energy.         55     FIG. 6 is a block diagram representing the battery states
    Typically, the self-contained power source will be contained            based on measured battery voltage;
    within a housing, e.g., the same housing as the one that                  FIG. 7 is a front view of a representative remote control
    contains the electronic circuits of the implantable device, that        panel showing exemplary front panel components;
    is implanted within the patient or user of the device. A key              FIG. 8 is an exploded view of the internal components of
    feature of the self-contained power source is that it is not       60   the BPB device;
    dependent upon a continuous source of external (non-im                     FIG. 9 is a perspective top view of the internal electronic
    planted) power. The self-contained power source used with               panel in a batch configuration;
    the invention may rely upon an occasional use of an external               FIG.10 is a perspective top view of the panel shown in FIG.
    power source, e.g., an occasional burst or infrequent injection         9 with the integrated circuitry attached;
    of energy to replenish the self contained power source. Such       65      FIG. 11A is a perspective top view of the panel shown in
    as a rechargeable battery or super capacitor, but the “self             FIG.9 with the integrated circuitry shown in FIG.10 and with
    contained power source may thereafter operate on its own to             the top capacitors and diodes attached;
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                                    5                                                                     6
       FIG. 11B is an enlarged detailed view of a portion of FIG.              In one preferred embodiment, the power source comprises
    11A, showing in greater detail the attachment of the top                a rechargeable battery. The battery is recharged, as required,
    capacitors and diodes;                                                  from an external battery charging system, typically through
       FIG. 12 is a perspective top view of the panel shown in FIG.         an inductive link.
    9 with the integrated circuitry shown in FIG. 10, the top          5       In another preferred embodiment, the power source com
    capacitors and diodes shown in FIG. 11A, and with the top               prises a primary battery. A primary battery, or primary battery
    ferrite half attached;                                                  cell, offers the advantage of typically having five to ten times
      FIG. 13 is an enlarged detail view of the assembled com               more energy density than does a rechargeable battery. Fur
    ponents shown in FIG. 12 depicting the connecting electrical            ther, a primary battery typically exhibits a much lower self
    wires;                                                             10   leakage than does a rechargeable battery.
      FIG. 14A is a perspective top view of a sub-assembly                     In other embodiments of the invention, the power source of
    assembled during the manufacturing operation;                           the BPB device comprises an alternative energy source, or a
      FIG. 14B is a bottom perspective view of the sub-assembly             combination of alternative energy sources. One such alterna
    shown in FIG. 14A;                                                      tive energy source is a Super capacitor. A Super capacitor
      FIG. 14C is a top plan view of the sub-assembly shown in         15   typically has ten times less energy density than does a
    FIG. 14A;                                                               rechargeable battery, but it can be recharged very quickly,
      FIG. 14D is a bottom plan view of the sub-assembly shown              thus allowing for the use of a simple combination RC and
    in FIG. 14A;                                                            charger system. Additionally, power coupled inductively to a
      FIG. 15A is a perspective top view of the sub-assembly                Super capacitor storage element may enable pulsed radio
    shown in FIG. 14A with a coil wound on the middle section of            frequency (RF) power to be used, rather than continuous RF
    the ferrite cylinder;                                                   power. A Super capacitor is typically used, most advanta
       FIG. 15B is a cross-section view of the sub-assembly                 geously, in combination with another power source. Such as a
    shown in FIG. 15A taken along line 15B-15B;                             primary battery or a rechargeable battery. The Super capacitor
       FIG. 15C is a top view of the sub-assembly shown in FIG.             may be charged rapidly, and then the charge stored on the
    14A with the coil ends depicted;                                   25   Super capacitor is available to supplement operation of the
       FIG. 16 is an enlarged detail perspective view of the sub            BPB device, either directly (to assist with higher energy
    assembly shown in FIG. 15A placed in a soldering fixture;               stimulation levels or power requirements), or indirectly (to
       FIG. 17 is an exploded view of carrier fixture plates;               help recharge the battery).
       FIG. 18 is a perspective view of a supporting work-plate                A further alternative energy source that may be used with
    with one of the carrier plates shown in FIG. 17 and the            30   the BPB device of the invention is a nuclear battery, also
    sub-assembly shown in FIG. 15A;                                         known as an atomic battery. Recent developments have indi
       FIG. 19 is a perspective view of the sub-assembly shown in           cated that, e.g., a micro-electro-mechanical system (MEMS)
    FIG. 15A with a battery attached and also depicting                     nuclear battery is capable of delivering significant amounts of
    assembled internal components of a BPB device of the                    power. These power sources are extremely small, and may be
    present invention;                                                 35   combined or grouped together, as required, in order to pro
       FIG. 20A is a top view of a BPB device of the present                vide the needed power to operate the BPB device.
    invention showing external coatings;                                       Still another alternative energy source that may be used
       FIG. 20B is a cross-sectional view taken along line 20B              with the BPB device is a mechanical resonator. Generating
    20B shown in FIG. 20A:                                                  power from mechanical resonators and normal human move
      FIG. 200 is an end view of the BPB device shown in FIG.          40   ment has long been practiced in the art, e.g., with wrist
    20A; and                                                                watches, and MEMS versions of such resonators have been
      FIG. 21 is an exemplary circuit block diagram showing the             around for a number of years. However, to applicants’ knowl
    main implantable components and their interactions of one               edge, the use of MEMS mechanical resonators has never been
    embodiment of the invention.                                            applied to implantable devices, such as the BPB device of the
      Corresponding reference characters indicate correspond           45   present invention.
    ing components throughout the several views of the drawings.               A further alternative energy source for use with a BPB
                                                                            device is an infrared collector, or infrared (solar) power
                DESCRIPTION OF EMBODIMENTS                                  Source. Because the skin and body tissue is relatively trans
                                                                            parent to red and infrared light, it is possible, e.g., through the
       The following description is of the best mode presently         50   use of an implanted silicon photovoltaic cell, to collect suffi
    contemplated for carrying out the invention. This description           cient energy to power the BPB device from an external infra
    is not to be takenina limiting sense, but is made merely for the        red source, such as the Sun.
    purpose of describing the general principles of the invention.            Yet an additional alternative energy source for use with the
    The scope of the invention should be determined with refer              BPB device of the present invention is a thermally powered
    ence to the claims.                                                55   energy source. For example, thermal difference engines
       A fully assembled battery-powered microstimulator (also              based on memory shape alloys have been demonstrated to be
    referred to as a BIONR microstimulator, or battery-powered              very efficient engines capable of generating power with mini
    BION (“BPB) device) made in accordance with the present                 mal temperature differences. Hence, by incorporating such a
    invention may operate independently, or in a coordinated                thermal difference engine within the BPB device, an internal
    manner with other implanted devices, or with external              60   energy source is provided that derives its energy from a small
    devices.                                                                temperature difference, e.g., the temperature difference
       The BPB device is a pulse generator that includes an inter           between the surface of the skin and a location 2-3 cm deeper
    nal power source. Regardless of whether the internal power              inside the body.
    Source comprises a primary battery, a rechargeable battery, or             Still another alternative energy source is a flexural powered
    an alternative power source as described below, the device         65   energy source. The BPB device has the general shape of a
    containing the internal power source will be referred to as a           long thin rod. Hence, by placing a flexible section in the
    “BPB device for purposes of the present invention.                      middle of the device, such section will be subjected to flexural
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                                                         US 9, 162,071 B2
                                   7                                                                   8
    forces. Such flexural forces, when applied to a suitable piezo       and avoids any potentially endangering failure modes, with a
    electric element coupled to the flexible section, will generate      Zero tolerance for unsafe failure or operational modes. The
    piezoelectric bimorphs that may be used to generate a Voltage        BPB device accepts programming only from compatible pro
    (power). Such technique has been used to generate power              gramming devices.
    from wind.                                                        5     The publications and patents listed in the table below,
       Another alternative energy source is a bioenergy power            which are all incorporated herein by reference, describe vari
    Source. In a bioenergy power source, a chemical reactor inter        ous uses of the implantable BPB device for the purpose of
    acts with constituents to produce mechanical or electrical           treating various neurological conditions: U.S. Pat. No. 6,061,
    power.                                                               596, issued May 9, 2000, entitled “Method for Conditioning
       A fuel cell represents another type of alternative energy      10 Pelvic Musculature Using an Implanted Microstimulator':
    source that may be used with the BPB device. A fuel cell, in U.S. Pat. No. 5,193,540, issued Mar. 16, 1993, entitled
    principle, operates much like a battery. Unlike a battery, how “Structure and Method of Manufacture of an Implantable
    ever, a fuel cell does not run down or require recharging. Microstimulator: PCT Publication WO 00/01320, published
    Rather, it produces energy in the form of electricity and heat Jan. 13, 2000, entitled “Implantable Stimulator System and
    as long as fuel is Supplied. A fuel cell system that includes a 15 Method for Treatment of Urinary Incontinence': PCT Publi
    “fuel reformer can utilize the hydrogen from any hydrocar cation WO97/18857, published May 29, 1997, entitled “Sys
    bon fuel. Several fuel cell technologies may be used with the tem and Method for Conditioning Pelvic Musculature Using
    BPB device of the present invention, such as Phosphoric an Implanted Microstimulator.”
    Acid, Proton Exchange Membrane or Solid Polymer, Molten                  The implantable BPB system of the present invention, in
    Carbonate, Solid Oxide, Alkaline, Direct Methanol, Regen- 20 accordance with Some embodiments, includes internal and
    erative, Zinc Air, or Protonic Ceramic. Such fuel cells may be external components, as well as Surgical components, as
    designed for a single use, or refillable.                             shown in FIG. 1. The internal components 10' are implanted
       Yet an additional alternative energy source that may be in the target tissue area of the patient and the external com
    used with the BPB device is a bioelectrical cell. In a bioelec        ponents 20 are used to recharge or replenish (when recharge
    trical cell, a set of electrodes (two or more) is implanted in the 25 or replenishment is needed) and communicate with the inter
    body tissue. These electrodes sense and use tissue generated nal components. The components shown in FIG. 1 represent
    potentials and currents in order to power the BPB device. as a whole an implantable BIONR) microstimulator system
    Tissue Such as cardiac muscle, cardiac conducting cells and 100. It should be noted that the present invention is not
    neural tissue are examples of tissue that generates electrical directed to a specific method for treating a disorder, but rather
    potentials and currents. In a particular case, specialized bio- 30 describes possible BPB configurations, methods of manufac
    logical tissue may be implanted to provide the energy. The ture, and how the implantable BPB system functions in con
    implanted biological tissue remains alive due to the environ junction with the components shown in FIG. 1.
    ment provided by the body where it is implanted.                         A block diagram that illustrates the various components of
       A further alternative energy source that may be used with the BPB system 100 is depicted in FIG.1. These components
    the BPB device of the present invention is an osmotic pressure 35 may be subdivided into three broad categories: (1) implant
    pump. Osmotic pressure pumps may be used to generate able components 10', (2) external components 20, and (3)
    mechanical energy due to water, or other fluid, ingress. This Surgical components 30.
    mechanical energy may then be used to generate other forms               As seen in FIG. 1, the BPB device 10 includes a case 12;
    of energy, such as electrical energy. For example, osmotic battery 16; BPB electronic subassembly 14, which includes
    pressure may be used to separate the plates of a capacitor. AS 40 BPB coil 18 and a stimulating capacitor CSTIM 15: indiffer
    the plates of the capacitor separate with a given amount of ent/reference electrode 24; and active/stimulating electrode
    charge due to osmotic pressure, the energy stored in that 22. The block diagram shown in FIG.21 also shows the main
    capacitor is incremented.                                             implantable components of the BPB device 10 and their inter
       In the description of the BPB device that follows, the power actions.
    source used within the BPB device is described as a recharge- 45 The external components 20, shown in FIG. 1 include
    able battery. However, it is to be understood, as previously charging system39, which consists of the chairpad 32 and the
    indicated, that the “power source' used within the BPB base station 50; a remote control 40; and a clinician’s pro
    device may take many forms, including a primary battery or grammer 60. The chair pad 32 has a recharger coil 34 that is
    the alternative power Sources enumerated above, and that electrically connected to (or may be part of) the base station
    when the term “battery' or “power source' is used herein, 50 50 with extension 36 and communicates with the BPB elec
    Such terms, unless otherwise indicated, are meant to broadly tronic subassembly 14 with a bidirectional telemetry link 48.
    convey a source of energy or power contained within, or The base station 50 has an external medical grade AC adapter
    coupled to, the BPB device.                                           that receives AC power 52 through extension 54. The remote
       The BPB device preferably has a substantially cylindrical control 40 sends and receives communication from/to the
    shape, although other shapes are possible, and at least por- 55 base station 50 through Infrared DataAssociation, IrDA inter
    tions of the BPB device are hermetically sealed. The BPB face 42. (IrDA is a standard for transmitting data via infrared
    device includes a processor and other electronic circuitry that light.) The remote control 40 also communicates with the
    allow it to generate stimulus pulses that are applied to a clinician’s programmer 60 through an IrDA interface 44 and
    patient through electrodes in accordance with a program that communicates with the BPB electronic subassembly 14 with
    may be stored, if necessary or desired, in programmable 60 an RF telemetry antenna 46 through the bidirectional telem
    memory.                                                               etry link 48. The clinicians programmer 60 may also com
       The BPB device circuitry, power source capacity, cycle municate with the BPB electronic subassembly 14 through
    life, hermeticity, and longevity provide implant operation at the bidirectional telemetry link 48. The base station 50 also
    typical settings for at least five years. Battery or power communicates with the clinician's programmer 60 through an
    source) control circuitry protects the battery or other power 65 IrDA interface 45. The bidirectional telemetry link 48 is also
    Source from overcharging, if recharging is needed, and oper known as the FSK (Frequency Shift Key) telemetry link, or
    ates the BPB device in a safe mode upon energy depletion,             RF telemetry link. In addition, the charging system 39 has a
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                                                         US 9, 162,071 B2
                                                                                                         10
    forward telemetry link 38. Such link may use OOK-PWM                   telemetry link 48 is no less than 30 cm in an optimal orienta
    (On/Off Keying-Pulse Width Modulation), and is typically an            tion. Factors that may affect the range of the FSK telemetry
    inductive telemetry link. When used, both power and infor              link 48 include an impaired BPB device, depleted external
    mation may be transferred to the BPB device. When charging             device, insufficient power, environmental noise, and other
    is not needed, e.g., when the battery comprises a primary              factors, e.g., the Surroundings. When a request is sent to the
    battery, such an inductive link may still be used to transfer          BPB device 10 by the clinicians programmer 60, the remote
    information and data to the BPB device.                                control 40, or the charging system39, the maximum response
       The surgical components 30 illustrated in FIG. 1 include            time for the FSK telemetry link 48 is less than 2 seconds,
    the BPB implant tools 62 and an external neurostimulator 64.           under normal operating conditions.
    The implantable BPB device 10 is inserted through the             10      The OOK (On-Off Keying) telemetry link 38, shown in
    patient's tissue through the use of appropriate Surgical tools,        FIG. 1, allows commands and data to be sent by the charging
    and in particular, through the use of tunneling tools, as are          system 39 to the BPB device 10. The range of the OOK
    known in the art, or as are specially developed for purposes of        telemetry link 38 is ideally no less than 15 cm in any orien
    implantable BPB stimulation systems.                                   tation and no less than 15 cm in an optimal orientation. The
       FIG. 1 represents the BPB system 100 as a block diagram        15   OOK telemetry link 38 allows the charging system 39 to
    that aids in simplifying each of the described implantable             communicate with the BPB device 10 even when the BPB
    components 10', external components 20, and Surgical com               device 10 is not actively listening for a telemetry signal, e.g.,
    ponents 30. A better understanding of the possible functions           when the BPB device 10 is in the Hibernation State or the
    associated with every element of the internal components 10'.          Storage State (states for the BPB device that will be discussed
    external components 30, and Surgical components 30 is pro              in detail below). The OOK-PWM telemetry link38 will also
    vided in the details that follow.                                      provide a communication interface in an emergency situa
       Turning next to FIG. 2, an exemplary waveform is shown              tion, e.g., an emergency shutdown.
    that illustrates some of the BPB biphasic electric current                Reverse telemetry is also available through the FSK telem
    stimulation parameters. Other parameters not shown include             etry link 48. The reverse FSK telemetry link 48, allows infor
    burst, ramp, and duty cycles. The BPB device 10 may pro           25   mation to be reported by the BPB device 10 to the clinicians
    duce, for instance, an asymmetric biphasic constant-current            programmer 60, the remote control 40, and/or the charging
    charge-balanced stimulation pulse, as shown in FIG. 2.                 system39. The range of the reverse telemetry link 48 is no less
    Charge balancing of the current flow through the body tissue           than 30 cm in an optimal orientation. The type of information
    in both directions is important to prevent damage to the tissue        transmitted from the BPB device 10 to the clinician’s pro
    that results from continued preponderance of current flow in      30   grammer 60, remote control 40, and/or charging system 39,
    one direction. The first phase of the stimulation pulse is             may include but is not limited to battery voltage, BPB internal
    cathodic and the second phase (recharge phase) utilizes an             register settings, and acknowledgments.
    anodic charge recovery to facilitate a charge balance. The                The FSK telemetry system, in one preferred embodiment,
    stimulation phase current amplitude 66 is programmable                 operates in the frequency band of 127 KHZ.+/-8 KHZ. When
    from 0.0 to about 10 mA, for instance, in 0.2 mA increments.      35   the BPB device 10 has received a valid (i.e. non-error con
    To prevent patient discomfort due to rapidly increasing or             taining) message, an acknowledgment is transmitted.
    decreasing amplitudes in the first phase of the waveform (of              There will be times when the messages sent in either direc
    stimulation amplitude 66), changes in amplitude occur                  tion on the telemetry link will not be received by the intended
    Smoothly over a transition period programmable by adjusting            recipient. This may be due to range, orientation, noise, or
    the allowed slope (step size increments) of the amplitude         40   other problems. The severity of the problem will determine
    through continuous pulses.                                             the appropriate response of the system. For example, if a
       The stimulation capability of the BPB device 10 is depicted         programming change is made by the clinician's programmer
    by the stimulation parameters specified in the table shown in          60 and a response is expected by the clinician's programmer
    FIGS. 3A and 3B. These parameters may be achieved by the               60 from the BPB device 10, the clinician’s programmer 60
    electronic subassembly 14, battery (or other power source)        45   attempts to get a response from the BPB device 10 until a
    16, and electrodes 22 and 24. The stimulating electrode 22 is          satisfactory response is received, or until areasonable number
    coupled to the electronic subassembly 14 with a stimulating            of attempts are made. If no satisfactory response is obtained,
    capacitor CSTIM 15. Net DC charge transferred during                   this might indicate that the BPB device 10 does not have
    stimulation is prevented by the capacitive coupling provided           Sufficient power in its internal battery 16 to make a response,
    by the stimulating capacitor 15, between the BPB electronic       50   in which case charging should be attempted by the user (if the
    subassembly 14 and the stimulation electrode 22. During the            battery 16 is a rechargeable battery). Events such as these are
    first phase of the pulse waveform shown in FIG. 2, the BPB             logged for future diagnostic analysis. Error messages are
    stimulation electrode 22 has a cathodic polarity with associ           displayed on the clinician's programmer 60, the remote con
    ated negative current amplitude, and the reference electrode           trol 40, and/or the base station 50, in response to an abnormal
    24 is the anode.                                                  55   response to telemetry communication. When an invalid com
      Each BPB device 10 has an identification code used to                mand is received by BPB device 10, no action occurs. All
    identify the device uniquely. The identification code allows           valid commands are executed by the BPB device 10 within 1
    each unit to act on particular messages containing its unique          second after receiving a command, under normal operating
    identification code. Each BPB device 10 also responds to               conditions.
    universal identification codes used for cases in which the        60      Referring now to FIG. 4, a side view of the BPB case 12 is
    unique address is unknown by the external device, the unique           shown depicting exemplary overall dimensions for the case
    address has been corrupted, or when a command is sent to               12 and BPB internal components. The BPB case 12 functions
    multiple BPB units.                                                    together with the additional components of BPB device 10,
      Referring back to FIG. 1, the BPB device 10 receives                 including the BPB battery 16 and the BPB electronic subas
    commands and data from the remote control 40, clinician’s         65   sembly 14. As shown in the figures, BPB case 12 may have a
    programmer 60, and/or charging system 39 via FSK (fre                  tubular or cylindrical shape with an outer diameter shown in
    quency shift keying) telemetry link 48. The range of the FSK           FIG. 4 as D1 having a minimum value of about 3.20 mm and
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                                                           US 9, 162,071 B2
                               11                                                                           12
    a maximum value of 3.7 mm, and preferably a maximum                      the battery 16 to the electronic subassembly 14. Wire 68A is
    value of about 3.30 mm. The inner diameter of the portion of             insulated and laser welded or otherwise electrically con
    the BPB case 12 enclosing the electronic subassembly 14 is               nected to the pin 95, and wire 68B is not insulated and is laser
    shown in FIG. 4 as D2 with a minimum value of about 2.40                 welded or otherwise electrically connected to the case of the
    mm and a maximum value of about 2.54 mm. The inner                  5    battery. The battery case 70 has a negative polarity. The bat
    diameter of the portion of the BPB case 12 enclosing the BPB             tery's nominal Voltage is typically 3.6 V, measured during a
    battery 16 is shown in FIG. 4 as D3 with a minimum value of              first cycle C/5 discharge. The battery's nominal capacity, C, is
    about 2.92 mm and a maximum value of about 3.05 mm. The                  no less than 2.5 mAh (milli-amp-hours) when measured after
    length of the BPB case 12 is shown in FIG. 4 as L1 with and              the third discharge cycle with C/2 charge to 4.0V and C/5
    is no greater than about 30mm, and preferably no greater than       10   discharge to 3.0V at 37 degrees C. (C/2 charge means that it
    about 27 mm (L1 includes the length of the case housing plus             takes 2 hours for the battery 16 to charge. C/5 discharge
    the stimulating electrode 22). The length L2 of the case 12 has          means that it takes 5 hours for the battery 16 to discharge.)
    a value of about 24.5 mm. The portion of the case 12 enclos              Charge or discharge time is calculated by taking the capacity
    ing the electronic subassembly 14 is shown in FIG. 4 as length           (mAh or Ah) and dividing it by current (mA or A). The
    L3 with a maximum value of about 13.00 mm. The portion of           15   nominal settings are 4 mA amplitude, 20 HZ pulse frequency,
    the case 12 enclosing the BPB battery (or other power source)            200 usec pulse width, 5 sec burst-on, 5 sec burst-off, and 200
    16 is shown in FIG. 4 as length L4 with a value of about 11.84            LA recovery into a 1000 ohm resistive load.
    mm. These dimensions are only exemplary, and may change,                    The electronic subassembly 14, shown in FIG. 1, functions
    as needed or desired to accommodate different types of bat               together with the additional components of the BPB device
    teries or power sources. For example, the BPB device, instead            10, including the BPB case 12, BPB battery 16, and elec
    of being cylindrically shaped, may have a rectangular or oval            trodes 22 and 24, to provide the BPB device stimulating
    cross section having a width and height that is no greater than          function. In one preferred embodiment, the electronic subas
    about 3.3 mm, and an overall length is no greater than about             sembly 14 fits within, for instance, a cylinder with an outer
    27 mm. To help protect the electrical components inside the              diameter D2 and length L3 as shown in FIG. 4. The inner
    BPB device 10, the case 12 of the BPB device 10 is hermeti          25   diameter D2 has a minimum value of about 2.40 mm and a
    cally sealed. For additional protection against, e.g., impact,           maximum value of about 2.54 mm. The length L3 has a
    the case 12 may be made of metal (e.g., titanium), which                 maximum value of about 13.00 mm.
    material is advantageously biocompatible. The BPB case 12                   The electronic subassembly 14 contains circuitry for
    is preferably, but not necessarily, Magnetic Resonance Imag              stimulation, battery charging (when needed), telemetry, pro
    ing (MRI) compatible. The manufacturing/assembly process            30   duction testing, and behavioral control. The stimulation cir
    of the BPB device 10 will be discussed in detail below.                  cuitry can be further divided into components for high Voltage
       The BPB device 10 includes a battery 16. The battery 16               generation, stimulation phase current control, recovery phase
    may be a primary battery, a rechargeable battery, or other               current control, charge balance control, and over Voltage pro
    power source, as previously described. When the battery 16 is            tection circuitry. The telemetry circuitry can be further
    rechargeable, it is recharged, as required, from an external        35   divided into an OOK receiver, FSK receiver, and FSK trans
    battery charging system 39 typically through the OOK-PWM                 mitter. The behavioral control circuitry can be further divided
    telemetry link 38 (as shown in FIG. 1).                                  into components for stimulation timing, high Voltage genera
       The BPB device 10 includes a processor and other elec                 tion closed loop control, telemetry packet handling, and bat
    tronic circuitry that allow it to generatestimulating pulses that        tery management. In addition to these functions, there is
    are applied to a patient through electrodes 22 and 24 in accor      40   circuitry for reference Voltage and reference current genera
    dance with a program stored in programmable memory                       tion, system clock generation, and Power-On Reset (POR)
    located within the electronic subassembly 14.                            generation. The coil 18 (shown in FIG. 1) is utilized for
       The battery 16 shown in FIG. 5 is a self-contained battery            receiving power for battery charging (when used), telemetry,
    that powers the BPB device 10. The battery 16 may be a                   and high Voltage generation.
    Lithium-ion battery or other suitable type of battery or power      45      The charging circuitry within the electronic Subassembly
    source. One type of rechargeable battery that may be used is             14 detects the presence of an external charging field within no
    disclosed in International Publication WO 01/82398 A1, pub               more than 5 seconds of the application of such a field. Upon
    lished 1 Nov. 2001, and/or WO 03/005465A1, published 16                  detection, the BPB device 10 enables a mode in which it can
    Jan. 2003, which publications are incorporated herein by                 receive a telemetry message and in which it can recharge the
    reference. Other battery construction techniques that may be        50   battery 16, as necessary. The electronic subassembly 14 mea
    used to make the battery 16 used with the BPB device areas               Sures the rectified Voltage during recharging and is able to
    taught, e.g., in U.S. Pat. Nos. 6,280,873; 6,458,171 and U.S.            transmit the measured voltage value to the base station 50 via
    Publications 2001/0046625A1 and U.S. 2001/0053476A1,                     coil 34. The battery voltage measurements are made in rela
    which patents and publications are also incorporated herein              tively identical conditions. Specifically, the battery voltage is
    by reference. Recharging (when needed) occurs from an               55   measured when no stimulation pulse is being delivered.
    external charger to an implant depth, e.g., up to 13.87 cm. At              When the BPB device utilizes a rechargeable battery, and
    this distance, charging from 10% to 90% capacity can occur               when the voltage is less than the voltage defined by the
    in no more than eight hours. The battery 16 functions together           Battery Recharge Upper Voltage Limit Internal Register
    with the additional components of the BPB device 10, includ              (BRUVLIR), the BPB device 10 charges the battery 16 using
    ing the BPB case 12 and the BPB electronic subassembly 14           60   constant current charging with a maximum current of C/2.
    to provide electrical stimulation through the electrodes 22              The constant current phase of charging ends and the constant
    and 24. The battery or power source 16 has a pin 95 protruding           Voltage phase of charging begins when the BPB Voltage
    from the flat end for the positive polarity contact. This pin has        reaches the voltage defined by the BRUVLIR.
    a protruding length, e.g., of 0.25 mm and is embedded inter                 During the constant Voltage phase of charging, the charg
    nally throughout the length of the cathode case of the battery      65   ing circuitry maintains the battery 16 charging Voltage at the
    16. The pin 95 may be made of platinum or other suitable                 voltage defined by the BRUVLIR. When the constant voltage
    anode material. Wires 68A and 68B are used for connecting                charging current falls to 400 LA or less (i.e., when full charge
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                                                           US 9, 162,071 B2
                                  13                                                                       14
    has been reached), the charge ready bit of the BPB status                bly 14 has an exemplary cylindrical shape and is constructed
    register is activated and charging may be completed by the               from multiple turns of conductive wire around a two-piece
    removal of the magnetic field. During charging, the BPB                  exemplary dumbbell shaped ferrite core. Assembly of the
    charging circuitry monitors the incoming magnetic energy                 BPB coil 18, internal electronic components, and the two
    and periodically sends information to the base station 50 via            piece ferrite core will be discussed in more detail presently.
    coil 34 in order to minimize the magnetic field that the BPB                Turning back to FIG. 1, the remote control 40 provides
    device 10 is exposed to, thus minimizing the electrical dissi            clinician programming of the BPB device 10 and limited
    pation of the BPB device 10 while charging. U.S. Pat. No.                stimulation control for the patient following implantation via
    6,553,263, incorporated herein by reference, describes rel               a bidirectional FSK telemetry link 48. (As stated earlier, an
    evant charging technology that may also be used.                    10   IrDA direct link 44 is provided to interface between the cli
       Protection circuitry within the electronic subassembly 14             nicians programmer 60 and the remote control 40). The
    is used as a failsafe against battery over-Voltage. A battery            remote control 40 is small and light enough to be held com
    protection circuit continuously monitors the battery's Voltage           fortably in one hand and fits inside a purse or pocket. Its
    and electrically disconnects the battery if its Voltage exceeds          Smallest dimension is no more than 3 cm and its largest
    4.1 V. The BPB device 10 is not able to recover from an             15   dimension is no more than 11.5 cm. The remote control 40
    excessive Voltage condition, and thus requires explantation              operates on standard (e.g., off-the-shelf) batteries, such as
    should an over-Voltage condition occur, where an over-Volt               AAA batteries.
    age condition is defined as a Voltage that exceeds 4.1 V.                   An exemplary front panel 114 of the remote control 40 is
      The BPB device 10 has different states based on the mea                shown in FIG. 7, which identifies the primary control keys.
    sured battery voltage, Vbatt. (Vbatt is measured when no                 An LCD display 116 shows all values and messages, e.g.,
    stimulation is being delivered). FIG. 6 represents these vari            whether stimulation is enabled or disabled or the battery's
    ous states and transitions between states. The BPB device 10             energy level or state (normal, hibernation, depletion, or Stor
    should normally be in Normal Operation State 102, but when               age). The following control keys are found in the front panel
    the measured battery voltage, Vbatt, falls below the voltage             114: ON/OFF key 118, up arrow key 120, down arrow key
    defined by the battery voltage hibernation level internal reg       25   122, information key 123, and status key 124. All control keys
    ister, VHIB, the device enters a low-power Hibernation State             are easily manipulated and may be recessed so that they are
    104. VHIB is a programmable voltage value of hibernation                 not accidentally activated (e.g., when the remote control 40 is
    threshold for the battery 16. In the Hibernation State, stimu            in a purse).
    lation and FSK telemetry are discontinued. In other words,                  The Clinician’s Programmer (CP) 60 controls an
    the BPB device 10 discontinues listening for an incoming            30   implanted BPB device 10 by communicating with an Exter
    FSK telemetry signal but continues to listen for an incoming             nal Controller (the Remote Control 40 or charging system
    OOK telemetry signal. In the Hibernation State 104, the BPB              39). External Controller 39 or 40 in turn conveys commands
    device 10 is able to detect an applied external charging field.          to the BPB device 10 through an FSK telemetry link 48. A
    The Hibernation State 104 persists until the battery voltage,            clinician has three ways to start up the CP program: “New
    Vbatt, exceeds the programmable value of VHIB, where                35   Patient, “Find Patient, and “Scan for BION. The “New
    VHIB is programmable between 3.25 V and 3.6V. The battery                Patient” option brings up a blank form for the clinician to fill
    16 then goes back to Normal Operation State 102 and the                  in the patient demographic information Such as name, birth
    stimulation and FSK telemetry signals resume when Vbatt                  date, identifying number, address, contact information, and
    becomes greater than the programmed value--/-0.05 V.                     notes. The “Find Patient” option brings up a menu of previ
       While in the Hibernation State 104, the battery 16 may also      40   ously entered patient records for selection. Upon selection of
    enter the Depletion State 106 when Vbatt falls below a non               a patient, the saved patient information is displayed for
    programmable voltage value of Power On Reset (VPOR)                      review. The “Scan for BION’ option determines whether
    threshold for the battery 16 of between 2.2V and 2.8V. In the            there is a BPB device 10 within telemetry range. If so, the
    Depletion State 106, the stimulation and FSK telemetry are               identification number (ID) of the BPB device 10 is obtained
    discontinued and are only able to be resumed following pro          45   and the database is searched for a patient whose implanted
    gramming and recharging by a clinician. The BPB device 10                BPB device 10 ID matches the one found. If such a match is
    disables all circuitry except what is required for recharging            found, the patient’s demographic information is automati
    the battery when an RF charging field is applied. While in the           cally displayed for review.
    Depletion State 106, the BPB circuitry is able to recharge the              Once a patient for the BPB device has been identified, the
    battery 16 from an external charging field. Charging while in       50   clinician can then adjust stimulation parameters through the
    the Depletion State 106 is performed at a slow rate (trickle             Parameter Test utility. The successful stimulation parameter
    charge) to allow the battery to recover from a low voltage               sets can be saved to the patient’s record in the database.
    condition. The BPB device 10 performs a power-on reset                   Previously saved parameter sets can be reviewed and re
    when Vbatt exceeds VPOR, then the BPB device 10 returns                  applied using utilities to view history or current settings. The
    back to the Hibernation State 104.                                  55   current battery level of the BPB device 10, as well as records
       The BPB device 10 can also be set in Storage Mode 108. In             of the recharge times, can be viewed.
    Storage Mode 108, the BPB device 10 shuts down the cir                      The Clinician’s Programmer 60 may also be used togen
    cuitry in order to conserve power and the stimulation and FSK            erate different types of reports, such as Patient Information,
    telemetry is disabled. In Storage Mode 108, the BPB device               Session Summary, Implant System, and Visit History. The
    10 is able to detect a charging field and is able to receive both   60   Patient Information report includes all of the patient’s demo
    power for recharging as well as OOK telemetry messages via               graphic information. The Session Summary report Summa
    a charging field.                                                        rizes the events for the follow-up session. The Implant Sys
      The BPB device 10 contains an inductive coil 18 utilized               tem report details the information for the implanted BPB
    for receiving power and telemetry messages through an                    device 10 and any external controllers assigned to the patient.
    inductive telemetry link 38. The coil 18 may also be utilized       65   The Visit History shows information about office visits for the
    to implement additional functions, including Voltage conver              patient in the desired date range. The Clinician’s Programmer
    sion. The BPB coil 18 contained in the electronic subassem               60 includes utilities to backup and restore the database. A
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                                                           US 9, 162,071 B2
                                   15                                                                        16
    utility is also available for exporting selected patient infor           number made during the manufacturing of the Substrate panel
    mation into a data format for transfer.                                  assembly 202. Each panel 202n of substrate panel assembly
       As described earlier, the charging system 39 shown in FIG.            202 is uniquely serialized using a laser beam. The serial
    1, which includes the base station 50 and the chair pad 32, is           numbers are engraved on the bottom surface 205 of the sub
    used to transcutaneously charge the BPB battery 16 (when                 strate panel assembly 202, and metal pads 203A and 203B
    needed), and it is also used to communicate with and control             (shown in FIGS. 14C, 14D, and 15C) carry the serial number,
    the BPB device 10 via an OOK telemetry link 38 and/or an                 which metal pads are used for test probing during several
    FSK bidirectional telemetry link 48. Most of the electronics             steps of the assembly process. Two ferrite half cylinders 212A
    of charging system 39 are housed in a stand-alone package,               and 212B “sandwich a separated panel 202n and associated
    with the exception of an AC adapter 54 for connection with a        10   integrated circuit 206. This “sandwich design maximizes the
    wall AC power socket 52. The charging system 39 also pro                 size of the half cylinders 212A and 212B and the coil 18
    vides feedback to the user regarding the status of the BPB               which receive the power transfer from the external coil, thus,
    battery 16 during recharging. The remote control 40 and the              maximizing the magnetic inductance.
    clinician’s programmer 60 may be linked via an IrDA inter                   The integrated circuit (IC) 206 is a custom designed IC
    face 45 to the charging system 39 to facilitate exchange of         15   chip. The IC wafer, which includes a multitude of these cus
    data.                                                                    tom ICS 206, is made using standard IC manufacturing pro
      An exemplary manufacturing/assembly process of the                     cesses. The IC wafer is then taken through a post-process
    BPB device 10 will next be described. Unassembled BPB                    called redistribution: A layer of polyimide (or other suitable
    internal components 200 are shown in FIG. 8 and their inter              insulation) is deposited on the IC surface. Photosensitive
    actions once assembled are depicted in the functional block              material is deposited and exposed, e.g., through a mask, in
    diagram of FIG. 21. The components 200 include panel 202:                only selected areas, as in photochemical etching processes
    integrated circuitry 206; capacitors 208A1, 208A2, 208B1,                known in the art. The photosensitive material and portions of
    and 208B2; diodes 210A and 210B: two ferrite halves 212A                 the polyimide are removed, for instance, to expose the alu
    and 212B: battery 16; stimulating capacitor 15: molecular                minum pads on the surface of the IC. A layer of titanium
    sieve moisture getter material 235; and unwound conductive          25   tungsten in applied in a similar manner (i.e., using photosen
    coil wire 216. After the final assembly process, the compo               sitive etching or the like) to the aluminum. A layer of copper
    nents 200 are encapsulated within, for instance, a hermeti               is then deposited, and photochemical etching or the like used
    cally-sealed housing which consists of two cylindrical shell             to remove the areas of copper that are not needed. This layer
    housings, e.g., a titanium housing 213 and a ceramic housing             of copper (aided by the Surrounding layers) creates the “redis
    215 (both shown in FIG. 20B). Other suitable housing mate           30   tribution' of mounting pads and traces that allows secondary
    rial(s) and shapes may be used.                                          components such as diodes 210A and 210B and capacitors
       The BPB assembly process consists of a series of assembly             208A1 and 208A2 to be assembled above and bonded to the
    operations that, herein, are grouped into three stages. The first        IC 206 and allows simplified interconnections between the IC
    stage comprises operations for putting together Sub-assembly             206 and the substrate 202n, as shown in FIG. 13. Again using
    200A (shown in FIG. 14A) and further operations to create           35   photochemical etching or the like, titanium tungsten or other
    sub-assembly 200B (shown in FIG. 15A) from sub-assembly                  Suitable bonding material is applied to select portions of the
    200A and other components; the second stage comprises                    copper, where gold or other suitable conductive material will
    creating sub-assembly 200C (shown in FIG. 19) from sub                   be applied. Anotherlayer of polyimide or similar insulation is
    assembly 200B and other components; and the third stage                  applied (via photochemical etching or the like) to selectareas.
    comprises a process in which the sub-assembly 200C is               40   A layer of gold or other conductive material is applied (again,
    encapsulated within the exemplary hermetically-sealed                    via photochemical etching or the like) to the bonding material
    cylindrical housing (shown in FIG. 20A). Materials used for              that was earlier applied to the copper. These added layers on
    the manufacturing/assembly process are only exemplary and                the IC surface 207 also provide a damping media for protec
    other suitable materials may be used.                                    tion against the stresses and damages caused by assembly
       With reference to FIGS. 8-16 and 21, the first assembly          45   handling and component placement.
    stage will be described. Ten or more units may be assembled                 Using the top surface 204 of the substrate assembly 202 or
    together for batch processing as illustrated in FIG. 9 in which          each Substrate panel 202n, a non-conductive epoxy is applied
    the substrate panels (202A, 202B, 202C. . . . herein also                to attach each integrated circuit 206 as shown in FIG. 10.
    collectively referred to as 202n) are shown as part of panel             After the ICs 206 are assembled to substrates panels 202n,
    assembly 202. By using a batch process, starting with the           50   each non-serialized IC 206 is now uniquely identified by the
    substrate panel assembly 202, the assembly procedure and                 serial number laser engraved on the backside of substrate
    testing is more efficient as opposed to assembling each unit             panels 202n, and can be tested and calibrated with calibration
    individually. The substrate panel assembly 202 is a single               information saved together with the serial number.
    layer, double-sided circuitboard made of ceramic, organic, or               Conductive epoxy is applied to portions of the top surface
    other suitable flexible material(s). The contour of each panel      55   207 of each IC 206 to mount, e.g., ceramic, capacitors 208A1
    202n of the substrate panel assembly 202 may be precut and               and 208A2, and the diodes 210A and 210B to their respective
    only small portions of the edges may be left attached to the             redistributed interconnection pads, as shown in FIG. 13. Non
    substrate panel assembly 202. The small portions that are left           conductive epoxy is applied to a portion of surface 207 of the
    intact make the alignment of other components and future                 ICs 206 to attach the top ferrite half 212A, as shown in FIG.
    singularization of each panel 202n much easier, especially          60   12. Electrical wires 214 are bonded, connecting traces on
    when all other parts have been assembled to the substrate                panel 202n to diodes 210A and 210B, and connecting traces
    panel assembly 202.                                                      on panel 202n to IC 206. An enlarged detail view of the
       As an initial assembly step, the top surface 204 of substrate         bonded wires 214 is shown in FIG. 13. Quality inspection can
    panel assembly 202 is used to mount other components. Such               be done after this step, as well as other steps in the manufac
    as the integrated circuit 206, which is similar in shape to each    65   turing process.
    of the substrate panels 202n. The top surface 204 of the                    To protect the electrical wires 214 from any damage that
    substrate panel assembly 202 is identified by a printed part             may occur during the assembly process and handling, they
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                                                          US 9, 162,071 B2
                                  17                                                               18
    may be encapsulated with an epoxy joint 217, as shown in ing fixture 226. The two coil ends, 228A and 228B, are
    FIG. 14A. The mounting of the components on the top surface soldered to the pads 201A and 201B (the ones next to the
    of the substrate panel 202 is now complete.                     ceramic capacitors 208B1 and 208B2 located on the bottom
       The bottom half components of the “sandwich ferrite surface of panel 202), as shown in FIG. 15C. This step final
    arrangement are assembled next to the bottom surface 205 of 5 izes the first assembly stage after which sub-assembly 200B
    the substrate panel 202n (as shown in FIG. 14B). A non is complete.
    conductive epoxy is applied to the portion of the bottom          With reference to FIGS. 17-19 and 21, the second assembly
    Surface 205 used to attach the bottom ferrite half 212B. A
                                                                    stage will be described. A carrier 230, shown in FIG. 17, has
    conductive epoxy is then applied to the portion of the bottom been designed    to facilitate the second assembly stage and aid
    surface 205 of the substrate panel 202n used to attach the 10 in alignment of components. The carrier 230 consists of two
    ceramic capacitors 208B1 and 208B2.
       The assembled units 200A are separated from panel assem plates, top plate 230A and bottom plate 230B. When plates
    bly 202 by breaking away the pre-cut small portions made to 230A and 230B are bolted together, the machined features,
    contour the edge of each substrate panel 202n. FIG. 14A 231A, 231B, and 231C securely hold the components
    shows an isometric top view of a single sub-assembly 200A 15 assembled in the first operation described above. The top
    showing the wire bonds and diodes encapsulated in epoxy plate 230A also contains openings 232A, 232B, and 232C to
    joint 217. FIG. 14B shows an isometric bottom view of the allow access to the assembled components for processing,
    sub-assembly 200A. FIG. 14C shows the top plan view of the testing, and inspection. Two bolts 234A and 234B, aligned
    sub-assembly 200A showing the two pads 203A and 203B with holes 233A and 233B, are required to fasten plates 230A
    protruding from one end of the ferrite “sandwich' arrange and 230B securely. Holes 233C and 233D are used to secure
    ment. The pads 203A and 203B can be used for testing the the assembled carrier 230 on a metal work plate 239 using
    assembled electrical connections. The pads 203A and 203B pins 237A and 237B (shown in FIG. 18). Having the carrier
    are also used to connect the, e.g., tantalum, stimulating 230 secured on the work plate 239 facilitates in a smooth
    capacitor 15. FIG. 14D shows the bottom plan view of the assembly process.
    sub-assembly 200A where the two pads 203A and 203B, as 25 The sub-assembly 200B and the stimulating capacitor 15
    well as pads 201A, 201B, 201C, and 201D are also used for are placed in the carrier bottom plate 230B as shown in FIG.
    electrical test probing. The two metal pads 203C and 203D 18, then top plate 230A is bolted to bottom plate 230B with
    also carry the serial number. The bottom of the sub-assembly bolts 234A and 234B. Through groove opening 232B on top
    200A is identified by the mark 221 located on the ceramic plate 230A, conductive epoxy 229 is applied to bond the
    capacitor 208B 1 to aid in orientation and handling during 30 gold-coated nickel ribbon attached to one end of the capacitor
    manufacturing.                                                  15 to bond to pads 203A and/or 203B (seen best in FIGS. 14C
       The unwound coil wire 216, made of 46 gauge insulated and 14D). At this point, while in the carrier 230, the assembly
    magnetic copper wire or other Suitable conductive wire mate is tested (as it is throughout the manufacturing process) and is
    rial, is then wound on the middle section of the ferrite cylin also processed through baking temperature cycling.
    der, as shown in FIG. 15A. The coil wire 216 in a wound 35 The top carrier plate 230A is removed, the battery 16 is
    configuration is referred to as the BPB coil 18, as shown in securely placed in the carrier groove 231C of bottom plate
    FIGS. 1, 15A, and 15B. In this particular assembly process, 230B, then top plate 230A is bolted back in place. The battery
    the coil 18 has 156 turns and is wound in two layers identified 16 has two nickel wires 68A and 68B (shown in FIG.5) which
    as coil layer 223A and coil layer 223B, as shown in FIG.15B, have been pre-welded. Battery 16 is placed into groove 231C
    which depicts a cross-section of the sub-assembly 200B 40 so the nickel wires 68A and 68B protrude towards the bottom
    (which is the designation given to sub-assembly 200A after it surface 205 of the substrate panel 202n. Using groove open
    has proceeded through the coil winding process). One coil ing 232B, where the nickel wires 68A and 68B of the battery
    layer or more than two coil layers may also be used. The 16 and the assembly 200B come together, an amount of
    required amount of layers depends on the frequency, current, non-conductive epoxy 219 is applied so that the ends of wires
    and voltage requirements. Distance A (shown in FIG. 15B) is 45 68A and 68B are still accessible. The nickel wires 68A and
    determined by the required number of coil turns and distance 68B are bent towards and soldered to the substrate pads 201C
    B (also shown in FIG. 15B) is the amount of chamfer depth and 201D. Additional non-conductive epoxy 219 is applied to
    required to fit the number of layers. For this application, two secure the connection between the soldered nickel wires 68A
    layers are shown in FIG. 15B. Minimizing the coil layers, and 68B and pads 201C and 201D. This finalizes the second
    which minimizes the diameter of the coil, allows subassem 50 assembly stage when the sub-assembly 200C as shown in
    bly 200B to fit in the smallest shell possible, for which a FIG. 19 is complete.
    ceramic or other Suitable material can be used. As shown in               With reference to FIGS. 20A, 20B, 20O, and 21 the third
    FIG. 15B, an exemplary “dumbbell' configuration is formed               assembly stage will be described. The assembly 200C is
    with the arrangement of the two ferrite halves 212A and 212B            encapsulated within an exemplary hermetically-sealed hous
    in which the gap formed by the distances A and B is used to        55   ing which consists of for instance, two cylindrical cases, a
    wind the coil 216.                                                      titanium 6/4 case 213 and a zirconia ceramic case 215, as best
       A soldering fixture 226, shown in FIG. 16, is used to assist         seen in the cross sectional view FIG. 20B. Alternative mate
    in terminating the coil ends 228A and 228B to pads 201A and             rials and shapes for the housing may also be used. A titanium
    201B of the panel 202n, as shown in FIG.15C. Soldering the              6/4 or other suitable connector 236 is brazed with a titanium
    coil ends 228A and 228B becomes more practical when the            60   nickel alloy (or other suitable material) to the ceramic case
    Sub-assembly 224 is isolated and secured using soldering                215 for securing the mating end of the titanium case 213. The
    fixture 226 or other similar soldering fixture. The bottom              connector 236 has an inside flange 236A and an outside flange
    Surface of the panel 202 is facing up using the mark 221 to             236B which serve to “self center” the braze assembly. Before
    identify this surface. The sub-assembly 200B is placed in               inserting the subassembly 200C and before securing the mat
    fixture 226 with its bottom side facing up and is held firmly in   65   ing ends, conductive silicone adhesive 238 is applied to the
    place by handle 226A which is tightened by bolt 226B. FIG.              inside end of the ceramic shell as well as to the inside end of
    16 shows the sub-assembly 200B securely loaded in solder                the titanium shell. A molecular sieve moisture getter material
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                                  19                                                                      20
    235 is also added to areas 235A, 235B, and 235C as shown in                When the power source used within the BPB device is
    FIG. 20B before the brazing process.                                    Something other than a rechargeable battery, e.g., a primary
      The “spiral' self-centering button electrode 22 is made               battery and/or one of the alternative power sources described
    from titanium 6/4 or other suitable material and is plated with         previously, then the circuitry within the electronic subassem
    an iridium coating or other Suitable conductive coating. An             bly 14 (FIG. 1) is modified appropriately to interface with,
    end view of electrode 22 is shown in FIG. 20O. A spiral                 control, and/or monitor the particular power source that is
    groove 324 is made to stimulating surface 322 of the electrode          used. For example, when the power source comprises a pri
    22. The spiral groove 324 is just one example of groove                 mary battery, the circuitry within the electronic subassembly
    shapes that may be used; other shapes, such as a cross hatch            may be simplified to include only monitoring circuitry, not
    patternor other pattern may also instead be used. Groove 324       10   charging circuitry. Such monitoring circuitry may provide
    increases the conductive surface area 322 of electrode 22.              status information regarding how much energy remains
      The sharp edges in groove 324 force a more homogeneous                stored within the primary battery, thereby providing the phy
    current distribution over the surface 322 and decrease the              sician and/or patient an indication relative to the remaining
    chances of electrode corrosion over time. The corrosion
                                                                            life of the battery.
                                                                       15      When the power source used within the BPB device is a
    effect, which may affect the electrode 22, is also known as             Super capacitor, then Such Super capacitor will typically be
    biofouling, which is the gradual accumulation of bacteria on            used in combination with a primary battery and/or a recharge
    the surface of the electrode 22 once immersed in body fluid.            able battery. When used in combination with a primary bat
    When current is injected into body fluids, an electro chemical          tery, for example, the circuitry within the electronic subas
    reaction occurs, producing large amounts of current density,            sembly is modified appropriately so that the charge stored on
    which can contribute to the accumulation of bacteria. The               the super capacitor is available to help power the BPB device
    spiral groove 324 or similar groove helps reduce the current            during times of peak power demand, such as during those
    density along the sharp groove edges. A tool made in the                times when telemetry signals are being transmitted from the
    shape of a trapezoid or similar shape is used to cut the groove         implanted device to the external device(s), or when the ampli
    324 into a spiral or other shape. Other methods of cutting the     25   tude of the stimulation pulses has been programmed to be
    groove 324 may be used, e.g., ion beam etching.                         very high. When used in combination with a rechargeable
       The button electrode 22 becomes the active or stimulating            battery, the circuitry within the electronic subassembly is
    electrode. A titanium/nickel alloy 240 or other suitable mate           modified appropriately so that the charge stored on the Super
    rial is used to braze the button electrode 22 to the zirconia           capacitor is available to help recharge the rechargeable bat
    ceramic case 215. An end view of the BPB device 10 is shown        30   tery or to help power the BPB device at times of high power
    in FIG. 20O where the end view of the stimulating “spiral               demand.
    button electrode 22 can be seen. The end 242 of the titanium              While the invention herein disclosed has been described by
    shell 213 is plated with an iridium coating (other suitable             means of specific embodiments and applications thereof,
    conductive coating may be applied), which plated area                   numerous modifications and variations could be made thereto
    becomes the indifferent iridium electrode 24, as shown in          35   by those skilled in the art without departing from the scope of
    FIG20A                                                                  the invention set forth in the claims.
       FIG. 20A shows a top view of the assembled BPB device
    10 with the external coatings depicted. A type C parylene or              The invention claimed is:
    other Suitable insulation coating is applied to the shaded area           1. A method for controlling an implantable medical device,
    244, e.g., by standard masking and vapor deposition pro            40   the device having telemetry circuitry to receive both a first
    cesses. The Zirconia ceramic case is left exposed in area 248           type of telemetry and to receive a second type of telemetry,
    and the iridium electrode 24 is shown on the end 242 of the             the method comprising:
    titanium case 213. This step completes the assembly process               listening for the first and second telemetry types;
    of the BPB device 10. A cross-section of the final assembled              monitoring a Voltage of a power source within the implant
    BPB device 10 is shown in FIG. 20B.                                45        able medical device; and
       U.S. Pat. No. 6,582,441, incorporated herein by reference,             if the voltage falls below a first threshold, discontinuing
    describes a Surgical insertion tool that may be used for                     listening for the first telemetry type while continuing
    implanting the BPB device taught in this invention. The pro                  listening for the second telemetry type.
    cedures taught in the 441 patent for using the tool and asso              2. The method of claim 1, wherein the first telemetry type
    ciated components may be used for implanting and extracting        50   comprises Frequency Shift Keying (FSK), and wherein the
    the BPB device 10 taught in the present invention. The sur              second telemetry type comprises On/Off Keying (OOK).
    gical insertion tool described in the 441 patent facilitates the          3. The method of claim 2, wherein the telemetry circuitry
    implantation of the BPB device in a patient such that the               comprises an OOK receiver, an FSK receiver, and an FSK
    stimulating electrode 22 is in very close proximity to the              transmitter.
    stimulating nerve site (e.g., near the pudendal nerve for treat    55     4. The method of claim 1, wherein the first threshold is
    ing patients with urinary urge incontinence). The proximity             stored in a first register in the implantable medical device.
    range may be, for example, less than 1-2 mm.                               5. The method of claim 1, further comprising if the voltage
       Other implantation procedures exist relating to the specific         later exceeds the first threshold after falling below the first
    area to be stimulated. The implantable BPB device 10 may                threshold, resuming listening for the first telemetry type.
    also be implanted in other nerve sites relating to preventing      60      6. The method of claim 1, further comprising if the voltage
    and/or treating various disorders associated with, e.g., pro            falls below a second threshold lower than the first threshold,
    longed inactivity, confinement or immobilization of one or              detecting a charging field and continuing to listen for the
    more muscles and/or as therapy for various purposes includ              second telemetry type.
    ing paralyzed muscles and limbs, by providing stimulation of              7. The method of claim 1, further comprising if the voltage
    the cavernous nerve?s) for an effective therapy for erectile or    65   falls below a second threshold lower than the first threshold,
    other sexual dysfunctions, and/or by treating other disorders,          disabling circuitry in the implantable medical device except
    e.g., neurological disorders caused by injury or stroke.                circuitry required for recharging the battery.
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                                                           US 9, 162,071 B2
                                    21                                        22
       8. The method of claim 7, further comprising receiving
    programming and recharging by a clinician.
       9. The method of claim 1, wherein the power source com
    prises a lithium ion battery.
        10. The method of claim 1, wherein the implantable medi
    cal device is configured to provide electrical stimulation to a
    patient, and further comprising enabling stimulation while
    listening for the first telemetry type, and disabling stimulation
    if the voltage falls below the first threshold.
                            k   k   k   k   k
                                                                        10
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                         EXHIBIT 10
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